Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 1 of 421 PageID 17874




                                    EXHIBIT 6                        APP.018
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 2 of 421 PageID 17875




                                                                     APP.019
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 3 of 421 PageID 17876




                                                                     APP.020
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 4 of 421 PageID 17877




                                                                     APP.021
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 5 of 421 PageID 17878




                                                                     APP.022
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 6 of 421 PageID 17879




                                                                     APP.023
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 7 of 421 PageID 17880




                                                                     APP.024
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 8 of 421 PageID 17881




                                                                     APP.025
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 9 of 421 PageID 17882




                                                                     APP.026
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 10 of 421 PageID 17883




                                                                     APP.027
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 11 of 421 PageID 17884




                                                                     APP.028
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 12 of 421 PageID 17885




                                                                     APP.029
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 13 of 421 PageID 17886




                                                                     APP.030
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 14 of 421 PageID 17887




                                                                     APP.031
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 15 of 421 PageID 17888




                                                                     APP.032
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 16 of 421 PageID 17889




                                                                     APP.033
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 17 of 421 PageID 17890




                                                                     APP.034
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 18 of 421 PageID 17891




                                                                     APP.035
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 19 of 421 PageID 17892




                                                                     APP.036
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 20 of 421 PageID 17893




                                                                     APP.037
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 21 of 421 PageID 17894




                                                                     APP.038
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 22 of 421 PageID 17895




                                                                     APP.039
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 23 of 421 PageID 17896




                                                                     APP.040
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 24 of 421 PageID 17897




                                                                     APP.041
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 25 of 421 PageID 17898




                                                                     APP.042
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 26 of 421 PageID 17899




                                                                     APP.043
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 27 of 421 PageID 17900




                                                                     APP.044
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 28 of 421 PageID 17901




                                                                     APP.045
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 29 of 421 PageID 17902




                                                                     APP.046
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 30 of 421 PageID 17903




                                                                     APP.047
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 31 of 421 PageID 17904




                                                                     APP.048
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 32 of 421 PageID 17905




                                                                     APP.049
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 33 of 421 PageID 17906




                                                                     APP.050
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 34 of 421 PageID 17907




                   EXHIBIT A




                                                                      APP.051
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 35 of 421 PageID 17908




                                                                     APP.052
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 36 of 421 PageID 17909




                                                                     APP.053
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 37 of 421 PageID 17910




                                                                     APP.054
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 38 of 421 PageID 17911




                                                                     APP.055
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 39 of 421 PageID 17912




                                                                     APP.056
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 40 of 421 PageID 17913




                                                                     APP.057
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 41 of 421 PageID 17914




                                                                     APP.058
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 42 of 421 PageID 17915




                                                                     APP.059
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 43 of 421 PageID 17916




                   EXHIBIT B




                                                                      APP.060
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                             Page 44 of 421 PageID 1
     22                                      HOUSE OF LOEDS                                [1897}
      H. L. (E.) by an action for the purpose, but had no right virtute officii to
        1896     have any part of the New Zealand mortgages appropriated
        LORD     to the estate of their testatrix in specie.
       StlDELEY
      ATTORNEY-                            Order appealed from affirmed and' appeal
       GENERAL.                                dismissed with costs.

                                               Lords' Journals, November 13,1896.

                     Solicitor for appellants: J. A. Bertram.
                     Solicitor for respondent: Solicitor of Inland Revenue.


                                             [HOUSE OP LOEDS.]

      H.L.(E.)     AEON SALOMON (PAUPER)                                       APPELLANT;
           1896                                        AND
          Nov 16
             - -   A. SALOMON AND COMPANY, LIMITED BESPONDENTS.
                                          B Y ORIGINAL APPEAL.

                                                       AND                       • .
                   A. SALOMON AND COMPANY, LIMITED APPELLANTS ;
                                                       AND

                   AEON SALOMON                                             , RESPONDENT.
                                             B Y CROSS APPEAL.

                   Company—Private Company— One Man Company—Limited Liability— Wind-
                      ing-up —Fraud upon Creditors — Liability to indemnify Company in
                      respect' of Debts—Rescission—Companies Act 1862 (25 & 26 Vict. c. 89)
                      as. 6, 8, 30, 43.
                         It is not contrary to the true intent and meaning of the Companies Act
                      1862 for a trader, in order to limit his liability and obtain ,the preference
                      of a debenture-holder over other creditors, to sell his business to a limited
                      company consisting only of himself and six members of his own family,
                      the business being then solvent, all the terms of sale being' known to and
                      approved by the shareholders, and all the requirements of the Act being
                      complied with.
                         A trader sold a solvent business to a limited company with a nomina
                      capital of 40,000 shares of 11. each, the company consisting only of the
                      vendor, his wife, a daughter and four sons, who subscribed for one share
                      each, all the terms of sale being known to and approved by the shareholders.




                                                                                  APP.061
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                           Page 45 of 421 PageID 17
      A. C.                    AND PEIVY COUNCIL.                                               23

          In part payment of the purchase-money debentures forming a floating          H. L. (E.)
          security were issued to the vendor. Twenty thousand shares were also            18q„
          issued to him and were paid for out of the purchase-money. These shares        —y»/
          gave the vendor the power of outvoting the six other shareholders. No        SALOMOK
          shares other than these 20,007 were ever issued. All the requirements of     c A Jh, OH
          the Companies Act 1862 were complied with. The vendor was appointed            & Co.
          managing director, bad times came, the company was wound up, and after
          satisfying the debentures there was not enough to pay the ordinary             & no "
          creditors:—                                                                       v.
             Held, that the proceedings were not contrary to the true intent and       SALOMON.
                                                                                         —
          meaning of the Companies Act 1862 ; that the company was duly formed             ""*
          and registered and was not the mere "alias" or agent of or trustee for the
          vendor; that he was not liable to indemnify the company against the
          creditors' claims; that there was no fraud upon creditors or shareholders;
          and that the company (or the liquidator suing in the name of the company)
          was not entitled to rescission of the contract for purchase.
             The decisions of Vaughan Williams J. and the Court of Appeal ([1895]
          2 Ch. 323) reversed.

         THE following statement of the facts material to this report
      is taken from the judgment of Lord Watson : —
         The appellant, Aron Salomon, for many years carried on
      business, on his own account, as a leather merchant and whole­
      sale boot manufacturer. With the design of transferring his
      business to a joint stock company, which was to consist exclu­
      sively of himself and members of his own family, he, on
      July 20, 1892, entered into a preliminary agreement with one
      Adolph Anholt, as trustee for the future company, settling the
      terms upon which the transfer was to be made by him, one
      of its conditions being that part payment might be made
      to him in debentures of the company. A memorandum of
       association was then executed by the appellant, his wife, a
       daughter, and four sons, each of them subscribing for one share,
      in which the leading object for which the company was formed
       was stated to be the adoption and carrying into effect, with
       such modifications (if any) as might be agreed on, of the pro­
       visional agreement of July 20. The memorandum was regis­
       tered on July 28, 1892; and the effect of registration, if
       otherwise valid, was to incorporate the company, under the
       name of " Aron Salomon and Company, Limited," with liability
       limited by shares, and having a nominal capital of 40,000Z.r
       divided into 40,000 shares of 11. each. The company adopted



                                                                                 APP.062
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                 Page 46 of 421 PageID 17
     24:                               HOUSE OF LOEDS                       [1897]

      H. L. (B.) the agreement of July 20, subject to certain modifications which
        1896     are not material; and an agreement to that effect was executed
      SALOMON between them and the appellant on August 2, 1892. Within a
                 mon n or
      SALOMON         *      two after that date the whole stipulations of the
        &Co.     agreement were fulfilled by both parties. I n terms thereof,
      SALOMON 100 debentures, for 1001. each, were issued to the appellant,
          „. '   who, upon the security of these documents, obtained an advance
      SALOMON. o f 5Q00Z. from Edmund Broderip.           I n February 1893 the
                 original debentures were returned to the company and can­
                 celled ; and in lieu thereof, with the consent of the appellant
                 as beneficial owner, fresh debentures to the same amount were
                 issued to Mr. Broderip, in order to secure the repayment of his
                 loan, with interest at 8 per cent.
                    I n September 1892 the appellant applied for and obtained an
                 allotment of 20,000 shares; and from that date until an order
                 was made for its compulsory liquidation, the share register of
                 the company remained unaltered, 20,001 shares being held by
                 the appellant, and six shares by his wife and family. I t was
                 all along the intention of these persons to retain the business
                 in their own hands, and not to permit any outsider to acquire
                 an interest in it.
                    Default having been made in the payment of interest upon
                 his debentures, Mr. Broderip, in September 1893, instituted an
                 action in order to enforce his security against the assets of the
                 company. Thereafter a liquidation order was made, and a
                 liquidator appointed, at the instance of unsecured creditors of
                 the company. I t has now been ascertained that, if the amount
                 realised from the assets of the company were, in the first place,
                  applied in extinction of Mr. Broderip's debt and interest, there
                 would remain a balance of about 1055£., which is claimed by
                  the appellant as beneficial owner of the debentures. I n the
                 event of his claim being sustained there will be no funds left
                 for payment of the unsecured creditors, whose debts amount to
                 7733Z. 8s. 3d.
                  The liquidator lodged a defence, in name of the company, to
                the debenture suit, in which he counter-claimed against the
                appellant (who was made a party to the counter-claim), (1.) to
                have the agreements of July 20 and August 2, 1892 rescinded,




                                                                     APP.063
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19               Page 47 of 421 PageID 17
       A. C.                AND PEIVY COUNCIL.                                 25

       (2.) to have the debentures already mentioned delivered up and H. L. (E.)
       cancelled, (3.) judgment against the appellant for all sums paid 189G
       by the company to the appellant under these agreements, and SALOMON
       (4.) a lien for these sums upon the business and assets. The „ "•
                                  c
                                                                         SALOMON
       averments made in support of these claims were to the effect        & Co.
       that the price paid by the company exceeded the real value of SALOMON
                                                                           & 0
       the business and assets by upwards of 8200Z.; that the arrange-      ^ '
       ments made by the appellant for the formation of the company SALOMON.
       were a fraud upon the creditors of the company; that no board
       of directors of the company was ever appointed, and that in
       any case such board consisted entirely of the appellant, and
       there never was an independent board. The action came on
       for trial on the counter-claim . before Vaughan Williams J.,
       when the liquidator was examined as a witness on behalf of the
       company, whilst evidence was given for the appellant by him­
       self, and by his son, Emanuel Salomon, one of the members of
       the company, who had been employed in the business for
       nearly twenty years.
          The evidence shews that, before its transfer to the new
       eompany, the business had been prosperous, and had yielded to
       the appellant annual profits sufficient to maintain himself and his
       family, and to add to his capital. It also shews that at the date
       of transfer the business was perfectly solvent. The liquidator,
       whose testimony was chiefly directed toward proving that the
       price paid by the company was excessive, admitted on cross-
       examination that the business, when transferred to the company,
       was in a sound condition, and that there was a substantial
       surplus. No evidence was led tending to support the allegation
       that no board of directors was ever appointed, or that the board
       consisted entirely of the appellant. The non-success and
       ultimate insolvency of the business, after it came into the
       hands of the company, was attributed by the witness Emanuel
       Salomon to a succession of strikes in the boot trade, and there
       is not a tittle of evidence tending to modify or contradict his
       statement. It also appears from the evidence that all the
       members of the company were fully cognisant of the terms
       of the agreements of July 20 and August 2,1892, and that they
       were willing to accept and did accept these terms.


                                                                   APP.064
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 48 of 421 PageID 1
    26                                   HOUSE OP LORDS                            [1897]

     H. 1. (E.), ; At the close of the argument Vaughan Williams J. announced
       1896      that he was not prepared to grant the relief craved by the
     SALOMON compariy. H e at the same time suggested that a different
                   eme<
     SALOMON. *         ty might be open to the company; and, on the motion of
       & Co.      their counsel, he allowed the counter-claim to be amended. I n
     SALOMON ' Conformity with the suggestion thus made by the Bench, a new
         „'       and alternative claim was added for a declaration that the
     SALOMON, company or. the liquidator was entitled (1.) to be indemnified by
                 the appellant against the whole of the company's unsecured
                 debts, namely, 7733Z. 8s. 3d!.; (2.) to judgment against the appel­
                 lant for that s u m ; and (3.) to a lien for that amount upon all
                 sums which might be payable to the appellant by the company
                 in respect of his debentures or otherwise until the judgment was
                 satisfied. There were also added averments to the effect that
                 the company was formed by the appellant, and that the
                 debentures for 10,000£. were issued in order that he might carry
                  on the business, and take all the profits without risk to himself;
                  and also that the company was the " mere nominee and a g e n t "
                  of the appellant.
                 ... Vaughan Williams J . made an order for a declaration in the
                terms of the new and alternative counter-claim above stated,
                wjthout making any order on the original counter-claim.
                 ,. .Both parties having appealed, the Court of Appeal (Lindley,
                L^pes and Kay L . J J.) being of opinion that the formation of
                the company, the agreement of August 1892, and the issue of
                debentures to the appellant pursuant to such agreement, were a
                mere scheme to enable him to carry on business in the name of
                the company with limited liability contrary to the true intent
                and meaning of the Companies Act 1862, and further to enable
                him to obtain a preference over other creditors of the company
                by procuring a first charge on the assets of the company by
                means of such debentures, dismissed the appeal with costs, and
                Reclined to make any order on the original counter-claim. (1)
                   Against this order the appellant appealed, and the company
                 brought a cross-appeal against so much of it as declined to
               . make any order upon the original counter-claim. Broderip
                 having been paid off was no party to this appeal or cross-appeal.
                          (1) Reported as Broderip v. Salomon, [1895] 2 Ch. 323.




                                                                           APP.065
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19               Page 49 of 421 PageID 1
      A. C.                AND PEIVY COUNCIL.                                  27

          Jun e 15, 22, 29. ° Cohen Q.C. and Buckley Q.C. (McCall Q.C. H. L. (E.)
       and Muir Mackenzie with them), for the appellant in the           1896
       original appeal. The view of Vaughan Williams J . that the SALOMON
       company was the mere alias or agent of the appellant so as to gALoM0X
                                                                         &Co
       make him liable to indemnify the company against creditors,           -
       was not adopted by the Court of Appeal, who seem to have SALOMOK
       considered the company as the appellant's trustee. There is        „.
       no evidence in favour of either view. The sale of the business SALOMON.
       was bona fide: the business was genuine and solvent, with a
       substantial surplus. All the circumstances were known to and
       approved by the shareholders. All the requirements of the
       Companies Act, 1862, were strictly complied w i t h : the purpose
       was lawful, the proceedings were regular. How could the
       registrar refuse to register such a company ? W h a t objection
       is it that the vendor desires to convert his unlimited into a
       limited liability ? That is the prime object of turning a private
       business into a limited company, practised every day by banks
       and other great firms. And what difference to creditors could
       it make whether the debentures were held by the vendor or
       by strangers? Whoever held them had the preference over
       creditors—that is the future creditors—all the old creditors
       having been paid off by the vendor. There was no misrepre­
       sentation of fact, and no one was misled: where is " the fraud
       upon creditors" spoken of in the Court of Appeal? The
       creditors were under no obligation to trust the company; they
       might, if they had desired, have found out who held the shares,
       and in what proportion, and who held the debentures. There
       is not a word in ss. 6, 8, 30, 43, or any other section of the
       Companies Act, 1862, forbidding or even pointing against such
       a company so formed and for such objects. Then, if the
       company was a real company, fulfilling all the requirements of
       the Legislature, it must be treated as a company, as an entity,
       consisting indeed of certain corporators, but a distinct and
       independent corporation. The Court of Appeal seem to treat
       the company sometimes as substantial and sometimes as
       shadowy and unreal: it must be one or the other, it cannot be
       both. A Court cannot impose conditions not imposed by,the
       Legislature, and say that the shareholders must not be related




                                                                  APP.066
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                          Page 50 of 421 PageID 1
    •28                                    HOUSE OF LOEDS                                 [1897]

      H. L. (E.) to each other, or that they must hold more than one share
        1896     each. There is nothing to prevent one shareholder or all the
      SALOMON shareholders holding the shares in trust for some one person.
      5, "• , W h a t is prohibited is the entry of a trust on the register : s. 30.
        & Co.     If all the shares were held in trust that would not make the
      SALOMON company a trustee. The authorities relied upon below (which
          v °'   all turn upon some one being deceived or defrauded) do not
      SALOMON, touch the present case and do not support the judgment below.
                    [They referred to Beg. v. Arnand (1); In re Ambrose Lake
                 Tin and Copper Mining Co. (2); In re British Seamless Paper
                 Box Co. (3); Farrar v. Farrars, Limited (4); North-West
                 Transportation Co. v.'Beatty (5); In re National Debenture and
                 Assets Corporation (6); In re George Neioman & Co. (7) ]
                   As to the cross-appeal, there being no fraud, misrepresenta­
                tion or deceit, not even any failure of consideration, there is no
                ground for rescission. Moreover, the company's assets having
                been sold the company is not in a position to ask for it.
                   Farwell Q.C. and H. S. Theobald, for the respondents.
                The question is one of fact rather than law, and the true
                inferences from the facts are these: The appellant incorporated
                the company to carry on his business without risk to himself
                and at his creditors' expense. The business was decaying
                when the company was formed, and though carried on as
                before, nay with more (borrowed) money, it failed very soon
                after the sale. To get an advantage over creditors the vendor
                took debentures and concealed the fact from them.              The
                purchase-money was exorbitant, the price dictated solely by
                the vendor, and there was no independent person acting for the
                company. Though incorporated under the Acts the company
                never had an independent existence: it was in fact the
                appellant under another name ; he was the managing director,
                the other directors being his sons and under his control. The
                shareholders other than himself were his own family, and his
                vast preponderance of shares made him absolute master.

                  (1) (1846) 9 Q. B. 806.                  (4) (1888) 40 Ch. D. 395.
                  (2) (1880) 14 Ch. D. 390, 394, 398.      (5) (1887) 12 App. Cas. 589.
                  (3) (1881) 17 Ch. D. 467,476, 479.       (6) [1891] 2 Ch. 505.
                                          (7) [1895] 1 Ch. 674, 685.



                                                                               APP.067
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 51 of 421 PageID 1

       A. C.                  AND PE1YT COUNCIL.                                    29

       H e could pass any resolution, and he would receive all the H. L. (E.)
       profits—if any. Whether therefore the company is considered        1896
       as his agent, or his nominee or his trustee, matters little. The SALOMCK
       business was solely his, conducted solely for him and by him, gALo'MOj,
                                                                          &
       and the company was a mere sham and fraud, in effect entirely        Co-
       contrary to the intent and meaning of the Companies Act. The SALOMOX
       liquidator is therefore entitled to counter-claim against him for    r.
       an indemnity. As to the cross-appeal and the claim for rescis- SALOMON.
       sion the decision in Erlanger v. New Sombrero Phosphate Co. (1)
       and the observations of Lord Cairns are precisely applicable
       and conclusive in favour of rescission. See also Adam v. New-
       bigging. (2)
         [ L O B D W A T S O N referred to Western Bank of Scotland v.
       Addie (3), following Clarke v. Dickson. (4) ]
         [They also referred to Ex parte Cowen (5) ; In re
       Smith. (6)]

         The House took time for consideration.

          Nov. 16. L O R D HALSBUEY L.C. My Lords, the important
       question in this case, I am not certain it is not the only
       question, is whether the respondent company was a company
       at all—whether in truth that artificial creation of the Legisla­
       ture had been validly constituted in this instance; and in order
       to determine that question it is necessary to look at what the
       statute itself has determined in that respect. I have no right
       to add to the requirements of the statute, nor to take from the
       requirements thus enacted.        The sole guide must be the
       statute itself.
          Now, that there were seven actual living persons who held
       shares in the company has not been doubted. As to the pro­
       portionate amounts held by each I will deal presently; but it
       is important to observe that this first condition of the statute
       is satisfied, and it follows as a consequence that it would not

         (1) (1878) 3 App. Cas. 1218, 1236,    (3) (1867) L. R. 1 H. L., Sc. 145.
       1238.                                  (4) (1858) E. B. & E. 148.
         (2) (1888) 33 App. Cas. 308.           (5) (1867) L. R. 2 Ch. 563.
                            (6) (1890) 25 Q. B. D. 536, 541.



                                                                         APP.068
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 52 of 421 PageID 1

     30                                  HOUSE OF LOKDS                         [1897

       H. L. (E.) be competent to any one—and certainly not to these persons
          1896       themselves—to deny that they were shareholders.
        SALOMON          I must pause here to point out that the statute enacts
                     n
        SALOMON        ° t n m g a s *° the extent or degree of interest which may be
          & Co.        held by each of the seven, or as to the proportion of interest
        SALOMON or influence possessed by one or the majority of the share-
            % '      holders over the others. One share is enough. Still less is
        SALOMON. -^ p 0 S S ibi e i0 contend that the motive of becoming shareholders
      r.oni Haisbury o r 0 f making them shareholders is a field of inquiry which the
                     statute itself recognises as legitimate. If they are shareholders,
                    ■ they are shareholders for all purposes; and even if the statute
                     was silent as to the recognition of trusts, I should be prepared
                     to hold that if six of them were the cestuis que trust of the
                     seventh, whatever might be their rights inter se, the statute
                     would have made them shareholders to all intents and purposes
                     with their respective rights and liabilities, and, dealing with
                     them in their relation to the company, the only relations which
                     I believe the law would sanction would be that they were
                     corporators of the corporate body.
                        I am simply here dealing with the provisions of the statute,
                     and it seems to me to be essential to the artificial creation that
                     the law should recognise only that artificial existence—quite
                     apart from the motives or conduct of individual corporators.
                     I n saying this, I do not at all mean to suggest that if it could
                     be established that this provision of the statute to which I
                     am adverting had not been complied with, you could not go
                     behind the certificate of incorporation to shew that a fraud
                     had been committed upon the officer entrusted with the duty
                     of giving the certificate, and that by some proceeding in the
                     nature of scire facias you could not prove the fact that the
                     company had no real legal existence. But short of such proof
                     it seems to me impossible to dispute that once the company
                     is legally incorporated it must be treated like any other in­
                     dependent person with its rights and liabilities appropriate to
                     itself, and that the motives of those who took part in the
                     promotion of the company are absolutely irrelevant in dis­
                     cussing what those rights and liabilities are.
                        I will for the sake of argument assume the proposition that


                                                                        APP.069
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19               Page 53 of 421 PageID 1

       A. C.                AND PEIVY COUNCIL.                                  31

       the Court of Appeal lays down—that the formation of the Hi L. (B.)
       company was a mere scheme to enable Aron Salomon to carry             1896
       on business m the name of the company. I am wholly unable SALOMON
       to follow the proposition that this was contrary to the true gALo'MON
       intent and meaning of the Companies Act. I can only find & Co.
       the true intent and meaning of the Act from the Act itself; SALOMON
       and the Act appears to me to give a company a legal existence          „.
       with, as I have said, rights and liabilities of its own, whatever ' SA^OMW
       may have been the ideas or schemes of those who brought it ioraiMsiraiy
       into existence.                                                       ■Uii-
          I observe that the learned judge (Vaughan Williams J.) held
       that the business was Mr. Salomon's business, and no one
       else's, and that he chose to employ as agent a limited company;
       and he proceeded to argue that he was employing that limited
       company as agent, and that he was bound to indemnify that
       agent (the company). I confess it seems to me that that very
       learned judge becomes involved by this argument in a very
       singular contradiction. Either the limited company was a
       legal entity or it was not. If it was, the business belonged to
       it and not to Mr. Salomon. If it was not, there was no person
       and no thing to be an agent at all; and it is impossible to say
       at the same time that there is a company and there is not.
          Lindley L.J., on the other hand, affirms that there were
       seven members of the company; but he says it is manifest
       that six of them were members simply in order to enable the
       seventh himself to carry on business with limited liability.
       The object of the whole arrangement is to do the very thing
       which the Legislature intended not to be done.
          It is obvious to inquire where is that intention of the Legis­
       lature manifested in the statute. Even if we were at liberty to
       insert words to manifest that intention, I should have great
       difficulty in ascertaining what the exact intention thus imputed
       to the Legislature is, or was. In this particular case it is the
       members of one family that represent all the shares; but if the
       supposed intention is not limited to so narrow a proposition as
       this, that the seven shareholders must not be members of one
       family, to what extent may influence or authority or intentional
       purchase of a majority among the shareholders be carried so as


                                                                   APP.070
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                   Page 54 of 421 PageID 17

     32                                 HOUSE OF LORDS                        [1897]

      H. L. (E.) to bring it within the supposed prohibition ? I t is, of course,
         189G      easy to say that it was contrary to the intention of the Legisla-
                     ure
      SALOMON *          — a proposition which, by reason of its generality, it is
      SALOMON difficult to bring to the test; but when one seeks to put as an
        & Co.       affirmative proposition what the thing is which the Legislature
      SALOMON has prohibited, there is, as it appears to me, an insuperable
           „. '    difficulty in the way of those who seek to insert by construction
      SALOMON. SUC^ a prohibition into the statute.
     Lord Haisbury    As 0 ne ruode of testing the proposition, it would be pertinent
                   to ask whether two or three, or indeed all seven, may constitute
                   the whole of the shareholders? Whether they must be all
                   independent of each other in the sense of each having an
                   independent beneficial interest? And this is a question that
                   cannot be answered by the reply that it is a matter of degree.
                   If the Legislature intended to prohibit something, you ought to
                   know what that something is. All it has said is that one share
                   is sufficient to constitute a shareholder, though the shares may
                   be 100,000 in number. "Where am I to get from the statute
                   itself a limitation of that provision that that shareholder must
                   be an independent and beneficially interested person ?
                   My Lords, I find all through the judgment of the Court of
                Appeal a repetition of the same proposition to which I have
                already adverted—that the business was the business of Axon
                Salomon, and that the company is variously described as a
                myth and a fiction. Lopes L . J . says: " The Act contemplated
                the incorporation of seven independent bona fide members, who
                had a mind and a will of their own, and were not the mere
                puppets of an individual who, adopting the machinery of the
                Act, carried on his old business in the same way as before,
                when he was a sole trader." The words " seven independent
                bona fide members with a mind and will of their own, and
                not the puppets of an individual," are by construction to be
                read into the Act. Lopes L . J . also said that the company was
                a mere nominis umbra. Kay L . J . says: " The statutes were
                intended to allow seven or more persons, bona fide associated for
                the purpose of trade, to limit their liability under certain
                conditions and to become a corporation. B u t they were not
                intended to legalise a pretended association for the purpose of



                                                                        APP.071
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                 Page 55 of 421 PageID 1
       A. C.                AND PRIVY COUNCIL.                                   33

       enabling an individual to carry on his own business with limited H. L. (E.j
       liability in the name of a joint stock company."                    189G
           My Lords, the learned judges appear to me not to have been SALOMON
       absolutely certain in their own minds whether to treat the SALOMON
                                                                           & Oo
       ■company as a real thing or not. If it was a real t h i n g ; if it      -
       had a legal existence, and if consequently the law attributed to SALOMON
       it certain rights and liabilities in its constitution as a company,  .„.
      i t appears to me to follow as a consequence that it is impossible SALOMOy-
       to deny the validity of the transactions into which it has L°nrlH«isb»«y
       entered.
           Vaughan Williams J. appears to me to have disposed of the
      ■argument that the company (which for this purpose he assumed
       to be a legal entity) was defrauded into the purchase of Aron
       Salomon's business because, assuming that the price paid for
      the business was an exorbitant one, as to which I am myself
      not satisfied, but assuming that it was, the learned judge most
      cogently observes that when all the shareholders are perfectly
      cognisant of the conditions under which the company is formed
      and the conditions of the purchase, it is impossible to contend
      t h a t the company is being defrauded.
          The proposition laid down in Erlanger v. New Sombrero Phos-
      phate Go. (1), (I quote the head-note), is that " Persons who
      purchase property and then create a company to purchase from
      t h e m the property they possess, stand in a fiduciary position
      towards that company, and must faithfully state to the company
      the facts which apply to the property, and would influence the
       company in deciding on the reasonableness of acquiring it."
      B u t if every member of the company—every shareholder—knows
      exactly what is the true state of the facts (which for this purpose
      must be assumed to be the case here), Vaughan Williams J.'s
      conclusion seems to me to be inevitable that no case of fraud
      upon the company could here be established. If there was no
      fraud and no agency, and if the company was a real one and not
      a fiction or a myth, every one of the grounds upon which it is
      sought to support the judgment is disposed of.
         My Lords, the truth is that the learned judges have never
      allowed in their own minds the proposition that the company
                            (1) 3 App. Cas. 1218.
        A. C. 1897.                                   3     B

                                                                     APP.072
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 56 of 421 PageID 17
     34                                    HOUSE OP LOEDS                        [1897]

       E1.(E.)      has a real existence. They,have been struck by what they
        1896        have considered the inexpediency of permitting one man to he
       SALOMON      - m influence and authority the whole company; and,.assuming
          SALOMON   *kat s u c ^ a * n m S could not have been intended by the Legis-
          .&Co.     lature, they have sought various grounds upon which they
       SALOMON      might insert into the Act some prohibition of such, a result.
          ' v°'     Whether such, a result be right,or wrong, politic or impolitic,
       SALOMON,      J s a y > ^ ^ y ^ utmost, deference to the learned judges, that
      L
       °rdLiclsbnry w e h&ve nothing t p : d o with that question if this company
        "—          has been duly constituted by law ; and, whatever may be the
                    motives of those who constitute it, I must-decline to insert
                    into that Act of Parliament limitations which are not. to be
                    found there.
                       I have dealt with this matter upon the narrow hypothesis
                    propounded by the learned judges below ; but it is, I think, only
                    justice to the appellant to say that I see nothing whatever to
                    justify the imputations which are implied in some of the
                    observations made by more than one of the learned judges.
                    The appellant, in my opinion, is not shewn to have done or to
                    have intended to do anything dishonest or unworthy, but to
                    have suffered a great misfortune without any fault of his own.
                       The result is that I move your Lordships that the judgment
                    appealed from be reversed, but as this is a pauper case, I regret
                    to say it can only be with such costs in this House as are
                    appropriate to that condition of things, and that the cross-
                     appeal be dismissed with costs to the same extent.

                       L O R D W A T S O N . My Lords, this appeal raises some questions
                    of practical importance, depending upon the construction of the
                    Companies Acts, which do not appear to have been settled by
                    previous decisions. As I am not prepared to accept without
                    reservation all the conclusions of fact which found favour with
                    the Courts below, I shall, before adverting to the law, state
                    what I conceive to be the material facts established by the
                    evidence before us. [His Lordship stated the facts above
                    set out.]
                       The allegations of the company, in so far as they have any
                    relation to the amended claim, their pith consisting in the aver-



                                                                          APP.073
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 57 of 421 PageID 17
       A. C.                  AND PEIVY COUNCIL.                                         35

       merits made on amendment, were meant to convey a charge of H. L. (E.)
       fraud; and it is unfortunate that they are framed in such loose : 1896
       and general terms. A relevant charge of fraud ought to disclose SALOJIOJ*
       facts necessitating the inference that a fraud was perpetrated gA,oMOIj
                                                                           &
       upon some person specified. Whether it was a fraud upon the            ®9-'
       company and its members, or upon persons who had dealings SALOMON
                                                                           l
       with the company, is not indicated, although there may be             .„,
       very different considerations applicable to those two cases. The SAL0:»QN-
       res gestas which might imply that it was the appellant, and not Lor<1 w » t a " 1 -
       the company, who actually carried on its business, are not set                  '
       forth. Any person who holds a preponderating share in the
       stock of a limited company has necessarily the intention of
      . taking the lion's share of its profits without any risk beyond
       loss of the money which he has paid for, or is liable to pay upon
       his shares ; and the fact of his acquiring and holding debentures
       secured upon the assets of the company does not diminish the
       risk of that loss. W h a t is meant by the assertion that t h e
       company " was the mere nominee or a g e n t " of the appellant
       I cannot gather from the record; and I am not sure that I
       understand precisely in what sense it was interpreted by t h e
       learned judges whose decisions we have to consider.
          No additional proof was led after the amendment of the-
       counter-claim. . The oral testimony has very little, if any,
       bearing upon the second claim ; and any material facts relating
       to the fraudulent objects which the appellant is said to have
       had in view, and the alleged position of the company as his
       nominee or agent, must be mere matter of inference derived
       from the agreements of July 20 and August 2, 1892, t h e
       memorandum and articles of association, and the minute-book ;
       of the company.
         On rehearing the case Vaughan Williams J., without dis­
      posing of the original claim, gave the company decree of
      indemnity in terms of their amended claim. I do not profess
      my ability to follow accurately the whole chain of reasoning by
      which the learned judge arrived at that conclusion; but he
      appears to have proceeded mainly upon the ground that the
      appellant was in truth the company, the other members being
      either his trustees or mere " dummies," and consequently that
                                                             3      T) 2



                                                                           APP.074
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 58 of 421 PageID 17

      3G                                  HOUSE OF LOEDS                        [1897]

       H. L. (E.) the appellant carried on what was truly his own business under
          189G       cover of the name of the company, which was nothing more
        SALOMON than an alias for Aron Salomon. On appeal from his de-
        SALOMON cision, the Court of Appeal, consisting of Lindley, Lopes,
          &0
             °-      and Kay L . J J., made an order finding it unnecessary to deal
        SALOMON with the original claim, and dismissing the appeal in so far as
            v.       it related to the amended claim. The ratio upon which that
         ALOMON. affirmance proceeded, as embodied in the order, w a s : " This
       Lord wataon. QQ-^^ b e m g of opinion that the formation of the company, the
                     agreement of August, 1892, and the issue of debentures to Aron
                     Salomon pursuant to such agreement, were a mere scheme to
                     enable him to carry on business in the name of the company,
                    with limited liability, contrary to the true intent and meaning of
                    the Companies Act, 1862, and further to enable him to obtain a
                    preference over other creditors of the company by procuring a
                    first charge on the assets of the company by means of such
                    debentures." The opinions delivered by the Lords Justices
                    are strictly in keeping with the reasons assigned in their
                    order. Lindley L.J., observing " t h a t the incorporation of
                    the company cannot be disputed," refers to the scheme for the
                    formation of the company, and says (1) : " the object of the
                   whole arrangement is to do the very thing which the Legislature
                    intended not to be done " ; and he adds that " Mr. Salomon's
                   •scheme is a device to defraud creditors."
                        Assuming that the company was well incorporated in terms
                    of the Act of 1862, an assumption upon which the decisions
                   appealed from appear to me to throw considerable doubt, I
                   think it expedient, before considering the amended claim, to
                    deal with the original claim for rescission, which was strongly
                   pressed upon us by counsel for the company, under their cross-
                   appeal. Upon that branch of the case there does not appear to
                   me to be much room for doubt. W i t h this exception, that the
                   word " exorbitant" appears to me to be too strong an epithet,
                   I entirely agree with Vaughan Williams J. when he says : " I
                   do not think that where you have a private company, and all the
                   shareholders in the company are perfectly cognisant of the con­
                   ditions under which the company is formed, and the conditions
                                       (1) [1895] 2 Ch. 337, 339.



                                                                        APP.075
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                   Page 59 of 421 PageID 1
      A. C.                 AND PEIVY COUNCIL.                                            37

      of the purchase by the company, you can possibly say that pur-          H. L. (E.)
      chasing at an exorbitant price (and I have no doubt whatever             3896
      that the purchase here was at an exorbitant price) is a fraud           SALOMON
      upon those shareholders or upon the company." The learned                „ "•
      judge goes on to say that the circumstances might have                    &Co.
      amounted to fraud if there had been an intention on the part of         SALOMON
                                                                                &
      the original shareholders " to allot further shares at a later period         ^°'
      to future allottees." Upon that point I do not find it necessary        SALOMON.
      to express any opinion, because it is not raised by the facts           Lora watson.
      of the case, and, in any view, these considerations are of no
      relevancy in a question as to rescission between the company
      and the appellant.
         Mr. Farwell argued that the agreement of August 2 ought
      to be set aside upon the principle followed by this House in
      Erlanger v. New Sombrero Phosphate Go. (1) In that case
      the vendor, who got up the company, with the view of selling
      his adventure to it, attracted shareholders by a prospectus which
      was essentially false. The directors, who were virtually his.
      nominees, purchased from him without being aware of the
      real facts ; and on their assurance that, in so far as they knew,
      all was right, the shareholders sanctioned the transaction. The
      fraud by which the company and its shareholders had been
      misled was directly traceable to the vendor; and it was set
      aside at the instance of the liquidator, the Lord Chancellor
      (Earl Cairns) expressing a doubt whether, even in those circum­
      stances, the remedy was not too late after a liquidation order.
      But in this case the agreement of July 20 was, in the full
      knowledge of the facts, approved and adopted by the company
      itself, if there was a company, and by all the shareholders who
      ever were, or were likely to be, members of the company. In
      my opinion, therefore, Erlanger v. New Sombrero Phosphate
      Co. (1) has no application, and the original claim of the
      liquidator is not maintainable.
        The Lords Justices of Appeal, in disposing of the amended
      claim, have expressly found that the formation of the company,
      with limited liability, and the issue of 10,000Z. worth of its
      debentures to the appellant, were " contrary to the true intent
                               (1) 3 App. Cas. 1218.



                                                                       APP.076
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 60 of 421 PageID 1

     38                                  HOUSE OP LORDS                        [1897]

      H. h. (B.) and meaning of the Companies Act, 1862." I have had great
         1896      difficulty in endeavouring to interpret that finding. I am
       SALOMON unable to comprehend how a company, which has been formed
       SAM ON c o n t r a r y to the true intent and meaning of a statute, and (in
         &Oo.      the language of Lindley L.J.) does the very thing which the
       SALOMON Legislature intended not to be done, can yet be held to have
           „_°' been legally incorporated in terms of the statute. " I n t e n t i o n
       SALOMON. 0£ the Legislature " is a common but.very slippery phrase,
      Lord Watson. w hich, popularly understood, may signify anything from inten­
                   tion embodied in positive enactment to speculative opinion as
                   to what the Legislature probably would have meant, although
                   there has been an omission to enact it. I n a Court of L a w or
                   Equity, what the Legislature intended to be done or not to be
                   done can only be legitimately ascertained from that which it
                   has chosen to enact, either in express words or by reasonable
                   and necessary implication. ■■ Accordingly, if the words " intent
                   and meaning," as they occur in the finding of the Appeal Court,
                   are used in their proper legal sense, it follows, in my opinion,
                   that the company has not been well incorporated ; that, there
                   being no legal corporation, there can be no liquidation under
                   the Companies Acts, and that the counter-claim preferred by its
                   liquidator must fail. I n that case its creditors would' not be
                   left without a remedy, because its members, as joint traders
                   without limitation of their liability, would be jointly and
                   severally responsible for the debts incurred by them in the
                   name of the company.
                   The provisions of the Act of 1862 which seem to me to have
                any bearing upon this point lie within a very narrow compass.
                Sect. 6 provides that any seven or more persons, associated for
                a lawful purpose, such as the manufacture and sale of boots,
                may, by subscribing their names to a memorandum of associa­
                tion and otherwise complying with the provisions of the Act in
                respect of registration, form a company with or without limited
                liability; and s. 8, which prescribes the essentials of the memo­
                randum in the case of a company limited by shares, inter alia,
                enacts that " no subscriber shall take less than one share."
                The first of these enactments does not require that the persons
                subscribing shall not be related to each other ; and the second


                                                                        APP.077
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                Page 61 of 421 PageID 17

      A. C.                AND PEIVY COUNCIL.                                   39

      plainly imports that the holding of a single share affords a sum- H. L. (E.)
      cient qualification for membership; and I can find no other'        1896
      rule laid down or even suggested in the Act. Nor does the SALOMON
      statute, either expressly or by implication, impose any limit' gAI?L0„
      upon the number of shares which a single member may sub-            & Co.
      scribe for or take by allotment. At the date of registration all- SALOMON
      the requirements of• the Act'had been complied w i t h ; and, as      „0'
      matters then stood, there does not appear to have been any SALOMON.
      room for the pleas now advanced by the liquidator. The com- ii*m Watson.
      pany was still free to modify or reject the agreement of July 20 ;>
      and the fraud of which the appellant has been held guilty by
      the Court of Appeal, though it may have existed in- animo, had ■
      not been carried into execution-by the acceptance of the agree­
      ment, the issue of debentures to the appellant in terms of it,
      and by his receiving an allotment of shares which increased his
      interest in the company to §§§§4"'of i*s actual capital. I have
      already intimated'my opinion that the acceptance of the agree­
      ment is binding' on the company; and neither that acceptance,
      nor the preponderating share of the appellant, nor his payment"
      in debentures, being forbidden by the Act, I do not think that
      any one of these things could subsequently render the registra­
      tion of the company; invalid. B u t I am willing to assume that
      proceedings'which are permitted by the Act may be so used by
      the members of a limited company as to constitute a fraud upon
      others, to whom they in- consequence incur personal liability.
      I n this case the fraud is found to have been- committed by the
      appellant against the creditors of the company; but it is clear
      that if so', though.he may have been its originator and the only
      person who took benefit'from it; he could not have done any
      one of those things, which taken together' are said to consti­
      tute his fraud, without the consent and' privity of the other
      shareholders.- I t seems doubtful whether a liquidator as repre­
      senting and in the name of the company can sue its members'
      for redress against a fraud which was committed- by the com­
      pany itself and by* all its shareholders. However, I do not
      think'it necessary to dwell upon that point, because I am not
      satisfied that the charge of : fraud against creditors has any
       foundation in fact.                ■          •.



                                                                    APP.078
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 62 of 421 PageID 1

     40                                    HOUSE OF LORDS                      [1897],

      H. L. (E.)    The memorandum of association gave notice that the main
        1896     object for which the company was formed was to adopt and
      SALOMON carry into effect, with or without modifications, the agreement.
      ,, "•      of July, 1892, in terms of which the debentures for 10,000Z.
       SALOMON                         .
          & Co.      were subsequently given to the appellant in part payment of
      SALOMON       the price. By the articles of association (art. 62 (e)) the
           ^        directors were empowered to issue mortgage or other debentures.
       SALOMON. o r bonds for any debts due, or to become due, from the com-
      Loni Watson, pany; and it is not alleged or proved that there was any failure
                   to comply with s. 43 or the other clauses (Part I I I . of the Act)
                   which relate to the protection of creditors. The unpaid
                   creditors of the company, whose unfortunate position has been
                   attributed to the fraud of the appellant, if they had thought fit
                   to avail themselves of the means of protecting their interests-
                   which the Act provides, could have informed themselves of the.
                   terms of purchase by the company, of the issue of debentures-
                   to the appellant, and of the amount of shares held by each
                   member. I n my opinion, the statute casts upon them the
                   duty of making inquiry in regard to these matters. Whatever
                   may be the moral duty of a limited company and its share­
                   holders, when the trade of the company is not thriving, the
                   law does not lay any obligation upon them to warn those
                   members of the public who deal with them on credit that they
                   run the risk of not being paid. One of the learned judges-
                   asserts, and I see no reason to question the accuracy of his-
                   statement, that creditors never think of examining the register
                   of debentures. B u t the apathy of a creditor cannot justify an
                   imputation of fraud against a limited company or its members,
                   who have provided all the means of information which the Act
                   of 1862 requires ; and, in my opinion, a creditor who will not
                   take the trouble to use the means which the statute provides-
                   for enabling him to protect himself must bear the consequences
                   of his own negligence.
                      For these reasons I have come to the conclusion that the
                   orders appealed from ought to be reversed, with costs to the
                   appellant here and in both Courts below. His costs in this-
                  House must, of course, be taxed in accordance with the rule
                   applicable to pauper litigants.


                                                                        APP.079
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                 Page 63 of 421 PageID 1
      A. C.                AND PEIVY COUNCIL.                                    41

         LOED HBESCHELL.         My Lords, by an order of the High H. L. (E.)
       Court, which was affirmed by the Court of Appeal, it was               1896
       declared that the respondent company, or the liquidator of that SALOMOX
       company was entitled to be indemnified by the appellant against gALoJIOJf
       the sum of 7733Z. 8s. 3d., and it was ordered that the respondent     & Co.
       company should recover that sum against the appellant.              SALOMON-
                                                                             l
          On July 28, 1892, the respondent company was incorporated             r
      with a capital of 40,000Z. divided into 40,000 shares of 11. e a c h SALOMON.
       One of the objects for which the company was incorporated was
       to carry out an agreement, with such modifications therein as
       might be agreed to, of July 20,1892, which had been entered into
       between the appellant and a trustee for a company intended to
      be formed, for the acquisition by the company of the business
      then carried on by the appellant. The company was, in fact,
      formed for the purpose of taking over the appellant's business
      of leather merchant and boot manufacturer, which he had
      carried on for many years. The business had been a prosperous
      one, and, as the learned judge who tried the action found, was
      solvent at the time when the company was incorporated. The
      memorandum of association of the company was subscribed by
      the appellant, his wife and daughter, and his four sons, each
      subscribing for one share. The appellant afterwards had
      20,000 shares allotted to him.        For these he paid 11. per
      share out of the purchase-money which by agreement he was.
      to receive for the transfer of his business to the company.
      The company afterwards became insolvent and went into
      liquidation.
         I n an action brought by a debenture-holder on behalf of
      himself and all the other debenture-holders, including the appel­
      lant, the respondent company set up by way of counter-claim
      that the company was formed by Aron Salomon, and the
      debentures were issued in order that he might carry on the
      said business, and take all the profits without risk to himself;
      that the company was the mere nominee and agent of Aron
      Salomon; and that the company or the liquidator thereof was
      entitled to be indemnified by Aron Salomon against all the
      debts owing by the company to creditors other than Aron
      Salomon. This counter-claim was not in the pleading as



                                                                     APP.080
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                   Page 64 of 421 PageID 17

     42                                 HOUSE OF LORDS                        [1897]

      H. L. (B.) originally delivered ; it was inserted by way of amendment at
        1896        the suggestion of Vaughan "Williams J., before whom the
      SALOMON action came on for trial.              The learned judge thought the
      SALOMON liquidator entitled to the relief asked for, and made the order
        &
          Co.        complained of. H e was of opinion that the company was
      SALOMON only an " a l i a s " for Salomon; that, the intention being that
          „. '      he should take the profits without running the risk of the
      SALOMON. ^. e bts, the company was merely an agent for him, and, having
     Lord Heracheii. incurred liabilities at his instance, was, like any other agent
                     under such circumstances, entitled to be indemnified by'
                     him against them.       On appeal the judgment of Vaughan'
                     Williams J . was.affirmed by the Court of Appeal, that Court
                     " being of opinion that the formation of the company, the
                     agreement of August, 1892, and the issue of debentures to
                     Aron Salomon pursuant to such agreement were a mere
                     scheme to enable him to carry on business in the name of
                     the company with limited liability contrary to the true intent
                     and meaning of the.Companies Act, 1862, and further to enable
                     him to obtain a preference over other creditors of the company
                     by procuring a first charge on the assets of the company by
                     means of such debentures.""
                   The learned judges in the Court of Appeal dissented from
                the view taken by Vaughan Williams J., that the company
                was to be regarded as the agent of the appellant.                They'
                considered the relation between them to be that of trustee and
                cestui que t r u s t ; but this difference of view, of course, did not
                affect the conclusion that the right to the indemnity claimed
                had been established.              '
                   I t is to be observed' that both Courts treated the company as'
                a legal entity distinct from Salomon and the then members who
                composed.it, and therefore as a validly constituted corporation.
                This is, indeed, necessarily involved in the judgment which
                declared that the company was entitled to certain rights as'
                against Salomon. Under these circumstances; I am at a loss to
                understand what is meant by saying that-A: Salomon & Co.,
                Limited, is but an " alias " x for A. Salomon. I t is not another
                name' for the same person; the company is ex hypothesi a
                distinct legal persona. As little- am I able to adopt the view



                                                                        APP.081
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                  Page 65 of 421 PageID 1

      A. C.                 AND PEIVY COUNCIL.                                    43

      that the company was' the agent of Salomon to carry on his H. L. (E.)
      business for him. I n a popular sense, a company may in every        1896
      case be said to carry on business for and on behalf of its share- SALOMON
      holders; but this certainly does not in point of law constitute' g A ^oN
                                                                          &
      the relation of principal and agent between them or render the         Co-
      shareholders liable to indemnify the company against the debts SALOMON
      which it incurs. Here, it is' true, Salomon owned all the             „.
      shares except six, so that if t h e ' business -were profitable he SALMON.
      would be entitled, substantially, to the whole of the profits. Lord Herscheii.
      The other shareholders, too, are said to have been " dummies,""
      the nominees of Salomon. B u t when once it is conceded that
      they were individual members of the company distinct from
      Salomon, and sufficiently so to bring'into'existence'in con-'
      junction with him a validly constituted "corporation,' I am
      unable to see how the facts to which I have just referred can
      affect the legal position of the company, or give it rights as
      against its members which it would not otherwise possess.
         The Court of Appeal based their judgment on the proposition'
      that the formation of the company.and all that followed on it
      were a mere scheme to enable the appellant to'carry on busi­
      ness in the name of the company, .with limited liability, con­
      trary to the true intent and meaning of the Companies" Act',
      1862. The conclusion which they drew from this "premisswas,
      that the company was a trustee and Salomon their cestui "que"
      trust. I cannot think that the conclusion' follows even if' the
      premiss be sound. I t seems to me that the logical' result
      would be that the company had not been validly constituted,'
      and therefore had no legal existence. But, apart from' this-, it'
      is necessary ito examine the proposition on which the Court'
      have rested their judgment, as its effect would be far reaching.'
      Many industrial and banking concerns of "the highest standing
      and credit have, in recent years, been, to use a common expres-.
      sion, converted into joint stock companies,' and often into what
      are called " private " companies, where the Whole of the shares.
      are held by the former.partners. I t appears to me that all'
      these might be pronounced "schemes to e n a b l e" them " t o
      carry ■ on business i n ' t h e name of the company,'with limited
      liability," in the very sense in which those words are used in



                                                                      APP.082
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 66 of 421 PageID 17

     44                                   HOUSE OF LOKDS                        [1897]

       H. L. (E.) the judgment of the Court of Appeal. The profits of t h e
          1896        concern carried on hy the company will go to the persons
        SALOMON whose business it was before the transfer, and in the same
        SALOMON Proportions as before, the only difference being that the liability
          &
            Co.       of those who take the profits will no longer be unlimited. T h e
        SALOMON very object of the creation of the company and the transfer to
            „. '      it of the business is, that whereas the liability of the partners
       SALOMON. for <jekts i n c U rred was without limit, the liability of t h e
      Lorn Herscheii. members for the debts incurred by the company shall be
                      limited. I n no other respect is it intended that there shall b e
                      any difference : the conduct of the business and the division of
                      the profits are intended to be the same as before. If the judg­
                      ment of the Court of Appeal be pushed to its logical conclusion,
                      all these companies must, I think, be held to be trustees for
                      the partners who transferred the business to them, and those
                      partners must be declared liable without limit to discharge t h e
                      debts of the company. For this is the effect of the judgment
                      as regards the respondent company. The position of the
                      members of a company is just the same whether they are
                      declared liable to pay the debts incurred by the company, or by
                      way of indemnity to furnish the company with the means of
                      paying them. I do not think the learned judges in the Court
                      below have contemplated the application of their judgment to
                      such cases as I have been considering; but I can see no solid
                      distinction between those cases and the present one.
                   I t is said that the respondent company is a " one man "
                 company, and that in this respect it differs from such companies
                 as those to which I have alluded. But it has often happened
                 that a business transferred to a joint stock company has been
                 the property of three or four persons only, and that the other
                 subscribers of the memorandum have been clerks or other
                 persons who possessed little or no interest in the concern. I
                 am unable to see how it can be lawful for three or four or six
                 persons to form a company for the purpose of employing their
                 capital in trading, with the benefit of limited liability, and not
                 for one person to do so, provided, in each case, the requirements
                 of the statute have been complied with and the company has
                 been validly constituted. How does it concern the creditor



                                                                        APP.083
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 67 of 421 PageID 1
      A. C.                   AND PEIVY COUNCIL.                                                  45

      whether t h e capital of t h e company is owned by seven persons             H. L. (E.)
      in equal shares, with t h e right to an equal share of t h e profits,         1896
      or whether it is almost entirely owned by one person, w h o                   SALOMON
      practically takes t h e whole of t h e profits ? T h e creditor h a s         g A L o' M O N
                                                                                      & Co
      notice that he is dealing with a company the liability of the                          -
      members of which is limited, and t h e register of shareholders               SALOMON
                                                                                      A" Pr>
      informs him how the shares are held, and that they are sub-                       «.
                                                                                     AL0M0K
      stantially in the hands of one person, if this be the fact. The                           '
                                                                                  Lord Hersclie
      creditors in the present case gave credit to and contracted with                          "-
      a limited company ; t h e effect of t h e decision is to give them
      the benefit, as regards one of t h e shareholders, of unlimited
      liability. I have said that t h e liability of persons carrying on
      business can only be limited provided t h e requirements of t h e
      statute be complied w i t h ; and this leads naturally to the inquiry,
      W h a t are those requirements ?
          T h e Court of Appeal has declared that t h e formation of t h e
      respondent company and t h e agreement to take over t h e busi­
      ness of t h e appellant were a scheme " contrary to t h e true
      intent and meaning of t h e Companies A c t . " I know of no
      means of ascertaining what is t h e intent and meaning of
      the Companies Act except by examining its provisions and
      finding what regulations it h a s imposed as a condition of
      trading with limited liability. T h e memorandum must state
      t h e amount of t h e capital of t h e company and the 'number of
      shares into which it is divided, and no subscriber is to take less
      t h a n one share. T h e shares may, however, be of as small a
      nominal value as those who form t h e company please: t h e
      statute prescribes no m i n i m u m ; and though there m u s t be
      seven shareholders, it is enough if each of them holds one
      share, however small its denomination. T h e Legislature, there­
      fore, clearly sanctions a scheme by which all t h e shares except
      six are owned by a single individual, and these six are of a
      value little more t h a n nominal.
          I t was said that in t h e present case t h e six shareholders
      other t h a n t h e appellant were mere dummies, his nominees,
      and held their shares in trust for him. I will assume that this
      was so. I n m y opinion, it makes no difference. T h e statute
      forbids t h e entry in t h e register of any t r u s t ; and it certainly


                                                                            APP.084
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 68 of 421 PageID 1
     46                                   HOUSE OF LOEDS                         [1897]

       H. L. (E.) .contains no enactment that each of the seven persons sub-
         1896     scribing the memorandum must be beneficially entitled to the
       SALOMON share or shares for which he- subscribes. The persons who
       e.,™,™ subscribe the memorandum, or who have agreed to become
       SALOMON                                   '                  °

          * Co.        members of the company and whose names are on the register,
        SALOMON are alone regarded as, and in fact are; the shareholders.          They
            Vm '       are subject to all the liability which attaches to the holding of
        SALOMON, £he share. They can • be compelled to make any payment
      ix>ra Herscheii. w h i c h the ownership of a share involves. Whether they are
                       beneficial owners or bare trustees is a matter with which
                       neither the company nor creditors have anything to d o : it
                       concerns only them and their cestuis que trust if- they have
                       any. If, then, in the present case all the requirements of the
                       statute were complied with, and a company was effectually
                       constituted, and this is the hypothesis of the judgment appealed
                      from, what warrant is there for saying that what was done was
                       contrary to the true intent and meaning of the Companies Act ?
                          I t may be that a company constituted like that under con­
                       sideration was not in the contemplation of the Legislature at
                       the time when the Act authorizing limited liability was passed ;
                       that if what is possible under the enactments as they stand
                       had been foreseen a minimum sum would have been fixed as
                       the least denomination of share permissible; and that it would
                       have been made a condition that each of the seven persons
                       should have a substantial interest in the company. B u t we
                       have to interpret the law, not to make i t ; and it must be
                       remembered that no one need trust a limited liability company
                       unless he so please, and that before he does so he can ascertain,.
                       if he so please, what.is the capital of the company and how it
                       is held.
                          I have hitherto made no reference to the debentures which
                       the appellant received in part-payment of the purchase-money
                       of the business which he transferred to the company. These
                       are referred to in the judgment as part of the scheme which is
                       pronounced contrary to the true intent and meaning of the,
                       Companies Act. But if apart from this the conclusion that
                       the appellant is bound to indemnify the company against its
                       debts cannot be sustained, I do not see how the circumstance.



                                                                         APP.085
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                   Page 69 of 421 PageID 1
      A. C.                 AND PEIVY COUNCIL.                                      47

      that he received these debentures can avail the respondent H. L. (E,)
      company. The.issue of debentures to the vendor of. a business        1896
      as part of the price is certainly open to great abuse, and has SALOMON
      often worked grave mischief. I t may well be that some check SALOMON
                                                                           &
      should be placed upon the practice, and that, at all events,           Co.
      ample notice to all who may have dealings with the company SALOMON
      should be secured. B u t as the law at present stands, there is        „ °'
      certainly nothing unlawful in the creation of such debentures. SALOMON.
      For these reasons. I have come to the conclusion that the appeal Lord Herscheii.
      should be allowed.
        I t was contended on behalf of the company that, the agree­
      ment between them and the appellant ought, at all events, to
      be set aside on the ground of fraud. I n my opinion, no such
      case has been made out, and I do not think the respondent
      company are entitled to any such relief.-

         L O R D MACNAGHTEN. . My Lords, I cannot, help thinking
      that the appellant, Aron Salomon,, has been, dealt with some­
      what hardly in this case. t            .,
         Mr. Salomon, who is now suing as a pauper, was a wealthy
      man in July, 1892. H e was, a boot and shoe manufacturer
      trading on his own sole account under the firm of " A. Salomon
      & Co.," in High Street, Whitechapel, where he had extensive
      warehouses and a large establishment. H e had been in the
      trade over thirty years. H e had lived in the same neighbour­
      hood all along, and for many years past he had occupied the
      same premises. So far things had gone very well with him.
      Beginning with little or no capital, he had gradually built up a
      thriving business, and he was undoubtedly in good credit. and
      repute.
         I t is impossible to say exactly what the value of the business
      was. B u t there was a substantial surplus of assets over lia­
      bilities. And it seems to me to be pretty clear that if Mr.
      Salomon had been minded to dispose of his business in the
      market as a going concern he might fairly have counted upon
      retiring with at least 10,000Z. in his pocket.
         Mr. Salomon, however, did not want to part with the busi­
      ness. H e had a wife and a family consisting of five sons and a



                                                                       APP.086
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                 Page 70 of 421 PageID 17

      48                                 HOUSE OF LORDS                       [1897]

       H. L. (E.) daughter. Pour of the sons were working with their father.
          1896    The eldest, who was about thirty years of age, was practically
       SALOMON the manager. But the sons were not partners: they were
                  on
        SALOMON     ty servants. Not unnaturally, perhaps, they were dissatisfied
          &Co
              -   with their position. They kept pressing their father to give
       SALOMON them a share in the concern. " They troubled me," says Mr.
           „.     Salomon, " all the while." So at length Mr. Salomon did what
       SALOMON. h u n d r e d s 0 f others have done under similar circumstances. He
       Macoagjten. * u r n e < l his business into a limited company. H e wanted, he
                    says, to extend the business and make provision for his family.
                    I n those words, I think, he fairly describes the principal
                    motives which influenced his action.
                       All the usual formalities were gone through; all the require­
                    ments of the Companies Act, 1862, were duly observed. There
                    was a contract with a trustee in the usual form for the> sale of
                    the business to a company about to be formed. There was a
                   memorandum of association duly signed and registered, stating
                   that the company was formed to carry that contract into effect,
                   and fixing the capital at 40,000?. in 40,000 shares of 11. each.
                   There were articles of association providing the usual machinery
                   for conducting the business. The first directors were to be
                   nominated by the majority of the subscribers to the memo­
                   randum of association. The directors, when appointed, were
                   authorized to exercise all such powers of the company as were
                   not by statute or by the articles required to be exercised in
                   general meeting; and there was express power to borrow on
                   debentures, with the limitation that the borrowing was not to
                   exceed 10,000Z. without the sanction of a general meeting.
                   The company was intended from the first to be a private
                company; it remained a private company to the end. No
                prospectus was issued; no invitation to take shares was ever
                addressed to the public.
                   The subscribers to the memorandum were Mr. Salomon, his
                wife, and five of his children who were grown up. The sub­
                scribers met and appointed Mr. Salomon and his two elder
                sons directors. The directors then proceeded to carry out the
                proposed transfer. B y an agreement dated August 2, 1892,
                the company adopted the preliminary contract, and in accord-



                                                                      APP.087
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                 Page 71 of 421 PageID 17

     A. C.                AND PEIVY COUNCIL.                                   49

     ance with it the business was taken over by the company as H. L. (E.)
     from June 1, 1892. The price fixed by the contract was duly          1896
     paid. The price on paper was extravagant. It amounted to SALOMON
     over 39.000Z.—a sum which represented the sanguine expecta- SALOMON
     tions of a fond owner rather than anything that can be called &C°-
     a businesslike or reasonable estimate of value. That, no doubt, SALOMON
     is a circumstance which at first sight calls for observation ; but    „.
                                                                        SALOMW
     when the facts of the case and the position of the parties are            -
     considered, it is difficult to see what bearing it has on the M l J^ t e n i
     question before your Lordships. The purchase-money was
     paid in this way : as money came in, sums amounting in all to
     30,000£. were paid to Mr. Salomon, and then immediately
     returned to the company in exchange for, fully-paid shares.
     The sum of 10,000Z. was paid in debentures for the like amount.
     The balance, with the exception of about 1000Z. which Mr.
     Salomon seems to have received and retained, went in discharge
     of the debts and liabilities of the business at the time of the
     transfer, which were thus entirely wiped off. In the result,
     therefore, Mr. Salomon received for his business about 1000£.
     in cash, 10,000£. in debentures, and half the nominal capital of
     the company in fully paid shares for what they were worth.
     No other shares were issued except the seven shares taken by
     the subscribers to the memorandum, who, of course, knew all
     the circumstances, and had therefore no ground for complaint
     on the score of overvaluation.
        The company had a brief career: it fell upon evil days.
     Shortly after it was started there seems to have come a period
     of great depression in the boot and shoe trade. There were
     strikes of workmen too ; and in view of that danger contracts
     with public bodies, which were the principal source of Mr.
     Salomon's profit, were split up and divided between different
     firms. The attempts made to push the business on behalf of
     the new company crammed its warehouses with unsaleable
     stock. Mr. Salomon seems to have done what he could : both
     he and his wife lent the company money ; and then he got his
     debentures cancelled and reissued to a Mr. Broderip, who
     advanced him 5000Z., which he immediately handed over to
     the company on loan. The temporary relief only hastened
       A. C. 1897.                                       3     R

                                                                      APP.088
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                Page 72 of 421 PageID 17

       50                                HOUSE OF LORDS                      [1897]

        H. L. (B.) ruin. Mr. Broderip's interest was not paid when it became
          1896     due. H e took proceedings at once and got a receiver appointed.
        SALOMON Then, of course, came liquidation and a forced sale of the
        SALOMON company's assets. They realized enough to pay Mr. Broderip,
          &Co
              -    but not enough to pay the debentures in full; and the unsecured
        SALOMON creditors were consequently left out in the cold.
           v. '       I n this state of things the liquidator met Mr. Broderip's
         ALOMON. c i a j m by a counter-claim, to which he made Mr. Salomon a
        nacuiSbten. defendant. H e disputed the validity of the debentures on the
                    ground of fraud. On the same ground he claimed rescission of
                    the agreement for the transfer of the business, cancellation of
                    the debentures, and repayment by Mr. Salomon of the balance
                    of the purchase-money. I n the alternative, he claimed payment
                    of 20,000L on Mr. Salomon's shares, alleging that nothing had
                    been paid on them.
                       When the trial came on before Vaughan Williams J., the
                    validity of Mr. Broderip's claim was admitted, and it was not
                    disputed that the 20,000 shares were fully paid up. The case
                    presented by the liquidator broke down completely; but the
                    learned judge suggested that the company had a right of
                    indemnity against Mr. Salomon. The signatories of the memo­
                    randum of association were, he said, mere nominees of Mr.
                    Salomon—mere dummies. The company was Mr. Salomon in
                    another form. H e used the name of the company as an alias.
                    H e employed the company as his agent; so the company, he
                    thought, was entitled to indemnity against its principal. The
                    counter-claim was accordingly amended to raise this point; and
                    on the amendment being made the learned judge pronounced
                    an order in accordance with the view he had expressed.
                    The order of the learned judge appears to me to be founded
                 on a misconception of the scope and effect of the Companies
                 Act, 1862. I n order to form a company limited by shares, the
                 Act requires that a memorandum of association should be
                 signed by seven persons, who are each to take one share at
                 least. If those conditions are complied with, what can it
                 matter whether the signatories are relations or strangers?
                 There is nothing in the Act requiring that the subscribers to
                 the memorandum should be independent or unconnected, or


                                                                    APP.089
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19               Page 73 of 421 PageID 1
      A. o:                AND PEIVY COUNCIL.                                        51

      that they or any one of them should take a substantial interest   H. L. (E.)
      in the undertaking, or that they should have a mind and will       1896
      of their own, as one of the learned Lords Justices seems to       SALOMON
      think, or that there should be anything like a balance of power   SALOMON
      in the constitution of the company. In almost every company            & Co.
      that is formed the statutory number is eked out by clerks or      SALOMON
      friends, who sign their names at the request of the promoter           r#°'
      or promoters without intending to take any further part or        SALOMON.
                                                                             Lor
      interest in the matter.                                           ,r     J,
                                                                        Macnagnten.
         When the memorandum is duly signed and registered, though
      there be only seven shares taken, the subscribers are a body
      corporate " capable forthwith," to use the words of the enact­
      ment, " of exercising all the functions of an incorporated com­
      pany." Those are strong words. The company attains maturity
      on its birth. There is no period of minority—no interval of
      incapacity. I cannot understand how a body corporate thus
      made " capable " by statute can lose its individuality by issuing
      the bulk of its capital to one person, whether he be a sub­
      scriber to the memorandum or not. The company is at law a
      different person altogether from the subscribers to the memo­
      randum ; and, though it may be that after incorporation the
      business is precisely the same as it was before, and the same
      persons are managers, and the same hands receive the profits,
      the company is not in law the agent of the subscribers or
      trustee for them. Nor are the subscribers as members liable,
      in any shape or form, except to the extent and in the manner
      provided by the Act. That is, I think, the declared intention
      of the enactment. If the view of the learned judge were
      sound, it would follow that no common law partnership could
      register as a company limited by shares without remaining
      subject to unlimited liability.
         Mr. Salomon appealed; but his appeal was dismissed with
      costs, though the Appellate Court did not,entirely accept the
      view of the Court below. The decision of the Court of Appeal
      proceeds on a declaration of opinion embodied in the order
      which has been already read.
        I must say that I, too, have great difficulty in understanding ,
      this declaration. If it only means that Mr. Salomon availed
                                                     3      B 2


                                                                  APP.090
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 74 of 421 PageID 1
     52                                    HOUSE OF LOEDS                           [1897]

       H. L. (E.) himself to the full of the advantages offered by the Act of 1862,
         1896     what is there wrong in that ? Leave out the words " contrary
                          e  rue
       SALOMON *° *^ *            intent and meaning of the Companies Act, 1862,"
                  an<
       SALOMON        * ^eax * n m m ^ * n a , t " * n e creditors of the company " are not
         & Co.     the creditors of Mr. Salomon, and the declaration is perfectly
       SALOMON innocent: it has no sting in it.
           v '        I n an early case, which in some of its aspects is not unlike
       SALOMON. ^ n e pj-egejj^ the owners of a colliery (to quote the language of
      MacMghten   Giffard L . J . in the Court of Appeal) " went on working the
                  colliery not very successfully, and then determined to form a
                  limited company in order to avoid incurring further personal
                  liability." " I t was," adds the Lord Justice, " the policy of the
                  Companies Act to enable this to be done." And so he reversed
                  the decision of Malins V . - C , who had expressed an opinion
                  that if the laws of the country sanctioned such a proceeding
                  they were " i n a most lamentable state," and had fixed the
                  former owners with liability for the amount of the shares they
                  took in exchange for their property : In re Baglan Hall Colliery
                  Go. (1)
                     Among the principal reasons which induce persons to form
                  private companies, as is stated very clearly by Mr. Palmer in
                  his treatise on the subject, are the desire to avoid the risk of
                  bankruptcy, and the increased facility afforded for borrowing
                  money. By means of a private company, as Mr. Palmer
                  observes, a trade can be carried on with limited liability, and
                  without exposing the persons interested in it in the event ot
                  failure to the harsh provisions of the bankruptcy law. A
                  company, too, can raise money on debentures, which an ordinary
                  trader cannot do. Any member of a company, acting in good
                  faith, is as much entitled to take and hold the company's
                  debentures as any outside creditor. Every creditor is entitled
                  to get and to hold the best security the law allows him to
                  take.
                    If, however, the declaration of the Court of Appeal means
                 that Mr. Salomon acted fraudulently or dishonestly, I must say
                 I can find nothing in the evidence to support such an imputa-
               * tiou. The purpose for which Mr. Salomon and the other
                                            (1) L. "R. 5 Ch. 340.



                                                                            APP.091
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                  Page 75 of 421 PageID 17

     A. C.                 AND PKIVY COUNCIL.                                        53

      subscribers to the memorandum were associated was " lawful."         H. L. (E.)
      The fact that Mr. Salomon raised 5000Z. for the company on            1896
      debentures that belonged to him seems to me strong evidence          SALOMON
                                                                              v
      of his good faith and of his confidence in the company. The          gA ~
                                                                             &
      unsecured creditors of A. Salomon and Company, Limited, may             Co.
      be entitled to sympathy, but they have only themselves to blame      SALOMON
     for their misfortunes. They trusted the company, I suppose,            £°'
     because they had long dealt with Mr. Salomon, and he had              SALOMON.
                                                                               r
     always paid his way ; but they had full notice that they were         MacMMen
     no longer dealing with an individual, and they must be taken              —
     to have been cognisant of the memorandum and of the articles
     of association. For such a catastrophe as has occurred in this
     case some would blame the law that allows the creation of a
     floating charge. But a floating charge is too convenient a form
     of security to be lightly abolished. I have long thought, and I
     believe some of your Lordships also think, that the ordinary
     trade creditors of a trading company ought to have a preferential
     claim on the assets in liquidation in respect of debts incurred
     within a certain limited time before the winding-up. But that
     is not the law at present. Everybody knows that when there
     is a winding-up debenture-holders generally step in and sweep
     off everything; and a great scandal it is.
        It has become the 'fashion to call companies of this class
     " one man companies." That is a taking nickname, but it does
     not help one much in the way of argument. If it is intended
     to convey the meaning that a company which is under the
     absolute control of one person is not a company legally incor­
     porated, although the requirements of the Act of 1862 may have
     been complied with, it is inaccurate and misleading: if it merely
     means that there is a predominant partner possessing an over­
     whelming influence and entitled practically to the whole of the
     profits, there is nothing in that that I can see contrary to the
     true intention of the Act of 1862, or against public policy, or
     detrimental to the interests of creditors. If the shares are fully
     paid up, it cannot matter whether they are in the hands of one
     or many. If the shares are not fully paid, it is as easy to gauge
     the solvency of an individual as to estimate the financial ability
     of a crowd.


                                                                          APP.092
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 76 of 421 PageID 17

      54                        ,           HOUSE OP LOEDS                       [1897]

       H. L. (E.)   One argument was addressed to your Lordships which ought
         1896     perhaps to be noticed, although it was not the ground of
       SALOMON decision in either of the Courts below. I t was argued that t h e
       SALOMON agreement for the transfer of the business to the company ought
         &
           Co.    to be set aside, because there was 'no independent board of
       SALOMON directors, and the property was transferred at an overvalue.
           „,°"   There are, it seems to me, two answers to that argument. I n
       SALOMON. ^ e firs£ p i a C 6 j the directors did just what they were authorized
       „ Lor*     to do by the memorandum of association. There was no fraud
       M&cnaghten.          J
                     or misrepresentation, and there was nobody deceived. In the
                     second place, the company have put it out of their power to
                     restore the property which was transferred to them. I t was
                     said that the assets were sold by an order made in the presence
                     of Mr. Salomon, though not with his consent, which declared
                     that the sale was to be without prejudice to the rights claimed
                     by the company by their counter-claim. I cannot see what
                     difference that makes. The reservation in the order seems to
                     me to be simply nugatory.
                        I am of opinion that the appeal ought to be allowed, and the
                     counter-claim of the company dismissed with costs, both here
                     and below.

                       LOED MOEBIS. My Lords, I quite concur in the judgment
                     which has been announced, and in the reasons which have been
                     so fully given for it.

                       LOED DAVEY.        My Lords, it is possible, and (I think) pro­
                     bable, that the conclusion to which I feel constrained to come
                     in this case may not have been contemplated by the Legislature,
                     and may be due to some defect in the machinery of the Act.
                     But, after all, the intention of the Legislature must be collected
                     from the language of its enactments ; and I do not see my way
                     to holding that if there are seven registered members the
                     association is not a company formed in compliance with the
                     provisions of the Act and capable of carrying on business with
                     limited liability, either because the bulk of the shares are held
                     by some only, or even one of the members, and the others are
                     what is called " dummies," holding, it may be, only one share


                                                                         APP.093
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                 Page 77 of 421 PageID 1
      A. C.                AND PRIVY COUNCIL.                                              55

      of 11. each, or because there are less than seven persons who H. L. (E.)
      are beneficially entitled to the shares.                        1896
        I think that this result follows from the absence of any SALOMON
      provision fixing a minimum nominal amount of a share—the „ v-
      A
                    °                   .                                  SALOMON
      provision in s. 8 that no subscriber shall take less than one           & Co.
      share, and the provision in s. 30 that no notice of any trust       SALOMON
      shall be entered on the register. W i t h regard to the latter            ^°'
      provision, it would, in my opinion, be impossible to work the       SALOMON.
                                                                          :Lord D a v c
      machinery of the Act on any other principle, and to attempt to                      y-
      do so would lead only to confusion and uncertainty. The
     learned counsel for the respondents (wisely, as I think) did not
      lay any stress on the members, other than the appellant, being
     trustees for him of their shares. Their argument was that they
      were " dummies," and did not hold a substantial interest in the
      company, i.e., what a jury would say is a substantial interest.
     I n the language of some of the judges in the Court below, any
     jury, if asked the question, would say the business was Aron
      Salomon's and no one else's.
        I t was not argued in this case that there was no association
     of seven persons to be registered, and the registration therefore
     operated nothing, or that the so-called company was a sham
     and might be disregarded; and, indeed, it would have been
     difficult for the learned counsel for .the respondents, appearing,
     as they did, at your Lordships' Bar for the company, who had
     been permitted to litigate in the Courts below as actors (on
     their counter-claim), to contend that their clients were non­
     existent. I do not say that such an argument ought to or
     would prevail; I only observe that, having regard to the
     decisions, it is not certain that s. 18, making the certificate of
     the registrar conclusive evidence that all the requisitions of the
     Act in respect of registration had been complied with, would
     be an answer to it.
        W e start, then, with the assumption that the respondents
     have a corporate existence with power to sue and be sued,
     to incur debts and be wound up, and to act as agents or as
     trustees, and I suppose, therefore, to hold property. Both the
     Courts below have, however, held that the appellant is liable to
     indemnify the company against all its debts and liabilities.



                                                                     APP.094
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                 Page 78 of 421 PageID 1
      56                                 HOUSE OF LOKDS                       [1897]

       H. L. (B.) Vaughan Williams J. held that the company was an " alias "
          1896      for the appellant, who carried on his business through the
        SALOMON company as his agent, and that he was bound to indemnify his
                   o w n a en
        SALOMON            g * > a n ( l he arrived at this conclusion on the ground
          &0
             °-     that the other members of the company had no substantial
       SALOMON interest in it, and the business in substance was the appellant's.
           „. '     The Court of Appeal thought the relation of the company to
       SALOMON. ^ e a p p e n a n t w a s fa^ 0 f trustee to cestui que trust.
       Lord Davey.     rphe ground on which the learned judges seem to have chiefly
                   relied was that it was an attempt by an individual to carry on
                   his business with limited liability, which was forbidden by the
                   Act and unlawful. I observe" in passing, that nothing turns
                   upon there being only one person interested. The argument
                   would have been just as good if there had been six members
                   holding the bulk of the shares and one member with a very
                   small interest, say, one share. I am at a loss to see how in
                   either view taken in the Courts below the conclusion follows
                   from the premises, or in what way the company became an
                   agent or trustee for the appellant, except in the sense in which
                   every company may loosely and inaccurately be said to be an
                   agent for earning profits for its members, or a trustee of its
                   profits for the members amongst whom they are to be divided.
                   There was certainly no express trust for the appellant; and an
                   implied or constructive trust can only be raised by virtue of
                   some equity. I took the liberty of asking the learned counsel
                   what the equity was, but got no answer. By an " alias " is
                   usually understood a second name for one individual; but here,
                   as one of your Lordships has already observed, we have, ex
                   hypothesi, a duly formed legal persona, with corporate attri­
                   butes and capable of incurring legal liabilities. Nor do I think
                   it legitimate to inquire whether the interest of any member is
                   substantial when the Act has declared that no member need
                   hold more than one share, and has not prescribed any minimum
                   amount of a share. If, as was said in the Court of Appeal, the
                   company was formed for an unlawful purpose, or in order to
                   achieve an object not permitted by the provisions of the Act,
                   the appropriate remedy (if any) would seem to be to set aside
                   the certificate of incorporation, or to treat the company as a




                                                                     APP.095
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                Page 79 of 421 PageID 17

      A. C.                AND PEIVY COUNCIL.                                              57

      nullity, or, if t h e appellant has committed a fraud or mis-       H. L. (B.)
      demeanour (which I do not think h e has), he.may be proceeded        1896
      against civilly or criminally; but how either of those states       SALOMON
      of circumstances creates the relation of cestui que trust and       g   *•
                                                                              &
      trustee, or principal and agent, between the appellant and               Co­
      respondents, is n o t apparent to m y understanding.                SALOMON
         I am, therefore, of opinion that t h e order appealed from               v%   '
      cannot be supported on the grounds stated by t h e learned          SALOMON.
       judges.                                                            LordDavey.

         But Mr. Farwell also relied on the alternative relief claimed
      by his pleadings, which was quite open to him here, namely,
      that the contract for purchase of the appellant's business ought
      to be' set aside for fraud. The fraud seems to consist in the
      alleged exorbitance of the price and the fact that there was no
      independent board of directors with whom the appellant could
      contract. I am of opinion that the fraud was not made out.
      I do not think the price of the appellant's business (which
      seems to have been a genuine one, and for some time a pros­
      perous business) was so excessive as to afford grounds for
      rescission; and as regards the cash portion of the price, it must
      be observed that, as the appellant held the bulk of the shares,
      or (the respondents say) was the only shareholder, the money
      required for the payment of it came from himself in the form
      either of calls on his shares or profits which would otherwise
      be divisible. Nor was the absence of any independent board
      material in a case like the present. I think it an inevitable
      inference from the circumstances of the case that every member
      of the company assented to the purchase, and the company is
      bound in a matter intra vires by the unanimous agreement
      of its members. In fact, it is impossible to say who was
      defrauded.
         Mr. Earwell relied on some dicta in Erlanger v. New Sombrero
       Phosphate Co. (1), a case which is often quoted and not infre­
       quently misunderstood. Of course, Lord Cairns' observations
       were directed only to a case such as he had before him, where it
       was attempted to bind a large body of shareholders by a contract
       which purported to have been made between the vendor and
                             (1) 3 App. Cas. 1218,1236.



                                                                    APP.096
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 80 of 421 PageID 17
     58                                  HOUSE OF LOEDS                        [1897]

      H. L. (B.) directors before the shares were offered for subscription;
        1896      whereas it appeared that the directors were only the nominees
      SALOMON • of the vendor, who had accepted his bidding and exercised no
      SALOMON judgment of their own. I t has nothing to do with the present
        &Co
             -    case. That a company may contract with the holder of the
      SALOMON bulk of its shares, and such contract will be binding though
          v. '    carried by the votes of that shareholder, was decided in North-
      SALOMON. Wegt Transportation         Go. v. Beatty. (1)

      Lorn Davcy.    -pQJ. these r e asons, I am of opinion that the appellant's appeal
                  should be allowed and the cross-appeal should be dismissed. I
                  agree to the proposed order as to costs.

                               Order of the Court of Appeal reversed and cross-
                                    appeal dismissed with costs here and below ;
                                    the costs in this House to be taxed in the
                                    manner usual when the appellant sues in
                                   forma pauperis ; cause remitted to the Chan-
                                    cery Division.

                                          Lords' Journals, November 16, 1896.

                   Solicitors for appellant: Ralph Raphael & Co.
                   Solicitors for respondents : S. M. & J. B. Benson.
                                         (1) 12 App. Cas. 589.




                                                                        APP.097
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 81 of 421 PageID 17954




                   EXHIBIT C




                                                                      APP.098
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                                  Page 82 of 421 PageID 17
                                                                                                        415
           [2013] 2 AC                                                              Prest v Prest (SC(E))
                                                                                                  (SC(E))


       A                                           Supreme Court

                             Prest v Petrodel Resources Ltd and others
                                            [2012] EWCA Civ 1395
                                                 [2013] UKSC 34
       B
                                           [On appeal from Prest v Prest]

           2012 July 2, 3;                                                   Thorpe, Rimer, Patten LJJ
                Oct 26
           2013 March 5, 6;                 Lord Neuberger of Abbotsbury PSC, Baroness Hale of
                June 12                Richmond, Lord Mance, Lord Clarke of Stone-cum-Ebony,
       C                          Lord Wilson, Lord Sumption JJSC, Lord Walker of Gestingthorpe

           Husband and wife  Financial relief  Transfer of property  Properties held by
              companies controlled by husband  Wife alleging that properties belonging
              benecially to husband  Husband and companies failing to comply with orders
              for disclosure  Husband ordered to transfer properties to wife or to cause them
              to be so transferred  Whether property to which husband entitled 
       D      Whether conditions for piercing companies corporate veils established 
              Whether court entitled to draw adverse inferences as to benecial ownership of
              properties  Whether jurisdiction to order husband to transfer properties held
              by companies to wife  Matrimonial Causes Act 1973 (c 18), s 24(1)(a)

                The wife issued a claim for ancillary relief under section 23 of the Matrimonial
           Causes Act 19731 against her husband, who was the sole owner of a number of
       E   complexly structured o›shore companies. The wife alleged that the husband had
           used the companies to hold legal title to properties which belonged benecially to
           him. However, the husband failed to comply with orders for the full and frank
           disclosure of his nancial position and the companies, which were joined as parties to
           the proceedings, failed to le a defence or to comply with orders for disclosure. The
           judge rejected the wifes submission that the husband had been guilty of any
           impropriety in relation to the companies such as would ordinarily entitle the court to
       F   pierce the corporate veil, but held that, in matrimonial proceedings for ancillary relief,
           section 24(1)(a) of the 1973 Act conferred a wider jurisdiction to pierce the corporate
           veil. The judge concluded that, since the husband had the practical ability to procure
           the transfer of the properties, he was entitled to them within the meaning of
           section 24(1)(a), giving the court jurisdiction to make a transfer order in respect of
           them. Accordingly, he ordered the husband to transfer or cause to be transferred to
           the wife six properties and an interest in a seventh which were held in the name of two
       G   of the husbands companies. The Court of Appeal by a majority allowed an appeal by
           the companies, holding that the Family Divisions practice of treating the assets of
           companies substantially owned by one party to the marriage as available for
           distribution under section 24(1)(a) was beyond the jurisdiction of the court unless the
           corporate personality of the company was being abused for a purpose which was in
           some relevant respect improper or, on the particular facts, it could be shown that an
           asset legally owned by the company was held in trust for the husband and that, since
       H   the judge had rejected both of those possibilities, he ought not to have made the order.
                On the wifes appeal
                Held, (1) that the recognition of a limited power to pierce the corporate veil and
           to disregard the separate personality of a company in carefully dened circumstances
              1
                  Matrimonial Causes Act 1973, s 24(1): see post, Court of Appeal judgments, para 68.


                  ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                                         APP.099
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                           Page 83 of 421 PageID 17
          416
         Prest v Prest (SC(E))
                       (SC(E))                                                       [2013] 2 AC


         was necessary if the law were not to be disarmed in the face of abuse and, provided          A
         that the limits were recognised and respected, it was consistent with the general
         approach of English law to the problems raised by the use of legal concepts to defeat
         mandatory rules of law; that, therefore, if a person were under an existing legal
         obligation or liability or subject to an existing legal restriction which he deliberately
         evaded or the enforcement of which he deliberately frustrated by interposing a
         company under his control, the court could pierce the corporate veil for the purpose,
         and only for the purpose, of depriving that company or its controller of the advantage       B
         which they would otherwise have obtained by the companys separate legal
         personality; but that the legal interest in the disputed properties was vested in the
         companies and, whatever the husbands reasons for organising matters in that way,
         there was no evidence that he was seeking to avoid any obligation which was relevant
         in the present proceedings; and that, accordingly, there was no justication as a
         matter of general legal principle for piercing the corporate veils of the companies
         (post, Supreme Court judgments, paras 27, 35—36, 57—58, 61, 80—82, 96, 97, 103,              C
         104).
             Gilford Motor Co Ltd v Horne [1933] Ch 935, CA, Jones v Lipman [1962]
         1 WLR 832, Gencor ACP Ltd v Dalby [2000] 2 BCLC 734 and Trustor AB v
         Smallbone (No 2) [2001] 1 WLR 1177 considered.
             (2) That, where there was no justication as a matter of general legal principle for
         piercing the corporate veil, no special and wider principle applied in matrimonial
         proceedings by virtue of section 24(1)(a) of the Matrimonial Causes Act 1973; that
                                                                                                      D
         section 24(1)(a) invoked concepts of the law of property, with an established legal
         meaning and recognised legal incidents under the general law, which could not be
         suspended or mean something di›erent in matrimonial proceedings; that there was
         nothing in the 1973 Act, or in its purpose or broader social context, to indicate that
         the legislature had intended to authorise the transfer by one party to the marriage to
         the other of property which was not his to transfer; that such a transfer would
         ordinarily be unnecessary for the purpose of achieving a fair distribution of the assets
         of the marriage since, if assets belonged to a company owned by one party to the             E
         marriage, the proper claims of the other could ordinarily be satised by directing the
         transfer of shares and, so far as a party deliberately attempted to frustrate the exercise
         of the courts ancillary powers by disposing of assets, section 37 of the Act provided
         for the setting aside of those dispositions in certain circumstances; that the
         recognition of a jurisdiction such as the judge had sought to exercise would cut across
         the statutory schemes of company and insolvency law, which were essential for the
         protection of those dealing with a company; and that, accordingly, section 24(1)(a)          F
         did not give the judge power to order the husband to transfer to the wife property to
         which he was not in law entitled (post, Supreme Court judgments, paras 37—41,
         57—58, 86, 88—89 , 96, 97, 103, 104).
              But, (3) allowing the appeal, that the companies could be ordered to convey the
         seven disputed properties to the wife under section 24(1)(a) of the 1973 Act if the
         properties belonged benecially to the husband by virtue of the particular
         circumstances in which they had come to be vested in the companies; that that issue          G
         required an examination of evidence which, almost entirely due to the husbands
         persistent obstruction and mendacity, was incomplete and in critical respects
         obscure; that in claims for ancillary relief in matrimonial proceedings, which had a
         substantial inquisitorial element, judges were entitled to draw on their experience
         and to take notice of the inherent probabilities when deciding what an
         uncommunicative spouse was likely to be concealing; that the wife had expressly
         alleged that the husband had used the companies to hold legal title to properties            H
         which belonged benecially to him and the judges ndings about the ownership
         and control of the companies meant that the companies refusal to co-operate with
         the proceedings was a course ultimately adopted on the direction of the husband;
         that it was a fair inference that the main, if not the only, reason for the companies
         failure to co-operate was to protect the seven properties, which in turn suggested


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                                  APP.100
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                           Page 84 of 421 PageID 17
                                                                                             417
           [2013] 2 AC                                                       Prest v Prest (SC(E))
                                                                                           (SC(E))


       A   that proper disclosure of the facts would reveal them to have been held benecially
           by the husband; and that, accordingly, the seven disputed properties were held by
           the companies on trust for the husband and, in those circumstances, the order of
           the judge requiring the properties to be transferred to the wife would be restored
           (post, Supreme Court judgments, paras 44—45, 55, 57—58, 84—85, 96, 97, 103,
           104).
                Herrington v British Railways Board [1972] AC 877, HL(E) and R v Inland
       B   Revenue Comrs, Ex p TC Coombs & Co [1991] 2 AC 283, HL(E) considered.
                Per Lord Neuberger of Abbotsbury PSC, Lord Clarke of Stone-cum-Ebony and
           Lord Sumption JJSC. If it is not necessary to pierce the corporate veil, it is not
           appropriate to do so, because on that footing there is no public policy imperative
           which justies that course (post, Supreme Court judgments, paras 35, 62, 103).
               Dictum of Munby J in Ben Hashem v Al Shayif [2009] 1 FLR 115, para 164
           approved.
       C       Dictum in VTB Capital plc v Nutritek International Corpn [2012] 2 Lloyds Rep
           313, para 79, CA disapproved.
               Per Lord Mance and Lord Clarke of Stone-cum-Ebony JJSC. The court should
           not seek to foreclose all possible future situations which may arise. However, the
           situations in which piercing the corporate veil may be available as a fall-back are
           likely to be very rare and no one should be encouraged to think that any further
           exception, in addition to the evasion principle, will be easy to establish (post,
       D   Supreme Court judgments, paras 100, 102, 103).
               Per Lord Sumption JSC. Whether assets legally vested in a company are
           benecially owned by its controller is a highly fact-specic issue. But, in the case of
           the matrimonial home, the facts are quite likely to justify the inference that the
           property was held on trust for a spouse who owned and controlled the company
           (post, Supreme Court judgments, para 52).
               Decision of the Court of Appeal, post, p 421; [2012] EWCA Civ 1395; [2013]
       E   2 WLR 557 reversed in part.

           The following cases are referred to in the judgments of the Supreme Court:
           A v A [2007] EWHC 99 (Fam); [2007] 2 FLR 467
           Adams v Cape Industries plc [1990] Ch 433; [1990] 2 WLR 657; [1991] 1 All ER
               929, CA
           Alliance Bank JSC v Aquanta Corpn [2012] EWCA Civ 1588; [2013] 1 All
       F       ER (Comm) 819; [2013] 1 Lloyds Rep 175, CA
           Allied Capital Corpn v GC-Sun Holdings LP (2006) 910 A 2d 1020
           Atlas Maritime Co SA v Avalon Maritime Ltd (No 1) [1991] 4 All ER 769, CA
           Attorney General v Equiticorp Industries Group Ltd [1996] 1 NZLR 528
           Attorney Generals Reference (No 2 of 1982) [1984] QB 624; [1984] 2 WLR 447;
               [1984] 2 All ER 216 , CA
           Bank of Tokyo Ltd v Karoon (Note) [1987] AC 45; [1986] 3 WLR 414; [1986] 3 All
       G       ER 468, CA
           Barcelona Traction, Light and Power Co Ltd (Belgium v Spain) (Second Phase), Case
               concerning [1970] ICJ Rep 3
           Belmont Finance Corpn Ltd v Williams Furniture Ltd [1979] Ch 250; [1978] 3 WLR
               712; [1979] 1 All ER 118, CA
           Ben Hashem v Al Shayif [2008] EWHC 2380 (Fam); [2009] 1 FLR 115
           Berkey v Third Avenue Railway Co (1926) 155 NE 58
       H   Briggs v James Hardie & Co Pty Ltd (1989) 16 NSWLR 549
           Broderip v Salomon [1895] 2 Ch 323, CA; sub nom Salomon v A Salomon & Co Ltd
               [1897] AC 22, HL(E)
           Cape Pacic Ltd v Lubner Controlling Investments (Pty) Ltd 1995 (4) SA 790
           Darby, In re; Ex p Brougham [1911] 1 KB 95
           Gencor ACP Ltd v Dalby [2000] 2 BCLC 734


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                                 APP.101
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 85 of 421 PageID 17
          418
         Prest v Prest (SC(E))
                       (SC(E))                                                  [2013] 2 AC


         Gilford Motor Co Ltd v Horne [1933] Ch 935, CA                                       A
         Green v Green [1993] 1 FLR 326
         Herrington v British Railways Board [1972] AC 877; [1972] 2 WLR 537; [1972]
             1 All ER 749, HL(E)
         Jenkins v Livesey (formerly Jenkins) [1985] AC 424; [1985] 2 WLR 47; [1985] 1 All
             ER 106, HL(E)
         Jones v Lipman [1962] 1 WLR 832; [1962] 1 All ER 442
         Kingstons (Duchess of ) Case (1776) 2 Smiths LC (13th ed) 644; 1 Leach 146         B
         Kosmopoulos v Constitution Insurance Co [1987] 1 SCR 2
         Kremen v Agrest (No 2) [2010] EWHC 3091 (Fam); [2011] 2 FLR 490
         La Gnrale des Carrires et des Mines Sarl v FG Hemisphere Associates LLC [2012]
             UKPC 27; [2013] 1 All ER 409; [2012] 2 Lloyds Rep 443, PC
         Lazarus Estates Ltd v Beasley [1956] 1 QB 702; [1956] 2 WLR 502; [1956] 1 All ER
             341, CA
         Lonrho Ltd v Shell Petroleum Co Ltd [1980] 1 WLR 627, HL(E)                          C
         Macaura v Northern Assurance Co Ltd [1925] AC 619, HL(I)
         McFarlane v McFarlane [2006] UKHL 24; [2006] 2 AC 618; [2006] 2 WLR 1283;
             [2006] 3 All ER 1, HL(E)
         Mubarak v Mubarak [2001] 1 FLR 673
         Multinational Gas and Petrochemical Co v Multinational Gas and Petrochemical
             Services Ltd [1983] Ch 258; [1983] 3 WLR 492; [1983] 2 All ER 563, CA
         Nicholas v Nicholas [1984] FLR 285, CA                                               D
         Nokes v Doncaster Amalgamated Collieries Ltd [1940] AC 1014; [1940] 3 All ER
             549, HL(E)
         R v Gomez [1993] AC 442; [1992] 3 WLR 1067; [1993] 1 All ER 1, HL(E)
         R v Inland Revenue Comrs, Ex p TC Coombs & Co [1991] 2 AC 283; [1991] 2 WLR
             682; [1991] 3 All ER 623, HL(E)
         R v Secretary of State for the Home Department, Ex p Puttick [1981] QB 767; [1981]
             2 WLR 440; [1981] 1 All ER 776, DC                                               E
         Secon Service System Inc v St Joseph Bank and Trust Co (1988) 855 F 2d 406
         Smith v Hancock [1894] 2 Ch 377, CA
         Stone & Rolls Ltd v Moore Stephens [2009] UKHL 39; [2009] AC 1391; [2009]
             3 WLR 455; [2009] Bus LR 1356; [2009] 4 All ER 431, HL(E)
         Tjaskemolen (now Visvliet), The [1997] 2 Lloyds Rep 465
         Trustor AB v Smallbone (No 2) [2001] 1 WLR 1177; [2001] 3 All ER 987
         VTB Capital plc v Nutritek International Corpn [2012] EWCA Civ 808; [2012]           F
             2 Lloyds Rep 313, CA; [2013] UKSC 5; [2013] 2 AC 337; [2013] 2 WLR 398;
             [2013] 1 All ER 1296, SC(E)
         Wallersteiner v Moir [1974] 1 WLR 991; [1974] 3 All ER 217, CA
         Welwyn Hateld Borough Council v Secretary of State for Communities and Local
             Government [2011] UKSC 15; [2011] 2 AC 304; [2011] 2 WLR 905; [2011]
             PTSR 825; [2011] 4 All ER 851, SC(E)
         Wisniewski v Central Manchester Health Authority [1998] PIQR P324, CA
                                                                                              G
         Woolfson v Strathclyde Regional Council 1978 SC (HL) 90; 1978 SLT 159; 38 P &
             CR 521, HL(Sc)
         Wroth v Tyler [1974] Ch 30; [1973] 2 WLR 405; [1973] 1 All ER 897

         The following additional cases were cited in argument before the Supreme Court:
         BJ v MJ (Financial Order: Overseas Trust) [2011] EWHC 2708 (Fam); [2012] 1 FLR
             667                                                                              H
         Bank voor Handel en Scheepvaart NV v Slatford [1953] 1 QB 248; [1952] 2 All ER
             956, CA
         Bhullar v Bhullar (unreported) 10 May 2002, Judge Behrens, Leeds
         Blood v Blood [1902] P 78
         Bosworthick v Bosworthick [1927] P 64, CA


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.102
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                           Page 86 of 421 PageID 17
                                                                                             419
           [2013] 2 AC                                                       Prest v Prest (SC(E))
                                                                                           (SC(E))


       A   Brooks v Brooks [1996] AC 375; [1995] 3 WLR 141; [1995] 3 All ER 257, HL(E)
           Campbell (A Bankrupt), In re [1997] Ch 14; [1996] 3 WLR 626; [1996] 2 All ER
               537
           Charman v Charman (No 4) [2007] EWCA Civ 503; [2007] 1 FLR 1246, CA
           Company, In re A [1985] BCLC 333, CA
           Crews-Orchard v Crews-Orchard (1970) 114 SJ 150, CA
           D v D [2009] EWHC 3062 (Fam); [2011] 2 FLR 29
       B   Director of Public Prosecutions v Compton [2002] EWCA Civ 1720; The Times,
               11 December 2002, CA
           E v E (Financial Provision) [1990] 2 FLR 233
           H (Restraint Order: Realisable Property), In re [1996] 2 All ER 391, CA
           Hawkes v Cuddy [ 2007] EWHC 2999 (Ch); [2008] EWHC 210 (Ch); [2009] EWCA
               Civ 291; [2009] 2 BCLC 427, CA
           Hope v Krejci [2012] EWHC 1780 (Fam); [2013] 1 FLR 182
           Imerman v Tchenguiz [2010] EWCA Civ 908; [2011] Fam 116; [2011] 2 WLR 592;
       C
               [2011] 1 All ER 555, CA
           Jones v Jones [2011] EWCA Civ 41; [2012] Fam 1; [2011] 3 WLR 582, CA
           Midland Bank Trust Co Ltd v Green [1981] AC 513; [1981] 2 WLR 28; [1981] 1 All
               ER 153, HL(E)
           Milne v Milne (1871) LR 2 P & D 295
           Prinsep v Prinsep [1929] P 225
           R v K [2005] EWCA Crim 619; [2006] BCC 362, CA
       D   R (Prudential plc) v Special Comr of Income Tax (Institute of Chartered Accountants
               in England and Wales intervening) [2013] UKSC 1; [2013] 2 AC 185; [2013]
               2 WLR 325; [2013] 2 All ER 247, SC(E)
           Rackind v Gross [2004] EWCA Civ 815; [2005] 1 WLR 3505; [2005] 4 All ER 735,
               CA
           Roberts Petroleum Ltd v Bernard Kenny Ltd [1983] 2 AC 192; [1983] 2 WLR 305;
               [1983] 1 All ER 564, HL(E)
       E   Tobian Properties Ltd, In re; Maidment v Attwood [2012] EWCA Civ 998, [2013]
               Bus LR 753, CA
           W v H (Family Division: Without Notice Orders) [2001] 1 All ER 300
           The following cases are referred to in the judgments of the Court of Appeal:
           A v A [2007] EWHC 99 (Fam); [2007] 2 FLR 467
           Adams v Cape Industries plc [1990] Ch 433; [1990] 2 WLR 657; [1991] 1 All ER
       F        929, CA
           Ben Hashem v Al Shayif [2008] EWHC 2380 (Fam); [2009] 1 FLR 115
           British American Tobacco Co Ltd v Inland Revenue Comrs [1943] AC 335; [1943]
                1 All ER 13, HL(E)
           Company, In re A [1985] BCLC 333, CA
           Coroin Ltd, In re; Minwalla v Minwalla [2004] EWHC 2823 (Fam); [2005] 1 FLR
                771
       G   Crittenden v Crittenden [1990] 2 FLR 361, CA
           Gilford Motor Co Ltd v Horne [1933] Ch 935, CA
           Green v Green [1993] 1 FLR 326
           Hope v Krejci [2012] EWHC 1780 (Fam); [2012] Fam Law 1327
           Inn Spirit Ltd v Burns [2002] EWHC 1731 (Ch); [2002] 2 BCLC 780
           J v J [1955] P 215; [1955] 3 WLR 72; [1955] 2 All ER 617, CA
           Jones v Lipman [1962] 1 WLR 832; [1962] 1 All ER 442
       H   Kremen v Agrest (No 2) [2010] EWHC 3091 (Fam); [2011] 2 FLR 490
           Littlewoods Mail Order Stores Ltd v McGregor [1969] 1 WLR 1241; [1969] 3 All
                ER 855, CA
           Macaura v Northern Assurance Co Ltd [1925] AC 619, HL(I)
           McKillen v Misland (Cyprus) Investments Ltd [2012] EWCA Civ 179; [2012]
                2 BCLC 611; [2012] BCC 575, CA


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                                 APP.103
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 87 of 421 PageID 17
          420
         Prest v Prest (SC(E))
                       (SC(E))                                                   [2013] 2 AC


         Mubarak v Mubarak [2001] 1 FLR 673                                                    A
         Munin Navigation Co Ltd v Petrodel Resources Ltd [2012] EWCA Civ 136, CA
         Nicholas v Nicholas [1984] FLR 285, CA
         Ord v Belhaven Pubs Ltd [1998] 2 BCLC 447, CA
         Prudential Assurance Co Ltd v Newman Industries Ltd (No 2) [1982] Ch 204;
             [1982] 2 WLR 31; [1982] 1 All ER 354, CA
         Salomon v A Salomon & Co Ltd [1897] AC 22, HL(E)
         Trustor AB v Smallbone (No 2) [2001] 1 WLR 1177; [2001] 3 All ER 987                  B
         VTB Capital plc v Nutritek International Corpn [2011] EWHC 3107 (Ch); [2012]
             EWCA Civ 808; [2012] 2 Lloyds Rep 313, CA
         W v H (Family Division: Without Notice Orders) [2001] 1 All ER 300
         Wallersteiner v Moir [1974] 1 WLR 991; [1974] 3 All ER 217, CA
         Wicks v Wicks [1999] Fam 65; [1998] 3 WLR 277; [1998] 1 All ER 977, CA
         Woolfson v Strathclyde Regional Council 1978 SC (HL) 90; 1978 SLT 159;
             38 P & CR 521, HL(Sc)                                                             C

         The following additional cases were cited in argument before the Court of Appeal:
         Antonio Gramsci Shipping Corpn v Stepanovs [2011] EWHC 333 (Comm); [2011]
             Bus LR D117; [2012] 1 All ER (Comm) 293
         Aveling Barford Ltd v Perion Ltd [1989] BCLC 626
         B (Appeal: Lack of Reasons), In re [2003] EWCA Civ 881; [2003] 2 FLR 1035,            D
             CA
         Bank voor Handel en Scheepvaart NV v Slatford [1953] 1 QB 248; [1952] 2 All ER
             956, CA
         Brady v Brady [1989] AC 755; [1988] 2 WLR 1308; [1988] 2 All ER 617, HL(E)
         Buchler v Talbot [2004] UKHL 9; [2004] 2 AC 298; [2004] 2 WLR 582; [2004] 1 All
             ER 1289, HL(E)
         Gencor ACP Ltd v Dalby [2000] 2 BCLC 734                                              E
         H v H (Financial Relief: Conduct) [1998] 1 FLR 971
         Herrington v British Railways Board [1972] AC 877; [1972] 2 WLR 537; [1972]
             1 All ER 749, HL(E)
         Howard v Howard [1945] P 1; [1945] 1 All ER 91, CA
         Jenkins v Livesey (formerly Jenkins) [1985] AC 424; [1985] 2 WLR 47; [1985] 1 All
             ER 106, HL(E)
         Lee v Lees Air Farming Ltd [1961] AC 12; [1960] 3 WLR 758; [1960] 3 All ER 420,      F
             PC
         Lubbe v Cape plc [2000] 1 WLR 1545; [2000] 4 All ER 268, HL(E)
         Milne v Milne (1871) LR 2 P & D 295
         National Provincial Bank Ltd v Hastings Car Mart Ltd [1965] AC 1175; [1965]
             3 WLR 1; [1965] 2 All ER 472, HL(E)
         Nokes v Doncaster Amalgamated Collieries Ltd [1940] AC 1014; [1940] 3 All ER
             549, HL(E)                                                                        G
         Partridge v Crittenden [1968] 1 WLR 1204; [1968] 2 All ER 421, DC
         Precision Dippings Ltd v Precision Dippings Marketing Ltd [1986] Ch 447; [1985]
             3 WLR 812, CA
         Print Factory (London) 1991 Ltd v Millam [2007] EWCA Civ 322; [2007] ICR 1331,
             CA
         Roberts Petroleum Ltd y Bernard Kenny Ltd [ 1983] 2 AC 192; [1983] 2 WLR 305;
             [1983] 1 All ER 564, HL(E)                                                        H
         Smith Stone & Knight Ltd v Birmingham Corpn [1939] 4 All ER 116
         Trebanog Working Mens Club and Institute Ltd v Macdonald [1940] 1 KB 576;
             [1940] 1 All ER 454, DC
         Wisniewski v Central Manchester Health Authority [1998] PIQR P324, CA
         X v X (Y and Z intervening) [2002] 1 FLR 508


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.104
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                         Page 88 of 421 PageID 17
                                                                                           421
           [2013] 2 AC                                                       Prest v Prest (CA)
                                                                                     Thorpe LJ

       A   The following additional cases, although not cited, were referred to in the skeleton
           arguments before the Court of Appeal:
           B v B (Financial Provision) (1982) 3 FLR 298, CA
           Browne v Browne [1989] 1 FLR 291, CA
           CMS Dolphin Ltd v Simonet [2001] 2 BCLC 704
           Donaldson v Donaldson [1958] 1 WLR 827; [1958] 2 All ER 660
           Duport Steel Ltd v Sirs [1980] 1 WLR 142; [1980] ICR 161; [1980] 1 All ER 529,
       B       HL(E)
           George v George [2003] EWCA Civ 202; [2004] 1 FLR 421, CA
           Grey v Pearson (1857) 6 HL Cas 61, HL(E)
           OD v OD [1976] Fam 83; [1975] 3 WLR 308; [1975] 2 All ER 993, CA
           Ranson v Ranson [2001] EWCA Civ 1929; [ 2002] 1 FCR 261, CA

           APPEAL from Moylan J
       C      By a petition dated 10 March 2008 the wife, Yasmin Aishatu Mohammed
           Prest, petitioned for a decree of divorce from her husband, Michael Jenseabla
           Prest. She applied in those proceedings for ancillary relief against the husband.
           On 27 February 2009 and 14 April 2011 Petrodel Resources Ltd (PRL),
           Petrodel Resources (Nigeria) Ltd, Petrodel Upstream Ltd (Upstream),
           Vermont Petroleum Ltd (Vermont), Elysium Diem Ltd, Petrodel Resources
       D   (Nevis) Ltd and Elysium Diem (Nevis) Ltd, were joined as parties to the
           proceedings. By a judgment dated 4 October 2011 [2011] EWHC 2956 (Fam)
           and order dated 16 November 2011 Moylan J ordered, inter alia, that the
           husband transfer or cause to be transferred to the wife (i) four London
           properties and an interest in a fth all held in the name of PRL and (ii) two
           London properties held in the name of Vermont.
              By an appellants notice led on 7 December 2011 and pursuant to
       E   permission granted by the Court of Appeal (Thorpe LJ) on 16 February
           2012 PRL, Upstream and Vermont (together the Petrodel companies)
           appealed on the ground that the judge had misdirected himself in law in
           relation to the true construction of section 24(1)(a) of the Matrimonial Causes
           Act 1973 in that he had wrongly directed himself that as a matter of law assets
           of the Petrodel companies fell within the scope of section 24(1)(a) as being
       F   property to which [the husband] is entitled, either in possession or reversion.
              The facts are stated in the judgment of Thorpe LJ.

              Tim Amos QC and Ben Shaw (instructed by Je›rey Green Russell) for the
           Petrodel companies.
              Richard Todd QC and Stephen Trowell (instructed by Farrer & Co LLP)
           for the wife.
       G      The husband did not appear and was not represented.

              The court took time for consideration.

              26 October 2012. The following judgments were handed down.

           THORPE LJ
       H
           Introduction
              1 On 4 October 2011 Moylan J [2011] EWHC 2956 (Fam) delivered
           judgment in the nancial provision case Prest v Prest, a truly extraordinary
           case even within the breadth and depth of family division bounds.

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                               APP.105
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 89 of 421 PageID 17
          422
         Prest v Prest (CA)                                                    [2013] 2 AC
         Thorpe LJ

             2 The husband and wife are both about 50 and both have dual Nigerian            A
         and British citizenship. The husband was born in Nigeria, the wife in
         England, both are highly educated. The husband was called to the Nigerian
         Bar. The wife graduated from Thames Polytechnic and subsequently
         obtained an MBA from Craneld.
             3 They met in 1992 and married in 1993. They have four children
         who are teenagers. Throughout the marriage they lived principally in                B
         London but with properties in Nigeria and the Caribbean. They lived to a
         very high standard. Both came from a´uent backgrounds. At all
         material times the husband has been prominent and successful in
         international oil development and trade. The nal matrimonial home at
         Warwick Avenue is worth about £4m and there are a number of other
         properties that the husband has acquired in London, most in the name of
         three companies.                                                                    C
            4 As well as the husband and the rst respondent, there were seven
         corporate respondents. None of the corporate respondents took any part in
         the proceedings until the nal hearing when the second, fourth and fth
         appeared by leading counsel.
            5 In para 3 of his judgment Moylan J thus recorded the principal issues
         in the case:                                                                        D
               (a) The extent of the husbands wealth including the nature and
            extent of his interest in the respondent companies; and (b) whether I can
            make orders directly against properties and shares held in the name of
            some of the respondent companies.
             6 Continuing with his introduction, the judge recorded the husbands
                                                                                             E
         case that the net excess of his liabilities over assets equalled £48m.
             7 The wifes case was that the husbands assets net of liabilities equalled
         tens if not hundreds of millions of pounds.
             8 Thus on issue (a) the gulf between the respective positions of the
         husband and wife could hardly have been wider.
             9 As to issue (b) Mr Todd QC, for the wife, stressed the extent of the
         courts power under section 24(1)(a) of the Matrimonial Causes Act 1973             F
         which enabled orders to be made against alter ego companies. Mr Todd
         relied on Nicholas v Nicholas [1984] FLR 285. He distinguished Ben
         Hashem v Al Shayif [2009] 1 FLR 115. Alternatively if Ben Hashems case
         was not to be distinguished Mr Todd asserted impropriety in respect of the
         companies. Mr Todd further submitted that the companies held the shares
         and assets as bare trustee for the husband.                                         G
             10 Mr Pointer QC for the husband and Mr Wagsta›e QC for the
         companies disputed the assertion that the properties and shares in the
         company were held on trust for the husband and they further submitted that
         the authority of Ben Hashems case prevented the judge from making orders
         against the properties or the shares.
             11 As to outcome the wife sought an overall award of £30.4m. The
         husband proposed a package that amounted to a little over £2m.                      H
             12 As is not uncommon in this specialist eld of litigation the husband
         had repeatedly outed his duty to give full frank and clear disclosure of his
         nances. He was in breach of many orders for disclosure; he had been
         repeatedly condemned in costs which he had not paid. At trial his evidence

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.106
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 90 of 421 PageID 17
                                                                                        423
           [2013] 2 AC                                                    Prest v Prest (CA)
                                                                                  Thorpe LJ

       A   was both deceitful and shambolic. In paras 12—13 of his judgment Moylan J
           stated:
                12. . . . I have sought to make sense of the husbands factual case.
             Ultimately I have decided that this has been a vain task because the
             husband has failed so comprehensively to comply with his obligation to
             provide full and frank disclosure and to give clear evidence that his case
       B     does not permit of such an exercise . . . the result of the way in which the
             case has developed is that a great deal of energy has been expended by the
             husband on seeking to establish what he is not worth rather than the more
             conventional focus being on seeking to demonstrate what he is worth . . .
                13. . . . his evidence consisted signicantly of obfuscation and
             dissembling.
       C      13 This introduction to the case illustrates what a di–cult and
           frustrating task the judge faced. Responsibility for that state of a›airs rested
           squarely with the husband and his companies.

           The proceedings and the trial
              14 The proceedings have not run smoothly. In para 34 of the judgment
       D   below Moylan J recorded:
               The husband has not voluntarily paid any part of the maintenance
             pending suit order in respect of costs. This is not a minor breach of the
             order; it is a signicant failure. It is made the more signicant when
             contrasted with the fact that the husband has paid in excess of £760,000
             towards his own costs.
       E
              15 In a manoeuvre which I have not previously encountered the
           husbands brother issued against the husband and one of his companies an
           application in the High Court in Nigeria which produced an order
           unopposed restraining the husband from: (i) disclosing any information
           concerning the accounts or a›airs of the company; (ii) asserting or disclosing
           information that he is sole owner of the company.
       F
              16 As to this device the judge recorded at para 142 of his judgment:
                Notwithstanding the terms of the Nigerian order the husband has
             been able to produce documents which would appear to be covered by its
             terms. They have been produced at random and in a manner which has
             given me the clear impression that the husband does so when he considers
       G     it might help his case . . . Such attempts to manipulate the process
             have been a recurrent feature of the husbands conduct during the
             proceedings.
              17 In like manner when the senior master directed a letter of request to
           judicial authorities in the Isle of Man, a director of the Manx company
           avoided production, asserting concerns about claims that would be made
       H   against the board by shareholders or commercial partners for breach of
           condence. Of that Moylan J aptly said, at para 47:
                Given the husbands control over the corporate structure, it is hard to
             understand how these concerns could be genuine. It is not di–cult, in my
             judgment, to see the hand of the husband behind this obstructive line

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.107
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 91 of 421 PageID 17
          424
         Prest v Prest (CA)                                                    [2013] 2 AC
         Thorpe LJ

            which is also reected in letters written on behalf of the company by            A
            Manx advocates.
            18 These sort of manoeuvrings in the interlocutory stages gravely
         impede the court and waste large sums of money. The trial judge faced a
         formidable task when he sat between 13 and 30 June 2011 to conduct the
         nal hearing. He heard extensive oral evidence. As well as the husband and
         the wife there were two accountants whose evidence was of very limited              B
         value since they at least agreed that neither had received the information and
         documents that would enable them to make any worthwhile assessment or
         valuation. However, there was a strong card in the wifes hand given that
         she was able to call as a witness Mr Le Breton, a former business associate
         and fellow director of the husband.
            19 The interval between 30 June and 4 October resulted from the
                                                                                             C
         judges struggle to make sense of the evidence and some 30 lever arch les of
         documents.
            20 Between paras 55 and 78 of his judgment the judge wrestled with the
         incomplete, inadequate, confused and conicting evidence as to the
         husbands activities through the corporate vehicles. The husband sought to
         rely on the evidence of a director of the companies, Mr Murphy.
         Mr Murphy chose not to appear. In para 69 the judge concluded that                  D
         Mr Murphy was unwilling rather than unable to attend.
            21 In this section of his judgment the judge made two crucial ndings.
         This is the rst:
               I am satised that the directors of the group, including Mr Murphy,
            act in accordance with instructions given by or on behalf of the husband.
            The husband was unable in his oral evidence to provide details of any            E
            specic occasion when the directors had not acted in accordance with his
            instructions.
            22 Here is the second: I have no doubt at all that the husband does,
         indeed, just draw from PRL whatever he and his family need, as and when
         they need it.
            23 In the next section of his judgment the judge reviewed the London             F
         properties. Apart from the nal matrimonial home there were 11. Apart
         from one they were all in the name of one or other company. BNP had a loan
         charged against the properties. As to that the judge said, at para 84:
               However, as a result of the husbands failure to give clear disclosure,
            the evidence is not su–cient for me to reach any rm conclusions as to
            what the true net position is in respect of the loan due to BNP.               G
            24 The judge then reviewed the overseas properties and recorded the
         evidence that had been given by the husband and the wife. He also recorded
         the evidence of Mr Le Breton. In his evidence Mr Le Breton asserted that the
         husband was the ultimate owner of the companies. This is the judges
         record, at para 120, of his evidence:
                                                                                             H
               the husband was the e›ective owner of the Petrodel Group. He
            controlled every business decision. The directors acted merely on his
            instructions. Throughout the seven or eight years that he worked with the
            husband and Petrodel, the directors, according to Mr Le Breton,
            acted only on the husbands instructions. There was also signicant


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.108
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 92 of 421 PageID 17
                                                                                        425
           [2013] 2 AC                                                   Prest v Prest (CA)
                                                                                 Thorpe LJ

       A     expenditure through Petrodel for the benet of the husband, the wife and
             the children but Mr Le Breton was not aware of any signicant sums
             being spent for other family members. There are also investments made
             through the company which were not business opportunities but were, he
             said, private commitments that (the husband) chose to make.
              25 Mr Le Breton also informed the judge that between 2001 and 2004
       B   the husband stated that he was worth between $40 to $50m.
              26 Of the wifes evidence the judge said, at para 123: I found the wife
           to be a careful and honest witness. She gave her evidence in a calm and
           dispassionate manner which was convincing.
              27 The judge continued, at para 124:
                I also found Mr le Breton to be an honest witness . . . As I have
       C     said . . . I am satised that his evidence was reliable. For many years
             Mr Le Breton and the husband were very close work colleagues and were
             also friends. I am satised that Mr Le Breton is in a very good position to
             give me an accurate insight into the husbands and Petrodels a›airs.
             28   By contrast the judge said, at para 125:
       D        I have found the husband to be a wholly unreliable witness. The
             husband is clearly an extremely intelligent, articulate and astute
             individual. I form the clear impression that he regards the proceedings as
             a game in which he has sought to manipulate the process to his advantage.
             Despite occasional suggestions, largely by prompting, that he was seeking
             to help the court, the husband was an extremely evasive witness. He was
             adroit but was deliberately evasive. He would frequently fail to answer a
       E
             question although he clearly understood its meaning and would often
             digress on to a di›erent subject or ask questions about the question. I do
             not consider that I can rely on any of the husbands evidence unless
             corroborated by other reliable evidence.
             29 Having then condemned the husband for his breach of obligation to
       F
           provide full frank and clear disclosure he said, at para 127:
                It would, as I have said, be a vain task to seek to make sense of his
             evidence because I am satised that much of it was opportunistic in that
             he would say whatever he felt at the moment best suited his case or at
             least provided him with an answer to the question.
              30 The husband had asserted that he held corporate assets in trust for
       G   his birth family because the initial capital, or seed money, had been supplied
           by his father subject to that trust. This manoeuvre was trenchantly
           dismissed. The judge said, in para 136: I found the husbands evidence on
           this issue particularly unconvincing and I am satised that it is a deliberate
           invention. Then in the next paragraph two sentences must be cited:
                I am satised the husbands evidence as to the existence of any seed
       H     moneys is false. This has been invented for the purposes of seeking to
             defeat the wifes claims . . . In so far as the husband has interests in the
             group or any of the companies within it or any of the assets held by the
             companies, such interests are held solely for the benet of himself and his
             immediate family.

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.109
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 93 of 421 PageID 17
          426
         Prest v Prest (CA)                                                    [2013] 2 AC
         Thorpe LJ

           31 When the judge turned to the section 25 exercise he considered the             A
         general position thus in para 143:
               As a result of the husbands failure to provide proper disclosure and
            honest evidence I do not have the information needed to enable me to
            determine the extent and value of the husbands resources. I am
            satised that the husbands failure has been deliberate. I have rejected
            his attempt to rely on the Nigerian proceedings and orders. I am                 B
            satised that they are based on a false factual case and were contrived at
            the husbands instigation in an attempt to provide him with an
            explanation for his failure to comply with his obligations in these
            proceedings.
            32     In relation to Petrodel the judge said:
                                                                                             C
               Specically as a result of the husbands failure to comply with his
            disclosure obligations, the evidence which would be required to enable
            the value of Petrodel to be determined is almost completely lacking.
            33 At least the judge was able to value the London properties at £11.3m
         gross and £9m net.
            34 As to standard of living, the husband accepted that the running costs         D
         of the London home were about $400,000 per annum. He put his annual
         income needs at £800,000. The wife put her annual needs for herself and the
         children at £730,000.
            35 Counsels submissions were predictable. Mr Todd relied upon
         Nicholas v Nicholas [1984] FLR 285 and Mubarak v Mubarak [2001]
         1 FLR 673. Mr Pointer relied on Ben Hashem v Al Shayif [2009] 1 FLR 115.
                                                                                             E
         Mr Wagsta›e relied upon company rather than family authority, including
         Salomon v A Salomon & Co Ltd [1897] AC 22, Adams v Cape Industries plc
         [1990] Ch 433 and Prudential Assurance Co Ltd v Newman Industries Ltd
         (No 2) [1982] Ch 204.
            36 The judge in his review of authorities considered Nicholas v
         Nicholas, Crittenden v Crittenden [1990] 2 FLR 361, Mubarak v Mubarak,
         Minwalla v Minwalla [2005] 1 FLR 771, W v H (Family Division: Without               F
         Notice Orders) [2001] All ER 300, A v A [2007] 2 FLR 467 and Ben
         Hashem v Al Shayif [2009] 1 FLR 115.
            37 From his review of these authorities he drew out the following
         principles. (a) Ownership and control were not in themselves su–cient to
         pierce the corporate veil. (b) Even where there was no unconnected third
         party interest the veil could not be pierced only because it is necessary in        G
         the interests of justice. (c) The veil can only be pierced if there is
         impropriety. (d) The impropriety must be linked to the use of the company
         structure to avoid or conceal liability. (e) In order to pierce the veil, both
         control by the wrongdoer and impropriety must be demonstrated. (f ) A
         company may be a faade even though originally incorporated without
         deceptive intent.
                                                                                             H
            38 The judge then applied those principles to the facts before him. As to
         Petrodel he held that the whole structure was for the husbands benet alone
         and in his control, the husband is able to change the structure and distribute
         the wealth within it to himself and/or his family as may be required or,
         I would add, as he wishes.

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.110
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 94 of 421 PageID 17
                                                                                        427
           [2013] 2 AC                                                   Prest v Prest (CA)
                                                                                 Thorpe LJ

       A     39 The judge concluded this important section of his judgment in
           paras 208—210 which I must cite in full:
                 208. I spent some time during the hearing, and longer since trying to
             make sense of what appeared to be inconsistent themes in the husbands
             evidence and seeking to identify how they might be reconciled.
             Ultimately I have decided that I have been seeking to impose an unduly
       B     legalistic framework onto a relatively simple factual situation, namely
             that the husband operates and controls the Petrodel group and its assets
             for the benet of his immediate family. The wealth within the group is the
             familys wealth to which the husband has unrestricted access. I am
             satised that the husband is both the e›ective owner and controller of the
             whole of Petrodel corporate structure. In coming to this conclusion
             I accept the evidence of Mr Le Breton that the husband told him that he is
       C
             the ultimate benecial owner and I also accept his apposite phrase that
             Petrodel is the husband and the husband is Petrodel. In my judgment, the
             information memorandum as found by the wife accurately describes the
             husband as the owner.
                 209. The extent to which the companies are the husbands nominees
             is demonstrated by the term in the contract, which I repeat, that he: shall
       D     be assumed to report to the board for issues pertaining to the
             management of the company, yet you shall have and employ full
             discretion with the way you manage all the a›airs of the company in so
             far as your actions are for the benet of the company and its
             shareholders. As the husband is the only e›ective shareholder, the
             husband is managing the a›airs of the company solely for his benet,
             hence the complete lack of any need for real board control. The husband
       E
             has clearly used the companies to meet his and his familys personal
             expenditure, as well as his legal costs in these proceedings, without any
             inhibition. The lack of any paper accounting also demonstrates the lack
             of any board control or supervision.
                 210. I am also satised that all the assets held within the companies
             are e›ectively the husbands property. He is able to procure their disposal
       F     as he may direct based again on his being the controller of the companies
             and the only benecial owner. There are no third party interests of any
             relevance because the other shareholders are merely nominal with no
             expectation of beneting from their shareholdings.
              40 The judge then turned to the heart of his judgment, the wifes award.
           He began by reminding himself of the dicta of Sachs J in J v J [1955] P 215 as
       G   to not only the duty of disclosure but also the consequences of breach,
           namely the drawing of adverse inferences. Being free to draw adverse
           inferences the judge concluded: I consider that, conservatively, the husband
           must be worth at least $60m, i e approximately £37.5m.
              41 From that conclusion the judge assessed the wifes fair award at
           £17.5m. The judge then addressed the vital question of how the husbands
           liability to the wife was to be discharged. Orders against foreign properties
       H
           would be di–cult to enforce. Orders against the husbands shareholdings
           impossible, given that they were shrouded in the mist of concealment,
           subterfuge and lies. The judge felt unable to nd impropriety within the
           meaning of the decided cases. The husbands litigation misconduct was not
           so much impropriety as the giving of false evidence. The judge considered


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.111
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 95 of 421 PageID 17
          428
         Prest v Prest (CA)                                                    [2013] 2 AC
         Thorpe LJ

         that he had to choose between the Nicholas approach and the Ben Hashem               A
         approach. But the judges essential ratio is to be found in para 220 when he
         posed the question: were the London houses property to which the
         husband was entitled, either in possession or reversion within the meaning
         of section 24(1)(a). There could be no doubt that the houses were property.
         Thus the crucial words are, therefore, entitled either in possession or
         reversion, words which have not been the subject of any particular
                                                                                              B
         analysis. The judge then concluded that that test was satised on the facts
         of this exceptional case. The directors were stooges or ciphers. Payments
         were made for the benet of the husband and his family without any
         apparent attempt to see whether the husband was entitled to such payments.
         The wealth within the structure was freely available to be distributed as the
         husband directed. Accordingly, at para 225:
                                                                                              C
               In this case the husband can without inhibition acquire the properties
            and shares which the wife seeks because, in e›ect, the companies are his
            nominees or agents. As a result, in my judgment, the husband is entitled
            to the shares and properties held in the names of the corporate
            respondents because there is no impediment, including third party
            interests, to his enjoying the full benet of those assets. They are held by
            the companies for the husband because the corporate structure is being            D
            used as a repository for the family wealth. E›ectively the husband, in
            respect of the companies and their assets, is in the same position as he
            would be in if he was the beneciary of a bare trust or the companies were
            his nominees. There exists no legal impediment to his procuring the
            transfer of the assets held by the companies into his name. In the
            language of the cases, they are his alter ego.
                                                                                              E
            42 In so holding and ordering the judge rested on the statutory power of
         section 24 which freed him from the constraints of company law as
         identied in Salomon v A Salomon & Co Ltd [1897] AC 22 and following
         cases.
            43 Accordingly, in the order giving e›ect to judgment, the husband was
         ordered to transfer or cause to be transferred to the wife the London
         properties together with three properties in Nevis and the shares in a Nevis         F
         company. Following transfer the properties were to be sold and the net
         proceeds of sale applied in satisfaction of the lump sum.
            44 I have followed the structure of the judgment in such detail and
         drawn out the judges ndings and conclusions in order to substantiate my
         opening observation that this was a truly exceptional case for the scale of the
         husbands litigation misconduct. There was almost no length to which he              G
         was not prepared to go in order to attempt to defeat or diminish the wifes
         claim. In such a case the judges search for reality is never easy but it is vital
         that the court should not be prevented or emasculated by the devious and
         dishonest.

         Submissions on appeal
                                                                                              H
            45 It is in that context that I turn to the submissions on this appeal. The
         only appellants are the three companies who have had the advantage of
         representation by Mr Amos QC whose style of advocacy seems to clothe any
         client with respectability. They also had the advantage of a specialist
         company law junior in Mr Shaw.


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.112
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 96 of 421 PageID 17
                                                                                        429
           [2013] 2 AC                                                   Prest v Prest (CA)
                                                                                 Thorpe LJ

       A      46 Mr Amos rst urged that the word entitled could not mean by
           custody or control but only by enforceable legal right.
              47 Second, Mr Amos submitted that the corporate veil could only be
           pierced if impropriety of a particular character could be established. That
           proposition applied as much in Family as in Chancery proceedings. Ben
           Hashems case [2009] 1 FLR 115 had been specically approved by the
       B
           recent decision of this court in VTB Capital plc v Nutritek International
           Corpn [2012] 2 Lloyds Rep 313.
              48 Third, he submitted that that last word from this court implicitly
           overruled the dicta in Nicholas v Nicholas [1984] FLR 285 and in In re
           A Company [1985] BCLC 333.
              49 Fourth, Mr Amos distinguished Mubaraks case [2001] FLR 673.
           Bodey J was considering the courts powers in the enforcement of an award
       C   arising from a contested hearing in which the husband had conceded that the
           company assets were to be treated as his.
              50 Finally Mr Amos submitted that the regulatory structure of company
           law militated strongly in favour of allowing the appeal. For what the order
           had achieved was to change the order of priority, not just preferring one
           creditor over another but advancing the husband as shareholder over any
       D   and all creditors.
              51 Mr Todd QC and Mr Trowell essentially relied on the legal analysis
           of Moylan J. However, Mr Todd submitted that Ben Hashems case and
           Nicholass case were not in conict rather that they illustrated the operation
           of two separate principles. Ben Hashems case considered and applied to
           nancial provision cases the classic rules of company law which tightly
           conned the circumstances in which a court might pierce the corporate veil.
       E   However, Nicholas v Nicholas recognised an essential power in nancial
           provision cases to make orders against assets which undoubtedly belonged
           to the husband, despite the fact that he might, for whatever reason, have
           chosen to hold them in a trust or company.

           Conclusions
       F      52 In weighing these rival submissions on the development of the case
           law I prefer the submissions of Mr Todd. Were there only one line of
           authority and were the Family Division judge bound to apply the
           company law as stated in the VTB case [2012] 2 Lloyds Rep 313, in
           many cases he or she would be unable to make orders fair to applicant
           wives.
       G      53 The powers of redistribution of assets on pronouncement of a
           decree came into force on 1 January 1971 and the development of the
           necessary case law was a gradual process. The decision in Nicholas v
           Nicholas [1984] FLR 285 can be seen as a relatively early pronouncement
           of the power necessary to enable the judge in nancial provision cases to do
           justice.
              54 More recently, Munby J was ideally qualied to hold the balance
       H
           between the family law and the company law authorities. Important is his
           decision in W v H (Family Division: Without Notice Orders) [2001] 1 All ER
           300. Between pp 310E and 311D Munby J recognised the importance of the
           power of Family Division judge in nancial provision cases as rst stated in
           Nicholas v Nicholas. He struck the balance in nancial provision

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.113
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 97 of 421 PageID 17
          430
         Prest v Prest (CA)                                                    [2013] 2 AC
         Thorpe LJ

          proceedings precisely when he said in the nal paragraph of the passage to         A
          which I have referred above:
              Nothing that I say should be taken as intended to water down in any
            way the robustness with which the Family Division ought to deal in
            appropriate cases with husbands who seek to obfuscate or to hide or
            mask the reality behind shams, articial devices and similar contrivances.
            Nor do I doubt for a moment the propriety and utility of treating as one         B
            and the same a husband and some corporate or trust structure which it is
            apparent is simply the alter ego or creature of the husband. On the other
            hand, and as the Nicholas case itself demonstrates, the court does notin
            my judgment cannot properlyadopt this robust approach where, for
            example, property is held by a company in which, although the husband
            has a majority shareholding, the minority shareholdings are what                 C
            Cumming-Bruce LJ called real interest held by individuals who as
            Dillon LJ put it, are not nominees but business associates of the husband.
             55 I would adopt that paragraph as a clear statement of the principle
         properly and necessarily applied in family provision proceedings.
             56 When Munby J came to deliver his judgment in Ben Hashems case
         [2009] 1 FLR 115 the number of cases referred to in the judgment is                 D
         impressive and includes his earlier decision in W v H (cited as In re W (Ex
         parte Orders) which is how it had been designated in the Family Law
         Reports).
             57 In A v A [2007] 2 FLR 467 Munby J had emphasised that his
         observations in W v H did not permit a court to ride rough shod over
         established principles especially if third party interests were involved. In Ben
         Hashems case [2009] 1 FLR 115, para 94 he made the same point, citing              E
         from his judgment in A v A those paragraphs in which he had set limit on his
         prior observations in W v H. Thus, although in A v A and Ben Hashems
         case I nd Munby J cautioning against excess and emphasising that company
         law was uniform in all divisions, he does not disavow the propositions stated
         in W v H.
             58 I would not complicate the approach that a Family Division judge             F
         can legitimately adopt either by reference to company law authority on
         lifting or piercing the corporate veil or by questioning whether judges have
         used an alternative expression of the same principle when they have referred
         to ownership by an alter ego. The simple question is whether the individual
         is entitled to the property within the meaning of section 24(1)(a). The
         Family Division judges with particular expertise in this eld (such as, Bodey,
         Coleridge and Mostyn JJ) have on many occasions stressed the need to get to         G
         the reality in determining the assets to which the husband is entitled. Indeed
         Mostyn J in an obiter passage in his judgment in Hope v Krejci [2012]
         EWHC 1780 (Fam), handed down on 29 June 2012, considered the impact
         of the decision in the VTB case. He concluded in para 22:
               I can easily see why these principles are critically necessary when the
                                                                                             H
            objective is that which was sought in the VTB case, namely to deem
            someone to be a party to a contract to which he plainly is not. But I have
            great di–culty in seeing why they must be satised for the form of
            piercing of the veil that is the telescoping order, which is almost
            invariably the situation confronted in nancial remedy proceedings.

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.114
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 98 of 421 PageID 17
                                                                                        431
           [2013] 2 AC                                                     Prest v Prest (CA)
                                                                                   Thorpe LJ

       A      59 Moylan J, whose expertise in this area is no less, adopted that
           approach and thereby achieved justice for the applicant.
              60 Mr Amoss submissions in this court are essentially the submissions
           advanced by Mr Wagsta› below. They were rightly rejected by the judge.
           Vital are the judges ndings as to the complete absence of boundaries
           between the husband and his companies observed by not only him, who is
           not an appellant, but also the companies, who are. On the exceptional facts
       B
           of this case I conclude that the judge was entitled to order the husband to
           transfer or cause to be transferred the assets which he did.
              61 In the course of argument we were referred to a process which is
           known as telescoping which involves ordering the individual not to transfer
           the property but to transfer shares or to vote himself dividends or loans as a
           route to the property. That seems to me both cumbersome, expensive and
       C   uncertain to achieve the desired end. It is to import the discipline of
           company law in to a situation where at all material times the individual has
           not respected or utilised that discipline. However, that point hardly arises in
           the present case where none of the parties has ever advocated it.
              62 As indicated above I would dismiss this appeal.
              63 I have of course reviewed the judgment which I wrote in July in
           response to the receipt in October of the powerful judgment written by
       D   Rimer LJ. However, despite its cogency I emphasise that all judges who have
           endeavoured to achieve fairness in big money cases at rst instance,
           including Munby J, have followed the pathway marked by Cumming-
           Bruce LJ, himself a former judge of the Division. I myself followed this path
           in the eight years that I sat in the Division and I have not questioned it in the
           more years that I have sat in this court. If this court now concludes that all
       E   these cases were wrongly decided they present an open road and a fast car to
           the money maker who disapproves of the principles developed by the House
           of Lords that now govern the exercise of the judicial discretion in big money
           cases.
              64 In this case the reality is plain. So long as the marriage lasted, the
           husbands companies were milked to provide him and his family with an
           extravagant lifestyle. That was only possible because the companies were
       F   wholly owned and controlled by the husband and there were no third party
           interests. Of course in so operating them the husband ignored all company
           law requirements and checks.
              65 Once the marriage broke down, the husband resorted to an array of
           strategies, of varying degrees of ingenuity and dishonesty, in order to deprive
           his wife of her accustomed a´uence. Amongst them is his invocation of
       G   company law measures in an endeavour to achieve his irresponsible and
           selsh ends. If the law permits him so to do it defeats the Family Division
           judges overriding duty to achieve a fair result.

           RIMER LJ

           Introduction
       H      66 This appeal raises a question as to the courts jurisdiction in
           ancillary relief proceedings between spouses to order assets held by
           companies to be transferred to the applicant spouse in or towards
           satisfaction of her claim. The applicant (respondent to the appeal) was
           Yasmin Prest (the wife). Michael Prest (the husband), the main


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.115
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 99 of 421 PageID 17
          432
         Prest v Prest (CA)                                                    [2013] 2 AC
         Rimer LJ

         respondent to her application, was originally an appellant but his appeal           A
         was struck out for want of compliance with conditions of orders of the
         court. The remaining appellants, also respondents to her application, are
         three companies in his control: Petrodel Resources Ltd (PRL), Petrodel
         Upstream Ltd (Upstream) and Vermont Petroleum Ltd (Vermont). All
         three are incorporated in the Isle of Man.
            67 The main orders under challenge are those in para 5 of Moylan Js             B
         order of 16 November 2011 by which he ordered the husband to transfer or
         cause to be transferred to the wife: (i) four London properties and an
         interest in a fth all held in the name of PRL; and (ii) two London
         properties held in the name of Vermont. Para 5 did not also relate to
         properties held by Upstream, but Upstream appeals (as do PRL and
         Vermont) against other orders made by the judge, including his costs orders,
         although there is no need to refer further to them in this judgment.                C
            68 In making the para 5 orders the judge was purporting to exercise the
         jurisdiction conferred upon the court by section 24(1)(a) of the Matrimonial
         Causes Act 1973, which provides so far as material:
               On granting a decree of divorce . . . the court may make any one or
            more of the following orders, that is to say (a) an order that a party to
                                                                                             D
            the marriage shall transfer to the other party . . . such property as may be
            so specied, being property to which the rst-mentioned party is entitled,
            either in possession or reversion . . . (Emphasis supplied.)
            69 A question that exercised the judge, and this court on the appeal, was
         whether the properties the subject of his para 5 orders were property to
         which the husband was so entitled. Only if they were did the judge have
                                                                                             E
         jurisdiction to make the orders. Thorpe LJ has concluded that the judge was
         entitled to regard the properties as such property and so make the orders
         that he did.
            70 I respectfully disagree with Thorpe LJs reasoning and conclusion
         and would allow the appeals against the para 5 orders. I consider, with
         respect, that the judge fell into fundamental error. He made no primary
         ndings justifying any conclusion other than that the properties were part of       F
         the assets of, and belonged benecially to, the companies that respectively
         owned them. He held, however, that the husbands sole control of the
         companies as their 100% owner enabled him to deal as he wished with
         the companies assets, and that it followed that the husband was therefore
         the benecial owner of such assets and so entitled to them within the
         meaning of section 24(1)(a).                                                        G
            71 In so holding the judge was wrong. He should have held that
         section 24(1)(a) had no application to the para 5 properties and gave the
         court no jurisdiction to make the orders. That is because the shareholders of
         a company have no interest in, let alone entitlement to, the companys assets
         and the same applies to a shareholder who is a 100% owner of the company.
         The distinction between the respective legal personalities, rights and
         liabilities of a company and those of its shareholders is as valid today as         H
         when the House of Lords decided Salomon v A Salomon & Co Ltd [1897]
         AC 22 and it applies as much in the disposition of ancillary relief proceedings
         as in other proceedings. The judge, however, simply equated the companies
         with the husband and regarded their assets as his.

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.116
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 100 of 421 PageID 17
                                                                                        433
           [2013] 2 AC                                                     Prest v Prest (CA)
                                                                                    Rimer LJ

       A   The judges judgment
               72 The judge gave a very full judgment in which he explained that the
           husbands failure to co-operate in the disclosure process and to give clear
           evidence prevented him from giving a comprehensive account into which all
           the pieces of the jigsaw could be tted. I do not question that such lack of
           co-operation made the judges task more di–cult than it should have been.
       B   The judges ndings of central importance are, however, as to the
           companies, their ownership and their assets and I must explain them.
               73 The structure of the many companies in the Petrodel group is
           complicated but the relevant shareholdings are as follows. A Nevis
           company, Petrodel Resources (Nevis) Ltd (the Nevis company), holds
           100% of Upstream. The Nevis company also holds 97.5% of a Nigerian
           company called Petrodel Resources (Nigeria) Ltd (PRNL), the other 2.5%
       C   being held as to half each by the wife and Helen Davies (the husbands
           sister). PRNL holds 99.99% of PRL, with the other 0.01% being held by
           Margaret Wilson, the wifes mother; and PRNL and PRL respectively hold
           51% and 49% of Vermont. The husbands evidence was that the Nevis
           company (which owned 97.5% of PRNL) was itself wholly owned as to
           100% by PRNL. The judge said (para 55(c)) that this alleged circular
       D   ownership is but one of the puzzling features of this case. He also,
           however, referred to the di›erent evidence of Mr Le Breton (who had
           worked in the Petrodel group until 2008), which was that the Nevis
           company was not owned by PRNL but that its shares were held for the
           husbands benet through a trust; and at the hearing of the appeal,
           Mr Amos QC, for the appellants, told us that the Nevis company is now
           owned by a Nevis entity called the Family One Foundation, whose shares are
       E   held on trust for, amongst others, the husband. There are other companies
           in the group to which the judge referred in his judgment, but it is unnecessary
           to refer to them. The appeals are only about, or only directly about, PRL,
           Vermont and Upstream.
               74 The judge said (para 55(b)) that PRNL was e›ectively a holding
           company for [PRL]. Both companies were incorporated in 1993. PRL was
           the main trading company of the group, its accounts showing that it started
       F
           trading in 2002. Its original shareholders were the husband and the wife and
           its rst directors were relatives of the wife. By the trial, its shareholding was
           held as I have described and its directors were Ms Walters and Mr Murphy,
           the latter providing his services through a management company. The judge
           found that the husband began working full-time in the group in 2005, as
           chief executive o–cer of PRL. The judge said of PRL, at para 22, that:
       G
                 [it] has been involved in the oil business in what are called
              downstream activities, namely trade and transportation, and more
              recently has been involved in upstream activities, namely oil exploration
              and production. Accounts for the years 2005, 2007 and 2008 . . . show
              turnover of between $572m and $1,400m and prots of between just
              under $3m and approximately $6m.
       H
              75 The judge referred, at para 77, to the husbands evidence that
           although PRL was still trading in gasoline, it had not undertaken a trade
           since one e›ected in early 2010 for which payment remained due.
           Documents produced during the trial showed, however, that substantial
           trades have continued to be made by companies within the group being,


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.117
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 101 of 421 PageID 17
          434
          Prest v Prest (CA)                                                   [2013] 2 AC
          Rimer LJ

          probably, either [Vermont] and/or [the Nevis company]. Both PRL and              A
          Vermont are, or were, trading companies.
              76 The former matrimonial home, 16, Warwick Avenue, London W2,
          was bought in PRLs name in 2001. The judge said, at para 228, that if it
          were necessary so to decide, he would have held that Warwick Avenue was
          held by PRL on trust, or as a nominee, for the husband (he had earlier set out
          the evidence justifying such a nding) and (by para 3 of his order) he ordered
                                                                                             B
          its transfer to the wife. There is no appeal against that order, permission to
          appeal having been refused. As for the seven other London properties
          respectively held by PRL and Vermont which are the subject of the appeals,
          the judge made no like nding that any was held either on trust, or as
          nominee, for the husband although he had been pressed by the wife to do so.
          The judge explained that all the London properties were the subject of a
          charge by their respective corporate owners to BNP Paribas and that all save       C
          for Warwick Avenue were also charged to Ahli United Bank (UK) plc. The
          charged properties had a combined gross value of £11.3m, the indebtedness
          to Ahli being just under £1.9m. In paras 80—84 and 159—161, the judge
          explained the evidence as to the indebtedness to BNP Paribas but was unable
          to make a clear nding as to its amount. On one view, it may have been
          about $7.6m.                                                                       D
              77 The judge made an important nding as to the husbands role in the
          governance of PRL. He referred to Mr Le Bretons evidence that its directors
          acted pursuant to the husbands instructions and to the terms of the
          husbands employment contract as chief executive o–cer, which gave him
          full discretion as to the management of PRLs a›airs in so far as [his]
          actions are for the benet of the company and its shareholders. He said, at
          para 70, that:                                                                     E

                I am satised that the directors of the group, including Mr Murphy,
             act in accordance with instructions given by or on behalf of the husband.
             The husband was unable in his oral evidence to provide details of any
             specic occasion when the directors had not acted in accordance with his
             instructions.
                                                                                             F
          The judge thus found the husband to be a shadow director of PRL
          (compare section 251(1) of the Companies Act 2006), although he did not so
          describe him.
             78 The judge explained (at paras 71—74) the unsatisfactory evidence in
          relation to the directors current account shown in the PRL accounts, which
          showed liabilities to directors of just over $10m for each of 2008 and 2009.
          This appeared to ba´e the husband in his cross-examination, who at one             G
          point denied that he had a current or loan account with PRL as he was not a
          director. Despite this, the judge found it to be clear that there is no person
          other than the husband to whom such sums could or would be due and he
          referred to the husbands acknowledgement elsewhere that he did have a
          directors loan account. The judge then said, at paras 74—75:
                                                                                             H
                74. The loan account has not been produced. Indeed, there is no
             direct evidence at all as to how the husbands income and bonuses are
             dealt with in PRLs accounts save possibly for references to directors
             remuneration which, given the amounts, are very unlikely to relate to
             actual directors. Further, the amounts given for directors emoluments

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.118
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 102 of 421 PageID 17
                                                                                        435
           [2013] 2 AC                                                   Prest v Prest (CA)
                                                                                  Rimer LJ

       A     are signicantly less than the annual amounts spent by the husband on
             himself and his family and for which there appears to be no signicant
             source other than PRL . . . The husband told me that he does not know
             how his income and bonus are dealt with in the accounts. When he was
             asked whether he receives any benets from PRL other than his salary he
             replied that this is an accounting question. When asked in cross-
             examination to explain how some of the payments relating to the wifes
       B
             mother were for the companys benet, the husband replied that she was a
             shareholder. When Mr Todd asked whether a dividend had been
             declared, the husband said he was not sure how this benet or these
             payments had been received.
                75. It was suggested to the husband in the course of his cross-
             examination that he just draws from PRL whatever he and his family
       C     need. He denied this but when then asked how he paid for school fees he
             said he would either pay it himself or he would take a directors loan. The
             only company of which the husband is a director is [PRNL]. There is no
             indication that this company has had su–cient resources to enable school
             fees to be paid. As the husbands employment contract permits him to set
             his own bonus, the whole exercise is articial in any event as, if required,
             he could simply ascribe all payments made for his or his familys benet as
       D
             being part of his bonus. I have no doubt at all that the husband does,
             indeed, just draw from PRL whatever he and his family need, as and when
             they need it.
           The judge referred, at para 92, to the fact that school fees, other educational
           costs, holidays in Italy and the cost of a chalet in Meribel had been paid by
           PRL out of its Royal Bank of Scotland account in the Isle of Man.
       E
              79 The judge made certain ndings with regard to the husbands
           interest in the Petrodel group between paras 199 and 210. He concluded as
           follows, at paras 208—210:
                208. I spent some time during the hearing, and longer since, trying to
             make sense of what appeared to be inconsistent themes in the husbands
             evidence and seeking to identify how they might be reconciled.
       F
             Ultimately I have decided that I have been seeking to impose an unduly
             legalistic framework onto a relatively simple factual situation, namely
             that the husband operates and controls the Petrodel group and its assets
             for the benet of his immediate family. The wealth within the group is the
             familys wealth to which the husband has unrestricted access. I am
             satised that the husband is both the e›ective owner and controller of the
       G     whole of the Petrodel corporate structure. In coming to this conclusion
             I accept the evidence of Mr Le Breton that the husband told him that he is
             the ultimate benecial owner and I also accept his apposite phrase that
             Petrodel is the husband and the husband is Petrodel. In my judgment, the
             Information Memorandum as found by the wife accurately describes the
             husband as the owner.
                209. The extent to which the companies are the husbands nominees
       H
             is demonstrated by the term in his contract . . . that he shall be assumed
             to report to the board for issues pertaining to the management of the
             company, yet you shall have and employ full discretion with the way you
             manage all the a›airs of the company in so far as your actions are for the
             benet of the company and its shareholders. As the husband is the only


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.119
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 103 of 421 PageID 17
          436
          Prest v Prest (CA)                                                   [2013] 2 AC
          Rimer LJ

             e›ective shareholder, the husband is managing the a›airs of the company          A
             solely for his benet, hence the complete lack of any need for real board
             control. The husband has clearly used the companies to meet his and his
             familys personal expenditure, as well as his legal costs in these
             proceedings, without any inhibition. The lack of proper accounting also
             demonstrates the lack of any board control or supervision.
                210. I am also satised that all the assets held within the companies       B
             are e›ectively the husbands property. He is able to procure their disposal
             as he may direct based again on his being the controller of the companies
             and the only benecial owner. There are no third party interests of any
             relevance because the other shareholders are merely nominal with no
             expectation of beneting from their shareholdings.
             80 Those paragraphs include a clear nding that the husband was the              C
          ultimate owner of the group and so in a position to control its a›airs. The
          judge described him as the e›ective owner of the group and I read the
          e›ective as reecting that, whilst the ultimate shareholding was not vested
          in the husband, he was nevertheless its sole controller. Given the evidence he
          heard, that nding was unsurprising and the appeals involved no challenge
          to it.
             81 The question in the appeal is not, however, as to the ownership of            D
          the ultimate shareholding that conferred control of the group companies,
          but as to the ownership of the properties the subject of the para 5 orders.
          There is no dispute that they were vested in and held by one or other of PRL
          and Vermont and so, prima facie, were their assets. They could not therefore
          be made the subject of the para 5 orders unless the true analysis was that,
          although held by the companies, they were properties to which the husband           E
          was entitled, either in possession or reversion  within the meaning of
          section 24(1)(a). In para 210 the judge found that all the Petrodel groups
          assets were e›ectively the husbands property. I interpret the e›ectively
          as reecting the judges reluctance, at any rate by that point in his judgment,
          to go so far as to say that they were his property.
             82 During the argument, Thorpe LJ suggested that the judge probably
          there meant that the assets belonged to the husband in reality. With            F
          respect, that is to substitute for the judges own imprecise wording a phrase
          of like imprecision. The question for the judge was in principle simple.
          Section 24(1)(a) obviously focuses only on property to which the respondent
          spouse is benecially entitled, the location of the legal title being immaterial.
          The assets held by the companies (including therefore the properties) either
          belonged benecially to the companies or to the husband. No third                   G
          alternative was canvassed. Before the judge could make an order under
          section 24(1)(a) in relation to the various London properties, he had to be
          satised that they were the husbands benecial property: and a nding that
          were e›ectively his property (whatever that may mean) was not good
          enough. The judge appears there to have been basing that nding on no
          more than his primary nding that the husbands sole control of the Petrodel
                                                                                              H
          group carried with it the authority to deal with all the groups assets. The
          critical question, however, is whether such control meant that the husband
          was in fact the benecial owner of the companies assets and, therefore, that
          the companies had no benecial interest in them. The judge has not yet
          answered that question unambiguously, although these paragraphs were not

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.120
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 104 of 421 PageID 17
                                                                                        437
           [2013] 2 AC                                                   Prest v Prest (CA)
                                                                                  Rimer LJ

       A   his last word on the topic. The ordinary principle is that the shareholders of
           a company (including a shareholder with 100% control) have no interest of
           any nature in the companys assets.
              83 In paras 211—230, the judge explained the award that he proposed to
           make in favour of the wife. In assessing the husbands nancial resources,
           which was the rst issue upon which the judge embarked, he referred again
           to the husbands failure to give full and frank disclosure of his resources and
       B
           held that he was entitled to draw adverse inferences against him. In making
           his assessment, the judge took into account the value of his interests in the
           Petrodel group and explained, in para 215, that he was satised that the
           husband had continued through Petrodel to trade successfully since 2004,
           the accounts of PRL suggesting that it had made a net prot for the four
           years 2005 to 2008 of $19m. The judge concluded that the husband must
       C   be worth at least $60m, i e approximately £37.5m. That nding reected
           that the husbands wealth included the value of his ultimate shareholding in
           the Petrodel group. The judge decided that a fair award to make to the wife
           was for her to receive resources totalling £17.5m.
              84 The judge turned, at para 217, to consider how that award should be
           structured. Mr Todd QC, for the wife, had sought a lump sum order, with
       D   property transfer orders in respect of the London properties and the
           company shares in part satisfaction. Counsel for the husband and the
           companies had respectively submitted that no direct orders could be made in
           respect of the shares or properties held by the companies unless the judge
           was able to nd the requisite impropriety as set out in [Ben Hashem v Al
           Shayif [2009] 1 FLR 115, a decision of Munby J]. That was a decision to
           the e›ect that, without such a nding, it was not open to the court to pierce
       E   the Petrodel companies veils of incorporation and so identify the companies
           with the husband; and that, without such piercing and identication, there
           was no basis for an order directly in respect of shares and/or properties held
           by the companies, because such assets were their assets, not the husbands.
           The judge added that there was also the separate issue of whether the
           companies hold the shares and properties on trust for the husband or as his
       F   nominee. If the answer to that was yes, the route to the order sought by
           Mr Todd was straightforward: because if such shares and/or properties were
           so held, they were plainly property to which [the husband was entitled],
           either in possession or reversion within the meaning of section 24(1)(a). In
           the event, the judge declined to answer that latter question in the a–rmative.
              85 Importantly, the judge also expressly rejected the case that there was
           any relevant impropriety or, therefore (as might be thought to follow), any
       G   case for piercing the corporate veils of the Petrodel companies. His reasons
           were these, at paras 218—219:
                 218. Dealing rst with the issue of impropriety, has the wife
             established that the company structure has been used to avoid or conceal
             liability? In my judgment the company structure in this case was set up
             and has been used for conventional reasons including wealth protection
       H
             and the avoidance of tax. Mr Todd is right, for example, to point to the
             reference in the annex to the husbands Form E to his transferring his
             shares in [PRNL] to the Nevis company because he was involved in
             litigation. However, this does not result in the company structure being
             used to conceal or avoid liability. It is seeking to provide a degree of

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.121
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 105 of 421 PageID 17
          438
          Prest v Prest (CA)                                                   [2013] 2 AC
          Rimer LJ

             protection for the wealth, which may or may not be e›ective depending           A
             on the nature of the rights retained by the husband. He is also right to
             point to the company structure e›ectively being the husbands money box
             which he uses at will. This might be contrary to accounting or company
             law principles but any disregard of those principles does not, in my view,
             mean that the structure is being used to avoid or conceal liability. From
             the husbands perspective the wealth and the corporate structure is and
                                                                                             B
             remains his but at the same time he is able to take advantage of the tax
             and other benets of holding it within a corporate structure.
                219. I also do not accept Mr Todds submission that the undoubted
             use by the husband of the corporate structure to seek to deny that the
             companies or their assets are his resources or are assets available to him
             amounts to impropriety as that word is used in the authorities. It is
             simply a husband giving false evidence. Accordingly, I do not consider          C
             that the wife has established impropriety in this case.
             86 Having held that the conditions for piercing the corporate veil were
          not satised, the judge nevertheless went on to hold that the husband was
          entitled to the relevant properties within the meaning of section 24(1)(a)
          and, therefore, that he could and should make the para 5 orders for the
          transfer of the properties held by PRL and Vermont. That reasoning                 D
          substantially repeated what the judge had found in paras 208—210 (quoted
          above) but he re-reasoned the issues and I must set out what he said, at
          paras 220—228. I should also rst set out his interpretation, in para 193, of
          Bodey Js decision in Mubarak v Mubarak [2001] 1 FLR 673:
                193. In essence, Bodey J decided, notwithstanding the comments in
             [Crittenden v Crittenden [1990] 2 FLR 361], that property is within the         E
             scope of section 24 if it is property to which a spouse is to be treated as
             being entitled which can include property held by a company of which a
             spouse e›ectively has complete, or perhaps more accurately a su–cient
             degree of, control or ownership. Although the e›ect is to pierce the
             corporate veil it is, in my view, a question of statutory interpretation.
             Does the power given to the court by the Matrimonial Causes Act extend
                                                                                             F
             to property held through a corporate or other structure to which one
             spouse is (in e›ect) entitled through the use of rights and powers available
             to him and her? Bodey J decided that if a party has e›ective control of the
             legal or corporate structure and, because third party interests would not
             be prejudiced, is also the only person e›ectively entitled to the benet of
             the property, then that property is within the scope of section 24 as being
             property to which . . . (that) party is entitled in possession.             G
                220. In my judgment, the question I must decide is whether the
             relevant shares and properties are property to which the husband is
             entitled, either in possession or reversion. It is plain that the word
             property is extremely broad and covers all forms of property. The
             crucial words are, therefore, entitled either in possession or reversion,
             words which have not been the subject of any particular analysis. I agree
             with Mr Wagsta›e that if a lay person was asked the question whether a          H
             husband who owns a company which owns a house is entitled to the
             house, they would reply in the a–rmative but I also agree with him that
             I must decide from a legal perspective whether as a matter of statutory
             interpretation, as applied to the facts of this case, the answer is the same.


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.122
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 106 of 421 PageID 17
                                                                                        439
           [2013] 2 AC                                                   Prest v Prest (CA)
                                                                                  Rimer LJ

       A     In undertaking this task, I am persuaded that I should apply [Nicholas v
             Nicholas [1984] FLR 285] and what appears to me to be Bodey Js
             reasoning in Mubarak v Mubarak as set out in para 193 above.
                221. As I have indicated, I am satised that the husband has complete
             control over the respondent companies both in terms of their operation
             and in terms of their management. He is the controlling force and the
             directors clearly act on his instructions. They are, to use the words of
       B
             Munby J from Ben Hashems case, the husbands stooges or ciphers.
             I could also adopt the following passage from Lord Denning MRs
             judgment in Wallersteiner v Moir [1974] 1 WLR 991, 1013: He was in
             control of them as much as any one-man company is under the control
             of the one man who owns all the shares and is the chairman and managing
             director . . . He controlled their every movement. Each danced to his
       C     bidding. He pulled the strings.
                222. There is no evidence that any of the directors of any of the
             companies acted other than in accordance with the husbands
             instructions. There is good evidence provided by Mr Le Breton that the
             corporate structure, the whole of it, was managed as the husband directed
             and I remind myself, again, of the terms of the husbands contract of
             employment. Payments were made for the benet of the husband and his
       D
             family without any apparent attempt to see whether the husband was
             entitled to such payments. I have seen no reference to any determination
             being made of the husbands bonus. The husband does not know how his
             income and bonus were accounted for in the accounts. There is reference
             to directors remuneration but the amounts are substantially less than the
             amounts paid to the husband or for the benet of the family. The
       E     husband himself accepts that the structure is such that he is able to e›ect
             whatever might be required to meet his obligations under Itsekiri
             customary law, be it transferring shares to his siblings or otherwise. How,
             I ask, would the husband be able to achieve this if he is not the e›ective
             owner of the whole group and of the companies?
                223. The supercial nature of the company structure and the extent of
             the husbands control can be seen from his contract of employment and
       F
             the other matters to which I have referred. It is also clear to me that the
             husband looks at things from the perspective of obligations or need. The
             legal structure is of secondary importance save that clearly any such
             structure must be capable of being used to enable his obligations and/or
             his needs to be met. So, for example, if the husbands customary law
             obligations require him to give his siblings shares in the company, then
       G     the structure must be such as to enable him to do so. I am condent that
             Mr Elusogbon did tell the husband not to worry because, indeed, the
             structure which holds the wealth and assets can be adjusted as required,
             or to put it another way the wealth held within the structure is freely
             available to be distributed as the husband directs. It is di–cult to see how
             this could be achieved by him unless he controls, in English law terms,
             both the legal and the benecial interest in the worth. Further, if the
       H     husband not only has complete control but also is the sole e›ective
             owner, which I have found that he is, in my judgment, again in English
             law terms, I would see this as equating to benecial ownership.
                224. In summary, therefore, in my judgment the answer to the
             question of whether an asset held in the legal name of a company is


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.123
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 107 of 421 PageID 17
          440
          Prest v Prest (CA)                                                    [2013] 2 AC
          Rimer LJ

             property which falls within section 24(1)(a) depends on the facts of the          A
             case. It is right, of course, that as a matter of company law a shareholder
             only has a right of participation in accordance with the articles of
             association and has no right to any particular item of property. But, what
             if the shareholder is, in fact, able to procure the transfer to them of a
             particular item of company property, such as a matrimonial home, as a
             result of their control and ownership of the property and the absence of
                                                                                               B
             any third party interests. Am I to ignore the reality that the shareholder is
             able to procure the transfer to them of that property for the purposes of
             deciding whether it is property to which they are entitled?
                 225. In my judgment, it would be contrary to the purpose and
             intention of the legislation if I were to do so. The legislation is intended to
             ensure that marital wealth can be distributed by the court between the
             parties in a fair and just manner. In this case the husband can without           C
             inhibition acquire the properties and shares which the wife seeks because,
             in e›ect, the companies are his nominees or agents. As a result, in my
             judgment, the husband is entitled to the shares and properties held in the
             names of the corporate respondents because there is no impediment,
             including third party interests, to his enjoying the full benet of these
             assets. They are held by the companies for the husband because the
                                                                                               D
             corporate structure is being used as a repository for the family wealth.
             E›ectively the husband, in respect of the companies and their assets, is in
             the same position he would be in if he was the beneciary of a bare trust
             or the companies were his nominees. There exists no legal impediment to
             his procuring the transfer of the assets held by the companies into his
             name. In the language of the cases, they are his alter ego.
                 226. I do not consider that the company law principles, relied upon in      E
             particular by Mr Wagsta›e, determine the scope of the powers given to
             the court under the Matrimonial Causes Act. In my view, if a party is
             both the e›ective controller and the e›ective owner of a company it does
             not strain the language of the Matrimonial Causes Act to decide that he is
             entitled . . . in possession to an asset held by that company such as the
             former matrimonial home. This interpretation accords with what was
                                                                                               F
             said in Nicholas v Nicholas. As identied in Mubarak, he is entitled to the
             asset in possession because he has the right and ability to procure its
             transfer to him for his own use. This is not to challenge the principles
             established by Salomon or Adams v Cape Industries plc or the other
             authorities referred to in Ben Hashems case. It is to recognise, as was
             said by Slade LJ in the Cape case [1990] Ch 433, 536G, with my emphasis:
             save in cases which turn on the wording of particular statutes, the court is     G
             not free to disregard the principles of Salomon merely because it considers
             that justice so requires.
                 227. As a matter of general law the companies in the Petrodel group
             may be separate legal entities but, in my judgment, under the
             Matrimonial Causes Act their assets fall within the scope of section 24 as
             a result of the complete nature of the husbands control and ownership.
                                                                                               H
             As Mr Wagsta›e submitted, the wife can have no stronger claim than the
             husbands. In this case, as a result of control and ownership, the husband
             is able to procure the transfer of the properties and shares into his sole
             name or as he may direct. The case was argued on behalf of the husband
             and the companies on the basis of the husbands rights as against the

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.124
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 108 of 421 PageID 17
                                                                                         441
           [2013] 2 AC                                                     Prest v Prest (CA)
                                                                                    Rimer LJ

       A      company. Apart from the alleged interests of the husbands siblings,
              which I have rejected, it has not been asserted that any other rights or
              interests would or should inhibit me from making the orders sought by
              the wife.
                 228. I also propose to deal specically with the position of Warwick
              Avenue. I am satised that the moneys used in the purchase and
              refurbishment of that property came from the husband. There is no
       B
              evidence that he lent this money to the company, nor that he gifted it to
              the company. Accordingly, if it were necessary for me to decide the issue,
              I would decide specically that the company holds that property on
              resulting trust for the husband.

           The appeals
       C      87 I make rst some observations about section 24(1)(a) of the
           Matrimonial Causes Act 1973. It is a clear and uncomplicated provision.
           The task that section 24(1)(a) sets the court is to identify property to which
           [the respondent spouse] is entitled, either in possession or reversion, and
           then to consider whether to make a property adjustment order in relation to
           any property so identied. The property to which the paragraph refers
       D
           means property to which the respondent spouse is benecially entitled. The
           nature of the courts inquiry as to the benecial ownership of a particular
           asset will be the same as it would be in a case not arising under the section 24
           jurisdiction: property for the purposes of section 24(1)(a) cannot and does
           not mean something di›erent from property in other contexts. The
           inquiry will show that the asset in question either is, or is not, property of the
           respondent spouse. If it is, it is vulnerable to the exercise of the section 24
       E   jurisdiction. If it is not, it is not.
              88 This takes me back to para 218 of the judges judgment. The judges
           rejection there of the submission that the establishment of the Petrodel
           structure involved any impropriety such as to entitle the court to pierce the
           companies respective corporate veils was crucial to the disposition of the
           inquiry as to the benecial ownership of the assets held by the appellants.
           The relevance of the need for impropriety submission was that it was only
       F
           if relevant impropriety could be shown that the corporate veils could in
           consequence be pierced, following which it would then be open to the court,
           so far as it might think t, to treat certain of the companies assets as
           the husbands and make transfer orders in respect of them under
           section 24(1)(a).
              89 The judge, however, rejected the submission that there had been any
       G   relevant impropriety and instead found that the company structure was set
           up and has been used for conventional reasons including wealth protection
           and the avoidance of tax. That can mean only that he was making a
           conventional nding that the wealth of the companies (which I presume
           means their assets) belonged benecially to them. That is because, if he was
           instead nding that their wealth had always belonged, and continued to
           belong, not to the companies but exclusively to the husband, he could in
       H
           consequence only have found that the companies were mere nominees for
           him, which would undermine his nding as to the legitimacy of the
           establishment and use of the company structure. The judge underlined this
           by noting that the husbands use of the companies e›ectively [as his] money
           box . . . at will might have been contrary to accounting or legal principles


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.125
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 109 of 421 PageID 17
          442
          Prest v Prest (CA)                                                   [2013] 2 AC
          Rimer LJ

          but that such use did not undermine the legitimacy of the establishment of         A
          their structure. He was implicitly saying that the companies were entities
          with assets of their own the use and disposal of which might be constrained
          by law, as a companys assets are; and that the husband, perhaps improperly,
          had helped himself to their assets did not alter that.
              90 The last sentence of at para 218 is more di–cult. The judge there
          said that whilst from the husbands perspective the companies wealth        B
          and corporate structure is and remains his, at the same time he is able to
          take advantage of the tax and other benets of holding it within a corporate
          structure. I am not condent that I understand what the judge was saying
          there. If he was saying that the companies wealth in fact belonged (and,
          presumably, had always belonged) benecially to the husband, it would
          follow that the husband was not entitled to take advantage of the suggested
          benets of holding them within a corporate structure: the assets (and              C
          liabilities) would, on that basis, have belonged to him alone, the companies
          would simply have held the assets as his nominees and the incorporation of
          the companies could have achieved no relevant change in his personal
          position. If, however, the judge was simply saying (as I regard more
          probable, since otherwise para 218 would overall make no sense) that the
          husband was, at least in substance, the sole benecial owner of the shares in      D
          the ultimate holding company and so had complete control of all the group
          companies and their respective wealth, there is no problem. He would then
          simply have been describing the commonplace circumstance under which
          the one-man owner of a company, or a group of companies, enjoys total
          control of its or their a›airs.
              91 I therefore arrive at the judges para 220 on the basis that he has not
                                                                                             E
          only made no nding that the assets held by the Petrodel companies were
          other than assets that belonged to them benecially (as a companys assets
          do) but has in fact found (in para 218) that they did so belong. In para 220
          the judge focused on the question that section 24(1)(a) posed for him and
          indicated that he derived guidance from Nicholas v Nicholas [1984] FLR
          285 and Mubarak v Mubarak [2001] 1 FLR 673 as to how he should answer
          it.                                                                                F
              92 The judge then again explained, in paras 221—223, how the husband
          had sole control of the Petrodel companies and how he exercised that control
          by being their sole (shadow) director and how he was the e›ective owner of
          the whole group (meaning, as I have said, that he had sole control of the
          shares in the ultimate parent, the Nevis company). At the end of para 223,
          he concluded that the combined facts of the husbands complete control and         G
          the fact that he was the sole e›ective owner equated to benecial
          ownership: and he was apparently there saying that those combined
          circumstances made the husband the sole benecial owner of the companies
          assets. If he was not saying that, I do not know what he meant; if he was
          saying it, his statement cannot stand with para 218.
              93 In paras 224 and 225, the judge made clear his ndings that the
          husband was entitled to all the companies assets, and that nding             H
          necessarily carried with it a nding that the husband was the exclusive
          benecial owner of such assets and that the companies had no benecial
          interest in them. The companies which, in para 218, the judge had found to
          be legitimately established for conventional reasons including wealth

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.126
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 110 of 421 PageID 17
                                                                                        443
           [2013] 2 AC                                                     Prest v Prest (CA)
                                                                                    Rimer LJ

       A   protection and the avoidance of tax have, therefore, by para 225 become
           the husbands nominees or agents in respect of his own assets.
               94 The judges conclusion to that e›ect was based on his holding that
           the husbands sole control of the companies a›airs gave him the benecial
           ownership of all the assets held by the companies. His view was that such a
           sole shareholders power over the assets of the company he owns is equal to
           property. It was his view that if (as in every case he will) a sole ultimate
       B
           shareholder of a group of companies is in a position to procure the transfer
           to himself of any asset held by any of the companies, then, in the absence of
           any third party interests, any such asset is property to which the sole
           shareholder is entitled within the meaning of section 24(1)(a). The
           corollary must be that it is not property to which the company is entitled or
           in which the company has any benecial interest: the company is, in such a
       C   case, merely holding its assets as the nominee of its 100% controller.
               95 The judge summarised his ndings in para 226. His conclusion was
           that the controller of a company who has the right and ability to transfer
           its assets to himself for his own use is entitled in possession to the asset.
           That does, the judge recognised, amount to treating the companys assets as
           the controllers rather than the companys. But he did not regard it as
           amounting to a departure from the principles of Salomon v A Salomon & Co
       D
           Ltd [1897] AC 22 since section 24(1)(a) authorised such an inroad into the
           Salomon principles. That last observation is a di–cult one. If, as the judge
           appears to have considered, section 24(1)(a) is to be interpreted as meaning
           that, in the case of a company in the sole ownership of a single individual, all
           the assets of the company are property to which [that individual] is
           entitled, that logically involves no inroad into the Salomon principles at all:
       E   it simply means that the e›ect of section 24(1)(a) is that such a company
           owns benecially none of the assets it holds, which instead all belong
           benecially to its 100% owner. Such an interpretation, however, involves a
           misunderstanding of section 24(1)(a) and is wrong.
               96 In particular, if the judge regarded anything in Nicholas v Nicholas
           [1984] FLR 285 and Mubarak v Mubarak [2001] 1 FLR 673 as supporting
           his conclusion, he misunderstood them. Those cases had nothing to say
       F
           about the ordinary meaning of section 24(1)(a) and neither suggested that it
           means anything other than I have indicated it means. The relevant
           statements in the Nicholas and Mubarak cases were directed to a
           consideration of the circumstances in which it might be appropriate for the
           court to pierce the corporate veil of a company and then to treat its assets
           as those of the husband for the purposes of section 24(1)(a). In the present
       G   case, however, the judge appears to have regarded the guidance in Ben
           Hashem v Al Shayif [2009] 1 FLR 115 as to when the corporate veil might be
           pierced as the applicable guidance and held, in paras 218 and 219, that there
           was no basis for piercing the veil. Such guidance di›ers from that in
           Nicholas v Nicholas [1984] FLR 285 and Mubarak v Mubarak [2001]
           1 FLR 673.
               97 I respectfully disagree with the judges reasoning and conclusion.
       H
           Once he had rejected the submission that he could pierce the corporate veils
           of the companies in the Petrodel group, he had no choice but to nd that
           assets of PRL and Vermont, including the London properties the subject of
           the appeals, belonged benecially to PRL and/or Vermont respectively, and
           that none of such assets belonged benecially to the husband. The judges


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.127
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 111 of 421 PageID 17
          444
          Prest v Prest (CA)                                                   [2013] 2 AC
          Rimer LJ

          di›erent conclusion that such properties were, or were e›ectively, the         A
          husbands property was based on reasoning that was internally inconsistent,
          contrary to principle and wrong. I shall now explain why in fuller detail.

          Basic principles
             98 First, the appeals concern companies all incorporated in jurisdictions
          other than England and Wales. There was, however, no expert evidence as            B
          to any foreign law governing the operations of any of the companies and the
          appeals were argued on the basis that English law applied to their
          operations.
             99 Second, Salomon v A Salomon & Co Ltd [1897] AC 22 provides the
          highest authority for the principle that a duly incorporated company is a
          legal entity wholly separate from those who incorporate it, with rights and
          liabilities of its own; and there was here no suggestion that any of the group     C
          companies was other than duly incorporated. The principle established by
          the Salomon case is too well known to require elaboration. I shall cite just
          two short passages. Lord Halsbury LC said, at p 31:
                Either the limited company was a legal entity or it was not. If it was,
             the business belonged to it and not to Mr Salomon. If it was not, there
             was no person and no thing to be an agent at all; and it is impossible to say   D
             at the same time that there is a company and there is not.
          Lord Macnaghten said, at p 53:
                It has become the fashion to call companies of this class one-man
             companies. That is a taking nickname, but it does not help one much in
             the way of argument. If it is intended to convey the meaning that a             E
             company which is under the absolute control of one person is not a
             company legally incorporated, although the requirements of the 1862 Act
             may have been complied with, it is inaccurate and misleading: if it merely
             means that there is a predominant partner possessing an overwhelming
             inuence and entitled practically to the whole of the prots, there is
             nothing in that that I can see contrary to the true intention of the
             1862 Act, or against public policy, or detrimental to the interests of          F
             creditors.
             100 Third, as appears from the latter quotation, it makes no di›erence
          to the fact of a companys separate entity that a single individual controls all
          its shares. That is, and always has been, a commonplace circumstance.
          Companies can now be, and often are, incorporated with a single member.
          At the time of Salomons case, the minimum number was seven and the                G
          Salomon company was incorporated with seven members, but the House
          made plain that it makes no di›erence to the separate existence of the
          company that all the shares are held in trust for one person who has full
          control over it: (see again per Lord Macnaghten, and also per Lord
          Herschell, at p 45, and per Lord Davey, at p 54.
             101 Fourth, it follows from the fact of the companys separate identity
                                                                                             H
          that its property belongs benecially to the company itself and in no sense
          belongs, either at law or in equity, to its shareholders, who have no interest
          of any nature, whether proprietary or otherwise, in its assets. If they are
          working members and are remunerated by the companies for their e›orts,
          the money so paid to them will cease to be the companys money and become


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.128
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 112 of 421 PageID 17
                                                                                        445
           [2013] 2 AC                                                     Prest v Prest (CA)
                                                                                    Rimer LJ

       A   theirs; likewise if a dividend is lawfully declared and paid to them; and
           likewise again if, upon liquidation, the surplus assets after paying the
           creditors are divided between them. Until, however, any of such events
           occurs, the money or property hitherto held by the company does not belong
           to the shareholders but to the company. If authoritative support is required
           for that, see Macaura v Northern Assurance Co Ltd [1925] AC 619, 626
           where Lord Buckmaster said: Now, no shareholder has any right to any
       B
           item of property owned by the company, for he has no legal or equitable
           interest therein. He might equally have said no shareholder is entitled
           to any item of property . . . And Lord Wrenbury said, at p 633: the
           corporator even if he holds all the shares is not the corporation, and . . .
           neither he nor any creditor of the company has any property legal or
           equitable in the assets of the corporation. (Emphasis supplied.) The latter
       C   quotation has a particular resonance for present purposes. That a
           shareholder of company A, which in turns wholly owns company B, owns
           none of the assets of either company was also recognised by the House of
           Lords in British American Tobacco Co Ltd v Inland Revenue Comrs [1943]
           AC 335: see p 339, per Viscount Simon LC. A companys benecial
           ownership of its assets was similarly recognised by both Lords Justices in
           Nicholas v Nicholas [1984] FLR 285 (the relevant dicta in that case, to
       D
           which I shall return, are as to when it may be appropriate to pierce a
           companys veil and to treat the assets as instead belonging to its controller)
           and was again recognised by the same two judges in Crittenden v Crittenden
           [1990] 2 FLR 361. For a recent recognition of the same principle, see In re
           Coroin Ltd; McKillen v Misland (Cyprus) Investments Ltd [2012] BCLC
           611, paras 50, 52 in a judgment of mine with which Tomlinson and
       E   Lloyd LJJ agreed.
               102 The judge noted in para 220 that a lay person might think that a
           husband was entitled to a house owned by a company that he owned.
           A lay person might so think but he would be wrong. If the same lay person
           carried on a business through a company of which he was the sole owner,
           and caused the company to incur liabilities that it could not meet, he would
           have no hesitation in asserting that the liabilities must be met exclusively by
       F
           the company (by recourse exclusively to its assets) and (provided his shares
           were fully paid) had nothing to do with him personally. That is what limited
           liability is about.
               103 Fifth, whilst in the second sentence of para 224 the judge appears
           rightly to have recognised that a shareholder has no interest in his companys
           assets, he went on to hold that this principle is trumped if the shareholders
       G   total control of the group empowers him to procure the transfer to himself of
           a particular item of property. The judge found that the husband held such
           power, which meant, as the judge further held, that such item therefore
           belonged to him not to the company. It was not even necessary for the
           husband rst to procure the exercise of the power: its mere existence meant
           that the property belonged benecially not to the company, but to the
           husband.
       H
               104 With respect to the judge, his power equals property reasoning is
           wrong. It is heretical to suggest that the total control that a single individual
           is (and will always be) entitled to exercise over the a›airs of his one-man
           company is a feature resulting in the companys assets becoming assets to
           which he is entitled and, therefore, to which the company is not entitled.

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.129
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 113 of 421 PageID 17
          446
          Prest v Prest (CA)                                                   [2013] 2 AC
          Rimer LJ

          Entitlement within the meaning of section 24(1)(a) can, as I have said,        A
          only mean benecially entitled (the paragraph cannot, for example, extend
          to property vested in a spouse on trust for a third party). The logic of the
          judges reasoning appears, therefore, to be that a one-man company can
          never own assets benecially but can only ever hold its assets as the nominee
          of its sole controller. That is what Lord Wrenbury said is not the law.
              105 The aw in the power equals property approach is that it ignores
                                                                                             B
          the fundamental principle that the only entity with the power to deal with
          assets held by it is the company. Those who control its a›airseven if the
          control is in a single individualact merely as the companys agents. Their
          agency will include the authority to procure an exercise by the company of
          its dispositive powers in respect of its property, but those powers are still
          exclusively the companys own: they are not the agents powers. When and
          if the agents act as such, and procure a corporate disposition, the property       C
          which immediately before the disposition belonged to the company will
          become the property of the disponee. Until then, it remains the property of
          the company and belongs benecially to no one else. The judges point that
          the agent is automatically the owner of all the companys assets by the mere
          fact of his authority to procure the company to dispose of them to himself is
          astonishing and does not begin to pass muster. And why should it? The
                                                                                             D
          proposition was simply the fruit of a judicial attempt to shoehorn into
          section 24(1)(a) assets which manifestly do not t there. The judges nding
          that the husbands mastery of the companies meant that they and their assets
          were his, and that they were the equivalent of mere nominees or agents for
          him (see, for example, his para 225) could have been lifted directly from the
          argument of counsel for the respondents that was rejected in Salomon v
          A Salomon & Co Ltd [1897] AC 22, 28, 29.                                           E
              106 That is probably all that needs to be said about the judges power
          equals property theory. I shall, however, add a little more. A further
          reason why the theory does not work is that the judge overlooked that even
          the one-man in such a company does not have unlimited power to procure
          the company to deal as he would wish with the companys assets. He may in
          practice be able to do so, by procuring the payment of its money and the
                                                                                             F
          execution of corporate dispositions right, left and centre, all perhaps for
          nothing in return. But he will not be able to do so lawfully. Even he will be
          constrained by the capital maintenance provisions which limit such
          wholesale disposals. He cannot, for example, lawfully procure the making
          of distributions by the company save out of its distributable prots and, if he
          does, the distribution will be unlawful and void. I discussed such problems
          in Inn Spirit Ltd v Burns [2002] 2 BCLC 780, which concerned a one-man             G
          corporate group, in which the one-man purported to pay himself a dividend.
          The one-man is not in a position lawfully to distribute to himself the entirety
          of his companys assets at any time. To revert to the judges para 225, there
          is a legal impediment to wholesale transfers by a company in favour of its
          one-man controller. Only when the one-man lawfully procures the exercise
          of the corporate power of disposition in his own favour is it possible to
                                                                                             H
          identify which property has ceased to belong to the company and has
          become his.
              107 Further, the judge ignored that the companies he was dealing with
          (at any rate PRL and Vermont) were trading companies. They became the
          wealthy entities they did through commercial dealings with third parties,


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.130
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 114 of 421 PageID 17
                                                                                        447
           [2013] 2 AC                                                   Prest v Prest (CA)
                                                                                  Rimer LJ

       A   and were apparently nanced by third party banks who took security for
           their loans over the group assets. In the course of creating their corporate
           wealth, the companies will have incurred liabilities to such third parties as
           creditors. Taking PRL as an example, if the judges theory that power
           equals property is right, and all PRLs apparent assets in fact belonged
           benecially to the husband, it would follow that during its trading
           operations PRL would logically have been meeting its liabilities with the
       B
           husbands money; and, if it ceased to do so and was put into creditors
           liquidation by a dissatised creditor, the husband would be entitled to assert
           that none of its apparent remaining assets belonged to it, that they all
           belonged to him and that there was therefore nothing available for the
           creditors in the liquidation. Such a potential outcome is another absurd
           consequence of the judges approach. If the judge was right, third parties
       C   would be unlikely ever to be willing to trade with one-man companies, since
           such companies could never be more than mere nominees for the individual
           who controls them, whoever that might be. The third parties would,
           however, also face the problem that they would often not know whether any
           particular company was or was not a one-man company, since they might
           not know whether its control was enjoyed by a single individual.
              108 How does the judges approach square with these considerations?
       D   With whom did the judge consider the companies trading counterparties
           were dealing? The companies? The husband? We were told at the hearing
           of the appeals that separate judgment creditors petitions had been presented
           in the Isle of Man against PRL by Mr Le Breton and Munin Navigation Co
           Ltd: see Munin Navigation Co Ltd v Petrodel Resources Ltd [2012] EWCA
           Civ 136 for an account of Munins claim. As matters stand, the judge has
       E   made a nding of fact, binding on PRL, to the e›ect that none of the assets
           apparently held by PRL belongs to it benecially. To what assets did he
           consider its creditors would be entitled to look for repayment of their debts?
              109 For these reasons, I conclude that the judge was wrong to hold that
           the properties the subject of the para 5 orders belonged benecially other
           than to PRL and Vermont respectively. He should have held that the
           husband had no benecial interest in them and that they were therefore not
       F   property to which [he was] entitled for the purposes of section 24(1)(a).
              110 I turn to the family proceedings authorities. Some support for the
           judges decision might be said to be found in certain of them, although the
           judge did not deploy such support in the way he might have done. In my
           judgment, however, properly analysed, they provide no legitimate support.
           Certain of them contain dicta that I would regard as incorrect and which
       G   should not in future be followed or applied.

           The family authorities
              111 Perhaps the best support for the judges decision (but not his
           reasoning) is in certain dicta in the judgments of this court in Nicholas v
           Nicholas [1984] FLR 285 (Cumming-Bruce and Dillon LJJ). The husband
           was the 71% shareholder in two companies, with the other 29% held by his
       H
           business associates. The wife sought a property adjustment order. One of
           the companies owned a property, Elmwood, which had been used in part as
           the matrimonial home and in part for commercial purposes. The judge
           ordered the husband to undertake to procure the sale by the company of
           Elmwood to the wife for approximately £105,000 and to pay £105,000 to

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.131
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 115 of 421 PageID 17
          448
          Prest v Prest (CA)                                                   [2013] 2 AC
          Rimer LJ

          the wife to enable her to buy it. The husband declined to give the                 A
          undertaking and appealed against the order.
             112 In contrast to the orders made by the judge in this case, the
          Nicholas v Nicholas order did not, therefore, seek simply to divert a
          companys property to the wife for a nil return and so purport to conscate
          its assets for her benet. The judge instead fashioned an order whose
          substance was that the husband was to buy Elmwood from the company at
                                                                                             B
          full value for her benet. The husbands point on his appeal was that the
          judge had no jurisdiction to make such an order. In giving the rst
          judgment, Cumming-Bruce LJ accepted that there was no jurisdiction to
          order the husband to give the undertaking but said that deciency in the
          order could be overcome by simply ordering the husband to use his
          controlling vote in the company to achieve the sale. I do not understand on
          what basis it was thought that the court could have so ordered (and it turned      C
          out that there was none) but Cumming-Bruce LJ also explained how there
          was anyway a further problem. He referred to section 24, the property
          adjustment order section, and cited section 24(1)(a). He continued, so far as
          material, at pp 287—288:
                On the facts of the instant case, the property known as Elmwood . . .
             is vested in the company which owns it, and a question arises whether,          D
             having regard to the shareholdings in the two relevant companies . . . it is
             proper for the court to pierce the corporate veil with the e›ect that though
             the company is the legal owner of the realty the court would disregarded
             [sic] the corporate ownership and make an order which, in e›ect, is an
             order against the husband, the individual shareholder. Of course it is
             quite clear, and there is abundant authority, that where the shareholding       E
             is such that the minority interests can for practical purposes be
             disregarded, the court does and will pierce the corporate veil and make an
             order which has the same e›ect as an order that would be made if the
             property was vested in the majority shareholder. But in the instant case it
             is not possible to take the view that the minority interests in either
             company can be thus disregarded. The shareholdings . . . are of such a
             character that the minority interests are real interests and it would not be    F
             an appropriate case in which the court should exercise its power to pierce
             the corporate veil. That being so, as . . . Elmwood is vested in the
             company and the companys ownership has to be respected, is it an
             appropriate use of the power to order a lump sum under section 23 to add
             to the order for a lump sum an obligation imposed upon the husband to
             procure the transfer by the company of the companys property to the            G
             wife by way of sale, the purchase money being the sum ordered by way of
             lump sum?
                I am satised that, although I perfectly understand the reasons that
             led the judge to take the view that such an order, made as he thought by
             way of undertaking, should be made, having regard to the terms of
             section 24 when read with the terms of section 23(1)(c) [which empowers
                                                                                             H
             the court to order the payment of a lump sum], it is not open to the court
             to supplement the express powers specied in section 23(1)(c) and
             section 24(1) in such a way as to exercise an inherent power, the e›ect of
             which will be to force a third party, to wit the company, to sell property
             vested in the company by way of sale to the petitioner. The di–culty,

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.132
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 116 of 421 PageID 17
                                                                                        449
           [2013] 2 AC                                                    Prest v Prest (CA)
                                                                                   Rimer LJ

       A     I feel, is that Parliament has in section 24(1)(a) specically limited the
             property that shall be the subject of a property adjustment order and has
             limited it to property which is property to which the rst-mentioned party
             is entitled in possession or reversion. Clearly, no order could be made in
             respect of Elmwood, the companys property, pursuant to section 24.
             Section 23 is in terms drafted in such a way as to limit it simply to the
       B
             obligation to pay a lump sum. I am unable to hold that I can collect from
             section 23, when read with section 24, any power to order, as ancillary to
             an order for a lump sum, an order imposing an obligation upon a
             respondent to procure that a third party in whom the property is
             benecially vested to divest itself of that property by way of sale to a
             petitioning wife, whether the machinery be by exercise of the majority
             shareholders voting power or otherwise.
       C         For those reasons, though with reluctance, I take the view that there
             was no power to make the order that the judge made in respect of the
             transfer of Elmwood, whether by way of undertaking which, as I have
             already explained, was not an appropriate form of order, or by way of a
             direct order ordering the respondent to use his controlling vote in [the
             relevant company] to cause the sale of the companys property to the
       D     petitioner. For those reasons I would hold that that very important
             feature of the judges order should be varied.
             113 Cumming-Bruce LJ then engaged in a discussion as to whether the
           court should vary the lump sum order of £105,000, none of which is
           material. Dillon LJ said, at pp 292—293, that he entirely agreed and, so far as
           material, continued:
       E        the case as presented in this court is presented on a signicantly
             di›erent basis from the case as understood by the judge. He plainly
             understood, as did counsel for the wife, that the husband was prepared to
             undertake, if the judge took the view that Elmwood should be transferred
             to the wife, that the husband would use his controlling interest in [the
             relevant company], to achieve such a transfer against payment by the wife
       F     of the sum which the husband would provide by way of lump sum
             payment. On that understanding it is not surprising that he made the
             order he did. But it is now clear that there was no authority in counsel to
             o›er any undertaking to the court and no undertaking has been given.
             Therefore, it is a question whether the court has power to order the
             husband to transfer the property to the wife against the payment of
             £105,000, the property being vested in the company and not in the
       G     husband himself. If the company was a one-man company and the alter
             ego of the husband, I would have no di–culty in holding that there was
             power to order a transfer of the property, but that is not this case. The
             evidence shows that the husband only has a 71% interest in the company.
             The remaining 29% is held by individuals who . . . are not nominees but
             business associates of the husband . . . I nd it quite impossible, therefore,
       H     to ignore the corporate entity of [the company]. Therefore the order the
             judge made cannot stand.
              114 Both judgments in Nicholas v Nicholas [1984] FLR 285 correctly
           recognised the existence of the separate legal personalities of the company
           that owned Elmwood and the husband and, therefore, that Elmwood was

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.133
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 117 of 421 PageID 17
          450
          Prest v Prest (CA)                                                   [2013] 2 AC
          Rimer LJ

          not the latters property which could be the subject of an order under             A
          section 24(1)(a). For reasons that Cumming-Bruce LJ explained, with which
          Dillon LJ agreed, there was no jurisdiction in the court to make either the
          order the judge had made or a modied order to like e›ect requiring the
          husband to procure the sale of Elmwood to the wife. The present
          importance of the case lies, however, in the indication by both judges that:
          (i) (per Cumming-Bruce LJ, at p 287) in a case in which the husband is the
                                                                                             B
          majority shareholder in the company holding the relevant asset, and
                the minority interests in the company can for practical purposes be
             disregarded, the court does and will pierce the corporate veil and make an
             order which has the same e›ect as an order that would be made if the
             property was vested in the majority shareholder;
          and (ii) (per Dillon LJ, at p 292):                                                C

               If the company was a one-man company and the alter ego of the
             husband, I would have no di–culty in holding that there was power to
             order a transfer of the property, but that is not this case.
          Cumming-Bruce LJ asserted that there was abundant authority for his
          proposition. He did not, however, refer to any, the report recorded none as
                                                                                             D
          cited and during the overnight adjournment of the hearing of this appeal
          counsel identied no reported authority to which they considered he might
          have been referring.
             115 The judge took the view (at para 219) that the observations by
          Cumming-Bruce and Dillon LJJ to which I have just referred were obiter and
          I agree with him. In Hope v Krejci [2012] EWHC 1780 (Fam) at [27],
          Mostyn J said he was not so sure, expressing the view that the reasoning         E
          went to the very core of the decision not to pierce the corporate veil.
          I recognise that the opening words of my quotation from Cumming-
          Bruce LJs judgment (a question arises . . .) might suggest that there was
          an issue in the appeal as to whether or not the veil could be pierced. I do not,
          however, understand that there was. The order under appeal was not a veil
          piercing order: it was not premised on any basis other than that Elmwood
                                                                                             F
          was an asset benecially owned by the company. The order was directed at
          achieving its sale to the wife for full value and the issue on the appeal was
          whether there was jurisdiction to make such an order. There is no
          suggestion that it became part of the wifes case in the Court of Appeal by a
          cross-appeal that the court could achieve a like result as that intended by the
          judges order by piercing the corporate veil and making a direct transfer
          order, and such a case would, on the facts, have been hopeless. The courts        G
          decision was simply that there was no jurisdiction to make the type of order
          the judge had made and it had nothing to do with the circumstances in which
          the court can pierce the veil. In my view, the observations (per Cumming-
          Bruce LJ) as to veil piercing or (per Dillon LJ) as to the company being the
          husbands alter ego were obiter.
             116 I interpret those observations as simply indicating the Lords
                                                                                             H
          Justices views that, in a case in which the husband is, either actually or in
          substance, the 100% owner of a company that owns an asset that might
          usefully be applied in or towards satisfaction of a wifes ancillary relief
          claim, it will or may be open to the court to pierce the companys corporate
          veil and then treat that asset as property of the husband so as to enable it to

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.134
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 118 of 421 PageID 17
                                                                                        451
           [2013] 2 AC                                                     Prest v Prest (CA)
                                                                                    Rimer LJ

       A   be the subject of a section 24(1)(a) order. Mr Todd, for the wife, disagreed
           with that analysis and submitted that it was not what the Lords Justices were
           saying. Despite Cumming-Bruce LJs express reference to veil piercing
           (which Mr Todd invited us to disregard), he said that both Lords Justices
           respective observations were directed simply at applying a broad
           interpretation to the relevant language of section 24(1)(a), and that
       B
           submission perhaps reected the judges own understanding of them. They
           were, Mr Todd said, saying that property owned by a company of which the
           husband is, actually or in substance, the 100% owner is property to which
           the husband is entitled within the meaning of section 24(1)(a), whereas
           property owned by a company in which the husband has less than a 100%
           interest, and in which other shareholders have material shareholdings of
           their own, is not property to which the husband is so entitled.
       C      117 I respectfully reject that submission. There is no support for it in
           either judgment in Nicholas v Nicholas [1984] FLR 285, nor does it bear any
           sort of reasoned analysis. In essence, it amounts to an attribution to the
           Lords Justices in the Nicholas case of an adoption of Moylan Js approach
           that the 100% controller of a company is benecially entitled to property
           held by it, whereas a company whose control is split between two or more
       D   shareholders with independent interests will itself be the benecial owner of
           such property. The suggestion that the benecial entitlement to property
           held by a company will vary according to the number of controllers of its
           shares is absurd and neither Lord Justice in the Nicholas case was saying
           anything of the sort. All that they were sayingand Cumming-Bruce LJ
           used the very phrasewas that in a case in which a company is wholly
           owned by a husband, it will or may be open to the court to pierce the
       E   corporate veil; and, having done so, by inference then to treat the property
           held by the company as belonging to him so as to enable it to be subjected to
           a section 24(1)(a) order. I say by inference, because neither judge so spelt
           it out. But the inference must be right because the whole point of veil
           piercing is to identify the company with its controller. That is manifestly
           what Cumming-Bruce LJ was saying; and, although Dillon LJ did not also
       F   expressly refer to veil piercing, he did refer to the company as an alter ego
           of the husband, another traditional way of referring to the same concept.
              118 I therefore reject Mr Todds submission as to the sense of the dicta
           in Nicholas v Nicholas. Section 24(1)(a) cannot bite on a companys
           property, it can only bite on the husbands, and both Lords Justices
           recognised that. The critical question raised by the Nicholas case is,
           however, whether they were right in their respective dicta as to how recourse
       G   to veil piercing might enable the circumnavigation of that obstacle in the
           path of a wife whose ancillary relief sights are set on an asset held by a
           company. That is a central question raised by these appeals and I shall
           shortly return to it.
              119 We were also referred to Crittenden v Crittenden [1990] 2 FLR
           361, also a decision of this court (by coincidence, also of Dillon LJ and Sir
       H   Roualeyn Cumming-Bruce). It is necessary only to cite from Dillon LJs
           judgment, with which Sir Roualeyn Cumming-Bruce agreed. Dillon LJ said,
           at p 364:
                 The sections relied on by Mr Turner for the imposition of such a
              restriction are sections 24A and 37 of the Matrimonial Causes Act 1973.

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.135
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 119 of 421 PageID 17
          452
          Prest v Prest (CA)                                                    [2013] 2 AC
          Rimer LJ

             Section 24A is concerned with the position where the court is considering         A
             ordering a sale of property. Subsection (1) provides: Where the court
             makes under section 23 or 24 of this Act a secured periodical payments
             order, an order for the payment of a lump sum or a property adjustment
             order, then, on making that order or at any time thereafter, the court may
             make a further order for the sale of such property as may be specied in
             the order, being property in which or in the proceeds of sale of which            B
             either or both of the parties to the marriage has or have a benecial
             interest, either in possession or reversion. That wording can relate to the
             shares in the company, Somerton Marine Ltd, which are owned in their
             own right by Mr or Mrs Crittenden, but it cannot relate to the assets of
             Somerton Marine Ltd.
             120 The point that Dillon LJ was making was that whilst the shares in             C
          the company owned respectively by Mr and Mrs Crittenden were property
          in which they had a benecial interest, they had no such interest in the assets
          of the company and therefore no sale order in respect of such assets could be
          made. Dillon LJ was simply recognising the trite principle that a companys
          assets belong benecially to the company and not to its shareholders. It was
          suggested to us in argument that Dillon LJ was there departing from his
          obiter remarks in the Nicholas case and that, in agreeing with him, Sir              D
          Roualeyn Cumming-Bruce was departing from his own obiter remarks in the
          Nicholas case. I disagree. In the Nicholas case, Sir Roualeyn Cumming-
          Bruce made clear that the core principle is that a section 24(1)(a) order
          cannot be made in respect of a companys property and Dillon LJ agreed.
          Both Lords Justices, albeit expressing themselves di›erently, also uttered the
          dicta to the e›ect that, in a one-man company case, recourse to veil               E
          piercing may enable a departure from the core principle that ordinarily
          applies. The court in the Crittenden case was not implicitly asserting that
          there was no scope for any veil piercing exception to the core principle.
          All it was doing was to refer to that principle without also referring to any
          exception to it. We are still left with the question of the correctness of the
          dicta in Nicholas v Nicholas [1984] FLR 285. I turn to that question.
             121 The di–culty that the dicta pose is this. Salomons case [1897] AC            F
          22 shows that a duly incorporated company (including a one-man
          company) is a legal entity separate from its members, with rights and
          liabilities of its own. Its assets belong benecially to it, and it alone, and its
          members have no interest in them. This follows from the formal distinction
          between a company and its members, a distinction that applies equally to a
          one-man company and its controller. The rst problem with the Nicholas               G
          dicta is that the court was saying that, in the case of a one-man company, its
          corporate identity can be ignored and its assets treated as belonging not to it
          but to the one man. That was apparently a heretical departure from the
          Salomon principle. On what basis could the Nicholas case endorse it?
             122 As to that, it has also long been recognised that there may be
          circumstances in which it will be legitimate for the court to pierce the
                                                                                               H
          corporate veil of a company, as it has come to be called, thereby identify the
          company with those in control of it and, in its discretion, then to depart from
          the separate identity principle established in Salomons case. In such a case,
          the court may then be prepared to grant remedies against the company
          which, apart from any such veil piercing, might otherwise appear to be

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.136
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 120 of 421 PageID 17
                                                                                        453
           [2013] 2 AC                                                   Prest v Prest (CA)
                                                                                  Rimer LJ

       A   available only against those controlling it; or to grant remedies against the
           controllers which might otherwise appear to be available only against the
           company.
              123 In my preceding sentence, I was substantially quoting from para 47
           of the judgment of the court delivered by Lloyd LJ in the Court of Appeals
           decision earlier this year in VTB Capital plc v Nutritek International Corpn
           [2012] 2 Lloyds Rep 313 (the court also comprising Aikens LJ and myself ).
       B
           That case concerned a commercial dispute that raised several issues, one of
           which related to the courts jurisdiction to pierce the corporate veil and the
           e›ect and consequences of doing so. The issues were far removed from those
           of the present case but the importance of the judgment in the VTB case is
           that it recognised and a–rmed the strict limitations identied in prior
           authority as to the only factual circumstances in which it will be open to the
       C   court to pierce the veil. Thus it noted, at para 48, the unanimous (albeit
           obiter) view of the House of Lords in Woolfson v Strathclyde Regional
           Council 1978 SC (HL) 90, 96, that it is appropriate to pierce the corporate
           veil only where special circumstances exist indicating that it is a mere faade
           concealing the true facts (emphasis supplied). That limitation was
           expressly recognised by the judgment of this court in Adams v Cape
           Industries plc [1990] Ch 433, 539D—E, and the court had there also earlier
       D
           said, at p 536G:
                save in cases which turn on the wording of particular statutes or
             contracts, the court is not free to disregard the principle of Salomon v
             A Salomon & Co Ltd [1897] AC 22 merely because it considers that
             justice so requires.
       E      124 A decision not referred to in the VTB case, but to which we were
           and which it is convenient to notice, is that of this court in Ord v Belhaven
           Pubs Ltd [1998] 2 BCLC 447. That was a commercial case in which the
           issue was whether, in a case in which the defendant company was perceived
           as having insu–cient assets to meet the claim, it was open to the court to
           substitute as defendants its parent company and another subsidiary which
           had taken over its trading operations. The judge had held that it was, relying
       F
           in part on the view that it was open to her to lift the defendants corporate
           veil and so enable the claim to be directed against the proposed new
           defendants. Hobhouse LJ, in a judgment with which Brooke LJ and Sir John
           Balcombe agreed, held that the judge was wrong. He said, at p 457, that she
           had approached the case on the basis that it was open to her to regard the
           companies as one economic unit and to disregard the distinction between
       G   them and then to say:
                since the company cannot pay, the shareholders who are the people
             nancially interested should be made to pay instead. That of course is
             radically at odds with the whole concept of corporate personality and
             limited liability and the decision of the House of Lords in Salomon v
             A Salomon & Co Ltd [1897] AC 22.
       H
           Hobhouse LJ then referred to Woolfsons case in the House of Lords and
           quoted, as I have, from Lord Keith (in [1998] 2 BCLC 447, the quotation is
           erroneously included as part of Hobhouse LJs own words); and he referred
           to the Court of Appeals decision in the Adams case as showing that there
           must be some impropriety before the corporate veil can be pierced. He held


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.137
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 121 of 421 PageID 17
          454
          Prest v Prest (CA)                                                    [2013] 2 AC
          Rimer LJ

          that as the plainti›s could not show the establishment of a faade concealing        A
          the true facts, or any other relevant impropriety, they could not satisfy the
          conditions for piercing the veil and the judge had been wrong to pierce it.
          That reasoning was, I consider, part of the ratio of the courts decision as to
          why the judge had been wrong to make the decision she did. Sir John
          Balcombe, with his experience of both commercial and family law, did not
          qualify his agreement with Hobhouse LJ by indicating that di›erent                   B
          principles applied in family cases.
             125 Having digressed to Ords case, I return to the cases referred to in
          the VTB case as identifying the limitations upon the exercise of the veil
          piercing jurisdiction. Trustor AB v Smallbone (No 2) [2001] 1 WLR 1177
          was a case in which, after referring to (amongst other cases) the Woolfson
          and Adams cases, Sir Andrew Morritt V-C said, at para 23, that
                                                                                               C
                the court is entitled to pierce the corporate veil and recognise the
             receipt of the company as that of the individual(s) in control of it if the
             company was used as a device or faade to conceal the true facts thereby
             avoiding or concealing any liability of those individual(s)).
          I shall now set out the material parts of what the court in the VTB case
          [2012] 2 Lloyds Rep 313, paras 78—80 said about the next key authority, a           D
          decision in family proceedings:
                 78. Ben Hashem v Shayif [2009] 1 FLR 115 is a judgment of Munby J
             that includes between paras 144 and 221 a comprehensive discussion of
             the principles by reference to which the court may pierce the veil of
             incorporation. Between paras 159 and 164 Munby J restated the
             principles, which he summarised as follows. First, ownership and control          E
             of a company are not themselves su–cient to justify piercing the veil.
             Second, the court cannot pierce the veil, even when no unconnected third
             party is involved, merely because it is perceived that to do so is necessary
             in the interests of justice. Third, the corporate veil can only be pierced
             when there is some impropriety. Fourth, the companys involvement in
             an impropriety will not by itself justify a piercing of its veil: the
             impropriety must be linked to use of the company structure to avoid or           F
             conceal liability (a principle derived from Trustor). Fifth, it follows that
             if the court is to pierce the veil, it is necessary to show both control of the
             company by the wrongdoer and impropriety in the sense of a misuse of
             the company as a device or faade to conceal wrongdoing. Sixth, a
             company can be a faade for such purposes even though not incorporated
             with deceptive intent: 164 . . . The question is whether it is being used as     G
             a faade at the time of the relevant transaction(s). And the court will
             pierce the veil only so far as is necessary to provide a remedy for the
             particular wrong which those controlling the company have done. In
             other words, the fact that the court pierces the veil for one purpose does
             not mean that it will necessarily be pierced for all purposes.
                 79. Mr Snowden accepted that summary as a correct statement of the
                                                                                               H
             principles save that he questioned the correctness of the nal principle, as
             to a requirement of necessity, as he also questioned the correctness of
             Warren Js like point in [Dadourian Group International Inc v Simms
             [2009] 1 Lloyds Rep 601]. He said that it does not follow that a piercing
             of the veil will be available only if there is no other remedy available

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.138
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 122 of 421 PageID 17
                                                                                        455
           [2013] 2 AC                                                     Prest v Prest (CA)
                                                                                    Rimer LJ

       A      against the wrongdoers for the wrong they have committed. In principle,
              we agree with Mr Snowdens suggested qualication . . . With that
              qualication, we would, however, respectfully agree with Munby Js
              summary of the principles.
                 80. Mr Snowden also submitted, in expansion of Munby Js fourth
              principle (and reliance on what Munby J said at para 199) that it is not
       B      su–cient for veil piercing purposes merely to show that the company is
              involved in wrongdoing, for example that it is carrying out a fraud: there
              will be no question in such a case of the company being used as a faade.
              The relevant wrongdoing must be in the nature of an independent wrong
              that involves the fraudulent or dishonest misuse of the corporate
              personality of the company for the purpose of concealing the true facts.
              In principle, we agree with that too.
       C
              126 The VTB case thus provided this courts a–rmation, drawing on
           earlier judgments of the House of Lords, the Court of Appeal (to which it
           could usefully have included a reference to Ords case), the Chancery
           Division and the Family Division, of the strict limits as to the exercise of the
           courts jurisdiction to pierce a companys corporate veil so as to enable it to
           disregard the separate corporate identity of a company and, instead, to
       D
           identify it with its controllers. The decision showed that what is required is
           nothing less than proof of impropriety directed at the misuse of the
           corporate structure for the purpose of concealing wrongdoing. The judge in
           the present case did not have the advantage of the decision in the VTB case
           (either at rst instance, per Arnold J [2011] EWHC 3107 (Ch), or in the
           Court of Appeal [2012] 2 Lloyds Rep 313). He did, however, have the
       E   benet of Munby Js decision in Ben Hashem v Al Shayif [2009] 1 FLR 115,
           which was in all material respects approved by this court in the VTB case,
           and, in para 217, he referred, as I have said, to the submissions made to him
           that he could not make orders against the shares or properties unless I nd
           the requisite impropriety as set out in Ben Hashems case [2009] 1 FLR
           115. He therefore directed himself correctly as to the conditions that must
       F   be satised before the court could pierce the veil of the Petrodel group
           companies and he rejected the submission that there had been any relevant
           impropriety. He found, therefore, that there was, for example, no question
           of the relevant properties having originally been benecially owned by the
           husband and put into corporate names for the improper purpose of defeating
           the wifes claims in her nancial provision application. He found, by the
       G
           application of criteria since a–rmed in this court, that there was no factual
           basis upon which it was open to the court to pierce the corporate veil of any
           of the Petrodel companies.
              127 With that discussion of the criteria for a judicial piercing of a
           corporate veil, I return to the dicta in Nicholas v Nicholas [1984] FLR 285.
           Both Lords Justices indicated their views that, if the respondent to an
           application for a property adjustment order is a husband with sole control of
       H   a one-man company, there is no di–culty in treating the companys assets as
           his property for the purpose of meeting any such application. They were
           apparently saying that the total control of a company in the husband is by
           itself enough to entitle the court to pierce its veil and treat its assets as the
           husbands.

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.139
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 123 of 421 PageID 17
          456
          Prest v Prest (CA)                                                   [2013] 2 AC
          Rimer LJ

             128 The legal basis for those assertions is unclear. There was an                A
          assumption in the argument before us that the abundant authority to
          which Cumming-Bruce LJ was referring was unreported authority in the
          Family Division, although he did not say so and unreported authority is
          anyway hardly authority. It is also improbable that Dillon LJ would have
          been so basing his own dicta: he had, by September 1983, been a Lord
          Justice for a year and before that his experience was made up of 31 years as a      B
          practitioner at the Chancery Bar and three years as a judge of the Chancery
          Division.
             129 Whilst neither side suggested it to us, I regard it as probable that
          Cumming-Bruce LJ, and also Dillon LJ, were basing themselves on (inter
          alia) dicta falling from Lord Denning MR in Wallersteiner v Moir [1974]
          1 WLR 991. Cumming-Bruce LJ was later to refer to them in In re
          A Company [1985] BCLC 333, when delivering the judgment of this court               C
          (himself and Hollings J). He said, at pp 337—338:
                In our view the cases before and after Wallersteiner v Moir [1974]
             1 WLR 991 show that the court will use its powers to pierce the corporate
             veil if it is necessary to achieve justice irrespective of the legal e–cacy of
             the corporate structure under consideration. As Lord Denning MR said
                                                                                              D
             [at p 1013], the companies identied were distinct legal entities and the
             principles of Salomon v A Salomon & Co Ltd [1897] AC 22 prima facie
             applied. But only prima facie. On the facts of the Wallersteiner case, the
             companies danced to Dr Wallersteiners bidding. Buckley LJ disagreed on
             the facts about the position of IFT, but Scarman LJ held that the evidence
             disclosed liability in Wallersteiner on the ground that he instigated the
             loan of £50,000.                                                               E

             130 The di–culty with that, however, is that Lord Denning MRs dicta
          in relation to veil piercing (as similarly also advanced by him in Littlewoods
          Mail Order Stores Ltd v McGregor [1969] 1 WLR 1241, 1254) were the
          subject of consideration by this court in the later decision Adams v Cape
          Industries plc [1990] Ch 433, 543, where the court said that
                                                                                              F
                in Wallersteiner v Moir [1974] 1 WLR 991 Buckley LJ, at p 1027, and
             Scarman LJ, at p 1032, expressly declined to tear away the corporate veil.
             In the Littlewoods case [1969] 1 WLR 1241, 1255, Sachs LJ expressly
             disassociated himself from the suggestion that the subsidiary was not a
             separate legal entity and Karminiski LJ refrained from associating himself
             with it. We therefore think that the plainti›s can derive little support
             from those dicta of Lord Denning MR.                                           G

             131 In re A Company [1985] BCLC 333 was not apparently referred to
          in the Adams case, but following the Woolfson, Adams and VTB cases, it is,
          I consider, clear, as Mr Amos submitted, that the opening sentence of the
          quoted statement in In re A Company cannot be regarded as the law. Nor
          does the mere fact that a company dances to its sole controllers bidding
          entitle the court, without more, to equate the company with that controller         H
          (Moylan J also referred, at para 221, to Lord Denning MRs dicta in
          Wallersteiner v Moir as if it provided a key to the case). Mr Todd advanced
          no argument in support of the approach adopted by the court in In re
          A Company and the tide of authority is now solidly against it.

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.140
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 124 of 421 PageID 17
                                                                                        457
           [2013] 2 AC                                                    Prest v Prest (CA)
                                                                                   Rimer LJ

       A       132 In my judgment, the dicta in Nicholas v Nicholas [1984] FLR 285
           cannot stand with: (i) the prior House of Lords guidance in the Woolfson
           case 1978 SC (HL) 90 as to the only circumstance in which a judicial
           piercing of the corporate veil is appropriate, or (ii) with the subsequent
           adoption of that approach by the Court of Appeal in the Adams case [1990]
           Ch 433 and the Ord case [1998] 2 BCLC 447, or (iii) with the rst three
           principles identied by Munby J in Ben Hashems case [2009] 1 FLR 115,
       B
           and accepted as correct by this court in the VTB case [2012] 2 Lloyds Rep
           313, as to the preconditions of a veil-piercing exercise. Whilst Nicholas v
           Nicholas was not cited in the Adams or VTB cases, there is no basis on
           which its dicta can be defended as establishing a separate, freestanding,
           legitimate principle of English law. They involve a head-on disregard of
           Salomon v A Salomon & Co Ltd [1897] AC 22. They were not advanced on
       C   the basis that they were directed at a special type of case justifying special
           treatment. In any particular case, an inability on the part of the court to
           make a property adjustment order in relation to property held by the
           husbands company rather than by the husband himself may be perceived as
           producing the potential for injustice; but the Adams case made clear that, by
           itself, such a consideration is no basis for assuming a jurisdiction to pierce
       D   the corporate veil: the court cannot disregard the Salomon case merely
           because it considers that justice so requires. The husband and his company
           are separate legal persons and each owns his and its separate assets. Those
           di›erences must be respected and cannot be ignored merely because it is
           perceived as convenient to do so. A condition of the accepted basis for a
           piercing of the corporate veil is that the controller of the company has
           misused the fact of its separate corporate identify for the purpose of hiding
       E   facts or concealing wrongdoing. The rationale is that a wrongdoer cannot
           benet from his dishonest misuse of a corporate structure for improper
           purposes. There was no suggestion in Nicholas v Nicholas [1984] FLR 285
           that any such condition must be met before the veil could be pierced. The
           dicta were, in my judgment, wrong and should not be followed.
               133 In fact, they have been followed. In Green v Green [1993] 1 FLR
       F   326, Connell J considered (I do not understand why) that there was a conict
           between the dicta in the Nicholas case and the decision in Crittendens case
           but regarded the former as providing the key to his case and decided it on the
           basis that the husband was to be equated with the company of which he was
           the 100% owner so that an order for sale could be made of its land. Connell
           Js reasoning does not further the discussion. He just took the Nicholas dicta
           at face value and applied them. He did, however, note, at p 340, that the
       G   dicta reected a practice that his own experience told him had been followed
           for some time (without, though, referring to any reported authority
           reecting it).
               134 In Wicks v Wicks [1999] Fam 65, this court overruled Green v
           Green on the basis that the court had no jurisdiction to make the order it did.
           The ratio of the decision did not, however, turn on Connell Js decision that,
       H   following the Nicholas case (to which the court did not refer), he could
           pierce the corporate veil; and only Peter Gibson LJ referred to that. He
           said, at p 89:
                I nd it di–cult to see how the application for ancillary relief in Green
             v Green [1993] 1 FLR 326 could have been said to relate to land when the

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.141
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 125 of 421 PageID 17
          458
          Prest v Prest (CA)                                                   [2013] 2 AC
          Rimer LJ

             husband merely owned shares in the two companies which owned land.              A
             I can well understand Connell Js desire to nd a solution so that the
             petitioner and her child could be provided with a home, but I do not think
             that the court had power in that case to order a sale of the land.
             135 W v H (Family Division: Without Notice Orders) [2001] 1 All ER
          300 was a decision of Munby J. The wife obtained an ex parte injunction
          against B Co and X restraining the disposition of a property owned by B Co,        B
          the shares of which were said to have been held on trust for the wife,
          husband and children. X claimed to have bought the shares from the
          husband but the wife asserted that the sale had been a sham. The report is
          about the inter partes hearing at which X and B Co sought the setting aside
          of the injunction. Munby J held that it should be continued. The
          importance of the decision lies in his observations at pp 310—311:                 C
                 I ought to deal with a wider question canvassed by Mr Everall
             [counsel for the wife]. This relates to the approach to be adopted in the
             Family Division in cases where assets which a wife says belong in truth
             and reality to her husband are, or appear to be, vested in some other
             person, or in some corporate or trust entity.
                 Mr Everall, referring me to Nicholas v Nicholas [1984] FLR 285,           D
             Green v Green [1993] 1 FLR 326, Purba v Purba [2000] 1 FCR 652 and
             Khreino v Khreino (No 2) [2000] 1 FCR 80, submits that the court adopts
             a robust approach in such cases and does not allow itself to be, to use
             Thorpe LJs words in Khreinos case (at p 85), emasculated by over-
             rened or technical arguments based on strict principles of property law.
                 I readily accept that there is much force in Mr Everalls submission.
                                                                                             E
             Thus, as can be seen from Nicholass case (at pp 287, 292) and
             Greenscase (at pp 337, 340), where property is vested in a one-man
             company which is the alter ego of the husband, the Family Division will
             pierce the corporate veil, disregard the corporate ownership and, without
             requiring the company to be joined as a party, make an order which has
             the same e›ect as the order that would be made if the property was vested
             in the husband. Indeed, the court can and will adopt this approach even         F
             where there are minority interests involved if they are such that they can
             for practical purposes be disregarded.
                 Moreover, as Thorpe LJs forthright observations in Purbas case (at
             pp 654—655), and Khreinos case (at p 85), show, the court will not allow
             itself to be bamboozled by husbands who put their property in the names
             of close relations in circumstances where, taking a realistic and fair view,    G
             it is apparent that the recipient is a bare trustee and where the answer to
             the real questionWhose property is it?is that it remains the husbands
             property. Again, in such cases there is no need for the third party to be
             joined. As Purbas case shows, where a transfer has been made post-
             separation to a close relative in order to defeat a wifes claims, the court
             can and will act without going through the formality of joining the third
             party or making setting aside orders under section 37. And as Khreinos         H
             case shows, the court can and in appropriate cases will grant Mareva
             injunctions against both the husband and his o›shore company and the
             relative who holds the bearer shares in the company without requiring
             either the company or the relative to be joined as parties.

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.142
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 126 of 421 PageID 17
                                                                                         459
           [2013] 2 AC                                                     Prest v Prest (CA)
                                                                                    Rimer LJ

       A         Nothing that I say should be taken as intended to water down in any
              way the robustness with which the Family Division ought to deal in
              appropriate cases with husbands who seek to obfuscate or to hide or
              mask the reality behind shams, articial devices and similar contrivances.
              Nor do I doubt for a moment the propriety and utility of treating as one
              and the same a husband and some corporate or trust structure which it is
       B
              apparent is simply the alter ego or the creature of the husband. On the
              other hand, and as Nicholass case itself demonstrates, the court does
              notin my judgment cannot properlyadopt this robust approach
              where, for example, property is held by a company in which, although the
              husband has a majority shareholding, the minority shareholdings are
              what Cumming-Bruce LJ [1984] FLR 285, 287 called real interests held
              by individuals who, as Dillon LJ (at p 292) put it, are not nominees but
       C      business associates of the husband.
              136 I have no di–culty with much of that. If property held by a
           husband has been put into the name of someone who, on the evidence, is
           obviously a bare trustee for him, there will be no problem in holding that the
           benecial ownership has not changed. As explained in the rst sentence of
           the last quoted paragraph, the court will also not be bamboozled by the use
       D   by husbands to a like end of shams, articial devices and similar
           contrivances. The more di–cult part of the quotation is in its third
           paragraph and the remainder of the last paragraph, which reect unqualied
           acceptance of the proposition, drawn from the Nicholas case, of the courts
           jurisdictionin the absence of any relevant improprietyto equate a one-
           man company with the one-man and treat its assets as his. No reasoned
       E   justication for doing so was advanced, any more than in the Nicholas case.
           The only implicit justication is that family justice requires it. That, without
           more, is no justication. Why should family justice be regarded as di›erent
           from any other sort of justice? No one would suggest that an unsatised
           creditor of the owner of a one-man company could look to the assets of the
           company to meet his debt, even though he might be able to look to the
           owners shares in the company (as a wife can on her ancillary relief
       F   application). Since I consider that the dicta in the Nicholas case were wrong,
           I also consider, with respect, that Munby Js acceptance of them as correct
           was wrong. He was not, however, apparently referred to the authorities as
           to the limitations upon the courts ability to pierce the corporate veil.
              137 The next authority, decided shortly after W v H, is Bodey Js
           decision in Mubarak v Mubarak [2001] 1 FLR 673. The question was
       G   whether the wife was entitled to enforce a lump sum payment order by
           recourse to assets held by one or other company in the ultimate control of
           the husband. The companies opposed the order. Bodey J said there were
           two strands of authority: those decided in the company/commercial sphere
           and those decided in the family sphere. The former strand, upon which the
           companies relied, was based on the recognition of a company as a separate
           legal entity, distinct from its shareholders, with assets belonging to it alone, a
       H
           strand based on the Salomon case. Whilst it admitted of circumstances in
           which the veil could be pierced, the principle of most general application
           was that a company will be not allowed to be used as a device or sham to
           evade obligations and Bodey J referred to Gilford Motor Co Ltd v Horne
           [1933] Ch 935 and Jones v Lipman [1962] 1 WLR 832, which provide good

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.143
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 127 of 421 PageID 18
          460
          Prest v Prest (CA)                                                   [2013] 2 AC
          Rimer LJ

          examples of the sort of impropriety that is required. The companies counsel       A
          submitted that there was no suggestion of any misuse of them in the instant
          case and that the Adams case showed that no principle exists where, if
          reliance on the strict technicalities would produce injustice, then the veil of
          incorporation can, without more, be lifted.
             138 Turning to the family cases, Bodey J referred to the Nicholas,
          Crittenden, Green and Wicks cases. He then said [2001] 1 FLR 673,
                                                                                             B
          681—682:
                Drawing all these authorities together, the precise extent of the
             Family Divisions power to go directly against the property of a company
             owned or controlled by one of the spouses appears less than clear. In both
             the Court of Appeal decisions disowning the power (Crittenden v
             Crittenden [1990] 2 FLR 361 and Wicks v Wicks [1999] Fam 65) no                 C
             reference was seemingly made to Nicholas v Nicholas [1984] FLR 285,
             which contained strong Court of Appeal observations that the power
             exists when the circumstances there specied pertain. The one reported
             case to which I have been referred where the veil was actually lifted
             (Green v Green [1993] 1 FLR 326) has been disapproved by one of the
             judgments of the Court of Appeal in Wicks v Wicks [1999] Fam 65, but
             the disapproval was not the ratio of the decision: neither were Crittenden      D
             v Crittenden [1990] 2 FLR 361 nor Nicholas v Nicholas [1984] FLR 285
             seemingly cited to the Court of Appeal in Wicks.
                Further, it is quite certain that company law does not recognise any
             exception to the separate entity principle based simply on a spouses
             having sole ownership and control.
                Rationalisation of approach                                                E
                Ideally the Family Division and the Chancery Division should plainly
             apply a common approach. However, the fact remains that di›erent
             considerations do frequently pertain: the company approach, on the one
             hand, being predominantly concerned with parties at arms length in a
             contractual or similar relationship; the family approach, on the other
             hand, being concerned with the distributive powers of the court as
             between husband and wife applying discretionary considerations to what          F
             will often be a mainly, if not entirely, family situation.
                I would echo the experience referred to by both Cumming-Bruce LJ
             and Connell J (above) as regards lifting the veil in the Family Division
             when it is just and necessary. In practice, especially in big money
             cases, the husband (as I will assume) will often make a concession that
             company/trust assets can be treated as his, whereafter the case proceeds        G
             conveniently on that basis. It is pragmatic, saves expense and usually
             works. Problems such as have arisen in this case are rare and anyway can
             be avoided where there are other assets against which the lump sum order
             can be enforced.
                The di–culty remains in dening those situations when lifting the veil
             is appropriate by way of enforcement following such a concession in
                                                                                             H
             ancillary relief proceedings. I would suggest that the Family Division can
             make orders directly or indirectly regarding a companys assets where
             (a) the husband (as I am assuming) is the owner or controller of the
             company concerned and (b) where there are no adverse third parties
             whose position or interests would be likely to be prejudiced by such an

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.144
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 128 of 421 PageID 18
                                                                                        461
           [2013] 2 AC                                                   Prest v Prest (CA)
                                                                                  Rimer LJ

       A     order being made. I include as third parties those with real minority
             interests in the company and (where relevant on the facts) creditors and
             directors. The reason for my including the latter two categories will
             become apparent later in this judgment.
                I adopt the rationalisation of this o›ered by Mr Hunter, that it would
             amount merely to a short-circuiting of the full company law route,
       B
             namely the declaration of a dividend to the husband comprising the
             company asset concerned (e g the matrimonial home) enabling him
             and/or the court then to transfer it onwards to the wife. It would amount
             to his property for the purposes of section 24 in the same sense that the
             law may look on that as done as ought to be done; whilst the mechanics of
             the order would be along the lines adopted by Connell J in Green v Green
             [1993] 1 FLR 326, 341: the respondent do sell, or cause G Ltd to sell,
       C     four plots of the blue land to . . .
                I would add that lifting the veil is most likely to be acceptable where
             the asset concerned (being the property of an e›ectively one-man
             company) is the parties former matrimonial home, or other such asset
             owned by the company other than for day-to-day trading purposes.
             139 After considering the evidence, Bodey J held that the case was not
       D   one in which he should lift the veil. His reasons were these, at pp 685—686:
                 both companies are bona de trading companies incorporated well
             before the matrimonial di–culties of the husband and wife. DIL is
             incorporated outside the jurisdiction and the husband is not a director. It
             is not suggested that they are as such being used as a sham or device, albeit
             that their existence is very convenient to the husband. In my judgment,
       E     there do exist genuine third party rights and interests which ought to be
             respected, namely the interests of bona de commercial creditors (one of
             them secured on the jewellery) and the position of directors who have
             duciary duties and who oppose the seizure of stock in trade. The facts of
             the case are far away from those of Green v Green [1993] 1 FLR 326
             which Mr Pointer asks me to follow.
       F         Applying the above proposed approach as regards lifting the
             corporate veil to the evidence now before me and having heard full legal
             argument, I come to the conclusion that this case does not fall within the
             necessarily circumscribed circumstances in which lifting the veil would be
             acceptable. However much the court may wish to assist a wife and
             children where a lump sum has not been paid, I am satised that doing so
             here, whensoever it may be permissible, would be a step too far in the all
       G     the circumstances. This is a conclusion strengthened by article 1 of the
             First Protocol [to the Convention for the Protection of Human Rights and
             Fundamental Freedoms] that every natural and legal person is to be
             entitled, subject to specied exceptions, to the peaceful possession of their
             possessions.
              140 I do not, with respect, nd Bodey Js rationalisation of approach
       H
           convincing. Di›erent considerations obviously arise in commercial and
           family cases but I cannot see why they can justify a di›erence of approach as
           regards lifting the veil. In all situations, the company is a separate legal
           entity. A commercial creditor of the present husband, if unable to obtain
           satisfaction from him, might well wish to attach assets of PRL and/or

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.145
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                        Page 129 of 421 PageID 18
          462
          Prest v Prest (CA)                                                      [2013] 2 AC
          Rimer LJ

          Vermont as an alternative means of satisfaction. Absent an ability to lift the          A
          corporate veil by rst satisfying the VTB conditions, his claim would fail: the
          companies assumed and owed him no relevant obligations. I fail to
          understand the principle by which the wifes ancillary relief claim is said to
          be enforceable against such companies without any need rst to be able to
          satisfy the VTB conditions. Why should wives (or husbands) be entitled to a
          preferential exemption from what the Salomon case decided?
                                                                                                  B
              141 Bodey Js further discussion as to when it may be appropriate to lift
          the veil in order to satisfy a wifes claim appears to have been premised on
          the basis that the husband has conceded that the companys assets can be
          regarded as his, which is not this case. Thorpe LJ, in argument, observed
          that in his own experience such concessions are rare. I anyway cannot see
          that such a concession can take the matter very far. As Bodey J noted, it will
          still be necessary for the court to consider whether the veil should be lifted.         C
          His approach was that the lifting (or not) of the veil in family proceedings in
          relation to a company wholly or substantially owned by the husband is a
          discretionary exercise dependent on a consideration of whether to award the
          relevant asset to the wife would prejudice any minority interests in the
          company and/or the interests of its directors and creditors. He therefore
          favoured a balancing exercise directed to the consideration of whether the
                                                                                                  D
          diversion of a company asset to the wife would prejudice interests other than
          those of the husband. If it would not, such diversion could be rationalised
          (and given legitimacy) on the basis that the husband could be regarded as
          under a duty to declare a dividend in his own favour of the asset, which
          would then be his property; and the law may look on that as done which
          ought to be done.
              142 With respect, I neither follow nor agree with Bodey Js reasoning.              E
          First, the husband is under no obligation to declare such a dividend even if it
          is lawfully open to him to do so. Second, the court has no jurisdiction of
          which I am aware to compel him to do so. Third, whether or not he ought to
          do so (is that a reference to his moral obligations?), the law does not look on
          as done that which ought to be done, even if equity sometimes does,
          although it ordinarily does so only in respect of unperformed legal
                                                                                                  F
          obligations. Bodey Js approach does not appear to me to have much to do
          with any true lifting of the veil. It proceeds instead on the basis that the
          relevant assets are the companys, as they are, which has not come by them
          in circumstances involving any sort of relevant impropriety, but that the
          family courts have a paternalistic jurisdiction to distribute them to a
          claimant with no title to them provided that to do so will not prejudicially
          a›ect anyone with a real interest in their being preserved within the                   G
          company.
              143 That approach is wrong. If, as it is, the question is whether or not
          assets held by the company are (i) assets to which the husband is entitled
          within the meaning of section 24(1)(a), or (ii) assets to which he is to be
          treated as so entitled, the answer to (i) is that he is not so entitled. As for (ii),
          the only circumstance in which it might, as a matter of discretion, be
                                                                                                  H
          appropriate to treat him as so entitled is if there are legitimate grounds for
          lifting the corporate veil, for which purpose nothing less than compliance
          with the VTB conditions will do. Those conditions did not feature in Bodey
          Js rationalisation, even though he had been referred to this courts decision
          in the Adams case as identifying the limitations constraining an ability to lift


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                               APP.146
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 130 of 421 PageID 18
                                                                                         463
           [2013] 2 AC                                                     Prest v Prest (CA)
                                                                                    Rimer LJ

       A   the veil. His suggestion that di›erent principles applyand, by inference,
           should continue to apply in two divisions of the High Courtis one with
           which I disagree. There is, as Mr Amos put it, but one law and but one High
           Court and all its divisions must apply the same law.
              144 A v A [2007] 2 FLR 467 is a decision of Munby J. It did not turn on
           the piercing of any corporate veil, although in paras 18 and 19 he referred to,
           and a–rmed, his own observations in W v H, on which I have earlier
       B
           commented, in part negatively. He also made the point, at para 95, that:
                 only property owned by a party to the marriage can be the subject of a
              property adjustment or other order under the Matrimonial Causes Act
              1973. Thus, to take a specic example, there is no power in the court . . .
              to order the transfer to the wife of the Antigua property, which is owned
              by HDC [a company in which the shares were held by the husband, the
       C
              wife and a trust].
           As to that, I agree.
              145 I come back to Ben Hashem v Al Shayif [2009] 1 FLR 115. Its
           importance is that it reected Munby Js exposition, approved by the Court
           of Appeal in the VTB case in all respects save one (immaterial for present
           purposes), as to the conditions that must be satised before it is open to the
       D
           court to pierce the corporate veil and ignore the separate identities of the
           company and its corporators. What is essential is the proof of relevant
           impropriety. There are, however, perhaps two slightly odd features about
           Munby Js reasoning.
              146 First, he listed several reported authorities as the source of the
           conditions that he summarised, and his list (at para 158) includes Nicholas v
       E   Nicholas [1984] FLR 285. Neither the decision nor the dicta in the Nicholas
           case, however, support the existence of such conditions. The decision had
           nothing to do with veil piercing and the dicta are inconsistent with the
           principles that Munby J identied. Moreover, Munby J criticised Connell Js
           decision to pierce the corporate veil in Green v Green [1993] 1 FLR 326, for
           which Connell J had relied simply on the fact of the husbands ownership
           and control of the companies, having drawn his inspiration from the dicta in
       F
           the Nicholas case. If Greens case was in this respect wrong, it ought to have
           followed in Munby Js view that the dicta in the Nicholas case were also
           wrong. Munby J also pointed out, at para 173, that Bodey J had been
           correct in Mubarak v Mubarak [2001] 1 FLR 673 to recognise that the fact
           that one spouse has sole ownership and control of a company is not enough
           to justify a piercing of the companys corporate veil. All that Munby J
       G   actually said about the Nicholas case, at para 176, was that the veil piercing
           claim failed because the minority interests in the company could not be
           ignored. But (i) as I have said, I do not consider that there was a veil
           piercing claim in the Nicholas case, and (ii) the suggestion by both Lords
           Justices that, but for the minority interests, such a claim could without more
           have succeeded cannot stand with Munby Js own explanation of the
           conditions that must be satised before such a claim can succeed. As for
       H
           Cumming-Bruce LJs reference to the abundant authority in the Family
           Division as to the courts willingness and ability to pierce the veil in a total
           control case, Munby J noted at para 221 that counsel had been able to
           identify only one Family Division case to date in which the court had
           pierced the veil on that ground, namely Green v Green.

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.147
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 131 of 421 PageID 18
          464
          Prest v Prest (CA)                                                   [2013] 2 AC
          Rimer LJ

             147 The second odd feature is that, in Ben Hashem v Al Shayif [2009]            A
          1 FLR 115, Munby J implicitly endorsed his own earlier agreement with the
          Nicholas dicta in W v H, from which he cited without critical comment at
          para 94. As his own summary of the basis upon which a companys veil may
          be pierced showed that the Nicholas dicta were wrong, so must it have
          followed that his earlier endorsement of the dicta was wrong. Munby J was
          not entitled to have it both ways.
                                                                                             B
             148 Kremen v Agrest (No 2) [2011] 2 FLR 490 is a decision of Mostyn
          J. The case concerned the wifes claim to unscramble successive transfers of
          a single share in a BVI company that owned an English property occupied by
          the husband. The judge set the transfers aside and declared that the
          company held the property benecially for the husband. In making that
          declaration, the judge pierced the companys corporate veil. At para 43, he
          said that counsel had asked him to make explicit that, given the terms of          C
          Munby Js judgment in Ben Hashems case, he had found actual impropriety
          on the part of the husband entitling him to pierce the veil. Mostyn J
          summarised Ben Hashems case and said at para 44 that the decision had
          surprised practitioners in ancillary relief proceedings, whose understanding
          for years had been conditioned by the dicta in the Nicholas case. Nor did
          Mostyn J share Munby Js expressed di–culty with Green v Green. He then
                                                                                             D
          referred to Bodey Js judgment in Mubaraks case, saying, at para 46:
                There is a strong practical reason why the cloak should be penetrable
             even absent a nding of wrongdoing. In Mubarak v Mubarak [2001]
             1 FLR 673, Bodey J pointed out that the same end of putting the
             underlying asset into the hands of the claimant could be achieved by
             going down a pure company law route rather than violating the sanctity
                                                                                             E
             of the corporate veil.
          Mostyn J then quoted the same passages from Mubaraks case that I have.
             149 I do not understand what Mostyn J meant by going down a pure
          company law route rather than violating the sanctity of the corporate veil.
          I am not clear that Bodey J had in mind that the court could order the
          husband to declare an appropriate dividend and then release it to the wife. If
                                                                                             F
          so, it would amount to an order requiring the husband to take steps to
          achieve the holding by him of an asset he did not currently own and to which
          he had no present entitlement. I do not know what jurisdiction there is to
          make such an order. If, as I consider, Bodey Js dicta were directed at
          making an order directly regarding a companys assets, that does violate the
          sanctity to which Mostyn J referred. I add that if, contrary to Mostyn Js
          view, impropriety needed to be shown before the veil could be pierced,             G
          Mostyn J explained that there was abundant evidence of it in the case before
          him. But the thrust of Kremens case was, however, that the Nicholas dicta
          should be preferred to the Ben Hashem principles.
             150 I come nally to Hope v Krejci [2012] EWHC 1780 (Fam), another
          decision of Mostyn J, to which I have already referred. I shall not discuss the
          judgment in at any length. Mostyn J cited from, and discussed, various
                                                                                             H
          authorities to which I have referred, including his own judgment in
          Kremens case. At para 27, he endorsed his view as to the supremacy and
          binding nature of the dicta in the Nicholas case and said that he did not
          regard the VTB case [2012] 2 Lloyds Rep 313, in which the Nicholas case
          was not referred to, as requiring it to be altered. I read Mostyn Js discussion

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.148
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 132 of 421 PageID 18
                                                                                         465
           [2013] 2 AC                                                     Prest v Prest (CA)
                                                                                    Rimer LJ

       A   of these matters in Hope v Krejci (although not his decision in Kremens
           case) as obiter, but there is no doubt as to his view of the law that is or should
           be applied in family proceedings.

           The respondents notice
              151 By a respondents notice, and if wrong on her primary submissions
       B   in support of the judges reasoning, the wife sought to overturn the judges
           ndings in para 217 that there was no relevant impropriety in relation to the
           establishment of the Petrodel group structure. The wife also challenged the
           nding in para 218 that the husbands conduct of the litigation did not
           amount to relevant impropriety su–cient to justify the court in piercing the
           companies corporate veil.
              152 This aspect of the wifes case was barely developed by Mr Todd in
       C
           his oral submissions, who acknowledged that, given the judges ndings, it
           was a di–cult argument. I consider that it was not only di–cult but
           impossible. There is no factual basis upon which this court can conclude
           that these long-established companies were incorporated, or were used, as a
           cloak or mask to hide the PRL and Vermont properties from the courts gaze;
           or, more particularly, as part of an attempt to hoodwink the court into
       D   believing that assets that belonged benecially to the husband were now the
           companies assets and so escaped the wifes reach. The wifes case to such
           end was not improved by pointing, as she didindeed it formed the main
           part of Mr Todds submissionto the husbands unco-operative stance in
           the litigation. In my judgment, there is no substance to this part of the wifes
           case and I shall devote no more space to it.
              153 The wife also contended that the judge was wrong not to nd that
       E
           the relevant PRL and Vermont properties were held by those companies as
           nominees or trustees for the husband. To that end, Mr Todd referred us to
           several paragraphs of the judges judgment that he said supported such a
           nding. These were, in the main, paragraphs in which the judge discussed
           whether the assets of the Petrodel companies belonged to the husband rather
           than the companies and concluded that they did. I have explained why
       F   I consider that the judge was wrong in that conclusion. If my criticism of his
           judgment in that respect is justied, there is, I consider, nothing in his
           judgment that could enable this court to nd that he ought none the less to
           have found that the specic properties held by PRL and Vermont that are the
           subject of para 5 of his order belonged benecially to the husband. I would
           also reject this argument advanced by the wife.
       G
           Conclusion
              154 I have made clear my views on the veil piercing issue, but shall
           summarise them. Salomon v A Salomon & Co Ltd [1897] AC 22 is House of
           Lords authority a–rming the distinction between the separate legal
           personalities of a company and its corporators. It makes no di›erence to
           such distinction that the company has a single corporator with total control
       H
           over its a›airs. It is a feature of the principle that a companys assets belong
           benecially to the company and that its corporators have no interest in, or
           entitlement to, them. It is a further feature of it that such assets cannot be
           looked to in order to satisfy the personal obligations of the corporators, any
           more than the latters personal assets can be looked to in order to satisfy the

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.149
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 133 of 421 PageID 18
          466
          Prest v Prest (CA)                                                   [2013] 2 AC
          Rimer LJ

          obligations of the company. In special circumstances, in particular in the         A
          winding up of an insolvent company, there may be a statutory basis for
          requiring the corporators to contribute personally to the companys assets,
          for example if they have misapplied its assets or engaged in wrongful or
          fraudulent trading: see sections 212 to 214 of the Insolvency Act 1986.
          Exceptions of that nature are, however, irrelevant for present purposes.
              155 Subject to exceptions such as those, and to cases in which it is           B
          legitimate to pierce the corporate veil, the separate corporate identity of a
          company is a fact of legal life that all courts are required to recognise and
          respect, whatever jurisdiction they are exercising. It is not open to a court,
          simply because it regards it as just and convenient, to disregard such separate
          identity and to appropriate the assets of a company in satisfaction either of
          the monetary claims of its corporators creditors or of the monetary ancillary
          relief claims of its corporators spouse. Salomons case precludes any such        C
          approach; and the same was made clear by the House of Lords in Woolfson v
          Strathclyde Regional Council 1978 SC (HL) 90 and by the Court of Appeal
          in Adams v Cape Industries plc [1990] Ch 433, Ord v Belhaven Pubs Ltd
          [1998] 2 BCLC 447 and VTB Capital plc v Nutritek International Corpn
          [2012] 2 Lloyds Rep 313. The obiter dicta in Nicholas v Nicholas [1984]
          FLR 285 to di›erent e›ect are inconsistent with the Salomon, Woolfson,             D
          Adams, Ord and VTB cases and advance no reasoning why a di›erent
          principle should apply in the family jurisdiction as compared with other
          jurisdictions. The Salomon principle must apply equally to all jurisdictions.
          A one-man company does not metamorphose into the one-man simply
          because the person with a wish to abstract its assets is his wife.
             156 The Woolfson, Adams, Ord, Ben Hashem and VTB cases show that
                                                                                             E
          there may be factual circumstances in which it will be legitimate for the
          court to pierce a companys corporate veil and, to an appropriate extent,
          disregard the fact of its separate identity from that of its corporators. They
          all, however, a–rm that that can only be done in limited circumstances,
          central to which is the demonstration of relevant impropriety in the
          corporators use of the company. The rationale for such an exceptional
          jurisdiction is that the controllers of the company have so used the fact of its   F
          separate identity for improper purposes that it may be appropriate for the
          court to disregard its separate identity in order that its controllers may not
          derive the advantage from such abuse that they intended to achieve. It is
          perhaps a relative of the principle that a wrongdoer cannot ordinarily be
          allowed to prot from his own wrong. The jurisdiction, whilst of interest to
          legal theorists, is an exceptional one and there are few reported decisions        G
          where it has been applied (including, in particular, in family proceedings).
          Just as there is no rational ground for regarding the family courts as exempt
          from the Salomon case, so is there is no rational ground for regarding them
          as exempt from the need to be satised as to the conditions a–rmed in the
          VTB case before piercing of a corporate veil. The dicta in the Nicholas case
          cannot stand with the principles explained in the Woolfson, Adams, Ord,
          Ben Hashem and VTB cases and they should no longer be regarded as of any           H
          authority. In so far as Mostyn J has, in Kremen v Agrest (No 2) [2011]
          2 FLR 490 and Hope v Krejci [2012] EWHC 1780 (Fam), treated those
          principles as inapplicable in family cases and instead supported the Nicholas
          dicta, I would respectfully disagree with him.

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.150
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 134 of 421 PageID 18
                                                                                        467
           [2013] 2 AC                                                   Prest v Prest (CA)
                                                                                  Rimer LJ

       A      157 In this case, once the judge had rejected the impropriety assertion,
           he had no choice but to reject the claim that PRL and Vermonts London
           properties were or could be regarded as properties to which the husband had
           any entitlement. He had no jurisdiction under section 24(1)(a) to make the
           orders he did in relation to them. In so far as he was suggesting that
           section 24(1)(a) enabled the court to treat a companys property as
           belonging to its 100% owner, he was wrong. Section 24(1)(a) confers no
       B
           such jurisdiction. It does no more than confer a jurisdiction to make a
           transfer order in respect of property to which the respondent spouse is
           benecially entitled. Whether such spouse is or is not so entitled to the
           particular item of property in issue will be a question of fact, to be answered
           in the same way as it would regardless of the making of any application
           under section 24(1)(a).
       C      158 I would allow the appeals by PRL and Vermont against the judges
           para 5 orders.

           PATTEN LJ
              159 I agree that the appeal should be allowed for the reasons contained
           in the judgment of Rimer LJ and I fully endorse his treatment of the issues of
           benecial ownership and the limited circumstances in which it may be
       D   appropriate to pierce the veil of incorporation.
              160 What needs to be emphasised is that the provisions of
           section 24(1)(a) of the Matrimonial Causes Act 1973 do not give the court
           power to disapply the established principles of legal and benecial
           ownership or of company law. On the contrary, those principles were
           plainly intended to dene the limits of the courts jurisdiction under the
       E   statute and Moylan J was wrong to give the words entitled, either in
           possession or reversion any wider meaning. Married couples who choose
           to vest assets benecially in a company for what the judge described as
           conventional reasons including wealth protection and the avoidance of tax
           cannot ignore the legal consequences of their actions in less happy times.
              161 I wish particularly to support Rimer LJs criticism of the dicta in
           Nicholas v Nicholas [1984] FLR 285 and his view that these cannot be relied
       F   upon as a correct statement of the law following the decision of this court in
           Adams v Cape Industries plc [1990] Ch 433. They have led judges of the
           Family Division to adopt and develop an approach to company owned assets
           in ancillary relief applications which amounts almost to a separate system of
           legal rules una›ected by the relevant principles of English property and
           company law. That must now cease.
       G
                                                                     Appeal allowed.
              21 November 2012. The court granted an application by the wife for
           permission to appeal.
                                                              K EN MYDEEN, Barrister
       H
           APPEAL
              The wife appealed. The issues for the Supreme Court, as set out in the
           parties statement of agreed facts and issues, were whether (1) the court had
           power in the context of the Matrimonial Causes Act 1973 to order the
           transfer of assets, as part of an ancillary relief award, which belonged to

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.151
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 135 of 421 PageID 18
          468
          Prest v Prest (SC(E))
                        (SC(E))                                                [2013] 2 AC
          Argument

          third party companies; (2) on a proper analysis, the companies held the             A
          properties on trust for the husband and as such the court was empowered to
          transfer those properties to the wife; (3) section 24(1)(c)(d) of the Act
          empowered the court to alter the settlement by which the husband was
          entitled to a benecial interest in both the shares in the companies and their
          assets; and (4) the circumstances were such that the wife should be permitted
          to pierce the veil of incorporation either on the ground of impropriety or in
                                                                                              B
          the interests of justice.
             The facts are stated in the judgment of Lord Sumption JSC.

              Richard Todd QC, Daniel Lightman and Stephen Trowell (instructed by
          Farrer & Co LLP) for the wife.
              Where an asset is held by a company which is e›ectively the alter ego of a
          spouse, and the legitimate priority interests of innocent third parties can be      C
          protected, section 24(1)(a) of the Matrimonial Causes Act 1973 operates as
          a statutory exception to the rule against piercing the corporate veil, enabling
          the court to look at the reality of the underlying ownership of the asset and
          to deal with the asset accordingly: see Nicholas v Nicholas [1984] FLR 285;
          Green v Green [1993] 1 FLR 326; W v H (Family Division: Without Notice
          Orders) [2001] 1 All ER 300; A v A [2007] 2 FLR 467; Ben Hashem v Al
                                                                                              D
          Shayif [2009] 1 FLR 115; Mubarak v Mubarak [2001] 1 FLR 673 and
          Kremen v Agrest (No 2) [2011] 2 FLR 490.
              A person is entitled to the possession of an asset if he has the right and
          ability to procure its transfer to him for his own use, free of legitimate third
          party objection. The husband has all the rights of a 100 % shareholder and
          controller in the respondent companies, including the right to a members
          voluntary liquidation. Since the husband and the companies failed to                E
          disclose the net asset position of the companies and failed to provide the
          disclosure as to the acquisition costs of the properties which the husband and
          the companies had been ordered to produce, the judge was entitled to
          proceed on the basis that the secured creditors would be una›ected by the
          proceedings; further or alternatively that the wifes cross-appeal should
          succeed on its facts and that it be declared that the companies held the
                                                                                              F
          properties on resulting trust for the husband: for authority on the burden of
          proof and who should call which evidence, see Herrington v British
          Railways Board [1972] AC 877 and Wisniewski v Central Manchester
          Health Authority [1998] PIQR P324.
              The husband could be ordered to put the companies into a members
          voluntary liquidation and the net proceeds then distributed to the wife;
          rather than employ this largely articial exercise, the process could be            G
          telescoped into a transfer of the underlying assets (subject to the interests
          of secured and trade creditors) to the wife.
              The purpose of the Act is to do fairness as between spouses. The court
          had a wide discretion to achieve this including by variation of a settlement:
          see Brooks v Brooks [1996] AC 375. The Act requires the court to look not
          only at what a spouse has now but at resources to which a spouse is or might
                                                                                              H
          become entitled in the future: see sections 24(1) and 25 and Crews-Orchard
          v Crews-Orchard (1970) 114 SJ 150.
              The court may take notice of the fact that a spouse not only controls a
          company but, subject to third party interests, may dispose of it at will: see W
          v H (Family Division: Without Notice Orders) [2001] 1 All ER 300, 311;

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.152
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 136 of 421 PageID 18
                                                                                        469
           [2013] 2 AC                                                  Prest v Prest (SC(E))
                                                                                      (SC(E))
                                                                                  Argument

       A   Nicholas v Nicholas [1984] FLR 285, 287, 292; Green v Green [1993]
           1 FLR 326 and Mubarak v Mubarak [2001] 1 FLR 673, 679, 682. In the
           minority of cases where a spouses legitimate claim can only be met by
           company assets the court should look to the powers vested in it by
           section 24(1) and have regard to the powers and control of the other spouse.
           If the interpretation of section 24(1)(a) favoured by the majority of the Court
           of Appeal is upheld, the corporate structure will (subject to the applicability
       B
           of section 24(1)(c)) become a mechanism through which the aim of
           achieving fairness will be defeated. Whilst the court can order the shares to
           be transferred that would be frustrated in this case where the shares are held
           in a La Ronde arrangement whereby company A owns B, which owns
           C which in turn owns A and the companies are in three di›erent
           jurisdictions. The jurisdiction to transfer assets held by a company under
       C   section 24(1) would only ever be exercised sparingly, and only in an alter
           ego case where the company and the spouse can be treated as one and the
           same person for the purposes of section 24(1): see Ben Hashem v Al Shayif
           [2009] 1 FLR 115 and VTB Capital plc v Nutritek International Corpn
           [2012] 2 Lloyds Rep 313. The 1973 Act is not alone in representing a
           statutory departure from the sanctity of the corporate veil: see Adams v
           Cape Industries plc [1990] Ch 433; Nokes v Doncaster Amalgamated
       D
           Collieries Ltd [1940] AC 1014; In re H (Restraint Order: Realisable
           Property) [1996] 2 All ER 391 and Director of Public Prosecutions v
           Compton The Times, 11 December 2002.
               In circumstances where (1) the companies had failed to serve points of
           defence, (2) the husband had failed to provide the information sought and
           had given contradictory accounts of benecial ownership, (3) a positive case
       E   had been advanced by the wife in her statement that the understanding was
           that the properties were benecially owned by the husband and (4) the judge
           had recorded that some of the properties had been transferred for a nominal
           amount, the judge was entitled to nd that the properties were held by the
           companies on trust for the husband.
               Furthermore, the companies and/or the relevant underlying properties
           could be regarded as constituting nuptial settlements capable of variation
       F
           under section 24(1)(c). A liberal and purposive approach must be taken to
           the interpretation of nuptial settlement in the context of the Act: see Blood
           v Blood [1902] P 78, 82; Bosworthick v Bosworthick [1927] P 64, 71, 72;
           Prinsep v Prinsep [1929] P 225, 232, 235; Brooks v Brooks [1996] AC 375,
           391—392; Ben Hashem v Al Shayif [2009] 1 FLR 115, para 234; E v
           E (Financial Provision) [1990] 2 FLR 233; D v D [2011] 2 FLR 29; BJ v MJ
       G   (Financial Order: Overseas Trust) [2012] 1 FLR 667 and Hope v Krejci
           [2013] 1 FLR 182. The jurisdiction under section 24(1)(c) is not limited to
           cases concerning the matrimonial home, nor is there any reason why the
           powers in section 24(1)(c) should be limited to trust structures. The
           legislation should be read so as to enable the court to do justice between the
           parties. The ndings of fact made by the judge are consistent with a
           determination that there is a nuptial settlement. [Reference was made to
       H
           sections 994 and 996 of the Companies Act 2006; Rackind v Gross [2005]
           1 WLR 3505; In re Tobian Properties Ltd; Maidment v Attwood [2013]
           Bus LR 753; Bhullar v Bhullar (unreported) 25 March 2002, Judge Behrens,
           Leeds and Hawkes v Cuddy [2007] EWHC 2999 (Ch); [2008] EWHC 210
           (Ch); [2009] 2 BCLC 427, CA.]

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.153
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 137 of 421 PageID 18
          470
          Prest v Prest (SC(E))
                        (SC(E))                                                [2013] 2 AC
          Argument

             Alternatively, the wife should be entitled to pierce the corporate veil,        A
          either on the ground of impropriety or in the interests of justice, in order to
          obtain a fair outcome and the transfer of the properties which are in the
          names of the companies. The judge erred in holding that the companies
          cannot be held to have been improperly used, having been originally
          constituted properly, and Rimer LJ, ante, pp 441—442, paras 89, 90, was
          wrong in holding that because the judge had found that the companies were          B
          originally properly constituted it would be inconsistent to hold that the
          companies were shams or nominees. The husband was using the corporate
          structure to defeat both the courts inquiry and the subsequent enforcement
          of an order. There was relevant impropriety: see Ben Hashem v Al Shayif
          [2009] 1 FLR 115, para 164. Historically, the courts have recognised the
          need to pierce the corporate veil in the interests of justice: see In re
          A Company [1985] BCLC 333. The suggestion in Adams v Cape Industries               C
          plc [1990] Ch 433 that the interests of justice is not a su–cient ground on
          which to pierce the corporate veil was made without the courts attention
          being drawn to In re A Company and should not be followed: see Trustor AB
          v Smallbone (No 2) [2001] 1 WLR 1177, para 21. In the exceptional
          circumstances in which property has been held by a corporate structure that
          is wholly controlled by one party to the marriage, making that partys             D
          shareholding the subject of an order under section 24(1) of the Act both
          impractical and unlikely to be enforceable in practice, and that property has
          overwhelmingly been used for the benet of the parties to the marriage, the
          court should have the discretion to pierce the corporate veil to make that
          property the subject of an order under section 24(1) of the Act in the
          interests of justice. Such a narrow and precisely restricted exception would
          enable the court to respond to the demands of justice without unduly               E
          compromising certainty. The husbands conduct in the present proceedings
          removes any doubt that the interests of justice are overwhelmingly in favour
          of the wife.
             Tim Amos QC, Oliver Wise, Ben Shaw and Amy Kisser (instructed by
          Je›rey Green Russell Ltd) for the Petrodel companies.
             Entitled in section 24(1)(a) of the Matrimonial Causes Act 1973 must        F
          be given its ordinary narrow meaning. It entails an enforceable right. Thus
          the court can only order the transfer of assets in which a party holds a legal
          or benecial interest. The companies assets are not the husbands assets: see
          Broderip v Salomon [1895] 2 Ch 323; sub nom Salomon v A Salomon & Co
          Ltd [1897] AC 22. A controlling shareholder, even if he is the sole
          shareholder, has no interest in, or entitlement to, the companys own              G
          property: see Macaura v Northern Assurance Co Ltd [1925] AC 619,
          626—627. These principles form an integral part of English law and apply
          equally to ancillary relief proceedings since the law has to be applied in an
          homogeneous, structured and disciplined manner across all Divisions of the
          High Court: see McFarlane v McFarlane [2006] 2 AC 618; Imerman v
          Tchenguiz [2011] Fam 116; Jones v Jones [2012] Fam 1 and A v A [2007]
                                                                                             H
          2 FLR 467.
             Section 24(1)(a) does not operate as a statutory exception to these
          principles. There is no suggestion within its language, or its legislative
          history, to indicate that Parliament intended, by implication, to create a far-
          reaching exception which would allow a court in ancillary relief proceedings

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.154
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 138 of 421 PageID 18
                                                                                        471
           [2013] 2 AC                                                  Prest v Prest (SC(E))
                                                                                      (SC(E))
                                                                                  Argument

       A   to ignore the separate legal personality of a company and treat its property
           as the personal property of its controlling shareholder. [Reference was made
           to section 45 of the Matrimonial Causes Act 1857 (20 & 21 Vict c 85) and
           Milne v Milne (1871) LR 2 P & D 295, 299.] On the contrary,
           section 24(1)(a) on its face and as a matter of statutory construction is
           limited to property to which a party to a marriage has an enforceable right of
       B
           ownership in possession or reversion. An ability in practical terms to extract
           an asset from a company does not equate to a rightful claim. Unvested
           prospective rights are also insu–cient: see Crews-Orchard v Crews-Orchard
           (1970) 114 SJ 150. There is nothing within section 24(1)(a) to suggest that
           the court may simply disregard the English insolvency and capital-
           maintenance regimes and contractual rights of other shareholders and,
           instead, decide as a matter of judicial discretion which third party creditors
       C   and shareholders are su–ciently deserving of protection. Such an approach
           would create intolerable uncertainty for persons proposing to advance
           moneys to a company controlled by a party to a marriage. Clear and express
           wording would be required to achieve such a result: see Bank voor Handel
           en Scheepvaart NV v Slatford [1953] 1 QB 248, 278. That case also
           emphasises (at p 265) the international nature and acceptance of the concept
       D   of separate corporate personality, which in the present case has the added
           importance of the consideration of increasing respect and recognition by
           foreign courts for the decisions and workings of English courts and English
           family law.
              The decision of the majority of the Court of Appeal does not enable an
           unscrupulous party to a marriage to evade an ancillary relief award. First, if
           that party holds shares in a company, such shares themselves are property to
       E
           which he is entitled and a court granting ancillary relief may order that they
           be transferred to the other party to the marriage. Further, if the
           unscrupulous party takes steps to place his assets in a corporate vehicle in
           order to avoid liability to pay ancillary relief, there are a variety of anti-
           avoidance measures which may be available to reverse such transfers: see
           section 37 of the 1973 Act and section 423 of the Insolvency Act 1986.
       F   Alternatively, if a party to a marriage takes steps to place assets in a company
           in order to evade an award of ancillary relief, the matrimonial court may be
           justied in piercing the corporate veil through the application of common
           law principles by virtue of the impropriety exception. The wifes reliance on
           statutes disregarding the separate legal personality of a company is
           misplaced: see In re H (Restraint Order: Realisable Property) [1996] 2 All
       G   ER 391, 400—401; Director of Public Prosecutions v Compton [2002]
           EWCA Civ 1720 at [44]; R v K [2006] BCC 362, para 25 and R v Gomez
           [1993] AC 442, 496—497. The unfortunate position of the wife is no reason
           for making an unprincipled order: see Ben Hashem v Al Shayif [2009] 1 FLR
           115, para 301. If reform is needed it is a matter for Parliament, not the
           courts: see R (Prudential plc) v Special Comr of Income Tax (Institute of
           Chartered Accountants in England and Wales intervening) [2013] 2 AC 185,
       H
           para 49. [Reference was also made to Charman v Charman (No 4) [2007]
           1 FLR 1246; Belmont Finance Corpn Ltd v Williams Furniture Ltd [1979]
           Ch 250; Roberts Petroleum Ltd v Bernard Kenny Ltd [1983] 2 AC 192; In re
           Campbell (A Bankrupt) [1997] Ch 14 and Midland Bank Trust Co Ltd v
           Green [1981] AC 513.]

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.155
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 139 of 421 PageID 18
          472
          Prest v Prest (SC(E))
                        (SC(E))                                                [2013] 2 AC
          Argument

              In VTB Capital plc v Nutritek International Corpn [2013] 2 AC 337 the          A
          Supreme Court assumed, without deciding, that English law permits the veil
          of incorporation to be pierced on appropriate facts. If it is necessary to
          decide whether there are, as a matter of principle, any grounds on which the
          corporate veil can be pierced at common law, it would be open to the court to
          conclude that there are no freestanding common law principles. Given that
          statute has given a company a separate legal existence, only statute can take
                                                                                             B
          that existence away. Moreover, the cases which are relied on by the wife to
          establish the courts power to pierce the veil can be explained on other
          grounds or, in so far as they do suggest that such a jurisdiction exists, they
          should be rejected as inconsistent with the clear statements of principle
          contained in Broderip v Salomon [1895] 2 Ch 323; sub nom Salomon v
          A Salomon & Co Ltd [1897] AC 22; Woolfson v Strathclyde Regional
          Council 1978 SC (HL) 90; Adams v Cape Industries plc [1990] Ch 433;                C
          Trustor AB v Smallbone (No 2) [2001] 1 WLR 1177; Ben Hashem v Al
          Shayif [2009] 1 FLR 115 and VTB Capital plc v Nutritek International
          Corpn [2012] 2 Lloyds Rep 313. The court should disapprove the obiter
          dicta of Cumming-Bruce and Dillon LJJ in Nicholas v Nicholas [1984] FLR
          285, 287 E-F, 292F, of Cumming-Bruce LJ in In re A Company [1985] BCLC
          333, 337I—338B and of Munby J in W v H (Family Division: Without Notice
                                                                                             D
          Orders) [2001] 1 All ER 300, 310H. Alternatively, if there are freestanding
          common law principles enabling the courts to pierce the corporate veil, the
          courts may in any event only do so if there is proof of relevant impropriety
          involving the misuse of a corporate structure to conceal or avoid a legal
          liability: see Ben Hashem v Al Shayif [2009] 1 FLR 115, paras 159—164;
          VTB Capital plc v Nutritek International Corpn [2012] 2 Lloyds Rep 313;
          [2013] 2 AC 337, para 79. The courts cannot simply pierce the corporate veil       E
          whenever they perceive it to be in the interests of justice. The husband was
          not guilty of relevant impropriety which would justify piercing the corporate
          veil. Rather the corporate structure was set up and has been used for
          conventional reasons, including wealth protection and the avoidance of tax.
          The fact that the husband may have adopted an unco-operative stance in
          litigation against the wife does not turn this entirely legitimate use of a
                                                                                             F
          corporate structure into an improper use of such structure.
              The judge did not nd that the companies held all of their properties on
          trust for the husband. On the contrary, he concluded that the properties were
          e›ectively the property of the husband and that the companies were in
          e›ect nominees of the husband. These conclusions would have made no
          sense if the companies were in fact nominees for the husband. Accordingly,
          as the Court of Appeal correctly concluded, the judges rejection of this aspect   G
          of the wifes case was clear. There is no new evidence or other material which
          would provide a basis for the Supreme Court to disturb the clear rejection of
          this aspect of the wifes case. Further, and in any event, the companies were
          not and are not nuptial settlementsneither settlements, nor nuptial.
              [LORD NEUBERGER OF ABBOTSBURY PSC. It is not necessary to address the
          court on section 24(1)(c).]
                                                                                             H
             The husband did not appear and was not represented.
            Todd QC in reply.
            It would be odious to the common law for a man who has complete
          control over these companies and through them, these properties, to be able

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.156
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 140 of 421 PageID 18
                                                                                        473
           [2013] 2 AC                                                 Prest v Prest (SC(E))
                                                                                     (SC(E))
                                                                                 Argument

       A   to escape his responsibilities to his wife and children by deploying either
           (a) a corporate veil or (b) a cloak over the true benecial ownership of the
           properties. Here the husbands and the companies failures to provide
           proper disclosure raised the inference that the companies were benecially
           owned by the husband. If so that benecial interest could be transferred to
           the wife. Once the wife had asserted a positive case of benecial ownership
           it fell to the husband to produce the evidence which should have been in his
       B
           gift and which he and the companies were ordered to provide; their failure to
           do so should result in a nding that the companies hold the bare legal title on
           trusts of land for the husband as benecial owner.
               The word entitled in the Matrimonial Causes Act 1973 is a word in
           common use; it gives for an easy interpretation. If a reasonable person were
           asked is Mr Prest entitled to these properties in circumstances where he
       C   could lawfully require their transfer or sale without any legitimate third
           party objection then they would answer yes. Any arcane interpretation
           which fails to achieve the underlying purpose of the Act is to be strongly
           discouraged. Whilst of very limited use, the doctrine of piercing the corporate
           veil survives and this would be an appropriate case for its deployment.
             The court took time for consideration.
       D
             12 June 2013. The following judgments were handed down.

           LORD SUMPTION JSC

           Introduction
       E       1 This appeal arises out of proceedings for ancillary relief following a
           divorce. The principal parties before the judge, Moylan J, were Michael and
           Yasmin Prest. He was born in Nigeria and she in England. Both have dual
           Nigerian and British nationality. They were married in 1993, and during the
           marriage the matrimonial home was in England, although the husband was
           found by the judge to have been resident in Monaco from about 2001 to
           date. There was also a second home in Nevis. The wife petitioned for
       F
           divorce in March 2008. A decree nisi was pronounced in December 2008,
           and a decree absolute in November 2011.
               2 The husband is not party to the appeal in point of form, although he is
           present in spirit. The appeal concerns only the position of a number of
           companies belonging to the group known as the Petrodel Group which the
           judge found to be wholly owned and controlled (directly or through
       G   intermediate entities) by the husband. There were originally seven
           companies involved, all of which were joined as additional respondents to
           the wifes application for ancillary relief. They were Petrodel Resources Ltd
           (PRL), Petrodel Resources (Nigeria) Ltd (PRL Nigeria), Petrodel
           Upstream Ltd (Upstream), Vermont Petroleum Ltd (Vermont), Elysium
           Diem Ltd, Petrodel Resources (Nevis) Ltd (PRL Nevis) and Elysium Diem
           Ltd (Nevis). Three of these companies, PRL, Upstream and Vermont, all
       H
           incorporated in the Isle of Man, are the respondents in this court. PRL was
           the legal owner of the matrimonial home, which was bought in the name of
           the company in 2001 but was found by the judge to be held for the husband
           benecially. There is no longer any issue about that property, which is
           apparently in the process of being transferred to the wife. In addition, PRL

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.157
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 141 of 421 PageID 18
          474
          Prest v Prest (SC(E))
                        (SC(E))                                                 [2013] 2 AC
          Lord Sumption JSC

          was the legal owner of ve residential properties in the United Kingdom and          A
          Vermont is the legal owner of two more. The question on this appeal is
          whether the court has power to order the transfer of these seven properties to
          the wife given that they legally belong not to him but to his companies.
              3 Part II of the Matrimonial Causes Act 1973 confers wide powers on
          the court to order ancillary relief in matrimonial proceedings. Section 23
          provides for periodical and lump sum payments to a spouse or for the benet
                                                                                               B
          of children of the marriage. Under section 24(1)(a), the court may order that
          a party to the marriage shall transfer to the other party . . . such property as
          may be so specied, being property to which the rst-mentioned party is
          entitled, either in possession or reversion. Section 25, as substituted by
          sections 3 and 48(2) of the Matrimonial and Family Proceedings Act 1984,
          provides for a number of matters to which the court must in particular have
          regard in making such orders, including, at section 25(2)(a), the income,          C
          earning capacity, property and other nancial resources which each of the
          parties to the marriage has or is likely to have in the foreseeable future.
              4 The proper exercise of these powers calls for a considerable measure
          of candour by the parties in disclosing their nancial a›airs, and extensive
          procedural powers are available to the court to compel disclosure if
          necessary. In this case, the husbands conduct of the proceedings has been
                                                                                               D
          characterised by persistent obstruction, obfuscation and deceit, and a
          contumelious refusal to comply with rules of court and specic orders. The
          judge, Moylan J, recited in his judgment [2011] EWHC 2956 (Fam) the long
          history of successive orders of the court which were either ignored or
          evaded, the various attempts of the husband to conceal the extent of his
          assets in the course of his evidence, and the collusive proceedings in Nigeria
          by which he sought declarations that certain of the companies were held in           E
          trust for his siblings. The only evidence on behalf of the respondent
          companies was an a–davit sworn by Mr Jack Murphy, a director of PRL
          and the corporate secretary of the three respondent companies, who failed to
          attend for cross-examination on it. The judge rejected his excuse that he was
          in bad health, and found that he was unwilling rather than unable to attend
          court: para 69. His conclusion was that
                                                                                               F
                as a result of the husbands abject failure to comply with his
             disclosure obligations and to comply with orders made by the court
             during the course of these proceedings, I do not have the evidence which
             would enable me to assemble a conventional schedule of assets: para 13.
          However, he found that the husband was the sole benecial owner and the
          controller of the companies, and doing the best that he could on the material        G
          available assessed his net assets at £37.5m.
             5 By his order dated 16 November 2011, Moylan J ordered that the
          husband should procure the conveyance of the matrimonial home at
          16, Warwick Avenue, London W2 to the wife, free of incumbrances, and
          that he should make a lump sum payment to her of £17.5m and periodical
          payments at the rate of 2% of that sum while it remained outstanding,
                                                                                               H
          together with £24,000 per annum and the school fees for each of their four
          children. In addition he awarded costs in favour of the wife, with a payment
          of £600,000 on account. The judge ordered the husband to procure the
          transfer of the seven UK properties legally owned by PRL and Vermont to
          the wife in partial satisfaction of the lump sum order. He directed those

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.158
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 142 of 421 PageID 18
                                                                                        475
           [2013] 2 AC                                                  Prest v Prest (SC(E))
                                                                                      (SC(E))
                                                                        Lord Sumption JSC

       A   companies to execute such documents as might be necessary to give e›ect to
           the transfer of the matrimonial home and the seven properties. Moreover, in
           awarding costs to the wife, the judge directed that PRL, Upstream and
           Vermont should be jointly and severally liable with the husband for 10% of
           those costs. Corresponding orders were made against certain of the other
           corporate respondents to the original proceedings, but they did not appeal,
           either to the Court of Appeal or to this court, and are no longer relevant,
       B
           save in so far as the facts relating to them throw light on the position of the
           three respondents. No order was made (or sought) for the transfer of any
           assets of Upstream, but that company is interested in the present appeal by
           virtue of its liability under the judges order for part of the wifes costs.
              6 The distinctive feature of the judges approach was that he concluded
           that there was no general principle of law which entitled him to reach the
       C   companies assets by piercing the corporate veil. This was because the
           authorities showed that the separate legal personality of the company could
           not be disregarded unless it was being abused for a purpose that was in some
           relevant respect improper. He held that there was no relevant impropriety.
           He nevertheless concluded that in applications for nancial relief ancillary to
           a divorce, a wider jurisdiction to pierce the corporate veil was available
           under section 24 of the Matrimonial Causes Act 1973. The judge found that
       D
           the matrimonial home was held by PRL on trust for the husband, but he
           made no corresponding nding about the seven other properties and refused
           to make a declaration that the husband was their benecial owner. It is
           tolerably clear from his supplementary judgment of 16 November 2011
           [2011] EWHC 3066 (Fam) (on the form of the order), that this was because
           having decided that he was specically authorised to dispose of the
       E   companies properties under section 24, it was unnecessary for him to do so
           and undesirable because of the potential tax consequences: para 14. It is
           not clear what potential tax consequences he had in mind, but his
           observation suggests that without them he might well have made the
           declaration sought.
              7 In the Court of Appeal, the three respondent companies challenged
           the orders made against them on the ground that there was no jurisdiction to
       F
           order their property to be conveyed to the wife in satisfaction of the
           husbands judgment debt. This contention, which has been repeated before
           us, raises a question of some importance. For some years it has been the
           practice of the Family Division to treat the assets of companies substantially
           owned by one party to the marriage as available for distribution under
           section 24 of the Matrimonial Causes Act, provided that the remaining
       G   assets of the company are su–cient to satisfy its creditors. In the Court of
           Appeal, the practice was supported by Thorpe LJ, but the majority
           disagreed: ante, pp 421—467. Rimer LJ, delivering the leading judgment for
           the majority, held that the practice developed by the Family Division was
           beyond the jurisdiction of the court unless (i) the corporate personality of the
           company was being abused for a purpose which was in some relevant respect
           improper, or (ii) on the particular facts of the case it could be shown that an
       H
           asset legally owned by the company was held in trust for the husband. He
           considered that the judge had rejected both of these possibilities on the facts,
           and that he ought not therefore to have made the order. In a short
           concurring judgment, Patten LJ, ante, p 467, para 161, said that the Family
           Division had developed an approach to company owned assets in ancillary


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.159
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 143 of 421 PageID 18
          476
          Prest v Prest (SC(E))
                        (SC(E))                                                [2013] 2 AC
          Lord Sumption JSC

          relief applications which amounts almost to a separate system of legal rules       A
          una›ected by the relevant principles of English property and company law.
          The practice, he concluded, must now cease. This has signicant practical
          implications. Unless the UK properties of the Petrodel Group are transferred
          to Mrs Prest, it is possible (she says likely) that the lump sum order in her
          favour will remain wholly unsatised. To date, the matrimonial home has
          been transferred to her but only subject to a pre-existing charge in favour of     B
          BNP Paribas to secure a debt of undisclosed amount. 10% of the money
          ordered to be paid on account of costs has been paid by the three
          respondents, but only in order to satisfy a condition imposed on them on
          their being granted leave to appeal to the Court of Appeal. Otherwise, apart
          from paying the childrens school fees, the husband has not complied with
          any part of Moylan Js order and shows no intention of doing so if he can
          possibly avoid it.                                                                 C


          The issues
             8 Subject to very limited exceptions, most of which are statutory, a
          company is a legal entity distinct from its shareholders. It has rights and
          liabilities of its own which are distinct from those of its shareholders. Its
          property is its own, and not that of its shareholders. In Salomon v                D
          A Salomon & Co Ltd [1897] AC 22, the House of Lords held that these
          principles applied as much to a company that was wholly owned and
          controlled by one man as to any other company. In Macaura v Northern
          Assurance Co Ltd [1925] AC 619, the House of Lords held that the sole
          owner and controller of a company did not even have an insurable interest in
          property of the company, although economically he was liable to su›er by its       E
          destruction. Lord Buckmaster said, at pp 626—627:
                no shareholder has any right to any item of property owned by the
             company, for he has no legal or equitable interest therein. He is entitled
             to a share in the prots while the company continues to carry on business
             and a share in the distribution of the surplus assets when the company is
             wound up.                                                                     F
          In Lonrho Ltd v Shell Petroleum Co Ltd [1980] 1 WLR 627 the House of
          Lords held that documents of a subsidiary were not in the power of its
          parent company for the purposes of disclosure in litigation, simply by virtue
          of the latters ownership and control of the group. These principles are the
          starting point for the elaborate restrictions imposed by English law on a
          wide range of transactions which have the direct or indirect e›ect of              G
          distributing capital to shareholders. The separate personality and property
          of a company is sometimes described as a ction, and in a sense it is. But the
          ction is the whole foundation of English company and insolvency law. As
          Robert Go› LJ once observed, in this domain we are concerned not with
          economics but with law. The distinction between the two is, in law,
          fundamental: Bank of Tokyo Ltd v Karoon (Note) [1987] AC 45, 64. He
                                                                                             H
          could justly have added that it is not just legally but economically
          fundamental, since limited companies have been the principal unit of
          commercial life for more than a century. Their separate personality and
          property are the basis on which third parties are entitled to deal with them
          and commonly do deal with them.

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.160
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 144 of 421 PageID 18
                                                                                        477
           [2013] 2 AC                                                Prest v Prest (SC(E))
                                                                                    (SC(E))
                                                                      Lord Sumption JSC

       A      9 Against this background, there are three possible legal bases on which
           the assets of the Petrodel companies might be available to satisfy the lump
           sum order against the husband: (1) It might be said that this is a case in
           which, exceptionally, a court is at liberty to disregard the corporate veil in
           order to give e›ective relief. (2) Section 24 of the Matrimonial Causes Act
           might be regarded as conferring a distinct power to disregard the corporate
       B
           veil in matrimonial cases. (3) The companies might be regarded as holding
           the properties on trust for the husband, not by virtue of his status as their
           sole shareholder and controller, but in the particular circumstances of this
           case.

           The judges ndings: the companies
               10 Most of the judges ndings of fact were directed to two questions
       C
           which are no longer in dispute, namely whether the husband owned the
           Petrodel Group and what was the value of his assets. For present purposes, it
           is enough to summarise those which bear on the position of the three
           corporate respondents.
               11 At the time of the marriage, and throughout the 1990s, the husband
           was employed by a succession of major international oil trading companies
       D   as a trader, but in 2001 he left his last employer, Marc Rich, and began to
           run his own companies. Initially, there were two principal companies
           involved, Aurora and the Petrodel companies. In 2004 Aurora was wound
           up and thereafter he operated mainly through the Petrodel companies. The
           principal operating company of this group was PRL, a company
           incorporated in the Isle of Man. Its nancial statements record that it was
       E
           incorporated on 4 May 1993, was dormant until 1996, and did not begin
           operations until 25 April 2002, i e after the husband had left Marc Rich and
           set up on his own. Between 1996 and 2002, it is described in its nancial
           statements as a property investment company. Its sole function in that
           period appears to have been to hold title to the matrimonial home at
           16, Warwick Avenue in London and ve residential investment properties in
           London, and to act as a channel for funding property purchases by other
       F   companies of the group. The husbands evidence was that the company had
           engaged in substantial agricultural and oil related business in the 1990s, in
           part in association with his then employer, Marc Rich. But this was
           inconsistent with the companys nancial statements, and the judge rejected
           it. Mr Le Breton, a former business colleague of the husband, gave evidence
           at the hearing which the judge accepted as reliable. Mr Le Breton said that
       G   from about 2001 PRL was engaged in a limited way in oil trading and
           shipping, and from 2006 moved into oil exploration and production in
           Nigeria and West Africa. The latest disclosed accounts of PRL are draft
           accounts for 2008 and 2009. The judge (para 147) declined to attach any
           signicant weight to the nancial data in the 2008 accounts, which he
           considered to have been manipulated. All the disclosed accounts are now
           very much out of date. For what they are worth, the accounts for both years
       H
           show a substantial turnover and large balances. The husbands evidence was
           that PRL ceased trading in 2010, when it lost its major exploration contract.
           Given his evident determination to frustrate his wifes claims on him, it
           cannot be assumed that the assets of the company recorded in the disclosed
           accounts are still there.

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                          APP.161
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 145 of 421 PageID 18
          478
          Prest v Prest (SC(E))
                        (SC(E))                                                [2013] 2 AC
          Lord Sumption JSC

             12 Management control of PRL has always been in the hands of the                A
          husband, ostensibly as chief executive under a contract of employment
          conferring on him complete discretion in the management of its business.
          The judge found that none of the companies had ever had any independent
          directors. The husband is a director of PRL Nigeria, but otherwise the
          directors are all nominal or professional directors, generally his relatives,
          who accept directions from him. The directors of PRL are Mr Murphy (the
                                                                                             B
          principal of its corporate secretary) and a lady in Nevis who appears to have
          been the couples cleaner there.
             13 The ownership of the respondent companies proved to be more
          di–cult to establish. The husband did not admit to having any personal
          interest in the shares of any company of the group, and declined to say who
          the ultimate shareholders were. Substantially all of the issued shares of PRL
          are owned by PRL Nigeria. Almost all the shares of that company are                C
          owned by PRL Nevis, a company about which very little is known, but
          whose accounts show substantial balances, apparently derived from trading.
          The husbands evidence was that the shares of PRL Nevis were owned by its
          own subsidiary PRL Nigeria. The judge described this as puzzling
          (para 55) but made no nding as to whether it was true. More recently, it
          has been suggested that PRL Nevis is owned by a family trust about which,
          however, nothing has been disclosed. In the end, it did not matter, because        D
          the judge cut through the complexities of the corporate structure by
          accepting the evidence of the wife and Mr Le Breton that the husband was
          the true owner of the Petrodel Group, as he had always told them he was,
          even if the exact means by which he held it remained obscure. That
          accounted for PRL, PRL Nigeria and PRL Nevis.
             14 It also accounted for Vermont, whose shares are held 49% by PRL              E
          and 51% by PRL Nigeria, and Upstream, which had a single issued share
          held by PRL Nevis. Vermont was and possibly still is a trading company.
          The husbands evidence was that it began to ship crude oil in 2010. The
          exact nature of Upstreams business (if any) is unclear. It does not appear to
          trade.
             15 The husband declined to answer the question whether he received
          any benets from PRL other than his salary, saying that this was an                F
          accounting question. The judge, however, made extensive ndings about
          this. He found that his personal expenditure substantially exceeded his
          salary and bonuses as chief executive, and that the di›erence was funded
          entirely by the company. There was no formality involved. The husband
          simply treated the companies cash balances and property as his own and
          drew on them as he saw t. The judge found that the husband had                    G
          unrestricted access to the companies assets, unconned by any board
          control or by any scruples about the legality of his drawings: para 208. He
          used PRLs assets to fund his and his familys personal expenditure,
          including the substantial legal costs incurred in these proceedings. The
          group was e›ectively . . . the husbands money box which he uses at will:
          para 218.
                                                                                             H
          Piercing the corporate veil
             16 I should rst of all draw attention to the limited sense in which this
          issue arises at all. Piercing the corporate veil is an expression rather
          indiscriminately used to describe a number of di›erent things. Properly


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.162
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 146 of 421 PageID 18
                                                                                         479
           [2013] 2 AC                                                   Prest v Prest (SC(E))
                                                                                       (SC(E))
                                                                         Lord Sumption JSC

       A   speaking, it means disregarding the separate personality of the company.
           There is a range of situations in which the law attributes the acts or property
           of a company to those who control it, without disregarding its separate legal
           personality. The controller may be personally liable, generally in addition to
           the company, for something that he has done as its agent or as a joint actor.
           Property legally vested in a company may belong benecially to the
           controller, if the arrangements in relation to the property are such as to make
       B
           the company its controllers nominee or trustee for that purpose. For specic
           statutory purposes, a companys legal responsibility may be engaged by the
           acts or business of an associated company. Examples are the provisions of
           the Companies Acts governing group accounts or the rules governing
           infringements of competition law by rms, which may include groups of
           companies conducting the relevant business as an economic unit. Equitable
       C   remedies, such as an injunction or specic performance may be available to
           compel the controller whose personal legal responsibility is engaged to
           exercise his control in a particular way. But when we speak of piercing the
           corporate veil, we are not (or should not be) speaking of any of these
           situations, but only of those cases which are true exceptions to the rule in
           Salomon v A Salomon & Co Ltd [1897] AC 22, i e where a person who owns
           and controls a company is said in certain circumstances to be identied with
       D
           it in law by virtue of that ownership and control.
               17 Most advanced legal systems recognise corporate legal personality
           while acknowledging some limits to its logical implications. In civil law
           jurisdictions, the juridical basis of the exceptions is generally the concept of
           abuse of rights, to which the International Court of Justice was referring in
           Case concerning Barcelona Traction, Light and Power Co Ltd (Belgium v
       E   Spain) (Second Phase) [1970] ICJ Rep 3 when it derived from municipal law
           a limited principle permitting the piercing of the corporate veil in cases of
           misuse, fraud, malfeasance or evasion of legal obligations. These examples
           illustrate the breadth, at least as a matter of legal theory, of the concept of
           abuse of rights, which extends not just to the illegal and improper invocation
           of a right but to its use for some purpose collateral to that for which it exists.
               18 English law has no general doctrine of this kind. But it has a variety
       F
           of specic principles which achieve the same result in some cases. One of
           these principles is that the law denes the incidents of most legal
           relationships between persons (natural or articial) on the fundamental
           assumption that their dealings are honest. The same legal incidents will not
           necessarily apply if they are not. The principle was stated in its most
           absolute form by Denning LJ in a famous dictum in Lazarus Estates Ltd v
       G   Beasley [1956] 1 QB 702, 712:
                 No court in this land will allow a person to keep an advantage which
              he has obtained by fraud. No judgment of a court, no order of a Minister,
              can be allowed to stand if it has been obtained by fraud. Fraud unravels
              everything. The court is careful not to nd fraud unless it is distinctly
              pleaded and proved; but once it is proved, it vitiates judgments, contracts
       H      and all transactions whatsoever . . .
           The principle is mainly familiar in the context of contracts and other
           consensual arrangements, in which the e›ect of fraud is to vitiate consent so
           that the transaction becomes voidable ab initio. But it has been applied
           altogether more generally, in cases which can be rationalised only on


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.163
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 147 of 421 PageID 18
          480
          Prest v Prest (SC(E))
                        (SC(E))                                                [2013] 2 AC
          Lord Sumption JSC

          grounds of public policy, for example to justify setting aside a public act such   A
          as a judgment, which is in no sense consensual, a jurisdiction which has
          existed since at least 1775: Duchess of Kingstons Case (1776) 2 Smiths LC
          (13th ed) 644, 646, 651. Or to abrogate a right derived from a legal status,
          such as marriage: R v Secretary of State for the Home Department,
          Ex p Puttick [1981] QB 767. Or to disapply a statutory time bar which on
          the face of the statute applies: Welwyn Hateld Borough Council v Secretary        B
          of State for Communities and Local Government [2011] 2 AC 304. These
          decisions (and there are others) illustrate a broader principle governing cases
          in which the benet of some apparently absolute legal principle has been
          obtained by dishonesty. The authorities show that there are limited
          circumstances in which the law treats the use of a company as a means of
          evading the law as dishonest for this purpose.
              19 The question is heavily burdened by authority, much of it                   C
          characterised by incautious dicta and inadequate reasoning. I propose, rst,
          to examine those cases which seek to rationalise the case law in terms of
          general principle, and then to look at a number of cases in which the court
          has been thought, rightly or wrongly, to have pierced the corporate veil in
          order to identify the critical features of these cases which enabled them to do
          so.                                                                                D
              20 Almost all the modern analyses of the general principle have taken as
          their starting point the brief and obiter but inuential statement of Lord
          Keith of Kinkel in Woolfson v Strathclyde Regional Council 1978 SC
          (HL) 90. This was an appeal from Scotland in which the House of Lords
          declined to allow the principal shareholder of a company to recover
          compensation for the compulsory purchase of a property which the
          company occupied. The case was decided on its facts, but at p 96, Lord             E
          Keith, delivering the leading speech, observed that it is appropriate to
          pierce the corporate veil only where special circumstances exist indicating
          that it is a mere facade concealing the true facts.
              21 The rst systematic analysis of the large and disparate body of
          English case law was undertaken by a strong Court of Appeal in Adams v
          Cape Industries plc [1990] Ch 433 (Slade, Mustill and Ralph Gibson LJJ).           F
          The question at issue in that case was whether the United Kingdom parent of
          an international mining group which was, at least arguably, managed as a
          single economic unit was present in the United States for the purpose of
          making a default judgment of a United States court enforceable against it in
          England. Among other arguments, it was suggested that it was present in the
          United States by virtue of the fact that a wholly owned subsidiary was
          incorporated and carried on business there. Slade LJ, delivering the               G
          judgment of the court, rejected this contention: pp 532—544. The court,
          adopting Lord Keiths dictum in Woolfson v Strathclyde, held that the
          corporate veil could be disregarded only in cases where it was being used for
          a deliberately dishonest purpose: pp 539, 540. Apart from that, and from
          cases turning on the wording of particular statutes, it held at p 536 that:
                                                                                             H
                the court is not free to disregard the principle of Salomon v
             A Salomon & Co Ltd [1897] AC 22 merely because it considers that
             justice so requires. Our law, for better or worse, recognises the creation
             of subsidiary companies, which though in one sense the creatures of their
             parent companies, will nevertheless under the general law fall to be

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.164
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 148 of 421 PageID 18
                                                                                        481
           [2013] 2 AC                                                 Prest v Prest (SC(E))
                                                                                     (SC(E))
                                                                       Lord Sumption JSC

       A     treated as separate legal entities with all the rights and liabilities which
             would normally attach to separate legal entities.
               22 In Trustor AB v Smallbone (No 2) [2001] 1 WLR 1177, Sir Andrew
           Morritt V-C reviewed many of the same authorities. Mr Smallbone, the
           former managing director of Trustor, had improperly procured large
           amounts of its money to be paid out of its account to a company called
       B   Introcom Ltd, incorporated in Gibraltar. Introcom was owned and
           controlled by a Liechtenstein trust of which Mr Smallbone was a beneciary.
           Its directors acted on his instructions. At an earlier stage of the litigation,
           Trustor had obtained summary judgment on some of its claims against
           Introcom, on the footing that the payments were unauthorised and a breach
           of Mr Smallbones duty as managing director, that the company was simply
       C
           a vehicle Mr Smallbone used for receiving money from Trustor, and that his
           knowledge could be imputed to the company. The Vice-Chancellor was
           dealing with a subsequent application by Trustor for summary judgment
           against Mr Smallbone himself. It was accepted that there was an arguable
           defence to the claims against him for damages or compensation for breach of
           his duties as a director of Trustor. Accordingly the sole basis of the
           application was that he was liable to account as a constructive trustee on the
       D   footing of knowing receipt. This depended on the proposition that he was to
           be identied with Introcom and so treated as having received the money
           himself. It was submitted that the authorities justied piercing the corporate
           veil in three, possibly overlapping, cases: (i) where the company was a
           facade or sham; (ii) where the company was involved in some form of
           impropriety; and (iii) where it was necessary to do so in the interests of
       E   justice. In each of these cases, the right of the court to pierce the corporate
           veil was said to be subject to there being no third party interests engaged,
           such as unconnected minority shareholders or creditors. Sir Andrew
           Morritt V-C concluded that the authorities supported the submission in
           case (i), and also in case (ii) provided that the impropriety was a relevant
           one, i e linked to the use of the company structure to avoid or conceal
           liability for that impropriety: para 22. He followed Adams v Cape
       F   Industries plc in rejecting the submission as applied to case (iii). In
           summary, the court was entitled to pierce the corporate veil and recognise
           the receipt of the company as that of the individual(s) in control of it if the
           company was used as a device or facade to conceal the true facts, thereby
           avoiding or concealing any liability of those individual(s): see para 23.
               23 For years after it was decided, Adams v Cape Industries plc was
       G   regarded as having settled the general law on the subject. But for much of
           this period, the Family Division pursued an independent line, essentially for
           reasons of policy arising from its concern to make e›ective its statutory
           jurisdiction to distribute the property of the marriage on a divorce. In
           Nicholas v Nicholas [1984] FLR 285, the Court of Appeal (Cumming-Bruce
           and Dillon LJJ) overturned the decision of the judge to order the husband to
           procure the transfer to the wife of a property belonging to a company in
       H
           which he held a 71% shareholding, the other 29% being held by his business
           associates. However, both members of the court suggested, obiter, that the
           result might have been di›erent had it not been for the position of the
           minority shareholders. Cumming-Bruce LJ, at p 287, thought that, in that
           situation, the court does and will pierce the corporate veil and make an

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.165
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 149 of 421 PageID 18
          482
          Prest v Prest (SC(E))
                        (SC(E))                                                 [2013] 2 AC
          Lord Sumption JSC

          order which has the same e›ect as an order that would be made if the                 A
          property was vested in the majority shareholder. Dillon LJ said, at p 292,
          that If the company was [a] one-man company and the alter ego of the
          husband, I would have no di–culty in holding that there was power to order
          a transfer of the property. These dicta were subsequently applied by judges
          of the Family Division dealing with claims for ancillary nancial relief, who
          regularly made orders awarding to parties to the marriage assets vested in
                                                                                               B
          companies of which one of them was the sole shareholder. Connell J made
          such an order in Green v Green [1993] 1 FLR 326. In Mubarak v Mubarak
          [2001] 1 FLR 673, 682C, Bodey J held that for the purpose of claims to
          ancillary nancial relief the Family Division would lift the corporate veil not
          only where the company was a sham but when it is just and necessary, the
          very proposition that the Court of Appeal had rejected as a statement of the
          general law in Adams v Cape Industries plc [1990] Ch 433. And in Kremen              C
          v Agrest (No 2) [2011] 2 FLR 490, para 46, Mostyn J held that there was a
          strong practical reason why the cloak should be penetrable even absent a
          nding of wrongdoing.
              24 There were of course dissenting voices, even in decisions on ancillary
          relief. Much the most signicant of them for present purposes was that of
          Munby J. In A v A [2007] 2 FLR 467, paras 18—19, he drew attention to the
                                                                                               D
          robust approach which had always been adopted by judges of the Family
          Division in seeing through sham arrangements designed to hide the
          ownership of assets of the marriage by vesting them in relatives or
          companies which were in reality holding them as their nominees. But he
          warned against departing from fundamental legal principle. He observed, at
          para 21:
                                                                                               E
                 In this sense, and to this limited extent, the typical case in the Family
             Division may di›er from the typical case in (say) the Chancery Division.
             But what it is important to appreciate (and too often, I fear, is not
             appreciated at least in this division) is that the relevant legal principles
             which have to be applied are precisely the same in this division as in the
             other two divisions. There is not one law of sham in the Chancery
             Division and another law of sham in the Family Division. There is only          F
             one law of sham, to be applied equally in all three divisions of the High
             Court, just as there is but one set of principles, again equally applicable in
             all three divisions, determining whether or not it is appropriate to pierce
             the corporate veil. 
             25 In Ben Hashem v Al Shayif [2009] 1 FLR 115, another decision of
          Munby J, the di›erence between the approach taken in the Family Division             G
          and in other divisions of the High Court arose in a particularly acute form,
          because he was hearing the claim for ancillary relief in conjunction with
          proceedings in the Chancery Division. In the Family Division, the wife was
          seeking an order transferring to her a property which she was occupying but
          which was owned by a company controlled by the husband, while in the
          Chancery proceedings the company was seeking a possession order in
                                                                                               H
          respect of the same property. After reminding himself of what he had said in
          A v A and conducting a careful review of both family and non-family cases,
          Munby J formulated six principles at paras 159—164 which he considered
          could be derived from them: (i) ownership and control of a company were
          not enough to justify piercing the corporate veil; (ii) the court cannot pierce


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.166
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 150 of 421 PageID 18
                                                                                        483
           [2013] 2 AC                                                  Prest v Prest (SC(E))
                                                                                      (SC(E))
                                                                        Lord Sumption JSC

       A   the corporate veil, even in the absence of third party interests in the
           company, merely because it is thought to be necessary in the interests of
           justice; (iii) the corporate veil can be pierced only if there is some
           impropriety; (iv) the impropriety in question must, as Sir Andrew
           Morritt V-C had said in the Trustor case [2001] 1 WLR 1177, be linked to
           the use of the company structure to avoid or conceal liability; (v) to justify
       B
           piercing the corporate veil, there must be both control of the company by
           the wrongdoer(s) and impropriety, that is (mis)use of the company by them
           as a device or facade to conceal their wrongdoing; and (vi) the company
           may be a facade even though it was not originally incorporated with any
           deceptive intent, provided that it is being used for the purpose of deception
           at the time of the relevant transactions. The court would, however, pierce
           the corporate veil only so far as it was necessary in order to provide a remedy
       C   for the particular wrong which those controlling the company had done.
              26 In VTB Capital plc v Nutritek International Corpn [2012] 2 Lloyds
           Rep 313, VTB Capital sought permission to serve proceedings out of the
           jurisdiction on the footing that the borrower under a facility agreement was
           to be identied with the persons who controlled it, so as to make the latter in
           law parties to the same agreement. The attempt failed in the Court of
       D   Appeal because the court was not satised that that would be the
           consequence of piercing the corporate veil even if it were legitimate to do so:
           see paras 90—91. The decision is not, therefore, direct authority on the
           question whether the court was entitled to pierce the corporate veil. But the
           court considered all the principal authorities on that question and arrived at
           substantially the same conclusions as Sir Andrew Morritt V-C and Munby J.
           Munby Js statement of principle was adopted by the Court of Appeal
       E
           subject to two qualications. First, they said that it was not necessary in
           order to pierce the corporate veil that there should be no other remedy
           available against the wrongdoer, and so far as Munby J suggested that it
           was, he had set the bar too high. Secondly, they said that it was not enough
           to show that there had been wrongdoing.

       F
                The relevant wrongdoing must be in the nature of an independent
             wrong that involves the fraudulent or dishonest misuse of the corporate
             personality of the company for the purpose of concealing the true facts:
             see paras 79—80.
           On this point, the case took the same course in the Supreme Court [2013]
           2 AC 337, which dismissed VTB Capitals appeal. So far as piercing the
       G   corporate veil is concerned, the courts reasons were given by Lord
           Neuberger of Abbotsbury PSC. He noted the broad consensus among judges
           and textbook writers that there were circumstances in which separate legal
           personality of a company might be disregarded and the company identied
           with those who owned and controlled it. However, he declined to decide
           whether the consensus was right on an appeal from an interlocutory
           decision, given that, like the Court of Appeal, he considered that even if the
       H   veil were pierced the result would not be to make a companys controllers
           party to its contracts with third parties. But he adopted, as it seems to me,
           both the general reasoning of the Court of Appeal and the view of Munby J
           that any doctrine permitting the court to pierce the corporate veil must be
           limited to cases where there was a relevant impropriety: see paras 128, 145.

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.167
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 151 of 421 PageID 18
          484
          Prest v Prest (SC(E))
                        (SC(E))                                                [2013] 2 AC
          Lord Sumption JSC

              27 In my view, the principle that the court may be justied in piercing         A
          the corporate veil if a companys separate legal personality is being abused
          for the purpose of some relevant wrongdoing is well established in the
          authorities. It is true that most of the statements of principle in the
          authorities are obiter, because the corporate veil was not pierced. It is also
          true that most cases in which the corporate veil was pierced could have been
          decided on other grounds. But the consensus that there are circumstances in
                                                                                              B
          which the court may pierce the corporate veil is impressive. I would not for
          my part be willing to explain that consensus out of existence. This is because
          I think that the recognition of a limited power to pierce the corporate veil in
          carefully dened circumstances is necessary if the law is not to be disarmed
          in the face of abuse. I also think that provided the limits are recognised and
          respected, it is consistent with the general approach of English law to the
          problems raised by the use of legal concepts to defeat mandatory rules of           C
          law.
              28 The di–culty is to identify what is a relevant wrongdoing.
          References to a facade or sham beg too many questions to provide a
          satisfactory answer. It seems to me that two distinct principles lie behind
          these protean terms, and that much confusion has been caused by failing to
          distinguish between them. They can conveniently be called the concealment
                                                                                              D
          principle and the evasion principle. The concealment principle is legally
          banal and does not involve piercing the corporate veil at all. It is that the
          interposition of a company or perhaps several companies so as to conceal the
          identity of the real actors will not deter the courts from identifying them,
          assuming that their identity is legally relevant. In these cases the court is not
          disregarding the facade, but only looking behind it to discover the facts
          which the corporate structure is concealing. The evasion principle is               E
          di›erent. It is that the court may disregard the corporate veil if there is a
          legal right against the person in control of it which exists independently of
          the companys involvement, and a company is interposed so that the
          separate legal personality of the company will defeat the right or frustrate its
          enforcement. Many cases will fall into both categories, but in some
          circumstances the di›erence between them may be critical. This may be
                                                                                              F
          illustrated by reference to those cases in which the court has been thought,
          rightly or wrongly, to have pierced the corporate veil.
              29 The rst and most famous of them is Gilford Motor Co Ltd v Horne
          [1933] Ch 935. Mr E B Horne had been the managing director of the
          Gilford Motor Co. His contract of employment precluded him being
          engaged in any competing business in a specied geographical area for ve
          years after the end of his employment either solely or jointly with or as         G
          agent for any other person, rm or company. He left Gilford and carried on
          a competing business in the specied area, initially in his own name. He then
          formed a company, JM Horne & Co Ltd, named after his wife, in which she
          and a business associate were shareholders. The trial judge, Farwell J, found
          that the company had been set up in this way to enable the business to be
          carried on under his own control but without incurring liability for breach of
                                                                                              H
          the covenant. However the reality, in his view, was that the company was
          being used as the channel through which the defendant Horne was carrying
          on his business: p 943. In fact, he dismissed the claim on the ground that
          the restrictive covenant was void. But the Court of Appeal allowed the
          appeal on that point and granted an injunction against both Mr Horne and


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.168
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 152 of 421 PageID 18
                                                                                        485
           [2013] 2 AC                                                Prest v Prest (SC(E))
                                                                                    (SC(E))
                                                                      Lord Sumption JSC

       A   the company. As against Mr Horne, the injunction was granted on the
           concealment principle. Lord Hanworth MR said, at pp 961—962, that the
           company was a mere cloak or sham because the business was really being
           carried on by Mr Horne. Because the restrictive covenant prevented
           Mr Horne from competing with his former employers whether as principal
           or as agent for another, it did not matter whether the business belonged to
           him or to JM Horne & Co Ltd provided that he was carrying it on. The only
       B
           relevance of the interposition of the company was to maintain the pretence
           that it was being carried on by others. Lord Hanworth MR did not explain
           why the injunction should issue against the company, but I think it is clear
           from the judgments of Lawrence and Romer LJJ, at pp 962 and 966, that
           they were applying the evasion principle. Lawrence LJ, who gave the fullest
           consideration to the point, based his view entirely on Mr Hornes evasive
       C   motive for forming the company. This showed that it was
                a mere channel used by the defendant Horne for the purpose of
             enabling him, for his own benet, to obtain the advantage of the
             customers of the plainti› company, and that therefore the defendant
             company ought to be restrained as well as the defendant Horne.
           In other words, the company was restrained in order to ensure that Horne
       D
           was deprived of the benet which he might otherwise have derived from the
           separate legal personality of the company. I agree with the view expressed
           by the Court of Appeal in VTB Capital v Nutritek [2012] 2 Lloyds Rep 313,
           para 63, that this is properly to be regarded as a decision to pierce the
           corporate veil. It is fair to say that the point may have been conceded by
           counsel, although in rather guarded terms (if the evidence admitted of the
       E   conclusion that what was being done was a mere cloak or sham). It is also
           true that the court in Gilford Motor Co Ltd v Horne [1933] Ch 935 might
           have justied the injunction against the company on the ground that
           Mr Hornes knowledge was to be imputed to the company so as to make the
           latters conduct unconscionable or tortious, thereby justifying the grant of
           an equitable remedy against it. But the case is authority for what it decided,
           not for what it might have decided, and in my view the principle which the
       F
           Court of Appeal applied was correct. It does not follow that JM Horne &
           Co Ltd was to be identied with Mr Horne for any other purpose.
           Mr Hornes personal creditors would not, for example, have been entitled
           simply by virtue of the facts found by Farwell J, to enforce their claims
           against the assets of the company.
              30 Jones v Lipman [1962] 1 WLR 832 was a case of very much the same
       G   kind. The facts were that Mr Lipman sold a property to the plainti›s for
           £5,250 and then, thinking better of the deal, sold it to a company called
           Alamed Ltd for £3,000, in order to make it impossible for the plainti›s to get
           specic performance. The judge, Russell J, found that company was wholly
           owned and controlled by Mr Lipman, who had bought it o› the shelf and
           had procured the property to be conveyed to it solely for the purpose of
           defeating the plainti›s rights to specic performance. About half of the
       H
           purchase price payable by Alamed was funded by borrowing from a bank,
           and the rest was left outstanding. The judge decreed specic performance
           against both Mr Lipman and Alamed Ltd. As against Mr Lipman this was
           done on the concealment principle. Because Mr Lipman owned and
           controlled Alamed Ltd, he was in a position specically to perform his


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                          APP.169
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 153 of 421 PageID 18
          486
          Prest v Prest (SC(E))
                        (SC(E))                                                [2013] 2 AC
          Lord Sumption JSC

          obligation to the plainti›s by exercising his powers over the company. This        A
          did not involve piercing the corporate veil, but only identifying Mr Lipman
          as the man in control of the company. The company, said Russell J
          portentously at p 836, was a device and a sham, a mask which [Mr Lipman]
          holds before his face in an attempt to avoid recognition by the eye of equity.
          On the other hand, as against Alamed Ltd itself, the decision was justied on
          the evasion principle, by reference to the Court of Appeals decision in           B
          Gilford Motor Co Ltd v Horne. The judge must have thought that in the
          circumstances the company should be treated as having the same obligation
          to convey the property to the plainti› as Mr Lipman had, even though it was
          not party to the contract of sale. It should be noted that he decreed specic
          performance against the company notwithstanding that as a result of the
          transaction, the companys main creditor, namely the bank, was prejudiced
          by its loss of what appears from the report to have been its sole asset apart      C
          from a possible personal claim against Mr Lipman which he may or may not
          have been in a position to meet. This may be thought hard on the bank, but
          it is no harder than a nding that the company was not the benecial owner
          at all. The bank could have protected itself by taking a charge or registering
          the contract of sale.
              31 In Gencor ACP Ltd v Dalby [2000] 2 BCLC 734, the plainti› made a            D
          large number of claims against a former director, Mr Dalby, for
          misappropriating its funds. For present purposes the claim which matters is
          a claim for an account of a secret prot which Mr Dalby procured to be paid
          by a third party, Balfour Beatty, to a British Virgin Island company under his
          control called Burnstead. Rimer J held, at para 26, that Mr Dalby was
          accountable for the money received by Burnstead, on the ground that the
                                                                                             E
          latter was in substance little other than Mr Dalbys o›shore bank account
          held in a nominee name, and simply . . . the alter ego through which
          Mr Dalby enjoyed the prot which he earned in breach of his duciary duty
          to ACP. Rimer J ordered an account against both Mr Dalby and Burnstead.
          He considered that he was piercing the corporate veil. But I do not think
          that he was. His ndings about Mr Dalbys relationship with the company
          and his analysis of the legal consequences show that both Mr Dalby and             F
          Burnstead were independently liable to account to ACP, even on the footing
          that they were distinct legal persons. If, as the judge held, Burnstead was
          Mr Dalbys nominee for the purpose of receiving and holding the secret
          prot, it followed that Burnstead had no right to the money as against
          Mr Dalby, who had in law received it through Burnstead and could properly
          be required to account for it to ACP. Burnstead itself was liable to account to    G
          ACP because, as the judge went on to point out, Mr Dalbys knowledge of
          the prior equitable interest of ACP was to be imputed to it. As Rimer J
          observed, The introduction into the story of such a creature company is . . .
          insu–cient to prevent equitys eye from identifying it with Mr Dalby. This
          is in reality the concealment principle. The correct analysis of the situation
          was that the court refused to be deterred by the legal personality of the
          company from nding the true facts about its legal relationship with               H
          Mr Dalby. It held that the nature of their dealings gave rise to ordinary
          equitable claims against both. The result would have been exactly the same
          if Burnstead, instead of being a company, had been a natural person, say
          Mr Dalbys uncle, about whose separate existence there could be no doubt.

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.170
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                        Page 154 of 421 PageID 18
                                                                                           487
           [2013] 2 AC                                                     Prest v Prest (SC(E))
                                                                                         (SC(E))
                                                                           Lord Sumption JSC

       A       32 The same confusion of concepts is, with respect, apparent in Sir
           Andrew Morritt V-Cs analysis in Trustor AB v Smallbone (No 2) [2001]
           1 WLR 1177, which I have already considered. The Vice-Chancellors
           statement of principle at para 23 that the court was entitled to pierce the
           corporate veil if the company was used as a device or facade to conceal the
           true facts thereby avoiding or concealing any liability of those individual(s)
           elides the quite di›erent concepts of concealment and avoidance. As I read
       B
           his reasons for giving judgment against Mr Smallbone, at paras 24—25, he
           did so on the concealment principle. It had been found at the earlier stage of
           the litigation that Introcom was simply a vehicle Mr Smallbone used for
           receiving money from Trustor, and that the company was a device or
           facade for concealing that fact. On that footing, the company received the
           money on Mr Smallbones behalf. This conclusion did not involve piercing
       C   the corporate veil, and did not depend on any nding of impropriety. It was
           simply an application of the principle summarised by the Sir Andrew
           Morritt V-C at para 19 of his judgment, that receipt by a company will count
           as receipt by the shareholder if the company received it as his agent or
           nominee, but not if it received it in its own right. To decide that question, it
           was necessary to establish the facts which demonstrated the true legal
           relationship between Mr Smallbone and Introcom. Mr Smallbones
       D
           ownership and control of Introcom was only one of those facts, not in itself
           conclusive. Other factors included the circumstances and the source of the
           receipt, and the nature of the companys other transactions if any.
               33 In the Trustor case, as in the Gencor case, the analysis would have
           been the same if Introcom had been a natural person instead of a company.
           The evasion principle was not engaged, and indeed could not have been
       E   engaged on the facts of either case. This is because neither Mr Dalby nor
           Mr Smallbone had used the companys separate legal personality to evade a
           liability that they would otherwise have had. They were liable to account
           only if the true facts were that the company had received the money as their
           agent or nominee. That was proved in both cases. If it had not been, there
           would have been no receipt, knowing or otherwise, and therefore no claim
           to be evaded. The situation was not the same as it had been in Gilford Motor
       F
           Co v Horne [1933] Ch 935 and Jones v Lipman [1962] 1 WLR 832, for in
           these cases the real actors, Mr Horne and Mr Lipman, had a liability which
           arose independently of the involvement of the company.
               34 These considerations reect the broader principle that the corporate
           veil may be pierced only to prevent the abuse of corporate legal personality.
           It may be an abuse of the separate legal personality of a company to use it to
       G   evade the law or to frustrate its enforcement. It is not an abuse to cause a
           legal liability to be incurred by the company in the rst place. It is not an
           abuse to rely on the fact (if it is a fact) that a liability is not the controllers
           because it is the companys. On the contrary, that is what incorporation is
           all about. Thus in a case like VTB Capital v Nutritek [2012] 2 Lloyds Rep
           313; [2013] 2 AC 337, where the argument was that the corporate veil
           should be pierced so as to make the controllers of a company jointly and
       H
           severally liable on the companys contract, the fundamental objection to the
           argument was that the principle was being invoked so as to create a new
           liability that would not otherwise exist. The objection to that argument is
           obvious in the case of a consensual liability under a contract, where the
           ostensible contracting parties never intended that any one else should be


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                               APP.171
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 155 of 421 PageID 18
          488
          Prest v Prest (SC(E))
                        (SC(E))                                                 [2013] 2 AC
          Lord Sumption JSC

          party to it. But the objection would have been just as strong if the liability in    A
          question had not been consensual.
             35 I conclude that there is a limited principle of English law which
          applies when a person is under an existing legal obligation or liability or
          subject to an existing legal restriction which he deliberately evades or whose
          enforcement he deliberately frustrates by interposing a company under his
          control. The court may then pierce the corporate veil for the purpose, and
                                                                                               B
          only for the purpose, of depriving the company or its controller of the
          advantage that they would otherwise have obtained by the companys
          separate legal personality. The principle is properly described as a limited
          one, because in almost every case where the test is satised, the facts will in
          practice disclose a legal relationship between the company and its controller
          which will make it unnecessary to pierce the corporate veil. Like Munby J in
          Ben Hashem v Al Shayif [2009] 1 FLR 115, I consider that if it is not necessary      C
          to pierce the corporate veil, it is not appropriate to do so, because on that
          footing there is no public policy imperative which justies that course.
          I therefore disagree with the Court of Appeal in VTB Capital v Nutritek
          [2012] 2 Lloyds Rep 313 who suggested otherwise at para 79. For all of these
          reasons, the principle has been recognised far more often than it has been
          applied. But the recognition of a small residual category of cases where the
          abuse of the corporate veil to evade or frustrate the law can be addressed only      D
          by disregarding the legal personality of the company is, I believe, consistent
          with authority and with long-standing principles of legal policy.
             36 In the present case, Moylan J held that he could not pierce the
          corporate veil under the general law without some relevant impropriety, and
          declined to nd that there was any. In my view he was right about this. The
          husband has acted improperly in many ways. In the rst place, he has                 E
          misapplied the assets of his companies for his own benet, but in doing that he
          was neither concealing nor evading any legal obligation owed to his wife.
          Nor, more generally, was he concealing or evading the law relating to the
          distribution of assets of a marriage on its dissolution. It cannot follow that
          the court should disregard the legal personality of the companies with the
          same insouciance as he did. Secondly, the husband has made use of the
          opacity of the Petrodel Groups corporate structure to deny being its owner.         F
          But that, as the judge pointed out, at para 219, is simply [the] husband giving
          false evidence. It may engage what I have called the concealment principle,
          but that simply means that the court must ascertain the truth that he has
          concealed, as it has done. The problem in the present case is that the legal
          interest in the properties is vested in the companies and not in the husband.
          They were vested in the companies long before the marriage broke up.                 G
          Whatever the husbands reasons for organising things in that way, there is no
          evidence that he was seeking to avoid any obligation which is relevant in these
          proceedings. The judge found that his purpose was wealth protection and
          the avoidance of tax: para 218. It follows that the piercing of the corporate
          veil cannot be justied in this case by reference to any general principle of law.

          Section 24(1)(a) of the Matrimonial Causes Act 1973                                  H
             37 If there is no justication as a matter of general legal principle for
          piercing the corporate veil, I nd it impossible to say that a special and wider
          principle applies in matrimonial proceedings by virtue of section 24(1)(a) of
          the Matrimonial Causes Act 1973. The language of this provision is clear. It


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.172
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 156 of 421 PageID 18
                                                                                        489
           [2013] 2 AC                                                  Prest v Prest (SC(E))
                                                                                      (SC(E))
                                                                        Lord Sumption JSC

       A   empowers the court to order one party to the marriage to transfer to the
           other property to which the rst-mentioned party is entitled, either in
           possession or reversion. An entitlement is a legal right in respect of the
           property in question. The words in possession or reversion show that the
           right in question is a proprietary right, legal or equitable. This section is
           invoking concepts with an established legal meaning and recognised legal
           incidents under the general law. Courts exercising family jurisdiction do not
       B
           occupy a desert island in which general legal concepts are suspended or
           mean something di›erent. If a right of property exists, it exists in every
           division of the High Court and in every jurisdiction of the county courts. If it
           does not exist, it does not exist anywhere. It is right to add that even where
           courts exercising family jurisdiction have claimed a wider jurisdiction to
           pierce the corporate veil than would be recognised under the general law,
       C   they have not usually suggested that this can be founded on section 24 of the
           Matrimonial Causes Act 1973. On the contrary, in Nicholas v Nicholas
           [1984] FLR 285, 288, Cumming-Bruce LJ said that it could not.
               38 This analysis is not a›ected by section 25(2)(a) of the Matrimonial
           Causes Act 1973. Section 25(2)(a) requires the court when exercising the
           powers under section 24, to have regard to the income, earning capacity,
           property and other nancial resources which each of the parties to the
       D
           marriage has or is likely to have in the foreseeable future. The breadth and
           inclusiveness of this denition of the relevant resources of the parties to the
           marriage means that the relevant spouses ownership and control of a
           company and practical ability to extract money or moneys worth from it are
           unquestionably relevant to the courts assessment of what his resources
           really are. That may a›ect the amount of any lump sum or periodical
       E   payment orders, or the decision what transfers to order of other property
           which unquestionably belongs to the relevant spouse. But it does not follow
           from the fact that one spouses worth may be boosted by his access to the
           companys assets that those assets are specically transferrable to the other
           under section 24(1)(a).
               39 Moylan J considered that it was enough to justify his order to
           transfer the properties that the husband should have the practical ability to
       F
           procure their transfer, whether or not he was their benecial owner. He
           found that this was established in the present case because of the power
           which the husband had over the companies by virtue of owning and
           controlling them. The judge did not make any nding about whether the
           properties of the corporate respondents were held in trust for the husband,
           except in the case of the matrimonial home in Warwick Avenue, which he
       G   found to be benecially his. What he held was that the assets of the
           companies were e›ectively the husbands property, because he treated
           them as such. He was able to procure their disposal as he may direct, based
           again on his being the controller of the companies and the only benecial
           owner: para 210. The judge accepted that as a matter of company law, the
           husband as shareholder had no more than a right of participation in
           accordance with the companys constitution, and that that did not confer
       H
           any right to any particular property of the company. But, what if the
           shareholder is, in fact, able to procure the transfer to them of a particular
           item of company property, such as a matrimonial home, the judge asked,
           as a result of their control and ownership of the company and the absence
           of any third party interests. The judges answer to that question was that


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.173
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 157 of 421 PageID 18
          490
          Prest v Prest (SC(E))
                        (SC(E))                                                [2013] 2 AC
          Lord Sumption JSC

          the purpose and intention of the Matrimonial Causes Act 1973 was that          A
          the companies assets should be treated as part of the marital wealth.
          E›ectively, he said, the husband, in respect of the companies and their
          assets, is in the same position he would be in if he was the beneciary of a
          bare trust or the companies were his nominees: para 225.
              40 I do not accept this, any more than the Court of Appeal did. The
          judge was entitled to take account of the husbands ownership and control of
                                                                                             B
          the companies and his unrestricted access to the companies assets in
          assessing what his resources were for the purpose of section 25(2)(a). But he
          was not entitled to order the companies assets to be transferred to the wife in
          satisfaction of the lump sum order simply by virtue of section 24(1)(a). I do
          not doubt that the construction of section 24(1)(a) of the Act is informed by
          its purpose and its social context, as well as by its language. Nor do I doubt
          that the object is to achieve a proper division of the assets of the marriage.     C
          But it does not follow that the courts will stop at nothing in their pursuit of
          that end, and there are a number of principled reasons for declining to give
          the section the e›ect that the judge gave it. In the rst place, it is axiomatic
          that general words in a statute are not to be read in a way which would
          overthrow fundamental principles, infringe rights, or depart from the general
          system of law, without expressing its intention with irresistible clearness.
                                                                                             D
          The words are those of Lord Atkin in Nokes v Doncaster Amalgamated
          Collieries Ltd [1940] AC 1014, 1031—1032, but the principle is very familiar
          and has been restated by the courts in many contexts and at every level.
          There is nothing in the Matrimonial Causes Act 1973 and nothing in its
          purpose or broader social context to indicate that the legislature intended to
          authorise the transfer by one party to the marriage to the other of property
          which was not his to transfer. Secondly, a transfer of this kind will ordinarily   E
          be unnecessary for the purpose of achieving a fair distribution of the assets of
          the marriage. Where assets belong to a company owned by one party to the
          marriage, the proper claims of the other can ordinarily be satised by
          directing the transfer of the shares. It is true that this will not always be
          possible, particularly in cases like this one where the shareholder and the
          company are both resident abroad in places which may not give direct e›ect
                                                                                             F
          to the orders of the English court. In an age of internationally mobile spouses
          and assets this is a more signicant problem than it once was, but such cases
          remain the exception rather than the rule. Section 24 cannot be construed as
          if it were directed to that problem. Third, so far as a party to matrimonial
          proceedings deliberately attempts to frustrate the exercise of the courts
          ancillary powers by disposing of assets, section 37 provides for the setting
          aside of those dispositions in certain circumstances. Section 37 is a limited      G
          provision which is very far from being a complete answer to the problem, but
          it is as far as the legislature has been prepared to go.
              41 The recognition of a jurisdiction such as the judge sought to exercise
          in this case would cut across the statutory schemes of company and
          insolvency law.          These include elaborate provisions regulating the
          repayment of capital to shareholders and other forms of reduction of capital,
          and for the recovery in an insolvency of improper dispositions of the              H
          companys assets. These schemes are essential for the protection of those
          dealing with a company, particularly where it is a trading company like PRL
          and Vermont. The e›ect of the judges order in this case was to make the
          wife a secured creditor. It is no answer to say, as occasionally has been said


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.174
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 158 of 421 PageID 18
                                                                                        491
           [2013] 2 AC                                                  Prest v Prest (SC(E))
                                                                                      (SC(E))
                                                                        Lord Sumption JSC

       A   in cases about ancillary nancial relief, that the court will allow for known
           creditors. The truth is that in the case of a trading company incurring and
           discharging large liabilities in the ordinary course of business, a court of
           family jurisdiction is not in a position to conduct the kind of notional
           liquidation attended by detailed internal investigation and wide publicity
           which would be necessary to establish what its liabilities are. In the present
           case, the di–culty is aggravated by the fact that the last nancial statements,
       B
           which are not obviously unreliable, are more than ve years old. To some
           extent that is the fault of the husband and his companies, but that is unlikely
           to be much comfort to unsatised creditors with no knowledge of the state of
           the shareholders marriage or the proceedings in the Family Division. It is
           clear from the judges ndings of fact that this particular husband made free
           with the companys assets as if they were his own. That was within his
       C   power, in the sense that there was no one to stop him. But, as the judge
           observed, he never stopped to think whether he had any right to act in this
           way, and in law, he had none. The sole shareholder or the whole body of
           shareholders may approve a foolish or negligent decision in the ordinary
           course of business, at least where the company is solvent: Multinational Gas
           and Petrochemical Co v Multinational Gas and Petrochemical Services Ltd
           [1983] Ch 258. But not even they can validly consent to their own
       D   appropriation of the companys assets for purposes which are not the
           companys: Belmont Finance Corpn Ltd v Williams Furniture Ltd [1979] Ch
           250, 261 (Buckley LJ), Attorney Generals Reference (No 2 of 1982) [1984]
           QB 624, R v Gomez [1993] AC 442, 496—497 (Lord Browne-Wilkinson).
           Mr Prest is of course not the rst person to ignore the separate personality of
           his company and pillage its assets, and he will certainly not be the last. But
       E   for the court to deploy its authority to authorise the appropriation of the
           companys assets to satisfy a personal liability of its shareholder to his wife,
           in circumstances where the company has not only not consented to that
           course but vigorously opposed it, would, as it seems to me, be an even more
           remarkable break with principle.
              42 It may be said, as the judge in e›ect did say, that the way in which the
           a›airs of this company were conducted meant that the corporate veil had no
       F   reality. The problem about this is that if, as the judge thought, the property
           of a company is property to which its sole shareholder is entitled, either in
           possession or reversion, then that will be so even in a case where the sole
           shareholder scrupulously respects the separate personality of the company
           and the requirements of the Companies Acts, and even in a case where none
           of the exceptional circumstances that may justify piercing the corporate veil
       G   applies. This is a proposition which can be justied only by asserting that
           the corporate veil does not matter where the husband is in sole control of the
           company. But that is plainly not the law.

           Benecial ownership of the properties
              43 It follows from the above analysis that the only basis on which the
           companies can be ordered to convey the seven disputed properties to the
       H
           wife is that they belong benecially to the husband, by virtue of the
           particular circumstances in which the properties came to be vested in them.
           Only then will they constitute property to which the husband is entitled,
           either in possession or reversion. This is the issue which the judge felt that
           he did not need to decide. But on the footing that he was wrong about the


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.175
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 159 of 421 PageID 18
          492
          Prest v Prest (SC(E))
                        (SC(E))                                                 [2013] 2 AC
          Lord Sumption JSC

          ambit of section 24(1)(a), it does need to be decided now. The issue requires        A
          an examination of evidence which is incomplete and in critical respects
          obscure. A good deal therefore depends on what presumptions may
          properly be made against the husband given that the defective character of
          the material is almost entirely due to his persistent obstruction and
          mendacity.
             44 In Herrington v British Railways Board [1972] AC 877, 930—931,
                                                                                               B
          Lord Diplock, dealing with the liability of a railway undertaking for injury
          su›ered by trespassers on the line, said:
                 The appellants, who are a public corporation, elected to call no
             witnesses, thus depriving the court of any positive evidence as to whether
             the condition of the fence and the adjacent terrain had been noticed by any
             particular servant of theirs or as to what he or any other of their servants
                                                                                               C
             either thought or did about it. This is a legitimate tactical move under our
             adversarial system of litigation. But a defendant who adopts it cannot
             complain if the court draws from the facts which have been disclosed all
             reasonable inferences as to what are the facts which the defendant has
             chosen to withhold. A court may take judicial notice that railway lines are
             regularly patrolled by linesmen and Bangers. In the absence of evidence to
             the contrary, it is entitled to infer that one or more of them in the course of   D
             several weeks noticed what was plain for all to see. Anyone of common
             sense would realise the danger that the state of the fence so close to the live
             rail created for little children coming to the meadow to play. As the
             appellants elected to call none of the persons who patrolled the line there
             is nothing to rebut the inference that they did not lack the common sense
             to realise the danger. A court is accordingly entitled to infer from the
                                                                                               E
             inaction of the appellants that one or more of their employees decided to
             allow the risk to continue of some child crossing the boundary and being
             injured or killed by the live rail rather than to incur the trivial trouble and
             expense of repairing the gap in the fence.
          The courts have tended to recoil from some of the ercer parts of this
          statement, which appear to convert open-ended speculation into ndings of
                                                                                               F
          fact. There must be a reasonable basis for some hypothesis in the evidence or
          the inherent probabilities, before a court can draw useful inferences from a
          partys failure to rebut it. For my part I would adopt, with a modication
          which I shall come to, the more balanced view expressed by Lord Lowry
          with the support of the rest of the committee in R v Inland Revenue Comrs,
          Ex p TC Coombs & Co [1991] 2 AC 283, 300:
                                                                                               G
                In our legal system generally, the silence of one party in face of the
             other partys evidence may convert that evidence into proof in relation to
             matters which are, or are likely to be, within the knowledge of the silent
             party and about which that party could be expected to give evidence.
             Thus, depending on the circumstances, a prima facie case may become a
             strong or even an overwhelming case. But, if the silent partys failure to
             give evidence (or to give the necessary evidence) can be credibly                 H
             explained, even if not entirely justied, the e›ect of his silence in favour of
             the other party, may be either reduced or nullied.
          Cf Wisniewski v Central Manchester Health Authority [1998] PIQR P324,
          P340.


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.176
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 160 of 421 PageID 18
                                                                                        493
           [2013] 2 AC                                                  Prest v Prest (SC(E))
                                                                                      (SC(E))
                                                                        Lord Sumption JSC

       A       45 The modication to which I have referred concerns the drawing of
           adverse inferences in claims for ancillary nancial relief in matrimonial
           proceedings, which have some important distinctive features. There is a
           public interest in the proper maintenance of the wife by her former husband,
           especially (but not only) where the interests of the children are engaged. Partly
           for that reason, the proceedings although in form adversarial have a
       B   substantial inquisitorial element. The family nances will commonly have
           been the responsibility of the husband, so that although technically a claimant,
           the wife is in reality dependent on the disclosure and evidence of the husband
           to ascertain the extent of her proper claim. The concept of the burden of proof,
           which has always been one of the main factors inhibiting the drawing of
           adverse inferences from the absence of evidence or disclosure, cannot be
       C
           applied in the same way to proceedings of this kind as it is in ordinary civil
           litigation. These considerations are not a licence to engage in pure
           speculation. But judges exercising family jurisdiction are entitled to draw on
           their experience and to take notice of the inherent probabilities when deciding
           what an uncommunicative husband is likely to be concealing. I refer to the
           husband because the husband is usually the economically dominant party, but
           of course the same applies to the economically dominant spouse whoever it is.
       D
               46 The facts, so far as the judge was able to make ndings about them,
           are that the London properties were acquired as follows:
           December 1995      Flat 4, 27, Abbey Road was transferred to PRL by the
                              husband for £1. It had been bought by him in 1991,
                              before the marriage and before the incorporation of PRL.
       E
                              There are two charges on the property, in favour of Ahli
                              United Bank and BNP Paribas, apparently to secure loans
                              made to PRL. Neither the husband nor PRL has
                              complied with orders to disclose the loan agreement and
                              related documents.
                              Flat 5, 27, Abbey Road was transferred to PRL on the
                              same day, also for £1, by the husbands younger brother
       F                      Michel. It had been bought in March of that year for
                              £48,650 in Michels name. The wifes evidence was that,
                              at the time, Michel was a student in London with no
                              substantial assets of his own who was being supported by
                              her husband. She said that her husband had led her to
                              believe that he had paid for it.
       G   March 1996         Flat 2, 143, Ashmore Road, is a leasehold property
                              transferred to PRL for £1 by the wife. It had originally been
                              bought by the husband in November 1992 in the name of
                              someone called Jimmy Lawrence. There is no information
                              about Jimmy Lawrence or the reasons for his involvement.
                              According to the husbands evidence, the purchase money
                              came from PRL, but since PRL was not incorporated until
       H
                              six months after that, this cannot be correct. At some stage,
                              it is unclear when or how, the lease was transferred into the
                              name of the wife, and she must have signed the transfer
                              when it was conveyed to PRL, but she had no recollection
                              of being involved or of ever having owned it.


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.177
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 161 of 421 PageID 18
          494
          Prest v Prest (SC(E))
                        (SC(E))                                                 [2013] 2 AC
          Lord Sumption JSC

          1998                    The wife transferred her interest in the freehold of        A
                                  143, Ashmore Street to PRL. The freehold had originally
                                  been bought in 1996 in the name of the wife and one Esta
                                  Blechman, who was the leasehold owner of another at in
                                  the building. There is no information about the
                                  consideration paid either in 1996 or in 1998. The
                                  husbands evidence was the funds to buy the wifes
                                                                                              B
                                  interest in 1996 came from PRL.
          August 2000             Flat 6, 62—64, Beethoven Street was transferred to PRL by
                                  the husband for £85,000. He had originally bought it in
                                  1988 (before the marriage) for £70,500. The property is
                                  charged to secure the loans made by Ahli United Bank
                                  and BNP Paribas.
                                                                                              C
          May 2001                The matrimonial home, 16, Warwick Avenue, was
                                  bought in the name of PRL for £1.4m and subsequently
                                  refurbished at a cost of about £1m. The judge rejected
                                  the husbands evidence that the purchase price and
                                  refurbishment costs were funded by PRL, because at that
                                  stage the company had not commenced trading
                                  operations. He found that they were funded from             D
                                  bonuses earned by the husband, presumably, at this stage,
                                  from his last employer before he set up on his own. The
                                  judge found that PRL had always held this property on
                                  trust for the husband and that conclusion is not
                                  challenged on this appeal. The property is charged to
                                  secure the loans made by Ahli United Bank and BNP
                                  Paribas. In accordance with the judges order PRL has       E
                                  now conveyed it to the wife, but subject to the charges.
          July 2001               Flat 310, Pavilion Apartments was bought in the name of
                                  Vermont for £635,000. The judge found that the money
                                  was derived from PRL.
          January 2004            11 South Lodge, Circus Road, was bought in the name of
                                  Vermont for £700,000. The judge found that the              F
                                  purchase price was also derived from PRL. The property
                                  is charged to secure the loans made to Ahli United Bank
                                  and BNP Paribas.
          The judge recorded the wifes evidence that the husband had once advised
          her that if anything were to happen to him, she should sell all the properties,
                                                                                              G
          move to Nevis and use the proceeds of sale to meet her living expenses there.
             47 The starting point is that in her points of claim the wife expressly
          alleged, among other things, that the husband used the corporate defendants
          to hold legal title to properties that belonged benecially to him. All seven of
          the properties in dispute on this appeal were identied in her pleading as
          having been held for him in this way. In her section 25 statement, she gives
          evidence of her belief that he was their benecial owner, supported in              H
          some cases by admittedly inconclusive reasons for that belief. Neither the
          husband nor the companies have complied with orders for the production of
          the completion statements on the purchase of the properties and evidence of
          the source of the money used to pay the purchase price. The companies were


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.178
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 162 of 421 PageID 18
                                                                                        495
           [2013] 2 AC                                                Prest v Prest (SC(E))
                                                                                    (SC(E))
                                                                      Lord Sumption JSC

       A   joined to these proceedings only because they were alleged to be trustees for
           the husband of the shareholdings and the properties and because orders were
           being sought for their transfer to the wife. Yet the companies failed to le a
           defence, or to comply with orders for disclosure. One of the few things that
           is clear from Mr Murphys a–davit was that the companies refusal to
           co-operate was deliberate, notwithstanding that they were conscious that
           the London properties (unlike the other assets) were within the jurisdiction
       B
           of the court, which was in a position directly to enforce any order that it
           might make in respect of them. The only explanation pro›ered for their
           contumacy was that the information was condential to the companies
           shareholders or commercial partners. It is di–cult to imagine that any
           commercial partners could enjoy rights of condence over information
           concerning residential investment properties in London, and on the judges
       C   ndings the only shareholder was the husband himself. The only directly
           relevant evidence given by Mr Murphy in his a–davit is a bald assertion that
           the companies are the sole benecial owners of the shareholdings and the
           properties, but he declined to appear for cross-examination on it. The judge
           rejected his explanation that his health was not up to it. The judges ndings
           about the ownership and control of the companies mean that the companies
           refusal to co-operate with these proceedings is a course ultimately adopted
       D
           on the direction of the husband. It is a fair inference from all these facts,
           taken cumulatively, that the main, if not the only, reason for the companies
           failure to co-operate is to protect the London properties. That in turn
           suggests that proper disclosure of the facts would reveal them to have been
           held benecially by the husband, as the wife has alleged.
               48 Turning to what is known about the acquisition of the disputed
       E   properties, PRL acquired the legal interest in six London properties
           (including the matrimonial home) between 1995 and 2001. All of these
           properties were acquired by PRL before it began commercial operations and
           began to generate funds of its own. This was the main basis on which the
           judge found that the matrimonial home was held on trust for the husband
           from its acquisition in 2001. Since, as the judge found, no rent was paid to
           PRL for the familys occupation of the matrimonial home, this is a
       F
           particularly clear case of the husband using PRL as a vehicle to hold legal
           title on trust for himself.
               49 Of the other ve properties owned by PRL, the rst category
           comprises the three properties (Flats 4 and 5, 27, Abbey Road, and Flat 2,
           143, Ashmore Road) acquired by the company in December 1995 and
           March 1996, in each case for a nominal consideration of £1. Since no
       G   explanation has been forthcoming for the gratuitous transfer of these
           properties to PRL, there is nothing to rebut the ordinary presumption of
           equity that PRL was not intended to acquire a benecial interest in them.
           The only question is who did hold the benecial interest. Flat 4, 27, Abbey
           Road was transferred by the husband, who had originally bought it in his
           own name in 1991, before PRL was incorporated. There is therefore an
           ordinary resulting trust back to the husband, which is held by him subject to
       H   the charges in favour of Ahli United Bank and BNP Paribas. Flat 5,
           27, Abbey Road was transferred to PRL by the husbands younger brother
           Michel. He had acquired title shortly before at a time when he could not
           have paid for it himself. The wifes evidence was that the husband paid for
           it. Again, there is no evidence to rebut the ordinary inference that the


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                          APP.179
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 163 of 421 PageID 18
          496
          Prest v Prest (SC(E))
                        (SC(E))                                                [2013] 2 AC
          Lord Sumption JSC

          husband was the benecial owner of the property at the time of the transfer         A
          to PRL, and that the company held it on a resulting trust for him. The
          leasehold interest in Flat 2, 143, Ashmore Road was transferred to PRL by
          the wife. The rather curious chain of title before that is summarised above.
          The circumstances suggest that the husband must have provided the
          purchase money and was the benecial owner when the legal estate was held
          by Jimmy Lawrence and also at the time of its transfer from him to the wife.
                                                                                              B
          Either it then became the benecial property of the wife (which is what
          equity would initially presume); or else it remained in the benecial
          ownership of the husband, which is what I would on balance infer from the
          wifes evidence that the transfer was procured by the husband without her
          conscious involvement. In either case, the company as the legal owner can
          be required to transfer this property to the wife. I conclude that the husband
          was at all relevant times the benecial owner of all three properties.              C
              50 The freehold interest in 143, Ashmore Road and Flat 6,
          62—64, Beethoven Street come into a di›erent category.                   Flat 6,
          62—64, Beethoven Street is known to have been acquired by PRL from the
          husband in August 1998 for substantial consideration. Since PRL had not
          begun operations at that stage, I infer that the purchase money must have
          come from the husband. Virtually nothing is known about the terms of
                                                                                              D
          acquisition of the wifes interest in the freehold of 143, Ashmore Road,
          except that the husband says that the money came from PRL. I infer for the
          same reason that PRL was funded by the husband. In itself, that is consistent
          with PRL being the benecial owner if, for example, the husband provided
          the money to the company by way of loan or capital subscription. But there
          is no evidence to that e›ect, and I would not be willing to presume it in the
          absence of any. I conclude that the husband was the benecial owner of              E
          these two properties.
              51 That leaves the two London properties (Flat 310, Pavilion
          Apartments and 11 South Lodge, Circus Road) which were acquired in the
          name of Vermont for substantial consideration, in July 2001 and January
          2004 respectively. Vermont is an oil trading company which according to
          the husband started lifting oil in 2010. In the companys nancial
                                                                                              F
          statements for 2008, the two properties are listed as its only assets and there
          were no liabilities apart from the bank loans charged on Flat 310, Pavilion
          Apartments. Flat 310, Pavilion Apartments was acquired with funds derived
          from PRL at a time when the company had not begun trading operations.
          I infer that the funds were provided to PRL by the husband. The position is
          the same in the case of 11 South Lodge, except that this was bought with
          money provided by PRL at a time when it was an active trading company               G
          and could therefore have funded the purchase itself. However, it is right to
          note (i) that the ownership of residential investment property in London
          appears to have nothing to do with the oil trading business in which PRL
          was then engaged, and (ii) that at this stage of the history a consistent pattern
          can be discerned by which the husband causes properties to be acquired with
          funds provided by himself by companies under his control, nominally
          funded by PRL but in fact by himself. If 11 South Lodge was the exception,          H
          then it was a break with past practice. In the absence of any explanation of
          these transactions by the husband or his companies, I conclude that both of
          the properties acquired in the name of Vermont were benecially owned by
          the husband.


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.180
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 164 of 421 PageID 18
                                                                                         497
           [2013] 2 AC                                                   Prest v Prest (SC(E))
                                                                                       (SC(E))
                                                                         Lord Sumption JSC

       A       52 Whether assets legally vested in a company are benecially owned by
           its controller is a highly fact-specic issue. It is not possible to give general
           guidance going beyond the ordinary principles and presumptions of equity,
           especially those relating to gifts and resulting trusts. But I venture to suggest,
           however tentatively, that in the case of the matrimonial home, the facts are
           quite likely to justify the inference that the property was held on trust for a
       B
           spouse who owned and controlled the company. In many, perhaps most
           cases, the occupation of the companys property as the matrimonial home of
           its controller will not be easily justied in the companys interest, especially
           if it is gratuitous. The intention will normally be that the spouse in control
           of the company intends to retain a degree of control over the matrimonial
           home which is not consistent with the companys benecial ownership. Of
           course, structures can be devised which give a di›erent impression, and
       C   some of them will be entirely genuine. But where, say, the terms of
           acquisition and occupation of the matrimonial home are arranged between
           the husband in his personal capacity and the husband in his capacity as the
           sole e›ective agent of the company (or someone else acting at his direction),
           judges exercising family jurisdiction are entitled to be sceptical about
           whether the terms of occupation are really what they are said to be, or are
       D   simply a sham to conceal the reality of the husbands benecial ownership.

           Nuptial settlement
              53 The wife sought special leave to argue that the companies
           constituted a nuptial settlement within the meaning of section 24(1)(c) of the
           Act. The court ruled in the course of the hearing that leave would be refused.
       E   The point was not argued below and does not appear to be seriously
           arguable here.

           Terms for permission to appeal
              54 Before parting with this case, I will only record my surprise that the
           companies were given permission to appeal on such undemanding terms.
       F   They were required to make a payment on account of costs, but they were
           not required to purge their contempt in failing to disclose documents or
           information, nor were they put on terms as to dealings with the properties.
           There may have been good reasons for not imposing such terms, but on the
           face of it the possibility was not even considered.

           Conclusion
       G
              55 I would accordingly declare that the seven disputed properties vested
           in PRL and Vermont are held on trust for the husband, and I would restore
           para 6 of the order of Moylan J so far as it required those companies to
           transfer them to the wife.
              56 Subject to any contrary submissions as to costs, I would also restore
           para 14 of the judges order so far as it dealt with the costs payable by PRL
       H   and Vermont, and would order them to pay the costs of the appeal to the
           Court of Appeal and to this court. As at present advised, I would not require
           Upstream, against whom no relief has ever been sought, to pay any costs, but
           in the rather unusual circumstances of this case, I would not make any costs
           order in their favour either.

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.181
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 165 of 421 PageID 18
          498
          Prest v Prest (SC(E))
                        (SC(E))                                                 [2013] 2 AC
          Lord Neuberger of Abbotsbury PSC

          LORD NEUBERGER OF ABBOTSBURY PSC                                                     A
              57 I agree that Mrs Prests appeal succeeds. More particularly, I agree
          that her appeal should be (i) allowed on the basis that the properties were
          acquired and held by the respondent companies on trust for the husband, but
          (ii) dismissed in so far as it relies on piercing the veil of incorporation, or on
          section 24(1)(a) or (c) of the Matrimonial Causes Act 1973.
              58 I agree with all that Lord Sumption JSC says on (i) the construction          B
          of section 24(1)(a) of the 1973 Act, in paras 37—42, (ii) the trust issue, in his
          masterly analysis of the facts and inferences to be drawn from them, in
          paras 43—52, (iii) the point sought to be raised under section 24(1)(c), in
          para 53, and (iv) his conclusions in paras 55 and 56, and there is nothing
          I wish to add on those issues.
              59 I wish, however, to add a little to what Lord Sumption JSC says on
          the question of whether, and if so, in what circumstances, the court has             C
          power to pierce the corporate veil in the absence of specic statutory
          authority to do so.
              60 I agree that there are two types of case where judges have described
          their decisions as being based on piercing the veil, namely those concerned
          with concealment and those concerned with evasion. It seems to me that
          Staughton LJ had a similar classication in mind in Atlas Maritime Co SA v           D
          Avalon Maritime Ltd (No 1) [1991] 4 All ER 769, 779 G (quoted in VTB
          Capital plc v Nutritek International Corpn [2013] 2 AC 337, para 118),
          where he sought to distinguish between lifting and piercing the
          corporate veil.
              61 I also agree that cases concerned with concealment do not involve
          piercing the corporate veil at all. They simply involve the application of
                                                                                               E
          conventional legal principles to an arrangement which happens to include a
          company being interposed to disguise the true nature of that arrangement.
          Accordingly, if piercing the corporate veil has any role to play, it is in
          connection with evasion.
              62 Furthermore, I agree that, if the court has power to pierce the
          corporate veil, Munby J was correct in Ben Hashem v Al Shayif [2009]
          1 FLR 115 to suggest that it could only do so in favour of a party when all          F
          other, more conventional, remedies have proved to be of no assistance (and
          therefore I disagree with the Court of Appeal in VTB Capital v Nutritek
          [2012] 2 Lloyds Rep 313, para 79, who suggested otherwise).
              63 However, as in the recent decision of this court in VTB v Nutritek, it
          is not necessary to decide whether there is a principle that it is open to a
          court, without statutory authority (or, possibly, in the absence of the              G
          intention of contracting parties), to pierce the veil of incorporation (the
          doctrine), and, if it is, the scope, or boundaries, of the doctrine.
              64 However, I can see considerable force in the view that it is
          appropriate for us to address those matters now. This is the second case in
          the space of a few months when the doctrine has been invoked before this
          court on what are, on any view, inappropriate grounds. It is also clear from
          the cases and academic articles that the law relating to the doctrine is             H
          unsatisfactory and confused. Those cases and articles appear to me to
          suggest that (i) there is not a single instance in this jurisdiction where the
          doctrine has been invoked properly and successfully, (ii) there is doubt as to
          whether the doctrine should exist, and (iii) it is impossible to discern any

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.182
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 166 of 421 PageID 18
                                                                                        499
           [2013] 2 AC                                                 Prest v Prest (SC(E))
                                                                                     (SC(E))
                                                         Lord Neuberger of Abbotsbury PSC

       A   coherent approach, applicable principles, or dened limitations to the
           doctrine.
               65 In these circumstances, there is obvious value in seeking to decide
           whether the doctrine exists, and if so, to identify some coherent, practical
           and principled basis for it, if we can do so in this case.
               66 Any discussion about the doctrine must begin with the decision in
           Salomon v A Salomon & Co Ltd [1897] AC 22, in which a unanimous
       B
           House of Lords reached a clear and principled decision, which has stood
           unimpeached for over a century. The e›ect of the decision is encapsulated at
           pp 30—31, where Lord Halsbury LC said that a legally incorporated
           company must be treated like any other independent person with its rights
           and liabilities appropriate to itself . . . , whatever may have been the ideas or
           schemes of those who brought it into existence. Whether that is
       C   characterised as a common law rule or a consequence of the companies
           legislation (or an amalgam of both), it is a very well established principle of
           long standing and high authority. Writing extrajudicially, Lord Templeman
           referred to the principle in the Salomon case as the unyielding rock on
           which company law is constructed, and on which complicated arguments
           might ultimately become shipwrecked: Forty Years On (1990) 11 Co Law
           10.
       D
               67 The decision in the Salomon case plainly represents a substantial
           obstacle in the way of an argument that the veil of incorporation can be
           pierced. Further, the importance of maintaining clarity and simplicity in this
           area of law means that, if the doctrine is to exist, the circumstances in which
           it can apply must be limited and as clear as possible.
               68 Since the decision in the Salomon case, there have been a number of
       E   cases where the courts have considered piercing or lifting the corporate
           veil. The most important of those cases are discussed by Lord Sumption JSC
           in paras 20—35 above. That discussion demonstrates, as I see it, the
           following: (i) the decision of the International Court of Justice in Case
           concerning Barcelona Traction, Light and Power Co Ltd (Belgium v Spain)
           (Second Phase) [1970] ICJ Rep 3 recognises the doctrine; however, that is in
           the context of a civil law system which includes the principle of abuse of
       F
           rights, and begs the question whether, in a common law system, the doctrine
           should be applicable by the courts in the absence of specic legislative
           sanction; (ii) there are judgments in family cases based on obiter dicta in
           Nicholas v Nicholas [1984] FLR 285 (e g the judgments of Thorpe LJ in this
           case and of Mostyn J in Kremen v Agrest (No 2) [2011] 2 FLR 490), where
           the doctrine has been treated as valid and applicable; but the application of
       G   the doctrine, even if it exists, in these cases is unsound, as Munby J
           e›ectively (in both senses of the word) indicated in A v A [2007] 2 FLR 467
           and Ben Hashem v Al Shayif [ 2009] 1 FLR 115; (iii) there are two cases
           outside the family law context which laid the ground for the establishment
           of the doctrine, namely the decisions of the Court of Appeal in Gilford
           Motor Co Ltd v Horne [1933] Ch 935, and of Russell J in Jones v Lipman
           [1962] 1 WLR 832; (iv) there are two subsequent decisions, one of the
       H
           House of Lords, Woolfson v Strathclyde Regional Council 1978 SC (HL) 90,
           the other of the Court of Appeal, Adams v Cape Industries plc [1990] Ch
           433, in which it was assumed or accepted that the doctrine existed, but they
           cannot amount to more than obiter observations, as in neither of them did
           the doctrine apply; (v) in subsequent cases in the Court of Appeal and High

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.183
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 167 of 421 PageID 18
          500
          Prest v Prest (SC(E))
                        (SC(E))                                                [2013] 2 AC
          Lord Neuberger of Abbotsbury PSC

          Court, it has been (unsurprisingly) assumed that the doctrine does apply, two       A
          recent examples being the Court of Appeal decisions in VTB v Nutritek
          [2012] 2 Lloyds Rep 313 and Alliance Bank JSC v Aquanta Corpn [2013]
          1 All ER (Comm) 819; (vi) however, in only two of those subsequent cases
          (the rst instance decisions in Gencor ACP Ltd v Dalby [2000] 2 BCLC 734
          and Trustor AB v Smallbone (No 2) [2001] 1 WLR 1177) has the doctrine
          actually been relied on, and they each could have been decided the same way         B
          without recourse to the doctrine, and therefore involved illegitimate
          applications of the doctrine on any view: see para 62 above.
              69 On closer analysis of cases mentioned in subpara (iii) above, it does
          not appear to me that the facts and outcomes in the Gilford Motor and Jones
          cases provide much direct support for the doctrine. However, the decisions
          can fairly be said to have rested on the doctrine if one takes the language of
          the judgments at face value. Further, they indicate that, where a court is of       C
          the view (albeit that I think that it was mistaken in those cases) that there is
          no other method of achieving justice, the doctrine provides a valuable means
          of doing so.
              70 In the Gilford Motor case [1933] Ch 935, the legal argument at rst
          instance and on appeal seems to have concentrated on the validity of the
          restrictive covenant: see pp 936—937, 950—952. It is also clear from the            D
          judgment of Lord Hanworth MR, at p 961, that counsel for the company
          conceded that if, contrary to his contention, the company was a mere cloak
          or sham and that the business was actually being carried on by Horne in
          breach of the restrictive covenant, then the company should also be
          restrained. Further, in my view, as that passage indicates, the case was one
          of concealment, and therefore did not really involve the doctrine at all.
              71 In any event, it seems to me that the decision in the Gilford Motor          E
          case that an injunction should be granted against the company was amply
          justied on the basis that the company was Hornes agent for the purpose of
          carrying on the business (just as his wife would have been, if he had used her
          as the cloak); therefore, if an injunction was justied against Horne, it was
          justied against the company. There is nothing in the judgments in the
          Gilford Motor case to suggest that any member of the Court of Appeal                F
          thought that he was making new law, let alone cutting into the well
          established and simple principle laid down in Salomon v A Salomon & Co
          Ltd [1897] AC 22.
              72 It is by no means inconceivable that the three members of the Court
          of Appeal in the Gilford Motor case were using the expression cloak or
          sham to suggest, as a matter of legal analysis, a principal and agent
          relationship. Lord Hanworth MR relied on a passage in a judgment of                 G
          Lindley LJ in Smith v Hancock [1894] 2 Ch 377, 385 (where the expression
          cloak or sham appears to have originated), and in that passage, it seems to
          me that the cloak or sham is treated as amounting to the business being
          carried on for the defendant. This view is supported by something Lord
          Denning MR said in Wallersteiner v Moir [1974] 1 WLR 991, 1013, namely
          it was quite clear that the companies in that case:                             H
                were just the puppets of Dr Wallersteiner . . . Transformed into legal
             language, they were his agents to do as he commanded. He was the
             principal behind them . . . At any rate, it was up to him to show that any
             one else had a say in their a›airs and he never did so: cf Gilford.

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.184
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 168 of 421 PageID 18
                                                                                        501
           [2013] 2 AC                                                Prest v Prest (SC(E))
                                                                                    (SC(E))
                                                        Lord Neuberger of Abbotsbury PSC

       A      73 As for Jones v Lipman [1962] 1 WLR 832, I am unconvinced that it
           was necessary for Russell J to invoke the doctrine in order to justify an
           e›ective order for specic performance, as sought by the plainti›s in that
           case. An order for specic performance would have required Lipman not
           merely to convey the property in question to the plainti›s, but to do
           everything which was reasonably within his power to ensure that the
           property was so conveyed: see e g Wroth v Tyler [1974] Ch 30, 47—51.
       B
           Lipman and an employee of his solicitors were the sole shareholders and
           directors of the company, and its sole liability appears to have been a loan of
           £1,500 to a bank (borrowed to meet half the £3,000 which it paid for the
           property). In those circumstances, it seems clear that Lipman could have
           compelled the company to convey the property to the plainti›s (on the basis
           that he would have to account to the company for the purchase price, which
       C   would have ensured that the bank was in no way prejudiced). Indeed,
           I consider that the company could fairly have been described and treated as
           being Lipmans creature, without in any way cutting into the principle
           established in Salomon v A Salomon & Co Ltd [1897] AC 22.
              74 The history of the doctrine over 80 years of its putative life (taking
           the Gilford Motor case [1933] Ch 935 as the starting point) is, therefore, at
           least as I see it, a series of decisions, each of which can be put into one of
       D
           three categories, namely: (i) decisions in which it was assumed that the
           doctrine existed, but it was rightly concluded that it did not apply on the
           facts; (ii) decisions in which it was assumed that the doctrine existed, and it
           was wrongly concluded that it applied on the facts; and (iii) decisions in
           which it was assumed that the doctrine existed and it was applied to the
           facts, but where the result could have been arrived at on some other,
       E   conventional, legal basis, and therefore it was wrongly concluded that it
           applied: see para 62 above. (The doctrine has been invoked in cases not
           considered by Lord Sumption JSC, but they take matters no further: see the
           decisions mentioned and briey considered in VTB v Nutritek [2013] 2 AC
           337, paras 125, 127.)
              75 The lack of any coherent principle in the application of the doctrine
           has been commented on judicially in many of the major common law
       F
           jurisdictions. In this country, Clarke J in The Tjaskemolen (now Visvliet)
           [1997] 2 Lloyds Rep 465, 471 said that The cases have not worked out
           what is meant by piercing the corporate veil . In Australia, in Briggs v
           James Hardie & Co Pty Ltd (1989) 16 NSWLR 549, 567, Rogers AJA in the
           New South Wales Court of Appeal observed that there is no common,
           unifying principle, which underlies the occasional decision of courts to
       G   pierce the corporate veil, and that there is no principled approach to be
           derived from the authorities. In Kosmopoulos v Constitution Insurance Co
           [1987] 1 SCR 2, para 12, Wilson J in the Supreme Court of Canada said that
           The law on when a court may . . . [lift] the corporate veil . . . follows no
           consistent principle. The New Zealand Court of Appeal in Attorney
           General v Equiticorp Industries Group Ltd [1996] 1 NZLR 528, 541, said
           that  to lift the corporate veil . . . is not a principle. It describes the
       H
           process, but provides no guidance as to when it can be used. In the South
           African Supreme Court decision, Cape Pacic Ltd v Lubner Controlling
           Investments (Pty) Ltd 1995 (4) SA 790, 802—803, Smalberger JA observed
           that The law is far from settled with regard to the circumstances in which it
           would be permissible to pierce the corporate veil.

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.185
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 169 of 421 PageID 18
          502
          Prest v Prest (SC(E))
                        (SC(E))                                                [2013] 2 AC
          Lord Neuberger of Abbotsbury PSC

             76 Judges in the United States have also been critical, even though the          A
          doctrine has been invoked and developed to a much greater extent than in
          this jurisdiction. In Secon Service System Inc v St Joseph Bank and Trust Co
          (1988) 855 F 2d 406, 414, Judge Easterbrook in the US Court of Appeals
          described the doctrine as quite di–cult to apply, because it avoids
          formulating a real rule of decision. This keeps people in the dark about the
          legal consequences of their acts. And in Allied Capital Corpn v GC-Sun
                                                                                              B
          Holdings LP (2006) A 2d 1020, 1042—1043, the Delaware Court of
          Chancery said that the doctrine has been rightfully criticized for its
          ambiguity and randomness, and that its application yield[s] few
          predictable results.
             77 The doctrine has fared no better with academics. Easterbrook and
          Fischel, Limited Liability and the Corporation (1985) 52 Univ Chicago
          L Rev 89, pithily observe that  Piercing seems to happen freakishly. Like       C
          lightning, it is rare, severe, and unprincipled. The jurisprudence on the
          doctrine has been described as incoherent and unprincipled by Farrar,
          Fraud, Fairness and Piercing the Corporate Veil (1990) 16 Can Bus LJ 474,
          478. C Mitchell, in Lifting the Corporate Veil in the English Courts: An
          Empirical Study (1999) 3 Co Fin & Ins LR 15, 16 observes that courts
          have often used conclusory terms to express their decisions on the point,
                                                                                              D
          which for all their vividness tell us nothing about the reasoning which
          underpins these decisions. Neyers in Canadian Corporate Law, Veil-
          Piercing, and the Private Law Model Corporation (2000) 50 Univ
          Toronto LJ 173, 180, asks rhetorically: How can the legal person doctrine
          that is so central to corporate law in one sentence be disregarded so casually
          in the next? D Michael in To Know a Veil (2000) 26 J Corp Law 41, 55,
          refers to the doctrine as a non-existent and false doctrine. Ramsay and         E
          Noakes, Piercing the Corporate Veil in Australia (2001) 19 C & SLJ 250,
          251, note that the doctrine is far from clear in the case law. Oh, Veil-
          Piercing (2010) 89 Texas Law Review 81, 84 says that The inherent
          imprecision in metaphors has resulted in a doctrinal mess.
             78 This last view has some resonance with my remarks in VTB v
          Nutritek [2013] 2 AC 337, para 124, about the use of pejorative expressions
                                                                                              F
          to mask the absence of rational analysis. It also chimes with Cardozo Js
          reference to the mists of metaphor in company law, which, starting as
          devices to liberate thought, . . . end often by enslaving it, in Berkey v Third
          Avenue Railway Co (1926) 155 NE 58, 61.
             79 In these circumstances, I was initially strongly attracted by the
          argument that we should decide that a supposed doctrine, which is
          controversial and uncertain, and which, on analysis, appears never to have          G
          been invoked successfully and appropriately in its 80 years of supposed
          existence, should be given its quietus. Such a decision would render the law
          much clearer than it is now, and in a number of cases it would reduce
          complications and costs: whenever the doctrine is really needed, it never
          seems to apply.
             80 However, I have reached the conclusion that it would be wrong to
                                                                                              H
          discard a doctrine which, while it has been criticised by judges and
          academics, has been generally assumed to exist in all common law
          jurisdictions, and represents a potentially valuable judicial tool to undo
          wrongdoing in some cases, where no other principle is available.
          Accordingly, provided that it is possible to discern or identify an approach to


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.186
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 170 of 421 PageID 18
                                                                                         503
           [2013] 2 AC                                                 Prest v Prest (SC(E))
                                                                                     (SC(E))
                                                         Lord Neuberger of Abbotsbury PSC

       A   piercing the corporate veil, which accords with normal legal principles,
           reects previous judicial reasoning (so far as it can be discerned and
           reconciled), and represents a practical solution (which hopefully will avoid
           the problems summarised in para 75 above), I believe that it would be right
           to adopt it as a denition of the doctrine.
              81 Having read what Lord Sumption JSC says in his judgment,
           especially in paras 17, 18, 27, 28, 34 and 35, I am persuaded by his
       B
           formulation in para 35, namely that the doctrine should only be invoked
           where a person is under an existing legal obligation or liability or subject to
           an existing legal restriction which he deliberately evades or whose
           enforcement he deliberately frustrates by interposing a company under his
           control.
              82 It appears to me that such a clear and limited doctrine would not fall
       C   foul of at least most of the strictures which have been made of the doctrine.
           In particular, (i) it should be of value in the few cases where it can be
           properly invoked; (ii) it is, I believe and hope, su–ciently clear as to render it
           unlikely to be raised in inappropriate cases; and (iii) it does not cut across the
           rule in Salomon v A Salomon & Co Ltd [1897] AC 22 because it is consistent
           with conventional legal principles.
              83 It is only right to acknowledge that this limited doctrine may not, on
       D
           analysis, be limited to piercing the corporate veil. However, there are three
           points to be made about that formulation. In so far as it is based on fraud
           unravels everything, as discussed by Lord Sumption JSC in para 18, the
           formulation simply involves the invocation of a well established principle,
           which exists independently of the doctrine. In any event, the formulation is
           not, on analysis, a statement about piercing the corporate veil at all. Thus, it
       E   would presumably apply equally to a person who transfers assets to a spouse
           or civil partner, rather than to a company. Further, at least in some cases
           where it may be relied on, it could probably be analysed as being based on
           agency or trusteeship especially in the light of the words under his control.
           However, if either or both those points were correct, it would not undermine
           Lord Sumption JSCs characterisation of the doctrine: it would, if anything,
           serve to conrm the existence of the doctrine, albeit as an aspect of a more
       F
           conventional principle. And if the formulation is intended to go wider than
           the application of fraud unravels everything, it seems to me questionable
           whether it would be right for the court to take the course of arrogating to
           itself the right to step in and undo transactions, save where there is a well
           established and principled ground for doing so. Such a course is, I would
           have thought, at least normally, a matter for the legislature. Indeed
       G   Parliament has decided to legislate to this e›ect in specied and limited
           circumstances with protection for third parties, in provisions such as
           section 37 of the Matrimonial Causes Act 1973 and section 423 of the
           Insolvency Act 1986.

           BARONESS HALE OF RICHMOND JSC (with whom LORD
           WILSON JSC agreed)
       H
              84 I agree that this appeal should succeed, on the basis that the
           properties in question were held by the respondent companies on trust for
           the husband. As he is benecially entitled to them, they fall within the scope
           of the courts power to make transfer of property orders under
           section 24(1)(a) of the Matrimonial Causes Act 1973. It also means that the

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                             APP.187
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 171 of 421 PageID 18
          504
          Prest v Prest (SC(E))
                        (SC(E))                                                [2013] 2 AC
          Baroness Hale of Richmond JSC

          court has power to order that the companies, as bare trustees, transfer these      A
          properties to the wife.
             85 The reasons for holding that these properties were benecially
          owned by the husband have been amply explained by Lord Sumption JSC.
          I would only emphasise the special nature of proceedings for nancial relief
          and property adjustment under the Matrimonial Causes Act 1973, which he
          explains in para 45. There is a public interest in spouses making proper
                                                                                             B
          provision for one another, both during and after their marriage, in particular
          when there are children to be cared for and educated, but also for all the
          other reasons explored in cases such as McFarlane v McFarlane [2006] 2 AC
          618. This means that the courts role is an inquisitorial one. It also means
          that the parties have a duty, not only to one another but also to the court, to
          make full and frank disclosure of all the material facts which are relevant to
          the exercise of the courts powers, including of course their resources: see       C
          Livesey (formerly Jenkins) v Jenkins [1985] AC 424. If they do not do so, the
          court is entitled to draw such inferences as can properly be drawn from all
          the available material, including what has been disclosed, judicial experience
          of what is likely to be being concealed and the inherent probabilities, in
          deciding what the facts are.
             86 I also agree, for the reasons given by Lord Sumption JSC, that
                                                                                             D
          section 24(1)(a) does not give the court power to order a spouse to transfer
          property to which he is not in law entitled. The words entitled, either in
          possession or reversion refer to a right recognised by the law of property.
          This is clear, not only from the statutory language, but also from the
          statutory history.
             87 The words entitled to any property either in possession or reversion
          rst appeared in the Matrimonial Causes Act 1857 (20 & 21 Vict c 85), which        E
          introduced judicial divorce to the law of England and Wales. Section 45 gave
          the court power, when granting a decree of divorce on the ground of the wifes
          adultery, to settle such property for the benet of the husband and/or the
          children of the marriage. The same words were used in section 3 of the
          Matrimonial Causes Act 1884 (47 & 48 Vict c 68), when extending the same
          power to a husbands application for restitution of conjugal rights. They
                                                                                             F
          were carried through, respectively, into section 191(1)(2) of the Supreme
          Court of Judicature (Consolidation) Act 1925, then into section 24(1)(2) of
          the Matrimonial Causes Act 1950, then into sections 17(2) and 21( 3) of the
          Matrimonial Causes Act 1965. The decree of restitution of conjugal rights
          was abolished in the comprehensive package of matrimonial law reforms
          which came into force on 1 January 1971. That package included, in
          section 4(a) of the Matrimonial Proceedings and Property Act 1970, the             G
          power to order either spouse to transfer to the other property to which the
          rst-mentioned party is entitled, either in possession or reversion. This was
          an expansion, for the benet of either spouse and to outright transfer as well
          as settlement, of the earlier power to settle the wifes property. Section 4(a)
          later became section 24(1)(a) of the Matrimonial Causes Act 1973.
             88 There is nothing in the language, the history, or indeed the report of
                                                                                             H
          the Law Commission which led to the 1970 Act, Report on Financial
          Provision in Matrimonial Proceedings (1969) (Law Com No 25), to suggest
          that those words should be read to include property over which the rst-
          mentioned party has such control that he could cause himself to become
          entitled, either in possession or reversion. But of course such property can


                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.188
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 172 of 421 PageID 18
                                                                                        505
           [2013] 2 AC                                                Prest v Prest (SC(E))
                                                                                    (SC(E))
                                                           Baroness Hale of Richmond JSC

       A   be taken into account when computing that partys resources for the purpose
           of section 25(2) of the 1973 Act, which lays down a non-exhaustive list of
           factors to be taken into account by the court when deciding how to exercise
           its various powers to make nancial and property adjustment orders.
               89 Nor is there anything in the language of section 24(1)(a) to suggest
           that it was Parliaments intention to grant the divorce courts an express
       B
           power to pierce the corporate veil in such a way as to treat property
           belonging to a limited company as property belonging to the spouse who
           owns and/or controls the company. The question nevertheless arises as to
           whether, in a case such as this, the courts have power to prevent the statutes
           under which limited liability companies may be established as separate legal
           persons, whether in this or some other jurisdiction, being used as an engine
           of fraud. I agree with Lord Sumption JSC that piercing the corporate veil
       C   is an example of that general principle, with which family lawyers are
           familiar from R v Secretary of State for the Home Department, Ex p Puttick
           [1981] QB 767.
               90 Lord Sumption JSC refers to the process compendiously as
           disregarding the separate personality of the company at para 16. When
           considering its scope, however, it may be helpful to consider what the
       D   purpose of doing this is. In Salomon v A Salomon & Co Ltd [1897] AC 22
           the purpose was to go behind the separate legal personality of the company
           in order to sue Aron Salomon personally for a liability that was legally that
           of the company which he had set up (with himself and members of his family
           as shareholders) to conduct his leather and boot-making business. This
           succeeded at rst instance and in the Court of Appeal (sub nom Broderip v
           Salomon), Lindley LJ going so far as to say [1895] 2 Ch 323, 339 that
       E
           Mr Aron Salomons scheme is a device to defraud creditors. They did not
           think that Parliament had legislated for the setting up of limited liability
           companies in order that sole traders should be able to conduct their
           businesses on limited liability terms. But the House of Lords disagreed: the
           company was a separate person from Mr Salomon and he could not be made
           liable for the companys debts. They did not think that there was any fraud
       F   involved simply in using a limited liability company as a vehicle for
           conducting a legitimate business. Thus was the legal structure of modern
           business born.
               91 But there are a few cases where the courts have apparently been
           prepared to disregard the separate personality of a company in order to
           grant a remedy, not only against the company, but also against the individual
       G   who owns and/or controls it. Both Gilford Motor Co Ltd v Horne [1933]
           Ch 935 and Jones v Lipman [1962] 1 WLR 832 are examples of this. In both
           those cases, it so happened that the controller had a pre-existing legal
           obligation which he was attempting to evade by setting up a company, in the
           one case a contractual obligation not to compete with his former employers,
           in the other case a contractual obligation to sell some land to the claimant.
           In In re Darby; Ex p Brougham [1911] 1 KB 95, on the other hand, the
       H   liquidator of a creditor company was permitted to go behind the separate
           personality of a debtor company registered in Guernsey in order to obtain a
           remedy personally against its promoters who had fraudulently creamed o›
           the prot from the sale by the Guernsey company to the creditor company of
           a worthless licence to run a slate quarry in Wales.

               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.189
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 173 of 421 PageID 18
          506
          Prest v Prest (SC(E))
                        (SC(E))                                                [2013] 2 AC
          Baroness Hale of Richmond JSC

              92 I am not sure whether it is possible to classify all of the cases in which   A
          the courts have been or should be prepared to disregard the separate legal
          personality of a company neatly into cases of either concealment or evasion.
          They may simply be examples of the principle that the individuals who
          operate limited companies should not be allowed to take unconscionable
          advantage of the people with whom they do business. But what the cases do
          have in common is that the separate legal personality is being disregarded in
                                                                                              B
          order to obtain a remedy against someone other than the company in respect
          of a liability which would otherwise be that of the company alone (if it
          existed at all). In the converse case, where it is sought to convert the
          personal liability of the owner or controller into a liability of the company, it
          is usually more appropriate to rely on the concepts of agency and of the
          directing mind.
              93 What we have in this case is a desire to disregard the separate legal        C
          personality of the companies in order to impose on the companies a liability
          which can only be that of the husband personally. This is not a liability
          under the general law, for example for breach of contract. It is a very specic
          statutory power to order one spouse to transfer property to which he is
          legally entitled to the other spouse. The argument is that that is a power
          which can, because the husband owns and controls these companies, be
                                                                                              D
          exercised against the companies themselves. I nd it di–cult to understand
          how that can be done unless the company is a mere nominee holding the
          property on trust for the husband, as we have found to be the case with the
          properties in issue here. I would be surprised if that were not often the case.
              94 There is a statutory power to set aside certain dispositions made with
          the intention of defeating a claim for nancial provision or property
          adjustment in section 37 of the Matrimonial Causes Act 1973. It is not              E
          suggested in this case that the expenditure involved in buying these
          properties, all of which were bought long before the marriage broke down,
          was made with that intention. If it had been, there might have been an
          argument that the exception for bona de purchasers for value contained in
          section 37(4) did not apply to a company where the controlling mind was
          acting with that intention. But that is not this case.
                                                                                              F
              95 Stone & Rolls Ltd v Moore Stephens [2009] AC 1391 is an example
          of going behind the separate legal personality of the company in order to
          get at the person who owned and controlled it, not for the purpose of
          suing him, but in order to attribute his knowledge to the company so that its
          auditors could raise a defence of ex turpi causa to the companys allegation
          that they had negligently failed to detect the fraudulent nature of its
          business.                                                                           G
              96 For all those reasons, in addition to those given by Lord
          Sumption JSC, I would dismiss this appeal on all but the issue of whether
          either party had a benecial interest in the properties in question but allow it
          on that ground. I fervently hope that the wife will gain some benet from the
          outcome of all this litigation, although in the light of the mortgages which
          apparently encumber the properties I am not optimistic that she will.
                                                                                              H
          LORD MANCE JSC
            97 I agree that the appeal should be allowed for the reasons given by
          Lord Sumption JSC, supplemented in their essence by Lord Neuberger of
          Abbotsbury PSC.

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.190
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 174 of 421 PageID 18
                                                                                          507
           [2013] 2 AC                                                    Prest v Prest (SC(E))
                                                                                        (SC(E))
                                                                              Lord Mance JSC

       A       98 I agree with Lord Sumption JSCs analysis of the domestic case law
           to date in which the metaphor of piercing the veil has been deployed as
           part of the reasoning for a decision representing an exception to the basic
           principle in Salomon v A Salomon & Co Ltd [1897] AC 22.
               99 In the upshot, the only cases which Lord Sumption JSC identies in
           which a principle of piercing the veil can be said to have been critical to the
           reasoning can be rationalised as falling within what he describes as the
       B
           evasion principle. In other cases, the corporate entity was simply being used
           to conceal the real actor, or some other analysis or relationship existed (such
           as principal and agent, nominee or trustee-beneciary) to explain the
           decision.
               100 It is however often dangerous to seek to foreclose all possible future
           situations which may arise and I would not wish to do so. What can be said
       C   with condence is that the strength of the principle in Salomons case and the
           number of other tools which the law has available mean that, if there are
           other situations in which piercing the veil may be relevant as a nal fall-
           back, they are likely to be novel and very rare.
               101 In this connection, I have however in mind that, in giving the recent
           Privy Council judgment in La Gnrale des Carrires et des Mines Sarl v
           Hemisphere Associates LLC (Jersey) [2012] 2 Lloyds Rep 443, para 77,
       D
           I said (in a context where Gcamines was a state corporation, not susceptible
           of being wound up):
                 The alternative way in which Hemisphere puts its case is to submit
              that, if Gcamines is otherwise accepted as a separate juridical entity, the
              facts found justify the lifting of the corporate veil to enable Hemisphere to
              pursue Gcamines as well as the state. In the Boards view, this involves a
       E
              misapplication of any principles on which the corporate veil may be lifted
              under domestic and international law. Assuming for the sake of
              argument that the unceremonious subjecting of Gcamines to the
              controlling will of the state involved a breach by the state of its duty to
              respect Gcamines as a separate entity, that might conceivably justify an
              a›ected third party, possibly even an aggrieved general creditor of
       F      Gcamines, in suggesting that the corporate veil should be lifted to make
              the state, which had deprived Gcamines of assets, liable for Gcamines
              debts. The Board need express no further view on that possibility. It
              represents the inverse of the present situation. There is no basis for
              treating the states taking or Gcamines use of Gcamines assets for state
              purposes, at which Hemisphere directs vigorous criticism, as a
              justication for imposing on Gcamines yet further and far larger burdens
       G
              in the form of responsibility for the whole of the debts of the Democratic
              Republic of the Congo. In international law as in domestic law, lifting the
              corporate veil must be a tailored remedy, tted to the circumstances
              giving rise [to] it.
              102 It may be that the possibility on which I touched in para 77 would
           evaporate as a possible further exception to the principle in Salomons case
       H
           [1897] AC 22. It is certainly a di›erent situation to those which Lord
           Sumption JSC discusses. But one would wish to hear further argument on
           this or any other suggested exception, in a case where it was directly
           relevant, before deciding this. No one should, however, be encouraged to
           think that any further exception, in addition to the evasion principle, will be


               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                              APP.191
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 175 of 421 PageID 18
          508
          Prest v Prest (SC(E))
                        (SC(E))                                                [2013] 2 AC
          Lord Mance JSC

          easy to establish, if any exists at all. The evident absence, under the close      A
          scrutiny to which Lord Sumption JSC has subjected the case law, of
          authority for any further exception speaks for itself.

          LORD CLARKE OF STONE-CUM-EBONY JSC
             103 I agree with the other members of the court that the appeal should
          be allowed for the reasons given by Lord Sumption JSC. I only wish to add a
                                                                                             B
          word on piercing the corporate veil. I agree that there is such a doctrine and
          that its limits are not clear. I also agree that Munby J was correct in Ben
          Hashem v Al Shayif [2009] 1 FLR 115 to suggest that the court only has
          power to pierce the corporate veil when all other more conventional
          remedies have proved to be of no assistance. It is thus likely to be deployed
          in a very rare case. Lord Sumption JSC may be right to say that it will only
          be done in a case of evasion, as opposed to concealment, where it is not           C
          necessary. However, this was not a distinction that was discussed in the
          course of the argument and, to my mind, should not be denitively adopted
          unless and until the court has heard detailed submissions on it. I agree with
          Lord Mance JSC that it is often dangerous to seek to foreclose all possible
          future situations which may arise and, like him, I would not wish to do so.
          I expressed a similar view in VTB Capital plc v Nutritek International Corpn
                                                                                             D
          [2013] 2 AC 337 and adhere to it now. However, I also agree with Lord
          Mance JSC and others that the situations in which piercing the corporate veil
          may be available as a fall-back are likely to be very rare and that no one
          should be encouraged to think that any further exception, in addition to the
          evasion principle, will be easy to establish. It will not.

          LORD WALKER OF GESTINGTHORPE                                                       E
             104 Lord Sumption JSC has comprehensively analysed the rather
          confused evidence relating to benecial ownership of the London properties.
          His conclusion that they are all in the benecial ownership of Mr Prest is in
          my view irresistible, based as it is on positive evidence of the sources from
          which the purchases were funded, as well as on inferences drawn from the
          failure of Mr Murphy, a director of PRL, to attend court for cross-
                                                                                             F
          examination. I also agree with all Lord Sumption JSCs observations as to
          the construction and e›ect of the Matrimonial Causes Act 1973, to which
          Baroness Hale of Richmond JSC has added a full account of its legislative
          history. The appeal should be allowed in the terms proposed by Lord
          Sumption JSC.
             105 In these circumstances it is not strictly necessary for this court to
          add further general comments on the vexed question of piercing the                 G
          corporate veil. But for my part I think it would be a lost opportunityeven
          perhaps a minor dereliction of dutyif we were to abstain from any further
          comment. I do therefore welcome the full discussion in the judgments of
          Lord Neuberger of Abbotsbury PSC, Baroness Hale, Lord Mance and Lord
          Sumption JJSC.
             106 I am reluctant to add to the discussion but for my part I consider
                                                                                             H
          that piercing the corporate veil is not a doctrine at all, in the sense of a
          coherent principle or rule of law. It is simply a labeloften, as Lord
          Sumption JSC observes, used indiscriminatelyto describe the disparate
          occasions on which some rule of law produces apparent exceptions to the
          principle of the separate juristic personality of a body corporate rea–rmed

                ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                           APP.192
e 3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 176 of 421 PageID 18
                                                                                        509
           [2013] 2 AC                                                 Prest v Prest (SC(E))
                                                                                     (SC(E))
                                                              Lord Walker of Gestingthorpe

       A   by the House of Lords in Salomon v A Salomon & Co Ltd [1897] AC 22.
           These may result from a statutory provision, or from joint liability in tort, or
           from the law of unjust enrichment, or from principles of equity and the law
           of trusts (but without any false invocation of equity in the phrase used by
           C Mitchell in the article mentioned by Lord Neuberger PSC, at para 77).
           They may result simply from the potency of an injunction or other court
           order in binding third parties who are aware of its terms. If there is a small
       B
           residual category in which the metaphor operates independently no clear
           example has yet been identied, but Stone & Rolls Ltd v Moore Stephens
           [2009] AC 1391, mentioned in Baroness Hale JSCs judgment, is arguably an
           example.
                                                                      Appeal allowed.
       C
                                                            JILL SUTHERLAND, Barrister




       D

                END OF VOLUME AND OF APPEAL CASES SERIES FOR 2013




       E




       F




       G




       H




               ' 2013 The Incorporated Council of Law Reporting for England and Wales
                                                                            APP.193
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 177 of 421 PageID 18050




                   EXHIBIT D




                                                                       APP.194
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 178 of 421 PageID 18051




                                                                Michaelmas Term
                                                                   [2017] UKPC 32
                                              Privy Council Appeal No 0021 of 2016




                              JUDGMENT

            Dave Persad (Appellant) v Anirudh Singh
              (Respondent) (Trinidad and Tobago)


         From the Court of Appeal of Trinidad and Tobago
                                     before

                               Lord Neuberger
                                 Lord Kerr
                                 Lord Reed
                                Lord Hughes
                                Lord Hodge



                        JUDGMENT GIVEN ON


                              30 October 2017


                            Heard on 21 June 2017




                                                                         APP.195
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 179 of 421 PageID 18052



           Appellant                                       Respondent
     Hari N Ramkarran SC                               Anand Beharrylal
                                                     Kwaku Awuku-Asabre
    (Instructed by Sheridans)                        (Instructed by Yaseen
                                                            Ahmed)




                                                                         APP.196
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19            Page 180 of 421 PageID 18053




   LORD NEUBERGER:


   1.    The primary issue on this appeal is whether, as the Court of Appeal held,
   Pemberton J was entitled to conclude that the appellant, Dave Persad, was liable to the
   claimant, Anirudh Singh, for sums due under a lease which Mr Singh had granted to a
   company called Chicken Hawaii (Trinidad) Ltd (“CHTL”).


   2.     The background facts are as follows. Mr Singh is the owner of premises
   consisting of two buildings at ¼ MM Manzanilla Road, Mayaro, Trinidad. In late
   autumn 2001, when he was about to leave for the United States, he told his brother
   that he was looking for a tenant for the premises. In early 2002, having been told of
   the premises by Mr Singh’s brother, Mr Persad contacted Mr Singh by telephone to
   discuss the possibility of taking a lease of the premises. Discussions then took place
   between the two men and they reached an agreement whereby Mr Persad would take a
   five-year lease of the premises starting on 1 April 2002, and that Mr Persad, who is a
   qualified attorney, would draft the lease.


   3.     Sometime in March 2002, Mr Singh allowed Mr Persad to occupy the premises
   in advance of the anticipated grant of the lease. Mr Persad then proceeded to carry out
   some works of decoration and improvement.


   4.     Meanwhile, Mr Persad had prepared a form of lease of the premises, which it
   appears he negotiated with Mr Singh’s brother. The draft lease reserved a rent of
   TT$4,000 per month for the first two years and TT$5,000 per month for the last three
   years, payable monthly in advance. It also contained covenants by the tenant,
   including a covenant to pay the rent, to keep the premises in repair, to deliver up the
   premises at the end of the term, and not to commit nuisance. In addition, the draft
   lease contained a proviso for forfeiture in the event of the lessee failing to pay the rent
   or breaching any covenant.


   5.      In its opening passage, the draft lease stated that the lessor was Mr Singh, and,
   importantly for present purpose, that the lessee was CHTL, not Mr Persad. In about
   January 2002, a copy of the draft lease executed on behalf of the lessee was sent to Mr
   Singh in the USA for execution. In the normal way, at the end of the lease it was
   recorded as executed on behalf of the lessor and the lessee. The lessor was to be Mr
   Singh with a space left for him to sign. The lessee was recorded as CHTL, and it was
   stated that the seal of CHTL had been “affixed by Sandra Dass, Company Secretary”.
   In the space left for execution by the lessee was Ms Dass’s signature under which
   CHTL’s company seal had been affixed. Mr Singh took some time to sign the lease


                                          Page 2

                                                                                    APP.197
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19          Page 181 of 421 PageID 18054



   himself, but he did so on 1 May 2002, which is the date on which the lease is recorded
   as having been executed.


   6.      There appears to have been no mention of CHTL during the negotiations,
   which had proceeded on the assumption that Mr Persad would be the lessee. It would
   seem that the first time that Mr Singh heard that CHTL was to be the lessee, indeed
   the first time he had heard of CHTL was when he received the draft lease executed on
   behalf of CHTL. However, although he took some time to sign the lease and to send it
   back, Mr Singh did not challenge or even question the inclusion of the company as the
   lessee. In his evidence, Mr Singh said that he noticed that CHTL had been identified
   as the lessee and that he appreciated that its status as a limited company meant that it
   was a separate legal entity from Mr Persad - unsurprisingly as Mr Singh is a qualified
   MBA.


   7.     Following the grant of the lease, a restaurant was run from the majority of the
   premises, but a part was used by Mr Persad personally as an office, and another part
   may have been used for residential purposes. The rent was initially paid, albeit not
   always on time. The evidence established that, on at least two occasions, namely in
   July and August 2004, the rent was paid by cheques signed by Mr Persad drawn on
   CHTL’s bank account. Meanwhile, after having received complaints of nuisance, Mr
   Singh visited the premises in early September 2003 when he observed some disrepair.
   In April 2004, a notice identifying the items of disrepair and requiring their remedy
   was served on CHTL by Mr Singh’s attorney. (Such a notice is required by section
   70(1) of the Conveyancing and Law of Property Act (Chapter 56, No 1) as a
   preliminary step before a forfeiture can be initiated.)


   8.      On 28 September 2004, Mr Singh issued proceedings for possession, arrears of
   rent amounting to TT$16,000, damages for breach of covenant, and mesne profits.
   Both CHTL and Mr Persad were named as defendants. The statement of claim
   identified the lease as having been made between Mr Singh and CHTL, and referred
   to Mr Persad as a director of CHTL and “at all material times acting on his own or as
   the servant and/or agent of [CHTL]”. It referred to “the defendants” as having been in
   breach of the repairing and nuisance covenants, and stated that CHTL was in arrear
   with the rent. The prayer for relief sought against both defendants possession, arrears
   of rent, mesne profits, and damages for breach of covenant, The statement of claim
   was later amended to record the fact that the premises were vacated during August
   2005.


   9.     CHTL and Mr Persad served a defence and counterclaim. In the defence, the
   grant of the lease to CHTL and the covenants pleaded in the claim were admitted. It
   was also admitted that Mr Persad is and was “a director and agent” of CHTL, but it
   was denied that he “at all material times acted on his own”. The breaches of covenant
   alleged by Mr Singh were denied. In its counterclaim, CHTL sought damages from


                                         Page 3

                                                                                 APP.198
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19            Page 182 of 421 PageID 18055



   Mr Singh for allegedly disrupting its restaurant business carried on at the premises,
   repayment of a loan, and reimbursement for the cost of some improvements to the
   premises.


   10.    The claim and counterclaim came on for trial before Pemberton J, and after
   hearing witnesses (including Mr Singh and Mr Persad) and legal argument, she gave
   judgment on 15 July 2011. The effect of her decision was that judgment was given
   against both CHTL and Mr Persad for TT$21,569.69 damages for breach of covenant ,
   for TT$17,833.33 in respect of arrears of rent, and for mesne profits at TT$5,000 per
   month for the period between 11 August 2004 and 18 August 2005, together with
   interest in each case at the rate of 10% per annum from 18 August 2005 to the date of
   judgment; and the defendants were ordered to pay TT$11,673 costs. On the
   counterclaim, she gave CHTL judgment for compensation for improvements, but
   dismissed the other claims.


   11.    Mr Persad appealed to the Court of Appeal (Smith, Moosai and Mohammed
   JJA) against the finding that he was liable to Mr Singh for any of the sums awarded
   against him, but his appeal was dismissed in a short ex tempore judgment given on 21
   May 2014.


   12.     Mr Persad now appeals to the Board against the finding that he was liable to
   Mr Singh for any of the sums awarded against him and upheld by the Court of Appeal.
   There is no challenge as to the Judge’s conclusions in relation to the liability of CHTL
   (or the amounts awarded against that company) or any of her findings of primary fact.


   13.    In these circumstances, the only part of the Judge’s full and careful judgment to
   which reference needs to be made is in paras 63 to 66 where she considered the issue
   which she described as “Who were the ‘real’ parties to the lease and from whom can
   [Mr Singh] recover?” She concluded that Mr Persad and CHTL “were one and the
   same and his personal liability for any defaults of [CHTL] is founded” and so Mr
   Singh “can recover from both defendants”.


   14.     She justified this conclusion primarily on the basis that CHTL was only formed
   after the discussions as to the level of rent, that Mr Persad did not draw the identity of
   the lessee or even the existence of CHTL to Mr Singh’s attention when or before
   sending him the draft lease for execution, and that Mr Persad took possession
   personally from the start. She held that this entitled her to pierce the corporate veil and
   hold that CHTL’s liabilities under the lease were also the liabilities of Mr Persad. She
   further justified this conclusion on the ground that Mr Persad “use[d] the company as
   an avoidance mechanism so as to displace the question of whether it is just to pierce
   the veil”. She found that “there was a fluid exchange of persona between [Mr Persad]
   and [CHTL], which was not present at the negotiation and conclusion of the lease”,


                                          Page 4

                                                                                    APP.199
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19          Page 183 of 421 PageID 18056



   and that Mr Persad “concluded the negotiations in his personal capacity [and] then
   formed the company”. She also made the point that he “produced no corporate
   documents”, and that “it [was] evident that this was a one man show, in the hope that
   if all was not well he would not be held personally liable”.


   15.     In upholding this decision, the Court of Appeal explained that “[a] court may
   pierce the corporate veil when there is an abuse of the corporate personality to evade
   or frustrate the legal consequences of one’s actions”. They summarised the reasons for
   the Judge’s conclusion that she could pierce the veil in this case as being “[Mr]
   Persad, concluded the negotiations in his personal capacity”, “he then formed the
   company”, “he produced no corporate documents and he could not recall when last
   annual returns had been filed”, and “from his testimony, it is evident that was a one
   man show”. As the Court of Appeal then said, “[b]ased on these facts, the trial judge
   inferred and concluded that this company was formed in the hope that if all was not
   well, [Mr Persad] would not be held personally liable”. The Court of Appeal then
   concluded that there was “no reason” to interfere with Pemberton J’s decision, based
   as it was on the evidence, and she had had the advantage of seeing the witnesses. They
   also added that Mr Singh, whose credibility was not challenged, had described CHTL
   as a “front” for Mr Persad.


   16.     The issue therefore is whether, as the Court of Appeal found, the Judge had
   been entitled to hold that, notwithstanding that the lease had been granted to CHTL,
   Mr Persad could be liable for CHTL’s failure to pay rent and breaches of covenant.
   The Judge considered that she was entitled to take this course because the facts
   justified piercing the veil of incorporation. The Board intends no disrespect,
   particularly in the context of what was otherwise a careful and painstaking judgment,
   in stating that the facts of this case do not begin to justify piercing the veil of
   incorporation.


   17.     As the Court of Appeal rightly acknowledged, piercing the veil is only justified
   in very rare circumstances, a point which was implied in the UK Supreme Court’s
   decision in VTB Capital Plc v Nutritek International Corpn [2013] 2 AC 337, paras
   127, 128 and 147, and was expressed in terms in its subsequent decision in Prest v
   Petrodel Resources Ltd [2013] 2 AC 415, paras 35, 81-82, 99-100 and 106. As Lord
   Sumption explained in Prest at para 35, piercing the veil can be justified only where
   “a person is under an existing legal obligation or liability or subject to an existing
   legal restriction which he deliberately evades or whose enforcement he deliberately
   frustrates by interposing a company under his control”. In this case, Mr Singh cannot
   get near establishing any evasive or frustrating action on the part of Mr Persad. Mr
   Persad was under no relevant “legal obligation or liability” to Mr Singh at the time
   that he proffered to Mr Singh the draft lease executed by CHTL or at the time that the
   lease became binding. He had been negotiating for the grant of a formal lease and
   therefore there could have been no question of his having been bound as lessee prior
   to the formal completion of the Lease. In any event, the parties always envisaged a

                                         Page 5

                                                                                 APP.200
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19           Page 184 of 421 PageID 18057



   term of five years, and such a lease can only be granted by deed - see section 3 of the
   Landlord and Tenant Ordinance (Chapter 27, No 16).


   18.    The fact that Mr Persad proffered a draft lease with CHTL as the lessee, after
   he and Mr Singh had been negotiating on the assumption that Mr Persad would be
   lessee, does not assist Mr Singh’s case. Mr Persad did not give any sort of assurance
   that he personally would take the lease or that he would not put forward a limited
   company as the lessee, when the proposed lease came to be drawn up. Further, it is not
   as if Mr Persad misled Mr Singh in any way: Mr Singh appreciated that the lease
   which he was being asked to execute involved the grant to a lessee which was not Mr
   Persad but was CHTL. It is not even as if Mr Singh failed to appreciate that a limited
   company was a different legal person from its shareholder or director.


   19.     The fact that Mr Persad had gone into occupation of the premises adds nothing.
   Given that he was a director and shareholder of CHTL (or, assuming CHTL was not
   formed until 2 April 2002 (see para 25 below), an intended director and shareholder),
   it was entirely consistent with CHTL taking the lease. But even ignoring that point, it
   is difficult to see how Mr Persad’s early occupation of the premises could assist Mr
   Singh’s argument that the corporate veil should be pierced: the occupation is
   consistent with the fact that the parties negotiated on the assumption that Mr Persad
   would be the lessee, but given that that common assumption does not assist Mr
   Singh’s case, Mr Persad’s occupation of the premises cannot do so either.


   20.     In the light of the issues before the Judge, the fact that Mr Persad did not
   produce any documents relating to the creation or constitution of CHTL takes matters
   no further. The fact that CHTL was a “one man company” is also irreleva nt: see
   Salomon v A Salomon and Co Ltd [1897] AC 22, which famously established the
   difference between a company and its shareholders. That case also exposes the fallacy
   of the notion that the court can pierce the veil where the purpose of an individual
   interposing a company into a transaction was to enable the individual who owned or
   controlled the company to avoid personal liability. One of the reasons that an
   individual, either on their own or together with others, will take advantage of limited
   liability is to avoid personal liability if things go wrong, as Lord Herschell said at pp
   43 to 44. If such a factor justified piercing the veil of incorporation, it would make
   something of a mockery of limited liability both in principle and in practice.


   21.     That passage in Lord Herschell’s speech also disposes of the suggestion that
   CHTL was a “front” for Mr Persad. Such (mildly) pejorative terms can only too easily
   be invoked to justify a decision which is both unreasoned and wrong. Lord Herschell
   said, at p 42, that he was “at a loss to understand what is meant by saying that” the
   company was an “alias” for its shareholder and director, as the company “is not
   another name for the same person; the company is ex hypothesi a distinct legal
   persona”.


                                         Page 6

                                                                                  APP.201
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19              Page 185 of 421 PageID 18058



   22.     In the course of his able and spirited submissions, Mr Beharrylal suggested that
   the facts of this case were comparable with those in Gilford Motor Co Ltd v Horne
   [1933] Ch 935 and Jones v Lipman [1962] 1 WLR 832, whose facts are respectively
   set out by Lord Sumption in Prest at paras 29 and 30. The Board considers that those
   cases are readily distinguishable from the present case. Not only did the person who
   set up the company in those cases have an existing relevant legal obligation which he
   was trying to avoid by entering into a transaction involving the company, but also the
   involvement of the company was unilaterally effected by the person concerned,
   without the knowledge, let alone the consent, of the other party. In this case, as
   already mentioned, Mr Persad had no rele vant obligation to Mr Singh at the time of
   the transaction involving the company, namely the grant of the lease, and furthermore
   Mr Singh, the person seeking to pierce the corporate veil, was directly involved in,
   indeed was a necessary party to, that transaction.


   23.    Mr Beharrylal also suggested that Mr Singh might be able to rely on other
   causes of action, including misrepresentation, mistake and rectification. Apart from
   the fact that they were not pleaded, none of these causes of action could arise on the
   facts of this case. However, there are two outstanding points which must be dealt with.


   24.     The first is the possibility that Mr Persad could be liable for mesne profits (or,
   more accurately, damages for trespass) between the time that the lease came to an end
   and the time that the premises were vacated. This would be on the basis that, although
   he could not be liable for any breaches of the lessee’s covenants, Mr Persad could be
   liable for trespass while he occupied the premises once the lease had expired.
   However, there is no evidence to suggest that he was there during the period in respect
   of which mesne profits were ordered. The most that can be said is that it does appear
   that for some period during the currency of the lease he was occupying an office in the
   premises, but that is as far as the evidence goes. Furthermore, there is no evidence as
   to the extent, let alone the value, of the office space, other than the indication that it is
   a pretty small room. Given the absence of any satisfactory factual or valuation
   evidence on the point, and fact that the possibility of Mr Persad being liable as a
   trespasser was not raised below, it is inappropriate to consider this issue further.


   25.     The second issue arises from Mr Singh having discovered after the hearing that
   CHTL had not been incorporated until the day after the lease was formally granted.
   That is a point which was not raised at trial or in the Court of Appeal. However, Mr
   Singh wishes to raise the point before the Board, by way of an application to rely on
   new evidence, namely the certificate of incorporation of CHTL, which of course
   records the date of its formation. In pursuing this application, the Board considers that
   Mr Singh may well have faced real problems in justifying not having raised this point
   at the hearing. After all, the certificate was publicly available before the hearing. It is
   arguable that the certificate should have been produced on disclosure in the
   proceedings by CHTL, but it can be said with some force that it would not have gone
   to any issue on the pleadings, and anyway that any failure to disclose would have been

                                           Page 7

                                                                                      APP.202
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19             Page 186 of 421 PageID 18059



   that of CHTL not of Mr Persad. However, it is unnecessary to reach a conclusion on
   those issues, because Mr Singh faces an insurmountable problem in connection with
   his application.


   26.     The problem for Mr Singh is that, even if the Board was to admit this new
   evidence, it would get him nowhere. Section 20 of the Companies Act (Chapter 81:01
   of the Laws of Trinidad and Tobago) deals with “pre-incorporation agreements” by
   companies. Section 20(1) provides that where an agreement is entered into by a person
   on behalf of a company which does not exist, that person is bound in place of the
   company. Section 20(2) states that, in such a case, the company concerned may
   nonetheless “adopt” a written agreement “by any action or conduct signifying the
   intention to be bound” within a reasonable time. Section 20(3) provides that, in such a
   case, the company can enforce and is bound by the agreement from its inception, and,
   subject to an irrelevant exception, the person otherwise bound by virtue of subsection
   (1) ceases to be so bound. The effect of this section therefore is that Mr Singh’s
   argument based on the late incorporation of CHTL must fail because (i) the payment
   of rent by CHTL in 2004 (and possibly earlier) served to ratify its status as lessee
   under the lease by virtue of section 20(2), and (ii) even if that were not right, the effect
   of section 20(1) is that Ms Dass is liable as lessee under the lease, and the issue on this
   appeal is whether Mr Persad is liable.


   27.    For these reasons, the Board allows Mr Persad’s appeal, and refuses Mr
   Singh’s application. The parties should try and agree costs and a form of order. As at
   present advised, and subject to argument to the contrary from Mr Singh, the Board
   would be inclined to order Mr Singh to pay Mr Persad his costs of the entire
   proceedings, but the first instance costs should be limited to the extra costs attributable
   to Mr Persad’s involvement over and above the costs which were or would have been
   incurred in connection with the claim against CHTL.


   28.    In fairness to Pemberton J it should be recorded that the decisions of the UK
   Supreme Court in VTB and Prest were given after she had given her judgment in this
   case. Both VTB and Prest had been decided by the time of the Court of Appeal
   hearing, but they were not referred to Prest, although they were referred to VTB.




                                           Page 8

                                                                                     APP.203
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 187 of 421 PageID 18060




                   EXHIBIT E




                                                                       APP.204
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19             Page 188 of 421 PageID 18061



                          OUTER HOUSE, COURT OF SESSION

                                                                         [2015] CSOH 141
    A49/09




                               OPINION OF LORD GLENNIE

                                          In the cause

                               THE TARTAN ARMY LIMITED

                                                                                     Pursuer;

                                            against

     (FIRST) SETT GMBH, (SECOND) OLIVER REIFLER, (THIRD) IAIN EMERSON
                    and (FOURTH) ALBA FOOTBALL FANS LIMITED

                                                                                Defenders:

               Pursuer: Mackenzie, solicitor advocate; Shepherd and Wedderburn LLP

                         Third Defender: Young; Drummond Miller LLP



    22 October 2015

    Introduction
    [1]      In this Intellectual Property action the pursuer advances claims against a
    number of defenders in respect of alleged infringements of various “Tartan
    Army” trademarks.
    [2]      The “Tartan Army” name was first used in the late 1970s, when the
    Scotland football team qualified for the 1978 World Cup in Argentina. A novelty
    song was released entitled “Ally’s Tartan Army”, “Ally” referring to the team




                                                                                       APP.205
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19          Page 189 of 421 PageID 18062



    manager, Ally MacLeod, and “Tartan Army” referring to the fans who travelled
    to support the Scotland team. Since then, the Tartan Army, i.e. the Scotland
    football supporters travelling under that name, have won various awards for
    their friendly nature, sporting spirit and charity work. They have been awarded
    a FIFA fair play award by the Belgian Olympic Committee and were named as
    the best supporters during the 1992 European Championship and at the 1998
    World Cup in France, where they were presented with a trophy for non-violence
    in sport and for their sense of fair play.
    [3]    The pursuer avers that the “Tartan Army” mark has developed and is
    now well established as a symbolic renowned brand associated with sporting
    spirit, friendly travelling support and fair play. It is the owner of a number of
    trademarks for the “Tartan Army” mark which have been filed and registered in
    the United Kingdom and a number of other countries, it having purchased some
    or all of those trademarks from one Ian Aide in about 2006. The UK trademarks
    provide protection in classes which include textile goods, clothing, footwear,
    headgear and football strips, and the registered trademarks in other countries,
    including New Zealand, Australia and the USA, providing similar protection. In
    addition, it has a Community trade mark which provides protection in, among
    other things, printed matter and magazines, travel agency services, travel and
    ticket reservation services and travel information services. The pursuer avers
    that it offers a range of high quality goods and services to the public, including
    various sponsorship deals and travel promotions, through its online Tartan
    Army shop. It has granted permission to associated companies to use the brand.
    Its website provides a place for all Scotland supporters worldwide to obtain
    exclusive Tartan Army merchandise, gifts and travel, to obtain the latest sports
    news, and to take part in discussions with other members of the Tartan Army. It
    publishes a monthly newsletter. It is also involved in charity work and has




                                                                                   APP.206
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19          Page 190 of 421 PageID 18063



    organised tour co-ordinated events with a view to raising money for charities
    such as Children in Need.
    [4]    The pursuer claims that from about 2007 or 2008 the defenders have
    infringed its rights in the “Tartan Army” trade mark by publishing a magazine
    known as “The Famous Tartan Army magazine” and offering other services
    using the “Tartan Army” mark. It avers that the defenders’ sign highlights the
    words “Tartan Army” in a manner which is identical to the way in which those
    words appear when it uses them, and that the defenders offer goods, travel
    services and promotions identical with its own offerings. It seeks interdict
    preventing the defenders infringing its exclusive right to use the “Tartan Army”
    mark and from passing off, by use of the that mark, its own goods and services
    as if they were manufactured or sold by the pursuer; an order for destruction of
    all products and promotional and marketing material in the defenders’
    possession using the “Tartan Army ” mark; and count and reckoning by the
    defenders for the profits made by them from September 2007 to date from the
    publication and sale of magazines and the supply of goods and services
    infringing the trademarks, and payment of the balance found due, which failing
    the sum of £300,000, plus interest. It also seeks the expenses of the action.
    [5]    The pursuer has settled its dispute with the first and second defenders. I
    need say nothing more about them. However, the action continues as against the
    third and fourth defenders, namely Iain Emerson (“Mr Emerson”) and Alba
    Football Fans Limited (“Alba”).
    [6]    Alba was incorporated on 4 November 2008. Mr Emerson is its sole
    director.
    They both admit that Alba publishes the Famous Tartan Army Magazine (“the
    Magazine”). However, they raise a number of defences. Among other things,
    they say that the Magazine was first published in 2005 by SFM Promotions
    Limited (“SFM”), a company incorporated by Mr Emerson and his then business




                                                                                    APP.207
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19          Page 191 of 421 PageID 18064



    partner. They say that Mr Aide, who then owned the UK trademarks,
    represented that he had no issue with SFM publishing the Magazine. They aver
    that the pursuer was fully aware of this when it purchased the UK trademarks
    from Mr Aide and even placed advertisements in and contributed to the
    Magazine thereafter. When SFM went into liquidation in late 2008 its intellectual
    property rights were assigned to Alba, which was incorporated by Mr Emerson
    for the specific purpose of acquiring and continuing SFM’s business. Since then
    both Mr Emerson and Alba have invested time and money in developing,
    producing, promoting and growing the Magazine. Alba publishes the Magazine;
    Mr Emerson does not. No trademark protecting rights in publication of a
    magazine existed when Alba commenced publication. Only the Community
    trademark protected such rights and it did not exist at that time. In any event,
    both Mr Emerson and Alba deny that the “Tartan army” mark is sufficiently
    distinctive to be capable of protection by a trademark. Mr Emerson
    counterclaims for declarator that the trademarks are invalid and also for
    declarator that the Community trademark, which was only registered in 2009, is
    invalid in whole or in part, having been acquired in bad faith.


    Procedure
    [7]    The action began some considerable time ago but was sisted soon
    afterwards. The fourth defender, Alba, was only brought into the action in
    February 2015. Alba lodged defences in March 2015 in substantially the same
    terms as those already lodged by Mr Emerson. Those defences raise potentially
    complex issues of fact and law.
    [8]    It is the pursuer’s case that Mr Emerson is personally liable for the actings
    of Alba in relation to the matters complained of in the action. Mr Emerson, by
    contrast, says that every action of which the pursuer complains, to the extent that
    it was done at all, was done by Alba, not by him personally. On 1 April 2015, at a




                                                                                  APP.208
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19          Page 192 of 421 PageID 18065



    preliminary hearing in terms of Rule of Court 55.2E, the pursuer sought and
    obtained an order for further specification of the structure and management of
    Alba and, in effect, the relationship between Mr Emerson and Alba. The
    preliminary hearing was continued. Alba complied with the order by providing
    the information in a precognition by Mr Emerson.
    [9]    At the resumed preliminary hearing in June 2015 the pursuer submitted
    that the question whether Mr Emerson was properly convened as a party to the
    action on the basis that he was personally liable for the actions of Alba was likely
    to have an important bearing on the future conduct of the case and ought to be
    decided first. The defenders, for their part, argued that the case should be
    appointed to a proof before answer restricted to the issues of validity raised in
    Mr Emerson’s counterclaim. I preferred the suggestion made by the pursuer. It
    seemed to me that the issue of Mr Emerson’s personal liability might well be
    critical to the future progress of the action and I appointed the case to debate on
    this question.


    The relevant averments
    [10]   The pursuer’s case on the pleadings on this point is as follows. In Art.1 of
    Condescendence it avers that:
           “The third defender [Mr Emerson] is the sole director and shareholder of
           the fourth defender [Alba]. There has never been and there is unlikely to
           be any employees (sic) of the fourth defender. The day to day decisions
           are taken by the sole director, the third defender. The third defender is
           the controlling mind of the fourth defender. The third defender has
           directed or procured the commission of the wrongful act complained of.
           The third defender is convened as he is the personification of the
           company.”




                                                                                   APP.209
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19          Page 193 of 421 PageID 18066



    In Art.6 it makes the following further averments:
           “Alba Football Fans Limited was incorporated on 4 November 2008. The
           third defender is the sole director of Alba Football Fans Limited. Alba
           Football Fans Limited was set up by the third defender to provide a
           vehicle to continue to use the Tartan Army trademark. The third defender
           directed and directs or procured and procures the actions of Alba Football
           Fans Limited. Alba Football Fans Limited has not files accounts with
           Companies House and the Annual Return is overdue. … The third
           defender directs and procures the actions of the fourth defender. The
           fourth defender is called upon to explain the averment ‘It [the magazine]
           is not, and has never been, produced and published by the third defender
           personally.’”


    In Art.9 the pursuer avers that the Magazine is published by Alba, who own the
    copyright. It also avers that “the defenders” (i.e. all four defenders) publish the
    Magazine and offer travel services and promotions. Finally, in Art.10, the
    pursuer says this:
           “The third defender incorporated Alba Football Fans Limited in
           November 2009. This company was incorporated to continue the
           publication of the Famous Tartan Army magazine. The continued
           publication of this magazine is an infringement of the pursuer’s trade
           marks. The third defender avers … that he is the directing mind of Alba
           Football Fans Limited. The third and fourth defenders are acting in
           concert in the publication of the Famous Tartan Army magazine and the
           offering of travel services using the trade mark TARTAN ARMY.”


    [11]   There is no specific plea-in-law for the pursuer focusing the issue of Mr
    Emerson’s liability for the acts of Alba. The pursuer’s pleas-in-law simply assert




                                                                                   APP.210
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19           Page 194 of 421 PageID 18067



    that “the defenders” have infringed the pursuer’s trademarks and that “the
    actings of the defenders” amount to a passing off of their goods as those of the
    pursuers.
    [12]     In his defences Mr Emerson admits much of the detail in the pursuer’s
    pleadings. But he does not accept the assertion (a) that he has directed or
    procured the actions of Alba, (b) that he is acting in concert with Alba or (c) that
    he is in any way liable personally for any of the acts about which the pursuer
    complains. For the avoidance of doubt, the averments in Mr Emerson’s defences
    relevant to the question of his personal liability for the acts of Alba can be
    summarised as follows:

     1. In January 2005 Mr Emerson and his then business partner incorporated
           SFM with the intention that it publish a Scottish football magazine (Ans.6);

                    (2)    In late 2008, after SFM had been put into liquidation, Mr
                    Emerson arranged for Alba to be incorporated with the specific
                    purpose of acquiring and continuing SFM’s business of publishing
                    the Magazine (Ans.6);
             (3)    Mr Emerson is the sole director and shareholder of Alba (Ans.1);
                    (4)    Alba has never had any employees and is unlikely to have
                    any employees in the future (Ans.1).
                    (5)    Day to day decisions within Alba are taken by Mr Emerson
                    (Ans.1);
                    (6)    Mr Emerson relied on the continued acquiescence of the
                    pursuer in the production of the Magazine (Ans.8 and 10);
                    (7)    Mr Emerson has injected significant amounts of his own
                    time, money and effort into the business, and has given up other
                    employment to work on the business and to develop its brand
                    (Ans.10).




                                                                                     APP.211
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19           Page 195 of 421 PageID 18068



    In addition, in his precognition lodged in process pursuant to the order of the
    court referred to in para [8] above, Mr Emerson confirmed that Alba had never
    had nor was likely to have any employees and that, as sole director, he took the
    day to day decisions himself. He added this further information:
                    (8)    So far as concerns the publication of the Magazine, there is a
                    wide group of people who contribute by providing content and
                    pictures, mostly free of charge. Digital publication is produced by
                    [a publishing company] who are paid for bringing content and
                    graphics together. In the past another company had carried out
                    graphic design.
             (9)    Mr Emerson provides the editorial content.
             (10)   Alba has the final say on all content and layout of the Magazine.
    Since Mr Emerson confirmed that he took the day to day decisions himself, I take
    this last point, (10), to mean that he himself has the final say on all content and
    layout of the Magazine.
    [13]     I should add that the order made at the preliminary hearing on 1 April
    2015 required Alba to produce all minutes of board meetings. None were
    produced. I take it from that, and indeed this was accepted on behalf of both
    defenders at the continued preliminary hearing, that no minutes were kept of
    any board meetings. This no doubt reflects the reality of the fact that Mr
    Emerson was sole director and took all decisions himself.
    [14]     For what it is worth, I should note that, in its defences, Alba repeats Mr
    Emerson’s averments to the effect that he, Mr Emerson, relied on the continued
    acquiescence of the pursuer in the production of the Magazine. It also repeats
    Mr Emerson’s averments to the effect that he, Mr Emerson, has injected
    significant amounts of his own time, money and effort into the business and has
    given up other employment in order to work on the business and develop its
    brand.




                                                                                    APP.212
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19          Page 196 of 421 PageID 18069




    Submissions in outline
    [15]   Both parties helpfully submitted detailed Notes of Argument and a joint
    bundle of authorities. They elaborated on certain aspects in oral argument. I
    summarise the main points below.
    [16]   A number of propositions were not contentious. A company is a legal
    entity separate and distinct from its shareholders and directors. A director or
    shareholder may be held personally liable for the acts of a company in the
    circumstances where his relationship with the company indicates that he is the
    true actor, the company simply being used to conceal that fact. He may also be
    held liable in the limited circumstances where it is permissible for the court to
    pierce the corporate veil (in cases where a company is interposed to enable the
    individual to evade a pre-existing legal liability). Otherwise the only basis for
    holding a director or shareholder liable is as joint tortfeasor (counsel used the
    English terminology and I shall do the same, at this stage at least). Whether the
    individual is jointly liable with the company is to be determined by reference to
    the principles identified in a large number of well-known authorities. In
    summary they provide that liability attaches when the individual procures the
    commission of the wrongful act by another or assists in it pursuant to a common
    purpose or intention that the act, which turns out to be wrongful, takes place.
    The joint tortfeasor must have been so involved in the commission of the
    wrongful act as to make himself liable for it. He must have made the infringing
    act his own. A director or shareholder will not be jointly liable with the company
    if he does no more than a carry out his constitutional role in the governance of
    the company. It is therefore necessary to examine with care what part the
    director played personally in regard to the act or acts complained of.
    [17]   Mr Mackenzie, who appeared for the pursuer, pointed to the admission
    by Mr Emerson that the purpose of incorporating Alba was to continue the




                                                                                   APP.213
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19           Page 197 of 421 PageID 18070



    publication of the Magazine, it having previously been published by SFM,
    another company incorporated by him. He submitted that, despite the repeated
    denials in the defences that the company acted as a vehicle or agent for him in
    carrying out its activities, and despite the assertion in the defences that Alba is a
    separate corporate entity from Mr Emerson, it was apparent from the admitted
    facts that Mr Emerson fell squarely into the category of an individual who had
    made the infringing act his own. In support of this he pointed to the fact that
    Alba was incorporated for the purpose of continuing the publication of the
    Magazine and was, in his words, “a vehicle for the third defender’s activities”;
    that Mr Emerson was the only individual involved in Alba and therefore only his
    intentions could exist and be shared with Alba; that Mr Emerson took all day to
    day decisions and was responsible for all decision-making both commercial and
    otherwise; and that no minutes were kept of board meetings of Alba, that being
    consistent not only with Mr Emerson being the controlling mind of the company
    but also with an absence of any attempt to separate governance and operational
    responsibilities. The conclusion, he submitted, was that Mr Emerson had not
    simply assisted or facilitated the infringement; rather he was the only actor. The
    joint tortfeasor with him was the corporate shell which he had created. The fact
    that Mr Emerson averred that, in setting up Alba he, Mr Emerson, had relied on
    the continued acquiescence of the pursuer in the production of the Magazine
    showed that it was in reality his business, not that of Alba. On the basis of those
    submissions, Mr Mackenzie invited the court to exclude from probation the
    averments in Mr Emerson’s defences which denied his personal liability for such
    acts of infringement as were proved to have occurred.
    [18]   Mr Young, who appeared for Mr Emerson, drew my attention to what he
    described as the “confused, contradictory and vague” nature of the pursuer’s
    case. He pointed out that at times the pursuer made averments about “the
    defenders” generally, in a sense which must be taken to include not only Mr




                                                                                    APP.214
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19            Page 198 of 421 PageID 18071



    Emerson and Alba but also the first and second defendants. More importantly,
    he pointed out that the basis upon which it was alleged that Mr Emerson was
    responsible for the allegedly infringing acts was uncertain and changing. At
    times it appeared to be averred that Alba was merely a “vehicle” of Mr Emerson,
    he being described as the directing mind and even the “personification” of the
    company; whereas at other times the pursuer’s case appeared to be that Mr
    Emerson had directed or procured the infringing acts or had acted in concert
    with Alba in their commission. The pursuer’s Notes of Argument appeared to
    proceed on the latter basis, alleging that Mr Emerson was, in effect, liable as an
    accessory, but the pursuer’s pleadings were far from clear.
    [19]   Mr Emerson’s position was quite simple and straightforward. He did not
    personally undertake any of the infringing acts, whether with others or by
    himself. To the extent that any of the alleged infringing acts were committed,
    they were committed by Alba. Alba was legitimately set up in November 2008 to
    acquire the business of SFM. It did not act as an agent or vehicle for Mr
    Emerson. Mr Emerson had simply chosen to take advantage of limited liability
    and incorporation in order to pursue legitimate business activities. Mr Emerson
    did not acquire liability either with or in place of Alba simply by virtue of his
    position as director and shareholder. No other coherent basis for holding him
    liable had been advanced.
    [20]   Mr Young submitted that the pursuer’ s pleaded case made no averments
    sufficient to bring the case within these principles. For example, there is no
    specification of how it is said, if it is said, that Mr Emerson is using Alba to
    conceal the fact that he himself is carrying out the alleged infringing activities on
    his own account and for his own profit. The only case appeared to be that Mr
    Emerson is liable as an accessory to Alba’s alleged infringement, but no relevant
    case had been pled against him on this basis either. In particular the pursuer




                                                                                       APP.215
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19           Page 199 of 421 PageID 18072



    makes no averments of any particular activities on the part of Mr Emerson that
    are said to show him acting out with his constitutional functions as a director.
    [21]    Mr Young also made submissions about the relevancy of the claim against
    Mr Emerson for count and reckoning. In view of the conclusion I have reached
    on the principal issue, I do not require to set out these submissions in detail.
    [22]    The following authorities and other materials were referred to in the
    course of submissions, and in the Notes of Argument:
    Salomon v Salomon [1897] AC 22
    Hook v McCallum (1905) 7 F 528
    Ellerman Lines Limited v Clyde Navigation Trustees 1911 SC 122
    HMA v Lappen 1956 SLT 109
    Mentmore Manufacturing Co. Ltd v National Merchandising Manufacturing Co. Inc
    (1978) 89 DLR (3d) 195
    Hoover Plc v George Hulme (Stockport) Ltd [1982] 3 CMLR 186
    C Evans & Sons Ltd v Spritebrand Ltd [1985] FSR 267
    CBS Songs Ltd v Amstrad Consumer Electronics Plc [1988] AC 1013
    Unilever Plc v Gillette (UK) Ltd [1989] RPC 583
    PLG Research Ltd v Ardon International Ltd [1993] FSR 197
    Credit Lyonnais Bank Nederland NV v Exports Credits Guarantee Department [2000] 1
    AC 486
    MCA Records v Charly Records Ltd [2002] FSR 26
    Sabaf v Meneghetti [2003] RPC 264
    Halford v Seed Hawk Inc [2006] FCA 275
    Boegli-Gravures SA v Darsail-ASP Ltd, Andrei Ivanovich Pyzhov [2009] EWHC 2690
    (Pat)
    L’Oreal SA v eBay International AG [2009] RPC 693
    Keller & Ors v LED Technologies PTY Ltd [2010] FCAFC 55
    Naxos Rights International Ltd v Project Management (Borders) Ltd [2012] CSOH 158




                                                                                       APP.216
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19            Page 200 of 421 PageID 18073



    Cairn Energy Plc v Greenpeace Ltd 2013 SLT 570
    Prest v Petrodel Resources Ltd [2013] 2 AC 415
    Frank Houlgate Investment Company Limited v Biggart Baillie LLP 2013 SLT 993
    (OH), 2015 SC 187 (IH)
    Fish & Fish Ltd v Sea Shepherd UK [2015] UKSC 10
    Jetivia SA v Bilta (UK) Limited [2015] UKSC 23
    Gordon, Criminal Law, 3rd ed., vol.1 at paras 5.19-5.36
    Prof Reid Accession to Delinquency: Frank Houlgate Investment Co. Ltd. v Biggart
    Baillie LLP (2013) 17(3) Edin LR 388
    I also considered the following authorities which were not cited but which
    seemed to me to be directly relevant on one of the issues in the case:
    Re Horsley and Weight [1982] Ch 442
    Multinational Gas and Petrochemical Co v Multinational Gas and Petrochemical
    Services Ltd [1983] Ch 258
    Stocznia Gdanska SA v Latvian Shipping Company [2001] EWHC 500 (Comm)
    (Thomas J), [2002] 2 Lloyd’s Rep 436 (CA)


    Discussion
    [23]   At the stage of debate the substantive issues have to be considered only
    on the basis of the parties’ pleaded cases. The correct approach is that laid down
    in Jamieson v Jamieson 1952 SC (HL) 44. Mr Emerson’s motion to dismiss the
    claim as against him proceeds on the basis that the pursuer’s averments of fact
    are irrelevant to instruct a case that he is personally liable for the publication of
    the Magazine and other allegedly infringing acts ostensibly carried out by Alba.
    That is a plea to the relevancy of the pursuer’s averments, a plea which will only
    succeed if it can be shown that the pursuer will inevitably fail to establish its case
    on this point even if it proves everything which in its pleadings it offers to
    prove. Similarly, the pursuer’s motion to exclude from probation Mr Emerson’s




                                                                                     APP.217
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19            Page 201 of 421 PageID 18074



    denial of personal liability for such acts of infringement as are proved to have
    occurred will only succeed if his personal liability will clearly be established even
    on the facts averred by him in his defences and despite his denials.
    [24]     There is considerable force in Mr Young’s complaint that the pursuer’s
    pleadings in relation to the alleged personal liability of Mr Emerson for acts
    ostensibly carried out by the company, Alba, are confused, contradictory and
    vague. But I do not think it would be right to decide against the pursuer on this
    basis. Had I considered that there was any merit in the pursuer’s case that Mr
    Emerson incurred some personal liability for the publication of the Magazine
    and other allegedly infringing acts, I would not have allowed the case to proceed
    unless and until the pursuer’s pleadings had been put in better order. I would
    have put the case out By Order to give the pursuer an opportunity to do this. But
    I have come to the view that, even on the most charitable reading of the
    averments made by the pursuer, its case against Mr Emerson personally is bound
    to fail. In those circumstances it seems to me to be in the interests of all parties
    that I should express my view on the substantive issue of personal liability,
    rather than dismiss the pursuer’s case against Mr Emerson on a narrow pleading
    point.
    [25]     The pursuer’s case lays much stress on the closeness of the relationship
    between Mr Emerson and the company, Alba. The facts averred on record
    relevant to that relationship have already been set out. In short, on the
    liquidation of SFM (a company set up by Mr Emerson and a business partner for
    the purpose of publishing a Scottish football magazine), Mr Emerson arranged
    for Alba to be incorporated to take over and continue that business. Mr Emerson
    is the sole shareholder and director of Alba. It is under his control and his is the
    guiding and controlling mind. No board meetings of Alba are ever held. Alba
    has never filed any accounts with Companies House and its Annual Return is
    overdue. Alba has never had any other employees and is unlikely ever to have




                                                                                     APP.218
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19            Page 202 of 421 PageID 18075



    any in the future. Mr Emerson has injected significant amounts of his own time,
    money and effort into the business, and has given up other employment to work
    on the business and to develop its brand. Not surprisingly, Mr Emerson makes
    all the day to day decisions at and concerning Alba and its business. He makes
    all the editorial decisions. It is on this basis that the pursuer seeks to hold Mr
    Emerson liable for the publication of the Magazine.
    [26]   The starting point for any consideration of the pursuer’s arguments is, as
    both parties accepted, that a company is a legal entity distinct from its
    shareholders, with rights and liabilities of its own distinct from those of its
    shareholders and property of is its own distinct from that of its shareholders.
    These principles apply as much to a company that is wholly owned and
    controlled by one man as to any other company: Salomon v Salomon, Prest v
    Petrodel Resources Ltd per Lord Sumption JSC at para 8. It follows that there is
    nothing wrong in principle in a director or shareholder, even a sole director or
    shareholder, causing a liability to be incurred by a company, nor is it wrong in
    principle for such a director or shareholder, in defending a claim, to rely upon
    the fact that the liability is not his but that of the company he controls – that is
    what incorporation is all about (ibid at para 34).
    [27]   All of that is trite, though it is often overlooked by those seeking to hold a
    person personally liable for the acts or omissions of a company owned and
    controlled by him or to hold a parent company liable for the acts or omissions of
    a wholly owned subsidiary.
    [28]   There are a limited number of situations where the court may look
    behind, beyond or through the corporate structure to hold an individual liable
    for acts or omissions ostensibly done by a company under his control. The same
    principles apply to parent companies and subsidiaries, but it is convenient to
    identify the principles by reference to the paradigm case of a company with a
    sole director and shareholder, the type of case with which I am here concerned.




                                                                                      APP.219
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19              Page 203 of 421 PageID 18076



    Two of these situations are summarised in the judgment of Lord Sumption JSC in
    Prest at para 28, an analysis with which the other Justices agreed. One such
    situation is where a director or shareholder is held personally liable for the acts
    of a company where it is clear from his relationship with the company that in a
    particular transaction he is the true actor, the company simply being used to
    conceal that fact. This is sometimes referred to as the “concealment principle”.
    The court can look behind the corporate structure to discover the true facts which
    the interposition of the company into the transaction is concealing. This is not
    strictly a case of “piercing” the corporate veil – the “veil” is simply pushed to one
    side to reveal the true facts. In such a case, on a proper analysis of the facts, the
    company may be held to be acting as agent, trustee or nominee of the individual
    concerned. Another situation is where a person is under an existing legal
    obligation or liability or subject to an existing legal restriction which he
    deliberately evades or whose enforcement he deliberately frustrates by
    interposing a company under his control. The court may then pierce the
    corporate veil for the purpose, and only for the purpose, of depriving the
    company or its controller of the advantage that they would otherwise have
    obtained by the company’s separate legal personality: Prest per Lord Sumption
    JSC at paras 34-35 and per Lord Neuberger PSC at para 81. This, which Lord
    Sumption JSC calls the “evasion principle”, is correctly described as “piercing the
    corporate veil”. But the court will only allow the veil to be pierced to prevent
    abuse of the corporate legal personality and where no other remedy is available
    to prevent that abuse; it will not allow the veil to be pierced to unravel situations,
    short of abuse, where incorporation of a company with a separate legal
    personality is used to cause a legal liability to be incurred by the company rather
    than by the individual and is relied on to assert, if it be true, that the liability is
    that of the company rather than that of the individual: (Prest, per Lord Sumption
    JSC at para 34).




                                                                                        APP.220
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19           Page 204 of 421 PageID 18077



    [29]   There may possibly be other situations where it is appropriate to pierce
    the corporate veil as a “final fall-back” (Prest, per Lord Mance JSC at para 100
    and Lord Clarke JSC at para 103), but these are likely to be very rare. It is
    unnecessary to explore those possibilities in the present case.
    [30]   Although the authorities cited in this area are all English, it was not
    suggested that Scots law differed in any material respect.
    [31]   It was not clear from his pleaded case whether the pursuer was
    contending that Mr Emerson should be held liable for Alba’s alleged acts of
    infringement by any of these routes. However, in his reply Mr Mackenzie
    confirmed that he was relying on both. I accept that the relationship between Mr
    Emerson and Alba, as informed by the facts upon which Mr Mackenzie relies, is
    undoubtedly close. Alba is, to all intents and purposes, “his” company. He
    makes all the decisions. He is its directing or controlling mind. But that
    relationship is no different in principle from the relationship between individual
    and company to be found in every case of a one man company set up for the
    purpose of enabling the individual to carry on a business with the benefits of
    incorporation. The fact that Alba can properly be described as a “one man
    company” does not of itself give any substance to the pursuer’s case: Salomon per
    Lord Macnaghten at p.53, Prest per Lord Sumption JSC at para 8. The averment
    that the company was incorporated for the purpose of taking over and
    continuing SFM’s business (SFM having, on this hypothesis, been set up by Mr
    Emerson for the purpose of publishing a Scottish football magazine) likewise
    adds nothing of relevance. Nor does the fact, if it be a fact, that, before setting up
    Alba, Mr Emerson relied on the continued acquiescence of the pursuer in the
    production of the Magazine add anything; a person setting up a company will
    inevitably bring into play all his experiences and expectations from before the
    company is incorporated. Every company is set up for a purpose, usually
    informed by past experience, hopes and ambitions, but that purpose, short of




                                                                                     APP.221
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19          Page 205 of 421 PageID 18078



    fraud or concealment or evasion of some legal liability, is irrelevant to the
    question of whether the rights and liabilities arising out of acts or omissions of
    the company are rights and liabilities belonging to the company or the
    individual: see Salomon per Lord Halsbury LC at p.30, Prest per Lord Sumption
    JSC at paras 8 and 34. There is no averment in the pursuer’s pleadings which
    might open up a case that Mr Emerson set up Alba for any improper purpose,
    whether to conceal his involvement in publishing the Magazine and offering the
    goods and services or to evade legal liabilities or obligations placed on him
    personally. Nor, from what I heard in argument, do I consider it likely that any
    such averments could responsibly be made. In those circumstances these
    principles do not provide any basis for holding Mr Emerson to be personally
    liable for Alba’s acts.
    [32]   The main thrust of the pursuer’s case, however, as I understood it, was
    that Mr Emerson was jointly liable with Alba for the acts of infringement. It
    made this submission in reliance on the following principles by which a person
    may incur personal liability jointly with another.
    [33]   The first is where he has procured the commission by that other of the
    wrongful act by inducement, incitement or persuasion. The leading authority
    establishing this basis of joint liability is CBS Songs Ltd v Amstrad Consumer
    Electronics Plc per Lord Templeman at p.1058D-F: see Sea Shepherd UK v Fish &
    Fish Ltd, per Lord Toulson JSC at para 19. It is unnecessary to add further
    authority.
    [34]   The second is where he has assisted the principal wrongdoer in the
    commission of the wrongful acts. To be liable, he must have assisted in the
    commission of the wrongful act by another; and have done so pursuant to a
    common design with that person to do an act which is, or turns out to be tortious
    or delictual. The principles are well-established. They are identified (albeit in
    slightly differing language) and the leading authorities are discussed in Sea




                                                                                     APP.222
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19            Page 206 of 421 PageID 18079



    Shepherd, per Lord Toulson JSC at paras 20-24, per Lord Sumption JSC at paras
    37-44, and per Lord Neuberger PSC at paras 55-61. In those judgments there is
    some discussion about the amount and importance of the assistance required of
    the person sought to be made jointly liable and the extent and focus of his
    required knowledge. But I need not go into that in any detail for the purpose of
    dealing with the case before me.
    [35]       There are no specific averments in the pursuer’s pleadings instructing a
    relevant case under either of these principles. There is no averment that Mr
    Emerson procured any of the acts of infringement carried out by Alba. There is
    no averment that Mr Emerson specifically assisted in the commission of any
    particular act of infringement, or that he did so pursuant to any common design.
    That is not a mere pleading point. The pursuer’s case rests entirely upon the fact
    that Alba is a one man company, owned and controlled by Mr Emerson. The
    inference, presumably, is that Mr Emerson took the decisions to publish and
    offer goods and services. That is obviously right, but to my mind it takes the
    pursuer nowhere. On that basis every owner or director of a one man company
    would be liable without more for the acts of the company. In every case the rule
    in Salomon, re-emphasised in Prest, could simply be side-stepped by an averment
    that the director was jointly liable with the company in the commission of the
    tort or delict. The “corporate veil” would not only be pierced; it would be left in
    tatters.
    [36]       In MCA Records v Charly Records Ltd, in a passage which has been often
    cited but never (so far as I know) disapproved, Chadwick LJ, with whom the
    other members of the court agreed, having analysed the previous cases in some
    detail, set out at paras 48-52 four propositions which he thought it could be said
    “with some confidence” were supported by the authorities. The first two are
    relevant here:




                                                                                    APP.223
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19           Page 207 of 421 PageID 18080



          "49    First, a director will not be treated as liable with the company as a
          joint tortfeasor if he does no more than carry out his constitutional role in
          the governance of the company - that is to say, by voting at board
          meetings. That, I think, is what policy requires if a proper recognition is
          to be given to the identity of the company as a separate legal person. Nor,
          as it seems to me, will it be right to hold a controlling shareholder liable as
          a joint tortfeasor if he does no more than exercise his power of control
          through the constitutional organs of the company - for example by voting
          at general meetings and by exercising the powers to appoint directors. ... I
          would hesitate to use the word 'never' in this field; but I would accept
          that, if all that a director is doing is carrying out the duties entrusted to
          him as such by the company under its constitution, the circumstances in
          which it would be right to hold him liable as a joint tortfeasor with the
          company would be rare indeed. ...


          50.    Second, there is no reason why a person who happens to be a
          director or controlling shareholder of a company should not be liable with
          the company as a joint tortfeasor if he is not exercising control through the
          constitutional organs of the company and the circumstances are such that
          he would be so liable if he were not a director or controlling shareholder.
           In other words, if, in relation to the wrongful acts which are the subject of
          complaint, the liability of the individual as a joint tortfeasor with the
          company arises from his participation or involvement in ways which go
          beyond the exercise of constitutional control, then there is no reason why
          the individual should escape liability because he could have procured
          those same acts through the exercise of constitutional control. ... “




                                                                                      APP.224
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19          Page 208 of 421 PageID 18081



    [37]   In this case the pursuer makes no averment that Mr Emerson did
    anything other than in his capacity as sole shareholder and director. This case
    falls squarely within the first of Chadwick LJ’s propositions.
    [38]   Mr Mackenzie laid some stress on the absence of board meetings and the
    company’s failure to file accounts. He submitted that this informality showed
    that Mr Emerson was not making decisions as part of his constitutional
    governance of the company; and that there was thus no bar to him being held
    liable for the actions of Alba in accordance with Chadwick LJ’s second
    proposition. To my mind, such a submission reflects a misunderstanding of
    what Chadwick LJ is saying. In a one man company, with a sole director and
    shareholder, there will never be board meetings in any real sense. There is only
    one director and no one to have a meeting with. If minutes are produced they
    are intended simply to reflect decisions made by the director as and when he
    makes them. The appearance of formality is a fiction. The personal liability of a
    director or shareholder for decisions taken by him in the name of the company
    cannot depend on the existence or non-existence of a piece of paper or other
    trappings of formality.
    [39]   This question has been discussed in a number of cases. They are gathered
    together in the judgments of the Court of Appeal in Re Horsley and Weight [1982]
    Ch 442 and Multinational Gas and Petrochemical Co v Multinational Gas and
    Petrochemical Services Ltd [1983] Ch 258. In both cases it was made clear,
    following earlier authority, that a company is bound in a matter which is intra
    vires the company by the unanimous agreement of its members, even where that
    agreement is given informally and without any meeting: Re Horsley and Weight
    per Buckley LJ at p.454, Multinational Gas and Petrochemical Co v Multinational Gas
    and Petrochemical Services Ltd per Dillon LJ at p.289. In Stocznia Gdanska SA v
    Latvian Shipping Company [2001] EWHC 500 (Comm), Thomas J (as he then was)
    considered these cases in the context of claim that the defendants, Latvian




                                                                                   APP.225
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19           Page 209 of 421 PageID 18082



    Shipping Company (Latco), were liable for inducing breach of contract by their
    wholly owned subsidiary, Latreefers. The section of the judgment dealing with
    direct inducement is at paras 226-255. At paras 239-244 Thomas J considered the
    argument that Latco could not be liable for inducing breach of contract if it, as
    shareholders, had made a decision that Latreefers would not perform the
    contracts. He expressed the view that such an argument would have succeeded
    if that was indeed what Latco had done, notwithstanding that that decision was
    taken informally and outwith a properly constituted meeting (see paras 242-
    244). But Latco had denied throughout the trial that they had made any such
    decision and therefore that line of defence failed. That part of the judgment was
    not considered when the case went to the Court of Appeal (reported at [2002] 2
    Lloyd’s Rep 436).
    [40]   That line of authority is wholly consistent with my decision that it does
    not matter that decisions taken by Mr Emerson were taken informally. If those
    decisions were taken, however informally, in his capacity as sole shareholder and
    director of Alba, they provide no basis for a finding that he is jointly liable with
    Alba for any alleged infringement.
    [41]   What Chadwick LJ was focusing on in his second proposition was not the
    situation outlined above where a decision made by a shareholder or director is
    made informally and outwith a duly constituted meeting. He was identifying a
    different type of case altogether, where a director or shareholder, otherwise in
    his capacity as such, made decisions or took action which procured the
    commission of the wrongful act or assisted in its commission pursuant to a
    common design. If, for example, it were proved that Mr Emerson in his own
    capacity owned and operated a printing press or distribution outlets and,
    through such operations of his own, procured or assisted in the alleged
    infringement by publishing and distributing the Magazine, then he could be held
    jointly liable with the company notwithstanding, as Chadwick LJ makes clear,




                                                                                    APP.226
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19             Page 210 of 421 PageID 18083



    that he could have avoided liability had he organised matters in a different way
    and arranged for the company itself to print and distribute the Magazine. An
    example of such a case is to be found in my decision in Naxos Rights International
    Ltd v Project Management (Borders) Ltd. Another is the decision of Arnold J in
    Boegli-Gravures SA v Darsail-ASP Ltd, Andrei Ivanovich Pyzhov at paras 134-137.
    The mere absence of board meetings or other formalities of corporate governance
    does not bring the case into that category. Nor is there any averment here
    suggesting that the case can be brought within that category.
    [42]   It has been said repeatedly that the application of the principles affecting
    the issue of joint liability is highly fact sensitive: see e.g. Sea Shepherd per Lord
    Sumption JSC at para 37. In a number of English cases the courts have refused to
    strike out a claim asserting joint liability in similar circumstances to those of the
    present case on the basis that it would only do so if it could be said that a director
    would in no circumstances be personally liable; otherwise the question of
    liability should be determined after the facts have been ascertained at trial: see
    e.g. C Evans & Sons Ltd v Spritebrand Ltd at p.329. I accept that the court must be
    careful not to jump to conclusions on liability in cases such as this too readily, in
    the absence of evidence and findings of fact. But in Scotland the ability to lead
    evidence at proof is constrained by the pleadings; and our procedure is designed
    to enable the relevancy of a case to be determined on the averments made in the
    pleadings at debate or at a discussion on the procedure roll. If the pursuer
    makes no averments which would entitle him to seek to prove any facts which
    could, on any reasonable view, result in a finding of personal liability, then the
    case (on that basis at least) should be dismissed.
    [43]   The discussion of joint liability thus far in this Opinion proceeds on the
    basis of English authority. That is because that was the primary way in which
    the case was presented on both sides in argument. I sought to apply these
    principles and some of the relevant English cases in Naxos Rights and Cairn




                                                                                       APP.227
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19             Page 211 of 421 PageID 18084



    Energy Plc v Greenpeace Ltd. It was not suggested in those cases that Scots law
    was any different. Nor has that been suggested in the present case. However, in
    Frank Houlgate Investment Company Limited v Biggart Baillie LLP Lord Hodge, in
    the Outer House (reported at 2013 SLT 993), made a finding of accessory liability
    against the defender on the basis that a party could be held liable as an accessory
    to a wrongful act by another if he participated in or acceded to that wrongful act,
    without it having to be shown that he had the mental element necessary for
    commission of the delict itself. That, of course, is consistent with the English
    cases on knowing assistance, but it leaves open the question of whether it has to
    be proved that his assistance was in pursuance of some common purpose shared
    with that other person. The facts of that case were complicated and it is not
    necessary for present purposes to go into them. In refusing the reclaiming
    motion the Inner House expressed differing views on Lord Hodge’s analysis.
    Lord Menzies accepted it (on the basis that it was supported by passages in Stair
    and Glegg, The Law of Reparation in Scotland, 4th ed), though only as an
    alternative ground of decision, but made it clear that he thought it established
    that the defender did share a common intention or common purpose with the
    wrongdoer: see paras 44-45. His primary ground of decision was that the
    defender, a solicitor, had failed to correct a continuing implied representation
    made to the other party to the transaction that he did not know that information
    he had previously given was untrue. Lord Malcolm rejected it: see paras [63]-
    [69]. He considered that some mental element was required, otherwise liability
    would be opened up in a wide variety of situations. He found accessory liability
    established on a different basis. Lord McEwan agreed in the disposal of the
    cross-appeal for either of those reasons: see para [91].
    [44]   The decision in Frank Houlgate appears therefore to leave open the
    question whether, for the establishment of accessory or joint liability in Scotland,
    it has to be established that the person sought to be made liable as an accessory




                                                                                    APP.228
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19          Page 212 of 421 PageID 18085



    did share a common intention or common purpose with the wrongdoer. I do not
    need to resolve this issue for the same reasons as set out above. There are no
    specific averments that Mr Emerson did anything specific to assist in or become
    an accessory to any alleged infringing acts other than taking decisions as sole
    shareholder and director, and the mere fact that he took such decisions as sole
    shareholder and director does not make him personally liable for the acts of the
    company. In short, the absence of a requirement for a mental element is simply
    irrelevant to the question of his liability on the case as advanced by the pursuer.




    Decision
    [45]   For the reasons set out above, I consider that the action in so far as
    directed against the third defender is irrelevant and should be dismissed.
    However, before pronouncing an interlocutor to that effect I shall put the case
    out By Order so that further procedure can be discussed. I shall reserve all
    questions of expenses in the meantime.




                                                                                    APP.229
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 213 of 421 PageID 18086




                    EXHIBIT F




                                                                       APP.230
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19               Page 214 of 421 PageID 18087



                            OUTER HOUSE, COURT OF SESSION

                                                                              [2016] CSOH 78
                                                                                       P989/15




                                  OPINION OF LORD BRODIE

                                           in the petition

                                                 by

                                       MICHAEL ASHLEY

                                                                                    Petitioner;

        for Judicial Review of determinations of a Judicial Panel and Appellate Tribunal of
                            The Scottish Football Association Limited



                                 Petitioner: Sandison QC; Brodies LLP

                             Respondents: O’Neill QC; Burness Paull LLP



  10 June 2016

  Parties and their relationship
  [1]       The petitioner is a businessman. He is concerned in the business of football. He
  controls MASH Holdings Limited (“MASH”). MASH has interests in Newcastle United
  Limited (“NUL”). NUL operates a professional football club.
  [2]       The respondent is the Scottish Football Association Limited. The respondent
  acts as the governing body of Scottish football and exists to promote, foster and develop
  the game of football at all levels in Scotland. It is constituted by Articles of Association
  (“the Articles”) which impose certain obligations on those subject to its jurisdiction.



                                                                                      APP.231
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19            Page 215 of 421 PageID 18088



  The Articles make provision for a Judicial Panel and Judicial Panel Protocol (“the
  Protocol”). In terms of Article 65 of the Articles alleged breaches of the Articles which
  fall under the jurisdiction of the Judicial Panel shall be dealt with and be construed in
  terms of the Protocol. The Protocol includes at annex A the respondent’s Disciplinary
  Rules, certain of which apply to persons and bodies under the jurisdiction of the
  respondent. The Protocol makes provision for the enforcement of the Articles and the
  Disciplinary Rules and the determination of matters arising from alleged breaches.
  That provision includes the appointment of a Compliance Officer who has general
  responsibility for observance of the Disciplinary Rules and the pursuit of proceedings
  before the tribunals appointed under the Protocol and the power to represent the
  respondent in such proceedings. The tribunals which may be appointed from the
  Judicial Panel established under the Protocol include a Disciplinary Tribunal for
  consideration and determination of cases at first instance and an Appellate Tribunal of
  consideration and determination of appeals.
  [3]    On 6 August 2012 the pursuer gave a letter of agreement to the respondent. In
  that letter he confirmed:
         “I am (i) a shareholder; (ii) a director; (iii) involved in the management or
         administration of; and/or (iv) have the power to influence the management or
         administration of:
                     (i)      Newcastle United Limited (Company Number 02529667)
                     whose registered office is at St James’ Park, Newcastle-upon-Tyne,
                     NE1 4ST (“NUL”); and
                     (ii)     SDI Retail Services Limited (Company Number 08143303)
                     whose registered office is at Unit A Brook Park East Road,
                     Shirebrook, Mansfield, NG20 8RY (“SDI”), or of their respective
                     parent companies”




                                                                                     APP.232
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19              Page 216 of 421 PageID 18089



  Further, the petitioner stated that he intended to become a shareholder of The Rangers
  Football Club Limited (“RFCL”) “which owns and operates the associated football club
  known as Rangers FC.” The petitioner then went on to acknowledge the Articles and to
  agree to abide by the Articles for so long as he was a shareholder of RFCL and a
  shareholder, director, involved in the management or administration of and/or having
  the power to influence the management or administration of NUL. The letter then
  stated that for the avoidance of doubt it was acknowledged by the respondent that
  ownership by the petitioner of less than 10% of the issued share capital in RFCL should
  not constitute a breach of the Articles.


  Article 13 and Disciplinary Rule 19
  [4]    Among the Articles by which the petitioner agreed to abide in terms of the letter
  of 6 August 2012 was Article 13 and among the Disciplinary Rules which applied to the
  petitioner was Rule 19. Rule 19 is essentially in the same terms as Article 13.1. As far as
  is material Article 13.1 provides:
         “Except with the prior written consent of the Board:-
                     (a)   no club or nominee of a club; and
                     (b)   no person, whether absolutely or as a trustee, either alone or in
                     conjunction with one or more associates or solely through an
                     associate or associates (even where such person has no formal
                     interest), who:-
                            (i)    is a member of a club; or
                            (ii)   is involved in any capacity whatsoever in the
                            management or administration of a club; or
                            (iii) has any power whatsoever to influence the management
                            or administration of a club,


         may at the same time either directly or indirectly:-




                                                                                    APP.233
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19           Page 217 of 421 PageID 18090



                (a)   be a member of another club; or
                        (b)    be involved in any capacity whatsoever in the management or
                        administration of another club; or
                      (c)     have any power whatsoever to influence the management or
                      administration of another club.”


  RFCL is a full member of the respondent and “a club” within the meaning of
  Article 13.1, as is NUL.


  The Credit Facility Agreement
  [5]    RFCL was formed (as Sevco Scotland Limited) in 2012. The petitioner became a
  shareholder in RFCL in October 2012. On 18 December 2012 the shareholders of RFCL
  exchanged their shares for shares in Rangers International Football Club Plc (“RIFC”).
  As a result of this exchange RIFC became the sole shareholder in RFCL. On 1 October
  2014 the pursuer transferred his shares in RIFC to MASH.
  [6]    On 26 October 2014 MASH (as “Lender”) and RFCL (as “Borrower”) entered
  into a Credit Facility Agreement whereby MASH undertook to make a loan of
  £2 million available to RFCL subject to the condition, among others, that “the Lender
  has appointed the Lender’s Director in accordance with clause 13”. Clause 13 of the
  Credit Facility Agreement provided:
         “Immediately prior to first drawdown under the Facility, and at all times whilst
         any amount is outstanding under any Finance Document, the Lender shall have
         the right to appoint up to 2 directors (the “Lender’s Director”) on the board of
         directors of the Borrower. The Lender shall be entitled to remove and replace
         any Lender Director from time to time.”


  [7]    On 5 November 2014 Mr Derek Llambias was appointed as a director of RFCL.
  On 2 November 2014 he had been appointed a director of RIFC.




                                                                                   APP.234
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19             Page 218 of 421 PageID 18091




  The disciplinary proceedings against the petitioner
  [8]    On 15 December 2014 the petitioner was served with a complaint under the
  Protocol alleging breaches of Disciplinary Rules 19 and 77. The libel of the complaint
  was in the following terms:
         “…in that already having an interest in Newcastle United FC as a controlling
         party of MASH Holdings Limited, you did on 26 October 2014 enter into a Credit
         Facility Agreement with Rangers Football Club Limited, and thereafter MASH
         Holdings Limited did nominate Derek David Llambias to Rangers FC for
         appointment as a Director, resulting in his subsequent appointment as a Director
         of both Rangers International Football Club Plc and Rangers Football Club
         Limited upon 2 and 5 November 2014 respectively. These acts being breaches of
         article 13 of the Articles of Association of the Scottish FA…”


  In addition, the alleged breach of Rule 77 stated a breach of the undertaking provided
  by the petitioner to the respondent on 6 August 2012.
  [9]    The matter proceeded to a full hearing before a Disciplinary Tribunal appointed
  from the Judicial Panel on 2 March 2015. The respondent was represented by its
  Compliance Officer. The petitioner was represented by a solicitor. By prior agreement,
  both parties lodged detailed written submissions. Neither party led oral evidence.
  Written statements from a number of witnesses were produced.
  [10]   Following the hearing the Disciplinary Tribunal determined, on 17 March 2015,
  inter alia that the petitioner was in breach of Article 13 of the Articles and Disciplinary
  Rule 19 and imposed a fine of £7,500. It did not find the petitioner in breach of
  Disciplinary Rule 77. The Disciplinary Tribunal’s factual findings included the
  following:
         “The Panel was satisfied, on a balance of probabilities, that the factual basis of
         the charges in the Notice of Complaint had been proved. Mr Ashley’s




                                                                                      APP.235
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19            Page 219 of 421 PageID 18092



         controlling interest in Newcastle United FC was not disputed. While the Credit
         Facility had been agreed with the Club by MASH Holdings Limited, rather than
         with Mr Ashley personally, it was effectively Mr Ashley who provided the
         Credit Facility. While only the nomination of Mr Llambias by MASH Holdings
         Limited to the PLC had been confirmed in statements and documents, the Panel,
         in the absence of any other clear evidence, was satisfied that the inference could
         be drawn in the whole circumstances, that the arrangements put in place
         between Rangers FC and MASH Holdings Limited effectively led to Mr Ashley’s
         nomination of choice being nominated for and appointed to both boards.


         Turning to the question of whether a breach of Rule 19 was incurred, the Panel
         took the view that, even applying a purposive approach, the intention of the Rule
         and of Article 13 was to prohibit Dual Interests, except with the prior consent of
         the SFA. The question of whether any power or influence was actually exercised,
         or whether it was for the benefit rather than the detriment of the clubs involved,
         was not relevant. The Panel was satisfied, as previously stated, that the
         arrangements gave Mr Ashley a choice over who became a director of Rangers
         FC and, accordingly, a degree of power to influence the management or
         administration of that club.


         On a balance of probabilities, the Panel was satisfied that the first charge on the
         Notice of Complaint had been proved.”


  The Disciplinary Tribunal went on to find that a second charge, a breach of Rule 77, had
  not been proved.
  [11]   Paragraph 14.2 of the Protocol provides that a party in breach has the right to
  appeal under the Protocol to the Appellate Tribunal against a determination of a
  Disciplinary Tribunal in respect of first instance proceedings. Paragraph 14.8 provides




                                                                                     APP.236
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19            Page 220 of 421 PageID 18093



  in respect of any such appeal that findings on fact at first instance should be final and
  an appeal shall only be permitted on specified grounds, one of which (paragraph 14.8.3)
  is that the Disciplinary Tribunal has issued a determination which it could not properly
  have issued on the facts of the case.
  [12]   The petitioner exercised his right of appeal in terms of paragraph 14.2. He
  presented three grounds of appeal. These were as follows:
              “(i) The evidence clearly established that MASH Holdings Limited
              entered into the Credit Facility Agreement and not the appellant, with the
              result that the Judicial Panel finding was inconsistent with the terms of the
              complaint;
              (ii)   There was no direct evidence that either the appellant or MASH
              Holdings Limited nominated Mr Llambias as a director and a full and fair
              reading of all witness statements provided no basis for such an inference;
              and
              (iii) The Judicial Panel failed to recognise that only illegitimate or adverse
              interference in the affairs of another club was struck at by Article 13 by
              failing to adopt a purposive approach to the interpretation of the articles.”


  [13]   Following a hearing the Appeal Tribunal, by way of determination dated 3 June
  2015, refused the petitioner’s appeal. In terms of its determination the Appeal Tribunal
  concluded that the Disciplinary Tribunal had been entitled to make the findings that it
  did and that it therefore followed that the Rule and Article had been contravened in
  respect of the appellant, with a controlling interest in one club, having been
  demonstrated to have power to influence the management or administration in
  another. However, in relation to sanction, the Appeal Tribunal reduced the fine
  imposed upon the petitioner to £1,000.




                                                                                    APP.237
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19           Page 221 of 421 PageID 18094



  The application for judicial review
  [14]   By way of this application for judicial review, the petitioner now seeks reduction
  of the determinations by the Disciplinary Tribunal and the Appeal Tribunal on the basis
  of material error of law. In very large part, the grounds upon which the petitioner
  presents his challenge comprises a reiteration of the arguments deployed before the
  respective Tribunals. The relevant averments in the petition are as follows:
              “8.   That the said Judicial Panel and Appellate Tribunal erred in law in
              upholding the libel of the complaint that the Petitioner had on 26 October
              2014 entered into a Credit Facility Agreement with the Club, it being
              accepted by both the Judicial Panel and Appellate Tribunal that the party
              which had in fact entered into that Credit Facility Agreement with the Club
              was MASH. The terms of the complaint served on the Petitioner clearly
              distinguished the alleged actions of MASH which were libelled as material
              to the complaint from the alleged actions of the Petitioner which were
              libelled as so material to the complaint from the alleged actions of the
              Petitioner which were libelled as so material, and clearly identified the
              person alleged to have entered into the Credit Facility Agreement as the
              Petitioner. There was no material before the Judicial Panel or the Appellate
              Tribunal justifying in point of law their treatment of the action of MASH in
              entering into the Credit Facility Agreement as the action of the Petitioner.


              9.    That, separatim, in concluding on the basis of the evidence before them
              that it was open to them to determine that MASH had nominated Mr
              Llambias for appointment as a director of Rangers International Football
              Club PLC (‘the PLC’) and the Club, resulting in his appointment as such on
              2 and 5 November 2014 respectively, the said Judicial Panel and Appellate
              Tribunal erred in law. The circumstances of the appointment of Mr
              Llambias to those offices were described in witness statements before the




                                                                                   APP.238
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19         Page 222 of 421 PageID 18095



            Judicial Panel and the Appellate Tribunal by Mr Llambias, Justin Barnes
            and David Somers, the content of which statements was not put in issue by
            the Respondent’s Compliance Officer before either body. On the basis of
            those statements, no reasonable tribunal could have made any factual
            determination other than that Mr Llambias, who was already a consultant
            to the Club, was regarded by Mr Somers, the acting chairman of the PLC, as
            a person suitable for appointment as a director of the PLC and of the Club,
            that consequently a suggestion that he be appointed to the PLC Board was
            communicated by Paul Shackleton, the Nominated Advisor for AIM
            purposes to the PLC, to Mr Barnes as representing MASH, and that
            Mr Barnes agreed for the purposes of the operation of the Credit Facility
            Agreement that Mr Llambias be treated as if he were a nomination of
            MASH to the Board of the PLC alone. In these circumstances, no reasonable
            tribunal could have considered that Mr Llambias had been nominated by
            MASH for appointment to the Board of the Club. In the absence of any
            nomination by MASH of Mr Llambias to the Board of the Club, there was
            no basis in fact or law upon which any reasonable tribunal could have
            determined that the Petitioner had any power whatsoever to influence the
            management or administration of the Club, and was therefore in breach of
            Article 13 and/or Disciplinary Rule 19.


            10.   That, separatim and in any event, the said Judicial Panel and Appellate
            Tribunal erred in law in concluding that, esto Mr Llambias had been
            nominated by MASH as a director of the PLC and the Club, resulting in his
            appointment as such, that such circumstances amounted to a breach of
            Article 13 of the Articles of Association of the Respondent and/or of General
            Disciplinary Rule 19. The Judicial Panel and Appellate Tribunal had no
            basis in fact or law for concluding that any such nomination would result in




                                                                                 APP.239
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19             Page 223 of 421 PageID 18096



               the Petitioner having any power whatsoever to influence the management
               or administration of the Club. Mr Llambias had, as a director of the PLC
               and of the Club, legal duties (a) to act in the way in which he considered, in
               good faith, would be most likely to promote the success of the company in
               which he was a director, for the benefit of its members as a whole
               (Companies Act 2006, s.172) and (b) to exercise independent judgment in
               the performance of his functions as such director (Companies Act 2006,
               s.173), and the Judicial Panel and Appellate Tribunal had no basis for any
               conclusion that he would perform those functions other than in full
               compliance with those legal duties. Further, on the basis of the content of
               Mr Llambias’s witness statement, placed before the Judicial Panel and
               Appellate Tribunal and not put in issue by the Respondent’s Compliance
               Officer, the Judicial Panel and Appellate Tribunal had no basis for any
               conclusion that Mr Llambias would be susceptible to any influence which
               the Petitioner might attempt to exert on him.”


  [15]   The respondent has lodged answers. In addition to pleas directed at the
  relevancy and factual basis of the petition, the respondent takes a plea of no
  jurisdiction.


  Discussion
  [16]   The petition called for first hearing at which the petitioner was represented by
  Mr Sandison, QC and the respondent Mr O’Neill, QC. Both had lodged written notes of
  argument which they adopted and to which they referred in the course of oral
  submissions.
  [17]   I shall in due course turn to the three grounds for review which are put forward
  by the petitioner but, logically, the first matter for consideration is whether this court
  has jurisdiction to entertain an application of this sort.




                                                                                      APP.240
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19            Page 224 of 421 PageID 18097




  Jurisdiction
  [18]   In presenting his submissions on behalf of the respondents Mr O’Neill reminded
  me that the decisions which the petitioner sought to challenge had their source in a
  purely private law relationship between him and the respondent; what had given rise to
  the power of the Tribunals to make their respective decisions was the contract between
  the parties as constituted by the letter of 6 August 2012 and the Articles. That,
  submitted Mr O’Neill, had consequences for the extent of the court’s jurisdiction. This
  was not an appeal. In disputes of which the disciplinary proceeding against the
  petitioner was an example, parties had agreed, in terms of article 65.5, “not … to take
  such difference or questions to a court of law”. What the petitioner sought to invoke in
  this application was the court’s supervisory jurisdiction, the sole purpose of which was
  to ensure the person or body does not exceed or abuse the jurisdiction that has been
  delegated or entrusted to it: Davidson v Scottish Ministers 2006 SC (HL) 41 at para 45.
  Thus, given that the context was that of private law, the only issue that properly could
  be brought before the court in the present case was whether or not either of the
  Tribunals had exceeded the jurisdiction with which they had been invested by the
  parties: see Shanks & McEwan (Contractors) Ltd v Mifflin 1993 SLT 1124 at 1130 D-E and
  Diamond v PJW Enterprises Ltd 2004 SC 430 at paras 37-38 and 40. The supervisory
  jurisdiction simply did not extend to a consideration of supposed errors of law on the
  part of decision-makers whose powers were conferred by contract.
  [19]   In response Mr Sandison provided a number of examples of the court having
  entertained applications to its supervisory jurisdiction in respect of decisions of the
  present respondents: St Johnstone Football Club v Scottish Football Association 1965 SLT
  171, Dundee United Football Co Ltd v Scottish Football Association 1998 SLT 1244, Kevin
  Fotheringham Petitioner [2008] CSOH 170, Rangers Football Club Petitioner 2012 SLT 1156.
  He explained that the distinction between public law and private law upon which Mr
  O’Neill sought to found had never been of importance in Scots law; the supervisory




                                                                                      APP.241
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19             Page 225 of 421 PageID 18098



  jurisdiction has always been capable of being invoked to review decisions of purely
  private as well as public bodies: West v Secretary of State for Scotland 1992 SC 385 at 399-
  340, AXA General Insurance Ltd Petitioners 2012 SC (UKSC) 122 at para 57. As far as the
  distinction between ultra vires and intra vires errors of law, as discussed in Anisminic Ltd
  v Foreign Compensation Commission [1969] 2 AC 147, was concerned, it was made clear by
  Lord Hope in Eba v Advocate General for Scotland 2012 SC (UKSC) 1 that that had been
  abandoned in Scotland. Diamond v PJW Enterprises fell to be distinguished as a case
  concerning the ability of the court to review intra vires errors of law in the context of
  arbitration in circumstances where Parliament had provided alternative remedies.
  [20]   It is uncontroversial that the decisions of decision-makers whose powers have
  been conferred by private contract, such as the Tribunals in the present case, are
  amenable to review by the Court of Session in exercise of what is usually referred to as
  the supervisory jurisdiction. In that they are no different from decision-makers whose
  powers are derived from a public law source (typically statute). Equally, it was
  expressly conceded by Mr Sandison that just as parties could create a decision-making
  power by contract so could they limit its review by sufficiently clear contractual
  provision. However, he submitted that they had not done so here and, notwithstanding
  what he said about article 65.5, I did not understand Mr O’Neill ultimately to dispute
  that. On that I agree with Mr Sandison. Article 65.5 provides:
         “The fact of membership of the Scottish FA shall constitute an agreement by a
         member that it, any body or person interested through such member, shall
         submit (and/or agree to the submission of) such complaints, breaches, claims,
         disciplinary matters, appeals, and/or disputes as are specified in the Judicial
         Panel Protocol to the jurisdiction of the judicial panel and shall not be permitted
         to take such difference or questions to a court of law.”


  Here the parties did not take a difference or question to a court of law. Matters were
  taken to the respondent’s Tribunals. The petitioner comes to this court not, as Mr




                                                                                      APP.242
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19              Page 226 of 421 PageID 18099



  O’Neill correctly submitted, to appeal a decision but to have it reviewed as an abuse of
  jurisdiction. Of course the distinction between appeal and review begins to blur when
  one turns to consider the grounds upon which that application for review is presented.
  Mr O’Neill’s submission can be seen as an attempt to restore that distinction by
  contrasting two sorts of error of law: error of law as to the extent of jurisdiction (ultra
  vires error) and error of law in the exercise of jurisdiction (intra vires of error). The key
  cases in understanding Mr O’Neill’s argument but also in leading to the conclusion that,
  as the law presently stands, it must be rejected, are Anisminic (as explained by Lord
  Diplock in Re Racal Communications [1981] AC 374 and O’Reilly v Mackman [1983] 2 AC
  237), Watt v Lord Advocate 1979 SC 120 and Eba. The relevant line of authority is
  instructively discussed by Professor Himsworth in Jurisdictional aspects of Judicial Review
  in Scots Law 2015 JR 353.
  [21]   A decision maker can make a variety of errors which can be characterised in
  various ways. What the present petition is concerned with are what the petitioner
  describes as errors of law but, as Mr O’Neill emphasised by his citation of Lord Reid in
  Anisminic at 171B, errors of law are of different sorts, there are errors of law that can be
  regarded as having led the decision maker to exceed his jurisdiction or power to decide
  (ultra vires errors) and then there are errors as to what the law is or how it is to be
  applied which can be regarded as having been made in the course of an otherwise
  legitimate exercise of jurisdiction (intra vires errors). What the petitioner complains of
  here are intra vires errors of law. Mr Sandison did not suggest otherwise, his position
  being that even if the distinction between ultra vires and intra vires errors is one that can
  and should be made it is of no consequence.
  [22]   There was a point in the development of Scots law when the distinction certainly
  was of consequence, or at the very least was thought to be. In Watt v Lord Advocate at
  131 Lord President Emslie stated (albeit obiter) that “the Court of Session has never had
  power to correct an intra vires error of law made by a statutory authority exercising
  statutory jurisdiction.” That statement can be readily understood by reference to what




                                                                                        APP.243
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19           Page 227 of 421 PageID 18100



  Professor Himsworth describes as the jurisdictional basis of judicial review in Scots law;
  judicial review is about policing the borders of the jurisdictions or powers to decide
  conferred on inferior decision makers, rather than with reconsidering the merits of their
  decisions. Lord President Emslie’s statement is not inconsistent with the propositions
  set out by Lord President Hope in West v Secretary of State for Scotland 1992 SC 385 at 412
  as intended to define the principles by reference to which the competency of all
  applications to the supervisory jurisdiction of the Court of Session were to be
  determined. There, for example, Lord Hope explains that the sole purpose for which the
  supervisory jurisdiction may be exercised is to ensure that the person or body does not
  exceed or abuse that jurisdiction, power or authority or fail to do what the jurisdiction,
  power or authority requires. However, maintaining the distinction between ultra vires
  and intra vires errors of law was not the way that things were taken forward in England
  following the decision of the House of Lords in Anisminic (see Himsworth supra and
  Wade & Forsyth Administrative Law (10th edit) pp 220-225). There, as Lord Diplock put it,
  the distinction between errors of law that went to jurisdiction and that those that did
  not was for practical purposes abolished: Racal at 383.
  [23]   When delivering the opinion of the Inner House in Eba Lord President Hamilton,
  in the course of a wide survey of the law, noted what had been said in Watt and
  contrasted with it what had been said in Racal. He also referred to Brown v Hamilton
  District Council 1983 SC (HL) 1 where Lord Fraser expressed the view that the grounds
  for judicial review in Scotland and England were the same. However, having noted that
  what was said in Watt (and other Scottish cases) might require reconsideration, the
  Inner House did not consider it necessary to do so in the case before them (see 2011 SC
  70 at paras 42 – 46).
  [24]   It was Mr Sandison’s submission that the issue which had been left over by the
  Inner House in Eba was addressed and emphatically answered by Lord Hope when that
  case reached the Supreme Court. The relevant paragraph in his opinion is 34:




                                                                                     APP.244
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19             Page 228 of 421 PageID 18101



         “In my opinion the time has come for it to be declared that Lord President
         Emslie's dictum in Watt (p 131) is incompatible with what was decided in
         Anisminic Ltd v Foreign Compensation Commission. In Re Racal Communications Ltd
         (p 382) Lord Diplock said that the decision in Anisminic was a legal landmark
         which proceeded on the presumption that, where Parliament confers on an
         administrative tribunal or authority power to decide particular questions defined
         by the Act, it intends to confine that power to answering the question as it has
         been so defined and that, if there is any doubt what that question is, this is a
         matter that the court must resolve. I would hold that the dictum in Watt cannot be
         reconciled with that interpretation of the decision and that it should no longer be
         followed. Once again it must be stressed that there is, in principle, no difference
         between the law of England and Scots law as to the substantive grounds on
         which a decision by a tribunal which acts within its jurisdiction may be open to
         review (Brown v Hamilton District Council, per Lord Fraser, p 42; West v Secretary
         of State for Scotland 1992 SC 885, pp 402, 413).”


  While Mr O’Neill accepted that the distinction drawn in Anisminic had been superseded
  in the public law sphere, he submitted that Lord Hope’s declaration in Eba did not
  relate to those decision makers whose powers were derived from private law. A
  difficulty with that submission is that it gets no express support from what Lord Hope
  said. It is true that Lord Hope referred to power conferred by Parliament “on an
  administrative tribunal or authority”. In that what was in issue was whether and in
  what circumstances a decision of the Upper Tribunal could be reviewed, that was
  understandable, but the tenor of what he had to say is entirely general, as it had been in
  West. Then, while it is true that different considerations are in play, there is the lack of
  any obvious good reason why there should be any difference as between the grounds
  for exercise of the supervisory jurisdiction in the public law sphere, to use Mr O’Neill’s
  expression, and the grounds for its exercise in the private law sphere. The nearest Mr




                                                                                       APP.245
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19            Page 229 of 421 PageID 18102



  O’Neill got to offering a reason was to emphasise that the petitioner had acquiesced in
  the procedures provided for in the Protocol and that what was in issue were decisions
  made in a “footballing context”. I would observe in response to the first of these
  considerations that acquiescence in particular disciplinary procedures would seem to be
  close to a necessary prerequisite for any attack on a resulting decision for error of law
  and that acquiescence in a procedure is not the same as acquiescence in a supposed
  error made in the course of the procedure. As far as the second of these considerations
  is concerned I would readily concede the Tribunals’ expertise in matters to do with the
  business of football and its corporate governance but that of itself does not justify
  immunity from review for legal error. However, what I would see as being of greater
  significance is that Mr O’Neill pitched his argument at a high level of generality. Thus,
  if he is correct, his proposed limitation of review of private law decision makers on
  error of law to ultra vires error, would apply in every case and yet he proposed no
  reason of general application for exercising what Lord Hope has explained is the same
  jurisdiction in one way for one category of cases and another way in another category of
  cases. Moreover, I question the practicability of drawing the line in the way suggested
  by Mr O’Neill. In Watt Lord Emslie expressed his regret that, in his opinion, the Court
  of Session did not have power to correct intra vires errors of law by a National Insurance
  Commissioner. Thus, while that observation has to be seen in its particular context, he
  was not suggesting that there was anything problematic in the court exercising this sort
  of review. Moreover, much has happened, north and south of border, since 1978 when
  Lord Emslie issued his opinion. In particular, the courts have been willing to engage in
  an increasingly intensive degree of judicial review which has become inconsistent with
  the notion that the primary decision maker is entitled to make any error of law
  whatsoever. True, this has largely been in relation to public law decisions (in England,
  the only sort of decision subject to judicial review) engaging human rights, but
  experience in one area tends to spill into another. Of significance was the position




                                                                                     APP.246
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19              Page 230 of 421 PageID 18103



  adopted in the speeches of Lord Diplock in Racal and O’Reilly. Wade & Forsyth
  describe the stage by then reached in England as follows (at p222):
         “… it was soon seen that the concept of jurisdictional error had been stretched to
         breaking-point. For it requires only a simple verbal manipulation to represent
         any error of law as the result of the tribunal asking itself the wrong question or
         imposing some wrong requirement. By such logic any and every error of law
         could be shown to involve excess of jurisdiction. Thus the House of Lords, while
         purporting to uphold the distinction between errors of law which went to
         jurisdiction and errors which did not, in fact undermined it. A tribunal had now,
         in effect, no power to decide any question of law incorrectly: any error of law
         would render its decision liable to be quashed as ultra vires.”


  [25]   Accordingly, the respondent’s plea of no jurisdiction is based on a distinction
  which has not been expressly recognised in the authorities and which relies upon a
  supposed dichotomy which is slippery at best and in practice has increasingly been
  ignored. I shall therefore repel it. In doing so I recognise that this is to give the
  petitioner what Mr O’Neill described as “a third bite of the cherry”, in other words this
  is the third occasion on which the petitioner has had the opportunity to deploy the same
  arguments in relation to the same issue. Essentially, Mr O’Neill’s point raises, in a
  private law context, the question that Eba and its companion case of R (Cart) v Upper
  Tribunal [2012] 1 AC 663 raised in a public law context: how often should an issue be
  litigated? In Cart at para 41 Lady Hale observed: “There must be a limit to the number
  of times a party can ask a judge to look at a question”. Equally, there must be a limit to
  the number of times a party has to submit to having a question looked at. Given the
  expertise of the Tribunals which have decided on the complaint against the petitioner
  and the formality of their decision-making processes, it might be suggested that by now
  seeking judicial review of the Tribunals’ decisions, the petitioner is pushing beyond the
  limit envisaged by Lady Hale. However, other than the argument as to the competency




                                                                                          APP.247
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19            Page 231 of 421 PageID 18104



  of review on intra vires error in a private law context, which I have rejected, Mr O’Neill
  did not put forward any recognised control mechanism by reference to which the
  petitioner might be restricted in taking his application forward.


  Ground 1
  [26]   It is convenient to repeat the terms of the complaint served on the petitioner:
         “…in that already having an interest in Newcastle United FC, as the controlling
         party of MASH Holdings Limited, you did on 26 October 2014 enter into a Credit
         Facility Agreement with Rangers Football Club Limited, and thereafter MASH
         Holdings Limited did nominate Derek David Llambias to Rangers FC for
         appointment as a Director, resulting in his subsequent appointment as a Director
         of both Rangers International Football Club Plc and Rangers Football Club
         Limited upon 2 and 5 November 2014 respectively. These acts being breaches of
         article 13 of the Articles of Association of the Scottish FA…”


  As is apparent the complaint contains three propositions: (1) that having an interest in
  NUL and as the controlling party of MASH the petitioner did enter into a Credit Facility
  Agreement with RFCL; (2) that thereafter MASH nominated Mr Llambias for
  appointment and as a result Mr Llambias was appointed as a director of RIFC and
  RFCL; and (3) that the having and exercise of the power of appointment constituted a
  breach of article 13 of the Articles. The petitioner argues that none of these propositions
  was established. The three grounds upon which he seeks to reduce the findings of the
  Tribunals correspond to the three propositions in the complaint.
  [27]   The first ground is that the Tribunals erred in law in upholding the libel in the
  notice of complaint. Mr Sandison emphasised the importance of precision in the
  framing of a complaint such as that which contained the charge against the petitioner
  and the need to avoid the unfairness consequential on going beyond the charge. When
  the argument was before it, the Appeal Tribunal saw the focus as being on the need to




                                                                                    APP.248
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19            Page 232 of 421 PageID 18105



  give fair notice. It held that the petitioner had been given clear notice of what was
  complained of, that being that the source of the petitioner’s power to nominate directors
  was the Credit Facility Agreement entered into by MASH. The Appeal Tribunal rejected
  the contention that the Disciplinary Tribunal’s finding fell outwith the complaint.
  Before this court Mr Sandison accepted that the complaint had given clear notice.
  Where the Tribunals had erred was in finding what had been given clear notice of had
  been established by the uncontroversial evidence. The critical part of the libel was that
  “you did on 26 October 2014 enter into a Credit Facility Agreement with Rangers
  Football Club Limited”. The “you” in that clause was the petitioner; the individual who
  had in terms of the letter of 6 August 2012 agreed to abide by the Articles. What the
  evidence showed was that it was MASH which had, on 26 October 2014, entered into a
  Credit Facility Agreement with RFCL. The petitioner had not entered into any such
  agreement. Mr O’Neill pointed out that these facts had not escaped the notice of the
  Tribunals but the Disciplinary Tribunal, supported by the Appeal Tribunal, had held
  that while the Credit Facility had been agreed with RFCL by MASH, it was effectively
  the petitioner who had provided the facility. That, said Mr Sandison, was to pierce the
  corporate veil in circumstance where to do so was unwarranted: Prest v Petrodel
  Resources Ltd [2013] 2 AC 415.
  [28]   The purpose of the prohibition in article 13 is to prevent, otherwise to the extent
  authorised by the board of the respondent, any person having what was referred to
  before the Tribunals as “a dual interest”, that is being a member of one club or
  otherwise being in a position to influence the management or administration of one
  club while at the same time being a member of another club or otherwise being in a
  position to influence the management or administration of another club. The article is
  framed with a view to striking at a variety of ways in which a person can have a
  prohibited dual interest. The prohibitions include: “no person … alone or …through an
  associate …who …has any power whatsoever to influence the management or
  administration of a club, may at the same time either directly or indirectly … have any




                                                                                     APP.249
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19            Page 233 of 421 PageID 18106



  power whatsoever to influence the management or administration of another club”.
  Article 13.5 (c) (i) defines “associate” in relation to an individual as including “any
  company of which that individual …is a director or over which that individual …is able
  to exercise control or influence”.
  [29]   As appears from the definition, MASH is an associate of the petitioner.
  Accordingly, if it be accepted that entering into the Credit Facility Agreement gave
  MASH a power (of nominating a director) such as to allow it to influence the
  management or administration of RFCL then, at least once that power was exercised,
  “through an associate” the petitioner had acquired the requisite interest in RFCL such
  as to constitute a dual interest, when taken with his pre-existing interest, through the
  same associate, in NUL, in contravention of article 13. Thus, it was sufficient to establish
  the first proposition in the complaint that MASH had entered into the Credit Facility
  Agreement. The Disciplinary Tribunal did find that MASH entered into the Credit
  Facility Agreement. Mr Sandison’s point therefore comes to be the very narrow one that
  the wording of the complaint directed at the petitioner is “you did …enter” rather than,
  for example, “your associate MASH Holdings Limited did enter”. According to Mr
  Sandison, on the wording which was used in the complaint the Disciplinary Tribunal
  was simply not entitled to find that the petitioner had contravened article 13. That was
  not the view of the Tribunals and it is not my view. I would see Mr Sandison as
  ignoring the words which come immediately before “you” in the libel. These are “as the
  controlling party of MASH Holdings Limited”. The allegation was that MASH had
  entered into the Credit Facility Agreement and that this was a breach of article 13 by the
  petitioner because he was the controlling party of MASH. I accept that the placing of the
  comma at the end of the phrase “…in that already having an interest in Newcastle
  United FC, as the controlling party of MASH Holdings Limited,” indicates that what is
  being referred to there is the nature of the petitioner’s interest in NUL and I accept that
  the phrase “as the controlling party of MASH Holdings Limited” is not repeated after
  “you”. I do not consider that that matters. It is true that the Protocol provides for a




                                                                                     APP.250
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19               Page 234 of 421 PageID 18107



  relatively high degree of formality but, nevertheless these are not, for example, criminal
  proceedings on indictment. I shall have to consider whether the Tribunals were entitled
  to find the second and third propositions in the complaint to have been established but I
  agree with their conclusion as to the first proposition: the complaint gives fair notice
  that it is the actions of MASH that are founded upon and that that allegedly gives rise to
  breach of article 13 by the petitioner by reason of the fact that he controls MASH which
  is therefore his “associate” in terms of article 13.
  [30]   Mr Sandison briefly but accurately summarised the conclusion of
  Lord Sumption’s analysis, in his opinion in Prest v Petrodel Resources Ltd [2013] 2 AC415
  at paras 16 to 35, of the circumstances in which the court may pierce the corporate veil:
  when a person is under an existing legal obligation or liability or subject to an existing
  legal restriction which he deliberately evades or whose enforcement he deliberately
  frustrates by interposing a company under his control, the court may then “pierce the
  corporate veil” for the purpose of depriving the company or its controller of the
  advantage that they would have otherwise obtained by the company’s separate legal
  personality. It is a matter of circumventing the consequences of the person’s
  impropriety. I would accept, as Mr Sandison argued, that here there is no case for
  piercing the corporate veil. It is sufficient, and this is a different matter, to notice that
  the petitioner controls MASH and to notice the terms of the relevant prohibition. The
  Disciplinary Tribunal was accordingly entitled to find that the petitioner had acted
  “through” his associate, MASH. As acting through an associate is expressly prohibited
  by article 13 there was no such evasion of a restriction necessitating consideration of
  whether any corporate veil should be pierced.


  Ground 2
  [31]   The petitioner submits that the Tribunals erred in law in finding that the
  petitioner or MASH had appointed or nominated for appointment Mr Llambias as
  director of RFCL in circumstances where there was no evidence to support this finding.




                                                                                         APP.251
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19            Page 235 of 421 PageID 18108



  In considering that submission I accept, as Mr O’Neill argued, that where what is
  founded on is error of law, for the petitioner to succeed on this ground the court must
  be able to conclude that there was no relevant evidence and that therefore the finding
  can be regarded as irrational or perverse.
  [32]   I have been unable so to conclude. The Disciplinary Tribunal did not require to
  have direct evidence of nomination or appointment by MASH; it was entitled to draw
  such inferences as were available from the evidence put before it. It was not bound to
  hold the terms of the witness statements to be conclusive or to have dealt with matters
  comprehensively. The declarations that witnesses believed the contents of their
  statements to be true and the absence of cross-examination on the statements went
  merely to weight. Clause 13 of the Credit Facility Agreement conferred a right on
  MASH to appoint up to two directors on the board of RFCL and thereafter to remove
  and replace them. The date of the Credit Facility Agreement was 25 October 2014. Mr
  Llambias was appointed to the board of RFCL on 5 November 2014, having been
  appointed to the board of RIFC three days previously, on 2 November 2014. As appears
  from his witness statement Mr Llambias knows the petitioner well and in 2008 he
  became managing director of NUL. Whereas Mr Llambias refers to a subsequent
  disagreement with the petitioner which led to him leaving NUL in 2013, it may be
  inferred that Mr Llambias was someone in whose abilities the petitioner has confidence.
  These facts alone might point to Mr Llambias as having joined the board of RFCL as
  MASH’s appointee or nominee, but there was other material which is discussed by the
  Appeal Tribunal as follows:
         “Paragraph 13 of the Credit Facility Agreement gave MASH Holdings Ltd the
         right to appoint two directors to the Board of Rangers Football Club Limited. At
         the same time MASH Holdings Ltd entered into an agreement with Rangers
         International Football Club PLC whereby the latter irrevocably invited the
         former to put forward the names of two nominees of its choice for appointment
         as directors. That obligation was to subsist for the duration of the Credit Facility




                                                                                    APP.252
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19         Page 236 of 421 PageID 18109



       Agreement, and Rangers International Football Club PLC undertook to ensure
       that the director appointment rights contained in the Agreement were fully
       complied with. The letter stated in terms that it was “understood and agreed”
       that the two persons nominated by MASH Holdings Ltd to join the Board of
       Rangers International Football Club PLC would be the same persons nominated
       by them as lender under the Credit Facility Agreement to join the Board of
       Rangers Football Club Limited.


       On 27 October 2014 Rangers International Football Club PLC announced through
       the Regulatory News Service of the London Stock Exchange that their subsidiary,
       The Rangers Football Club Limited, had entered into a Credit Facility Agreement
       with MASH Holdings Ltd (‘MASH’) and that Rangers International Football
       Club PLC had entered into a letter agreement with MASH, pursuant to which
       they had invited MASH to put forward the names of two nominees of its choice
       for appointment to the Board. On 3 November 2014 Rangers International
       Football Club PLC made a further announcement through that same vehicle to
       the effect that their Board had appointed Derek Llambias as a non-executive
       director. The notice went on to state: ‘He was nominated as a director of its
       choice by MASH Holdings Limited pursuant to its agreement…as set out in the
       announcement dated 27 October 2014’.


       In paragraph 7 of his statement, Justin Barnes, consultant to MASH Holdings
       Ltd, refers to a discussion with Paul Shackleton of the Rangers International
       Football Club PLC’s Nominated Advisor about the need for MASH to make two
       nominations to the Board of Rangers International Football Club PLC to enable a
       drawdown to be made against the Credit Facility. Mr Shackleton asked Mr
       Barnes if he would be prepared to treat Derek Llambias as one of MASH’s
       nominees to the Board. Mr Barnes told him that he was happy to treat




                                                                                 APP.253
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19         Page 237 of 421 PageID 18110



       Mr Llambias as MASH’s first nominee to the Board. They also reached
       agreement that MASH would waive its second nomination for the purpose of
       enabling the drawdown of the funds. It is clear from the statement of Mr Somers
       that Derek Llambias was appointed to the Board of Rangers International
       Football Club PLC on 2 November 2014and to the Board of Rangers Football
       Club Limited on 5 November 2014.


       If that were the only evidence on the subject, the Judicial Panel would clearly
       have been entitled to make the finding that MASH Holding Ltd nominated Mr
       Llambias for appointment as director resulting in his subsequent appointment as
       a director of both companies on 2 and 5 November 2014 respectively. It is
       equally clear that the Judicial Panel gave careful consideration to the statements
       of Messrs Barnes, Llambias and Somers. Ms O’Neill submitted that the terms of
       the statements have to be treated as true and accurate since they were not
       challenged by cross-examination. In her submission they demonstrate that Mr
       Llambias was appointed at the instigation of Mr Somers and that that flatly
       contradicts the notion that he was nominated by MASH Holdings Ltd.


       What this Tribunal found odd about these statements is their failure to address
       specifically the question of nomination for appointment to the Board, bearing in
       mind that that was a vital issue to be addressed in any statement relating to the
       complaint. Reference was made to paragraphs 7, 9 and 12 in particular of the
       statement of Mr Llambias. In paragraph 12 he makes reference to his
       appointment as a director of both companies without saying anything about who
       nominated him. He refers to Mr Somers, the acting chairman, stating that he was
       pleased with the changes being made (Mr Llambias had been engaged as a
       consultant) and that he recognised that in order for Mr Llambias to continue
       improving the Club’s position he needed to be able to make decisions on behalf




                                                                                 APP.254
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19          Page 238 of 421 PageID 18111



       of the Club. In paragraph 13 of his statement, Mr Somers states that it was not
       practical for him as the only executive director to be present every time a
       decision was being made. He goes on to add: ‘Accordingly, on 2 November 2014
       and 5 November 2014, Derek was appointed as a non-executive director of the
       Club’s PLC Board and the Club respectively.’ The question of nomination is not
       addressed. Reference has been made above to the statement of Mr Barnes. Ms
       O’Neill relied particularly on paragraph 7, already dealt with above, and
       paragraph 4 in which Mr Barnes says that MASH did not nominate any
       individuals for appointment as directors to the Club when the Credit Facility
       Agreement was signed. Paragraph 7 reflects the situation somewhat later.


       Having reviewed the statements relied upon by Ms O’Neill, the Tribunal are of
       the opinion that the Judicial Panel were entitled to consider, as they did, that the
       information in all three was ‘vague about exactly how Mr Llambias’ appointment
       to the Club Board took place’.


       The letter dated 10 November 2014 from RPC, Solicitors, was apparently new
       material not presented to the Judicial Panel. It refers to earlier correspondence
       which this Tribunal has not seen. There is nothing in the letter to indicate that the
       writer has been personally involved in the matters referred to and was doing
       other than relaying instructions from a client. The terms of the letter contradict
       the Regulatory News Service announcement of 3 November 2014 by Rangers
       International Football Club PLC. The Appellate Tribunal do not consider that
       the terms of the letter provide a basis for rejecting as inaccurate or misleading the
       clear statement made in the 3 November announcement. The other document
       relied on, an Agreement amending the Credit Facility Agreement, contains a
       clause waiving the requirement on Rangers Football Club Limited to appoint
       directors, but solely in relation to appointment ‘on the proposed drawdown date




                                                                                  APP.255
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19              Page 239 of 421 PageID 18112



         of a Loan only’. The only parts of this Agreement produced are those identifying
         the parties, all or part (it is not clear which) of the interpretation clause, and the
         signatures at the end. The import of the waiver is not clear. The original
         Agreement required the appointment of two directors. There is no evidence of
         the nomination of a second director. The Tribunal do not consider that the terms
         of the waiver as disclosed to them provide a basis for saying that the Judicial
         Panel were not entitled to accept the evidence they did and make the finding
         they did.


         [The solicitor acting for the now petitioner] stressed that the timing of both
         documents, after the alleged nomination and before any complaint was initiated
         by the Compliance Officer, was an indication of their reliability as evidence that
         no nomination was made. This Tribunal do not consider the timing to be
         particularly significant bearing in mind the obvious prospect of dual interest
         raised by the very terms of the Credit Facility Agreement relating to the
         nomination of directors.”


  [33]   The Appeal Tribunal considered that the Disciplinary Tribunal was entitled to
  make the finding it did about nomination. I agree.


  Ground 3
  [34]   The petitioner submits that even if MASH is taken to have nominated or
  appointed Mr Llambias as a director of RFCL, that of itself cannot be regarded as a
  breach of article 13 in that an exercised power to appoint an director does not amount to
  being “involved in any capacity whatsoever in the management or administration of a
  club”. It is said that the mischief aimed at by article 13 was to prevent one person being
  able to influence the management of more than one football club, or one club
  influencing the management of another, in a way which might not coincide with the




                                                                                       APP.256
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19             Page 240 of 421 PageID 18113



  best interests of one or other of the clubs concerned. Mr Sandison emphasised that any
  director is under the duties set out at sections 171 to 177 of the Companies Act 2006. He
  must act within his powers and therefore according to the company’s constitution, and
  for the purposes for which the powers were conferred; seek to promote the success of
  the company for the benefit of its members; exercise independent judgement; exercise
  reasonable skill care and diligence; avoid conflict of interests; not accept benefits from
  third parties; and declare any interest that he may have in any transaction. In the
  absence of evidence to the contrary Mr Sandison submitted that it was to be assumed
  that Mr Llambias, having been appointed as a director, would properly carry out these
  duties in good faith and in the best interests of RFCL. There could therefore be no
  question of the management or administration of RFCL being influenced in a way
  which was contrary to its best interests.
  [35]   The question here is whether MASH by exercising a contractual power to
  appoint a director can be said to have had “any power whatsoever to influence the
  management or administration of” RFCL. The Disciplinary Tribunal expressed the view
  that when considering whether there had been breach of article 13 the “question of
  whether any power or influence was actually exercised or whether it was for the benefit
  rather than the detriment of the clubs involved was not relevant.” I agree. The Appeal
  Tribunal observed, before noting that the Compliance Officer confined his complaint to
  the situation following exercise of the power of appointment, that the “very granting of
  the right to nominate directors in and of itself gave rise to the possibility of the
  petitioner influencing the affairs of two clubs.” Again I agree. Article 13 should be given
  its natural meaning. I do not see there to be any need to posit misconduct on the part of
  the director appointed in terms of a power of appointment before there can be a breach.
  Rather, I would see it as appropriate to assume that Mr Llambias was nominated by
  reason of his positive qualities and experience in business and corporate governance, as
  spoken to in his witness statement. All directors must comply with the statutory duties
  to which Mr Sandison drew attention but it does not follow that every company




                                                                                         APP.257
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19           Page 241 of 421 PageID 18114



  director has exactly the same qualities. Some are better equipped to direct the affairs of
  a company than are others. Where there is power to do so, the appointment as director
  of a particular candidate in whom the appointer has confidence because of his
  particular qualities is one way of influencing the direction which a company will follow.
  Again agreeing with the Appeal Tribunal, that the fact that the person appointed is
  someone of independent mind is beside the point.


  Decision
  [36]   I shall uphold the second plea-in-law for the respondent. The petition is
  dismissed. I shall reserve all questions of expenses.




                                                                                    APP.258
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 242 of 421 PageID 18115




                   EXHIBIT G




                                                                       APP.259
3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 243433
                                                                             of 421 PageID 1
     1 Ch.                           S.I.B. V. Pantell S.A.         „      „,.„ .Sir Nicolas
                                                                    Browne-Wilkinson V.-C.
 A   the jurisdiction of the Guernsey court. However, if the branch of
     Barclays Bank in Guernsey is holding moneys belonging to either of the
     defendants, the bank (being a bank locally resident in England) will,
     after service of the order, be required not to part with such moneys
     from the accounts held with the bank with their Guernsey branch.
         I should make it clear that, although I in fact decided this case on
     the basis that I have mentioned (namely on the basis of sections 3 and 6
 B   of the Act of 1986), my researches overnight suggest that an alternative,
     and possibly clearer, route would be under section 57 of the Act, which
     deals specifically with advertisements, in relation to which section 61
     confers on the Secretary of State (and therefore on the S.I.B.) powers
     which are very similar to those contained in section 6 of the Act, which
     I have considered.
 Q       Finally, I should point out that these orders do not in any way
     preclude customers of Pantell individually from enforcing their rights
     against any assets of Pantell: see sections 6(9) and 61(9) of the Act.
                                                              Order accordingly.

         Solicitors: Booth & Blackwell.
 D
                                                                             S. W.




                                     [COURT OF APPEAL]

     ADAMS       AND OTHERS V.       CAPE INDUSTRIES PLC.           AND ANOTHER

                                    [1984 A. No. 2597]

     1988 Feb. 15, 16, 17, 18, 19, 24, 25, 26, 29;                              Scott J.
          March 1 , 2 , 3 , 4 , 7 , 8,9, 10, 11, 14,
          15, 16, 17, 18, 21, 22, 23, 24, 25;
          April 11, 12, 13, 14, 18, 19;
          June 17;
          July 26;
     1989 April 5, 6, 7, 10, 11, 13, 14, 17,                      Slade, Mustill and
          18, 20, 21, 24, 25, 27, 28;                            Ralph Gibson L.JJ.
          May 2, 3, 24;
          July 27
 H   Conflict of Laws—Foreign judgment—Jurisdiction to enforce—English
        companies mining asbestos in South Africa—Marketing subsidiary
        of English parent company incorporated in Illinois—Subsidiary
         trading in asbestos but having no authority to bind English

                                                                         APP.260
                                                                  Ch. 1990-20
3:18-cv-00731-X Document 273-6 Filed 07/30/19                  Page 244 of 421 PageID 1
                       Adams v. Cape Industries Pic. (C.A.)                [1990]
               companies in contract—Claim against English companies arising ^
               from sale of English companies' asbestos for use in Texas settled
               by consent judgment in Texas—Whether submission to Texas
               court's jurisdiction—Further claims—Whether English companies
               having presence within jurisdiction—Default judgment given in
                Texas court against English companies—Damages assessed without
               evidence relating to individual plaintiffs—Whether contrary to
               natural justice—Whether default judgment enforceable
                                                                                     B
                    Until 1979 the first defendant, Cape, an English company,
                presided over a group of subsidiary companies engaged in the
                mining in South Africa, and marketing, of asbestos. The
                marketing subsidiary in the United States of America was a
                wholly owned subsidiary, N.A.A.C, incorporated in Illinois in
                1953. The marketing subsidiary worldwide was the second
               defendant, Capasco, a wholly owned English company. Asbestos „
               from the South African mines was sold for use in an asbestos
               factory at Owentown, Texas. In 1974, some 462 plaintiffs,
                mainly employees or ex-employees at the Owentown factory,
                brought actions in the United States Federal District Court at
               Tyler, Texas, for damages for personal injuries allegedly suffered
                as a result of exposure to asbestos dust ("the Tyler 1 actions").
               The defendants included Cape, Capasco, N.A.A.C, the South
                African mining subsidiary and other parties including the United D
                States Government. Those actions were settled in September
                1977 for U.S.$20m. of which Cape and its subsidiaries were to
                bear over $5m. Cape and Capasco had entered motions
                protesting the jurisdiction of the Tyler court and had filed
                defences as to the merits which, inter alia, repeated the
               jurisdiction protests. The settlement of the Tyler 1 actions was
                recorded by a consent order made on 5 May 1978.
                    Between April 1978 and November 1979, a further 206 E
                plaintiffs instituted actions in the Tyler court against the same
               defendants ("the Tyler 2 actions"). Cape and Capasco took no
                part in the Tyler 2 actions maintaining that that court lacked
               jurisdiction over them. They were prepared to let default
               judgments be entered against them but to resist their enforcement
                in England. Cape decided to put N.A.A.C. into liquidation
                and, as from 31 January 1978, N.A.A.C. ceased to carry on p
                business. Cape promoted the incorporation of a new Illinois
                corporation, C.P.C., and a Liechtenstein entity, A.M.C. The
                shares in C.P.C were held by M., the chief executive of
                N.A.A.C, and those in A.M.C. were held by a nominee on
                trust for a Cape subsidiary, C.I.O.L. Arrangements were made
                for C.P.C to carry out much the same marketing function for
                the sale of Cape asbestos in the United States as had previously
                been carried out by A.M.C. Those arrangements continued G
                until 1979 when Cape sold its asbestos mining and marketing
               subsidiaries. In 1983, 133 plaintiffs in the Tyler 2 actions settled
                their actions against the main United States defendants, including
                N.A.A.C. but excluding the United States Government. Later
                all the 206 plaintiffs in the Tyler 2 actions agreed to settle their
                actions against the United States Government on terms that
                they would obtain default judgments against Cape and Capasco H
                and that the United States Government would finance the steps
               to be taken to enforce those judgments against Cape and
                Capasco in England. The Tyler court fixed 12 September 1983
                as the date for the hearing of the default judgment applications.

                                                                      APP.261
3:18-cv-00731-X
      ICh.
                Document  273-6 Filed 07/30/19
                    Adams v. Cape Industries Pic. (C.A.)
                                                                     Page 245 of 421 PageID 1
  ^       Under the United States Federal Rules, since Cape and Capasco
          were in default, the pleaded allegations against them were, save
          in relation to damage, taken to be admitted. But no judicial
          hearing took place. On 12 September the judge signed a default
          judgment for over U.S.$15jm. The awards made to individual
          plaintiffs fell into a number of bands: 67 were awarded $37,000,
          31 $60,000, 47 $85,000 and 61 $120,000. The judge directed that
          the total award should represent an average award of $75,000
  B       per plaintiff but it was the plaintiffs' counsel who selected the
          level of the bands and who identified the plaintiffs to be placed
          in each band in order to produce the directed average award.
          All those plaintiffs, but one, sought to enforce the default
          judgment against Cape and Capasco by the present proceedings.
          They contended that Cape and Capasco had submitted to the
          jurisdiction in the Tyler 1 actions, and that the submission to
  P       the jurisdiction in the Tyler 1 actions constituted a submission
          to the jurisdiction in the Tyler 2 actions or, alternatively, an
          agreement to submit to the jurisdiction in the Tyler 2 actions.
          Secondly, the plaintiffs contended '< that the Tyler court was
          entitled to take jurisdiction over Cape and Capasco by reason
          of their presence in Illinois when the Tyler 2 actions were
          commenced.
               Scott J. dismissed the actions holding, inter alia, that the
  D       jurisdiction of a foreign court over defendants could be
          established either on a territorial basis by showing that the
          defendants were present within the territory of the foreign court
          or on a consensual basis by showing that the defendants had
          consented to the foreign court exercising jurisdiction over them;
          that Cape and Capasco by participating in the application in the
          Tyler 1 actions to the judge to make the consent order of 5 May
           1978 submitted to the jurisdiction of the Tyler court, but that
  ^        the Tyler 1 actions and the Tyler 2 actions were distinct and
          separate actions so that submission to the jurisdiction in the
          Tyler 1 actions could not be regarded as a submission to the
          jurisdiction in the Tyler 2 actions; that an agreement to submit
          to the jurisdiction of a foreign court might be evidenced either
          by a term of an agreement binding in contract or by a unilateral
          representation of willingness to submit to the jurisdiction, but if
  p       such a representation was to be relied on, it should be clear and
           unequivocal and have been acted on by the plaintiff and that
           Cape and Capasco had not contracted to submit nor made any
           representation of willingness to submit in the Tyler 2 actions;
           that, on the basis that the same principles applied to the
           question whether a corporation was present in the territory of a
           foreign court as applied to the question whether a corporation
           had a sufficient presence in England to enable service of a writ
  G        on the corporation to be effected by service on its agent in
           England, the presence of N.A.A.C. and C.P.C. in Illinois and
           the business carried on from their respective offices in Illinois
           did not constitute the presence of Cape or Capasco in Illinois;
           and that the procedure adopted by the judge in the Tyler court
           in giving the default judgment of 12 September 1983 offended
           against English principles of natural justice, in that there had
  H        been no judicial assessment of the defendants' liability and the
           award of damages had been arbitrary, not based on evidence
           and not related to the individual entitlements of the various
           plaintiffs.
               On an appeal by the plaintiffs:—
                                                                           APP.262
3:18-cv-00731-X Document 273-6 Filed 07/30/19                        Page 246 of 421 PageID 1
                          Adams v. Cape Industries Pic. (C.A.)              [1990]
                    Held, dismissing the appeal, (1) that an overseas trading p^
                corporation was likely to be treated by the English court as
                present within the jurisdiction of the courts of another country
                only where either such a corporation had established and
                maintained at its own expense in that other country a fixed
                place of business and had carried on from there its business for
                more than a minimal period of time through its servants or
                agents or through a representative; that in either of those two
                cases presence could only be established where the overseas B
                corporation's business, whether together with the representative's
                own business or not, had been transacted at or from the fixed
                place and, in order to ascertain whether the representative had
                carried on the corporation's business or his own, it would be
                necessary to investigate his functions and his relationship with
                the overseas corporation (post, p. 530D-G).
                    Okura & Co. Ltd. v. Forsbacka Jernverks Aktiebolag [1914] .-,
                1 K.B. 715, C.A.; Littauer Glove Corporation v. F. W.              ^
                Millington (1920) Ltd. (1928) 44 T.L.R. 746 and Vogel v. R.
                and A. Kohnstamm Ltd. [1973] Q.B. 133 applied.
                    Quaere. Whether residence without presence will suffice
                (post, p. 5 1 8 C - D ) .
                    (2) That, on the facts, C.P.C. was an independently owned
                company and by the liquidation of N.A.A.C. and the creation
                of A.M.C. and C.P.C. Cape wanted sales of asbestos from its                 D
                subsidiaries to continue in the United States but intended, by
                any lawful means which it was entitled to do, to reduce the
                appearance of its, or its subsidiaries', involvement there and to
                reduce the risk of its being held liable for United States taxation
                or subject to the jurisdiction of the United States courts, and
                that, accordingly, since it was not a mere facade concealing the
                true facts it was not appropriate to pierce the corporate veil;
                that furthermore, since it was accepted that N.A.A.C. was                   ^
                incorporated so as to assist in marketing and to be a marketing
                agent of the Cape group in the United States and, since a
                substantial part of its business at all material times was, in every
                sense, its own business, it did not act as an agent of the Cape
                group; that, in any event, since N.A.A.C. had no general
                authority to enter into contracts binding Cape or Capasco and
                third parties no such transactions were ever entered into by                p
                N . A . A . C ; and that, accordingly, the defendants were not
                present in the United States of America through N . A . A . C ,
                C.P.C. or A.M.C. (post, pp. 5 4 1 F - H , 544A-C, 5 4 4 H — 5 4 5 B , G —
                546A, 547A-D, 5 4 9 C - D ) .
                    (3) That, as a matter of principle, the onus fell on the
                plaintiff, who sought to enforce a judgment of a foreign court,
                to demonstrate the competence of that court and that it was
                only the judgment of the competent foreign court recognised as              G
                such by English law which would bind the defendant; that, if
                the onus fell on the defendants to disprove the competence of
                the Tyler court to give judgment against them, they had
                discharged that onus because they had shown that they were not
                present in the United States (post, p. 550C-F).
                    (4) That the method by which the Tyler court came to a
                decision as to the amount of the default judgment was contrary              j-j
                to the requirements of substantial justice contained in English
                law (post, p. 568F).
                   (5) That the failure of the defendants to apply to set aside
                the default judgment did not preclude them from relying on

                                                                            APP.263
3:18-cv-00731-X
      1 Ch.
                Document  273-6 Filed 07/30/19
                    Adams v. Cape Industries Pic. (C.A.)
                                                                     Page 247 437
                                                                              of 421 PageID 1
  ^       that breach of natural justice by way of defence to the present
          action to enforce that judgment, since the plaintiffs had failed
          to give prior notice to the defendants of the unusual course they
          were proposing to take, did not seek to dissuade the judge from
          adopting that method of assessment of damages and drew up
          and served a form of judgment which did not show the
          procedure adopted, and the effect on the defendants, although
          everything was done by the plaintiffs in good faith, was that
  B       they remained unaware of any basis for seeking relief from the
          Tyler court in respect of the defect in the judgment (post,
          p. 572B-E).
             Pemberton v. Hughes [1899] 1 Ch. 781, C.A. and Jacobson
          v. Frachon (1928) 138 L.T. 386, C.A. applied.
              Decision of Scott J., post, p. 441G, affirmed.
  P       The following cases are referred to in the judgment of the Court of Appeal:
          Abouloffv. Oppenheimer & Co. (1882) 10 Q.B.D. 295, C.A.
          Albazero, The [1977] A.C. 774; [1976] 3 W.L.R. 419; [1976] 3 All E.R.
               129, H.L.(E.)
          Bank of Tokyo Ltd. v. Karoon (Note) [1987] A.C. 45; [1986] 3 W.L.R. 414;
               [1986] 3 All E.R. 468, C.A.
          Baroda (Maharanee of) v. Wildenstein [1972] 2 Q.B. 283; [1972] 2 W.L.R.
  n            1077; [1972] 2 All E.R. 689, C.A.
  U
          Boys v. Chaplin [1971] A.C. 356; [1969] 3 W.L.R. 322; [1969] 2 All E.R.
                1085, H.L.(E.)
          Bulova Watch Co. Inc. v. K. Hattori & Co. Ltd. (1981) 508 F. Supp. 1322.
          Burnet v. Francis Industries Pic. [1987] 1 W.L.R. 802; [1987] 2 All E.R.
               323, C.A.
          Canada Enterprises Corporation Ltd. v. MacNab Distilleries Ltd. (Note)
                [1987] 1 W.L.R. 813, C.A.
  E
          Carrick v. Hancock (1895) 12 T.L.R. 59
          Castrique v. Imrie (1870) L.R. 4 H.L. 414, H.L.(E.)
          Colt Industries Inc. v. Sarlie [1966] 1 W.L.R. 440; [1966] 1 All E.R. 673,
                C.A.
          Crawley v. Isaacs (1867) 16 L.T. 529
          D.H.N. Food Distributors Ltd. v. Tower Hamlets London Borough Council
                [1976] 1 W.L.R. 852; [1976] 3 All E.R. 462, C.A.
  F       Dunlop Pneumatic Tyre Co. Ltd. v. Actien-gesellschaft fiir Motor und
               Motorfahrzeugbau vorm. Cudell & Co. [1902] 1 K.B. 342, C.A.
          Emanuel v. Symon [1908] 1 K.B. 302, C.A.
          Employers' Liability Assurance Corporation Ltd. v. Sedgwick, Collins & Co.
                Ltd. [1927] A.C. 95, H.L.(E.)
          Erie Railroad Co. v. Tompkins (1938) 304 U.S. 64
          Firestone Tyre and Rubber Co. Ltd. v. Lewellin (Inspector of Taxes) [1957]
  G             1 W.L.R. 464; [1957] 1 All E.R. 561, H.L.(E.)
          General Steam Navigation Co. v. Guillou (1843) 11 M. & W. 877
          Godard v. Gray (1870) L.R. 6 Q.B. 139
          Grant v. Anderson & Co. [1892] 1 Q.B. 108, C.A.
          Guaranty Trust Co. v. York (1945) 326 U.S. 99
          Hoggin v. Comptoir d'Escompte de Paris (1889) 23 Q.B.D. 519, C.A.
          Holdsworth (Harold) & Co. (Wakefield) Ltd. v. Caddies [1955] 1 W.L.R.
  H             352; [1955] 1 All E.R. 725, H.L.(Sc)
          Holstein, The [1936] 2 All E.R. 1660
          Istituto Chemioterapico Italiano S.p.A. and Commercial Solvents Corporation
                v. Commission of the European Communities (Cases 6 and 7/73) [1974]
                E.C.R. 223, E.C.J.

                                                                              APP.264
3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 248 of 421 PageID 1
                             Adams v. Cape Industries Pic. (C.A.)              [1990]
        Jabbour (F. & K.) v. Custodian of Israeli Absentee Property [1954] 1 ^
             W.L.R. 139; [1954] 1 All E.R. 145
        Jacobson v. Fraction (1928) 138 L.T. 386, C.A.
        Jeannot v. Fuerst (1909) 100 L.T. 816
        Jet Holdings Inc. v. Patel [1990] 1 Q.B. 335;, [1988] 3 W.L.R. 295, C.A.
        Jones v. Lipman [1962] 1 W.L.R. 832; [1962] 1 All E.R. 442
        La Bourgogne [1899] P. 1; sub nom. Compagnie Ginirale Transatlantique v.
             Thomas Law & Co. [1899] A.C. 431, H.L.(E.)                               B
        Lalandia, The [1933] P. 56
        Littauer Glove Corporation v. F. W. Millington (1920) Ltd. (1928) 44
             T.L.R. 746
        Littlewoods Mail Order Stores Ltd. v. Inland Revenue Commissioners [1969]
             1 W.L.R. 1241; [1969] 3 All E.R. 855, C.A.
        Local Government Board v. Arlidge [1915] A.C. 120, H.L.(E.)
        Merchandise Transport Ltd. v. British Transport Commission [1962] 2 Q.B. Q
             173; [1961] 3 W.L.R. 1358; [1961] 3 All E.R. 495, C.A.
        Miller v. B.C. Turf Ltd. (1969) 8 D.L.R. (3d) 383
        Mississippi Publishing Corporation v. Murphree (1946) 326 U.S. 438
        Moore v. Mercator Enterprises Ltd. (1978) 90 D.L.R. (3d) 590
        Newby v. Von Oppen & The Colt's Patent Firearms Manufacturing Co.
             (1872) L.R. 7 Q.B. 293
        Okura & Co. Ltd. v. Forsbacka Jemverks Aktiebolag [1914] 1 K.B. 715, D
             C.A.
        Omni Capital International v. Rudolph Wolff & Co. Ltd. (1987) 108 S. Ct.
             404
        Pemberton v. Hughes [1899] 1 Ch. 781, C.A.
        Princesse Clementine, The [1897] P. 18
        Revlon Inc. v. Cripps & Lee Ltd. [1980] F.S.R. 85, C.A.
        Reynolds v. Fenton (1846) 16 L.J. C.P. 15                                     E
        Roberta, The (1937) 58 LI. L.R. 159
        Robinson v. Fenner [1913] 3 K.B. 835
        Rousillon v. Rousillon (1880) 14 Ch.D. 351
        Saccharin Corporation Ltd. v. Chemische Fabrik Von Heyden Aktiengesell-
             schaft [1911] 2 K.B. 516, C.A.
        Salomon v. A. Salomon & Co. Ltd. [1897] A.C. 22, H.L.(E.)
        Schibsby v. Westenholz (1870) L.R. 6 Q.B. 155                                 p
        Scottish Co-operative Wholesale Society Ltd. v. Meyer [1959] A.C. 324;
             [1958] 3 W.L.R. 404; [1958] 3 All E.R. 56, H.L.(Sc)
        Sfeir & Co. v. National Insurance Co. of New Zealand Ltd. [1964] 1 Lloyd's
             Rep. 330
        Sirdar Gurdyal Singh v. Rajah of Faridkote [1894] A.C. 670, P.C.
        South India Shipping Corporation Ltd. v. Export-Import Bank of Korea
              [1985] 1 W.L.R. 585; [1985] 2 All E.R. 219, C.A.                        G
         Thames and Mersey Marine Insurance Co. v. Societa di Navigazione a
              Vapore del Lloyd Austriaco (1914) 111 L.T. 97, C.A.
         Theodohos, The [1977] 2 Lloyd's Rep. 428
         Vogel v. R. and A. Kohnstamm Ltd. [1973] Q.B. 133; [1971] 3 W.L.R. 537;
              [1971] 2 All E.R. 1428
        Wallersteiner v. Moir [1974] 1 W.L.R. 991; [1974] 3 All E.R. 217, C.A.
        Williams v. Jones (1845) 13 M. & W. 628                                       H
         Woolfson v. Strathclyde Regional Council, 1978 S.L.T. 159
         World Harmony, The [1967] P. 341; [1965] 2 W.L.R. 1275; [1965] 2 All
             E.R. 139
        XBank Ltd. v. G. (1985) 82 L.S.G. 2016, C.A.
                                                                       APP.265
3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 249439
                                                                             of 421 PageID 1
      1 Ch.                  Adams v. Cape Industries Pic. (C.A.)
 A       The following additional cases were cited in argument in the Court of
      Appeal:
         Badcock v. Cumberland Gap Park Co. [1893] 1 Ch. 362
         Blohn v. Desser [1962] 2 Q.B. 116; [1961] 3 W.L.R. 719; [1961] 3 All E.R. 1
         Calvin's Case (1608) 7 Co. Rep. la
         Hercules v. Grand Trunk Pacific Railway Co. [1912] 1 K.B. 222
         Joyce v. Director of Public Prosecution [1946] A.C. 347, H.L.(E.)
 B
          The following cases are referred to in the judgment of Scott J.:
          Albazero, The [1977] A.C. 774; [1976] 3 W.L.R. 419; [1976] 3 All E.R.
                129, H.L.(E.)
          Bank of Tokyo v. Karoon (Note) [1987] A.C. 45; [1986] 3 W.L.R. 414;
                [1986] 3 All E.R. 468, C.A.
          Blohn v. Desser [1962] 2 Q.B. 116; [1961] 3 W.L.R. 719; [1961] 3 All E.R. 1
 C        Boissiere & Co v. Brockner & Co. (1889) 6 T.L.R. 85
          Dunlop Pneumatic Tyre Co. Ltd. v. Actien-Gesellschaft fiir Motor und
                Motorfahrzeugbau Vorm. Cudell & Co. [1902] 1 K.B. 342, C.A.
          Emanuel v. Symon [1908] 1 K.B. 302, C.A.
          Erie Railroad Co. v. Tompkins (1938) 304 U.S. 64
          Firestone Tyre and Rubber Co. Ltd. v. Lewellin [1957] 1 W.L.R. 464; [1957]
                1 All E.R. 561, H.L.(E.)
 n        Godard v. Gray (1870) L.R. 6 Q.B. 139, D.C.
 U
          Holstein, The [1936] 2 All E.R. 1660
          Istituto Chemioterapico Italiano S.p.A. and Commercial Solvents Corporation
                v. Commission of the European Communities (Cases 6 and 7/73) [1974]
                E.C.R. 223, E.C.J.
          Jabbour (F. & K.) v. Custodian of Israeli Absentee Property [1954] 1
                W.L.R. 139; [1954] 1 All E.R. 145
          Jacobson v. Frachon (1928) 138 L.T. 386, C.A.
 E
          La Bourgogne [1899] P. 1, C.A.
          Lalandia, The [1933] P. 56
          Littauer Glove Corporation v. F. W. Millington (1920) Ltd. (1928) 44
                T.L.R. 746
          Ochsenbein v. Papelier (1873) L.R. 8 Ch.App. 695
          Okura & Co. Ltd. v. Forsbacka Jernverks Aktiebolag [1914] 1 K.B. 715,
                C.A.
 F        Pemberton v. Hughes [1899] 1 Ch. 781, C.A.
          Point Landing Inc. v. Omni Capital International Ltd. (1986) 795 F. 2d 415
          Prima Paint Corporation v. Flood & Conklin Manufacturing Co. (1967) 388
                U.S. 395
          Princesse Clementine, The [1897] P. 18
          Rein v. Stein (1892) 66 L.T. 469, C.A.
          Robinson v. Fenner [1913] 3 K.B. 835
 G        Russell v. Smyth (1842) 9 M. & W. 810
          S.A. Consortium General Textiles v. Sun and Sand Agencies Ltd. [1978]
                Q.B. 279; [1978] 2 W.L.R. 1; [1978] 2 All E.R. 339, Parker J. and
                C.A.
          Saccharin Corporation Ltd. v. Chemische Fabrik Von Heyden Aktiengesellsch-
                aft [1911] 2 K.B. 516, C.A.
          Schibsby v. Westenholz (1870) L.R. 6 Q.B. 155
 JJ       Sfeir & Co. v. National Insurance Co. of New Zealand Ltd. [1964] 1 Lloyd's
                Rep. 330
          Sirdar Gurdyal Singh v. The Rajah of Faridkote [1894] A.C. 670, P.C.
          South India Shipping Corporation Ltd. v. Export-Import Bank of Korea
                 [1985] 1 W.L.R. 585; [1985] 2 All E.R. 219, C.A.
                                                                         APP.266
3:18-cv-00731-X Document 273-6 Filed 07/30/19                  Page 250 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)          [1990]
        Thames and Mersey Marine Insurance Co. v. Societa di Navigazione a         /^
            Vapore del Lloyd Austriaco (1914) 111 L.T. 97, C.A.
        Vogel v. R. and A. Kohnstamm Ltd. [1973] Q.B. 133; [1971] 3 W.L.R. 537;
            [1971] 2 All E.R. 1428
        Williams & Glyn's Bank Pic. v. Astro Dinamico Compania Naviera S.A.
            [1984] 1 W.L.R. 438; [1984] 1 All E.R. 760, H.L.(E.)
        World Harmony, The [1967] P. 341; [1965] 2 W.L.R. 1275; [1965] 2 All
            E.R. 139                                                                B

        The following additional cases were cited in argument before Scott J.:
        Abouloffv. Oppenheimer & Co. (1882) 10 Q.B.D. 295, C.A.
        Actiesselskabet Dampskib "Hercules" v. Grand Trunk Pacific Railway Co.
             [1912] 1 K.B. 222, C.A.
        Attorney-General for Alberta v. Cook [1926] A.C. 444, P.C.
        Bank of Australasia v. Mas (1851) 16 Q.B. 717                                 Q
        Biguelin Import Co. v. G. L. Import-Export S.A. (1972) 11 C.M.L.R. 81,
             E.C.J.
        Bergerem v. Marsh (1921) 91 L.J.K.B. 80
        Berliner Industriebank Aktiengesellschaft v. Jost [1971] 2 Q.B. 463; [1971] 3
             W.L.R. 61; [1971] 2 All E.R. 1513, C.A.
        Casdagli v. Casdagli [1919] A.C. 145, H.L.(E.)
        Castrique v. Imrie (1870) L.R. 4 H.L. 414, H.L.(E.)                            n
                                                                                        U
        Crawley v. Isaacs (1867) 16 L.T. 529
        Deverall v. Grant Advertising Inc. [1955] Ch. I l l ; [1954] 3 W.L.R. 688;
             [1954] 3 All E.R. 389, C.A.
        Elefanten Schuh GmbH. v. Pierre Jacqmain [1981] E.C.R. 1671, E.C.J.
        Europemballage Corporation and Continental Can Co. Inc. v. Commission
             of European Communities (1973) 12 C.M.L.R. 199, E.C.J.
        Fender v. St. John-Mildmay [1938] A.C. 1; [1937] 3 All E.R. 402, H.L.(E.)
                                                                                       E
        Ferguson v. Mahon (1839) 11 Ad. & E. 179
        Gatty (F.A.) and Gatty (P.V.) v. Attorney-General [1951] P. 444
        Gray(orse. Formosa) v. Formosa [1963] P. 259; [1962] 3 W.L.R. 1246;
             [1962] 3 All E.R. 419, C.A.
        Henderson v. Henderson (1844) 6 Q.B. 288
        Houlditch v. Marquess of Donegal (1834) 2 CI. & Fin. 470
        Imperial Chemical Industries Ltd. v. Commission of European Communities
             (1972) 11 C.M.L.R. 557, E.C.J.                                           F
        Jeannot v. Fuerst (1909) 25 T.L.R. 424
        Jet Holdings Inc. v. Patel [1990] 1 Q.B. 335; [1988] 3 W.L.R. 295, C.A.
        Local Government Board v. Arlidge [1915] A.C. 120, H.L.(E.)
        Macalpine v. Macalpine [1958] P. 35; [1957] 3 W.L.R. 698; [1957] 3 All
             E.R. 134
        Meyer, In re [1971] P. 298; [1971] 2 W.L.R. 401; [1971] 1 All E.R. 378
        Newby v. Von Oppen and the Colt's Patent Firearms Manufacturing Co. G
             (1872) L.R. 7 Q.B. 293
        Price v. Dewhurst (1837) 8 Sim. 279
        Reg. v. Chief Registrar of Friendly Societies, Ex parte New Cross Building
             Society [1984] Q.B. 227; [1984] 2 W.L.R. 370; [1984] 2 All E.R. 27,
             C.A.
        Rousillon v. Rousillon (1880) 14 Ch.D.351
        Secretary of State for Foreign Affairs v. Charlesworth Pilling & Co. [1901] j ^
             A.C. 373, P.C.
        Smith, Stone and Knight Ltd. v. Birmingham Corporation [1939] 4 All E.R.
             116
        Syal v. Heyward [1948] 2 K.B. 443; [1948] 2 All E.R. 576, C.A.
                                                                     APP.267
3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 251 441
                                                                          of 421 PageID 1
     1 Ch.                  Adams v. Cape Industries Pic. (C.A.)
 A       Trottier v. Rajotte [1940] 1 D.L.R. 433
         Vadala v. Lawes (1890) 25 Q.B.D. 310, C.A.
         Vervaeke (formerly Messina) v. Smith [1983] 1 A.C. 145; [1982] 2 W.L.R.
            855; [1982] 2 All E.R. 144, H.L.(E.)
         Wahl v. Attorney-General (1932) 147 L.T. 382, H.L.(E.)
         Weiss, Biheller and Brooks Ltd. v. Farmer [1923] 1 K.B. 226, C.A.
 3      ACTION
         By a writ and statement of claim dated 1 August 1984, the plaintiff,
     Jimmy Wayne Adams commenced an action against Cape Industries Pic.
     and its wholly owned subsidiary, Capasco Ltd., seeking to enforce a
     default judgment which had been awarded to him in the United States
     of America. In the statement of claim it was alleged that (1) on 21 April
     1978, the plaintiff commenced an action against the defendants in the
 C   United States District Court for the Eastern District of Texas, Tyler
     Division, in the State of Texas in the United States of America; (2) the
     court was duly constituted and held in accordance with the laws of
     the state and had jurisdiction in that behalf; (3) on 12 September 1983
     the court gave judgment in favour of the plaintiff for damages and
     assessed the damages to which the plaintiff was entitled in the sum of
 Q   U.S.$37,000 and ordered the defendants to pay the plaintiff forthwith
     the sum of $37,000 and interest at the rate of 9 per cent, per annum
     from that date until payment. Payment was claimed accordingly, it being
     certified that at the appropriate rate $37,000 amounted to £25,298.28.
         The writ was one of 205 claims to enforce the default judgment of
     the Tyler court in consolidated actions by plaintiffs with similar claims in
     respect of personal injuries alleged to have been caused by asbestos
 E   dust. The defendants denied that the Tyler court had, for the purposes
     of English law, jurisdiction over them.
         The facts are stated in the judgments of Scott J. and the Court of
     Appeal.
        T. R. A. Morison Q.C. and Charles Falconer for the plaintiffs.
 P      Sir Godfray Le Quesne Q.C, Jonathan Play ford Q.C, Adrian
     Brunner and George Alliott for the defendants.
                                                              Cur. adv. vult.

         17 June 1988. Scorr J. read the following judgment. The judgment
     I am about to give is nearly but not quite my complete judgment. After
 G   reserving judgment on Tuesday 19 April my judicial duties required me
     to sit in the North of England until the end of May. A consequence has
     been that preparation of my judgment in this important case has been
     unavoidably delayed. Representations have been made to me on behalf
     of Cape Industries Pic. to the effect that if the result of the case remains
     uncertain beyond this week, serious financial damage may ensue to the
     company and to its shareholders. I need not elaborate on the nature of
     the fears but will say that they did not seem to me to be without
     substance.
         I would think it unacceptable in principle that litigants or those
     connected with them should be brought to suffer financial loss by a
                                                                      APP.268
3:18-cv-00731-X
      442       Document 273-6 Filed 07/30/19                      Page 252 of 421 PageID 1
     Scott J.              Adams v. Cape Industries Pic. (Ch.D.)            [1990]

     judge's delay in preparing a reserved judgment, if that result can be           A
     avoided. Since the outcome of this case is now clear in my mind and it is
     only the expression of that outcome that is incomplete, the result can, I
     think, be avoided. I have proposed to both sides that I should deliver
     now my judgment to the extent that it is complete—something over
     three-quarters is in fact complete—and express, in summary form, my
     conclusions on the issues to be covered by that part of my judgment that
     is not yet complete.                                                            ^
         The defendants have pressed me to take that course. The plaintiffs
     have asked that I should hold my hand until my complete judgment is
     ready for delivery. I have decided, however, that I ought to proceed in
     the manner I have indicated. I do not think any injustice will be
     occasioned thereby to the plaintiffs or anyone connected with them.
         I will make clear the point at which my definitive judgment ends,           Q
     What I say thereafter will not form part of my definitive judgment but
     will be an indication in summary terms of what will be contained in the
     final part of my judgment when it is complete. I will reconvene the court
     in due course for the delivery of that final part. The delay will, I trust,
     be a short one. The order to be made consequent upon my judgment
     will not be drawn up until the final part has been delivered. So time for
     appeal will not start running. I will deal with costs at that stage.            D
         I have before me 205 consolidated actions. In each action the
     defendants are Cape Industries Pic. ("Cape") and Capasco Ltd.
     ("Capasco"). Each of the plaintiffs is a person or the personal
     representative of a person in whose favour a damages award was made
     on 12 September 1983 in the United States District Court for the
     Eastern District of Texas, Tyler Division, in the State of Texas, United        g
     States of America. I shall refer to this federal district court as the "Tyler
     court."
         The judgment of 12 September 1983 was a default judgment given by
     Judge Steger, a federal district judge, sitting in the Tyler court. The
     judgment, after setting out a number of findings of fact and conclusions
     of law, concluded:
                                                                                     F
           "By virtue of defaulting defendants' acts and omissions of negligence
           and breaches of warranty, this court finds that defaulting defendants
           are liable jointly and severally to each plaintiff listed in appendix A
           for the amounts of money indicated for each plaintiff. It is therefore
           ordered and adjudged by the court that plaintiffs recover from
           defendants, jointly and severally, $15,654,000 and further that such
           judgment shall run with 9 per cent, interest per annum from the           G
           date hereof until paid . . . "
         The awards made to the individual plaintiffs as set out in appendix A
     to the judgment fell into a number of bands. 67 plaintiffs were awarded
     $37,000, 31 plaintiffs were awarded $60,000, 47 plaintiffs were awarded
     $85,000 and 61 plaintiffs were awarded $120,000. There were thus 206
     awards in all. The surviving plaintiffs and the personal representatives of     "
     all bar one of the plaintiffs who have died since 12 September 1983 have
     brought actions in this country for payment of the damages and interest
     ordered to be paid by the judgment of 12 September 1983. The cause of
                                                                      APP.269
3:18-cv-00731-X Document 273-6 Filed 07/30/19                        Page 253 443
                                                                              of 421 PageID 1
        1 Ch.                Adams v. Cape Industries Pic. (Ch.D.)          Scott J.

 A      action asserted and sued on in each action is the judgment of the Tyler
        court. These are the consolidated actions before me.
            A judgment of a foreign court can be enforced by action in this
        country only if the jurisdiction of the foreign court to have given the
        judgment is recognised by the law of this country. The jurisdiction of
        the Tyler court over Cape and Capasco is in issue in these actions. It is
        well settled also that a foreign judgment given by a court of competent
  "      jurisdiction will not be enforced in this country if the judgment can be
        shown to have been obtained by fraud or if its enforcement would
        offend natural justice or public policy. These defences are relied on by
        Cape and Capasco. So the actions and the defences thereto raise a
        number of issues both of fact and of law and I must, in order to enable
        the issues to be comprehensible, start by briefly relating the history that
  Q     has led to these actions. When I have done so I will endeavour to
        describe the issues that arise for decision.

        History
             Cape until 1979 presided over a group of subsidiary companies
        engaged in the mining and marketing of asbestos. On 29 June 1979 the
  j-v   mining and marketing companies were sold by Cape to a South African
        company, Transvaal Consolidated Exploration Co. Ltd. It was, however,
        the mining and marketing of the asbestos in the period before the 1979
        sale that gave rise to the litigation against Cape that culminated in the
        12 September 1983 default judgment. The mines from which the asbestos
        came were situated in South Africa. The mining companies, the most
        important of which for present purposes was Egnep Pty. Ltd. ("Egnep"),
  E     were South African companies. Egnep mined amosite asbestos. The
        shares in Egnep and the other mining companies were held by Cape
        Asbestos South Africa (Pty.) Ltd. ("Casap"), also a South African
        company. Prior to 2 December 1975 the shares in Casap were held by
        Cape.
             One of the important markets for sale of the asbestos produced by
  _     the South African mines was the United State of America. On 14
        October 1953, Cape had caused to be incorporated in Illinois a company
        called North American Asbestos Corporation ("N.A.A.C"). The shares
        in N.A.A.C. were held by Cape. The function of N.A.A.C. which I
        shall have to examine in more detail later, was to assist in the marketing
        of the asbestos in the United States of America. N.A.A.C. acted as a
        liaison between the United States purchasers of the asbestos and the
  G     seller, either Egnep or Casap. N.A.A.C. also purchased asbestos on its
        own account and sold the asbestos in the U.S. market. In the later 1950s
        Capasco, an English company, was incorporated. Its shares were and
        still are held by Cape. Capasco, formerly called Cape Asbestos Fibres
        Ltd., was responsible for the marketing world wide of Cape's asbestos
        and asbestos products. But the prior existence of N.A.A.C. had the
        result that marketing in the United States of America was left in the
  H
        main to N.A.A.C.
             In 1975 an organisational change took place. Cape International &
        Overseas Ltd. ("C.I.O.L.") was incorporated. C.I.O.L. was an English
        company and its shares were held by Cape. The shares in Casap and the
                                                                        APP.270
3:18-cv-00731-X
      444       Document 273-6 Filed 07/30/19                    Page 254 of 421 PageID 1
     Scott J.            Adams v. Cape Industries Pic. (Ch.D.)          [1990]

     shares in N.A.A.C. were transferred to C.I.O.L. But the manner in           A
     which Capasco, N.A.A.C, and Casap and the mining companies carried
     on business and managed their affairs was not materially altered by the
     insertion of C.I.O.L. between Cape, on the one hand, and Casap and
     N.A.A.C. on the other hand. The sale to Transvaal Consolidated
     Exploration Co. Ltd. in 1979 took the form of a sale of the shares in
     C.I.O.L. So, to rehearse the corporate structure, Cape was the parent
     company; N.A.A.C. was the marketing subsidiary for the United States        ^
     of America; Capasco was the marketing subsidiary world wide; Casap
     was the subsidiary which owned the mining companies and Egnep
     owned the asbestos mines from which came the amosite asbestos which
     was sold into the United States of America.
         One of the main customers in the United States for Egnep's amosite
     asbestos was Pittsburg Corning Corporation ("P.C.C."). In 1962, P.C.C.      c
     purchased from Union Asbestos and Rubber Corporation ("Unarco")
     an asbestos factory at Owentown in Texas. Unarco had been a customer
     for Egnep's amosite asbestos. After its purchase of the Owentown
     factory in 1962 P.C.C. became a customer. Egnep's amosite asbestos
     was purchased by P.C.C. and used in the factory for 10 years from 1962
     until 1972 when the factory was closed.
         Awareness of the potential long-term damage capable of being            D
     caused by asbestos dust to those exposed to it reached the point in the
     mid-1970s in the United States of America at which personal injuries
     actions began on a large scale to be instituted. Many of those who had
     worked or were working in the Owentown factory and those who lived
     in the neighbourhood of the factory commenced actions in the period
     1974 to 1979. An accurate estimate is difficult to make but from what I     c
     have heard in the course of this action it seems that over that period
     some 2,000 to 3,000 plaintiffs issued proceedings based upon allegations
     of injury caused by exposure to asbestos dust emanating from the
     Owentown factory. There were several defendants to the actions. Unarco
     and P.C.C, the successive owners of the factory, were defendants. The
     corporate shareholders of P.C.C, namely P.P.G. Industries Inc.
     ("P.P.G.") and Corning Glassworks Inc., were joined as defendants on        F
     the basis that each had taken sufficient part in management decisions
     regarding the use of asbestos at the Owentown factory to subject itself
     to tortious liability arising from that use. N.A.A.C, Cape and Egnep
     became defendants.
         Liability was alleged on the ground that they had been responsible
     for the supply of the amosite asbestos used in the Owentown factory         Q
     and, notwithstanding knowledge of its dangers, had failed to warn
     against those dangers. In addition, the United States itself became a
     defendant in some of the actions and a third party defendant in others.
     So did the union to which most of the Owentown factory workers
     belonged, the Oil Chemical and Atomic Workers International Union.
     Not all these defendants were residents of Texas. Moreover, the
     defendants included the United States of America itself. So the actions     "
     were brought not in a Texas state court but in a federal court under its
     diversity of citizenship jurisdiction, which I will later endeavour to
     explain.

                                                                     APP.271
3:18-cv-00731-X Document 273-6 Filed 07/30/19                        Page 255445
                                                                              of 421 PageID 1
       1 Ch.                 Adams v. Cape Industries Pic. (Ch.D.)          Scott J.

 A         The first action was commenced in the Tyler court on 2 January
       1974. There were some seven plaintiffs. The action was framed as a
       "class" action with the plaintiffs purporting to sue "on behalf of
       themselves and all others similarly situated." This was the "Yandle"
       action. On 17 January 1974 a second action was commenced in the Tyler
       court, the "Kay" action. Both actions were assigned to Judge Steger.
       On 25 February 1974 Cape filed a motion in the Yandle action to quash
       service on the ground of lack of jurisdiction. On 26 March 1974 Cape
       filed a similar motion in the Kay action. On 10 April 1974 Egnep did
       likewise. In 1976 Capasco became a defendant and filed similar motions.
           On 31 July 1974, by which time it must have been apparent that
       hundreds of claimants alleging injury caused by the amosite asbestos
       used in the Owentown factory were queueing up in the wings, a
 C     conference took place between Judge Steger and counsel for the parties
       in the two actions. It was decided that the Rules for Complex and Multi-
       District Litigation would be followed. I shall have to describe these
       more fully later. For the moment, it suffices to say that they are rules
       set out in the Manual for Complex Litigation for use with Federal
       Practice and Procedure, the authors of which are Professor Charles
 j-j   Wright and Professor Arthur Miller. The latter gave evidence before
       me. The rules, widely used in federal courts, represent in substance
       management techniques for the efficient management and conduct of
       complex civil litigation.
           One of the first procedural questions which needed to be decided
       was whether or not the actions would proceed as "class" actions. A
       hearing on this issue took place on 17 December 1974. On 31 December
 E      1974 Judge Steger ruled that the actions should not have "class" action
       status. His judgment contains a useful summary of the litigation and the
       issues therein. In the penultimate paragraph of his judgment, Judge
        Steger said:
            "The court is of the opinion that the superior method for
            adjudication of this case is to continue to allow intervention freely
 F          for those who wish to join and to maintain firm control over this
            litigation by utilising the tools set forth in the Manual for Complex
            and Multi District Litigation. It is therefore ordered that the
            plaintiffs' motion for class action status be and the same is hereby in
            all things denied . . . "
 Q         I must explain the reference to "intervention." Under rule 24 of the
       Federal Rules of Civil Procedure, a person may, with leave of the court,
       intervene in an action and become a party thereto if the "applicant's
       claim or defence and the main action have a question of law or fact in
       common." Following Judge Steger's order of 31 December 1974 a large
       number of claimants intervened in the Yandle and Kay actions. On 31
       December 1974 a third action was commenced in the Tyler court, the
 H     "McNeece" action. The United States of America was the only
       defendant. The three actions I have mentioned (the Yandle action, the
       Kay action and the McNeece action) have become known compendiously
       as Tyler 1. I shall so refer to them.
                                                                         APP.272
3:18-cv-00731-X
      446       Document 273-6 Filed 07/30/19                      Page 256 of 421 PageID 1
     Scott J.              Adams v. Cape Industries Pic. (Ch.D.)           [1990]

         I have already referred to the motions based upon an alleged lack of       A
     jurisdiction. Those motions were not dealt with until 19 April 1977. In
     the meantime, Cape and Capasco took a number of procedural steps in
     or in connection with the actions. The effect of these steps is one of the
     issues before me.
         On 19 August 1977 Judge Steger dismissed the motions. He gave no
     written judgment or reasons. The dismissal was not, however, final. It
     did not bar Cape and Capasco from taking the same jurisdiction point at        "
     trial. In substance, the dismissal was, I think, no more than a decision
     that the point was not so obvious as to warrant a summary dismissal of
     Cape and Capasco from the action, and that the point should be left for
     final decision at trial.
         Following the dismissal of the motions, Cape and Capasco filed
     answers in the Yandle action and the Kay action. They pleaded to the           Q
     merits of the claims while nonetheless maintaining their jurisdiction
     objection. By this time, mid-1977, the process of intervention had
     swelled the number of claimants for damages in the Tyler actions to well
     over 400. The number was, moreover, still increasing. On 15 July 1977
     Judge Steger set 12 September 1977 as the trial date for the three Tyler
     actions.
         One of the most striking features of the Tyler litigation, to English      D
     eyes at least, is the personal involvement of Judge Steger in the
     negotiations for a settlement between the claimants and the defendants.
     It is a fair inference from the evidence before me that the judge set 12
     September 1977 as the trial date in order to concentrate the minds of all
     parties on the need for a settlement and without any real expectation
     that an effective trial would commence on that date.                           £
         When, on 12 September 1977, the actions were called on, the
     defendants applied for an adjournment on the ground that they were
     not yet ready for trial. Judge Steger, without ruling on the application,
     sent the parties away to negotiate. It is interesting to recall the evidence
     of Mr. Richard Bernays, counsel for N.A.A.C. He said:
           "Judge Steger then asked the marshall to show us all—and we were         p
           quite an aggregation—into his conference room in his chambers,
           and he was completing the call of his docket and said he would join
           us shortly, which he did. There were a number of us round a very
           large conference table and the judge finally appeared and directed
           us to stay there and work until we had settled the cases. He gave us
           orders that nobody was to leave Tyler, that we could set our own
           hours of work, come and go as we pleased with that one restriction,      G
           that nobody was to leave Tyler without his permission, and he
           ordered us to stay and work as long as was required to get these
           cases settled—period."
     The negotiations continued in Tyler for some three days. The judge
     played a broking role, putting pressure on the plaintiffs' counsel to
     reduce the demands they were making and putting pressure on the                "
     defendants' counsel to make offers he regarded as realistic. Sometimes it
     was the judge himself who communicated the offers and counter-offers
     to the other side. After the initial three days, counsel were permitted by
                                                                       APP.273
3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 257 of447
                                                                                421 PageID 1
       1 Ch.                Adams v. Cape Industries Pic. (Ch.D.)           Scott J.

   A   the judge to leave Tyler in order to confer with their clients and to
       obtain fresh instructions. They returned to Tyler about a week later and
       a further three days of negotiations took place. Final negotiations at
       which agreement was reached took place over the period 28 September
       to 30 September 1977. The agreed settlement figure was $20m.
           One of the difficulties which had apparently stood in the way of
       settlement had been the ever increasing number of plaintiffs. Accordingly
   "    on 28 September, after I think agreement in principle on the $20m.
       figure had been reached, Judge Steger announced that no further
       intervention in any of the Tyler 1 actions would be permitted. There
       were then 462 plaintiffs. No more would be added. A formal order to
       that effect was in due course made on 16 December 1977 and was
       expressed to be "nunc pro tunc as of 28 September 1977."
   Q       The burden of providing the $20m. was shared among the defendants
       in agreed proportions. A sum of $5.2m. was to be contributed by
       N.A.A.C., Cape and Egnep; $8.05m. by P.C.C. and its shareholders;
       $lm. by Unarco; and $5.75m. by the United States Government. The
       $20m. was intended to settle all claims of the existing 462 plaintiffs.
           Notwithstanding that effective agreement was reached in the
       negotiations on 28, 29 and 30 September 1977, the final judgment
   D   disposing of the Tyler 1 actions was not given until 5 May 1978. The
       judgment provided:
             "all parties agreed to waive a jury herein and submit all matters to
            the court without the intervention of a jury, whereupon all parties
            made it know to the court that all matters in controversy between
             them and each of them had been settled by an agreement made in
   E        open court which agreement has been transcribed, and the court
            finds from the evidence that said agreement is fair, reasonable, just,
             and to the best interests of plaintiffs herein, including the minor
            plaintiffs, and that said agreement should be in all things approved,
             it is therefore, ordered, adjudged and decreed by the court that the
             compromise settlement agreement evidenced by the record of
   P         proceedings made herein on 28, 29 and 30 September 1977, and 15
            February 1978, be and the same is hereby in all things approved. It
             is accordingly ordered, adjudged and decreed by the court that the
             plaintiffs and intervenor, and each of them, take nothing by reason
             of these suits and said causes are hereby dismissed with prejudice."
       Judge Steger's oral direction given on 28 September 1977, confirmed by
   Q   the written order of 16 December 1977, had prevented any further
       interventions in the Tyler 1 actions. New actions had, therefore, been
       commenced by claimants who would, no doubt, have otherwise
       intervened in the Tyler 1 actions. These new actions are referred to as
       the Tyler 2 actions. They, too, were assigned to Judge Steger. There are
       eight actions in all. The first was commenced on 19 April 1978. The last
       was commenced on 19 November 1979. Intervention by other claimants
   "   into one or other of the Tyler 2 actions took place on an even greater
       scale than had been the case with the Tyler 1 actions. Cape, Egnep and
       N.A.A.C. were defendants in each of the eight Tyler 2 actions. But
       Capasco was a defendant in only three of them, namely those identified

                                                                       APP.274
      448
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 258 of 421 PageID 1
     Scott J.             Adams v. Cape Industries Pic. (Ch.D.)          [1990]

     by the numbers 78-102, 78-104, and 79-114. P.C.G., P.P.G., Corning A
     Glass and O.C.A.W. were defendants in all actions. The United States
     Government was a defendant in some of the actions and a third party
     defendant in others.
        On 28 December 1981 an important procedural order was made by
     Judge Steger. The order commences with this explanatory passage:
         "There are several issues in these massive tort actions which should g
         be addressed in order that the court may exercise more control over
         the proceedings as this litigation progresses. First, the defendants
         have filed motions in which they contend that the claims of many of
         the plaintiffs are premature because no injury has yet been suffered
         by the party allegedly exposed to asbestos. Second, it appears that a
         pretrial statement of damages would improve the court's ability to
         take a more active role in managing the progress of these actions."   C
     The operative part of the order provided:
         "It is ordered that each plaintiff asserting a claim for money/damages
         in this action shall provide the information requested by the court
         on or before 1 February 1982. The answers shall be based on
         personal knowledge and attested to under penalty of perjury. Every D
         person providing the information requested has an obligation to
         exercise good faith in disclosing all material facts that are relied on
         in asserting the respective claims. Non-responsive or evasive answers
         will not be permitted. Counsel shall assist in preparing the responses
         when appropriate. This case has been pending for several years and
         there has been ample time for counsel to evaluate the claims of
         their clients.                                                           E
             "For the present time, a plaintiff whose deposition has previously
         been taken in this action, need not provide the requested
         information. However, the court urges counsel for the plaintiffs to
         carefully examine and analyze the claims asserted by every individual
         they purport to represent to determine whether the claims asserted
         are premature or frivolous. If so, counsel should take whatever F
         action necessary to protect the rights of their clients.
             "In the event a plaintiff determines that the claim he or she is
         asserting has been filed prematurely, he or she may file a motion to
         voluntarily dismiss under rule 41(a)(2) of the Federal Rules of Civil
         Procedure. Unless good cause to the contrary is demonstrated, the
         court will grant said motions and dismiss the claims without
         prejudice.                                                               G
             "In the event a plaintiff fails to provide the requested information
         within the time allowed, his or her claim will be subject to dismissal
         without prejudice in accordance with the provisions contained in
         rule 37(b)(2) and rule 41(6) of the Federal Rules of Civil Procedure."
     Under headings "Preliminary information," "Has the cause of action
     accrued," and "Pre-trial statement of damages" the information to be
     supplied was specified.
         As a result of the order of 28 December 1981 and the response, or
     lack of response, thereto by the respective plaintiffs, a large number
                                                                      APP.275
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 259 449
                                                                             of 421 PageID 1
     1 Ch.                 Adams v. Cape Industries Pic. (Ch.D.)            Scott J.

 A   thereof had their claims summarily dismissed "without prejudice." The
     number of plaintiffs left in the Tyler 2 actions was 206 or thereabouts. It
     may be assumed that each of the 206 had responded to the order of 28
     December 1981 by alleging some physical condition that was at least
     capable of having been caused by exposure to asbestos dust and was
     capable of constituting an injury.
         Cape, Capasco and Egnep took no part in any of the Tyler 2 actions.
 °    This was a deliberate tactical decision. It appears from the evidence I
     have seen and heard that the senior officers of Cape regarded the Tyler
     1 actions, initially at least, as of little more than nuisance value. They
     could not understand how tortious liability to the Owentown workers
     could be visited upon the Cape companies simply on the ground that
     Cape subsidiary companies had mined the asbestos and sold it into the
 Q   United States of America. It may be that they underestimated the
     breadth of the net of tortious product liability as applied in the United
     States of America. They also, it seems, expected to succeed on their
     jurisdiction objection, either at the interlocutory stage or, later, at trial.
     But the Tyler 1 settlement negotiations and the pressure for a settlement
     exerted by Judge Steger shattered any previous complacency. If the
     other defendants had stood firm, Cape would, I think, have preferred to
 D   go to trial and to have endeavoured to win on the jurisdiction point. But
     if all the other defendants were to settle, Cape would be left as the only
     defendant in potentially big and expensive jury trials. So they agreed to
     participate in the Tyler 1 settlement at a group cost of $5.2m.
         After the settlement had been concluded the future did not look
     attractive to Cape. It was known, or at least feared, that there were
 c    hundreds more claimants waiting to step forward and press claims. The
     $5.2m. contribution to the $20m. settlement had been borne as to
     $4.1m. by N.A.A.C.'s insurers. But the insurance cover was, apparently,
     virtually exhausted. Cape had no assets in the United States of America
     save for the shares in N.A.A.C. held by C.I.O.L. The N.A.A.C. shares
     were, by reason of the number of outstanding asbestos related claims,
     assets of no value. So the decision was taken by the senior management
 F    of Cape that Cape, Capasco and Egnep would take no step at all in any
     of the Tyler 2 actions. They were prepared to allow default judgments
      to be obtained. There were no United States assets against which any
     judgments could be enforced and they were prepared to defend actions
      brought in England to enforce any judgments on the ground that under
      English law, the United States courts had no jurisdiction over Cape,
 ^    Capasco or Egnep. The decision to take no step in the Tyler 2 actions
      was necessary in order to avoid anything being done that might be
      represented as a submission to the jurisdiction of the Tyler court. In
      addition it was decided to put N.A.A.C. into liquidation.
         These decisions were taken at a meeting of the board of Cape
      Industries held on 1 November 1977. The minutes of the meeting
      record:
 "         "The managing director stated that, having regard to the opinion of
           Mr. J. Fox-Andrews Q.C., it was proposed in respect of any future
           United States claims not to contest the proceedings in the American
           courts and to accept the risk of a default judgment being given

                                                                        APP.276
       450
3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 260 of 421 PageID 1
      Scott J.              Adams v. Cape Industries Pic. (Ch.D.)           [1990]

            against the company in the United States of America, it being A
            considered most unlikely that such a judgment would be enforced
            by an English court. . . . Reference was made to a proposed re­
            organisation of the group's asbestos selling arrangements, particularly
            in the United States of America, which in future would be more
            closely controlled from South Africa. As part of this re-organisation
            it is proposed that North American Asbestos Corporation should be
            wound up."                                                              °
      The minutes do not so state but there can really be no doubt but that
      the decision to wind up N.A.A.C. was taken in order to try and avoid
      the danger of an argument that under English law Cape's interest in
      N.A.A.C.'s United States business sufficed to give the Tyler court
      jurisdiction over Cape.                                                    p
          It was not, however, desired that the United States of America, as a
      market for Cape's asbestos, should be abandoned. The liquidation of
      N.A.A.C. was accompanied by the devising and implementation of
      alternative marketing arrangements. First, a Liechtenstein corporation,
      Associated Mineral Corporation ("A.M.C."), was formed, the bearer
      shares in which were held by Dr. Ritter, a Liechtenstein lawyer, as
      fiduciary for C.I.O.L. All sales of Cape's asbestos into the United States D
      of America were to be sales by A.M.C The second step involved the
      creation of a new United States marketing entity. The president of
      N.A.A.C. for the past four years or so had been a Mr. Morgan. On 12
      December 1977 a new Illinois corporation, Continental Productions
      Corporation ("C.P.C.") was formed. The shares in C.P.C. were held by
      Mr. Morgan. Under an agreement dated 5 June 1978 made between p
      C.P.C. and A.M.C. it was agreed that C.P.C. would act as agent for
      A.M.C. in the U.S.A. for the purpose of the sale of asbestos. C.P.C.
      was to be remunerated on a commission basis but had no authority to
      contract on behalf of its principal, A.M.C, or any other Cape company.
      It was to act as a link between A.M.C. and the United States purchasers
      in connection with shipping arrangements, insurance and the like.
          As from 31 January 1978, N.A.A.C. ceased to act on behalf of any F
      of the Cape companies or to carry on any business on its own account
      save for the purpose of liquidating its assets. N.A.A.C. executed articles
      of dissolution on 18 May 1978. The relationship between N.A.A.C,
      C.P.C, A.M.C. and the Cape companies is a matter on which a good
      deal turns and to which I shall have to return in more detail. My
      intention for the moment is simply to give an outline of events. Through Q
      the medium of A.M.C. and with the assistance of C.P.C, Egnep's
      amosite asbestos continued to be sold into the U.S. until the sale in 1979
      to Transvaal Consolidated Exploration Co. Ltd. What happened
      thereafter I do not know.
          I must return to the Tyler 2 actions. Between 1981 and 1982, it will
      be recalled, the number of plaintiffs had been thinned down to about
      206. On 3 November 1982 Judge Steger fixed 2 February 1983 as the H
      trial date. Shortly before the hearing date, settlement negotiations took
      place. On 24 January 1983 there was a meeting between defence
      counsel. The purpose was to discuss the forthcoming trial. The possibility

                                                                       APP.277
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 261451
                                                                           of 421 PageID 1
     1 Ch.                Adams v. Cape Industries Pic. (Ch.D.)          Scott J.

A    of settlement of the Tyler 2 actions was also discussed. No one on behalf
     of Cape, Capasco or Egnep was present. They were taking no part in
     the proceedings. No one for Unarco was present. Unarco had entered
     into bankruptcy proceedings and, as I understand it, the actions against
     it had consequently been stayed. But the other defendants, including
     N.A.A.C. were represented. When discussion of a possible settlement
     began, counsel for the United States made clear that the United States
 °   would not agree to make any payment by way of settlement. A policy
     decision had apparently been taken by the Justice Department that the
     industry and not the taxpayer should bear the cost of compensating
     claimants for asbestos related disease.
          On the following day another conference took place. On this occasion
     the plaintiffs' counsel, too, were present. So was the judge, who seems
 Q   to have played a part comparable to that which he played in the 1978
     settlement of the Tyler 1 actions. It is important to record that the
     plaintiffs represented at this conference did not include those plaintiffs,
     for convenience called "the Unarco plaintiffs," who had worked at the
     Owentown factory during its ownership by Unarco pre-1962 but not
     during its ownership by P.C.C. post-1962. The Unarco plaintiffs obviously
     had no claim against P.C.C. or its shareholders. So they were not
 D   represented in the settlement negotiations that took place on 25 January
     1983 and thereafter. The plaintiffs represented at these negotiations
     numbered 133.
          Offers were made on behalf of the plaintiffs. Offers were made by
     the defendants. It is a feature of the negotiations that the plaintiffs'
     demands were presented in the form of an average figure per plaintiff.
 g   Initially, a sum of $40,000 per plaintiff was sought. This, given 133
     plaintiffs, would have led to a settlement figure of $5.32m. The
     defendants offered a total sum of only $619,000. So there was a wide
     gap between the two sides. In the course of the day, the plaintiffs' figure
     came down and the defendants' figure went up. Judge Steger was closely
     involved in the negotiations, discussing quantum sometimes with
     plaintiffs' counsel, sometimes with all counsel together. He made plain
 F    that he thought the plaintiffs were asking for too much and that the
     defendants were not offering enough. He was instrumental in bringing
     the plaintiffs down to an average of $10,000 per plaintiff, a total of
      $1.33m.
          This figure was within reach of a figure that defendants' counsel
     would have been prepared to accept. But they lacked authority from
 Q    their clients to go that high. So the negotiations were adjourned to 2
     February 1983. The lead counsel for the plaintiffs in these negotiations
     was Mr. Blake Bailey. He occupied this position not because he
      represented more plaintiffs than anyone else, but simply because he had
      been appointed by Judge Steger to be liaison counsel on behalf of the
      plaintiffs. In the course of the discussions on 25 January Mr. Bailey
      raised the question of the possible liability of the United States
 "    Government. The United States had indicated an unwillingness to agree
      to make any payment to the plaintiffs. But Mr. Bailey, apparently after
      discussions with Judge Steger, thought there was a good chance that a
      judgment against the United States Government could be obtained, at
                                                                      APP.278
      452
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 262 of 421 PageID 1
     Scott J.              Adams v. Cape Industries Pic. (Ch.D.)            [1990]

     least on the third party claims, if not on the plaintiffs' direct claims. Mr.   A
     Bailey conceived the idea that the terms of settlement might keep alive,
     for the benefit of the plaintiffs, the third party claims of the settling
     defendants against the United States Government.
         On 2 February 1983 the parties met once more. Agreement was
     reached on a settlement at an average of $10,000 per plaintiff, a total of
     $1.33m. This figure was that which on 25 January Judge Steger had told
     Mr. Bailey that the plaintiffs should accept and had told the defendants        °
     that they should offer. As between the settling defendants, the $1.33m.
     was to be provided as to $900,000 by P.C.C. and P.P.G., $130,000 by
     Corning Glass, $50,000 by O.C.A.W. and $250,000 by N.A.A.C. On
     payment of these sums the settling defendants were to be released from
     all claims by the 133 plaintiffs.
         In addition, however, Mr. Bailey put to the defendants' counsel, and        Q
     obtained their agreement to, a device intended to give the plaintiffs the
     chance of additional recovery against the United States Government.
     The device was this: the settlement figure would be expressed in the
     intended settlement agreement not as $1.33m. but instead as $6.65m.,
     an average of $50,000 per plaintiff. The defendants would be obliged to
     pay only $1.33m. The balance of $5.32m. ($40,000 per plaintiff) would
     be payable only if and to the extent that the defendants' third party           D
     claims against the United States succeeded. The prosecution of those
     claims in the names of the defendants was to be the responsibility of the
     plaintiffs' counsel, no costs in respect thereof falling on any of the
     defendants. The $6.65m. was a figure proposed by Mr. Bailey. It was
     not a figure which mattered at all to the defendants since their obligation
     to pay was limited to the $ 1.33m. They did not bargain about the               p
     amount. They simply agreed to Mr. Bailey's proposal which would cost
     them nothing. Mr. Bailey told me that the figure was based upon what
     he thought might be awarded against the United States at the suit of the
     settling defendants. How it could have been supposed that the liability
     of the United States under the third party claims could exceed the
     $1.33m. that the settling defendants, the third party claimants, had
     agreed to pay the plaintiffs, defeats me. But there it is. I shall have to      F
     return to the implications of this device later.
         Terms having been reached between plaintiffs and settling defendants,
     the agreement was announced to Judge Steger in open court on the
     same day, 2 February 1983. There is a transcript of what was said. Judge
     Steger approved the settlement. He certainly knew of the true settlement
     figure of $1.33m. Indeed, the $10,000 average had been suggested and            Q
     recommended by him. Whether he had any knowledge of the $6.65m.
     figure is an important matter to which I must return.
         On 8 April 1983 Judge Steger fixed 20 June 1983 as the trial date for
     the outstanding Tyler 2 claims against the United States. In addition to
     the third party claims, a few of the plaintiffs had direct claims against
     the United States. The lead counsel for the United States in the Tyler 2
     actions was Peter Nowinski. He and Mr. Bailey met and discussed the             "
     possibility of settlement. Mr. Nowinski again made clear that the United
     States Government thought that the industry, not the taxpayers, should
     bear the burden of compensation for asbestos related injury. Mr. Bailey
                                                                       APP.279
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 263453
                                                                           of 421 PageID 1
     1 Ch.                Adams v. Cape Industries Pic. (Ch.D.)          Scott J.
 A   then suggested an agreement under which, in settlement of the claims
     against the United States, the United States would agree to bear the
     costs of enforcement of default judgments against, Cape, Capasco and
     Egnep. Agreement on these lines was reached. A compromise agreement
     dated 15 June 1983 was signed. Paragraphs 3 and 4 thereof provided:
          "Plaintiffs or third-party plaintiffs, or both, will promptly make due
 g        application to the Texas court for judgment against the Cape
          companies, or any of them, for damages suffered as a result of
          exposure to asbestos at or from the Texas plant. Such application
          shall not be presented to the Texas court without the prior approval
          of the United States of America, both as to form and content,
          which approval shall not be unreasonably withheld.
              "Upon satisfaction of the promises made in clauses 1, 2 and 3
 C        above and upon entry of judgment or judgments against the Cape
          companies, or any of them, the United States agrees diligently to
          cause to be taken or assist in taking of such appropriate action as
          may be reasonably required to enforce or attempt to enforce such
          judgment or judgments in the United Kingdom of Great Britain or
          the Union of South Africa, or in such other countries as may be
 p        appropriate against the judgment debtors, their predecessors,
          successors, assigns or other appropriate entities."
     The stage was therefore set for applications for default judgments
     against Cape, Capasco and Egnep, none of which had taken any part in
     the Tyler 2 actions and each of which therefore was in default in filing
     an answer to the plaintiffs' pleadings. The purpose of obtaining these
 E   default judgments was that they should be enforced in England. It is not
     surprising, therefore, that the application should have been preceded
     by consultations between Mr. Bailey, Mr. Nowinski and Messrs.
     Oppenheimers, solicitors for the plaintiffs. The advice given by
     Oppenheimers is protected by privilege, but it is not hard to infer that it
     dealt with the English law on enforcement of foreign judgments.
         The application for the default judgment and the judgment itself
 F   were drafted by Mr. Bailey. Various preliminary drafts are in evidence
     and there is some difficulty in following the development of the original
     draft to the final version. Mr. Bailey testified to consultations both with
     Mr. Nowinski and with Judge Steger on the matter. Cape and Capasco
     were informed by notice that the application for the default judgment
     would be heard on 12 September 1983. This notice was not strictly
 Q   required under the relevant Federal Rules of Procedure but, I expect,
     was given ex abundanti cautela on the advice of the plaintiffs' English
     lawyers.
         A hearing of the application, or at least some judicial adjudication
     thereon, was necessary in order that the unliquidated damages claims of
     the respective plaintiffs should be quantified. The documents in support
     of the application were lodged with Judge Steger on 12 September 1983
 "   and sought for each plaintiff one or other of four levels of damages,
     $150,000, $115,000, $85,000 and $60,000. The sum allocated to each
     plaintiff was designed to produce an average of $120,000 per plaintiff.
     On 12 September 1983 Judge Steger was sitting not in Tyler but in
                                                                      APP.280
      454
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 264 of 421 PageID 1
     Scott J.              Adams v. Cape Industries Pic. (Ch.D.)           [1990]

     Marshall, Texas. The documents handed in on 12 September 1983                  A
     included medical records relating to each of the 206 plaintiffs. In relation
     to a few of the plaintiffs there were doctors' reports. With the records
     and reports relating to each plaintiff was a summary. Each summary
     gave the name and age of the plaintiff, a short statement of the
     plaintiff's exposure to asbestos dust, the name of the person or
     organisation by whom the plaintiff had been medically examined and a
     short statement of the result of the examination. The summaries had            °
     been prepared by the plaintiffs' respective attorneys.
         The default judgment itself was signed by Judge Steger and dated 12
     September 1983. It was presumably signed on that day. It was certainly
     signed earlier than 14 September 1983 since on that date the judgment
     was formally recorded on the court docket sheets relating to the Tyler 2
     actions. At some point, perhaps in the afternoon of 12 September, Mr.          Q
     Bailey was informed on the telephone by Judge Steger's law clerk that
     the judge was not prepared to give judgment for an average of $120,000
     per plaintiff but was prepared to give judgment for an average of
     $75,000 per plaintiff. It was left to Mr. Bailey and Mr. Charles Clark,
     counsel for some 181 of the plaintiffs, to re-work the details in the
     appendix to the judgment so as to produce an average award of $75,000.
     They did so by reducing the four levels of damages to $115,000, $85,000,       D
     $60,000 and $37,000. Thus the directed average of $75,000 was produced.
     The re-worked appendix was handed in at the Tyler courthouse and was
     annexed to the signed judgment. All this must have taken place earlier
     than 14 September and before Judge Steger signed the judgment. No
     hearing as such had taken place. No witness had given evidence, orally
     or by affidavit. The extent to which Judge Steger looked at, or could          g
     have looked at, the medical records and reports is in doubt. I will return
     to this later. The propriety of the judge dealing with the assessment of
     damages without any evidence, in the strict sense, is also in issue. It is
     not necessary for me at this stage to do more than outline the manner in
     which the default judgment came to be produced.
         The actions before me were commenced by specially endorsed writs
     most of which were issued on 1 August 1984. Each statement of claim            F
     pleaded the Tyler 2 action in which the plaintiff had been a party,
     asserted that the Tyler court had had jurisdiction to deal with the action,
     pleaded the default judgment of 12 September 1983, and claimed the
     amount allocated by that judgment to the plaintiff with interest thereon.

      The issues                                                                Q
          The plaintiffs cannot enforce the default judgment by action in this
      country unless, by the standards of English law, the Tyler court was
      entitled to take jurisdiction over Cape and Capasco. The plaintiffs rely
      on three alternative grounds. First, the plaintiffs contend that Cape and
      Capasco voluntarily appeared in the proceedings in the Tyler court. This
      contention requires some explanation since it is common ground that
      Cape and Capasco took no part at all in the Tyler 2 actions. The
      plaintiffs rely, however, on the steps taken by Cape and Capasco in the
      Tyler 1 actions and on the relationship between the Tyler 1 actions and
      the Tyler 2 actions. The first step in the argument is that Cape and

                                                                       APP.281
3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 265 455
                                                                             of 421 PageID 1
      1 Ch.                 Adams v. Cape Industries Pic. (Ch.D.)           Scott J.

 A    Capasco voluntarily appeared in the Tyler 1 actions. Cape and Capasco
      deny this. They contend that each step they took in the actions was
      taken subject to the protest to the jurisdiction they had made at the
      outset and that, notwithstanding the interlocutory dismissal of their
      motions, jurisdiction remained a live issue for the trial. In the
      circumstances they contend that nothing was done in the Tyler 1 actions
      that could constitute a voluntary appearance or submission to the
      jurisdiction. The plaintiffs' second step in the argument is their assertion
      that the Tyler 1 actions and Tyler 2 actions represent "one litigation
      unit" so that a voluntary appearance or submission to the jurisdiction in
      any of the actions was sufficient to give the Tyler court jurisdiction over
      Cape and Capasco in all the actions. This somewhat startling proposition
      is based upon the alleged effect of bringing Owentown asbestos related
  C   litigation under the umbrella of the Rules for Complex and Multi
      District Litigation.
           Second, the plaintiffs contend that even if they are wrong on their
      first point, nonetheless Cape and Capasco must be taken to have agreed
      to submit to the jurisdiction of the Tyler court in the Tyler 2 actions.
      The plaintiffs rely on the inferences which it is contended must be drawn
 Q    from the various steps taken by Cape and Capasco in the Tyler 1
      actions. Cape and Capasco deny that those steps can be represented as
      their agreement to submit to the jurisdiction in other actions.
           Third, the plaintiffs contend that the Tyler court was entitled to take
      jurisdiction over Cape and Capasco by reason of their presence in
      Illinois either in January 1974, when the Tyler 1 actions commenced or
      in April 1978 to November 1979, the period over which the Tyler 2
  E   actions were commenced. This contention raises issues both of law and
      fact. For the fact of presence, the plaintiffs rely on N.A.A.C.'s Illinois
      presence up to its dissolution in 1978 and on C.P.C.'s Illinois presence
      from 31 January 1978 up to the sale to Transvaal Consolidated in June
      1979. It is contended that the relationship between each of these
      companies and Cape and Capasco justifies treating their presence in
  F   Illinois as, for jurisdiction purposes, the presence of Cape and Capasco.
      This contention is in issue. It is also in issue whether, under English law,
      presence in Illinois is sufficient to give jurisdiction to a federal district
      court sitting in Texas on a tort claim governed by the law of Texas. The
      last of the Tyler 2 actions was commenced in November 1979, some
      months after the sale to Transvaal Consolidated. But, if the plaintiffs'
  „    presence in Illinois is sound so far as the earlier Tyler 2 actions are
      concerned, the plaintiffs rely on the "one litigation unit" argument for
      the purpose of bringing the last action under the same umbrella.
           Finally, the plaintiffs have a comity or reciprocity ground. It is
      pleaded in the further and better particulars of the statement of claim
      that, if the situation had been in reverse, the English courts would have
      assumed jurisdiction and that the English courts should therefore
  H   recognise the jurisdiction of the Tyler court. Mr. Morison, however, in
      opening the plaintiffs' case gave me the welcome news that he would not
      be relying before me on this fourth ground. There is apparently clear
       authority, binding at least on courts of first instance, that comity or
                                                                       APP.282
3:18-cv-00731-X
      456       Document 273-6 Filed 07/30/19                      Page 266 of 421 PageID 1
     Scott J.              Adams v. Cape Industries Pic. (Ch.D.)            [1990]

     reciprocity is an inadequate ground for enforcement in England of the           A
     judgment of a foreign court.
         Cape and Capasco deny that the Tyler court had, for the purposes of
     English law, jurisdiction over them on any of the three grounds relied
     on by the plaintiffs. Cape and Capasco have, however, additional
     defences. They allege that the default judgment is impeachable and
     unenforceable, first upon the ground that it was obtained by the fraud of
     Mr. Bailey, second that it was obtained in circumstances opposed to             "
     natural justice; and, finally, that to enforce it would be contrary to
     public policy. Broadly the same particulars are relied on in support of
     each of the three grounds. It is alleged that the default judgment, as
     drafted by Mr. Bailey and signed by Judge Steger, contained to the
     knowledge of Mr. Bailey a number of mis-statements of fact. It is
     alleged that, to Mr. Bailey's knowledge, the procedure employed for             Q
     quantification of the plaintiffs' damages did not represent a judicial
     determination or assessment thereof. It is alleged that Mr. Bailey
     induced the judge to award more than he would otherwise have awarded
     by misrepresenting that the February 1983 settlement between the 133
     plaintiffs and the settling defendants had been agreed at an average
     figure of $50,000 per plaintiff, rather than the true figure of $10,000 per
     plaintiff. It is alleged that the damages awarded by the default judgment       D
     were to Mr. Bailey's knowledge, arbitrary, exorbitant and manifestly
     unjust. There are additional allegations, but I have mentioned the
     principal ones. These allegations are all denied and have been bitterly
     contested. Apart from the issues of fact raised by these allegations they
     raise also issues of law as to the criteria that must be satisfied if an
     otherwise enforceable foreign judgment is to be rejected on grounds of          £
     fraud, natural justice or public policy.
          In summary, therefore, there are the following issues with which I
     must deal. (1) Did Cape and Capasco voluntarily appear or submit to
     the jurisdiction in the Tyler 1 actions? (2) If so, did they thereby submit
     to the jurisdiction in the Tyler 2 actions? (3) Alternatively, did they
     thereby agree to submit to the jurisdiction in the Tyler 2 actions?
     (4) Did the presence of N.A.A.C. in Illinois represent the presence of          F
     Cape and Capasco in Illinois for jurisdiction purposes? (5) Did the
     presence of C.P.C. in Illinois represent the presence of Cape and
     Capasco in Illinois for jurisdiction purposes? (6) Did the presence in
     Illinois of Cape and Capasco entitle the Tyler court to take jurisdiction
     over Cape and Capasco in the Tyler 2 actions? (7) Is the default
     judgment impeachable on any of the fraud, natural justice and public            Q
     policy grounds pleaded by Cape and Capasco?
          I will take these issues in turn, but it is worth first emphasising that
     each falls to be decided in accordance with English law. Questions as to
     whether certain acts represent a submission to the jurisdiction of the
     Tyler court must be decided by reference to English law. It may be that
     English law will answer certain questions by applying the law of Texas
     or United States federal law, as the case may be, but that will be              "
     because English law requires that approach. My task is to try and
     identify the rule of English law that applies to each question and then to
     apply that rule.
                                                                      APP.283
3:18-cv-00731-X Document    273-6 Filed 07/30/19                  Page 267 457
                                                                             of 421 PageID 1
     1 Ch.          Adams v. Cape Industries Pic. (Ch.D.)               Scott J.

 A        I can conveniently start by identifying the basis on which English
      courts will enforce the in personam judgments of foreign courts. In
      Russell v. Smyth (1842) 9 M. & W. 810, 818, Lord Abinger C.B. said:
      "Foreign judgments are enforced in these courts because the parties
      liable are bound in duty to satisfy them." Parke B. expressed the same
      principle, at p. 819: "Where the court of a foreign country imposes a
      duty to pay a sum certain, there arises an obligation to pay, which may
 B
      be enforced in this country." In Godard v. Gray (1870) L.R. 6 Q.B.
      139, 148-149, Blackburn J. said:
           "But in England and in those states which are governed by the
           common law, such judgments are enforced, not by virtue of any
           treaty, nor by virtue of any statute, but upon a principle very well
           stated by Parke B. in Williams v. Jones (1845) 13 M. & W. 628,
 C         633: 'Where a court of competent jurisdiction has adjudicated a
           certain sum to be due from one person to another, a legal obligation
           arises to pay that sum, on which an action of debt to enforce the
           judgment may be maintained. It is in this way that the judgments of
           foreign and colonial courts are supported and enforced.' And taking
           this as the principle, it seems to follow that anything which negatives
 D         the existence of that legal obligation, or excuses the defendant from
           the performance of it, must form a good defence to the action. It
           must be open, therefore, to the defendant to show that the court
           which pronounced the judgment had no jurisdiction to pronounce
           it, either because they exceeded the jurisdiction given to them by
           the foreign law, or because he, the defendant, was not subject to
           that jurisdiction; and so far the foreign judgment must be
 E         examinable. Probably the defendant may show that the judgment
           was obtained by the fraud of the plaintiff, for that would show that
           the defendant was excused from the performance of an obligation
           thus obtained . . . "
      In Schibsby v. Westenholz (1870) L.R. 6 Q.B. 155 judgment was
      delivered on the same day as the judgment in Godard v. Gray, L.R. 6
 F    Q.B. 139. The same judge, Blackburn J., repeated the principle stated
      in Godard v. Gray, and added, at p. 159, that "anything which negatives
      that duty, or forms a legal excuse for not performing it, is a defence to
      the action."
          The "obligation to pay" to which Blackburn J. referred in Godard v.
      Gray may, under English law, arise in two ways. First, it is accepted
 Q    that a foreign court is entitled to take jurisdiction on a territorial basis.
      "All jurisdiction is properly territorial" said the Earl of Selbourne L.C.
      in Sirdar Gurdyal Singh v. Rajah of Faridkote [1894] A.C. 670, 683. He
      expanded the proposition thus:
           "Territorial jurisdiction attaches (with special exceptions) upon all
           persons either permanently or temporarily resident within the
           territory while they are within it; but it does not follow them after
           they have withdrawn from it, and when they are living in another
           independent country. It exists always as to land within the territory,
           and it may be exercised over moveables within the territory; and, in
           questions of status or succession governed by domicil, it may exist
                                                                        APP.284
      458
3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 268 of 421 PageID 1
     Scott J.               Adams v. Cape Industries Pic. (Ch.D.)             [1990]

           as to persons domiciled, or who when living were domiciled, within          A
           the territory. As between different provinces under one sovereignty
           (e.g. under the Roman Empire) the legislation of the sovereign may
           distribute and regulate jurisdiction; but no territorial legislation can
           give jurisdiction which any foreign court ought to recognise against
           foreigners, who owe no allegiance or obedience to the power which
           so legislates."
     It is the territorial basis of jurisdiction that the plaintiffs invoke in
     asserting that Cape, through N.A.A.C. or C.P.C., was present in
     Illinois.
         The alternative basis of jurisdiction, where in personam money
     judgments are concerned, is that of consent. Prima facie, a foreign court
     does not, in the eyes of English law, have jurisdiction over an absent
     foreigner. But if the foreigner consents to the court exercising jurisdiction
     over him, the position is different. The element of consent is clearly
     present if the foreigner, as plaintiff, commences proceedings in the
     foreign court. It is also present if the foreigner, as defendant, makes a
     voluntary appearance without protest in the foreign court. In either case
     there is a submission by the foreigner to the jurisdiction of the foreign
     court that, in the eyes of English law, may give rise to an "obligation to D
     pay." Further, whether or not a defendant takes any part in an action in
     a foreign court, he may have contractually bound himself to accept the
     jurisdiction of the foreign court. Accordingly, the jurisdiction of a
     foreign court over a defendant may be established, on a consensual
     basis, either by the defendant's participation in the proceedings or by
     the defendant's agreement to submit to the jurisdiction. This consensual
     basis is relied on by the plaintiffs both in its voluntary submission ^
     argument and in its contention that there was an agreement by Cape
     and Capasco to submit.
          It is important, to my mind, to keep clear and distinct the two
     alternative bases upon which the jurisdiction of a foreign court over a
     defendant may be established. Jurisdiction on the ground of presence in
     the foreign country is based on territoriality. Consent on the part of the p
     defendant is not necessary and is irrelevant. On the other hand,
     jurisdiction on the ground of voluntary submission or of an agreement to
     submit is based upon consent. An actual consent is, in principle,
     necessary. The over-riding consideration, however, relevant to each of
     the issues with which I must deal is whether the default judgment in the
     Tyler 2 actions created an "obligation to pay" which, under English law,
     the defendants are bound to discharge.                                        G

     Issue 1
         The principle that a foreign court has jurisdiction to give an in
     personam judgment if the judgment debtor, the defendant in the foreign
     court, submitted to the jurisdiction of the foreign court, is well settled in
     English law. Application of this principle presents no difficulty if the
     defendant took no part at all in the proceedings, nor if the defendant
     simply appeared therein and fought the case on its merits. Difficulty
     arises where the defendant has objected to the jurisdiction of the foreign

                                                                        APP.285
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 269459
                                                                           of 421 PageID 1
     1 Ch.                Adams v. Cape Industries Pic. (Ch.D.)          Scott J.

 A   court and, while maintaining that objection, has taken part in the
     proceedings. The difficulty has, in part, been remedied by Parliament.
     Section 33(1) of the Civil Jurisdiction and Judgments Act 1982 provides:
          "For the purposes of determining whether a judgment given by a
          court of an overseas country should be recognised or enforced in
          England and Wales or Northern Ireland, the person against whom
 g        the judgment was given shall not be regarded as having submitted
          to the jurisdiction of the court by reason only of the fact that he
          appeared (conditionally or otherwise) in the proceedings for all or
          any one or more of the following purposes, namely (a) to contest
          the jurisdiction of the court; (b) to ask the court to dismiss or stay
          the proceedings on the ground that the dispute in question should
          be submitted to arbitration or to the determination of the courts of
 C        another country; (c) to protect, or obtain the release of, property
          seized or threatened with seizure in the proceedings."
     Problems, obviously, still remain, particularly in cases where the steps
     taken by the defendant in the foreign proceedings were taken not only
     for the purpose of contesting the jurisdiction but also for the purpose of
     preparing for a trial on the merits. Some authority suggests that in such
 D   cases the defendant will be regarded as having submitted to the
     jurisdiction of the foreign court: see e.g. Boissiere & Co. v. Brockner &
     Co. (1889) 6 T.L.R. 85. But in Williams & Glyn's Bank Pic. v. Astro
     Dinamico Compania Naviera S.A. [1984] 1 W.L.R. 438 the House of
     Lords approved a dictum of Cave J. in Rein v. Stein (1892) 66 L.T. 469,
     471 that
 £         "in order to establish a waiver, you must show that the party
          alleged to have waived his objection has taken some step which is
          only necessary or only useful if the objection has been actually
          waived, or if the objection has never been entertained at all."
     It is time I identified the various steps taken by Cape and Capasco in
     the Tyler 1 actions which bear upon this issue.
 p       (i) The first step taken by each was to file a motion challenging the
     jurisdiction of the Tyler court. Cape did so on 25 February 1974 in the
     Yandle action and on 28 March 1974 in the Kay action. I am not clear
     on what date Capasco filed its motion in the Yandle action. The
     operative part of each motion declared that the applicant was
           "specially appearing . . . for the sole and only purpose of making
 r         this motion to assert lack of jurisdiction of this Honorable Court
          over its person and for said purpose only moves this Honorable
           Court to set aside and quash the supposed service of summons upon
           this defendant . . . "
         (ii) On 31 July 1974 Judge Steger called the conference of counsel at
     which it was agreed that the Rules for Complex and Multi-District
     Litigation would be followed. Mr. Richard Bernays, who acted as
     counsel for Cape and Capasco until 14 September 1977, attended the
     conference.
         (iii) On 26 September 1974 another conference of counsel took
     place. It was agreed that there would be limited discovery for the
                                                                      APP.286
      460
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 270 of 421 PageID 1
     Scott J.             Adams v. Cape Industries Pic. (Ch.D.)           [1990]

     purpose of dealing with the question whether the Yandle and Kay               A
     actions should proceed as "class" actions. Cape and Capasco were
     represented at this conference.
         (iv) On 7 November 1974 Cape answered written interrogatories
     which had been filed by the plaintiffs.
         (v) On 29 November 1974 Cape filed a brief on the "class" action
     question. The brief was expressed to be subject to Cape's objection to
     the jurisdiction. In the brief Cape opposed "class" action status for the     "
     Yandle and Kay actions.
         (vi) On 17 December 1974 the hearing on the "class" action issue
     took place. Cape was represented at the hearing. On 31 December 1974
     Judge Steger denied "class" action status for the two actions.
         (vii) On 4 June 1975 the deposition of Mr. Godfrey Higham was
     taken in London. This was part of the pre-trial discovery normal under        Q
     the procedure of American courts. Mr. Higham gave the deposition as a
     witness on behalf of Cape. Mr. Bernays, Cape's counsel, took part in
     the taking of the deposition. Subsequently, depositions were taken from
     other Cape witnesses and from a Mr. Buckley on behalf of P.C.C. with
     counsel for Cape in attendance.
         (viii) On 19 April 1977 Cape's and Capasco's motions on the
     jurisdiction question were dismissed by Judge Steger. The jurisdiction        D
     objection remained alive, however, as an objection to be taken, finally,
     at trial. I have already commented that Judge Steger did not purport to
     deal definitively with the jurisdiction point. He cut short Mr. Bernay's
     submissions on behalf of Cape and gave no reasons for his decision. An
     appeal by Cape was theoretically possible, but only theoretically. First,
     Judge Steger would have had to be persuaded to certify the point as           p
     suitable for an immediate interlocutory appeal. Second, the United
     States Court of Appeals for the Fifth Circuit would have had to be
     persuaded to give leave for the appeal to proceed. I was satisfied by the
     evidence I heard from Mr. Bernays and Mr. Brin, both of whom were
     Texan attorneys with wide experience in the federal courts, that the
     prospects of getting an appeal heard would have been practically nil.
     Both Judge Steger and the United States Court of Appeals would have           F
     left the jurisdiction point to be taken at trial and, if necessary, to be
     appealed thereafter.
         (ix) On 6 May 1977 Cape and Capasco sought and obtained an
     extension of time to answer interrogatories. They answered the
     interrogatories on 17 June 1977.
         (x) On 23 May 1977 Cape and Capasco filed answers in the two
     actions. The answers commenced with this paragraph "These defendants          G
     and each of them still insist that this Honorable Court does not have
     jurisdiction over the person of said defendants." The answers proceeded
     to plead to the merits of the case. In addition, and in the same
     document, Cape and Capasco made cross-claims against the other
     defendants claiming an indemnity against or contribution towards any
     sum they might be adjudged liable to pay the plaintiffs. The pleading         „
     ended with a demand for a jury trial.
         (xi) On the same day, 23 May 1977, Cape and Capasco filed written
     material opposing the plaintiffs' motion to be permitted to use depositions
     taken in previous asbestos cases.
                                                                      APP.287
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 271461
                                                                            of 421 PageID 1
     1 Ch.                 Adams v. Cape Industries Pic. (Ch.D.)          Scott J.

A        (xii) The date of trial was fixed for 12 September 1977. Cape and
     Capasco were represented in court on that day by Mr. Bernays; he also
     represented N.A.A.C. Mr. Bernays joined in the application for an
     adjournment. Thereafter Mr. Bernays represented only N.A.A.C. and
     Mr. Millwid participated on Cape and Capasco's behalf in the settlement
     negotiations which took place. The negotiations took place not simply in
     the face of the judge but at the insistence of the judge.
 °       (xiii) Settlement terms were agreed. Cape and Capasco were
     represented before Judge Steger on 5 May 1978 when the consent was
     made. The order dismissed with prejudice both the plaintiffs' actions
     and the defendants' cross-claims.
         These were the steps taken in the Tyler 1 actions by Cape and
     Capasco. Did they, taken cumulatively, represent a submission by Cape
 Q   and Capasco to the jurisdiction of the Tyler court in the Tyler 1 actions?
     Mr. Morison, for the plaintiffs, has submitted that they did. He relies,
     particularly, on the consent order. He is, in my view, right to do so. The
     various steps taken prior to the settlement negotiations on 23 September
     1977 were all, either expressly or implicitly, accompanied by a re-
     assertion of the jurisdiction objection. I am satisfied that none of the
     steps taken would, under the law governing the Tyler court, have been
 D   regarded as a submission by Cape and Capasco to the jurisdiction or as
     a waiver of the jurisdiction objection. If the steps would not have been
     regarded by the domestic law of the foreign court as a submission to the
     jurisdiction, they ought not, in my view, to be so regarded here,
     notwithstanding that if they had been steps taken in an English court
     they might have constituted a submission. The implication of procedural
 g   steps taken in foreign proceedings must, in my view, be assessed in the
     context of the foreign proceedings.
         But the consent order is another matter. It represented a clear
     exercise by the Tyler court of jurisdiction over the Tyler 1 actions. Cape
     and Capasco participated in inviting Judge Steger to make the order. If
     any of the Tyler 1 plaintiffs sought to sue Cape in England on the causes
     of action sued on in Tyler 1, Cape would be entitled to rely on the
 F   consent order of 5 May 1978 as a bar to the action. The order
     extinguished the causes of action against Cape that the Tyler 1 plaintiffs
     had been asserting. So, in my judgment, the conclusion is inescapable
     that by participating in the application to Judge Steger to make the
     consent order of 5 May 1978 Cape and Capasco recognised the
     jurisdiction of the Tyler court to deal with, and dispose of, the claims
 Q   made against them in the Tyler 1 actions and waived the jurisdiction
     objection that was then still on foot.

     Issue 2
         Did the submission to the jurisdiction in the Tyler 1 actions represent
     also a submission to the jurisdiction in the Tyler 2 actions? The plaintiffs
 "   contend that Cape and Capasco, by accepting the court's jurisdiction in
     the Tyler 1 actions, submitted to the jurisdiction of the court in the
     Tyler 2 actions. This contention is, in my opinion, for a number of
     reasons, unsustainable.

                                                                       APP.288
       462
3:18-cv-00731-X Document  273-6 Filed 07/30/19                   Page 272 [1990]
                                                                           of 421 PageID 1
       Scott J.      Adams v. Cape Industries Pic. (Ch.D.)

            First and foremost, the basis of the contention is, in my judgment,       A
        unsound. The argument advanced by Mr. Morison was that the Tyler 1
        actions and the Tyler 2 actions were to be regarded as "one unit of
        litigation." This followed, it was suggested, from Judge Steger's decision
        to apply to the litigation the Rules for Complex and Multi-District
        Litigation. But these rules represent no more than management
        techniques designed to facilitate the handling of complex cases. They
        have, in themselves, no direct procedural effect. The adoption of the         ^
        rules by Judge Steger on 31 July 1974 did not have the consequence that
        discovery in Tyler 1 could be automatically used in Tyler 2. On the
        contrary, specific orders to that effect were later necessary. It did not
        have the effect that pleadings from plaintiffs and defendants in Tyler 2
        were unnecessary. It did not have the effect that defendants' appearances
        in Tyler 1 sufficed as appearances in Tyler 2. It did not have the effect     Q
        that the dismissal "with prejudice" of the Tyler 1 actions barred the
        commencement of the Tyler 2 actions. It did not have any procedural
        effect whatsoever in the Tyler 2 actions, save that the Tyler 2 actions,
        like the Tyler 1 actions, became subjected for management purposes to
        the Rules for Complex and Multi-District Litigation.
            The proposition that because of the adoption of the "Complex
        Rules" Cape's participation in the Tyler 1 actions can be treated as it       D
        had been participation in the Tyler 2 actions is, in my view, a fanciful
        one with no substance to it, either in American law or in English law.
        Support for the proposition was given in evidence by Professor Miller, a
        professor of law at Harvard University and co-author of the Manual for
        Complex and Multi-District Litigation. Professor Miller is a highly
        distinguished academic lawyer but in his evidence that all the Owentown       g
        asbestos related litigation had become "one unit of litigation" he did not
        give me the impression that he was testifying on a matter of current
        procedural or substantive law applicable to United States federal courts.
        Rather he seemed to me to be flying an academically attractive kite. In
        so far as there was a conflict between the evidence of Professor Miller
        and that of Mr. Brin and Mr. Bernays, I far preferred, on this point at
        least, the evidence of Mr. Brin and Mr. Bernays. I am satisfied that          F
        under the law applicable to United States federal courts the Tyler 2
        actions were new actions separate and distinct from the Tyler 1 actions.
             Second, the "one unit of litigation" theory, when used to translate a
        submission to the jurisdiction in Tyler 1 into a submission to the
        jurisdiction in Tyler 2, ignores the essential basis of English law
        concerning submissions to the jurisdiction. Where steps taken in              Q
        proceedings are being examined in the context of an alleged submission
        to the jurisdiction, what is being sought is evidence of consent on the
        part of the defendant to the exercise by the court of jurisdiction over
        him. Until the settlement negotiations in September 1977 the jurisdiction
        objection which Cape and Capasco had taken was being maintained. I
        have already expressed the view that the pre-settlement procedural steps
        taken by Cape and Capasco in Tyler 1 could not, in the context of the         "
        federal procedure applicable in the Tyler court, be regarded as a waiver
        of the jurisdiction objection. But even if that is wrong, those steps could
        not possibly be regarded as evidencing Cape's and Capasco's consent to

                                                                       APP.289
3:18-cv-00731-X Document 273-6 Filed 07/30/19                             463of 421 PageID 1
                                                                   Page 273
     1 Ch.                 Adams v. Cape Industries Pic. (Ch.D.)          Scott J.

\    jurisdiction being exercised over them in future actions not yet started.
     Nor could Cape's participation in the application to Tyler 1 for a
     consent order, under which the existing actions against Cape were to be
     dismissed "with prejudice," be regarded as evidencing that consent. Any
     other conclusion would, in my view, be grossly unfair to Cape and
     would divorce a submission to the jurisdiction from the bedrock of
     consent that ought to underlie it. Accordingly, in my judgment, there
B    was no submission to the jurisdiction by Cape or Capasco in the Tyler 2
     actions.

     Issue 3
         Did the steps taken by Cape and Capasco in the Tyler 1 actions
     represent their agreement to submit to the jurisdiction in the Tyler 2
C    actions? The rule that an agreement by a party to submit to the
     jurisdiction of a foreign court will, under English law, justify the foreign
     court in taking jurisdiction over that party (see Dicey & Morris' Conflict
     of Laws, 11th ed. (1987), pp. 444-445) is another example of the
     consensual basis whereby a party may, under English law, come under
     an obligation to obey a judgment of a foreign court. Consent may be
pj   evidenced by a term in a contract. A term expressly providing for
     disputes to be referred to the foreign court is the most obvious and
     common example. A unilateral statement by a party that he would
     accept the jurisdiction of a foreign court is an alternative means by
     which an agreement to submit might be constituted. But, here, caution
     is in my view needed. A contract containing a foreign court submission
     clause is one thing. A party to such a contract is prima facie bound by
E    its terms. But a unilateral statement of willingness to accept the
     jurisdiction of a foreign court does not, of itself, have any obvious
     binding effect. It ought, in my view, like any other non-contractual
     statement of future intention, to be capable of being withdrawn, at any
     rate until acted upon.
          In the present case, the "agreement to submit" that is relied on is
p    not contractual. Nor can any unequivocal statement of willingness to
     submit be identified. The plaintiffs' contention is that Cape and Capasco,
     by participating in the Tyler 1 actions, impliedly agreed to submit to the
     jurisdiction in the Tyler 2 actions. The steps relied on are the same steps
     as were relied on as evidencing Cape and Capasco's submission to the
     jurisdiction in the Tyler 2 action. I have already detailed them, and need
      not do so again. The plaintiffs' argument, as initially advanced by Mr.
G     Morison, was based upon implied agreement. The use of the verb
      "agree" in this formulation of the argument is, however, misleading. It
      was not contended that Cape or Capasco had entered into any contract
     with any of the plaintiffs. Rather it was contended that Cape and
      Capasco, by their conduct in the Tyler 1 actions, had represented that
      they would similarly participate in future asbestos related actions brought
      in the Tyler court by other Owentown plaintiffs, and, in that sense, had
      impliedly agreed to submit to the jurisdiction.
          So, it seems to me, two questions arise. First, can the conduct of
      Cape and Capasco in Tyler 1 be fairly regarded as a representation that
      they would accept the jurisdiction of the court in the Tyler 2 actions?
                                                                        APP.290
      464
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 274 of 421 PageID 1
     Scott J.              Adams v. Cape Industries Pic. (Ch.D.)            [1990]

     Second, is a representation by conduct of the sort contended for a              A
     sufficient basis, in English law, to justify the taking by a foreign court of
     jurisdiction?
         The first question is one of fact. Mr. Morison relied heavily on the
     circumstances that under the directions for intervention given by Judge
     Steger in Tyler 1, any Owentown claimant could, until intervention was
     stopped on 23 September 1977, have become a plaintiff in Tyler 1.
     Intervention was stopped in order to facilitate a settlement of the claims      °
     of the then plaintiffs and in the expectation that claimants who had not
     yet intervened would become plaintiffs in new actions. All parties to
     Tyler 1, including the judge as well as Cape and Capasco, had that
     expectation. All parties contemplated that Cape and Capasco would be
     among the defendants in the new actions. I agree with Mr. Morison that
     all of this is borne out by the evidence. I accept also that counsel acting     Q
     for the Tyler 1 plaintiffs, counsel acting for the non-Cape defendants
     and Judge Steger would, if they addressed their minds to the matter,
     which they did not, have assumed that Cape and Capasco would be
     participating in the new actions as they had done in the Tyler 1 actions.
     Nonetheless, in my judgment, Cape's and Capasco's conduct in Tyler 1
     cannot fairly be regarded as a representation by them that they would
     be participating in Tyler 2. Nothing they did in Tyler 1 justified any          D
     observer in making assumptions about what they would do in or about
     the expected new actions. If they had been asked their intentions and
     had given a false or misleading answer, the position might have been
     different. But, as it was, they were, in my judgment, entitled to chest
     their cards, to keep their options open and to leave others who were
     minded to speculate about the future to do so at their own risk.                £
          There is a further point to be made on the facts. To whom was the
     alleged representation made? Who acted on it? Who relied on it to his
     detriment? No answer to any of these questions has been given by the
     pleadings, by the evidence or by the arguments addressed to me. In
     particular none of the Tyler 2 plaintiffs has pleaded or has claimed, or,
     on the evidence, could claim, to have refrained from intervening in
     Tyler 1 in reliance on a representation by Cape that it would submit to         F
     the jurisdiction in Tyler 2, or to have joined Cape as a defendant in
     Tyler 2 in that reliance, or in any other way to have acted on such a
     representation.
          The second question requires some reference to authority. In both
      Cheshire and North's Private International Law, 11th ed. (1987), p. 344
     and in Dicey & Morris' Conflict of Laws, vol. 1, p. 446, the view is            Q
     expressed that an agreement to submit must be express and cannot be
     implied. Cape and Capasco certainly did not expressly agree to submit
     to the jurisdiction in the Tyler 2 actions.
          Mr. Morison referred me to Blohn v. Desser [1962] 2 Q.B. 116 in
     which Diplock J., in an ex tempore judgment, considered the
     requirements of an agreement to submit to the jurisdiction. The
     defendant had been a sleeping partner in a firm carrying on business in         "
     Vienna, and her name, together with the names of the other partners,
     was registered on the commercial register in Vienna. The defendant was
      resident in England, took no part in the business and received no

                                                                      APP.291
3:18-cv-00731-X Document 273-6 Filed 07/30/19                                 465421 PageID 1
                                                                     Page 275 of
      1 Ch.                  Adams v. Cape Industries Pic. (Ch.D.)             Scott J.
  A   income from it. But she remained, in Austrian law, a partner, and her
      name was on the register in Vienna. The plaintiff obtained judgment in
      the commercial court of Vienna against the partnership firm. The
      defendant took no part in the proceedings. The plaintiff sued the
      defendant in England on the Austrian judgment. Diplock J. said, at
      p. 123:
  g        "It is also, I think, clear law that the contract referred to in the fifth
           case, to submit to the forum in which the judgment was obtained,
           may be express or implied. It seems to me that, where a person
           becomes a partner in a foreign firm with a place of business within
           the jurisdiction of a foreign court, and appoints an agent resident in
           that jurisdiction to conduct business on behalf of the partnership at
           that place of business, and causes or permits, as in the present case,
  C        these matters to be notified to persons dealing with that firm by
           registration in a public register, he does impliedly agree with all
           persons to whom such a notification is made—that is to say, the
           public—to submit to the jurisdiction of the court of the country in
           which the business is carried on in respect of transactions conducted
           at that place of business by that agent."
  D
      Diplock J. went on, however, to hold that the foreign judgment against
      the firm was an insufficient basis for enforcement of the judgment debt
      against the defendant personally. So the plaintiff's action failed and the
      remarks I have cited are only obiter. Nonetheless, Mr. Morison naturally
      relies on them. There are, however, two authorities which cast doubt on
      the dicta from Blohn v. Desser on which Mr. Morison relies.
  E       In Sfeir Co. v. National Insurance Co. of New Zealand Ltd. [1964] 1
      Lloyd's Rep. 330, 340, Mocatta J. said of an alleged implied agreement
      to submit:
           "However, in considering whether conduct or oral or written
           agreements give rise to the implication, it is not in my judgment
           sufficient to reach the conclusion from the evidence that it would be
  p        reasonable to find the implied submission or agreement; the court
           must also conclude from the evidence that the implication is a
           necessary one."
      The facts and circumstances from which Diplock J. was prepared to
      imply an agreement to submit do not satisfy the criterion suggested by
      Mocatta J. It could not, I think, have been argued that the implication
  G   was a necessary one. In Vogel v. R. and A. Kohnstamm Ltd. [1973]
      Q.B. 133 Ash worth J. declined to follow the dicta from Blohn v. Desser
      [1962] 2 Q.B. 116 that I have cited and held that an agreement to
      submit to the jurisdiction of a foreign court must, to be effective, be
      express and that an implied agreement would be insufficient.
         I do not think Diplock J. was right in regarding it as settled law that
      an agreement to submit to the jurisdiction need not be expressed but
      could be implied. The leading text books suggest otherwise and there
      are dicta in two cases which suggest otherwise: see Lord Selborne in
      Sirdar Gurdyal Singh v. Rajah of Faridkote [1894] A.C. 670, 686, and
      Kennedy L.J. in Emanuel v. Symon [1908] 1 K.B. 302, 314. But,
                                                                      Ch. 1990-21
                                                                          APP.292
      466
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 276 of 421 PageID 1
     Scott J.              Adams v. Cape Industries Pic. (Ch.D.)            [1990]

     accepting that an implied agreement to submit might suffice, nonetheless A
     it is, in my judgment, a clear indication of consent to the exercise by the
     foreign court of jurisdiction that is required. I find it very difficult to
     accept that the defendant's name in the commercial register in Vienna
     was a clear indication of her consent to submit to the jurisdiction of the
     Austrian court. She had entered into no contract to submit, implied or
     otherwise, with anyone. The entry of her name in the register had,
     obviously, a commercial purpose. But it seems to me an unacceptably "
     flimsy basis from which to imply that she was consenting to the exercise
     by the court in Vienna of jurisdiction over her.
          Mr. Morison referred also to S.A. Consortium General Textiles v.
     Sun and Sand Agencies Ltd. [1978] Q.B. 279. One of the points
     discussed in the judgments in the Court of Appeal was the meaning to
     be attributed to the expression "agreed . . . to submit to the jurisdiction" Q
     in paragraph (iii) of section 4(2)(a) of the Foreign Judgments (Reciprocal
     Enforcement) Act 1933. Goff L.J. said, at p. 303: "It was argued that
     'agreed' in paragraph (iii) means no more than consented. That is
     probably right . . ." Shaw L.J. said, at pp. 307-308:
           "In this context it seems to me that 'agreed' must mean expressed
           willingness or consented to or acknowledged that he would accept ^
           the jurisdiction of the foreign court. It does not require that the
           judgment debtor must have bound himself contractually or in formal
           terms so to do."
     Mr. Morison argued that the requirements for an agreement to submit
     at common law should be co-extensive with the requirements for an
     agreement to submit for the purposes of paragraph (iii). This may very          E
     well be a sound approach. But in the Sun and Sand Agencies Ltd. case
     the expression of willingness, the consent to accept the jurisdiction of
     the foreign court, had been signified to and had been acted upon by the
     plaintiffs.
         If the alleged "consent" does not form part of a contractually
     enforceable agreement, it ought, in my view, to be treated not as an
     agreement—for it is not one—but as a representation. As with any                F
     representation it ought, in my view, to be of no legal effect if not acted
     upon or if withdrawn before being acted on. It ought, in my opinion, to
     follow that if proceedings in the foreign court were instituted and
     brought to judgment against the absent defendant without reliance on
     the representation of willingness to submit to the jurisdiction, or a
     fortiori, in ignorance of it, the representation could not subsequently be      G
     relied on by the plaintiff as a consensual basis for establishing the court's
     jurisdiction. Finally, in my view, if a non-contractual representation is to
     be relied on as establishing the court's jurisdiction, it must be a
     representation intended to be acted upon or, at least, be a representation
     that the plaintiff believed and had reasonable ground for believing was
     intended to be acted upon.
         In my judgment, the steps taken by Cape and Capasco in the Tyler 1          H
     actions do not indicate the consent of Cape and Capasco to accept the
     jurisdiction of the court in the Tyler 2 actions. Not only do these steps
     fail to constitute the necessary consent, I do not see how an inference of

                                                                       APP.293
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 277 467
                                                                            of 421 PageID 1
      1 Ch.                Adams v. Cape Industries Pic. (Ch.D.)          Scott J.

 A    consent is even faintly arguable. Nor is there any evidence that these
      steps were relied on by any of the plaintiffs. Moreover, many of the
      plaintiffs intervened in the Tyler 2 actions long after it must have
      become apparent that Cape and Capasco were taking no part therein.
      For all these reasons there was, in my judgment, no agreement to
      submit sufficient under English law to establish on a consensual basis the
      jurisdiction of the Tyler court to give the default judgment against Cape
 B    and Capasco.
      Issues 4 and 5
          The territorial basis of jurisdiction entitles a foreign court, in the
      eyes of English law, to exercise in personam jurisdiction over persons
      present in the country of the foreign court. Whether temporary presence
 C    is sufficient is a matter that does not arise in the present case. Presence
      is a clear enough concept when applied to individuals. It is otherwise
      with corporations that have no physical existence. Where is a corporation
      resident or present? In what circumstances will the territorial basis of
      jurisdiction permit jurisdiction to be exercised over a foreign corporation?
      The answers to these questions, at least where a trading company is
      concerned, depend upon the extent to which the company has a place of
 ^    business in the relevant territory. In Littauer Glove Corporation v. F.W.
      Millington (1920) Ltd. (1928) 44 T.L.R. 746, 747, Salter J. said that
      "there must be some carrying on of business at a definite and, to some
      reasonable extent, permanent place," within the jurisdiction. The case
      was one in which an action had been brought in England on a money
      judgment given against an English company by a New York court. The
 JJ   action failed on the ground that the company, although transacting
      business in New York through the medium of an agent, was not in any
      sense resident in New York. In La Bourgogne [1899] P. 1 the question
      for decision was whether an English court was entitled to take jurisdiction
      over a French company. It was held that it was. The French company
      had acquired business premises in London and had installed in the
      premises a manager whose duties included the carrying on of the
  F   company's business. A. L. Smith L.J. expressed the question for
      the court, at p. 12:
           "The question is whether the defendant company, at the date when
           this writ was served, was carrying on business in this country under
           such circumstances as would enable it to be said that it was resident
           in this country."
 G     He concluded, on the facts, at p. 15:
           "the company came over here and took premises within the
           jurisdiction for the purpose of carrying on its business, and it put in
           M. Fanet as manager . . . for the purpose of carrying on its
           business, though it may be in conjunction with his own business."
       So the company was, he held, at p. 15: "carrying on business here in
       such a way as to constitute residence in this country." Collins L.J.
       agreed.
          The critical feature in La Bourgogne was that the business premises
       in London at which the French company's business was transacted were
                                                                       APP.294
3:18-cv-00731-X
      468       Document 273-6 Filed 07/30/19                    Page 278 of 421 PageID 1
     Scott J.            Adams v. Cape Industries Pic. (Ch.D.)          [1990]

     the French company's premises, cf. The Princesse Clementine [1897] A
     P. 18. The cases establish that jurisdiction on the territorial basis may be
     taken by an English court over a foreign company if the foreign
     company has business premises in England from which or at which its
     business is carried on. A striking example of this principle may be found
     in Dunlop Pneumatic Tyre Co. Ltd. v. Actien-Gesellschaft fur Motor und
     Motorfahrzeugbau Vorm. Cudell & Co. [1902] 1 K.B. 342 where a
     foreign corporation, manufacturer of motor cars abroad, hired a stand at ^
     a Crystal Palace exhibition and for a period of nine days exhibited a
     motor car on the stand. It was held by the Court of Appeal that service
     of a writ on the person in charge of the stand was good service on the
     foreign corporation. Sir Richard Henn Collins M.R. said, at p. 346:
          "In order to see whether they were liable to be so served, it is
          necessary to consider whether, upon the facts, they can be said to C
          have been resident in England when the service was effected."
     He then referred to La Bourgogne [1899] P. 1 and said, at p. 347:
          "There, a foreign company employed as their agent in this country
          a person who also acted as agent for two other companies, and
          transacted their business on the same premises; and we held that
          the defendants were through him carrying on business in such a way D
          as to be resident within the jurisdiction. No such difficulty arises
          here as arose in that case. Here the defendants hired premises for
          their own exclusive use, and did not resort for their purposes to
          some person who was carrying on an independent business, but
          employed their own servant to conduct the business."
         There are, however, cases where residence or presence of a foreign E
     company in England has been held established notwithstanding that the
     foreign company did not itself own or lease any business premises in
     England. A feature of these cases has been that the foreign company
     had a resident English agent who had authority to contract on behalf of
     and thereby to bind the principal. In those circumstances the presence
     or residence in England of the agent has been treated as the presence or F
     residence of the foreign company, the principal. In the Dunlop case
     [1902] 1 K.B. 342, 349, Romer L.J. said:
          "The result of the authorities appears to me to be that, if for a
          substantial period of time business is carried on by a foreign
          corporation at a fixed place of business in this country, through
          some person, who there carries on the corporation's business as
          their representative and not merely his own independent business, G
          then for that period the company must be considered as resident
          within the jurisdiction for the purpose of service of a writ."
         In Saccharin Corporation Ltd. v. Chemische Fabrik Von Heyden
     Aktiengesellschaft [1911] 2 K.B. 516 the defendant, a foreign company,
     employed a sole agent who had business premises at Fenchurch Street,
     London. From these premises he carried on the defendant company's
     business as well as his own business. He had general authority to enter
     into contracts in the defendant's name for the sale of the defendant's
     goods. Vaughan Williams, L.J. said, at pp. 522-523:
                                                                    APP.295
3:18-cv-00731-X Document 273-6 Filed 07/30/19                          Page 279 469
                                                                                of 421 PageID 1
      1 Ch.                    Adams v. Cape Industries Pic. (Ch.D.)         Scott J.

 A            "The question is whether on these facts it is true to say that the
              defendants carried on their own business at their own place of
              business in London. It cannot reasonably be suggested that they
              must necessarily be lessees or tenants of the place of business,
              though if they were, that would be a cogent piece of evidence
              against them. I have no doubt myself that a foreign corporation can
              carry on business at a place in this country within the meaning of
 °            the rule, if, although the corporation is not the lessee of the place,
              it is in any sense its own place of business."
      Fletcher-Moulton L.J. cited the passage from Romer L.J.'s judgment in
      the Dunlop case [1902] 1 K.B. 342, 349, that I have cited and continued,
      at p. 524:
 C         "The question before us therefore seems to me to be purely one of
           fact. We must look at all the evidence given by both parties and
           consider whether the plaintiffs have brought the case to such a point
           that if falls within the principle enunciated by Romer L.J. The
           question being one of fact, it is safer to decide it by looking at the
           things which are done rather than at the words which are used. For
           example, Blasius is called an agent. That may signify a variety of
           things. Let us see, therefore, what his position as agent of the
           defendants entitles him to do."
      Having reviewed the evidence, Fletcher-Moulton L.J. said, at p. 525:
          "the result is that in my opinion a very strong case is made out . . .
          in . . . that the defendants do carry on business in England at
  g       Blasius' address by means of Blasius."
      Farwell L.J. said, at p. 526:
           "These facts are in my opinion sufficient to prove that the defendants
           do carry on their business in England. Then, do they carry it on at
           a fixed place in England? It is said that for this purpose it is
           necessary they should be the owners or tenants of the place where
  F        their business is alleged to be carried on. To my mind that
           proposition is quite untenable. That the foreign corporation must
           have a fixed place of business in this country is quite clear, but the
           particular tenure on which it occupies that fixed place is quite
           immaterial."
      He concluded, at p. 527: "the evidence shows that the defendants do
  G   carry on their business at the office of their agent in Fenchurch Street."
          The Saccharin Corporation case [1911] 2 K.B. 516 may be contrasted
      with Okura & Co. Ltd. v. Forsbacka Jernverks Aktiebolag [1914] 1 K.B.
      715. Here, too, a foreign company employed sole agents in London. But
      these agents had no general authority to contract on behalf of their
      principal. Special authority had to be obtained in the case of each
      proposed contract. It was held by the Court of Appeal, distinguishing
  H
      the Saccharin Corporation case [1911] 2 K.B. 516, that the foreign
      company was not carrying on business at the agents' office in London.
      Buckley L.J. expressed the problem in this way [1914] 1 K.B. 715, 718-
      719:
                                                                          APP.296
3:18-cv-00731-X
      470       Document 273-6 Filed 07/30/19                      Page 280 of 421 PageID 1
     Scott J.              Adams v. Cape Industries Pic. (Ch.D.)          [1990]

           "It is not enough to show that the corporation has an agent here;       A
           he must be an agent who does the corporation's business for the
           corporation in this country. This involves the still more difficult
           question, what is meant exactly by the expression 'doing business'."
     He said, at p. 721:
         "The agents have never sold any steel manufactured by the R
         defendants except as agents and in the manner indicated. They have
         no control over the way in which the defendants do their business
         and have no general authority from them with regard to making
         contracts. . . . These being the facts, 101, Leadenhall Street is really
         only an address from which business is from time to time offered to
         the foreign corporation; the question whether any particular business
         shall or shall not be done is determined by the foreign corporation C
         in Sweden and not by any one in London. In my opinion the
         defendants are not 'here' by an alter ego who does business for
         them here, or who is competent to bind them in any way. They are
         not doing business here by a person but through a person.
         That person has to communicate with them, and the ultimate
         determination, resulting in a contract, is made not by the agents in
         London, but by the defendants in Sweden. It follows from this that
         one of the essential elements which must be present before a writ
         can be served in this country on the agent of a foreign corporation
         is lacking in this case."
     Phillimore L.J. said, at p. 724:
          "The important distinction between the two cases is that in the          E
          Saccharin Corporation case [1911] 2 K.B. 516, the agent in London
          had authority to enter into contracts on behalf of the defendants
          without submitting the orders to them for their approval; whereas in
          the present case the agents have not that authority, their duty being
          merely to submit the orders to the defendants; and until they have
          signified their approval no contract can be entered into. In these       p
          circumstances it seems to me impossible to say that the position of
          the defendants is in any way analogous to that of a person residing
          or a firm carrying on business in this country."
     The significance of the manner in which and place at which contracts
     with the foreign company, the principal, are made can be noticed also in
     Thames and Mersey Marine Insurance Co. v. Societa di Navigazione a Q
     Vapore del Lloyd Austriaco (1914) 111 L.T. 97 where it was held that
     the foreign company was carrying on business at its agent's London
     offices. Buckley L.J. treated the fact that contracts were made at the
     London offices as the critical factor. In The World Harmony [1967]
     P. 341 the foreign company was a Liberian shipping company which
     owned a ship, World Harmony. An independent English company in
     London acted as shipping agent and broker for the foreign company "
     and, in effect, operated and controlled World Harmony. It was held by
     Hewson J. that the foreign company had a place of business in England
     through the English agent.
                                                                       APP.297
3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 281 471
                                                                             of 421 PageID 1
      1 Ch.                 Adams v. Cape Industries Pic. (Ch.D.)          Scott J.

 A        In The Lalandia [1933] P. 56 on the other hand, the English agents
      did not make contracts for their foreign principal and it was held that
      the foreign principal was not carrying on business at the agent's London
      offices. To the same effect was The Holstein [1936] 2 All E.R. 1660
      where Sir Boyd Merriman P. said, at p. 1664:
            "When . . . you find that the agency is merely selling the foreign
 R          corporation's contract, then the foreign corporation is not carrying
            on the business in this country."
          In F. & K. Jabbour v. Custodian of Israeli Absentee Property [1954]
      1 W.L.R. 139, 146, Pearson J. said:
            "A corporation resides in a country if it carries on business there at
            a fixed place of business, and, in the case of an agency, the
 Q          principal test to be applied in determining whether the corporation
            is carrying on business at the agency is to ascertain whether the
            agent has authority to enter into contracts on behalf of the
            corporation without submitting them to the corporation for
            approval."
          Most of the authorities to which I have referred were dealing with
 Pj   the question whether a foreign corporation had a sufficient presence or
      residence in England to enable service of a writ on its agent in England
      to represent good service on the foreign corporation. That question
      turned upon the meaning to be attributed to sections of English statutes
      (e.g. section 412 of the Companies Act 1948) or of particular rules
      which prescribe the means by which service of process on corporations
      may be effected. The Littauer Glove Corporation case, 44 T.L.R. 746
 E    and Vogel v. R. and A. Kohnstamm Ltd. [1973] Q.B. 133, on the other
      hand, were cases where the question was whether English common law
      would recognise the legitimacy of the jurisdiction taken by a foreign
      court. Both counsel before me have treated the statements of principle
      to be found in the authorities as applicable equally to both classes of
      cases. I am content to proceed on that footing although I confess to a
 „     feeling of a little unease. It does not seem to me self-evident that the
      statutory provisions which enable service of English process to be
      effected in England on foreign corporations represent, without any
      material variation, the principles of common law that determine whether
      a corporation is to be regarded as resident or present in a foreign
      country so as to permit the courts of that country to exercise jurisdiction
      over it. I will assume, however, that the statements of principle in the
 G     authorities do apply equally to both classes of case.
           The question in the present case is whether Cape and Capasco were,
      when the Tyler 2 actions were instituted, resident or present in Illinois.
      Reliance is placed by the plaintiffs on the activities and presence first of
      N.A.A.C. and later of C.P.C. at their respective Illinois offices at 150,
      North Wacker Drive, Chicago. I must describe the relevant facts and
      then endeavour to apply to those facts the principles established by the
       authorities to which I have referred. The object of doing so is to decide
      whether the United States federal court was entitled, on a territorial
       basis, to assume jurisdiction over Cape and Capasco in the Tyler 2
       actions.
                                                                        APP.298
     472
3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 282 of 421 PageID 1
    Scott J.             Adams v. Cape Industries Pic. (Ch.D.)           [1990]

        I have already described the corporate structure of the Cape group        A
    and the business activities of the various subsidiaries. Cape, the parent
    company, was incorporated in 1893. The amosite mines at Penge, in the
    Transvaal, were owned and worked by Egnep, a wholly owned subsidiary
    of Casap. The first Tyler 2 action, the Ray action, was commenced in
    April 1978. Since 1975 Casap had been a wholly owned subsidiary of
    C.I.O.L. which, in turn, was a wholly owned subsidiary of Cape.
    N.A.A.C. incorporated in 1953 as a wholly owned subsidiary of Cape,           ^
    and from November 1975 a wholly owned subsidiary of C.I.O.L. was
    the marketing agent of the Cape group in the United States. Capasco,
    incorporated in 1958 or 1959, was a wholly owned subsidiary of Cape
    and was responsible for the supply, marketing and sales promotion
    throughout the world of Cape asbestos and asbestos products.
        On 1 December 1970 Mr. Morgan, a United States citizen and a              Q
    resident of Illinois, became vice-president of N.A.A.C. He became
    president on 1 July 1974, an office he retained until the dissolution of
    N.A.A.C. in 1978. At all times relevant to the Tyler actions, the vice-
    president of N.A.A.C. was a Mr. Meyer, an attorney and a partner in
    the firm Lord, Bissell & Brook of Chicago. Lord, Bissell & Brook were
    the United States attorneys for the Cape group of companies. N.A.A.C.
    had offices on the fifth floor of 150, North Wacker Drive, Chicago.           D
    N.A.A.C. was the lessee and the rent was paid by N.A.A.C. The office
    furniture and fittings were owned by N.A.A.C. N.A.A.C. maintained a
    staff of some four people. Mr. Morgan was, of course, in charge. He
    had, however, an imporant assistant, a Mrs. Holtze. In addition, there
    were two or three other office staff.
        N.A.A.C.'s dominant business purpose was to assist and encourage          g
    sales in the United States of asbestos mined by the Cape subsidiaries,
    one of which was Egnep. Contracts with United States customers for the
    supply of asbestos were entered into by Egnep or Casap—I am not clear
    which and it does not matter. The contracts tended to be long term but
    did not usually specify the quantity of asbestos to be sold. The practice
    was for the United States customer to specify from time to time the
    quantity of asbestos it wished to purchase and the time when it desired       F
    delivery to be made. This information would be conveyed via N.A.A.C.
    to Casap and Egnep. Whether the information went directly from
    N.A.A.C. to Casap and Egnep or whether it went via Capasco is not
    clear. Shipping arrangements and delivery dates would be arranged by
    Casap or Egnep and communicated to the United States customer via
    N.A.A.C. The vagaries of production in the mines had the consequence          Q
    that Egnep was not always able to provide the United States customer
    with the full amount of asbestos that had been ordered. When a
    shortfall between the customers' requirements and Egnep's delivery
    capacity emerged, N.A.A.C. would endeavour to fill the gap by
    purchasing asbestos from United States Government stocks and selling
    the asbestos to the United States customers.
        These were the two main forms of business carried on by N.A.A.C.          "
    First, it acted as intermediary in respect of contracts between the United
    States customers and Egnep. For these services it received a commission
    from Casap. Secondly, N.A.A.C. sold asbestos to United States
                                                                    APP.299
3:18-cv-00731-X Document 273-6 Filed 07/30/19                               473
                                                                   Page 283 of 421 PageID 1
      1 Ch.                Adams v. Cape Industries Pic. (Ch.D.)          Scott J.

  A   customers in order from time to time to supplement sales from Egnep.
      In respect of these transactions N.A.A.C. contracted, both in purchasing
      the asbestos and in selling on to the United States customers, as
      principal. In addition, N.A.A.C. carried on business in purchasing
      asbestos textiles, mainly from Japan, and selling the textiles in the
      United States. In transacting this business, N.A.A.C. acted as principal
      on its own account. N.A.A.C. also, it seems from the evidence, from
  "    time to time purchased asbestos from Egnep or Casap and sold on to
      United States customers. These purchases and sales it transacted as
      principal. For the purpose of storing asbestos which it had purchased,
      whether from United States Government stocks or from Egnep or
      Casap, N.A.A.C. rented warehousing facilities in the United States.
      These facilities were in N.A.A.C.'s name and were paid for by N.A.A.C.
  Q       Prior to 11 July 1975 the board of directors of N.A.A.C. included
      two senior officers of Cape. Until 1974 a Mr. Dent, chief executive of
      Cape, was chairman of N.A.A.C. In 1979, however, Mr. Higham
      succeeded Mr. Dent as chief executive of Cape and succeeded also to
      the chairmanship of N.A.A.C. The other Cape director of N.A.A.C.
      was Dr. Gaze who was, at all material times, chairman of Capasco and
      an executive director of Cape. In July 1975 Mr. Higham and Dr. Gaze
  D   resigned from the board of N.A.A.C. This change was directly
      attributable to the involvement of Cape and Capasco in the Tyler 1
      actions and was explained thus by Mr. Morgan in a deposition he gave
      in the Tyler 1 actions. The intention, he said, was
           "to dissociate the parent company as fully as possible from the
           operating companies . . . It does not imply any change whatever in
  E        the method of operation or the present responsibilities of individuals
           concerned . . . "
      The "method of operation" and "the present responsibilities" of, in
      particular, Mr. Morgan, did not permit either N.A.A.C. or Mr. Morgan,
      its chief executive, to bind Cape, Capasco, Casap or Egnep, or any
      other of the Cape subsidiaries to any contract for the supply or sale of
      asbestos. It was suggested by Mr. Morison that Mr. Morgan's evidence
      given in depositions in the Tyler 1 actions showed that he considered he
      had authority to accept orders for asbestos to be supplied by Casap or
      one of the mining companies. I do not accept that the passage relied on
      justifies the suggestion. I think it clear from the evidence that N.A.A.C.
      and Mr. Morgan had no such authority.
  Q       There is no doubt, on the other hand, that N.A.A.C. did constitute
      the channel of communication between United States customers, such as
      P.C.C., and Capasco or Casap. There is undoubtedly a sense in which
      N.A.A.C. was, if the Cape group of companies is viewed as a whole,
      part of the selling organisation of the group and Cape's agent in the
      United States.
          There is also evidence, as perhaps might be expected, that the
  "   corporate, as opposed to commercial, activities of N.A.A.C. were
      controlled by Cape. Thus, each year an indication would come from
      Cape as to the dividend that N.A.A.C. was to declare. The
      correspondence reveals some argument and representations from Mr.
                                                                       APP.300
3:18-cv-00731-X
      474       Document 273-6 Filed 07/30/19                     Page 284 of 421 PageID 1
     Scott J.             Adams v. Cape Industries Pic. (Ch.D.)          [1990]
     Morgan regarding the amount of the suggested dividend but, in the last A
     resort, and subject to compliance with Illinois law, the parent company
     was in a position to and did direct the level of the dividend. In addition,
     the financial controllers in London were consulted about the level of
     borrowing permitted to N.A.A.C. in each financial year. This corporate
     financial control exercised by a parent company over its subsidiary is, in
     my view, no more and no less than one would expect to find in a group
     of companies such as the Cape group. There is, however, no evidence of ^
     any like control exercised by Cape and Capasco over the conduct by
     N.A.A.C. of its commercial activities. Mr. Morgan was in executive
     control of N.A.A.C.'s conduct of its business. Both Dr. Gaze and, to a
     lesser extent, Mr. Higham, visited the United States from time to time,
     discussed with United States customers their asbestos supply requirements
     and dealt with their complaints in that regard. They did so, not as Q
     directors of N.A.A.C. but as directors and representatives of Cape or
     Capasco.
         Mr. Morison argued that if N.A.A.C.'s offices at 150, North Wacker
     Drive, Chicago, had been a branch office belonging to Cape, the
     business transacted at that office would have been well sufficient to
     justify the conclusion that Cape was present in Illinois for jurisdiction
     purposes. This submission has support from South India Shipping D
     Corporation Ltd. v. Export-Import Bank of Korea [1985] 1 W.L.R. 585
     and is, in my view, probably right. But it is equally pertinent to observe
     that if the offices had been those of an independent Illinois corporation,
     the nature of the business transacted thereat would not have justified the
     conclusion that Cape was present in Illinois. The offices were not Cape's
     branch office. Nor were they the offices of an independent Illinois g
     corporation. They were the offices of N.A.A.C, a wholly owned
     subsidiary in the Cape group of companies.
         Mr. Morison argued that, on the facts of this case, N.A.A.C. should
     be treated as Cape's alter ego in Illinois or, alternatively, that the
     corporate veil distinguishing N.A.A.C. from Cape should be lifted.
     There is no reasonable basis, in my view, for regarding N.A.A.C. as the
     alter ego of Cape. N.A.A.C. was an Illinois corporation, carrying on F
     business in the United States from which it earned profits and on which
     it paid United States taxes. Its debtors were its debtors, not Cape's
     debtors. Its creditors were its creditors, not Cape's creditors. Cape was
     not taxed in the United Kingdom or in the United States on N.A.A.C.'s
     profits. The return to N.A.A.C.'s shareholders took the form of an
     annual dividend passed by a resolution of N.A.A.C.'s board of directors, Q
     The corporate forms applicable to N.A.A.C. as a separate legal entity
     were observed. N.A.A.C. made its own warehousing arrangements for
     the storage of its own asbestos. It had its own pension scheme for its
     own employees. The expression "alter ego" when used to describe the
     relationship between a company and its shareholders is not a term of art
     and can bear a flexible meaning. But I do not think it is in the least apt
     to describe the relationship between N.A.A.C. and Cape.                     "
         The question whether the corporate veil should be lifted is more
     difficult. It is, I think, one which raises an issue of general importance.
     Is a parent company to be treated, for jurisdiction purposes, as resident
                                                                     APP.301
3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 285 475
                                                                              of 421 PageID 1
      1 Ch.                 Adams v. Cape Industries Pic. (Ch.D.)          Scott J.

 A    in a country in which its wholly owned subsidiary is resident and carries
      on business? Should the answer be dependent on whether the subsidiary's
      business is associated with and, in a group sense, a part of the business
      of the parent company?
          Mr. Morison argued the point by concentrating on the economic
      unity of the asbestos trade carried on by the Cape group. N.A.A.C. was
      a non-autonomous part of the Cape group which, as a unit, was mining
 B    and marketing asbestos. So, he argued, N.A.A.C.'s presence and
      business activity at 150, North Wacker Drive should be regarded as the
      presence and business activity of Cape. He prayed in aid, by analogy,
      Firestone Tyre and Rubber Co. Ltd. v. Lewellin [1957] 1 W.L.R. 464 in
      which the House of Lords had upheld an assessment to tax on the
      footing that the business of a subsidiary was carried on as agent for its
 Q    parent company and so was the business of its parent company. But that
      case was not one in which the corporate veil was lifted. It turned on the
      factual finding of agency. He referred also to E.E.C. cases in which the
      question for decision had been whether actions of a subsidiary could, for
      the purpose of article 86 of the E.E.C. Treaty, be attributed to the
      parent company. In Istituto Chemioterapico Italiano S.p.A. and
      Commercial Solvents Corporation v. Commission of the European
 D     Communities (Cases 6 and 7/73) [1974] E.C.R. 223, 263, Advocate-
      General Warner said:
           "neither article 85 nor article 86 anywhere refers to 'persons.' In
           both articles the relevant prohibitions are directed to 'undertakings,'
           a much wider and looser concept. This indeed is what one would
           expect, because it would be inappropriate to apply rigidly in the
 E         sphere of competition law the doctrine referred to by English
           lawyers as that of Salomon v. Salomon & Co. Ltd. [1897] A.C.
           22—i.e. the doctrine that every company is a separate legal person
           that cannot be identified with its members. Basically that doctrine
           exists in order to preserve the principle of limited liability. It is
           concerned with the rights of creditors in the context of company
  _        law. It has been applied, with more or less happy results, in other
           spheres, such as those of conveyancing, of contracts and of liability
           for tort. But to export it blindly into branches of the law where it
           has little relevance, could, in my opinion, serve only to divorce the
           law from reality. Suppose, my Lords, that C.S.C. had traded in
           Italy through a branch office. There could have been no doubt then
           that it was amenable to the jurisdiction of the Commission and of
 G         this court. Could it have made any difference if C.S.C. has chosen
           to trade in Italy through a wholly owned subsidiary? The difference
           would have been one only of legal form, not of reality. Why then
           should it make any difference that it chose to trade in Italy through
           a subsidiary that it controlled by a 51 per cent, majority rather than
           by a 100 per cent, majority? What matters in this field, in my view,
  H        is control, not extent of beneficial ownership."
       He said, at p. 264:
            "It is, my Lords, with these considerations in mind that I approach
            the argument of C.S.C. in the present case. In my opinion those

                                                                        APP.302
3:18-cv-00731-X
      476       Document 273-6 Filed 07/30/19                      Page 286 of 421 PageID 1
     Scott J.              Adams v. Cape Industries Pic. (Ch.D.)           [1990]

           considerations import at least: 1. that there is a presumption that a A
           subsidiary will act in accordance with the wishes of its parent
           because according to common experience subsidiaries generally do
           so act; 2. that, unless that presumption is rebutted, it is proper for
           the parent and the subsidiary to be treated as a single undertaking
           for the purposes of articles 85 and 86 of the E.E.C. Treaty . . ."
     In my opinion, however, this approach is not suitable to a resolution of        B
     the question with which I am faced. The question in the present case is
     not whether the economic reality of the activities of the Cape group
     justifies the conclusion that Cape, the parent, was trading in the United
     States. Perhaps it was. But trading in a country is insufficient, by the
     standards of English law, to entitle the courts of the country to take in
     personam jurisdiction over the trader: see the Littauer Glove Corporation
     case, 44 T.L.R. 746. The trading must be reinforced by some residential         ^
     feature, be it a branch office or a resident agent with power to contract.
         Mr. Morison pointed out that the economic function being discharged
     by N.A.A.C. from its Illinois office served, in the context of the trading
     activities of the Cape group as a whole, the same function as could have
     been discharged by a branch office at the same address. Since in the
     latter case Cape would have been resident in Illinois, why should it not        j)
     be held to be resident in the former case? In my opinion, however, this
     argument overlooks the nature of the fundamental question at issue.
     The fundamental question is whether the United States court was
     entitled, on territorial grounds, to take jurisdiction over Cape. Cape was
     entitled, if it wished, to organise its group activities so as to avoid being
     present in the United States of America. The group traded in the
     United States through subsidiaries, Egnep, Casap, N.A.A.C. and                  E
     Capasco. Each discharged a function relevant to the group business in
     the United States, but N.A.A.C. was the only one with a United States
     office. If Cape had been an individual, it would not, in my view, have
     been arguable that in trading in such a fashion Cape had subjected itself
     to the territorial jurisdiction of the United States' courts. Why should
     Cape's corporate character justify any different conclusion?                    p
         The approach to be adopted to parent companies trading through
     subsidiaries was considered by Roskill L.J. in The Albazero [1977] A.C.
     774. He said, at p. 807:
           "each company in a group of companies (a relatively modern
           concept) is a separate legal entity possessed of separate legal rights
           and liabilities so that the rights of one company in a group cannot
           be exercised by another company in that group even though the
           ultimate benefit of the exercise of those rights would enure
           beneficially to the same person or corporate body irrespective of the
           person or body in whom those rights were vested in law."
     He referred to this principle as one of the "fundamental principles of
     English law long established." The decision of the Court of Appeal was
     reversed by the House of Lords, but nothing was said to detract from
     the principle referred to by Roskill L.J.
         In Bank of Tokyo Ltd. v. Karoon [1987] A.C. 45, 53 Ackner L.J.
     said:
                                                                      APP.303
3:18-cv-00731-X Document  273-6 Filed 07/30/19                             477421 PageID 1
                                                                Page 287Scott
                                                                          of
       1 Ch.        Adams v. Cape Industries Pic. (Ch.D.)                     J.

   A       "It is however quite fundamental to Mr. Hoffmann's submission,
           (and he readily accepts this) that the public policy on which he
           relied requires the court to overlook the corporate distinctions in
           law between B.T. and B.T.T.C. While accepting that B.T. and
           B.T.T.C. are separate legal entities, Mr. Hoffmann contends that
           from a practical point of view it makes no difference whether
           B.T.T.C. was a branch of B.T. or a subsidiary. He argues that if
   °        one looks at the substance of the matter, B.T. are being sued in
           New York on account of the evidence which they gave in their own
           defence in proceedings brought against them by Mr. Karoon in
           London. The protection of B.T.'s own interests required the giving
           of this information and accordingly B.T., which must in practice be
           treated as having this information in their possession, was not in
   Q       breach of its implied obligation of secrecy: see Tournier v. National
           Provincial and Union Bank of England [1924] 1 K.B. 461. The
           reality of the matter is that B.T.T.C. is not a branch of B.T. That is
           not the way in which B.T. has chosen to organise its business as a
           bank."
       Robert Goff L.J. said, at p. 64:
          "Mr. Hoffmann suggested beguilingly that it would be technical for
          us to distinguish between parent and subsidiary company in this
          context; economically, he said, they were one. But we are concerned
          not with economics but with law. The distinction between the two
          is, in law, fundamental and cannot here be bridged."
   £   These statements of principle seem to me to be an answer to the
       submission that in the present case the separate corporate identity of
       N.A.A.C. should be ignored and that the corporate veil should be
       lifted. On the facts of this case neither Cape nor Capasco had an office
       in Illinois. The 150, North Wacker Drive offices were N.A.A.C.'s
       offices. N.A.A.C.'s business was its own business, not the business of
       Cape or of Capasco. N.A.A.C. had no authority to contract on behalf
   F   of Cape or Capasco or any other company in the Cape group.
       Accordingly, in my judgment, the presence of N.A.A.C. at 150, North
       Wacker Drive, Chicago, Illinois, did not constitute the presence in
       Illinois of Cape or of Capasco so as to subject them, on a territorial
       basis, to the jurisdiction of United States courts.
            On 1 November 1977 Cape resolved to place N.A.A.C. in liquidation
   Q   and on 31 January 1978 a liquidating trust agreement for N.A.A.C. was
       signed. N.A.A.C. executed articles of dissolution on 18 May 1978 and a
       certificate of dissolution was issued on 19 May 1978. It was the intention
       of all concerned that N.A.A.C.'s functions in the United States in
       respect of the sale of Cape's amosite asbestos would come to an end on
       31 January 1978. They did so. However, N.A.A.C. at that date was the
       owner of a quantity of asbestos held in United States warehouses. Over
   "   the period of 31 January to 18 May 1978 sales of this asbestos took
       place. These sales were not made in the course of N.A.A.C. carrying on
       business as a going concern. They were made for the purposes of the
       intended liquidation of N.A.A.C.

                                                                     APP.304
      478
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 288 of 421 PageID 1
     Scott J.             Adams v. Cape Industries Pic. (Ch.D.)           [1990]

         The decision to put N.A.A.C. into liquidation was a consequence of        A
     the experience of Cape in the Tyler 1 actions. It had become apparent
     to the senior management of Cape by, at latest, the summer of 1977 that
     actions in the United States brought against Cape by plaintiffs
     complaining of injury caused by exposure to asbestos dust presented a
     very real problem. This had, perhaps, become apparent a good deal
     earlier. It was in 1975 that Mr. Higham and Dr. Gaze had resigned from
     the board of N.A.A.C, a step taken in order to reduce the appearance          ^
     of Cape involvement with N.A.A.C. But by 1977 Cape's motions on
     jurisdiction had been dismissed by Judge Steger and in September 1977
     Cape had agreed to pay some $5m. in order to dispose of the Tyler 1
     actions. It was clear to all that a multitude of similar actions lay ahead.
     It was in these circumstances that the decision to liquidate N.A.A.C.
     was taken.                                                                    Q
         Mr. Penna was the main witness for Cape as to the circumstances in
     which N.A.A.C. was placed in liquidation and in which A.M.C. and
     C.P.C. were formed. He was, in the period 1975 to 1979, employed by
     Cape as its group solicitor. In 1982 he became company secretary, a
     position he held until 1985 when he left to take up other employment.
     He told me of meetings in Chicago and in London in November and
     December 1977 at which discussions took place between senior executives       D
     of the Cape group, including Mr. Morgan, and at which decisions were
     taken to place N.A.A.C. in liquidation and to form A.M.C. and C.P.C.
     as the corporate vehicles for the sale of Cape asbestos in the United
     States. Mr. Penna was inclined to suggest that the decision to place
     N.A.A.C. in liquidation and the decision by means of A.M.C. and
     C.P.C. to create a new sales framework for the United States were             £
     independent of one another. He also suggested that the idea of
     incorporating C.P.C, a new and independent Illinois corporation, to
     take over part of the selling function formerly discharged by N.A.A.C.
     came from Mr. Morgan who, in effect, offered Cape the services of his
     new company, C.P.C. This slant on the facts is one that I found myself
     unable to accept. I am satisfied from the evidence that the arrangements
     made regarding N.A.A.C, A.M.C. and C.P.C. were part of one                    F
     composite arrangement designed to enable Cape asbestos to continue to
     be sold into the United States while reducing, if not eliminating, the
     appearance of any involvement therein of Cape or its subsidiaries.
         The decision to put into effect this composite arrangement was
     associated with Cape's decision to take no part in any other asbestos
     related action brought against it in the United States, whether in Tyler,     Q
     Texas, or elsewhere. Cape was prepared to let default judgments be
      taken against it or its subsidiaries. Cape had no assets in the United
     States apart from its shares in N.A.A.C, which, by reason of N.A.A.C's
     own contingent liability to plaintiffs in asbestos related actions, were
     worthless. Cape's intention and concern was to resist enforcement in
      England of any default judgments. Enforcement was intended to be
     resisted by contesting the legitimacy, under English common law, of the       "
     jurisdiction taken by the United States courts over foreign companies. A
     defence on these lines would require the trading connection between
      Cape and its subsidiaries and the United States to be kept to a

                                                                      APP.305
3:18-cv-00731-X Document 273-6 Filed 07/30/19                                479421 PageID 1
                                                                    Page 289 of
      1 Ch.                 Adams v. Cape Industries Pic. (Ch.D.)          Scott J.

  A   minimum. Hence the need to liquidate N.A.A.C, Cape's United States
      subsidiary, and to allow at least some of N.A.A.C.'s trading functions to
      be assumed by an Illinois corporation that was not a subsidiary, i.e.
      C.P.C. If and to the extent that Mr. Penna's evidence suggests a
      different provenance or motive for the arrangements that were made, I
      do not accept it.
          But the question whether C.P.C.'s presence in Illinois can, for
      jurisdiction purposes, be treated as Cape's presence, must, in my view,
      be answered by considering the nature of the arrangements that were
      implemented, not the motive behind them. The documentary evidence I
      have seen has made clear that the senior management of Cape, including
      Mr. Penna, were very anxious that Cape's connections with C.P.C. and
      with A.M.C. should not become publicly known. Some of the letters
  C   and memoranda have a somewhat conspiratorial flavour to them. But
      this too, although interesting to notice, is not, in my opinion, relevant to
      the main question.
          The new trading arrangements involved these features: (i) A.M.C, a
      Liechtenstein corporation, was incorporated by a Dr. Ritter, a well-
      known Liechtenstein lawyer. The bearer shares in A.M.C. were held by
  D   Dr. Ritter upon trust for C.I.O.L. The cost of incorporating A.M.C.
      was, I think, borne by Capasco. It was certainly borne within the Cape
      group. The intention was that all sales of Cape asbestos to United States
      customers would be made by A.M.C. The exact nature of the
      arrangements with Egnep and Casap whereby A.M.C. became the
      owner of the asbestos has not been disclosed by the evidence adduced
      before me. This is not surprising since the relevant documentation has,
  E   since the sale of C.I.O.L. and Casap to Transvaal Consolidated
      Exploration Co. Ltd., been under the control of Transvaal Consolidated.
      It seems clear, however, that A.M.C. was no more than a corporate
      name. It was described by Mr. Penna as "an invoicing company" with
      no employees of its own. I would expect to find, if all the relevant
      documents were available, that A.M.C. acted through employees or
  F   officers of either Casap or Egnep.
          (ii) C.P.C. was incorporated on 12 December 1977. The shares were
      issued to Mr. Morgan. The lawyers acting in the incorporation were
      Lord, Bissell & Brook. There is no clear evidence as to who paid the
      costs of incorporation. I am prepared to assume that, directly or
      indirectly, the funds came from Cape or Capasco. This assumption does
  „    not lead to the conclusion that Cape or Capasco was the beneficial
      owner of the C.P.C. shares. It was an essential feature of the new
      trading arrangements that the new Illinois corporation would be an
      independent corporation outside the Cape group owned as well as
      managed by Mr. Morgan. There would not, in these circumstances, be
      any equity in the shares that Cape could claim as against Mr. Morgan.
      In my opinion, the C.P.C. shares were, in equity as well as in law,
  H   owned by Mr. Morgan.
          (iii) An agency agreement dated June 1978 was entered into. The
      parties were A.M.C, C.P.C. and Mr. Morgan. This is an important
      agreement. Under paragraph 1, A.M.C. appointed C.P.C:
                                                                       APP.306
3:18-cv-00731-X
      480       Document 273-6 Filed 07/30/19                      Page 290 of 421 PageID 1
     Scott J.              Adams v. Cape Industries Pic. (Ch.D.)           [1990]

           "as its exclusive advice and consultancy bureau to assist the sale of    A
           its asbestos fibre (the product) in the United States of America,
           Canada and Mexico (hereinafter jointly called 'the territory') for a
           period of 10 years from 1 February 1978 to 31 January 1988 . . . "
     There was a proviso for termination on 12 months' notice. Paragraph 3
     set out the duties of C.P.C. It provided:
          "C.P.C. will carry out this appointment diligently exercising all B
          reasonable care and skill and will without limiting the generality
          hereof (a) keep A.M.C. advised at regular intervals as to competitor
          products market conditions and other commercial matters of mutual
          interest; (b) perform such services as may be required to facilitate
          or expedite the delivery of products contracted to be sold by
          A.M.C. in the territory; (c) endeavour to seek out and promote Q
          prospective business on behalf of A.M.C. and forward to A.M.C.
          requests for supplies of products provided always that supplies shall
          only be at prices and upon terms and conditions determined by
          A.M.C."
     Under paragraph 4, C.P.C. agreed to "use its best endeavours to
     promote the sale of the product on behalf of A.M.C. within the                 rj
     territory." Paragraph 4(d) provided inter alia:
          "nothing herein shall be construed to give C.P.C. any authority to
          accept any orders to make any sales or to conclude any contracts on
          its behalf."
     "Its behalf" in that context was a reference to A.M.C. Paragraph 5
     coupled with paragraph 4(b) left C.P.C. free to sell material and E
     products other than asbestos fibre and to involve itself in other
     commercial activities. Paragraph 6 required C.P.C.
          "at its own cost and expense [to] provide proper office accommoda­
          tion and staff for the purpose of running an efficient advice and
          consultancy bureau and will pay all expenses incurred in maintaining
          and operating the same."                                             F
     Paragraph 7 provided for C.P.C. to be remunerated by a percentage
     commission based on the cost of all asbestos sales by A.M.C. in the
     territory. Paragraph 11 gave A.M.C. an option in certain circumstances
     to acquire the C.P.C. shares:
           "CM. shall in such event offer all shares owned by him in C.P.C.
          for sale to A.M.C. (or such nominee as it may appoint) at their net       ^
          book value excluding goodwill . . . "
     Paragraph 12 contained an acknowledgement that beneficial ownership
     of the name "Continental Products Corporation" belonged to A.M.C.
         I have endeavoured to give a broad indication of the contents of this
     agency agreement. C.P.C. commenced business on 1 February 1978—in
     order to dovetail with N.A.A.C.'s cesser of business on 31 January             "
     1978—but there is no evidence that between 1 February and 5 June
     1978, or for that matter thereafter, C.P.C. did any business inconsistent
     with the terms of the agency agreement. I conclude, therefore, that the
                                                                      APP.307
3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 291 of481
                                                                                 421 PageID 1
       1 Ch.                Adams v. Cape Industries Pic. (Ch.D.)           Scott J.

  A    terms of the agreement are a reliable guide to the nature of the
       relationship between C.P.C. and A.M.C. and, hence between C.P.C.
       and Cape.
           (iv) C.P.C. leased offices on the 12th floor of 150, North Wacker
       Drive. N.A.A.C.'s offices had been on the fifth floor. A.M.C.'s
       employees became C.P.C.'s employees. A good deal, though not all, of
       the furniture and fittings in N.A.A.C.'s offices were removed to C.P.C.'s
  "    offices. C.P.C. took over N.A.A.C.'s telephone number.
           (v) The financial agreements in connection with the commencement
       by C.P.C. of business are, on the evidence I have seen, somewhat
       obscure. It is clear that C.P.C. would have had an immediate need of
       funds. N.A.A.C.'s furniture and fittings had to be paid for. Rent had to
       be paid for the 12th floor offices at 150, North Wacker Drive. The
  C    salaries of the employees, all ex-N.A.A.C. employees, had to be paid.
       There were, no doubt, other outgoings as well. But commission under
       the agreement with A.M.C. would not be payable immediately. There is
       evidence that a sum of $12,000 was paid to C.P.C. by N.A.A.C. In one
       of his depositions Mr. Morgan described this sum as made up of $10,000
       severance pay due to him from N.A.A.C. and paid at his request to
  „     C.P.C, and $2,000 as C.P.C.'s charge for storing various files. It seems
       likely that this sum of $12,000 was calculated to assist C.P.C. in meeting
       the cost of establishing itself at its new offices: see the letter of 23
       November 1977, Mr. Morgan to Dr. Gaze, and Mr. Penna's memorandum
       of 2 December 1977. But, in addition, there is a mysterious sum of
       $160,000 that was paid to C.P.C. on 4 January 1978. The Cape
       documents that reveal this payment show it to have been a payment
  E    from a bank account of Cape with Chase Manhattan Bank in London.
       Mr. Penna said that he thought it was a payment on account of future
       commission. He said he did not think it would have been a loan.
           In the absence of any clear alternative explanation of the payment of
       this $160,000 to C.P.C, I infer that it was intended to enable C.P.C. to
       meet its overheads until payment of commission began to come in.
  p    Whether it was intended that the $160,000 should be set off against
       future commission is not clear. This is no evidence one way or the
       other. I shall assume that it was not so intended and that it was a
       payment made by Cape to enable C.P.C. to set up in business and to
       perform the agency obligations expected of it. Acting as agent in
       connection with sales of Cape asbestos was not C.P.C.'s only business
       activity. In addition, it traded in asbestos textiles on its own account,
  "     buying and selling as principal.
           The conclusions of fact that I have set out above are not consistent
       with the contents of an affidavit sworn by Mr. Morgan on 16 March
        1988 and introduced into evidence under the Civil Evidence Act 1968.
       In paragraph 5 of his affidavit, Mr. Morgan deposes:
             "Prior to 6 January 1978 I had negotiated with a representative of
  **         an entity known as Associated Minerals Corporation (hereinafter
             called 'A.M.C.'). I understood that this company was an independent
             South African trading company which distributed asbestos for sale
             in international commerce."
                                                                        APP.308
3:18-cv-00731-X
      482       Document 273-6 Filed 07/30/19                      Page 292 of 421 PageID 1
     Scott J.              Adams v. Cape Industries Pic. (Ch.D.)           [1990]

     This evidence is, in my opinion, disengenuous and false. Negotiations          A
     regarding the new trading arrangements in which Mr. Morgan took part
     were negotiations, as he must have known, with Cape. I reject as false
     his evidence that he understood A.M.C. to be an independent South
     African trading company. I am satisfied that he knew very well it was a
     creature of Cape. It follows from the falsity of paragraph 5 that I am
     unable to place any reliance on the accuracy of the rest of the affidavit.
     The conclusions I have expressed about the $160,000 derive from my             "
     opinion as to the probabilities inherent in the incorporation of C.P.C.
     and its commencement of business. They do not derive from Mr.
     Morgan's evidence.
         C.P.C.'s conduct of its affairs was much the same as N.A.A.C.'s had
     been. It paid the rent for its offices and paid its employees. It received
     commission from A.M.C. as well as incurring expenditure and receiving          Q
     payments in connection with its independent trading activities.
         Does the manner in which C.P.C. was established and carried on
     business justify the conclusion that C.P.C.'s presence in Illinois can, for
     jurisdiction purposes, be treated as the residence or presence of Cape?
     In my judgment, the answer is "No." I do not think, on analysis, that
     the plaintiffs' case is any stronger than their case regarding N.A.A.C. If
     anything, I think the case is weaker. N.A.A.C. was at least a wholly           D
     owned subsidiary. C.P.C. even if incorporated and launched with Cape
     money, was, on my reading of the facts, an independently owned
     company. Like N.A.A.C, C.P.C. acted as agent for the purpose of
     facilitating the sale in the United States of Cape's asbestos. The seller of
     the asbestos in N.A.A.C.'s time was Egnep or Casap. The seller in
     C.P.C.'s time was, nominally, A.M.C. but, in reality, still, I think,          g
     Egnep or Casap. C.P.C, like N.A.A.C, had no authority to bind
     Egnep, Casap or any other of the Cape subsidiaries to any contract.
     C.P.C. like N.A.A.C. carried on its own business from its own offices at
     150, North Wacker Drive. The provision by Cape of the $160,000 as a
     starting-up fund does not make the offices Cape's offices or the business
     Cape's business.
         Mr. Morison made a number of points on the evidence regarding              F
     N.A.A.C. and C.P.C. with which I agree. He drew attention to the
     paucity of documents dealing with and revealing the true nature of the
     $160,000 and commented that there must be officers or ex-officers of
     Cape who could have given evidence about this. I agree. He invited me
     to infer that the $160,000 was a necessary payment to discharge the
     initial running expenses of C.P.C. I do so infer. He criticised Mr.            Q
     Penna's evidence regarding A.M.C. and C.P.C. and pointed out that it
     was Mr. Penna who had co-ordinated the setting up of A.M.C. I think
     this criticism was well founded. But none of this is, in my opinion,
     critical. What is critical is what C.P.C. and N.A.A.C. actually did on
     behalf of Cape or Capasco. Each company, C.P.C. and N.A.A.C,
     assisted in the sale of Egnep's asbestos in the United States. That is not
     enough. Mr. Morison invited me to infer from, in particular, Mr.               "
     Penna's evidence that the corporate form of the Cape group was form
     only. I am not prepared to infer this. The evidence does not, in my
     view, justify it. Each corporate member of the Cape group had its own

                                                                      APP.309
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 293483
                                                                            of 421 PageID 1
     1 Ch.                 Adams v. Cape Industries Pic. (Ch.D.)          Scott J.

 A   well-defined commercial function designed to serve the over-all
     commercial purpose of mining and marketing asbestos. But that does
     not constitute a reason why Cape, the parent company, should be
     treated as present and amenable to be sued in each country in which a
     subsidiary was present and carrying on business.
          Finally, Mr. Morison submitted that the onus was on Cape to
     establish that it was not resident in the United States and that I should
 B   hold that Cape had failed to discharge that onus. I am not satisfed that
     it is correct to say that the onus lies on Cape to establish that it was not
     resident in the United States. The position seems to me to be this. The
     plaintiffs sue Cape on a judgment given by a United States court. The
     judgment is an apparently regular one. Cape disputes jurisdiction on
     the ground that it is a foreign company with no place of business
 Q   in the United States. The plaintiffs' answer is to assert that the presence
     in the United States of N.A.A.C. and C.P.C. is to be treated as Cape's
     presence. But each of N.A.A.C. and C.P.C. is in law an individual legal
     persona. A contention that the presence in the United States of either is
     to be treated as the presence of Cape requires, in my opinion, he who
     so contends to establish facts sufficient to support the contention. This,
     in my judgment, the plaintiffs have failed to do.
 D        The plaintiffs' main case on "presence" was based upon the presence
     in the United States of N.A.A.C. and C.P.C. In his reply, Mr. Morison
     raised a third possibility. He suggested that A.M.C. may have been
     present in Illinois at the relevant time and that, whatever the position
     regarding N.A.A.C. and C.P.C, A.M.C. was, in effect, Cape. This
     suggestion was based on the evidence of Mr. Summerfield who testified
 g   that an inspection of 150, North Wacker Drive in August 1984 revealed
     a notice-board giving the names of both C.P.C. and A.M.C. as the
     occupants of the 12th floor offices. Whether this notice-board was in the
     same state in 1979 when the sale to Transvaal Consolidated Exploration
     Co. Ltd. took place is not known. There is an allegation in the pleadings
     that, when the Tyler 2 actions were commenced, A.M.C. was present at
     150, North Wacker Drive and, if I understood Mr. Morison correctly,
 F   his submission was that since the onus was on Cape to satisfy me that it
     was not present in the United States, it was for Cape to establish that
     A.M.C. was not present in the United States at any material time. I do
     not accept this approach. There is no positive evidence to suggest that
     A.M.C. was an occupant of the 150, North Wacker Drive offices at the
     time the Tyler 2 actions were commenced.
 Q        I should also mention, in connection with Mr. Morison's wielding of
     the onus argument, a point made by him arising out of evidence given
     by Mr. Penna that there had at one time been an agency agreement
     between Cape and Capasco under which all of Capasco's business had
     been carried on by Capasco as agent for Cape. In effect, Capasco's
     business was Cape's business. This agreement had, said Mr. Penna, been
     terminated in the mid 1970s. He said that he had never seen any like
 "    agency agreement between Cape and N.A.A.C. and did not think there
     had been one, but that he could not exclude the possibility. Mr. Morison
     submitted that the burden lay on Cape to satisfy me that there was no
      agency agreement between Cape and N.A.A.C. comparable to that

                                                                       APP.310
      484
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 294 of 421 PageID 1
     Scott J.             Adams v. Cape Industries Pic. (Ch.D.)           [1990]

     between Cape and Capasco. I was so satisfied from, in particular, the A
     form of N.A.A.C.'s annual accounts. These were drawn on the footing
     that N.A.A.C.'s business was its own business. There is nothing to
     suggest that the accounts were drawn on a false footing. The
     correspondence between N.A.A.C. and Cape concerning the amount of
     the annual dividend to be declared by N.A.A.C. is entirely consistent
     with the inferences to be drawn from the accounts. But, in any event,
     there is no positive evidence to suggest that there was ever an agency ^
     agreement between N.A.A.C. and Cape on the lines of that between
     Cape and Capasco to which Mr. Penna had referred.
         1.1 my judgment, therefore, neither the presence in Illinois of
     N.A.A.C. nor the presence in Illinois of C.P.C. can be represented, for
     jurisdiction purposes, as the presence in Illinois of Cape or Capasco. It
     follows that there was, in my judgment, no territorial basis that entitled Q
     the Tyler court, by English common law standards, to take jurisdiction
     over Cape or Capasco.

     Issue 6
         The question whether the residence or presence of Cape and Capasco
     in Illinois entitled the Federal Court of Tyler, Texas, to take jurisdiction ^
     over them does not, if my conclusions under 4 and 5 above are right,
     arise. But it is clear that this case is likely to go further, and I think,
     therefore, that I should deal with all the questions argued before me.
     For the purpose of this question I must assume that Cape and Capasco
     were present in Illinois when the Tyler 2 actions were commenced. I
     must start by describing, in outline, the nature, function and jurisdiction
     of a United States district court. To enable me to do so, I have had E
     great assistance from the eminent United States jurists who have given
     evidence in this case.
         Section 1 of article III (the judicial article) of the United States
     Constitution vests the judicial power of the United States in a Supreme
     Court and such inferior courts as Congress may from time to time
     establish. Federal circuit courts and federal district courts have been p
     established by Congress pursuant to this power. The procedure to be
     observed by federal courts may be laid down either by Congress or the
     Supreme Court.
         Judges of federal courts are appointed by the President of the United
     States and confirmed by the Senate. They are appointed for life and can
     be removed only by Congress. Their salaries and expenses are a charge
     on federal funds. They take oaths of allegiance to the United States G
     Constitution. All this is in contrast to judges of state courts who are
     appointed by a state authority, are paid for by the state and take oaths
     of allegiance to the state. The federal court system is headed by the
     Supreme Court. Below the Supreme Court are the circuit courts, the
     courts of appeals. The United States is divided into 13 judicial circuits,
     each of which has a court of appeals. The Fifth Circuit includes
     Louisiana, Mississippi and Texas. Judges of the circuit courts of appeals
     are the circuit judges. The federal courts of first instance are the district
     courts. Each state is, according to its population, allocated a number of
     districts. Each district is allocated a number of judges. Texas has four
                                                                      APP.311
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 295485
                                                                            of 421 PageID 1
     1 Ch.                 Adams v. Cape Industries Pic. (Ch.D.)          Scott J.

 A   districts, one of which is the eastern district. The eastern district of
     Texas comprises seven divisions, one of which is the Tyler Division and
     another of which is the Marshall Division. Judge Steger was a district
     judge of the eastern district of Texas. He sat both at Tyler and at
     Marshall, as well as at other venues in the eastern district.
         The subject matter jurisdiction of federal district courts established
     by Congress is set out in Chapter 85 of Title 28 of the United States
 B   Code, entitled "Judicial Code and Judiciary." Section 1331 entitled
     "Federal question," provides: "The district courts shall have original
     jurisdiction of all civil actions arising under the constitution, laws or
     treaties of the United States." This is an exclusive jurisdiction. Actions
     of this character cannot be entertained by state courts unless specific
     statutory authorisation is given.
 Q       Section 1332 is headed "Diversity of citizenship." Paragraph (a) of
     the section provides:
           "(a) The district courts shall have original jurisdiction of all civil
          actions where the matter in controversy exceeds the sum or value of
          $10,000, exclusive of interest and costs, and is between (1) citizens
          of different states . . . "
     Diversity jurisdiction, unlike federal question jurisdiction, is not an
     exclusive jurisdiction. An action involving diversity of citizenship which
     could have been brought in a federal district court can be commenced, if
     the plaintiff so elects, in a state court. Any defendant, however, may
     apply to the federal district court for the removal of the action, as of
     right, to the district court. But in the absence of any such application
 E   the case may be prosecuted to judgment in the state court.
         The necessity for Congress to have endowed federal district courts
     with federal question jurisdiction is, perhaps, obvious. Laws passed by
     Congress, treaties of the United States, the Constitution of the United
     States, may give rise to civil justiciable issues. Courts for the trial of
     such issues are necessary. Chapter 85 also gives district courts original
     jurisdiction over actions brought against foreign states (section 1330) or
     brought by or against the United States itself (section 1345 and 1346). In
     addition, original jurisdiction over a number of specified types of actions
     is given to district courts. These include admiralty and maritime cases
     (section 1333), bankruptcy cases (section 1334), patent cases (section
     1338), civil rights cases (section 1343) and many others. The explanation
     for the jurisdiction given to the federal courts can in all these cases be
 Q   found in the nature of the actions in question.
         Diversity of citizenship jurisdiction, however, has a different
     provenance from any of these. There is no obvious constitutional reason
     why diversity jurisdiction should have been conferred on federal courts.
     A breach of contract action between two citizens of the State of New
     York can be entertained by the courts of New York. So can an action in
     contract between a citizen of New York and a citizen of Illinois. The
 "   need to have provided in the latter case for federal district courts to
     have an overriding jurisdiction is not in the least obvious. The
     explanation for diversity jurisdiction given by the commentators and
     accepted by the witnesses before me is, broadly, that at the time of
                                                                       APP.312
      486
3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 296 of 421 PageID 1
     Scott J.               Adams v. Cape Industries Pic. (Ch.D.)              [1990]

     union there was not the same confidence as there would be today in the              A
     judicial qualities of state judges, and, in particular, in their impartiality
     when trying an action between a citizen of their own state and a citizen
     of another state. It was, so the explanation goes, thought necessary to
     provide defendants with an opportunity, when sued by a citizen of
     another state, to have the action heard in a federal court. Consistent
     with this explanation for the conferring of diversity jurisdiction on
     federal district courts is the opinion of some distinguished United States          B
     jurists that diversity jurisdiction has served its purpose and could with
     no disadvantage now be abolished.
         It is inherent in diversity of citizenship jurisdiction that it is the
     identity of the parties, not the nature of the action, that confers
     jurisdiction on the district court.
         A federal district court exercising its diversity of citizenship jurisdiction   Q
     does not, save as to matters of procedure, apply federal law to the
     determination of the rights which are in issue. It applies state law. Thus,
     in the case of a contract governed by the law of Illinois, a breach of
     contract action may be brought by a citizen of Illinois against a citizen of
     Texas in a federal district court in Illinois; the law applied will be the
     law of Illinois. If there is a car accident in New York, the law of New
     York will determine the rights of any injured persons. That will be so              D
     whether an action for redress is brought in a New York state court or in
     a New York federal district court. That this is so was established by the
     seminal decision of the United States Supreme Court in Erie Railroad
     Co. v. Tompkins (1938) 304 U.S. 64. Justice Brandeis said, at p. 78:
           "Congress has no power to declare substantive rules of common law
           applicable in a state whether they be local in nature or "general,"           E
           be they commercial law or a part of the law of torts. And no clause
           in the Constitution purports to confer such a power upon the
           federal courts."
     In a later Supreme Court case, Prima Paint Corporation v. Flood &
     Conklin Manufacturing Co. (1967) 388 U.S. 395, 404, Justice Fortas
     said:
           "Since the decision in Erie Railroad Co. v. Tompkins . . . federal
          courts are bound in diversity cases to follow state rules of decision
           in matters which are 'substantive' rather than 'procedural,' or where
          the matter is 'outcome determinative.'"
     The decision in Erie Railroad Co. v. Tompkins, 304 U.S. 64 is, I think, G
     broadly accepted by U.S. jurists as resting
         "on the principle that the federal government as a whole, including
         Congress and the federal courts, has no more authority than that
         given to it by the Constitution. This principle, which is inherent in
         the political theory underlying the very concept and structure of the
         federal government, is reinforced by the 10th Amendment, which H
         reserves to the states or to the people those powers not delegated to
         the federal government by the Constitution": see Federal Practice
         and Procedure by Wright, Miller & Cooper, vol. 19, para. 4505.
                                                                         APP.313
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 297487
                                                                            of 421 PageID 1
     1 Ch.                 Adams v. Cape Industries Pic. (Ch.D.)           Scott J.

 A       Federal district courts sitting in diversity have, therefore, a dual
     character. In one sense they are national courts established and funded
     centrally; but they are applying state substantive law and, in that sense,
     may be regarded as state courts.
         In order to entertain an action, a federal district court must not only
     have subject matter jurisdiction but also in personam jurisdiction over
     the defendants in the suit. It is an important and somewhat curious
 "   feature of the manner in which federal district courts are established
     that, save in cases specially provided for by Congress or the Supreme
     Court, each district court exercises the in personam jurisdiction permitted
     by the law of the state in which it sits: see Federal Rules of Procedure,
     rule 4. Thus, if an action for personal injuries is commenced in New
     York against a defendant resident in California, the jurisdiction of the
 Q   New York court over that defendant will depend upon the "long arm"
     statute of the state of New York. Each state has its own "long arm"
     statute serving, broadly, the purpose that R.S.C., Ord. 11 serves for our
     own jurisdiction. There is no separate federal "long arm" statute that
     Congress or the Supreme Court have enacted so as to confer special
     federal in personam jurisdiction on federal district courts. They must
     rely on the laws of the respective forum states. In Point Landing Inc. v.
 D   Omni Capital International Ltd. (1986) 795 F. 2d 415, 419, a decision of
     the Court of Appeals for the Fifth Circuit, it was held:
          "Absent a rule or statute to the contrary, Federal Rule of Civil
          Procedure 4(e) permits a federal court to exercise jurisdiction over
          only those defendants who are subject to the jurisdiction of courts
          of the state in which the court sits."
 E
     This rule applies not only when the court is sitting in diversity but also
     when it is dealing with a federal question case or indeed any other type
     of case in which it has original jurisdiction.
         Accordingly, whether a federal district court is exercising federal
     question jurisdiction or whether it is exercising diversity jurisdiction, its
     entitlement to take jurisdiction over a particular defendant depends on
 F   the "long arm" statute of the forum state. The jurisdiction objections
     taken by Cape in Tyler 1 were taken on the ground that the "long arm"
     statute of Texas did not entitle the federal district court at Tyler, Texas,
     to take jurisdiction over Cape.
         The effect of this rule and authority is that the Tyler court in the
     Tyler 2 actions was sitting in diversity, was applying to the causes of
 G   action Texas state law and relied for its in personam jurisdiction over
     Cape on the Texas "long arm" statute.
         The question for me is whether presence in Illinois is, under English
     law, a sufficient foundation for jurisdiction to be taken by the federal
     district court sitting in Tyler, Texas.
         There is no doubt but that, for conflict of law purposes, each state
     within the United States is a "country" and that for many conflicts of
 "   law purposes the United States is not a "country." Each state, for
     example, has its own common law. The United States has no common
     law. A person may be domiciled in a state. Domicile in the United
     States as a whole is a meaningless concept. The proper law of a contract
                                                                       APP.314
3:18-cv-00731-X
       488      Document 273-6 Filed 07/30/19                      Page 298 of 421 PageID 1
      Scott J.             Adams v. Cape Industries Pic. (Ch.D.)           [1990]

      or of a tort may be the law of a state, but cannot be the law of the A
      United States as a whole. In Dicey's & Morris's Conflict of Laws, 11th
      ed. (1987), p. 26 there is this statement:
           "Meaning of 'country.' This word has from long usage become
           almost a term of art among English-speaking writers on the conflict
           of laws, and it is vitally important to appreciate exactly what it
           means. It was defined by Dicey as 'the whole of a territory subject g
           under one sovereign to one body of law.' He suggested that a better
           expression might be 'law district': but this phrase has never found
           much favour with English-speaking writers, who prefer the more
           familiar word 'country.' England, Scotland, Northern Ireland, the
           Isle of Man, Jersey, Guernsey, Alderney, Sark, each British colony,
           each of the American and the Australian states and each of the
           Canadian provinces is a separate country in the sense of the conflict C
           of laws, though not one of them is a state known to public
           international law."
      As part of the discussion of the meaning of the word "state," the text
      contains this statement, at p. 27:
          "A state may or may not coincide with a country in the sense of the       pj
          conflict of laws. Unitary states like Sweden, the Netherlands and
          New Zealand, where the law is the same throughout the state, are
          'countries' in this sense. But composite states like the United
          Kingdom, the United States, Australia and Canada are not."
      I find it difficult to accept that for some private international law
      purposes the United States may not be a "country." Take the case of a E
      federal district court hearing a federal anti-trust damages suit. The suit
      would be a federal question case, not a diversity case. The law being
      applied would be United States law, not state law. Professor Baade,
      giving evidence for the defendants, said that in a federal anti-trust case
      the "country" would be the United States. He accepted that this would
      be so even though the in personam jurisdiction of the court was p
      determined by the forum state's "long arm" statute. This seems to me to
      correspond with reality. Federal anti-trust law is the product of United
      States statute, not state statute, and applies to the whole of the United
      States. It is the United States Congress that has established the federal
      courts in which anti-trust suits may be litigated. They are United States
      courts. The in personam jurisdiction that enables a defendant in an anti­
      trust suit to be brought before a federal district court sitting in Texas is G
      dependent upon the Texas "long arm" statute but that is because
      Congress has not chosen to confer any specific federal in personam
      jurisdiction upon federal district courts. I did not understand it to be
      suggested that Congress could not, with constitutional propriety, do so if
      it so desired.
          It was suggested that when sitting in federal question jurisdiction a
      federal district court was, on analysis, applying state law. The analysis
      was based upon the provisions in the United States Constitution that
      give federal legislation national efficacy. Federal legislation becomes, in
      effect, it was argued, state law. Accordingly a federal district court in a
                                                                      APP.315
3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 299489
                                                                             of 421 PageID 1
     1 Ch.                 Adams v. Cape Industries Pic. (Ch.D.)             Scott J.

A    federal question case may be regarded as applying state substantive law
     just as a federal district court in a diversity case will be applying state
     substantive law.
         This analysis is, in my opinion, little more than sophistry. The
     distinction between federal law derived from federal statute, on the one
     hand, and state law, whether derived from common law or state statute,
     on the other hand, seems to me a clear one. It must have seemed clear,
"     too, to Congress in enacting paragraph 1331 of the United States Code
     which refers to "civil actions arising under the Constitution, laws or
     treaties of the United States." In my opinion, when a federal district
     court is dealing with a federal question case, it is applying federal
     substantive law, not state law.
         Suppose then, in a federal question case, a defendant who did not
Q    appear or take any part in the case had a damages default judgment
     entered against him. If the federal district court was sitting in Texas and
     the defendant was resident in Illinois, would an English court decline to
     enforce the judgment against the defendant on the ground that the
     "country" of the court was Texas and the court, by the standards of
     English law, lacked jurisdiction over the defendant? I do not see any
     reason why it should do so. The court would be a United States court
D    applying United States law. Why should not such a court in such a case
     command the obedience of a resident anywhere in the United States? I
     justify my reaction by relying on the fundamental principle underlying
     territoriality as a basis of jurisdiction. The sovereignty of the United
     States in its own territory is, of course, recognised by English law. The
     entitlement of the United States to establish in its territory courts in
g    which issues arising under its laws may be adjudicated upon and
     disposed of is an attribute of its sovereignty. It is also an attribute of its
     sovereignty that the United States is entitled to invest its courts with
     jurisdiction over any persons resident in its territory. If Congress had
     chosen to establish a federal district court at Washington D.C. for the
     purpose of dealing with federal anti-trust cases, and with in personam
     jurisdiction over any persons resident in the United States, the
 F    proposition that, under English law, that jurisdiction was excessive,
     would, in my view, have been unarguable. Under English law a resident
     in Alaska would owe the same obligation of obedience to such a court
     as would a resident of Washington D.C. The "country" of the court
     would, unarguably, be the United States as a whole.
          I have been discussing that which for present purposes is hypothetical.
Q     The Tyler court was sitting in diversity and was not dealing with a
     federal question case. But the arguments addressed to me by Sir
      Godfray Le Quesne on this issue have had at their core the proposition
      that the United States as a whole cannot be a "country" for private
      international law purposes nor, in particular, for the purpose of
      enforcement in England of a damages award made by a federal district
      court. I am unable to accept that proposition. In my judgment, where a
"     federal district court is exercising federal question jurisdiction it is doing
      so as a court of the United States in circumstances in which the
      "country" of the court is, for English law purposes, the United States. I
      therefore decline to approach the question before me on the footing that
                                                                          APP.316
      490
3:18-cv-00731-X Document   273-6 Filed 07/30/19                  Page 300[1990]
                                                                           of 421 PageID 1
      Scott J.      Adams v. Cape Industries Pic. (Ch.D.)

      the United States cannot be a "country" for enforcement of foreign A
      judgment purposes.
         The question before me is whether a federal district court sitting in
      diversity in a tort case is to be regarded, for enforcement purposes, as a
      court of the state in which it is sitting and whose law it is applying, or as
      a court of the United States which established it. There is no authority
      that provides an answer. A convenient starting point, however, is the
      judgment of Blackburn J. in Schibsby v. Westenholz, L.R. 6 Q.B. 155. ^
      He said, at p. 161—I have cited the passage before but I do so again:
           "If the defendants had been at the time of the judgment subjects of
           the country whose judgment is sought to be enforced against them,
           we think that its laws would have bound them. Again, if the
           defendants had been at the time when the suit was commenced
           resident in the country, so as to have the benefit of its laws C
           protecting them, or, as it is sometimes expressed, owing temporary
           allegiance to that country, we think that its laws would have bound
           them."
      How is this statement of principle to be applied where one sovereign
      state has a number of different systems of law that apply in different
      parts of its territory? Sir Godfray suggested that the critical question to
      be asked was whether the defendant was present within the territorial
      jurisdiction of the court which had given the judgment. He reminded me
      of the statement by Lord Selborne L.C. in the Rajah of Faridkote case
      [1894] A.C. 670, 683, that "all jurisdiction is properly territorial." If the
      defendant was not within the territorial jurisdiction of the court
      concerned, then, said Sir Godfray, it would be immaterial that he might E
      be resident in the jurisdiction of another court set up by the same
      sovereign power. I do not find difficulty in accepting these submissions,
      but they do not seem to me to point the way towards a solution to the
      main problem. The question whether Cape was present within the
      territorial jurisdiction of the federal district court at Tyler, Texas, is one
      which must be answered by reference to English international law. It is
      the attitude of English law to the territorial jurisdiction and competence *
      of a federal district court that I am trying to discover.
          Sir Godfray submitted that the criterion to be applied in answering
      the question depended on the function of the district court. If the
      function of the court when sitting in diversity was the administration of
      justice in Texas, then it should be regarded as a state court with a
      territorial jurisdiction covering Texas. Unless its function was the Q
      administration of justice in the United States as a whole, it should not
      be regarded as a United States court with a territorial jurisdiction
      covering the whole of the United States.
          Sir Godfray then analysed the characteristics of a federal district
      court and submitted that they showed the court, when sitting in diversity,
      to be part of the system for the administration of justice in the state in
      which it sat.                                                                  "
          If Sir Godfray's approach is correct, I do not think his analysis or
      conclusions can be faulted. But I am not satisfied that his approach is
      correct. The question as to whether a foreign court has, in the eyes of
                                                                       APP.317
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 301491
                                                                            of 421 PageID 1
     1 Ch.                 Adams v. Cape Industries Pic. (Ch.D.)         Scott J.

 A  English law, jurisdiction over a defendant, may receive an affirmative
    answer if a sufficient territorial connection between the defendant and
    the court can be established. But the territorial basis of jurisdiction is
    dependent upon and cannot, in my opinion, be divorced from, the
    sovereignty of the "country" that has established the court in question.
    It is, I think, recognition of the sovereignty of a foreign country that
    leads to recognition of the entitlement of its courts to take jurisdiction
 ° over persons resident in its sovereign territory. I do not regard the
    United Kingdom with its constituent private international law "countries"
    as inconsistent with this thesis. It would be open to Parliament, if it so
    desired, to create a court structure for the whole of the United Kingdom
    for a specified class of case. I can see no reason of principle why foreign
    countries, with a private international law similar to ours, should decline
 Q to recognise the jurisdiction of such a court over persons resident
    anywhere in the United Kingdom. The United States is a sovereign
    power with a territory over which its sovereignty extends. It has
    established courts whose in personam jurisdiction, although subject to
    limits and derived from state statutes, is capable of extending to
    individuals anywhere in the United States.
         As a matter of principle, in my view, if a United States court
 D exercises jurisdiction over a person resident in the United States, it is
    exercising powers inherent in the sovereignty which adheres to the
    United States. As a matter of principle, too, in my view, English law
    should recognise the legitimacy of that exercise of jurisdiction.
         It follows that I agree with Mr. Morison that the answer to the
    question which I must answer does not lie in investigating the function
 £ discharged by the court but lies in investigating the source of the
    authority of the court. Whatever the function of a federal district court
    in a diversity case, the source of its authority is to be found in the
    sovereign power which established it. For those reasons I conclude that
    the exercise of jurisdiction by a federal district court over a person
    resident in the United States is, by the standards of English law, a
    legitimate and not an excessive exercise of jurisdiction. If I had felt able
 F to conclude that Cape and Capasco were, when the Tyler 2 actions were
    commenced, present in Illinois, I would have held that to be a sufficient
    basis, in English law, for the exercise by the Tyler court of jurisdiction
    over them.
         There is one final point I wish to make before leaving this issue.
    Cape and Capasco protested the jurisdiction in the Tyler 1 actions. They
 Q contended that the Texas "long arm" statute did not entitle the Tyler
     district court to exercise in personam jurisdiction over them. Their
     objections were overruled by Judge Steger at an interlocutory stage but
     were never the subject of a final ruling. The objections were not
     renewed in the Tyler 2 actions for the obvious reason that Cape and
     Capasco took no part therein. But it remains the contention of Cape
     and Capasco that, under the Texas "long arm" statute, the Tyler district
 "■ court was not entitled to exercise in personam jurisdiction over them. In
     the course of argument before me, I thought for a time, wrongly, that
     the alleged absence of in personam jurisdiction of the Tyler court was
     being advanced as a reason why the English courts should not recognise
                                                                      APP.318
3:18-cv-00731-X
      492       Document 273-6 Filed 07/30/19                      Page 302 of 421 PageID 1
     Scott J.              Adams v. Cape Industries Pic. (Ch.D.)           [1990]

     the jurisdiction exercised over Cape and Capasco by the Tyler court. Sir       A
     Godfray made plain to me, however, that I was under a misapprehension
     and that the contention that under the Texas "long arm" statute the
     Tyler court lacked in personam jurisdiction was not being relied on as a
     defence. Nonetheless, evidence was given by, in particular, Mr. Bernays
     and Mr. Hall as to the consequences under United States law if that had
     been so. Their evidence satisfied me that if a default judgment against a
     defendant who has taken no part in the proceedings is given by a federal       °
     district court in circumstances in which the court has erroneously
     assumed in personam jurisdiction over the defendant, the defendant can
     raise the error in collateral proceedings in order to resist the enforcement
     of the judgment against him. In the instant case, Cape, if it owned
     assets in California against which the plaintiffs sought to enforce the
     default judgment, could, if its jurisdiction contention were a good one,       Q
     resist enforcement by establishing in collateral proceedings in California
     the lack of jurisdiction of the Tyler court.
         Mr. Morison submitted, and I think Sir Godfray agreed, that a
     domestic lack of jurisdiction was not a ground upon which enforcement
     of a foreign judgment in England could be resisted. Pemberton v.
     Hughes [1899] 1 Ch. 781 was cited as authority: see especially per Sir
     Nathaniel Lindley M.R. at p. 790. But Pemberton v. Hughes was a case           D
     dealing with status, where special considerations apply.
         I am not for a moment suggesting that the merits of a foreign
     judgment can be re-examined in enforcement proceedings in this country.
     But where enforcement of a foreign money judgment is sought, it seems
     to me odd and anomalous that English courts should give to the
     judgment an efficacy denied it by the courts of the forum. If, as I think,     g
     the United States as a whole is the "country" of a federal district court
     and if, within that country, collateral objection to the enforcement of a
     default judgment is possible, I do not see, in principle, why that same
     collateral objection should not be raised to resist enforcement of the
     judgment in England. I need not and do not propose to express a final
     opinion on this point since it does not arise as an issue in the present
     case. But the matter has been touched on in argument as well as in             F
     evidence and I would not wish this judgment to be taken as tacit support
     for the view that, provided by English law standards the foreign court
     was not claiming excessive jurisdiction, the judgment of the foreign
     court would be enforceable in England notwithstanding that under the
     law of the forum the court had lacked jurisdiction. My present view is to
     the contrary.                                                                  ^

      Summary of issue 7
          It is at this point that the definitive part of my judgment comes to an
      end. I have still to deal with issue 7—fraud, natural justice and public
      policy. My conclusions and findings on this issue are, in summary, these:
          (1) The allegations against Mr. Blake Bailey of dishonesty and of
      procuring the default judgment by fraud fail, (a) The several statements
      contained in the findings of fact in the default judgment that were based
      on the proposition that the Tyler 1 actions and the Tyler 2 actions could
      be treated as one composite unit of litigation were not untrue statements
                                                                      APP.319
3:18-cv-00731-X Document 273-6 Filed 07/30/19                         Page 303493
                                                                               of 421 PageID 1
      1 Ch.                   Adams v. Cape Industries Pic. (Ch.D.)          Scott J.

 A    of fact but were statements based upon a legal theory that Mr. Bailey,
      as counsel for the plaintiffs, was entitled to espouse in the interests of
      his clients. The theory was, in my view, misconceived but it was not, in
      my judgment, dishonest for Mr. Bailey to draft the default judgment on
      the basis of that legal theory, (b) Paragraph 11 of the findings of fact
      contains statements of fact that were, in my judgment, untrue in that the
      court did not review the medical records of any of the plaintiffs and did
      not make any determination in respect of any individual plaintiff of the
      amount of damages that would properly compensate that plaintiff for his
      or her medical treatment or pain and anguish or physical disability. But
      I do not find that in drafting the default judgment with paragraph 11
      included therein or in submitting the draft to Judge Steger, Mr. Bailey
      was acting dishonestly, (c) Mr. Bailey did not, I find, dishonestly
 C    procure Judge Steger to award the damages sum of $15,654,000 or to
      award an average of $75,000 per plaintiff. The allegations of
      misrepresentation based on the contents of the conversations between
      Judge Steger and Mr. Bailey prior to 12 September 1983 fail, (d) Mr.
      Bailey did not, I find, mislead Judge Steger either in respect of the
      findings of fact in the default judgment or in respect of the quantum of
 j)   damages awarded, (e) It was not dishonest for Mr. Bailey to procure
      Judge Steger to award the $15,654,000 whether or not that level of
      award can be categorised as exorbitant or as arbitrary.
           But: (2) the default judgment is not, in my judgment, a judgment
      that should be enforced in an English court, (a) No evidence of damage
      or injury to any of the plaintiffs, whether oral or in affidavit form, was
      placed before Judge Steger. (b) Medical records together with counsel's
      summary of each plaintiff's case were placed before the court on 12
      September 1983 but the judgment was given before Judge Steger had
      had any sufficient opportunity to peruse them and, as I find, without
      him having done so. (c) The damages award was quantified either as a
      total figure to be divided among all the plaintiffs or on the basis of an
      average figure per plaintiff and, in either case, without any determination
 F    in respect of any individual plaintiff of the amount of damages that that
      plaintiff ought to recover from the defendants for the injuries he or she
       had received, (d) The classification of the plaintiffs into bands for
       damages purposes was carried out by the plaintiffs' counsel and did not
       represent any judicial assessment made by Judge Steger of the relative
       seriousness of the individual plaintiff's injuries, (e) In the circumstances,
 G     the individual awards of damages were arbitrary and did not follow upon
       a judicial determination of the quantum of damages that the individual
       plaintiffs were entitled to recover against the defendants.
           For these reasons, expressed in summary form, the default judgment
       was obtained, in my judgment, in circumstances that, by the standards
       of English law, were contrary to natural justice.
 u         In my view, a judgment obtained in the circumstances revealed by
       the evidence of this case does not give rise to any obligation of
       obedience enforceable in any English court.
          26 July.   SCOTT   J. read the following conclusion to his judgment:
                                                                         APP.320
3:18-cv-00731-X
       494      Document 273-6 Filed 07/30/19                       Page 304 of 421 PageID 1
      Scott J.              Adams v. Cape Industries Pic. (Ch.D.)             [1990]

      Issue 7: fraud, natural justice and public policy                                    A
          If my conclusion that, under English law, the Tyler court did not
      have jurisdiction over Cape and Capasco is right, the issue whether
      enforcement of the default judgment should be refused on the ground
      that it was procured by fraud, or that its enforcement would offend
      principles of natural justice or public policy, does not arise. But the
      defendants' case under this head has involved allegations of dishonesty          g
      against Mr. Blake Bailey. He, it is alleged, dishonestly procured the
      default judgment. Allegations made against a professional man of
      dishonesty in the course of his profession are allegations which, once
      made, must be dealt with. Any other course would not be fair to Mr.
      Bailey. For this reason, in particular, I must, notwithstanding my
      conclusions on the other points in this case, deal in some detail with the
      allegations of professional dishonesty made against Mr. Bailey. I propose        C
      first to relate the circumstances in which, on my reading of the evidence,
      the default judgment came to take the form it did. [His Lordship then
      examined in detail the evidence as to the manner in which the default
      judgment given by Judge Steger on 12 September 1983 came to be
      delivered, concluded that the allegations against Mr. Bailey of dishonesty
      and fraud based on the contents of the judgment failed, and continued:]          ^
      The defence that the default judgment was procured by fraud, therefore,
      fails. That leaves the question whether, in the circumstances in which
      the judgment was obtained its enforcement in England can be resisted
      on natural justice or public policy grounds.
          The circumstances in which the judgment was obtained involve these
      particular features, (i) The judgment was not based on evidence in the
      strict sense. There was none. Nor was it based on the unauthenticated            E
      medical records that Mr. Bailey and Mr. Clark had lodged on 12
      September 1983. Judge Steger had not had time to peruse them, (ii) The
      medical material lodged by Mr. Bailey and Mr. Clark did not purport to
      establish that the medical condition of the respective plaintiffs had been
      caused by exposure to asbestos dust. Nor did the material deal with pain
      and suffering, present or future physical disability, past or future medical     „
      expenses or, indeed, any special damage of any kind, (iii) Judge Steger
      indicated his willingness to grant an average of $75,000 per plaintiff.
      This was his only contribution to the amount of the damages award. The
      $200,000-odd by which the total award of $15,654,000 exceeded
      the $75,000 average was simply the mathematical consequence of the
      appendix A amendments effected by Mr. Bailey and Mr. Clark, (iv) The
      provenance of the $75,000 average is uncertain. It is likely that it             G
      derived from Judge Steger's knowledge of the statistics regarding the
      level of current settlements in asbestos-related suits. It is possible that it
      owed something to the arguments that Mr. Bailey addressed to the
      judge at their third meeting. It could not, in my view, have owed
      anything to the medical material lodged with the court on 12 September
      1983. (v) The decision as to the category of damages into which each
      plaintiff should be placed was made by counsel, Mr. Bailey and Mr.               "
      Clark, not by Judge Steger. The decision as to the level of the four
      categories and their relationship to one another was made by counsel,
      not by Judge Steger. Judge Steger required the average award to be
                                                                       APP.321
3:18-cv-00731-X Document    273-6 Filed 07/30/19                 Page 305 495
                                                                            of 421 PageID 1
     1 Ch.         Adams v. Cape Industries Pic. (Ch.D.)               Scott J.

 A   reduced from $120,000 to $75,000. It was counsel, not the judge, who
     decided how that should be achieved. It was counsel, not the judge,
     who decided to shift two plaintiffs from the respective categories in
     which they had originally been placed into new categories. The judge
     was not told that this had been done and could not have known that it
     had been done, (vi) The features that I have mentioned justify, in my
     judgment, these conclusions. First, no judicial hearing, worthy of the
 °    name, at which quantum of damages was assessed took place. Second,
     the attribution of specific damages to the individual plaintiffs was not the
     result of a judicial assessment of the individual entitlements of the
     respective plaintiffs. Third, the total sum of damages awarded was based
     on the judge's opinion as to what would represent an appropriate
     average award.
 Q       The procedure adopted by Mr. Bailey and Judge Steger that led to
     the award of damages was not, in my judgment, in accordance with the
     requirements of the relevant federal rules. I base this conclusion on the
     evidence in particular of Mr. Hall and Mr. Bernays, but also on that of
     Mr. Brin and Mr. Davis, all of whom were critical of the procedure that
     had been adopted. Mr. Bailey and Mr. Patrick gave evidence to the
     effect that Judge Steger was not required to hold a judicial hearing for
 D   the purpose of assessment of damages, was entitled to take into account
     unauthenticated medical reports, could inform himself by whatever
     means he chose of the significance of the plaintiffs' medical condition,
     did not require evidence causally connecting the plaintiffs' medical
     condition with the defendants' negligence, and did not require evidence
     of the plaintiffs' pain and suffering, medical expenses past and future, or
 g   disability in order to award damages in respect of these items. In
     preferring the evidence to the contrary given by the defendants'
     witnesses, I am influenced by my own instinctive reaction as a judge in a
     common law jurisdiction. The United States is—with all respect to
     Louisiana and its civil law heritage—one of the great common law
     jurisdictions. The federal rules relating to default judgments and the
     federal rules of evidence seemed to me familiar. They embody in broad
 F   substance rules of evidence and of procedure similar to those which
     apply in this country. The proposition that a judge assessing tortious
     damages where liability has been established against defendants in
     default can dispense with a judicial hearing or with the rules of evidence,
     or with the need of evidence, offends my understanding of the role and
     function of a judge in a common law jurisdiction. I found it easy to
 Q   accept the evidence of Mr. Bernays, Mr. Hall, Mr. Brin and Mr. Davis
     and to conclude therefrom that that proposition forms no part of United
     States law and procedure.
         Whether it is relevant to find, as I do, that the procedure leading to
     the damages award of 12 September 1983 was not in accordance with
     the federal rules is another matter. It may be that it is not. But I would
     wish it to be clear that criticisms of that procedure are not criticisms of
 "    the procedure prescribed by the federal rules. It has not been suggested
     on the defendants' side, and could not have been suggested, that the
     content of the federal rules relating to the manner in which default
     judgments can be obtained and to the procedure for an assessment of

                                                                       APP.322
      496
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 306 of 421 PageID 1
     Scott J.              Adams v. Cape Industries Pic. (Ch.D.)            [1990]

     damages are in any respect offensive to natural justice. Indeed, the            A
     contrary is the case. Those rules, like our own corresponding rules, are
     designed to enable justice to be done and, from a procedural point of
     view, are unimpeachable. Criticism in the present case has been directed
     to what actually happened. If Mr. Bailey had been correct in representing
     the procedure followed as being consistent with the federal rules, the
     criticism would have been a criticism also of the federal rules. But Mr.
     Bailey was not, in my judgment, correct. So that point of criticism does        °
     not arise.
          I must now consider the criteria to be applied in order to decide
     whether or not a foreign judgment is impeachable on natural justice or
     public policy grounds. I should say at once that, in my judgment,
     natural justice and public policy cover, in the present case, the same
     ground. If the judgment of 12 September 1983 is objectionable on                Q
     natural justice grounds, it is easy to conclude that it would be contrary
     to public policy to permit its enforcement in this country. If it is not
     objectionable on natural justice grounds, then, on the footing that no
     jurisdictional objection can be taken, I cannot see any public policy
     reason for not enforcing it.
          Mr. Falconer submitted that since due notice of the default application
     had been given, no natural justice objection to the default judgment            D
     could be maintained. On the authorities, he submitted, the requirements
     of natural justice, at least in the context of enforcement of foreign
     judgments, amount to no more than that sufficient notice of the
     proceedings must be given, together with an opportunity for the
     defendant to have its case heard. He referred to the service on Cape
     and Capasco of the notice of the plaintiffs' application for a default          g
     judgment and submitted that the defendants' natural justice defence
     must, accordingly, fail.
          There are, I agree, authorities which give some support to this
     approach. Thus in Ochsenbein v. Papelier (1873) L.R. 8 Ch. App. 695,
     700, Mellish L.J. said:
           "It was always held that a foreign judgment could be impeached at         p
           law as contrary to the principles of natural justice, as, for instance,
           on the ground of the defendant having had no notice of the foreign
           action, or not having been summoned, or of want of jurisdiction, or
           that the judgment was fraudulently obtained."
     In Robinson v. Fenner [1913] 3 K.B. 835, 842-843, Channell J. said:
         "It is not enough, therefore, to say that the result works injustice in G
         the particular case, because a wrong decision always does. So far as
         I can see, all the instances given of what is 'contrary to natural
         justice' for the purpose of preventing a foreign judgment being sued
         on here are instances of injustice in the mode of arriving at the
         result, such as deciding against a man without hearing him or
         without having given him any notice or the like."                       „
     In Jacobson v. Frachon (1927) 138 L.T. 386, 390, Lord Hanworth M.R.
     referred to Channell J.'s judgment in Robinson v. Fenner [1913] 3 K.B.
     835 and said:
                                                                       APP.323
3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 307 497
                                                                             of 421 PageID 1
      1 Ch.                 Adams v. Cape Industries Pic. (Ch.D.)            Scott J.
 A        " . . . I am inclined to agree with the view that he presents there,
          that the question of natural justice is almost, if not entirely,
          comprised in considering whether there has been an opportunity of
          having had a hearing, and whether the procedure of the court has
          been in accordance with the instincts of justice whereby both parties
          are to be given a full opportunity of being heard."
  B   In my view, however, the references in the dicta to service of notice of
      the hearing and to an opportunity to be heard are references, by way of
      examples, to circumstances which will constitute a want of natural
      justice and are not to be taken as exhaustive.
          In Schibsby v. Westenholz, L.R. 6 Q.B. 155, 159, Blackburn J.
      referred to the obligation on a defendant to obey an order of a foreign
  P   court of competent jurisdiction but went on to say that "anything which
      negatives that duty, or forms a legal excuse for not performing it, is a
      defence to the action."
          In Pemberton v. Hughes [1899] 1 Ch. 781, 790-791, Lindley M.R.
      said:
            "If a judgment is pronounced by a foreign court over persons within
           its jurisdiction and in a matter with which it is competent to deal,
            English courts never investigate the propriety of the proceedings in
           the foreign court, unless they offend against English views of
            substantial justice. Where no substantial justice, according to English
            notions, is offended, all that English courts look to is the finality of
            the judgment and the jurisdiction of the court, in this sense and to
            this extent—namely, its competence to entertain the sort of case
  E         which it did deal with, and its competence to require the defendant
            to appear before it. If the court has jurisdiction in this sense and to
            this extent, the courts of this country never inquire whether the
            jurisdiction has been properly or improperly exercised, provided
            always that no substantial injustice, according to English notions,
            has been committed."
  F   That passage expresses, in my judgment, the fundamental criterion for
      the success of a natural justice objection to the enforcement of a foreign
      judgment. The proceedings in the foreign court must "offend against
      English views of substantial justice."
          Atkin L.J. in Jacobson v. Frachon, 138 L.T. 386 referred to
      Pemberton v. Hughes [1899] 1 Ch. 781 and to Lindley M.R.'s judgment
  P   and continued, at p. 392:
            "By that it is quite plain from the context that Lindley M.R. is
            dealing with proceedings offending against English views of
            substantial justice. He is not dealing with the merits of the case or
            the actual decision, because he goes on to say in the same case, at
            p. 792, 'A judgment of a foreign court having jurisdiction over the
            parties and subject matter—i.e., having jurisdiction to summon the
            defendants before it and to decide such matters as it has decided—
            cannot be impeached in this country on its merits.' It is plain that
            the Master of the Rolls is dealing only with the proceeding, because
            it is obvious if a court gives judgment on the merits for the plaintiff,
                                                                    Ch. 1990-22
                                                                         APP.324
       498
3:18-cv-00731-X
       Scott J.
                Document  273-6 Filed 07/30/19
                     Adams v. Cape Industries Pic. (Ch.D.)
                                                                   Page 308 [1990]
                                                                            of 421 PageID 1
             when it is plain it ought to have given judgment for the defendant,        A
             or vice versa, that is a judgment which offends against the English
             views of substantial justice. Nevertheless as the Master of the Rolls
             says, it cannot be impeached upon that ground, but it can be
             impeached if the proceedings, the method by which the court comes
             to a final decision, are contrary to English views of substantial
             justice. The Master of the Rolls seems to prefer, and I can quite
             understand the use of the expression, 'contrary to the principles of       ^
             natural justice;' the principles it is not always easy to define or to
             invite everybody to agree about, whereas with our own principles of
             justice we are familiar. Those principles seem to me to involve this,
             first of all that the court being a court of competent jurisdiction, has
             given notice to the litigant that they are about to proceed to
             determine the rights between him and the other litigant; the other is      Q
             that having given him that notice, it does afford him an opportunity
             of substantially presenting his case before the court.
                 "Both those considerations appear to be essential if they are to
             be in accordance with natural justice. I think the expression of
             opinion of the late Professor Dicey in his great book on the Conflict
             of Laws, dealing with this subject matter is a little narrowly
             expressed. He says in rule 107 (4th ed., p. 444): 'A foreign judgment      D
             may sometimes be invalid on account of the proceedings in which
             the judgment was obtained being opposed to natural justice.' Then
             he says that is owing to want of due notice. 'But, in such a case, the
             court is generally not a court of competent jurisdiction.' It may be
             that the court is generally not a court of competent jurisdiction, but
             that seems to me by no means the whole of the rule. A court of             £
             competent jurisdiction, as I have said, may very well, either in
             accordance with its rules or in violence of them, refuse a substantial
             hearing to the party, and, if so, it appears to me that the judgment
             would be invalidated on the ground that it was contrary to natural
             justice for the reasons I have already to give. That gives quite free
             play for a variation between different countries and different
             jurisprudences of the method in which they shall hear the parties          F
             and the nature of the evidence to be given in the court. The case
             here depends upon whether or not the procedure of this foreign
             court did offend against our principles of substantial justice."
        Despite Atkin L.J.'s particular reference to notice of the hearing being
        given to the litigant and to an opportunity for the litigant to present his
        case, he was not, in my view, purporting to limit natural justice               G
        objections to objections based on the absence of one or other of those
        features. He was limiting natural justice objections to objections based
        upon the procedure that had been adopted, but that, in my opinion, is
        the only limitation that can be spelled out of the judgment. The criterion
        expressed by Atkin L.J. in the last sentence of the passage I have cited,
        namely, whether "the procedure of this foreign court did offend against
        our principles of substantial justice," is a broad one.
            In my judgment, therefore, I must consider the procedure which led
        to the 12 September 1983 default judgment and ask myself whether or
        not it offends against English principles of substantial justice.

                                                                        APP.325
3:18-cv-00731-X Document   273-6 Filed 07/30/19                  Page 309 499
                                                                           of 421 PageID 1
      1 Ch.         Adams v. Cape Industries Pic. (Ch.D.)              Scott J.

 A        I must start with the important circumstance that Cape and Capasco
      were in default and were thereby taken to have admitted the pleaded
      allegations made against them save in relation to damage. They had
      forfeited any entitlement to a hearing save on the issue of damages.
      There is no injustice in that. Second, Cape and Capasco were given
      notice of the plaintiffs' application for a default judgment. They were
      given notice that the application would be heard on 12 September 1983.
 B    Venue was not specified, but I do not think that omission can be
      regarded as material.
          It is important, however, to notice the nature of the relief which the
      plaintiffs were proposing to seek. Their application, according to the
      document served on Cape and Capasco, was to
            "move the court to enter default judgment in favour of plaintiffs
  C         . . . and against defendants . . . and further, to hold hearing to
            determine the amount of relief entitled to plaintiffs."
      This was notice to Cape and Capasco of a judicial hearing at which a
      judicial assessment of damages would take place.
          The effect of the notice given to Cape and Capasco cannot be
      divorced from the content of the federal rules regarding default
      judgments. Under the federal rules, as under our own rules, a judicial
      assessment of damages where a defendant is in default is only necessary
      if the claim is for an unliquidated sum: see federal rule 55(b). If the
      claim is "for a sum certain or for a sum which can by computation be
      made certain," the court clerk is required "upon request of the plaintiff
      and upon affidavit of the amount due [to] enter judgment for that
  E   amount . . . against the defendant." A default judgment on a claim for
      a liquidated sum can, therefore, be obtained without any judicial hearing
      or any judicial assessment of the amount of the claim. There is no
      injustice in that.
          The point can be taken further. It would be possible for procedural
      rules to provide, in the case of an unliquidated claim and a defendant in
      default, that the plaintiff be entitled, upon giving to the defendant a
  F   written estimate of the recoverable damages, to enter judgment for the
      amount of the estimate, unless within some specified time the defendant
      gave notice of intention to dispute the amount. In that way an
      unliquidated claim could lead to a judgment against a defendant in
      default without any judicial hearing and without any judicial assessment
      of the damages. The case is hypothetical, but I do not think that a
  Q    judgment so obtained could be described as offending against English
      principles of substantial justice. The defendant would have received
      notice of the amount of the claim and would have been able to have
      disputed the quantum of damages and to have put the plaintiff to proof
      thereof if so advised.
          I conclude that neither the absence of a judicial hearing nor the
      absence of a judicial assessment of damages is per se a procedural
  "    feature that is objectionable. The context is all-important.
           In the present case, the context is provided by the federal rules. The
      federal rules make provision, in actions for unliquidated damages where
       the defendant is in default, for a judicial process in the course of which

                                                                       APP.326
       500
3:18-cv-00731-X
      Scott J.
                Document  273-6 Filed 07/30/19
                    Adams v. Cape Industries Pic. (Ch.D.)
                                                                   Page 310[1990]
                                                                             of 421 PageID 1
       evidence will be adduced and which will lead to due judicial consideration       A
       by the judge, in the light of the pleadings and of the evidence, of the
       amount of damages to which the plaintiff is entitled. A defendant in
       default in an action for unliquidated damages is entitled to expect that
       his liability to the plaintiff will be assessed by the judge in the light of
       evidence which the judge has considered and which, in the judge's
       opinion, justifies the award that is made.
           The requirements of substantial justice in a particular case cannot, in      ^
       my judgment, be divorced from the legitimate expectation of both the
       plaintiff and the defendant in the context of the procedural rules
       applicable to the case.
           Moving from the general to the particular, the defendants in the
       present case, Cape and Capasco, were, in my view, entitled to expect
       that their liability to the plaintiffs would be assessed by Judge Steger at      Q
       the hearing of which they had been given notice, in accordance with
       evidence laid before and considered by the judge and in accordance with
       the judge's assessment in the light of that evidence of the respective
       plaintiffs' entitlements in damages. That is not what happened. There
       was no consideration given by the judge to the medical material relating
       to the individual plaintiffs and to the individual plaintiffs' entitlements in
       the light of that medical material. If there had been, the judge would           D
       not simply have said that he would award an average of $75,000 per
       plaintiff. Damages calculated on an average-per-plaintiff basis may make
       very good sense for the purposes of a settlement. The defendants who
       pay are not concerned as to how the total sum is divided up among the
       individual plaintiffs. But a judicial award so calculated is the antithesis
       of an award based upon the individual entitlements of the respective             g
       plaintiffs. Judge Steger's approach demonstrated, in my opinion, that he
       was not considering the individual cases and how much the respective
       individuals were entitled to recover against Cape and Capasco. The
       judge purported to award sums for pain and suffering, for medical
       expenses, for disability. But the judge's approach via an average sum
       per plaintiff demonstrated that he was not giving any consideration to
       these heads of damage in respect of plaintiffs individually.                     F
           Nor did Judge Steger have any material before him from which a
       judicial estimate of pain and suffering or of medical expenses could have
       been made. Nor did he, as opposed to counsel, determine the levels of
       the four categories of damages or select the plaintiffs to be placed in
       each of these categories. There was, in short, in my opinion, no judicial
       assessment of damages.                                                           Q
           In my judgment, the procedure adopted by Judge Steger offended
       against English principles of substantial justice. The defendants were
       entitled to a judicial assessment of their liability. They did not have one.
       The award of damages was arbitrary in amount, not based on evidence
       and not related to the individual entitlements of the plaintiffs. Many of
       the features of the procedure to which I have drawn attention might,
       taken singly, have been insufficient to meet the yardstick of substantial        "
       injustice. Taken together, the criterion is, in my judgment, satisfied.
           Mr. Falconer submitted that the procedural defects to which I have
       drawn attention could have been the basis for an attack on the judgment

                                                                         APP.327
                                                                             501
3:18-cv-00731-X
      1 Ch.     Document
                    Adams v.273-6    FiledPic.
                             Cape Industries 07/30/19
                                               (Ch.D.)          Page 311  ofJ.421 PageID 1
                                                                       Scott

  A   in the federal courts, whether by way of collateral action to have the
      judgment set aside or by way of appeal. This may well be right,
      although by now I suspect that such an attack or appeal would be time-
      barred. Mr. Falconer then submitted that where the foreign courts
      themselves provide a procedural remedy, the English courts should not
      entertain the objection. He referred me to Cheshire and North's Private
      International Law, 11th ed. (1987), p. 378, where it is stated that "the
  °    defence will not succeed if the alleged unfairness consisted of something
      that might have been combatted and removed in the foreign action."
      Jacobson v. Frachon, 138 L.T. 386, is referred to in support of that
      proposition. But that case turned on the question whether the course of
      proceedings in the foreign court whereby the judgment was obtained
      offended English notions of substantial justice. It was held it did not.
  Q   The question whether, if the proceedings had offended, the defect
      would have been cured by the availability of an appeal procedure did
      not arise. As a matter of principle, in my opinion, Mr. Falconer's
      submission is unacceptable. If the procedure adopted by a foreign court
      offends English notions of substantial justice, whether or not the
      procedure be in accordance with the procedural rules of the foreign
      court, I cannot see any good reason why the resulting judgment should
  D   be enforceable in England. It does not, in my view, create any obligation
      of obedience binding on the defendant that an English court should be
      required to recognise. So it is, in my judgment, with the default
      judgment of 12 September 1983. I do not accept that English law
      recognises any obligation on Cape or Capasco of obedience to a
      judgment so obtained, and I decline to enforce it.
  g        It was argued, in addition, by Mr. Playford that the default judgment
      for $15,654,000 was exorbitant in amount, that the sums awarded to the
      individual plaintiffs were in a like state and that the default judgment
      should on that account, too, be rejected as offending against English
       notions of substantial justice. Mr. Playford reminded me of Dr.
      Bidstrup's evidence that had sought to establish that many of the
       plaintiffs were, judged by the medical records, suffering from no lung
  F    injuries at all. Mr. Falconer justifiably pointed out that a defence on the
       merits is not a ground for declining to enforce a foreign judgment and
      that a complaint based on the allegedly excessive amount of the award
      was an attempt to re-open the merits. Mr. Playford's point about the
       amount of the award is not, in my view, a separate ground of complaint
      but is part and parcel of the complaint that there was no judicial
  Q    assessment.
           Judge Steger did not, in the present case, review the medical material
       relating to each individual plaintiff and then assess the damages to which
      that plaintiff was entitled. If he had done so and if he had awarded the
       same amounts as are contained in appendix A to the default judgment,
       Mr. Playford's complaint would, I agree, have represented an attempt to
       re-open the merits. I would then have had to decide whether there could
  "    ever come a point at which an English court would feel so outraged by
       the excessive amount of a damages award that a refusal to enforce the
       award would be justified and, if so, whether that point had been
       reached in the present case. On the facts of the present case, however, I

                                                                      APP.328
        502
3:18-cv-00731-X
       Scott J. Document
                     Adams273-6      Filed 07/30/19
                           v. Cape Industries Pic. (Ch.D.)      Page 312 [1990]
                                                                         of 421 PageID 1
        do not, in my view, have to answer those questions. The damages A
        awarded to the individual plaintiffs were not assessed by reference to
        their respective individual circumstances. So the question whether by
        reference to those circumstances the damages awarded were outrageously
        excessive does not arise.
            Nonetheless, Mr. Playford was, in my opinion, able to demonstrate,
        in relation to a number of plaintiffs and their respective medical records,
        inconsistencies in the levels of damages awarded to them. There were "
        some in respect of whom it was difficult to accept that any real injury
        had been suffered at all. These examples served, in my view, to confirm
        that no consideration had been given to the individual deserts of the
        plaintiffs, to underline, in short, the arbitrariness of the awards, rather
        than to establish that the awards were exorbitant.
            (vii) There are a few other minor matters that I should deal with, Q
        (1) The damages awarded to the plaintiffs in the action to which Capasco
        was not a party are not enforceable against Capasco. That is accepted.
        (2) There are some plaintiffs who were intervenors in one or other of
        the Tyler 2 actions but notice of whose intervention was never served on
        Cape or Capasco. Prima facie this failure represents a procedural defect
        of substance. Why should the default judgment in favour of these
        plaintiffs be enforced? Cape and Capasco were not in default and had
        no opportunity to file an answer to the pleadings. Mr. Falconer's answer
        was that since Cape and Capasco had for tactical reasons decided to
        take no part in the Tyler 2 actions, the failure to give notice of the
        interventions did not prejudice them. They would, in any event, have
        taken no steps to defend the claim. I accept Mr. Falconer's premise but
        not his conclusion. I agree that it is as certain as anything can be certain E
        that, if served with notice of the interventions, Cape and Capasco would
        have done nothing. Nonetheless, notice to the defendants of the claims
        was, in my view, an essential preliminary to recognition of the default
        judgments. Substantial justice requires at least, and in all cases, that
        notice of the claims be given to the defendants. If that is not done, I do
        not think the resultant judgment is enforceable in this country, p
        Accordingly, I would, on this ground also, have dismissed the actions of
        those plaintiffs in respect of whom notice of intervention was not served
        on the defendants. (3) Finally, it is accepted by Mr. Morison that, if,
        contrary to my view, the default judgment is enforceable in England,
        the defendants are entitled to set off against their liability thereunder
        the sums recovered by the plaintiffs in the 1983 settlement. Otherwise
        there would be double recovery. This point does not affect the Unarco G
        plaintiffs.
            I must conclude by expressing my indebtedness to counsel for their
        very great assistance in a case that has been for me of unprecedented
        interest both on the law and the facts and my regret that this final part
        of my judgment has been delayed.
                                                                                     H
                                                    Action dismissed.
                                                    Plaintiffs to pay four-fifths
                                                       of defendants' costs.

                                                                     APP.329
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 313503
                                                                            of 421 PageID 1
     1 Ch.                 Adams v. Cape Industries Pic. (Ch.D.)          Scott J.
 A     Solicitors: Herbert Oppenheimer Nathan & Vandyk; Davies Arnold &
     Cooper.

         APPEAL from Scott J.
         The plaintiffs appealed on the grounds, which were amended at the
     hearing, inter alia, that (1) the judge misdirected himself in law in
 g   holding (a) that the defendants were not present in the United States of
     America at the relevant dates and (b) that it would be contrary to
     natural justice for the judgment of the United States Federal Court of
     the Tyler District, Texas, dated 12 September 1983 to be enforced in
     this country; (2) at the trial, the plaintiffs contended that the defendants
     were present at 150, North Wacker Drive, Chicago, Illinois, from where
     asbestos mined in South Africa by the Cape group was marketed
 C   throughout the United States of America and that the defendants were
     present there (a) by their wholly owned subsidiary, North American
     Asbestos Corporation ("N.A.A.C."), (b) by a company called Continental
     Productions Corporation ("C.P.C."), which was set up to replace
     N.A.A.C. in such a way as to disguise the defendants' continued
     involvement in the marketing of the group's asbestos in the United
 D   States of America; (3) the judge failed to apply the correct test to
     determine whether the presence of a third party might constitute the
     presence of the defendant and instead he asked himself the fundamental
     question whether the United States court was entitled, on territorial
     grounds, to take jurisdiction over Cape; (4) the judge erred in law in
     rejecting the approach of the European Court to the question of
     jurisdiction where a parent outside the market set up a subsidiary within
 E   it; (5) the judge misdirected himself as to the burden of proof in holding
     that the plaintiffs had the burden of proving that Cape were present in
     the United States, whereas the burden was on the defendants to prove
     that the judgment of the federal court was not enforceable; (6) on the
     facts as found, in particular with regard to N.A.A.C. the judge ought to
     have held that the defendants were present through it, which was
 p   carrying on the group's business and not, in any real sense, its own
     business; (7) as to C.P.C. the judge wrongly concluded that it was an
     independently owned company and even if that conclusion were correct,
     C.P.C. was Cape's presence in the United States of America and the
     judge was wrong to conclude that C.P.C. and N.A.A.C. were carrying
     on their own business rather than the business of Cape; (8) the judge
     erred in law in his approach to the question whether it would be
 G    contrary to natural justice to enforce the judgment and having stated
      that "the fundamental criterion for the success of natural justice
     objection" was whether the proceedings offended "against English views
     of substantial justice," he wrongly concluded that that criterion permitted
     him to investigate and make findings in relation to (a) the procedural
     rules relevant to the entering of the judgment and (b) the circumstances
     in which the judgment was entered and then he applied that criterion,
     without qualification or limit, to the facts. The correct approach was to
      treat the boundaries of natural justice as a defence to the enforcement
      of a foreign judgment as confined to an examination of whether the
     defendant had had notice of the hearing or of the intention to enter

                                                                       APP.330
       504
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 314 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)                [1990]
      judgment and a fair opportunity of presenting his case: Jacobson v.         \
      Frachon (1928) 138 L.T. 386, 392, per Atkin L.J. If the judge had
      applied the correct test he would have been bound to conclude that the
      natural justice defence failed and that a large part of the evidence on
      behalf of the defendants was irrelevant on that issue. Any defects in the
      manner in which the judgment was obtained or given were capable of
      being corrected on appeal or by application to the federal judge at the
      first instance.                                                            "
           By a respondent's notice under R.S.C., Ord. 59, r. 6(1)(6) the
      defendants gave notice of their intention of contending that the judgment
      should be affirmed on additional grounds, inter alia, that the judge
      misdirected himself in law in holding that if, contrary to his primary
      findings, the defendants were resident or present in Illinois, then such
      residence or presence was sufficient to give the Federal District Court Q
      for the Eastern District of Texas, Tyler Division ("the Tyler court")
      jurisdiction over the defendants recognisable according to English law.
      The question which had to be decided was whether at the time each suit
      was commenced the defendants were resident or present in the "country"
      of the Tyler court. The judge misdirected himself in holding (a) that the
      question had to be answered by investigating the source of the authority
      of the court, (b) that a resident of Illinois was, according to English D
      private international law, subject by reason of that residence to the
      jurisdiction of the Tyler court and (c) that a resident anywhere in the
      United States was, according to English private international law, within
      the jurisdiction of the Tyler court and that the United States was one
      "country" or "law district." The Tyler court did not claim jurisdiction on
      the grounds of the defendants' residence in Illinois. No American court £
      would regard a federal court sitting in one state as having jurisdiction
      over a defendant resident in another state on the ground that that
      defendant was resident within the United States. According to the
      judge's decision, English rules of private international law would regard
      as subject to the jurisdiction of the Tyler court many residents of the
      United States whom no American court would hold to be so subject.
                                                                                 F
           T. R. A. Morison Q.C. and Charles Falconer for the plaintiffs.
           Sir Godfray Le Quesne Q.C, Jonathan Play ford Q.C. and Adrian
      Brunner for the defendants.
           The main submissions of counsel are dealt with in the judgment: see
      post, pp. 514E-F, 518E-H, 519E-F, 528A-D, F—529c, 530B-C, 532B-E, F-G,
      535D-F, 536C-H, 537E—538B, G—539C, 540G—541D, 544D-545A, 5 4 9 F —                G
      550c, 555B, F—557G, 561G—562D, 565D-H, 566D-E, 567E-F, 568H—569B,
      570D.


                                                                  Cur. adv. vult.

         27 July 1989. The following judgment of the court was handed                   H
      down.



                                                                        APP.331
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 315505
                                                                             of 421 PageID 1
     1 Ch.                 Adams v. Cape Industries Pic. (C.A.)
A       SLADEL.J.
                                   I Introduction
        This is the judgment of the court, to which all its members have
   contributed, on an appeal by the plaintiffs in 205 consolidated actions.
   On 27 Jily 1988, Scott J. dismissed all their claims. The trial in the
   court below lasted some 35 days and the argument before this court
3 extended over some 17 days. The case raises important points of law
   and some substantial issues of fact.
        Having reserved judgment at the end of the argument on 3 May
   1989, we subsequently came to the firm conclusion that the appeal must
   be dismissed and that in the particular circumstances of this case it was
   right th»t the parties should be informed of our decision at once, rather
   than ha/ing to wait for some more weeks before we were in a position
C to give the reasons for our decision. On 24 May we accordingly
   announced that the appeal would be dismissed and that we would give
   the reasons for our decision in writing at a later date, at which date the
   order dsmissing the appeal would be drawn up. This we now do.
        The plaintiffs in these proceedings are persons, or the personal
    represeitatives of persons, in whose favour awards of damages were
Y) made by the judgment, dated 12 September 1983, of Judge Steger, a
    UnitedStates Federal District Court judge, in the District Court for the
    Easten District of Texas, United States of America ("the Tyler court").
    The jidgment was a default judgment against Cape Industries Pic.
    ("Cape") and Capasco Ltd. ("Capasco"), companies registered in
    England and the sole defendants in all the actions before this court.
    They had taken no part in the proceedings in which the judgment was
E made. The judgment was for the specific sums payable to individual
    plaintifs set out in an appendix to the judgment: $37,000 each for 67
    plaintift; $60,000 each for 31 plaintiffs; $85,000 each for 47 plaintiffs
    and $120,000 each for 61 plaintiffs. The total of the individual awards
    was $15.654m. and the awards were directed to bear interest at 9 per
    cent, frcm judgment until payment.
 P       The awards were made in respect of claims for damages for personal
    injuries andconsequential loss allegedly suffered by each plaintiff as a result
    of exposun to asbestos fibres emitted from the premises of a primary
    asbestos initiation factory in Owentown, Smith County, Texas, which was
    operated fom 1954 to 1962 by Unarco Industries Inc. ("Unarco") and from
     1962 to 192 by Pittsburgh Corning Corporation ("P.C.C."). The basis of
     liability of Dape and Capasco was alleged to be negligent acts and omissions
G and breactes of implied and express warranties.
         The rektionship of Cape and Capasco to the emission of asbestos fibres
     fibres fron the Owentown factory was, in summary, that Cape owned
     the sharesin subsidiary companies in South Africa which had mined the
     asbestos aid in its subsidiary Capasco. Capasco was concerned in
     organising the sale of asbestos, mined in South Africa, throughout the
     world to hose who wished to use it in various industrial processes.
     Between B53 and 1978 when it was dissolved, another subsidiary of
     Cape, Norh American Asbestos Corporation ("N.A.A.C.") assisted in
     the markeing of asbestos of the Cape group in the United States of
     America, "he plaintiffs' contention was that the defendants had been
                                                                         APP.332
3:18-cv-00731-X
        506     Document 273-6 Filed 07/30/19                     Page 316 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)           [1990]

      responsible for the supply of asbestos fibres directly or indirectly to      A
      Unarco and P.C.C. without giving proper warning of ths dangers
      thereof.

      Summary of the proceedings in the Tyler court
          Different sets of proceedings with reference to claims arising from
      the processing of asbestos in the Owentown factory had extended over         B
      many years. An account of what took place is unnecessary for a proper
      understanding of the course of the present proceedings. The fust action
      was commenced in the Tyler court in January 1974 and was framed as a
      "class" action in which the plaintiffs sued "on behalf of themsdves and
      all others similarly situated." A second action was commenced in the
      same month. They were assigned to Judge Steger. Cape was oie of the          Q
      defendants. Capasco was added as a defendant in 1976. Egnep
      (Proprietary) Ltd. ("Egnep"), a wholly owned South African sibsidiary
      of Cape, engaged in mining asbestos, was also a defendant. All filed
      motions to quash service on the ground of lack of jurisdiction.
          By July 1974 it was apparent that hundreds of claimants, alleging
      injury caused by the amosite asbestos used in the Owentown plait, were
      intending to pursue claims. Judge Steger in December 1974 riled that         D
      the actions should not proceed as class actions; that they should be
      conducted under the federal "Rules for Complex and MultiDistrict
      Litigation;" and that intervention in the proceedings should be allowed
      freely for those claimants who wished to join. In consequence a large
      number of claimants were added. In December 1974 a third actbn with
      reference to asbestos from the Owentown plant was commenced in the           p
      Tyler court in which the only defendant was the United Sates of
      America. All these proceedings together have been known as thf Tyler 1
      proceedings. They were separate and distinct from the procedings in
      which the plaintiffs, now before this court, obtained their jud;ment in
      September 1983.
          The motions by Cape, Capasco and Egnep to dismiss thf Tyler 1
      proceedings as against them on the ground of lack of jurisdiction were       F
      dismissed by Judge Steger in August 1977. That dismissal vas not final
      and it was open to the Cape companies to take the jurisdicion point at
      the trial of the action. They filed answers in which they pleaded to the
      merits of the claim while maintaining their objection to jurisdction.
          The number of claimants in the Tyler 1 proceedings had )y mid 1977
      risen to more than 400 and was still increasing. Trial was set for 12        Q
      September 1977. The purpose of Judge Steger in fixing that date
      included that of causing the parties to consider settlement. On 12
      September 1977 settlement discussions proceeded in which Jidge Steger
      took part in a manner which would be unusual, if not imposable, in this
      country but which was effective and normal under the Uiited States
      system of civil justice. By 28 September 1977 a settlemejt figure of
      $20m. was agreed for all the claimants who then numbered462. Upon            H
      agreement of the settlement figure it was ordered that is from 28
      September 1977 no further intervention in any of the Tylir 1 actions
      would be permitted.
                                                                     APP.333
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 317
                                                                         507of 421 PageID 1
     1 Ch.                 Adams v. Cape Industries Pic. (C.A.)

A        The sum of $20m. was provided by the defendants in agreed
     proportions: £5.2m. by N.A.A.C, Cape and Egnep; $lm. by Unarco
     (who had operated the Owentown plant from 1954 to 1962); $8.05m. by
     P.C.C. (who had operated the plant from 1962 to 1972) and its
     shareholders; and $5.75m. by the United States Government. The
     settlement was recorded and approved in a final judgment in the Tyler 1
     actions dated 5 May 1978. The reference to shareholders in P.C.C. is to
B    Pittsburgh P.G. Industries Inc. ("P.P.G.") and to Corning Glassworks
     Inc. who had been joined as defendants on the basis that each had
     taken such part in the management decisions regarding the use of
     asbestos as to be liable for injuries arising from that use.
         Upon prohibition by the order of Judge Steger of further interventions
     in the Tyler 1 proceedings, new actions were commenced by claimants in
„    what have been called the Tyler 2 proceedings. There were eight
     separate actions. They were assigned to Judge Steger. The first was
     commenced on 19 April 1978 and the last on 19 November 1979. There
     followed intervention by a very large number of claimants. Cape, Egnep
     and N.A.A.C. were defendants in all the actions. Capasco was a
     defendant in three only. P.C.C, P.P.G., Corning Glassworks Inc. and
     O.C.A.W., a trade union to which some claimants had belonged, were
D    also defendants in all actions. The United States Government was a
     defendant in some actions and third party defendant in others.
         In December 1981 Judge Steger gave directions by which each
     claimant was required to provide specified information with reference to
     his claim "on personal knowledge and attested to under penalty of
     perjury." As a result of those directions, and of the response, or lack of
     response, thereto, a large number of claimants had their claims summarily
E    dismissed "without prejudice." The number of plaintiffs left in the Tyler
     2 actions was about 206. It is to be assumed that each of those
     remaining claimants had responded to the order of December 1981 by
     alleging some physical condition that was capable of having been caused
     by exposure to asbestos dust and of constituting an injury.
         Cape, Capasco and Egnep took the decision to play no part in any of
     the Tyler 2 actions. They had initially regarded the Tyler 1 actions as
^    having little more than nuisance value. They could not understand how
     tortious liability to the Owentown workers could be imposed upon the
     Cape companies merely on the ground that Cape subsidiary companies
     had mined the asbestos and sold it into the United States of America.
     They had had expectations of success on their jurisdiction objection.
     They had, however, succumbed to the pressure for settlement. They
Q    were unwilling to be left as the only defendants in a large and expensive
     jury trial. Having joined in the settlement of the Tyler 1 actions they
     decided, since they had no assets in the United States of America, to
     take no part in the Tyler 2 proceedings; to allow default judgments to
     be obtained against them; and to defend any actions brought in this
     country for enforcement of any such judgment on the ground that,
     under the law of this country, the Tyler court had no jurisdiction over
fj   Cape, Capasco or Egnep with reference to the claims of the claimants.
      The settlement against some defendants of the Tyler 2 proceedings
         In circumstances which will be considered in more detail later in this
     judgment, the Tyler 2 proceedings were in February 1983 settled, as
                                                                      APP.334
3:18-cv-00731-X
       508      Document 273-6 Filed 07/30/19                     Page 318 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)           [1990]
      against the effective defendants other than the Cape companies, for a A
      sum of $1.33m. The figure of $1.33m. was based upon an average award
      of $10,000 for each of 133 plaintiffs represented in the settlement
      negotiations. The sum of $ 1.33m. was to be provided as to $900,000 by
      P.C.C., the firm which had operated the Owentown factory from 1962
      to 1972, and by P.P.G., one of the corporations owning shares in
      P.C.C.; $130,000 by Corning Glassworks Inc., the other corporation
      holding shares in P.C.C.; $150,000 by O.C.A.W., and $250,000 by B
      N.A.A.C. Such was the considered value of the claims, as it emerged
      from the settlement process between the judge and the parties, as
      against the parties which included those alleged to have had some direct
      concern in connection with the emission of asbestos particles at or from
      the Owentown factory. On payment of those sums the settling defendants
      were to be released from all claims by the 133 plaintiffs.                   Q
          That settlement was complicated by a "device" devised by Mr.
      Bailey, who was the attorney negotiating the settlement on behalf of the
      claimants and which was intended, it was said, to give the claimants the
      chance of additional recovery against the United States. The form of this
      device, and the part which it was alleged to have played in the
      formulation of the terms of the default judgment against the Cape
      companies, was important to the allegations of fraud put forward against D
      Mr. Bailey, which, as stated below, were rejected by Scott J. It is
      necessary to describe what happened to render intelligible some of the
      matters discussed later in this judgment. The device was described by
      Scott J., ante, p. 452C-F:
           "The device was this: the settlement figure would be expressed in
           the intended settlement agreement not as $1.33m. but instead as E
           $6.65m., an average of $50,000 per plaintiff. The defendants would
           be obliged to pay only $1.33m. The balance of $5.32m. ($40,000 per
           plaintiff) would be payable only if and to the extent that the
           defendants' third party claims against the United States succeeded.
           The prosecution of those claims in the names of the defendants was
           to be the responsibility of the plaintiffs' counsel, no cost in respect F
           thereof falling on any of the defendants. The $6.65m. was a figure
           proposed by Mr. Bailey. It was not a figure which mattered at all to
           the defendants since their obligation to pay was limited to the
           $1.33m. They did not bargain about the amount. They simply
           agreed to Mr. Bailey's proposal which would cost them nothing.
           Mr. Bailey told me that the figure was based upon what he thought
           might be awarded against the United States at the suit of the G
           settling defendants. How it could have been supposed that the
           liability of the United States under the third party claims could
           exceed the $1.33m. that the settling defendants, the third party
           claimants, had agreed to pay the plaintiffs, defeats me."
          On 2 February 1983 Judge Steger approved the settlement of the
      Tyler 2 proceedings as against the settling defendants, and that approval    "
      extended to the fairness and reasonableness of the settlement in the case
      of any minor claimants. The trial date for the outstanding Tyler 2 claims
      against the United States was fixed for 20 June 1983. Settlement was
                                                                      APP.335
3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 319 of
                                                                             509421 PageID 1
       1 Ch.                 Adams v. Cape Industries Pic. (C.A.)

  A    discussed. An agreement of compromise dated 15 June 1983 was signed.
       The United States Government contributed nothing directly to the
       claimants but, in settlement of their claims against the United States, it
       was agreed that the United States would bear the costs of enforcement
       of default judgments against Cape, Capasco and Egnep in the United
       Kingdom or in South Africa. It is in performance of that promise that
       these proceedings have been pursued in this country.
  "        The default judgment in the Tyler court, upon which the present
       proceedings in this country are based, was, as stated above, signed on 12
       September 1983. The nature of the process in which that judgment came
       to be signed will be examined in detail later in this judgment when the
       issue of natural justice is considered.

  C    The consolidated actions in this country
           There is no statutory provision for the registration in this country of
       the judgments of the federal or state courts of the United States of
       America. The plaintiffs, therefore, took proceedings in this country
       seeking to recover the amount of their judgments from Cape and
       Capasco. The writ in the lead action of Mr. Jimmy Adams was issued on
  rj   1 August 1984 and claimed the amount of his separate award with
       interest. In law the claims of all the plaintiffs are based upon the
       principle of common law that, subject to certain qualifications, the
       judgment in personam of a foreign court of competent jurisdiction may
       be sued on in this country as creating a debt between the parties to it.
           It would have been open to the plaintiffs in the first place to sue the
       defendants in this country rather than the United States of America,
  E    provided that they could have shown that the acts complained of were
       actionable as a tort both under English law and the law of the place or
       places where they were committed: see Boys v. Chaplin [1971] A.C.
       356. However, they chose to bring the proceedings in the United States
       of America and then to seek to enforce them in this country, where
       presumably the defendants are believed to have substantial assets.
  F
       The issues at the trial before Scott J. and his decision
           The circumstances in which our courts will recognise a foreign court
       as competent to give a judgment in personam capable of enforcement in
       this country are stated thus in Dicey & Morris, The Conflict of Laws,
       11th ed. (1987), vol. 1, pp. 436^37, rule 37:
  G         "First Case—If the judgment debtor was, at the time the proceedings
            were instituted, resident (or, perhaps, present) in the foreign
            country.
            "Second Case—If the judgment debtor was plaintiff in, or
            counterclaimed, in the proceedings in the foreign court.
            "Third Case—If the judgment debtor, being a defendant in the
            foreign court, submitted to the jurisdiction of that court by
            voluntarily appearing in the proceedings.
            "Fourth Case—If the judgment debtor, being a defendant in the
            original court, had before the commencement of the proceedings
            agreed, in respect of the subject matter of the proceedings, to
                                                                       APP.336
3:18-cv-00731-X
      510       Document 273-6 Filed 07/30/19                     Page 320 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)           [1990]

         submit to the jurisdiction of that court or of the courts of that         A
         country."
          At the trial the plaintiffs relied on three separate grounds for
     enforcement of the judgment of the Tyler court in England, namely:
     (i) that the defendants had voluntarily appeared in the proceedings in
     the Tyler court; (ii) that the defendants had, before the proceedings
     commenced, agreed to submit to the jurisdiction of the Tyler court;           B
     (iii) that the defendants were resident in the United States of America
     at the time of the commencement of the plaintiffs' proceedings in the
     Tyler court. (A fourth pleaded ground, referred to as "comity or
     reciprocity," was not in the event relied on at the trial.)
          Scott J. concluded that the Tyler court had been competent to give a
     judgment against Cape and Capasco on none of the three grounds relied         Q
     on (Dicey & Morris' First, Third and Fourth Cases). The plaintiffs'
     claim, therefore, failed for this reason, if no other.
          However, the judge proceeded to consider certain additional points
     raised by the defendants by way of defence. The first point arose in this
     way. According to the case made for the plaintiffs, the presence (if any)
     of Cape and Capasco was in the State of Illinois where Cape's subsidiary,
     N.A.A.C. had its office in Chicago from 1953 to 1978 when it was              D
     wound up; and where in the same building from 1978 onwards
     Continental Products Corporation ("C.P.C."), also an Illinois corporation
     but not a subsidiary of Cape, carried out similar marketing functions in
     the United States of America for the sale of asbestos produced by
     Cape's South African subsidiaries. The plaintiffs did not contend that
     Cape or Capasco had been present in Texas. In these circumstances, the        p
     defendants contended that under English law presence in Illinois did not
     suffice to give the Tyler court (a federal district court sitting in Texas)
     jurisdiction to hear a claim in tort against the defendants governed by
     the law of Texas. This argument, which we will call "the country issue,"
     Scott J. rejected. He said, ante, p. 491F, that if he had felt able to
     conclude that Cape and Capasco were present in Illinois when the Tyler
     2 actions were commenced, he would have held that to be a sufficient          F
     basis in English law for the exercise by the Tyler court of jurisdiction
     over them.
          The defendants further contended that, even if any grounds of
     jurisdiction in the Tyler court had existed, yet the judgment should not
     be enforced because (i) the judgment had been obtained by the fraud of
     Mr. Blake Bailey, the attorney who had represented some of the                Q
     plaintiffs before Judge Steger in the proceedings upon the making of the
     default judgment and who had drafted the terms in which the default
     judgment was finally expressed; and (ii) it would be contrary to the
     standards of natural justice required by our law, and contrary to
     the principles of public policy applied by our law, to enforce the
     judgment having regard to the circumstances in which, and the
     procedures by which, it came to be made. Scott J. considered these            "
     issues again on the assumption that, contrary to his conclusion, the
     plaintiffs had made out a ground for jurisdiction in the Tyler court over
     Cape and Capasco. He acquitted Mr. Bailey of having had any intention
                                                                     APP.337
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 321 511
                                                                            of 421 PageID 1
      1 Ch.                 Adams v. Cape Industries Pic. (C.A.)

 A    to deceive and of having deceived anyone with reference to the terms
      and form of the judgment. The allegations that the judgment had been
      obtained by fraud accordingly failed. However, the defendants succeeded
      before Scott J. on the natural justice point. The judge found that the
      judgment was not such that it could be enforced in the courts of this
      country. The primary ground of that finding was that the procedure
      adopted in this particular case by the judge of the Tyler court offended
 °     against the principles of substantial justice contained in our law.
          Scott J. gave his judgment in two parts, which together covered 150
      pages of transcript. On 17 June 1988 he announced that the claims of all
      the plaintiffs would be dismissed and he gave his reasons for rejecting
      each of the three grounds upon which the plaintiffs had claimed that
      their judgment in the Tyler court should be enforced in this country. He
 Q    also stated in summary form his reasons for rejecting the allegations of
      fraud against Mr. Bailey and for upholding the contentions of
      Cape/Capasco on the natural justice issue. On 26 July 1988 he gave his
      full reasons with reference to the issues of fraud and natural justice. The
      plaintiffs have invited this court to take a different view on some parts
      of the facts in this case, and to apply principles of law which the judge
      considered to be inapplicable. Mr. Morison, however, began his
  D   submissions by rightly acknowledging the great care expended in, and
      the great accuracy and clarity of, the judgment of the judge, to which
      we also pay tribute.

      The issues on this appeal
  c       On this appeal the plaintiffs do not seek to challenge those parts of
      Scott J.'s judgment by which he rejected their submissions based on the
      alleged voluntary appearance by the defendants in the Tyler court
      proceedings or their alleged agreement to submit to the jurisdiction of
      that court. The defendants do not challenge his rejection of their
      allegation of fraud against Mr. Bailey. The plaintiffs do, however, seek
      to challenge those parts of his judgment by which (a) he rejected their
  F   submissions based on the alleged residence or presence of Cape and
      Capasco in the United States of America ("the presence issue"); (b) he
      accepted the defendants' submissions based on natural justice ("the
      natural justice issue").
          As part of their answer to the plaintiffs' case on presence, the
      defendants have cross-appealed on what we have described as "the
  Q   country issue."
          To sum up, the three issues which have been argued on this appeal
      are (a) the presence issue; (b) the country issue; and (c) the natural
      justice issue. A decision on any one of these issues in favour of the
      defendants would strictly render a decision on the other two issues
      unnecessary. However, we think it right to deal fully with all three
      issues, not only out of deference to the excellent arguments which have
  "   been presented to us on both sides, but also because these issues are
      important and we suppose that the case could proceed to a higher court.
      Furthermore, at least the first two of the three issues are closely
      connected with one another.
                                                                      APP.338
3:18-cv-00731-X
       512      Document 273-6 Filed 07/30/19                             Page 322 of 421 PageID 1
                               Adams v. Cape Industries Pic. (C.A.)                 [1990]
                                 II The presence issue                                       A
          [Their Lordships referred to the depositions placed before Scott J. at
      the hearing, listed the facts found by the judge relevant to the presence
      issue, and continued:]

      The plaintiffs' challenge to Scott J. 's finding of facts relevant to the
      "presence" issue                                                                       B
          The plaintiffs' challenge to the judgment of Scott J. on the "presence"
      issue is based not so much on the findings of primary fact which were
      made, but on his supposed failure to find all the material facts and to
      draw the correct inferences and conclusions which should have been
      drawn from such facts. In their amended notice of appeal (which we
      gave leave to amend at the hearing) the plaintiffs included a "Schedule                C
      of facts which ought to have been found." This schedule included 25
      paragraphs. For convenience we will set out and deal with the issues of
      fact raised by this schedule in an appendix to this judgment, which in
      our view would not need to be reported.* We observe at this point that,
      having been taken through the evidence relating to such of these 25
      paragraphs as are disputed, we think that the majority of them (though
      by no means all) are in broad terms borne out by the evidence.                         D
      However, we do not think that those which are substantiated add very
      much to the strength of the plaintiffs' case on the presence issue or that
      they suffice to invalidate the ultimate conclusion of the judge on that
      issue.
          On the basis of the findings of fact made by Scott J. and the further
      facts which they submit he ought to have found, the plaintiffs in their                E
      amended notice of appeal submit that he was wrong to conclude:
            "(1) N.A.A.C.'s business was its own business and not the business
            of Cape or Capasco;
            "(2) C.P.C. . . . was . . . an independently owned company and
            carried on its own business;
            "(3) As from 31 January 1978 N.A.A.C. ceased to act on behalf of                 F
            any of the Cape companies or to carry on any business on its own
            account save for the purpose of liquidating its assets;
            "(4) Mr. Morgan was in executive control of N.A.A.C.'s conduct of
            its business."
           Two important inferences of fact made by the judge (numbers (1)
      and (2)) and two important findings of primary fact (numbers (3) and                   G
       (4)) are thus challenged on this appeal. We shall consider contention (4)
      in the section of this judgment dealing with the "single economic unit"
      argument and in the appendix. We shall consider the contention that
      C.P.C. was "not an independently owned company" in the section
      dealing with the "corporate veil argument." We shall consider contention
      (3) and the contentions that N.A.A.C.'s business was not "its own                      JJ
      business" and that C.P.C.'s business was not "its own business" in the
      section dealing with what we will call the "agency" argument.
         * Reporter's Note: The appendix has not been included in this report.

                                                                                 APP.339
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 323 513
                                                                           of 421 PageID 1
      1 Ch.                Adams v. Cape Industries Pic. (C.A.)

  A   Some leading authorities relevant to the presence issue
          Provision has been made by statute for the enforcement in this
      country of the judgments of the courts of Commonwealth and foreign
      countries in a number of different circumstances: see in particular
      section 9 of the Administration of Justice Act 1920; section 4 of the
      Foreign Judgments (Reciprocal Enforcement) Act 1933 and the Civil
  g   Jurisdiction and Judgments Act 1982. However, none of these statutory
      provisions applies in the present case. We are concerned solely with the
      common law: Dicey & Morris, vol. 1, p. 436, "First Case."
          So far as appears from the many cases cited to us, neither this court
      nor the House of Lords has ever been called on to consider the
      principles which should guide an English court in deciding whether or
      not a foreign court was competent to assume jurisdiction over a
  C   corporation (as opposed to an individual) on a territorial basis; and we
      have seen only two decisions of courts of first instance in which these
      principles fell to be considered. We will begin by mentioning some of
      the leading cases relating to judgments given against individuals.
          Two points at least are clear. First, at common law in this country
      foreign judgments are enforced, if at all, not through considerations of
  D   comity but upon the basis of a principle explained thus by Parke B. in
      Williams v. Jones (1845) 13 M. & W. 628, 633:
           "where a court of competent jurisdiction has adjudicated a certain
           sum to be due from one person to another, a legal obligation arises
           to pay that sum, on which an action of debt to enforce the judgment
           may be maintained. It is in this way that the judgments of foreign
  P        and colonial courts are supported and enforced . . . " (Emphasis
           added.)
         Blackburn J. stated and followed the same principle in delivering the
      judgment of himself and Mellor J. in Godard v. Gray (1870) L.R. 6
      Q.B. 139, 147, and the judgment of the Court of Queen's Bench in
      Schibsby v. Westenholz (1870) L.R. 6 Q.B. 155, 159. In the latter case
  F   he said, at p. 159:
          "It is unnecessary to repeat again what we have already said in
          Godard v. Gray. We think that, for the reasons there given, the
          true principle on which the judgments of foreign tribunals are
          enforced in England is that stated by Parke B. in Russell v. Smith
          (1842) 9 M. & W. 810, 819, and again repeated by him in Williams
  G        v. Jones, 13 M. & W. 629, 633, that the judgment of a court of
          competent jurisdiction over the defendant imposes a duty or
          obligation on the defendant to pay the sum for which judgment is
          given, which the courts in this country are bound to enforce; and
          consequently that anything which negatives that duty, or forms a
          legal excuse for not performing it, is a defence to the action."
  "      Secondly, however, in deciding whether the foreign court was one of
      competent jurisdiction, our courts will apply not the law of the foreign
      court itself but our own rules of private international law. As
      Lindley M.R. put it in Pemberton v. Hughes [1899] 1 Ch. 781, 791:
                                                                     APP.340
      514
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 324 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)           [1990]

         "There is no doubt that the courts of this country will not enforce A
         the decisions of foreign courts which have no jurisdiction in the
         sense above explained—i.e., over the subject matter or over the
         persons brought before them . . . But the jurisdiction which alone
         is important in these matters is the competence of the court in an
         international sense—i.e., its territorial competence over the subject
         matter and over the defendant. Its competence or jurisdiction in
         any other sense is not regarded as material by the courts of this "
         country."
         Subsequent references in this section of this judgment to the
     competence of a foreign court are intended as references to its
     competence under our principles of private international law, which will
     by no means necessarily coincide with the rules applied by the foreign
     court itself as governing its own jurisdiction. As the decision in C
     Pemberton v. Hughes [1899] 1 Ch. 781 shows, our courts are generally
     not concerned with those rules.
         Under the plaintiffs' case as pleaded, the obligation of the defendants
     to obey the judgment of the Tyler court is said to arise because "the
     defendants were resident in the United States of America at the time
     the plaintiffs' proceedings were commenced in the Tyler court." The r_>
     jurisdiction of the Tyler court is thus said to be founded on territorial
     factors.
         Nearly 120 years ago in Schibsby v. Westenholz, L.R. 6 Q.B. 155,
     the "residence" of an individual in a foreign country at time of
     commencement of suit was recognised by the Court of Queen's Bench as
     conferring jurisdiction on the court of that country to give a judgment in
     personam against him. In that case the court declined to enforce a E
     judgment of a French tribunal obtained in default of appearance against
     defendants who at the time when the suit was brought in France were
     neither subjects of nor resident in France. On these facts the court
     decided, at p. 163, "there existed nothing in the present case imposing
     on the defendants any duty to obey the judgment of a French tribunal."
     However, it regarded certain points as clear on principle, at p. 161:       p
          "If the defendants had been at the time of the judgment subjects of
          the country whose judgment is sought to be enforced against them,
          we think that its laws would have bound them. Again, if the
          defendants had been at the time when the suit was commenced
          resident in the country, so as to have the benefit of its laws
          protecting them, or, as it is sometimes expressed, owing temporary
          allegiance to that country, we think that its laws would have bound ^
          them."
         In Rousillon v. Rousillon (1880) 14 Ch. D. 351, Fry J., after referring
     to Schibsby v. Westenholz and in enumerating the cases where the courts
     of this country regard the judgment of a foreign court as imposing on
     the defendant the duty to obey it, at p. 371, similarly referred to one
     such case as being "where he was resident in the foreign country when         "
     the action began."
         In Emanuel v. Symon [1908] 1 K.B. 302, this court had to consider
     whether the fact of possessing property situate in Western Australia or
                                                                     APP.341
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 325515
                                                                           of 421 PageID 1
     1 Ch.                 Adams v. Cape Industries Pic. (C.A.)

 A   the fact of entering into a contract of partnership in that country was
     sufficient to give a Western Australian court jurisdiction (in the private
     international law sense) over a British subject not resident in Western
     Australia at the start of the action, who had neither appeared to the
     process nor expressly agreed to submit to the jurisdiction of that court.
     This question was answered in the negative. Buckley L.J. said, at
     p. 309:
 B
          "In actions in personam there are five cases in which the courts of
          this country will enforce a foreign judgment: (1) Where the
          defendant is a subject of the foreign country in which the judgment
          has been obtained; (2) where he was resident in the foreign country
          when the action began; (3) where the defendant in the character of
          plaintiff has selected the forum in which he is afterwards sued;
 C         (4) where he has voluntarily appeared; and (5) where he has
          contracted to submit himself to the forum in which the judgment
          was obtained. The question in the present case is whether there is
          yet another and a sixth case."
     After referring to the principles established by, inter alia, Godard v.
     Gray, L.R. 6 Q.B. 139, and Schibsby v. Westenholz, L.R. 6 Q.B. 155,
 D
     Buckley L.J. observed, at p. 310:
          "In other words, the courts of this country enforce foreign judgments
          because those judgments impose a duty or obligation which is
          recognised in this country and leads to judgment here also."
     In agreement with the rest of the court, he considered that the factors
 E   relied on by the plaintiff mentioned above did not suffice to impose a
     duty on the defendant to obey the Western Australian judgment which
     should be recognised in this country.
         We pause to observe that Buckley L.J.'s second, third, fourth and
     fifth cases mentioned in his statement broadly correspond with Dicey &
     Morris' respective four cases. It is doubtful whether the first case
 F   mentioned in his statement would still be held to give rise to jurisdiction:
     see Dicey & Morris, 11th ed., vol. 1, pp. 447-448, and the cases there
     cited. With this point we are not concerned.
         Residence will much more often than not import physical presence.
     On the facts of the four cases last mentioned, any distinction between
     residence and presence would have been irrelevant. However, the brief
     statements of principle contained in the judgments left at least three
 G   questions unanswered. First, does the temporary presence of a defendant
     in a foreign country render the court of that country competent (in the
     private international law sense) to assume jurisdiction over him?
     Secondly, what is the relevant time for the purpose of ascertaining such
     competence? Thirdly, what is to be regarded as the "country" in the
     case of a political country, such as the United States of America
     comprising different states which have different rules of law and legal
     procedure?
         We will have to revert to the third question in the section of this
     judgment dealing with the "country" issue; in the present section we will
     assume in favour of the plaintiffs that the United States of America,
                                                                       APP.342
3:18-cv-00731-X
      516       Document 273-6 Filed 07/30/19                     Page 326 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)           [1990]

     rather than the state of Texas, is to be regarded as the relevant country,    A
     As to the first and second questions, we think that the most helpful
     guidance is to be obtained from the decision of the Privy Council in
     Sirdar Gurdyal Singh v. Rajah of Faridkote [1894] A.C. 670, the decision
     of Lord Russell of Killowen in Carrick v. Hancock (1895) 12 T.L.R. 59
     and the decision of the House of Lords in Employers' Liability Assurance
     Corporation Ltd. v. Sedgwick Collins & Co. Ltd. [1927] A.C. 95.
         In the Sirdar Gurdyal Singh case the Privy Council on an appeal           °
     from the Chief Court of the Punjab considered the question whether the
     courts of British India ought to have enforced against the defendant two
     judgments obtained against him ex parte in the native state of Faridkote,
     which for this purpose fell to be regarded as foreign judgments. The
     defendant had ceased to reside in the state before the actions were
     brought, and though he had received notice of the proceedings, he had         Q
     never appeared in either of them or otherwise submitted to the
     jurisdiction of the Faridkote court. The Privy Council held the judgments
     to be a nullity under international law. Lord Selborne, delivering their
     opinion, said, at pp. 683-684:
          "Under these circumstances there was, in their Lordships' opinion,
          nothing to take this case out of the general rule, that the plaintiff    p
          must sue in the court to which the defendant is subject at the time
          of suit ('Actor sequitur forum rei'); which is rightly stated by Sir
          Robert Phillimore (International Law, vol. 4, section 891) to 'lie at
          the root of all international, and of most domestic, jurisprudence on
          this matter.' All jurisdiction is properly territorial, and 'extra
          territorium jus dicenti, impune non paretur.' Territorial jurisdiction
          attaches (with special exceptions) upon all persons either permanently   E
          or temporarily resident within the territory while they are within it;
          but it does not follow them after they have withdrawn from it, and
          when they are living in another independent country. . . . no
          territorial legislation can give jurisdiction which any foreign court
          ought to recognise against foreigners, who owe no allegiance or
          obedience to the power which so legislates. In a personal action, to     p
          which none of these causes of jurisdiction apply, a decree
          pronounced in absentem by a foreign court, to the jurisdiction of
          which the defendant has not in any way submitted himself, is by
          international law an absolute nullity."
     The Privy Council held, at p. 684, that the mere fact that the cause of
     action had arisen in one country did not operate to confer jurisdiction Q
     on the courts of that country over a defendant not otherwise subject to
     it.
         In Carrick v. Hancock, 12 T.L.R. 59, the principle of territorial
     dominion was again referred to. In that case an action was brought upon
     a monetary judgment obtained in Sweden by an Englishman domiciled
     in Sweden against a defendant who resided and carried on business at
     Newcastle. The writ was served on the defendant during a short visit he "
     was paying to Sweden and he duly appeared to answer it. Though he
     did not himself remain in Sweden, he was represented throughout the
     subsequent proceedings. He put in a defence and counterclaim and on
                                                                     APP.343
3:18-cv-00731-X Document 273-6 Filed 07/30/19                        Page 327 of517
                                                                                 421 PageID 1
        1 Ch.                 Adams v. Cape Industries Pic. (C.A.)

   A    three separate occasions appealed to the Court of Appeal at Gota. It
        may be that in those circumstances, notwithstanding his protestations
        that he had "only appeared under pressure, duress and compulsion of
        law," the English court could properly have enforced the foreign
        judgment on the ground that the defendant had submitted to the
        jurisdiction of the Swedish court. However, Lord Russell of Killowen
        did not decide the case in favour of the plaintiff on that ground. After
   "    reviewing the facts and arguments, he is reported as saying, at p. 60:
              "that the jurisdiction of a court was based upon the principle of
              territorial dominion, and that all persons within any territorial
              dominion owe their allegiance to its sovereign power and obedience
              to all its laws and to the lawful jurisdiction of its courts. In his
              opinion that duty of allegiance was correlative to the protection
   C          given by a state to any person within its territory. This relationship
              and its inherent rights depended upon the fact of the person being
              within its territory. It seemed to him that the question of the time
              the person was actually in the territory was wholly immaterial. This
              being so it was quite clear that under the facts of this case it was
              properly and lawfully initiated, and all its subsequent proceedings
              were lawful and valid, and that the Swedish courts had ample
              jurisdiction to enforce the plaintiff's claim against the defendant."
            In the Employers' Liability case, Lord Parmoor said [1927] A.C. 95,
        114-115:
              "My Lords, in the case of actions in personam, in which a writ has
              been regularly served on foreigners or foreign corporations, when
   P          present in this country, and a judgment has been obtained, it seems
              to be clear, as a general rule, that, under the obligations of that
              branch of international law, which governs the application of foreign
              judgments, other countries, whose governments have been recognised
              de jure and de facto by the government of this country, will accept
              the jurisdiction of the courts of this country, and regard their
              judgments as valid. In the case of such actions, it may also be stated
   F          negatively that, where a writ cannot be served on a defendant
              foreigner, or foreign corporation, when in this country, and no
              submission to jurisdiction is proved, any consequent judgment has
              no validity in any other country, on the ground that the courts of
              this country have no jurisdiction under international law over the
              person of an absent foreign defendant. In other words, the right to
    „          serve a writ, in an action in personam, on a foreign defendant, only
              becomes effective, as a source of jurisdiction, to be recognised in
              other countries when, at the date of service, such defendant is
              within the territorial jurisdiction of the English courts."
             Lord Parmoor was in terms referring to the recognition by foreign
        countries of judgments given by our courts, but he was speaking
        generally in terms of private international law and would presumably
         have regarded the same principles as applicable (mutatis mutandis) in a
        case where our courts were asked to enforce a foreign judgment.
             From the three last mentioned authorities read together, the following
         principles can, in our judgment, be extracted. First, in determining the
                                                                        APP.344
3:18-cv-00731-X
     518        Document 273-6 Filed 07/30/19                    Page 328 of 421 PageID 1
                          Adams v. Cape Industries Pic. (C.A.)             [1990]

    jurisdiction of the foreign court in such cases, our court is directing its      A
    mind to the competence or otherwise of the foreign court "to summon
    the defendant before it and to decide such matters as it has decided:"
    see Pemberton v. Hughes [1899] 1 Ch. 781, 790, per Lindley M.R.
    Secondly, in the absence of any form of submission to the foreign court,
    such competence depends on the physical presence of the defendant in
    the country concerned at the time of suit. (We leave open the question
    whether residence without presence will suffice.) From the last sentence         "
    of the dictum of Lord Parmoor cited above, and from a dictum of
    Collins M.R. in Dunlop Pneumatic Tyre Co. Ltd. v. Actien-gesellschaft
    fur Motor und Motorfahrzeugbau vorm. Cudell & Co. [1902] 1 K.B.
    342, 346, it would appear that the date of service of process rather than
     the date of issue of proceedings is to be treated as "the time of suit" for
    these purposes. But nothing turns on this point in the present case and          Q
    we express no final view on it. Thirdly, we accept the submission of Sir
     Godfray Le Quesne (not accepted by Mr. Morison) that the temporary
    presence of a defendant in the foreign country will suffice provided at
     least that it is voluntary (i.e. not induced by compulsion, fraud or
    duress). Some further support for this submission is to be found in dicta
    of Parke B. in General Steam Navigation Co. v. Guillou (1843) 11 M. &
    W. 877.                                                                          D
          The decision in Carrick v. Hancock, 12 T.L.R. 59, has been the
     subject of criticism in Cheshire & North's Private International Law,
     11th ed. (1987), p. 342, and in Dicey & Morris, 11th ed., vol. 1, where
     it is said, at pp. 439-440:
           "It may be doubted, however, whether casual presence, as distinct
           from residence, is a desirable basis of jurisdiction if the parties are   E
           strangers and the cause of action arose outside the country
           concerned. For the court is not likely to be the forum conveniens,
           in the sense of the appropriate court most adequately equipped to
           deal with the facts or the law. Moreover, the English case referred
           to above is open to the comment that the jurisdiction of the foreign
           court might just as well have been based on the defendant's               p
           submission as on his presence."
    Our own courts regard the temporary presence of a foreigner in England
    at the time of service of process as justifying the assumption of
    jurisdiction over him: see Colt Industries Inc. v. Sadie [1966] 1 W.L.R.
    440 and H.R.H. Maharanee Seethadevi Gaekwar of Baroda v. Wildenstein
    [1972] 2 Q.B. 283. However, Cheshire & North, 11th ed., comment, at Q
    p. 342:
         "any analogy based on the jurisdiction of the English courts is not
         particularly convincing, since the rules on jurisdiction are operated
         in conjunction with a discretion to stay the proceedings, and the
         exercise of the discretion is likely to be an issue when jurisdiction is
         founded on mere presence."                                               „
       We see the force of these points. They highlight the possible
    desirability of a further extension of reciprocal arrangements for the
    enforcement (or non-enforcement) of foreign judgments by convention.
                                                                       APP.345
3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 329 519
                                                                             of 421 PageID 1
      1 Ch.                  Adams v. Cape Industries Pic. (C.A.)

  A   Nevertheless, while the use of the particular phrase "temporary
      allegiance" may be a misleading one in this context, we would, on the
      basis of the authorities referred to above, regard the source of the
      territorial jurisdiction of the court of a foreign country to summon a
      defendant to appear before it as being his obligation for the time being
      to abide by its laws and accept the jurisdiction of its courts while present
      in its territory. So long as he remains physically present in that country,
  B   he has the benefit of its laws, and must take the rough with the smooth,
      by accepting his amenability to the process of its courts. In the absence
      of authority compelling a contrary conclusion, we would conclude that
      the voluntary presence of an individual in a foreign country, whether
      permanent or temporary and whether or not accompanied by residence,
      is sufficient to give the courts of that country territorial jurisdiction over
  Q   him under our rules of private international law.
           In the forefront of his argument on this issue, Mr. Morison submitted
      that the essential feature of this country's rules relating to the
      enforcement of foreign judgments is "curial allegiance," which arises
      "where there is sufficient connection between the debtor and the
      rendering court at the date of suit so as to make it 'just' to enforce a
      judgment of that court." The relevance of residence or presence, in his
  D   submission, is that it provides the requisite connection. This, in our
      judgment, is not quite the correct way to look at the matter. While
      residence or presence will ex hypothesi give rise to a connection, it is
      the residence or presence, not the connection as such, which gives rise
      to the jurisdiction of the court. The question whether residence or
      presence existed at the time of suit is determined by our courts not by
  g   reference to concepts of justice or by the exercise of judicial discretion;
      it is a question of fact which has to be decided with the help of the
      guidance given by the authorities.
           However, none of the authorities so far referred to was concerned
      with the question of enforcement of a foreign judgment against a
      corporate body. The residence or presence of a corporation is a difficult
      concept. A corporation is a legal person but it has no corporeal
  F   existence. It can own property. It can by its agents perform acts. It is
      clear that if an English corporation owns a place of business in a foreign
      state from which it carries on its business that English corporation is,
      under our law, present in that state for the purposes of in personam
      jurisdiction. Those clear circumstances, however, may be varied in many
       different ways. The corporation may not own the place of business but
  Q    have only the use of it or part of it. It may, instead of carrying on its
       business by its own servants, cause its business to be done by an agent,
       or through an agent, in the foreign state. The question will then arise
       whether the commercial acts done are, for the purposes of our law, to
       be regarded as done within the jurisdiction of the foreign state (a) by
       the agent in the course of the agent's business or (b) by the corporation
       itself. Further, and this is of central importance in this case, if the
  "    English corporation causes to be formed under the law of the foreign
       state a separate but wholly owned corporation to carry out the business
       or commercial acts which it requires to be done, are those acts within
       the jurisdiction of the foreign state to be regarded, for the purposes of
                                                                        APP.346
3:18-cv-00731-X
     520        Document 273-6 Filed 07/30/19                    Page 330 of 421 PageID 1
                          Adams v. Cape Industries Pic. (C.A.)           [1990]

    enforcement of a judgment of the courts of that state, as the acts of the     A
    English corporation within that jurisdiction merely by reason that it
    owns all the shares of its foreign corporation; and, if not, what degree of
    power of control, or of exercise of control, and/or what other factors
    will suffice, in our law, to cause the English corporation to be held to be
    "present" within the jurisdiction of the foreign state?
        The earliest case cited to us in which this court had to consider the
    concept of residence or presence of a corporation in the context of a         "
    claim to enforce a foreign judgment was Littauer Glove Corporation v.
    F. W. Millington (1920) Ltd. (1928) 44 T.L.R. 746. In that case the
    plaintiffs were manufacturers in the State of New York. The defendant
    company, which conducted the business of clothiers' merchants, had its
    principal place of business in Manchester. It bought from manufacturers
    in various parts of the world and sold to wholesalers. On 17 March 1922       Q
    its managing director, Mr. Millington, arrived in New York on a
    business visit with a view to seeing samples and making purchases. He
    stayed in a New York hotel for four or five nights, where he did some
    business for his company. Thereafter he visited various other states
    where he also did business. On 1 April the plaintiffs took out a
    summons against the defendant company. On 3 April Mr. Millington
    returned to New York. On that date, while he was in the sale office in        D
    New York of Union Mills Corporation, the defendant's principal United
    States suppliers, he was served with process in the action. He entered no
    appearance, took no steps in the proceedings and did not submit to the
    jurisdiction of the American court. On 4 April he sailed for England.
    The plaintiffs, having in due course obtained judgment against the
    defendant company in default of appearance in New York, sought to             g
    enforce the judgment against it in England. The defendant contended
    that, under the rules of private international law, the New York court
    had no jurisdiction to make the order against it. Many authorities were
    cited to Salter J. From the report of the argument, it appears to have
    been common ground that the question turned on the "residence" or
    otherwise of the defendant company in the State of New York on 1
    April 1922 when the proceedings were instituted. Salter J. identified the     F
    question for his decision as being whether on 1 April 1922: "the
    defendant company were resident in the State of New York so as to
    have the benefit and be under the protection of the laws of that state."
    The plaintiffs' counsel had contended that it was not necessary for them
    to show that the defendant company was carrying on business at a fixed
    place. In his submission, it was resident in New York because it carried      ^
    on business there: "the company is resident by its travellers and would
    be subject to process of the country in which they happened to be."
    Salter J. rejected this contention, saying, at p. 747:
          "What was meant by saying that a business corporation was resident
          in a foreign jurisdiction for that purpose? That depended on
          whether, on the day in question, it was carrying on business in the
          foreign state so that it could fairly and properly be said to be then
          resident in that state. If the defendant company were resident in the
          State of New York on 1 April 1922, where in that state were they
          resident? Mr. Le Quesne said that they were resident in Broadway,
                                                                     APP.347
3:18-cv-00731-X Document 273-6 Filed 07/30/19                         Page 331 521
                                                                               of 421 PageID 1
      1 Ch.                    Adams v. Cape Industries Pic. (C.A.)
 A            New York, but there must be some place of residence on which one
              could put a finger. There was no suggestion that the name of the
              defendant company was in any way displayed at the address in
              Broadway, or that any letter paper of the company was used there,
              or that any business was done there except what the company did
              with firms in other parts of the United States. If the defendant
              company were resident in Broadway, it would follow that they were
  "           resident wherever Mr. Millington did business. He was, however,
              nothing more than a commercial traveller on that tour.
                  "If the company had 40 or 50 travellers ranging all over the
              world, was it to be said that the company were resident wherever
              the travellers put up at an hotel and took orders? He (his Lordship)
              did not rely on the expression 'fixed place,' but on what was the fair
  Q           meaning of 'residence.' The inference which he drew from the cases
              cited was that there must be some carrying on of business at a
              definite and, to some reasonable extent, permanent place. There
              was no residence within the jurisdiction on the part of the defendant
              company, and the action on that point must fail."
          Thus, the effect of Salter J.'s decision was that if a foreign judgment
  D   is to be enforced in this country against a corporation, it must be shown
      that at the relevant time (a) the corporation was carrying on business,
      and (b) it was doing so at a definite and "to some reasonable extent
      permanent place." This test is significantly different from that applicable
      in the case of judgments against individuals. Littauer does not bind this
      court, but we see no reason to doubt the correctness of this test so far as
  F   it goes. It seems to us consistent with authority and to represent a
      common sense approach to the question of "presence" in the case of a
      corporation. The difficulty may be to determine whether it can properly
      be said in any given case that the corporation is itself carrying on
      business in the country concerned.
          The other, and most recent, leading case relating to the enforcement
      of foreign judgments against corporations is Vogel v. R. and A.
  F   Kohnstamm Ltd. [1973] Q.B. 133. There the defendants were a company
      registered in England. They sold leather skins to the plaintiffs through a
      Mr. Kornbluth who had an office in Tel Aviv. The defendants had no
      office of their own in Israel. All the material correspondence was
      conducted with them in England. The contract of sale was not made in
      Israel. The court in Israel gave judgment for the plaintiff on a claim for
      breach of contract and the plaintiff sought to enforce it in England.
      Ashworth J. dismissed the plaintiff's claim. In his judgment he described
      the functions of Mr. Kornbluth vis-a-vis the defendants, at p. 136A-B:
            "Mr. Kornbluth's role was that of a person seeking customers who
           would buy the defendants' goods. For this purpose he was provided
            with samples for which he paid, and having found a potential
            customer he would act as a go-between between that person and
  "         the defendants. Correspondence would pass between the defendants
            and Mr. Kornbluth regarding a proposed order and Mr. Kornbluth
            would be in communication with the customer. If as a result a
            contract was made it would be made between the defendants and

                                                                          APP.348
      522
3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 332 of 421 PageID 1
                          Adams v. Cape Industries Pic. (C.A.)          [1990]
         the customer and at no time had Mr. Kornbluth any authority to          A
         make a contract on behalf of the defendants."
     He said, at p. 136G:
         "in order to succeed the plaintiff here has to persuade me either
         that the defendants were resident in Israel through Mr. Kornbluth
         as their agent or that they were carrying on business through him in
         such a way as to give rise to an implied agreement on their part to B
         submit to the jurisdiction of Israeli courts."
     With reference to the first of these two points, he observed, at p. 141:
         "As has been said in many cases, residence is a question of fact and
         when one is dealing with human beings one can normally approach
         the matter on the footing that residence involves physical residence Q
         by the person in question. I keep open the possibility that even in
         regard to such a person he may be constructively resident in another
         country although his physical presence is elsewhere. But in the case
         of a corporation there is broadly speaking no question of physical
         residence. A corporation or company, if resident in another country,
         is resident there by way of agents."
                                                                              D
     He recognised that the Littauer case was distinguishable on the ground:
         "the person through whom the defendant corporation was said to
         have residence in the United States was not a person with any fixed
         or reasonably permanent place . . . "
     However, Ash worth J. pointed out, at p. 142, that the defendants in the
     case before him had no office of their own in Israel, and that "All the E
     material correspondence was conducted with them in England and their
     connection with the State of Israel was limited . . . to their dealings
     through Mr. Kornbluth." He continued:
          "In examining how far the presence of a representative or agent
         will, so to speak, impinge on the absent company so as to render
          that absent company subject to the relevant jurisdiction, I find help F
          to be obtained from cases in which the converse situation has been
          considered: namely, where the English courts have been invited to
          allow process to issue to foreign companies on the footing that such
          foreign companies are 'here.'"
     He expressed his ultimate conclusion, at p. 143:
         " . . . I have asked myself anxiously in this case whether in any real ^
         sense of the word the defendants can be said to have been there in
         Israel: and all that emerges from this case is that there was a man
         called Kornbluth who sought customers for them, transmitted
         correspondence to them and received it from them, had no authority
         whatever to bind the defendants in any shape or form. I have come
         to the conclusion really without any hesitation that the defendants JJ
         were not resident in Israel at any material time."
         On this appeal, in accordance with the approach of the courts in the
     Littauer and Vogel cases, it has been common ground that the Tyler
                                                                     APP.349
                                                                                523
3:18-cv-00731-X
      1 Ch.     Document
                    Adams 273-6     Filed Pic.
                          v. Cape Industries 07/30/19
                                                (C.A.)            Page 333 of 421 PageID 1
  A    court was competent to exercise jurisdiction over Cape and Capasco, if
       at all, only if they could properly be said to be resident or present in the
       United States of America at the relevant time. (In view of their
       contentions on the "country" issue, the defendants do not accept that
       the Tyler court would have been competent, even if the latter condition
       had been fulfilled.) The words "resident" or "present" or equivalent
       phrases have been used interchangeably in argument, just as they have
  °    been used in the cases; we see no objection to this terminology if it is
       understood that in the case of a corporation the concept of "residence"
       or "presence" in any particular place must be no less of a legal fiction
       than the existence of the corporation itself. The argument has centred
       on the features which this concept embodies in the case of a corporation.
           In considering these features, Salter J. in the Littauer case and
  Q    Ashworth J. in the Vogel case clearly attached great weight to a long
       line of cases where the English court has considered whether it should
       allow process to issue to foreign companies as being amenable to its
       jurisdiction. We will call this line "the Okura line of cases," because a
       leading example is the decision of this court in Okura & Co. Ltd. v.
       Forsbacka Jernverks Aktiebolag [1914] 1 K.B. 715.
           The origin of this line requires some brief explanation. After it had
  D    been decided in Newby v. Von Oppen & Colt's Patent Firearms
       Manufacturing Co. (1872) L.R. 7 Q.B. 293 that in appropriate
       circumstances a foreign corporation was capable of being sued in this
       country, our courts in a number of cases had to consider (a) whether on
       the facts the foreign corporate defendant was amenable to the jurisdiction
       of the English court, and if so (b) whether it had been properly served
  £     with the process. Most of these cases were concerned with the old Ord.
       9, r. 8 of the Rules of the Supreme Court 1883, which provided:
           "In the absence of any statutory provision regulating service of
           process, every writ of summons issued against a corporation
           aggregate may be served on the mayor or other head officer, or
           on the town clerk, clerk, treasurer or secretary of such corpora-
  „         tion . . ."
  F
          The rule contained no such expressions as "reside" or "carry on
       business." However, as Ackner L.J. pointed out in South India Shipping
       Corporation Ltd. v. Export-Import Bank of Korea [1985] 1 W.L.R. 585,
       589:
            "Those expressions were used as convenient tests, to ascertain
  G         whether the corporation had a sufficient 'presence' within the
            jurisdiction, since 'generally,' courts exercised jurisdiction only over
            persons who 'are within the territorial limits of their jurisdiction.'
            Apart from statute 'a court has no power to exercise jurisdiction
            over anyone beyond its limits,' per Cotton L.J. in In re Busfield
            (1886) 32 Ch.D. 123, 131, quoted by Lord Scarman in Bethlehem
  TT        Steel Corporation v. Universal Gas (unreported), 17 July 1978,
            House of Lords."

          Phrases referring to residence or presence within the jurisdiction, or
       equivalent phrases, have been used by way of shorthand reference to

                                                                        APP.350
     524
3:18-cv-00731-X Document
                    Adams v. 273-6     FiledPic.07/30/19
                              Cape Industries    (C.A.)          Page 334   of 421 PageID 1
                                                                        [1990]

     the condition (or one of the conditions) which a foreign corporation has A
     to satisfy if it is to be amenable to the jurisdiction of the English court.
     And indeed they have been used more or less interchangeably by the
     courts. One typical example is the phraseology used by the Earl of
     Halsbury L.C. in La Compagnie Generate Transatlantique v. Thomas
     Law & Co., La Bourgogne [1899] A.C. 431, who said, at p. 433:
          "It appears to me that as a consequence of these facts the appellants g
          are resident here in the only sense in which a corporation can be
          resident—to use the phrase which Mr. Joseph Walton has so
          constantly referred to, they are 'here;' and, if they are here, they
          may be served."
         Perhaps the most helpful guidance in determining whether a foreign
     corporation is "here" so as to be amenable to the jurisdiction of our C
     courts is the following passage from the judgment of Buckley L.J. in the
     Okura case [1914] 1 K.B. 715, 718-719:
          "The point to be considered is, do the facts show that this
          corporation is carrying on its business in this country? In determining
          that question, three matters have to be considered. First, the acts
          relied on as showing that the corporation is carrying on business in Q
          this country must have continued for a sufficiently substantial period
          of time. That is the case here. Next, it is essential that these acts
          should have been done at some fixed place of business. If the acts
          relied on in this case amount to a carrying on of a business, there is
          no doubt that those acts were done at a fixed place of business. The
          third essential, and one which it is always more difficult to satisfy, is
          that the corporation must be 'here' by a person who carries on E
          business for the corporation in this country. It is not enough to
          show that the corporation has an agent here; he must be an agent
          who does the corporation's business for the corporation in this
          country. This involves the still more difficult question, what is
          meant exactly by the expression 'doing business?'"
                                                                                    p
         It is clear that (special statutory provision apart) a minimum
     requirement which must be satisfied if a foreign trading corporation is to
     be amenable at common law to service within the jurisdiction is that it
     must carry on business at a place within the jurisdiction: see The
     Theodohos [1977] 2 Lloyd's Rep. 428, 430, per Brandon J.
         (All the authorities cited to us have been directed, and all the
     statements later in this judgment will be directed, to trading corporations. G
     In the case of non-trading corporations, the same principles would
     presumably apply, with the substitution of references to the carrying on
     of the corporation's corporate activities for references to the carrying
     on of business.)
         The court will not find much difficulty in holding that a foreign
     corporation is present in this country if it has a fixed place of business of
     its own here (whether as owner, lessee or licensee) and for more than a
     minimal period of time has carried on its own business from such
     premises by its servants or agents. Typical example of such cases (which
     we will call "branch office cases") which have been cited to us are

                                                                       APP.351
                                                                              525
3:18-cv-00731-X
      1 Ch.     Document
                    Adams v.273-6     FiledPic.
                             Cape Industries 07/30/19
                                                (C.A.)            Page 335 of 421 PageID 1
 A    (1) Newby v. Von Oppen & Colt's Patent Firearms Manufacturing Co.,
      L.R. 7 Q.B. 293; (2) Haggin v. Comptoir d'Escompte de Paris (1889) 23
      Q.B.D. 519; (3) La Bourgogne [1899] P. 1; [1899] A.C. 431; (4) Dunlop
      Pneumatic Tyre Co. Ltd. v. Actien-gesellschaft fur Motor und
      Motorfahrzeugbau vorm. Cudell & Co. [1902] 1 K.B. 342.
          However, the cases also show that it may be permissible to treat a
      foreign corporation as resident in this country so as to be amenable to
 "    the jurisdiction of our courts even if it has no fixed place of business
      here of its own, provided that an agent acting on its behalf carries on its
      business (as opposed to his own business) from some fixed place of
      business in this country. Typical examples of such cases are:
          (1) Saccharin Corporation Ltd. v. Chemische Fabrik Von Heyden
      Aktiengesellschaft [1911] 2 K.B. 516 where the agent, Blasius, occupied
 Q    and paid rent for offices in London, and in the words of Fletcher
      Moulton L.J., at p. 524:
           "He carries on business at a fixed place in London as sole agent for
           the defendants in the United Kingdom, though it is true that he is
           also agent for another firm. He has power to enter into contracts of
           sale for the defendants."
          (2) Thames and Mersey Marine Insurance Co. v. Societa di
      Navigazione a Vapore del Lloyd Austriaco (1914) 111 L.T. 97, where
      Buckley L.J. began his judgment with the following statement of
      principle, at p. 98:
           "If contracts have been habitually made for a reasonably sub­
           stantial period of time at a fixed place of business within the juris-
 E         diction by a firm or a person there, without referring each time to
           the foreign corporation for instructions, and with the result that the
           foreign corporation has become bound to another party, then the
           foreign corporation for the present purpose carries on business at
           that place."
  P       The ultimate problem in such cases may lie in determining whether
      the business carried on by the agent on behalf of the principal should
      properly be regarded on the one hand as his own business or on the
      other hand as the business of the foreign corporation. This must
      necessitate an investigation both of the activities of the agent and of the
      relationship between him and the corporation.
          In a few of the Okura line of cases which have been cited to us, the
 G    court has had to consider the question whether a foreign corporation
      was carrying on business in this country in a context other than that of
      the old Ord. 9, r. 8, but nevertheless the like investigation was necessary.
      In Grant v. Anderson & Co. [1892] 1 Q.B. 108 the context was the old
      Ord. 48A, r. 1, which provided that any two or more persons claiming
      or being liable as co-partners "and carrying on business within the
      jurisdiction" might sue or be owed in the name of the respective firms.
      The defendants, who were a Scottish firm of manufacturers carrying on
      business in Glasgow, employed an agent in London to obtain orders for
      them in London. He occupied an office in London, the rent of which he
      paid himself, and received a commission if, but only if, he got an order

                                                                        APP.352
       526
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 336 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)           [1990]

      which the firm accepted. In rejecting the contention that the firm carried A
      on business in London, the Court of Appeal attached great weight to
      the fact that, in the words of Lord Esher M.R., at p. 116 "when he gets
      an order, he has no power himself to accept it." As he put it, at p. 117:
      "One might as well say that the defendants carry on business in any
      place through which their goods pass while being sent to their customers."
         Sfeir & Co. v. National Insurance Co. of New Zealand Ltd. [1964] 1
      Lloyd's Rep. 330 concerned a claim covered by section 9(2) of the ^
      Administration of Justice Act 1920, of which paragraph (b) precluded
      the registration of a judgment under the section if the judgment debtor
          "being a person who was neither carrying on business nor ordinarily
          resident within the jurisdiction of the original court, did not
          voluntarily appear or otherwise submit or agree to submit to the
          jurisdiction of that court . . . "                                       C
      The first question Mocatta J. had to determine (see, at p. 336) was
      whether the defendants at any material time carried on business in
      Ghana. If they did so, this could only have been through a Ghanaian
      company called Glyndova. He expressed his conclusion on this point, at
      p. 339:                                                                      D

           "In my judgment, Mr. Mustill was right in submitting that the
          decision of the court at the end of the day after considering the
          guidance contained in the authorities and their application to
          the facts of a particular case is one of impression. The conclusion I
          have reached is that the limited authority possessed by Glyndova to
           bind the defendants by settlements of claims arising in Ghana under
          the defendants' policies issued elsewhere, even when coupled with        ^
          the other matters relied upon which I have recited, did not amount
           to a carrying on of business by the defendants in Ghana. The
           business carried on in Ghana by Glyndova was their own and not
           that of the defendants."

          At least in cases other than branch office cases it is obvious that the p
      activities of the agent by whom the foreign corporation is said to be
      present in this country and the extent of the authority of that agent will
      be of particular importance in determining whether or not the corporation
      is amenable to our courts' jurisdiction. Counsel on both sides have
      referred us to numerous examples from the Okura line of cases in which
      a number of different aphorisms have been used to express the relevant
      test. Buckley L.J. (later Lord Wrenbury) "who made this subject "
      particularly his own" (see The Lalandia [1933] P. 56, 62, per Langton J.)
      himself used a variety of expressions to state it on the facts of particular
      cases. In the Thames and Mersey case he stated it thus, 111 L.T. 97, 98-
      99:
           "Does the agent in carrying on the foreign corporation's business
           make a contract for the foreign corporation, or does the agent, in "
           carrying on the agent's own business, sell a contract with the foreign
           corporation? In the former case the corporation is and in the latter
           it is not carrying on business at that place."

                                                                     APP.353
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 337527
                                                                           of 421 PageID 1
     1 Ch.                 Adams v. Cape Industries Pic. (C.A.)
 A      In the Okura case itself, Buckley L.J. [1914] 1 K.B. 715, 721,
     summarised his reasons for concluding that the defendant corporation
     was not present in this country as follows:
         "In my opinion the defendants are not 'here' by an alter ego who
         does business for them here, or who is competent to bind them in
         any way. They are not doing business here by a person but through
 g       a person."
        At the trial of the present case a number of decisions from the
     Okura line of authorities were cited to Scott J. He said that counsel
     before him had treated the statements of principle to be found in the
     authorities as applicable equally to both classes of case. While expressing
     "a little unease" in this context, ante, p. 471F, he therefore assumed that
 C   the statements of principle applied equally to both classes of case.
        Having made this assumption, he extracted the following propositions
     from the Okura line of cases:
               (1) "The cases establish that jurisdiction on the territorial basis
          may be taken by an English court over a foreign company if the
          foreign company has business premises in England from which or at
 D        which its business is carried on:" ante, p. 468A.
               (2) "There are, however, cases where residence or presence of a
          foreign company in England has been held established notwithstand­
          ing that the foreign company did not itself own or lease any
          business premises in England. A feature of these cases has been
          that the foreign company had a resident English agent who had
          authority to contract on behalf of and thereby to bind the principal.
 E        In those circumstances the presence or residence in England of the
          agent has been treated as the presence or residence of the foreign
          company, the principal:" ante, p. 468E-F.
               (3) "trading in a country is insufficient, by the standards of
          English law, to entitle the courts of the country to take in personam
          jurisdiction over the trader: see the Littauer . . . case. . . . The
 p        trading must be reinforced by some residential feature, be it a
          branch office or a resident agent with power to contract:" ante,
          p. 476c.
          These conclusions as to the law were of critical importance because
     the judge later found as facts, ante, p. 477E-F, that the 150, North
     Wacker Drive offices were N.A.A.C.'s offices and that N.A.A.C. had
 G   no authority to contract on behalf of Cape or Capasco or any other
     company in the Cape group. He also found as facts, ante, p. 482E
     "C.P.C., like N.A.A.C, had no authority to bind Egnep, Casap or any
     other of the Cape subsidiaries to any contract," and the offices at 150,
     North Wacker Drive were C.P.C.'s "own offices."
          Mr. Morison did not challenge these particular findings of fact.
     However, he submitted that Scott J. erred in law in holding that, in
     cases other than branch office cases, "the trading must be reinforced by
     . . . a resident agent with power to contract." This conclusion, he
     pointed out, was based primarily on the judge's analysis of the Okura
     line of cases. However, this line of cases, in Mr. Morison's submission,

                                                                        APP.354
      528
3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 338 of 421 PageID 1
                          Adams v. Cape Industries Pic. (C.A.)           [1990]

     while of some relevance and interest, does not provide the correct           A
     yardstick to be applied in the present context. Contrary to the suggestion
     made by Ashworth J. in the Vogel case [1973] Q.B. 133, he said, those
     authorities do not represent the situation truly converse to the
     enforcement of a foreign judgment; the true converse would be a
     foreign court applying its own conflict rules, adjudicating on the
     enforcement of an English judgment. Comity, as Blackburn J. pointed
     out in Schibsby v. Westenholz, L.R. 6 Q.B. 155, 159, is not the basis        ^
     on which our courts enforce foreign judgments. Furthermore, the
     circumstances in which an English court will assume jurisdiction over a
     foreign corporation are closely bound up with our own rules of procedure
     which are derived largely from statute or statutory instrument and will
     be amended from time to time.
         Pausing at this point, we would not go so far as to say that in every    Q
     case one can determine whether a foreign court was competent at
     common law on territorial grounds to give a judgment against a
     corporation merely by ascertaining whether in like circumstances, and
     mutatis mutandis, our courts would have assumed jurisdiction over a
     foreign corporation. Nevertheless, enough has been said to demonstrate
     that in each case the same broad question falls to be answered by the
     court under our own common law: "Was the corporation present in the          D
     relevant jurisdiction at the relevant time?" In our judgment, Scott J. was
     fully entitled to derive guidance from the Okura line of cases in deciding
     whether Cape and Capasco were resident in the United States of
     America at the relevant time.
         Mr. Morison went on to submit that in any event the Okura line of
     cases does not establish a universal rule that in cases where the foreign    £
     corporation has no fixed place of business of its own "the trading must
     be reinforced by . . . a resident agent with power to contract." There
     are, it is true, many dicta which suggest that the existence of power in
     the agent to bind his principal to contracts, without reference back to
     the principal, is an important indication that the principal himself is
     carrying on business by the agent. However, it has apparently never
     been held that this is an essential feature of "presence" in cases where     F
     the corporation has no branch office in this country. Many of the
     reported cases were concerned with selling agencies, particularly in the
     shipping field, which were usually not exclusive to the principal
     concerned. It is therefore hardly surprising, Mr. Morison submitted, that
     the courts concentrated on the question of authority to contract, because
     the agency was in a real sense carrying on its own agency business. In       Q
     the present case it is not alleged that N.A.A.C. or C.P.C. had power to
     enter into sales contracts on behalf of Cape or Capasco. However, it is
     said, they were carrying out a recognised business activity for the
     exclusive benefit of Cape and Capasco, that is to say, the function of
     marketing agents. The question whether N.A.A.C. or C.P.C. were
     properly to be described as doing their own business or that of their
     principals was not to be determined by asking whether or not they had        ^
     authority to contract, but by asking whether they had authority to
     market and were carrying out this function. Mr. Morison invited us to
     follow the general approach adopted by the court in two Canadian

                                                                    APP.355
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 339 529
                                                                            of 421 PageID 1
      1 Ch.                 Adams v. Cape Industries Pic. (C.A.)
 A    cases, Miller v. B. C. Turf Ltd. (1969) 8 D.L.R. (3d) 383 and Moore v.
      Mercator Enterprises Ltd. (1978) 90 D.L.R. (3d) 590.
          We would agree with Mr. Morison that the existence of a power in
      the resident agent to bind the foreign corporation to contracts can be
      neither an exclusive nor conclusive test of the residence of the
      corporation itself. As he pointed out, there are many cases in which the
      corporation has been held not to be carrying on business at the agency
 °     notwithstanding the existence of authority of this kind: see for example
      The Princesse Clementine [1897] P. 18; The Lalandia [1933] P. 56 and
      The Holstein [1936] 2 All E.R. 1660. Conversely, we can conceive
      hypothetical cases in which it might be absurd to regard the test as
      conclusive. If in any given case all other factors indicate that the
      business carried on by the representative of a corporation in a particular
 Q    country was clearly the business of the corporation (rather than that of
      its representative), it could make no difference that the corporation.
      required him to take its instructions before he actually concluded
      contracts on its behalf; the existence of such a requirement would not by
      itself prevent the corporation from being present in the country
      concerned and thus from being amenable to the jurisdiction of its courts.
          Nevertheless, it is a striking fact that with one possible exception
 D    (The World Harmony [1967] P. 341) in none of the many reported
      English decisions cited to us has it been held that a corporation has been
      resident in this country unless either (a) it has a fixed place of business
      of its own in this country from which it has carried on business through
      servants or agents, or (b) it has had a representative here who has had
      the power to bind it by contract and who has carried on business at or
 p    from a fixed place of business in this country.
          We do not find this surprising as a matter of principle. Indubitably a
      corporation can carry on business in a foreign country by means of an
      agent. "It may be stated as a general proposition that whatever a person
      has power to do himself he may do by means of an agent:" Halsbury's
      Laws of England, 4th ed., vol. 1 (1973), p. 420, para. 703. However,
      though the terms "agency" and "agent" have in popular use a number of
  F   different meanings:
            "in law the word 'agency' is used to connote the relationship]
            which exists where one person has an authority or capacity to create
            legal relations between a person occupying the position of principal
            and third parties:" Halsbury's Laws of England, vol. 1, p. 418,
            para. 701.
 G
          Where the representative of an overseas corporation has general
      authority to create contractual relations between the corporation and
      third parties and exercises this authority, there may be little difficulty in
      applying the maxim "qui facit per alium facit per se." Where no such
      authority exists, there may be much greater difficulty. We were not
      persuaded by Mr. Morison's submission, based primarily on a dictum of
 H
      Verchere J. in Miller v. B. C. Turf Ltd., 8 D.L.R. (3d) 383, 386, that
      the capacity (or possible capacity) of N.A.A.C. or C.P.C. to render
      Cape/Capasco vicariously liable for negligence (and thereby to create
      relations in tort between them and third parties) is of any weight in
                                                                        APP.356
                                                                   Ch. 1990-23
3:18-cv-00731-X
       530      Document 273-6 Filed 07/30/19                     Page 340 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)           [1990]

      deciding whether Cape/Capasco were present in the United States of A
      America. The mere authority given by Cape/Capasco to N.A.A.C. or
      C.P.C. to convey a message to a third party could render Cape/Capasco
      potentially liable in tort to a third party if that message was carelessly
      transmitted. The existence of such potential liability would go no way
      towards establishing the presence of Cape/Capasco in the United States
      of America.
                                                                                   B
      General principles derived from the authorities relating to the "presence"
      issue
          In relation to trading corporations, we derive the three following
      propositions from consideration of the many authorities cited to us
      relating to the "presence" of an overseas corporation.
          (1) The English courts will be likely to treat a trading corporation C
      incorporated under the law of one country ("an overseas corporation")
      as present within the jurisdiction of the courts of another country only if
      either (i) it has established and maintained at its own expense (whether
      as owner or lessee) a fixed place of business of its own in the other
      country and for more than a minimal period of time has carried on its
      own business at or from such premises by its servants or agents (a Q
      "branch office" case), or (ii) a representative of the overseas corporation
      has for more than a minimal period of time been carrying on the
      overseas corporation's business in the other country at or from some
      fixed place of business.
          (2) In either of these two cases presence can only be established if it
      can fairly be said that the overseas corporation's business (whether or
      not together with the representative's own business) has been transacted E
      at or from the fixed place of business. In the first case, this condition is
      likely to present few problems. In the second, the question whether the
      representative has been carrying on the overseas corporation's business
      or has been doing no more than carry on his own business will
      necessitate an investigation of the functions which he has been performing
      and all aspects of the relationship between him and the overseas p
      corporation.
          (3) In particular, but without prejudice to the generality of the
      foregoing, the following questions are likely to be relevant on such
      investigation: (a) whether or not the fixed place of business from which
      the representative operates was originally acquired for the purpose of
      enabling him to act on behalf of the overseas corporation; (b) whether
      the overseas corporation has directly reimbursed him for (i) the cost of G
      his accommodation at the fixed place of business; (ii) the cost of his
      staff; (c) what other contributions, if any, the overseas corporation
      makes to the financing of the business carried on by the representative;
      (d) whether the representative is remunerated by reference to
      transactions, e.g. by commission, or by fixed regular payments or in
      some other way; (e) what degree of control the overseas corporation
      exercises over the running of the business conducted by the representative;
      (f) whether the representative reserves (i) part of his accommodation,
      (ii) part of his staff for conducting business related to the overseas
      corporation; (g) whether the representative displays the overseas
                                                                     APP.357
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 341 531
                                                                            of 421 PageID 1
      1 Ch.                 Adams v. Cape Industries Pic. (C.A.)
 A    corporation's name at his premises or on his stationery, and if so,
      whether he does so in such a way as to indicate that he is a representative
      of the overseas corporation; (h) what business, if any, the representative
      transacts as principal exclusively on his own behalf; (i) whether the
      representative makes contracts with customers or other third parties in
      the name of the overseas corporation, or otherwise in such manner as to
      bind it; (j) if so, whether the representative requires specific authority in
  B   advance before binding the overseas corporation to contractual
      obligations.
          This list of questions is not exhaustive, and the answer to none of
      them is necessarily conclusive. If the judge, ante, p. 476B-C, was
      intending to say that in any case, other than a branch office case, the
      presence of the overseas company can never be established unless
  Q   the representative has authority to contract on behalf of and bind the
      principal, we would regard this proposition as too widely stated. We
      accept Mr. Morison's submission to this effect. Every case of this
      character is likely to involve "a nice examination of all the facts, and
      inferences must be drawn from a number of facts adjusted together and
      contrasted:" La Bourgogne [1899] P. 1, 18, per Collins L.J.
          Nevertheless, we agree with the general principle stated thus by
  D   Pearson J. in F. & K. Jabbour v. Custodian of Israeli Absentee Property
       [1954] 1 W.L.R. 139, 146:
           "A corporation resides in a country if it carries on business there at
           a fixed place of business, and, in the case of an agency, the
           principal test to be applied in determining whether the corporation
           is carrying on business at the agency is to ascertain whether the
  E        agent has authority to enter into contracts on behalf of the
           corporation without submitting them to the corporation for
           approval . . . "
          On the authorities, the presence or absence of such authority is
      clearly regarded as being of great importance one way or the other. A
      fortiori the fact that a representative, whether with or without prior
  F   approval, never makes contracts in the name of the overseas corporation
      or otherwise in such manner as to bind it must be a powerful factor
      pointing against the presence of the overseas corporation.

      The plaintiffs' submissions on the "presence" issue
          Ordinarily the three propositions set out above will fall to be applied
  G   in the same way whether or not the representative is an individual or
      itself a corporate body. However, the present case has the peculiar
      feature that one of the representatives in the United States of America,
      whose acts are relied on as the carrying on of business by Cape, was
      itself a subsidiary of Cape—a feature which has not been present in any
      of the directly relevant authorities cited to us. We will make some
      further observations on the legal relevance, if any, of this feature when
      we come to consider the second of Mr. Morison's main submissions on
      the presence issue.
          These three main submissions were substantially as follows: (1) Cape
      and Capasco were present and carrying on business in the United States
                                                                       APP.358
3:18-cv-00731-X
      532       Document 273-6 Filed 07/30/19                    Page 342 of 421 PageID 1
                          Adams v. Cape Industries Pic. (C.A.)           [1990]

     of America, namely, marketing and selling the Cape group's asbestos, A
     through N.A.A.C. until May 1978, and through C.P.C. (or Associated
     Mineral Corporation ("A.M.C"), a Liechtenstein corporation) until
     June 1979 from a place of business in Illinois because N.A.A.C. and
     C.P.C. were the agents of Cape. (We will call this "the agency
     argument"). (2) Cape/Capasco and N.A.A.C. constituted a single
     commercial unit and for jurisdictional purposes, N.A.A.C.'s presence in
     Illinois therefore sufficed to constitute the presence of Cape/Capasco. "
     Likewise, Cape/Capasco and C.P.C, which performed the same functions
     as those previously carried on by N.A.A.C, constituted a single
     economic unit, and C.P.C's presence in Illinois sufficed to constitute the
     presence of Cape/Capasco. (We will call this "the single economic unit
     argument"). (3) In relation to CP.C/A.M.C, the corporate veil should
     be lifted so that C.P.C's and A.M.C's presence in the United States of Q
     America should be treated as the presence of Cape/Capasco. (We will
     call this argument, which does not extend to N.A.A.C, "the corporate
     veil" argument.)
          We find it convenient to deal with the second and third of these
     arguments before coming to the first.

     The "single economic unit" argument                                          ^
         There is no general principle that all companies in a group of
     companies are to be regarded as one. On the contrary, the fundamental
     principle is that "each company in a group of companies (a relatively
     modern concept) is a separate legal entity possessed of separate legal
     rights and liabilities:" The Albazero [1977] A.C. 774, Ml, per Roskill L.J.
         It is thus indisputable that each of Cape, Capasco, N.A.A.C. and E
     C.P.C. were in law separate legal entities. Mr. Morison did not go so far
     as to submit that the very fact of the parent-subsidiary relationship
     existing between Cape and N.A.A.C. rendered Cape or Capasco present
     in Illinois. Nevertheless, he submitted that the court will, in appropriate
     circumstances, ignore the distinction in law between members of a group
     of companies treating them as one, and that broadly speaking, it will do p
     so whenever it considers that justice so demands. In support of this
     submission, he referred us to a number of authorities.
         In The Roberta (1937) 58 Ll.L.R. 159 agents, acting on behalf of the
     Dordtsche Co., had signed bills of lading. It was conceded at the trial
     that in so doing the agents had made Walford Lines Ltd., the parent
     company of Dordtsche Co., responsible for the bills of lading. Langton J.,
     who described the concession as properly made, said, at p. 169:             G
           "The Dordtsche Co. are a separate entity from Walford Lines Ltd.,
           in name alone, and probably for the purposes of taxation. Walford
           Lines Ltd. own all the issued shares of the Dordtsche Co., and in
           fact supply two out of the three directors."
        In Harold Holdsworth & Co. (Wakefield) Ltd. v. Caddies [1955] 1
     W.L.R. 352 the question arose whether the respondent company, which
     had entered into a service agreement with Mr. Caddies under which he
     was appointed managing director of the company, was entitled to require
     him to devote his whole time to duties in relation to subsidiaries of the
                                                                    APP.359
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 343 of
                                                                            533421 PageID 1
      1 Ch.                 Adams v. Cape Industries Pic. (C.A.)

  A   company. It was argued that the subsidiary companies were separate
      legal entities each under the control of its own board of directors, that
      in law the board of the appellant company could not assign any duties to
      anyone in relation to the management of the subsidiary companies, and
      that therefore the agreement could not be construed as entitling them to
      assign any such duties to Mr. Caddies. Lord Reid, in agreement with the
      majority, rejected this argument, saying, at p. 367:
           "My Lords, in my judgment this is too technical an argument. This
           is an agreement in re mercatoria and it must be construed in light of
           the facts and realities of the situation."
         In Scottish Co-operative Wholesale Society Ltd. v. Meyer [1959] A.C.
      324 the respondent based his complaint on section 210 of the Companies
  Q   Act 1948, which provided:
           "(1) Any member of a company who complains that the affairs of
           the company are being conducted in a manner oppressive to some
           part of the members (including himself) . . . may make an
           application to the court by petition for an order under this section."
      The appellant society had formed a subsidiary company, of which the
  D   respondent was a member. It was submitted on behalf of the society that
      even if it had acted in an oppressive manner, yet it had not conducted
      the affairs of the company in an oppressive manner within the meaning
      of the section. The House of Lords unanimously rejected this submission.
      Lord Simonds said, at p. 342:
           "My Lords, it may be that the acts of the society of which complaint
  c        is made could not be regarded as conduct of the affairs of the
           company if the society and the company were bodies wholly
           independent of each other, competitors in the rayon market, and
           using against each other such methods of trade warfare as custom
           permitted. But this is to pursue a false analogy. It is not possible to
           separate the transactions of the society from those of the company.
           Every step taken by the latter was determined by the policy of the
  F         former."
      A little later, at p. 343, Lord Simonds expressly approved words which
      had been used by Lord President Cooper on the first hearing of the
      case:
           "In my view, the section warrants the court in looking at the
           business realities of a situation and does not confine them to a
           narrow legalistic view."
         In D.H.N. Food Distributors Ltd. v. Tower Hamlets London Borough
      Council [1976] 1 W.L.R. 852 a group of three companies, "D.H.N.,"
      "Bronze" and "Transport," all in voluntary liquidation at the relevant
      time, were seeking compensation under the Land Compensation Act
      1961 following a compulsory purchase made by the respondent council.
      D.H.N, held all the shares in Bronze and Transport. The business of the
      group was owned by D.H.N. The land was owned by Bronze. The
      vehicles were owned by Transport. The Lands Tribunal held that
      D.H.N, were licensees of Bronze and had no claim to compensation for
                                                                      APP.360
3:18-cv-00731-X
       534      Document 273-6 Filed 07/30/19                     Page 344 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)           [1990]

      disturbance beyond that which could be allowed under section 20 of the A
      Compulsory Purchase Act 1965, which was negligible. This court allowed
      D.H.N.'s appeal on three separate grounds. We are concerned with only
      one of them, which Lord Denning M.R. explained, at p. 860:
           "Third, lifting the corporate veil. A further very interesting point
           was raised by Mr. Dobry on company law. We all know that in
           many respects a group of companies are treated together for the g
           purpose of general accounts, balance sheet, and profit and loss
           account. They are treated as one concern. Professor Gower in
           Modern Company Law, 3rd ed. (1969), p. 216 says: 'there is
           evidence of a general tendency to ignore the separate legal entities
           of various companies within a group, and to look instead at the
           economic entity of the whole group.' This is especially the case
           when a parent company owns all the shares of the subsidiaries—so C
           much so that it can control every movement of the subsidiaries.
           These subsidiaries are bound hand and foot to the parent company
           and must do just what the parent company says. A striking instance
           is the decision of the House of Lords in Harold Holdsworth & Co.
           (Wakefield) Ltd. v. Caddies [1955] 1 W.L.R. 352. So here. This
           group is virtually the same as a partnership in which all the three T^
           companies are partners. They should not be treated separately so as
           to be defeated on a technical point. They should not be deprived of
           the compensation which should justly be payable for disturbance.
           The three companies should, for present purposes, be treated as
           one, and the parent company D.H.N, should be treated as that one.
           So D.H.N, are entitled to claim compensation accordingly. It was
           not necessary for them to go through a conveyancing device to get E
           it."
      Goff L.J. said at p. 861:
          "this is a case in which one is entitled to look at the realities of the
          situation and to pierce the corporate veil. I wish to safeguard myself
          by saying that so far as this ground is concerned, I am relying on p
          the facts of this particular case. I would not at this juncture accept
          that in every case where one has a group of companies one is
          entitled to pierce the veil, but in this case the two subsidiaries were
          both wholly owned; further, they had no separate business operations
          whatsoever; thirdly, in my judgment, the nature of the question
          involved is highly relevant, namely, whether the owners of this
          business have been disturbed in their possession and enjoyment of G
          it."

          In Revlon Inc. v. Cripps & Lee Ltd. [1980] F.S.R. 85 the question
      (among many other questions) arose as to whether the goods in question
      were "connected in the course of trade with the proprietor . . . of the
      trade mark" within the meaning of section 4(3) of the Trade Marks Act
      1938." The proprietor of the trade mark was Revlon Suisse S.A., a
      subsidiary of Revlon Inc. Buckley L.J., in the course of deciding that
      the goods were connected in the course of trade with Revlon Suisse
      S.A., said, at p. 105:
                                                                     APP.361
3:18-cv-00731-X Document 273-6 Filed 07/30/19                         Page 345 535
                                                                                of 421 PageID 1
      1 Ch.                    Adams v. Cape Industries Pic. (C.A.)
 A            "Since, however, all the relevant companies are wholly owned
              subsidiaries of Revlon, it is undoubted that the mark is, albeit
              remotely, an asset of Revlon and its exploitation is for the ultimate
              benefit of no one but Revlon. It therefore seems to me to be
              realistic and wholly justifiable to regard Suisse as holding the mark
              at the disposal of Revlon and for Revlon's benefit. The mark is an
              asset of the Revlon group of companies regarded as a whole, which
 B            all belongs to Revlon. This view does not, in my opinion, constitute
              what is sometimes called 'piercing the corporate veil;' it recognises
              the legal and factual position resulting from the mutual relationship
              of the various companies."
          Principally, in reliance on those authorities and the case next to be
 P    mentioned, Mr. Morison submitted that in deciding whether a company
      had rendered itself subject to the jurisdiction of a foreign court it is
      entirely reasonable to approach the question by reference to "commercial
      reality." The risk of litigation in a foreign court, in his submission, is
      part of the price which those who conduct extensive business activities
      within the territorial jurisdiction of that court properly have to pay. He
      invited us to follow the approach of Advocate General Warner in
 D    Istituto Chemioterapico Italiano S.p.A. and Commercial Solvents
      Corporation v. Commission of the European Communities (Cases 6 and
      7/73) [1974] E.C.R. 223 when considering whether a parent company
      and subsidiary were separate "undertakings" within the meaning of
      articles 85 and 86 of the E.E.C. Treaty. He said, at p. 263:
              "One starts to my mind from this, that neither article 85 nor article
 E            86 anywhere refers to 'persons.' In both articles the relevant
              prohibitions are directed to 'undertakings,' a much wider and looser
              concept. This indeed is what one would expect, because it would be
              inappropriate to apply rigidly in the sphere of competition law the
              doctrine referred to by English lawyers as that of Salomon v. A.
              Salomon & Co. Ltd. [1897] A.C. 22—i.e. the doctrine that every
              company is a separate legal person that cannot be identified with its
  F           members. Basically that doctrine exists in order to preserve the
              principle of limited liability. It is concerned with the rights of
              creditors in the context of company law. It has been applied, with
              more or less happy results, in other spheres, such as those of
              conveyancing, of contracts and of liability for tort. But to export it
              blindly into branches of the law where it has little relevance, could,
 Q            in my opinion, serve only to divorce the law from reality.
              "Suppose my Lords, that C.S.C. had traded in Italy through a
              branch office. There could have been no doubt then that it was
              amenable to the jurisdiction of the Commission and of this court.
              Could it have made any difference if C.S.C. has chosen to trade in
              Italy through a wholly owned subsidiary? The difference would
              have been one only of legal form, not of reality. Why then should it
  "            make any difference that it chose to trade in Italy through a
              subsidiary that it controlled by a 51 per cent, majority rather than
              by a 100 per cent, majority? What matters in this field, in my view,
              is control . . . "
                                                                          APP.362
3:18-cv-00731-X
      536       Document 273-6 Filed 07/30/19                    Page 346 of 421 PageID 1
                          Adams v. Cape Industries Pic. (C.A.)            [1990]

     Advocate General Warner said, at p. 264:                                      A
        "(1) that there is a presumption that a subsidiary will act in
        accordance with the wishes of its parent because according to
        common experience subsidiaries generally do so act; (2) that, unless
        that presumption is rebutted, it is proper for the parent and the
        subsidiary to be treated, as a single undertaking for the purposes of
        articles 85 and 86 of the E.E.C. Treaty . . . "                            B

         We have some sympathy with Mr. Morison's submissions in this
     context. To the layman at least the distinction between the case where a
     company itself trades in a foreign country and the case where it trades in
     a foreign country through a subsidiary, whose activities it has full power
     to control, may seem a slender one. Mr. Morison referred us to Bulova
     Watch Co. Inc. v. K. Hattori & Co. Ltd. (1981) 508 F. Supp. 1322,             C
     where the United States District Court held that it had jurisdiction over
     a Japanese corporation which was expanding into a new market by
     setting up subsidiaries and dealing with competition, both on the theory
     that the corporation was "doing business" in New York and under the
     New York "long-arm statute." In the course of his judgment, Weinstein
     C.J. said, at p. 1342: "these subsidiaries almost by definition are doing
     for their parent what their parent would otherwise have to do on its
     own." It is not surprising that in many cases such as Holdsworth [1955] 1
     W.L.R. 352, Scottish Co-operative [1959] A.C. 324, Revlon [1980] F.S.R.
     85 and Commercial Solvents [1974] E.C.R. 223, the wording of a
     particular statute or contract has been held to justify the treatment of
     parent and subsidiary as one unit, at least for some purposes. The
     relevant parts of the judgments in the D.H.N, case [1976] 1 W.L.R. 852        E
     must, we think, likewise be regarded as decisions on the relevant
     statutory provisions for compensation, even though these parts were
     somewhat broadly expressed, and the correctness of the decision was
     doubted by the House of Lords in Woolfson v. Strathclyde Regional
     Council, 1978 S.L.T. 159 in a passage which will be quoted below.
         Mr. Morison described the theme of all these cases as being that
     where legal technicalities would produce injustice in cases involving         ^
     members of a group of companies, such technicalities should not be
     allowed to prevail. We do not think that the cases relied on go nearly so
     far as this. As Sir Godfray submitted, save in cases which turn on the
     wording of particular statutes or contracts, the court is not free to
     disregard the principle of Salomon v. A. Salomon & Co. Ltd. [1897]
     A.C. 22 merely because it considers that justice so requires. Our law,        Q
     for better or worse, recognises the creation of subsidiary companies,
     which though in one sense the creatures of their parent companies, will
     nevertheless under the general law fall to be treated as separate legal
     entities with all the rights and liabilities which would normally attach to
     separate legal entities.
         In deciding whether a company is present in a foreign country by a
     subsidiary, which is itself present in that country, the court is entitled,   "
     indeed bound, to investigate the relationship between the parent and the
     subsidiary. In particular, that relationship may be relevant in determining
     whether the subsidiary was acting as the parent's agent and, if so, on
                                                                     APP.363
3:18-cv-00731-X Document 273-6 Filed 07/30/19                                537421 PageID 1
                                                                    Page 347 of
       1 Ch.                 Adams v. Cape Industries Pic. (C.A.)

  A    what terms. In Firestone Tyre and Rubber Co. Ltd. v. Lewellin [1957] 1
       W.L.R. 464 (which was referred to by Scott J.) the House of Lords
       upheld an assessment to tax on the footing that, on the facts, the
       business both of the parent and subsidiary were carried on by the
       subsidiary as agent for the parent. However, there is no presumption of
       any such agency. There is no presumption that the subsidiary is the
       parent company's alter ego. In the court below the judge, ante, p. 484B,
  "    refused an invitation to infer that there existed an agency agreement
       belween Cape and N.A.A.C. comparable to that which had previously
       existed between Cape and Capasco and that refusal is not challenged on
       this appeal. If a company chooses to arrange the affairs of its group in
       such a way that the business carried on in a particular foreign country is
       the business of its subsidiary and not its own, it is, in our judgment,
  Q    entitled to do so. Neither in this class of case nor in any other class of
       case is it open to this court to disregard the principle of Salomon v. A.
       Salomon & Co. Ltd. [1897] A.C. 22 merely because it considers it just
       so to do.
             In support of the single commercial unit argument, Mr. Morison
       made a number of factual submissions to the following effect: the
       purpose of N.A.A.C.'s creation was that it might act as a medium
  D    through which goods of the Cape group might be sold. The purpose of
       the liquidation of N.A.A.C. was likewise to protect Cape. Any major
       polby decisions concerning N.A.A.C. were taken by Cape. Cape's
       control over N.A.A.C. did not depend on corporate form. It exercised
       the same degree of control both before and after the removal of the
       Cape directors from the N.A.A.C. board. The functions of N.A.A.C.'s
  £     directors were formal only. Dr. Gaze effectively controlled its activities.
       Cape represented N.A.A.C. to its customers as its office in the United
        States of America. In broad terms, it was submitted, Cape ran a single
        integrated mining division with little regard to corporate formalities as
        between members of the group in the way in which it carried on its
        busiiess.
              The plaintiffs further submitted in their notice of appeal that
   F    N.AA.C. "did not deal and was not permitted to deal with Egnep or
        Casap, but had to go through Cape or Capasco." It seems clear that
        N.AA.C, as principal, made direct purchases of raw asbestos from
        Egnep. On the balance of probabilities, we accept the plaintiffs'
        subrrission that it made similar direct purchases from Casap. In referring
        to the absence of dealing with Egnep or Casap, the plaintiffs were, we
  Q     understand, intending to submit that as a matter of group policy, which
        Cape could and did enforce by its power of control over the boards of
        Egnep, Capasco and N.A.A.C, the transmission of information and
        ordeis to or from customers had to be effected and was effected by
        N.AA.C. through Capasco. We accept that submission. We also accept
        that the matters referred to in this paragraph lend some broad support
        to thi submission that Cape ran a single integrated mining division with
  "      little regard to corporate formalities as between members of the group.
        However, there has been no challenge to the judge's finding that the
        corporate forms applicable to N.A.A.C. as a separate legal entity were
        observed.
                                                                       APP.364
      538
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 348 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)            [1990]
         As to the plaintiffs' other factual submissions in this context we will    A
     deal with the purpose of N.A.A.C.'s creation and existence in considering
     the "agency" argument. As to the relationship between Cape and
     N.A.A.C., it is of the very nature of a parent company-subsidiary
     relationship that the parent company is in a position, if it wishes, to
     exercise overall. control over the general policy of the subsidiary. The
     plaintiffs, however, submitted that Cape's control extended to the day-
     to-day running of N.A.A.C. They challenged the finding of fact made by         ^
     Scott J. that "Mr. Morgan was in executive control of N.A.A.C.'s
     conduct of its business." We explore further the facts relative to this
     finding and to the extent of Cape's control over N.A.A.C.'s activities in
     the appendix to this judgment. Our conclusion, shortly stated, is that the
     finding was justified by the evidence. A degree of overall supervision,
     and to some extent control, was exercised by Cape over N.A.A.C. as is          Q
     common in the case of any parent-subsidiary relationship—to a large
     extent through Dr. Gaze. In particular, Cape would indicate to N.A.A.C.
     the maximum level of expenditure which it should incur and would
     supervise the level of expenses incurred by Mr. Morgan. Mr. Morgan
     knew that he had to defer in carrying out the business activities of
     N.A.A.C. to the policy requirements of Cape as the controlling
     shareholders of N.A.A.C. Within these policy limits, such as Cape's            D
     requirement that N.A.A.C.'s orders for asbestos for sale by N.A.A.C.
     in the United States of America be placed through Capasco on behalf of
     Egnep and Casap, the day-to-day running of N.A.A.C. was left to him.
     There is no challenge to the judge's findings that (a) the corporate
     financial control exercised by Cape over N.A.A.C. in respect of the
     level of dividends and the level of permitted borrowing was no more and        g
     no less than was to be expected in a group of companies such as the
     Cape group, ante, p. 474A-B; (b) the annual accounts of N.A.A.C. were
     drawn on the footing that N.A.A.C.'s business was its own business and
     there was nothing to suggest that the accounts were drawn on a false
     footing, ante, p. 484A-B.
         In the light of the set up and operations of the Cape group ard of
     the relationship between Cape/Capasco and N.A.A.C. we see the                  F
     attraction of the approach adopted by Lord Denning M.R. iu the
     D.H.N, case [1976] 1 W.L.R. 852, 860c, which Mr. Morison urgedus to
     adopt: "This group is virtually the same as a partnership in which al the
     three companies are partners." In our judgment, however, we ha\e no
     discretion to reject the distinction between the members of the groip as
     a technical point. We agree with Scott J. that the observations of Robert      p
     Goff L.J. in Bank of Tokyo Ltd. v. Karoon (Note) [1987] A.C. 4i, 64,
     are apposite:
           "[Counsel] suggested beguilingly that it would be technical for as to
           distinguish between parent and subsidiary company in this context;
           economically, he said, they were one. But we are concerned not
           with economics but with law. The distinction between the two is, in      H
           law, fundamental and cannot here be bridged."
       As to C.P.C., in Mr. Morison's submission, the replacemert of
     N.A.A.C. by C.P.C. was simply a substitute arrangement. The creation
                                                                     APP.365
3:18-cv-00731-X Document 273-6 Filed 07/30/19                          Page 349 539
                                                                                 of 421 PageID 1
       1 Ch.                    Adams v. Cape Industries Pic. (C.A.)

 A     of C . P . C . was affected and paid for by Cape so that it could perform the
       same functions on behalf of Cape as N . A . A . C . had previously performed.
       C . P . C , on behalf of A . M . C . (and thus Cape) made payment
       arrangements with third parties and received moneys for A . M . C . (Cape).
       While Mr. Morgan held all the shares in C.P.C. for his own benefit, the
       rights of pre-emption reserved to A . M . C . by the agency agreement of 5
       June 1978 left him with little substantial financial interest in C.P.C.'s
 B     business, save for the office furniture and a right to an account which
       would b e of little value; effectively, it was submitted, C.P.C.'s business
       was owned by A . M . C . (Cape).
            O u r reasons for rejecting the "single economic unit" argument in
       relation to N . A . A . C . apply a fortiori in relation to C . P . C , because
       C . P . C . was not Cape's subsidiary and its shares were held by Mr.
 Q     Morgan for his own benefit. W e give our reasons in the next section of
       this judgment for agreeing with the judge that C.P.C. was an
       independently owned company.

       The "corporate veil" point
           Quite apart from cases where statute or contract permits a broad
 D     interpretation to be given to references to members of a group of
       companies, there is one well-recognised exception to the rule prohibiting
       the piercing of "the corporate veil." Lord Keith of Kinkel referred to
       this principle in Woolfson v. Strathclyde Regional Council, 1978 S.L.T.
       159 in the course of a speech with which Lord Wilberforce, Lord Fraser
       of Tullybelton and Lord Russell of Killowen agreed. With reference to
 _     the D.H.N, decision [1976] 1 W . L . R . 852, he said, at p.161:
 E
               "I have some doubts whether in this respect the Court of Appeal
               properly applied the principle that it is appropriate to pierce the
               corporate veil only where special circumstances exist indicating that
               it is a mere fagade concealing the true facts."
          T h e only allegation of a fagade in the plaintiffs' pleadings was that
 F     the formation and use of C.P.C. and A . M . C . in the
               "alternative marketing arrangements of 1978 were a device or sham
               or cloak for grave impropriety on the part of Cape or Capasco,
               namely to ostensibly remove their assets from the United States of
               America to avoid liability for asbestos claims whilst at the same
               time continuing to trade in asbestos there."
 /~«
       In their notice of appeal (paragraph 2(b)) the plaintiffs referred to their
       contention made at the trial that C . P . C "was set u p to replace
       N . A . A . C . in such a way as to disguise the defendants' continued
       involvement in the marketing of the group's asbestos in the United
       States of America."
            Scott J. more or less accepted this contention. H e found as a fact,
 H     ante, p. 478F:
               "the arrangements made regarding N . A . A . C , A . M . C . and C.P.C.
               were part of one composite arrangement designed to enable Cape
               asbestos to continue to be sold into the United States while

                                                                           APP.366
       540
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 350 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)           [1990]
          reducing, if not eliminating, the appearance of any involvement          A
          therein of Cape or its subsidiaries."
      However, he went on to say, ante, p. 479B-C:
         "But the question whether C.P.C.'s presence in Illinois can, for
         jurisdiction purposes, be treated as Cape's presence, must, in my
         view, be answered by considering the nature of the arrangements
         that were implemented, not the motive behind them. The B
         documentary evidence I have seen has made clear that the senior
         management of Cape, including Mr. Penna, were very anxious that
         Cape's connections with C.P.C. and with A.M.C. should not
         become publicly known. Some of the letters and memoranda have a
         somewhat conspiratorial flavour to them. But this too, although
         interesting to notice, is not, in my opinion, relevant to the main ^
         question."
          If and so far as the judge intended to say that the motive behind the
      new arrangements was irrelevant as a matter of law, we would
      respectfully differ from him. In our judgment, as Mr. Morison submitted,
      whenever a device or sham or cloak is alleged in cases such as this, the
      motive of the alleged perpetrator must be legally relevant, and indeed ^
      this no doubt is the reason why the question of motive was examined
      extensively at the trial. The decision in Jones v. Lipman [1962] 1
      W.L.R. 832 referred to below was one case where the proven motive of
      the individual defendant clearly had a significant effect on the decision
      of Russell J.
          The judge's finding of fact quoted above as to the motives of Cape
      behind the new arrangements is accepted (no doubt welcomed) by the E
      plaintiffs, so far as it goes. They submit, rightly in our judgment, that
      any such motives are relevant to the "corporate veil" point. They further
      submit that the judge (a) erred in concluding that C.P.C. was an
      "independently owned company;" and (b) failed to make a number of
      findings of fact which are relevant in the context of the "corporate veil"
      point.                                                                     F
          Mr. Morison has taken us through the arrangements which led to the
      extinction of N.A.A.C. and the emergence of A.M.C. and C.P.C. with
      care and in considerable detail. The additional facts which the plaintiffs
      say the judge ought to have found, and which are set out in the
      appendix to this judgment, all relate to these arrangements. It is true
      that, as the judge said, some of the letters and memoranda have a
      "somewhat conspiratorial flavour to them." Since, contrary to the judge's G
      view, we think motive is relevant in this context, we have thought it
      right to investigate these contentions in some detail in the appendix.
          On analysis, much of the new material does little more than amply
      support the judge's finding quoted above as to the purpose of the
      composite arrangement. In this court Mr. Morison made it clear that the
      plaintiffs were not alleging any unlawful purpose or impropriety on
      the part of Cape in the sense of any intention to deceive or to do any
      unlawful act, either in Illinois or in this country. It was, however,
      asserted for the plaintiffs that A.M.C. and C.P.C. together constituted a
      facade which concealed the real activities of Cape. We understand that
                                                                     APP.367
                                                                               541
3:18-cv-00731-X
        1 Ch.
                Document 273-6 Filed 07/30/19
                      Adams v. Cape Industries Pic. (C.A.)
                                                                Page 351 of 421 PageID 1
    A    to mean that the purpose of Cape was to conceal, so far as it lawfully
         could having regard to the requirements of the law in Illinois and this
         country, any connection of Cape with A.M.C. or C.P.C.
              Before expressing our own views as to Cape's purpose, we will state
         our conclusions as to Mr. Morgan's position. It is, in our judgment,
         right to infer, substantially as submitted by Mr. Morison, that the
         assistance derived from the presence of Mr. Morgan in Illinois,
         undertaking the task through C.P.C. of marketing agent for the Cape
         subsidiaries in the United States, was regarded as being at least of great
         importance to the general purposes of the Cape group, and possibly
         essential for those purposes, because, if it was not so regarded, there is
         no apparent reason why Cape should assume the cost and such risk as
         might have arisen from setting up C.P.C. Sir Godfray, however, was in
    C    our view plainly right in submitting that the agreement of Mr. Morgan
         was required for the creation of the alternative marketing arrangements
         by means of a new independent Illinois company and that his agreement,
         when given, was real. Cape had obligations of a moral nature to Mr.
         Morgan and to the long serving staff of N.A.A.C. Cape also, for its own
         purposes, wanted Mr. Morgan and Mrs. Holtze to continue with the
    p    work previously done by them for N.A.A.C. If Mr. Morgan decided to
         take on the task of providing services to the subsidiaries of the Cape
         group through C.P.C, on the terms available to him as owner of the
         shares in C.P.C, Cape would get the benefit of his knowledge and
         experience as the person in charge of C.P.C. Nothing in the material to
         which our attention was drawn under these headings, however, causes
         us to doubt the correctness of Scott J.'s conclusion that the shares in
    E    C.P.C belonged both at law and in equity to Mr. Morgan. It is clear
         that Cape intended C.P.C. to be in reality Mr. Morgan's company
         because that was part of their purpose. Such as it was, and dependent
         for almost all of its business on the Cape subsidiaries, C.P.C. was Mr.
         Morgan's company. We therefore reject the challenge to the judge's
         finding that C.P.C was an independently owned company.
     F        As to Cape's purpose in making the arrangements for the liquidation
         of N.A.A.C. and the creation of A.M.C. and C.P.C, we think that the
         extracts from the evidence set out in the appendix to this judgment
         (particularly under item (17)), sufficiently reveal both the substance of
         what the officers of Cape were doing and what they were trying to
         achieve. The allegation of impropriety was, in our view, rightly
     „    abandoned. The inference which we draw from all the evidence was that
         Cape's intention was to enable sales of asbestos from the South African
         subsidiaries to continue to be made in the United States while
          (a) reducing the appearance of any involvement therein of Cape or its
         subsidiaries, and (b) reducing by any lawful means available to it the
          risk of any subsidiary or of Cape as parent company being held liable
         for United States taxation or subject to the jurisdiction of the United
    H     States courts, whether state or federal, and the risk of any default
          judgment by such a court being held to be enforceable in this country.
          Inference (a) was also made by the judge. Inference (b) is our own
          addition.

                                                                      APP.368
       542
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 352 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)            [1990]

         The question of law which we now have to consider is whether the           A
     arrangements regarding N.A.A.C, A.M.C. and C.P.C. made by Cape
     with the intentions which we have inferred constituted a facade such as
     to justify the lifting of the corporate veil so as that C.P.C.'s and
     A.M.C.'s presence in the United States of America should be treated as
     the presence of Cape/Capasco for this reason if no other.
         In Merchandise Transport Ltd. v. British Transport Commission
                                                                                    B
     [1962] 2 Q.B. 173, 206-207, Danckwerts L.J. referred to certain
     authorities as showing:
          "where the character of a company, or the nature of the persons
          who control it, is a relevant feature the court will go behind the
          mere status of the company as a legal entity, and will consider who
          are the persons as shareholders or even as agents who direct and
          control the activities of a company which is incapable of doing           C
          anything without human assistance."
     The correctness of this statement has not been disputed, but it does not
     assist in determining whether "the character of a company or the nature
     of the persons who control it" will be relevant in the present case.
         Rather greater assistance on this point is to be found in Jones v.
     Lipman [1962] 1 W.L.R. 832. In that case the first defendant had agreed        D
     to sell to the plaintiffs some land. Pending completion the first defendant
     sold and transferred the land to the defendant company. The evidence
     showed that this company was at all material times under the complete
     control of the first defendant. It also showed that the acquisition by him
     of the company and the transfer of the land to the company had been
     carried through solely for the purpose of defeating the plaintiff's right to
     specific performance: see at p. 836. Russell J. made an order for specific     ^
     performance against both defendants. He held that specific performance
     cannot be resisted by a vendor who, by his absolute ownership and
     control of a limited company in which the property is vested, is in a
     position to cause the contract to be completed. As to the defendant
     company, he described it, at p. 836, as being
          "the creature of the first defendant, a device and a sham, a mask         F
          which he holds before his face in an attempt to avoid recognition by
          the eye of equity."
     Following Jones v. Lipman, we agree with Mr. Morison that, contrary to
     the judge's view, where a facade is alleged, the motive of the perpetrator
     may be highly material.
         Other cases were cited to us in which the court, on interlocutory          G
     applications, has to a greater or lesser extent been prepared to look
     behind the corporate veil and have regard to the persons ultimately
     interested in a company under a group's company structure. For
     example, it did so in exercising its Mareva injunction in X Bank Ltd. v.
     G. (1985) 82 L.S.G. 2016 and in considering stays of execution in
     Canada Enterprises Corporation Ltd. v. MacNab Distillers Ltd. (Note)
                                                                                    H
     [1987] 1 W.L.R. 813 and Burnet v. Francis Industries Pic. [1987] 1
     W.L.R. 802. The two last-mentioned decisions contain no statement of
     relevant principle and the report of X Bank Ltd. v. G. is so brief that
     we think it would not be safe to rely on it for present purposes.
                                                                     APP.369
3:18-cv-00731-X Document 273-6 Filed 07/30/19                               543421 PageID 1
                                                                   Page 353 of
      1 Ch.                 Adams v. Cape Industries Pic. (C.A.)
  A       We were referred to certain broad dicta of Lord Denning M.R. in
      Wallersteiner v. Moir [1974] 1 W.L.R. 991, 1013, and in Littlewoods
      Mail Order Stores Ltd. v. Inland Revenue Commissioners [1969] 1
      W.L.R. 1241, 1254. In both these cases he expressed his willingness to
      pull aside the corporate veil, saying in the latter:
           "I decline to treat the [subsidiary] as a separate and independent
  g        entity. . . . The courts can and often do draw aside the veil. They
           can, and often do, pull off the mask. They look to see what really
           lies behind. The legislature has shown the way with group accounts
           and the rest. And the courts should follow suit. I think that we
           should look at the Fork Manufacturing Co. Ltd. and see it as it
           really is—the wholly-owned subsidiary of Littlewoods. It is the
           creature, the puppet, of Littlewoods, in point of fact: and it should
  C        be so regarded in point of law."
          However, in Wallersteiner v. Moir [1974] 1 W.L.R. 991 Buckley L.J.,
      at p. 1027, and Scarman L.J., at p. 1032, expressly declined to tear away
      the corporate veil. In the Littlewoods case [1969] 1 W.L.R. 1241, 1255,
      Sachs L.J. expressly dissociated himself from the suggestion that the
      subsidiary was not a separate legal entity and Karminski L.J. refrained
      from associating himself with it. We therefore think that the plaintiffs
      can derive little support from those dicta of Lord Denning M.R.
          From the authorities cited to us we are left with rather sparse
      guidance as to the principles which should guide the court in determining
      whether or not the arrangements of a corporate group involve a fagade
      within the meaning of that word as used by the House of Lords in
  E   Woolfson, 1978 S.L.T. 159. We will not attempt a comprehensive
      definition of those principles.
          Our conclusions are these. In our judgment, the interposition of
      A.M.C. between Cape and C.P.C. was clearly a facade in the relevant
      sense. Scott J., ante, p. 479E, said it seemed clear that A.M.C. was "no
      more than a corporate name" and that he would expect to find, if all the
      relevant documents were available, that "A.M.C. acted through
  F   employees or officers of either Casap or Egnep." He rejected, ante,
      p. 482A, Mr. Morgan's evidence that he understood A.M.C. to be an
      independent South African trading company, and was satisfied that he
      knew very well that it was a "creature of Cape." "The seller in C.P.C.'s
      time was, nominally, A.M.C. but in reality still, I think, Egnep or
      Casap:" ante, p. 482E. In our judgment, however, the revelation of
  G   A.M.C. as the creature of Cape does not suffice to enable the plaintiffs
      to show the presence of Cape/Capasco in the United States of America,
      since on the judge's undisputed findings, A.M.C. was not in reality
      carrying on any business in the United States of America.
          The relationship between Cape/Capasco and C.P.C. is the crucial
      factor, since C.P.C. was undoubtedly carrying on business in the United
      States of America. We have already indicated our acceptance of the
  "    judge's findings that C.P.C. was a company independently owned by
      Mr. Morgan and that the shares therein belonged to him in law and in
      equity. These findings by themselves make it very difficult to contend
      that the operation of C.P.C. involved a facade which entitles the court

                                                                      APP.370
      544
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 354 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)           [1990]

     to pierce the corporate veil between C.P.C. and Cape/Capasco and treat A
     them all as one. Is the legal position altered by the facts that Cape's
     intention, in making the relevant arrangements (as we infer), was to
     enable sales of asbestos from the South African subsidiaries to be made
     while (a) reducing if not eliminating the appearance of any involvement
     therein of Cape or its subsidiaries, and (b) reducing by any lawful means
     available to it the risk of any subsidiary or of Cape as parent company
     being held liable for United States taxation or subject to the jurisdiction ^
     of the United States courts and the risk of any default judgment by such
     a court being held to be enforceable in this country?
         We think not. Mr. Morison submitted that the court will lift the
     corporate veil where a defendant by the device of a corporate structure
     attempts to evade (i) limitations imposed on his conduct by law; (ii) such
     rights of relief against him as third parties already possess; and (iii) such Q
     rights of relief as third parties may in the future acquire. Assuming that
     the first and second of these three conditions will suffice in law to justify
     such a course, neither of them apply in the present case. It is not
     suggested that the arrangements involved any actual or potential illegality
     or were intended to deprive anyone of their existing rights. Whether or
     not such a course deserves moral approval, there was nothing illegal as
     such in Cape arranging its affairs (whether by the use of subsidiaries or D
     otherwise) so as to attract the minimum publicity to its involvement in
     the sale of Cape asbestos in the United States of America. As to
     condition (iii), we do not accept as a matter of law that the court is
     entitled to lift the corporate veil as against a defendant company which
     is the member of a corporate group merely because the corporate
     structure has been used so as to ensure that the legal liability (if any) in p
     respect of particular future activities of the group (and correspondingly
     the risk of enforcement of that liability) will fall on another member of
     the group rather than the defendant company. Whether or not this is
     desirable, the right to use a corporate structure in this manner is
     inherent in our corporate law. Mr. Morison urged on us that the
     purpose of the operation was in substance that Cape would have the
     practical benefit of the group's asbestos trade in the United States of F
     America without the risks of tortious liability. This may be so. However,
     in our judgment, Cape was in law entitled to organise the group's affairs
     in that manner and (save in the case of A.M.C. to which special
     considerations apply) to expect that the court would apply the principle
     of Salomon v. A. Salomon & Co. Ltd. [1897] A.C. 22 in the ordinary
     way.                                                                          G
         The plaintiffs submitted (paragraph 7 of their notice of appeal) that
     the motive of the defendants in setting up the arrangements regarding
     N.A.A.C., A.M.C. and C.P.C. as revealed in the documentary evidence
     were "consistent only with an acceptance by Cape that they were
     present in the United States through N.A.A.C. and C.P.C." We think
     there is no substance in this point. These arrangements at most indicated
     an apprehension on the part of the defendants that they might be held "
     to be so present and a desire that they should not be. They involved no
     admission or acceptance of such presence.
         We reject the "corporate veil" argument.
                                                                     APP.371
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 355 545
                                                                            of 421 PageID 1
      1 Ch.                 Adams v. Cape Industries Pic. (C.A.)

 A    The "agency argument" in relation to N.A.A.C.
           We now proceed to consider the agency argument in relation to
      N.A.A.C. on the footing, which we consider to be the correct one, that
      N.A.A.C. must for all relevant purposes be regarded as a legal entity
      separate from Cape/Capasco. In an earlier section of this judgment we
      summarised three propositions which we derived from the authorities
  g   relating to the "presence" of an overseas corporation. There we stated
      that, save in a "branch office" case (which the instant case is not), the
      English court will be likely to treat an overseas trading corporation as
      present within the jurisdiction of the courts of another country only if a
      representative of the overseas corporation has for more than a minimal
      period of time been carrying on the overseas corporation's business in
      the other country at or from some fixed place of business. In the present
  C   case N.A.A.C, as representative of Cape/Capasco, unquestionably
      carried on business at a fixed place of business in the United States of
      America, 150, North Wacker Drive, for a substantial period of time. So
      no difficulty arises on that score. The crucial question is whether it can
      fairly be said that Cape's business has been transacted by N.A.A.C. at
      or from 150, North Wacker Drive. The judge's answer to it was that
  D   "N.A.A.C.'s business was its own business and not the business of Cape
      or Capasco:" ante, p. 477E-F. The plaintiffs challenge the correctness of
      this answer to the question.
           This question, as we said earlier, will necessitate an investigation of
      the functions which N.A.A.C. performed and all aspects of the
      relationship between it and Cape.
           The factual material which we have principally in mind in considering
  E   whether Cape's business was being transacted at or from 150, North
      Wacker Drive is to be found in the section of this judgment headed,
      "The facts on 'presence' as found by Scott J.," and in our observations
      in the appendix to this judgment. We summarise below what we consider
      the most material facts in context, having regard to the list of potentially
      relevant factors set out in an earlier section of our judgment.
  F        We accept that the intention of Cape in procuring the incorporation
      of N.A.A.C. in the State of Illinois was that N.A.A.C. should assist in
      the marketing of asbestos in the United States of America upon sales by
       Egnep or Casap to purchasers in the United States of America and that
       it was to be the marketing agent of the Cape group in the United States
      of America. Nevertheless, in our judgment, it is indisputable that at
      very least a substantial part of the business carried on by N.A.A.C at all
  G    material times was in every sense its own business. In these contexts we
      draw attention in particular to the following facts.
           (1) Though we were referred to no evidence relating to the original
       acquisition by N.A.A.C. of its premises at 150, North Wacker Drive, we
       know that N.A.A.C. itself was the lessee of the premises and paid the
       rent for them. Furthermore, it owned the office furniture and employed
       there its own staff of four persons for whom it ran its own pension
       scheme.
           (2) From time to time it conducted the following activities as
       principal on its own account: (a) it bought asbestos from United States
       government stocks or from Egnep or Casap and sold it to United States

                                                                       APP.372
      546
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 356 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)            [1990]

     customers, such purchases representing about 25 per cent, of N.A.A.C.'s        A
     business in terms of tonnage; (b) it imported asbestos goods from Japan
     and sold them to United States customers. (While we accept that the
     purchase by N.A.A.C. of asbestos goods was subordinate to its business
     with or for Cape's subsidiaries, we do not accept the plaintiffs' submission
     that such sales were trivial, having regard to the turnover of N.A.A.C.)
         (3) For storing the asbestos which it has purchased from United
     States Government stocks or Egnep or Casap, N.A.A.C. rented in its             ^
     own name and paid for warehousing facilities.
         (4) N.A.A.C. earned profits and paid United States taxes thereon.
         (5) N.A.A.C.'s creditors and debtors were its own (not those of
     Cape).
         (6) The return to Cape as N.A.A.C.'s shareholder took the form of
     an annual dividend passed by a resolution of N.A.A.C.'s board of               Q
     directors.
         (7) In other respects also the corporate forms applicable to N.A.A.C.
     as a separate entity were observed.
         In the face of these facts, now unchallenged, it is in our judgment
     clear beyond argument that N.A.A.C. was carrying on business of its
     own. The only question is whether, in performing the functions which it
     performed on behalf of Cape/Capasco, it was carrying on its own                D
     business or their business. What, then, were these functions? As we see
     the position from the findings of the judge and the evidence put before
     us, its functions were to assist in the marketing of asbestos in the United
     States of America upon sales by Egnep or Casap and generally to assist
     and encourage sales in the United States of America of asbestos of the
     Cape group. It acted as the channel of communication between                   g
     Cape/Capasco and United States customers, such as P.C.C. It organised
     and arranged the performance of contracts between United States
     customers and Egnep. It had a co-ordinating role, particularly in
     arranging delivery. The United States customer would specify to
     N.A.A.C. from time to time the quantity of asbestos which it wished to
     purchase and the time when it desired delivery to be made. This
     information would be conveyed through N.A.A.C. to Casap and Egnep.             F
     Shipping arrangements and delivery dates would be arranged by Casap
     or Egnep and communicated to the United States customers via
     N.A.A.C. N.A.A.C. would receive documents and pass them on to the
     customers. It also received requests and complaints which it would
     normally pass on to Capasco. Generally it assisted in "nursing" the
     group's customers for asbestos and ensuring that they were satisfied. For      Q
     its services N.A.A.C. was remunerated by way of a commission paid to
     it by Casap on sales effected by Egnep or Casap. There was no evidence
     that N.A.A.C. reserved any part of its office premises or any part of its
     staff exclusively for performing its agency functions.
         Our further findings as to the functions which N.A.A.C. performed
     and as to its relationship between N.A.A.C. and Cape are to be found
     set out in the appendix. We bear in mind particularly the submissions          "
     contained in item (9) that (i) when corresponding with United States
     customers, Cape referred to N.A.A.C. as "our Chicago office" and
     N.A.A.C. referred to Cape and Capasco as "our London office;"

                                                                      APP.373
                                                                            547
3:18-cv-00731-X
      1 Ch.     Document
                    Adams v.273-6     FiledPic.
                             Cape Industries 07/30/19
                                                (C.A.)          Page 357 of 421 PageID 1
 A    (ii) N.A.A.C. held itself out to a large United States customer as being
      part of the Cape selling organisation, and (iii) N.A.A.C. was treated by
      the major customer "as the channel between them and Cape and
      Capasco." However, in the appendix we give our reasons for concluding
      that the matters shown in the evidence considered under this heading do
      not by themselves show anything inconsistent with the findings of
      Scott J. as to N.A.A.C.'s role and functions.
 "         There is no doubt that the services rendered by N.A.A.C. in acting
      as intermediary in respect of contracts between the United States
      customers and Egnep or Casap were active and important services which
      were of great assistance to Cape/Capasco in arranging the sales of their
      group's asbestos in the United States of America. Nevertheless, for all
      the closeness of. the relationship between Cape/Capasco and N.A.A.C,
 Q    strictly defined limits were imposed on the functions which N.A.A.C.
      were authorised to carry out or did carry out as their representative.
      First, N.A.A.C. had no general authority to bind Cape/Capasco to any
      contractual obligation. Secondly, as Mr. Morison expressly accepted,
      there is no evidence that N.A.A.C, whether with or without prior
      authority from Cape/Capasco, ever effected any transaction in such
      manner that Cape/Capasco thereby became subject to contractual
 D    obligations to any person. This significant factor renders the arguments
      in favour of "presence," at least in some respects, even less strong than
      they were in cases such as The Lalandia [1933] P. 56 and The Holstein
      [1936] 2 All E.R. 1660 where the argument failed. Having regard to the
      legal principles stated earlier in this judgment, and looking at the facts
      of the case overall, our conclusion is that the judge was right to hold
 g    that the business carried on by N.A.A.C. was exclusively its own
      business, not the business of Cape or Capasco, and that Cape and
      Capasco were not present within the United States of America, through
      N.A.A.C. at any material time. We see no sufficient grounds for
      disturbing this finding of fact.
           Under this section of our judgment we should mention one further
      point. The plaintiffs challenged the judge's finding that as from 31
  F   January 1978, N.A.A.C. ceased to act on behalf of any of the Cape
      companies or to carry on any business on its own account save for the
      purpose of liquidating its assets. The object of the challenge was to
       refute the suggestion that Cape could not be regarded as present in the
       United States of America through N.A.A.C. during the period between
       31 January 1978 and N.A.A.C.'s formal dissolution on 19 May 1978.
 Q     (They accepted that after 19 May Cape could not be said to be present
       in the United States of America, by or through N.A.A.C.) The plaintiffs
       regard this point as having potential legal relevance, since two of the
       eight actions which comprise Tyler 2 were begun before 18 May 1978. In
       the appendix we give our reasons for rejecting the challenge to the
       judge's finding of fact.

 H    The agency argument in relation to C. P. C.
          We now consider whether Cape/Capasco were present in the United
      States of America by or through C.P.C. In dealing with the "corporate
      veil" point we have stated our inferences as to Cape's purpose in making

                                                                      APP.374
       548
3:18-cv-00731-X Document  273-6 Filed 07/30/19                   Page 358[1990]
                                                                          of 421 PageID 1
                     Adams v. Cape Industries Pic. (C.A.)
       the arrangements for the liquidation of N.A.A.C. and the creation of A
       A.M.C. and C.P.C. Part of the very purpose of these arrangements was
       to enable sales of asbestos from the Cape group to continue to be made
       in the United States of America while creating a greater distance both in
       appearance and reality between Cape and the company (C.P.C.) which
       was intended to carry out the functions on its behalf in the United States
       of America which had previously been carried out by N.A.A.C. Having
       dealt with the "corporate veil" point, we agree with the following °
       passage in Scott J.'s judgment, ante, p. 482D-F:
            "I do not think, on analysis, that the plaintiffs' case is any stronger
            man their case regarding N.A.A.C. If anything, I think the case is
            weaker. N.A.A.C. was at least a wholly owned subsidiary. C.P.C,
            even if incorporated and launched with Cape money, was, on my
            reading of the facts, an independently owned company. Like C
            N.A.A.C, C.P.C. acted as agent for the purpose of facilitating the
            sale in the United States of Cape's asbestos. The seller of the
            asbestos in N.A.A.C.'s time was Egnep or Casap. The seller in
            C.P.C.'s time was, nominally, A.M.C. but, in reality, still, I think,
            Egnep or Casap. C.P.C, like N.A.A.C, had no authority to bind
            Egnep, Casap or any other of the Cape subsidiaries to any contract, rj
            C.P.C., like N.A.A.C, carried on its own business from its own
            offices at 150, North Wacker Drive. The provision by Cape of the
            $160,000 as a starting-up fund does not make the offices Cape's
            offices or the business Cape's business."
            The interposition of A.M.C. in the new arrangements made in 1978
        cannot one way or the other affect the question whether Cape/Capasco E
        were present in the United States of America thereafter. For all relevant
        purposes, as we have already indicated, we are prepared to treat Cape
        and A.M.C. as one. The functions performed by C.P.C. and its
        relationship with Cape through A.M.C. are the relevant considerations
        for present purposes. Since Mr. Morgan held all the shares in C.P.C.
        beneficially, Cape had no control as a shareholder over the activities of
        C.P.C. similar to the control which it had exercised over N.A.A.C. Mr.
        Morison did not dispute the judge's finding that the terms of the agency
        agreement of 5 June 1978 were a reliable guide to the nature of the
        relationship between C.P.C. and A.M.C. and hence between C.P.C.
        and Cape. Under the terms of this agreement, C.P.C. were left free to
        sell materials and products other than asbestos fibre and to involve itself
        in other commercial activities. It is clear that it did so. While there is no G
        evidence that it followed N.A.A.C. in buying raw asbestos from Egnep
        or Casap or the United States Government, it undoubtedly bought and
        sold manufactured textiles on its own behalf as principal.
            It is thus quite plain that at least a substantial part of C.P.C's
        business was in every sense its own business. As with N.A.A.C. the only
        question is whether, in performing the functions which it performed on
        behalf of Cape/Capasco, it was carrying on its own business or their "
        business. As the terms of the agency agreement show, these functions
        were very similar to those which had been performed by N.A.A.C. The
        services rendered by C.P.C. to Cape/Capasco were similarly active and

                                                                       APP.375
3:18-cv-00731-X Document 273-6 Filed 07/30/19                          Page 359 549
                                                                                of 421 PageID 1
       1 Ch.                    Adams v. Cape Industries Pic. (C.A.)
 A     important. Again, however, strictly defined limits were imposed on the
       functions which C.P.C. was authorised to carry out or did carry out as
       the representative of Cape/Capasco (through A.M.C.). C.P.C. had no
       authority to bind A.M.C. or Cape or Capasco to any contractual
       obligation. Again too, there is no evidence that C.P.C, whether with or
       without prior authority from any of those three companies, ever carried
       out any transaction in such manner as to subject any of them to
 "      contractual obligations to any person. In the light of the legal principles
       stated above and of the facts of the case looked at as a whole, we see no
       sufficient grounds for disturbing the judge's finding that the business
       carried on by C.P.C. was exclusively its own business and that Cape and
       Capasco were not present within the Unites States of America through
       C.P.C. (or A.M.C.) at any material time.
 Q         Under this heading, we refer to one further matter. The plaintiffs, on
       the evidence of Mr. Summerfield (that in August 1984 A.M.C.'s name
       was given as one of the occupants of the offices on the 12th floor at 150,
       North Wacker Drive), invited us to infer that A.M.C. had their plate up
       on those offices in 1978-79. Scott J. declined to draw any such inference.
       In our judgment, he was right to do so for the reasons given in the next
       section of this judgment dealing with burden of proof and under item
 D     (25) in the appendix.

       The onus of proof
           The plaintiffs submitted to Scott J. that the onus was on Cape to
       establish that it was not resident in the United States of America and
       that he should hold that the defendants had failed to discharge that
       onus. He rejected that argument, saying, ante, p. 483C-D:
            "The plaintiffs sue Cape on a judgment given by a United States
            court. The judgment is an apparently regular one. Cape disputes
            jurisdiction on the ground that it is a foreign company with no place
            of business in the United States. The plaintiffs' answer is to assert
            that the presence in the United States of N.A.A.C. and C.P.C. is to
  F         be treated as Cape's presence. But each of N.A.A.C. and C.P.C. is
            in law an individual legal persona. A contention that the presence
            of the United States of either is to be treated as the presence of
            Cape requires, in my opinion, he who so contends to establish facts
            sufficient to support the contention. This, in my judgment, the
            plaintiffs have failed to do."
 /-<
           Mr. Morison submitted that the judge misdirected himself as to the
       burden of proof. A foreign judgment, in his submission, prima facie
       gives rise to a legal obligation on the part of the defendant to obey the
       judgment and is thus prima facie enforceable in England. In support of
       this submission he invoked Dicey & Morris, 11th ed., vol. 1, p. 465,
       where it is said:
 "LJ
               "the statement of claim in an action upon such a judgment need not
               specifically assert that the foreign court was competent in terms
               either of the relevant foreign law or of the English rules of conflict
               of laws, though it is usual to insert an allegation of this sort."
                                                                          APP.376
3:18-cv-00731-X
      550       Document 273-6 Filed 07/30/19                     Page 360 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)             [1990]

         We agree that generally no specific assertion need be made that the          \
     foreign court was competent in terms of the foreign law, not because of
     any question of burden of proof, but because such assertion is irrelevant.
     As is stated in Dicey & Morris, 11th ed., vol. 1, pp. 464-465, a foreign
     judgment cannot, in general, be impeached on the ground that the court
     which gave it was not competent to do so according to the law of the
     foreign country concerned.
         However, as all the authorities show, it is only the judgment of a          **
     foreign court recognised as competent by English law which will give
     rise to an obligation on the part of the defendant to obey it. As a matter
     of principle it seems to us that in the first place the onus must fall on the
     plaintiff seeking to enforce the judgment of a foreign court to prove the
     competence (in this sense) of such court to assume jurisdiction over him.
     None of the authorities cited to us establish the contrary.                     Q
         No doubt, in any case, the evidentiary burden may shift at the trial.
     However, we agree with the judge that the presence of A.M.C.'s name
     on a notice board at the office at 150, North Wacker Drive in 1984 did
     not give rise to any presumption that it had been there in 1979.
         More generally we should state that if, contrary to our view, the
     onus fell on the defendants to disprove the competence of the Tyler
     court to give judgment against them, they have discharged that onus by          D
     showing that they were not "present" in any part of the United States of
     America, at the time of commencement of the various suits between
     April 1978 and November 1979.
         This conclusion as to the presence issue means that this appeal must
     fail on this account if no other. However, for reasons already stated,
     and in case our conclusion on the "presence" issue is wrong, we think it        £
     right to proceed to consider the "country" issue and the "natural justice"
     issue. (As to the latter issue, there is no dispute that the onus of proof
     falls on the defendants.)

                                Ill The country issue
        Thus far we have been considering the criteria for ascertaining
     whether a defendant was present in a particular place, and whether on F
     the facts of this case the criteria were satisfied by Cape and Capasco.
     For this purpose, it was unnecessary to decide how to identify the place
     in the United States at which the defendant must have been present,
     when the action commenced, in order to make the judgment enforceable
     against him here, since if Cape and Capasco were not present in
     Chicago, they were not present anywhere else in the United States. If, G
     however, the conclusion expressed in the preceding section of this
     judgment were to be incorrect, so that the companies were present in
     Chicago, Illinois, it would become necessary to decide whether that
     presence was sufficient to render enforceable in the United Kingdom the
     judgment given by the District Court in Tyler, Texas.
         This question may conveniently be labelled the "country" issue,
     echoing the language of Schibsby v. Westenholz, L.R. 6 Q.B. 155, and H
     several of the later cases. We should, however, observe that this
     terminology must be used with caution, lest it beg the very question
     under consideration, and lead the reader to assume that the political
                                                                       APP.377
3:18-cv-00731-X
      1 Ch.
                Document   273-6 Filed 07/30/19
                    Adams v. Cape Industries Pic. (C.A.)
                                                                   Page 361551
                                                                            of 421 PageID 1
 A     entity provides the geographical test. This point was not in issue in any
       of the cases from which we have already quoted, and no assumption as
       to the relevant principle can be drawn from the language in which the
       courts chose to express their opinions on the question of "presence."
           [Their Lordships summarised the evidence concerning the organisation
       of the federal courts, their jurisdiction and the law which they enforced;
       referred to Mississippi Publishing Corporation v. Murphree (1946) 326
 B
       U.S. 438, Omni Capital International v. Rudolph Wolff & Co. Ltd.
       (1987) 108 S. Ct. 404, Erie Railroad Co. v. Tompkins (1938) 304 U.S.
       64, Guaranty Trust Co. v. York (1945) 326 U.S. 99; and continued:]
            Against this background we may now trace the reasoning by which
       the judge arrived at his conclusion that, if Cape and Capasco had been
       present in Illinois when the Tyler 2 actions were commenced, this would
  Q    have been a sufficient basis in English law for the exercise by the Tyler
       court of jurisdiction over them. He began, by citing a passage from
       Dicey & Morris, 11th ed., vol. 1, pp. 26-27, which we may usefully
       repeat:
             "Meaning of 'country.' This word has from long usage become
             almost a term of art among English speaking writers on the conflict
  Pj         of laws, and it is vitally important to appreciate exactly what it
             means. It was defined by Dicey as 'the whole of a territory subject
             under one sovereign to one body of law.' He suggested that a better
             expression might be 'law district;' but this phrase has never found
             much favour with English speaking writers, who prefer the more
             familiar word 'country.' England, Scotland, . . . the Isle of Man,
             Jersey, Guernsey, Alderney, Sark, each British colony, each of the
  E          American and the Australian states and each of the Canadian
             provinces is a separate country in the sense of the conflict of laws,
             though not one of them is a state known to public international law.
              . . . A state may or may not coincide with a country in the sense of
             the conflict of laws. Unitary states like Sweden, the Netherlands
             and New Zealand, where the law is the same throughout the state,
  P          are 'countries' in this sense. But composite states like the United
             Kingdom, the United States, Australia and Canada are not."
            The judge differed from this opinion. He did not accept that for
       some private international purposes the United States might not be a
       "country;" and he went on to develop an analysis of the position which
       would exist if the district court were sitting in a "federal question"
  Q     matter such as an anti-trust damages suit. In the result, the judge
       concluded that the "court would be a United States court applying
       United States law;" that it would command the obedience of a resident
        anywhere in the United States; and that the sovereign from which the
        district court derived its jurisdiction was the United States. The judge
       continued this line by stating that, if Congress had chosen to establish a
        Federal District Court at Washington D.C. with in personam jurisdiction
  "     in respect of anti-trust cases, "the 'country' of the court would unarguably
        be the United States as a whole."
            Thus far, as the judge acknowledged, the discussion had been
        hypothetical, since the Tyler court was sitting in diversity not in a

                                                                         APP.378
3:18-cv-00731-X
       552      Document 273-6 Filed 07/30/19                      Page 362 of 421 PageID 1
                            Adams v. Cape Industries Pic. (C.A.)           [1990]
      federal question case. Nevertheless, the judge attached great weight to A
      the rebuttal of what he saw as the main plank of the defendants' case,
      namely, that the United States could not be a "country" for private
      international law purposes. Having concluded that it could, he went on
      to consider and reject the argument which he attributed to the
      defendants, namely that the district court when sitting in diversity was
      part of the system for the administration of justice in the state in which
      it sat.                                                                       B
          The judge then stated his own view as to the basis on which the English
      court recognises the judgment of a foreign court, ante, p. 491A-B:
            "the territorial basis of jurisdiction is dependent upon and cannot, in
            in my opinion, be divorced from, the sovereignty of the 'country'
            that has established the court in question. It is, I think, recognition
            of the sovereignty of a foreign country that leads to the recognition C
            of the entitlement of its courts to take jurisdiction over persons
            resident in its sovereign territory."

      Founding on this principle, the judge concluded, ante, p. 491D-F:
          "As a matter of principle, in my view, if a United States court Q
          exercises jurisdiction over a person resident in the United States, it
          is exercising powers inherent in the sovereignty which adheres to
          the United States. As a matter of principle, too, in my view,
          English law should recognise the legitimacy of that exercise of
          jurisdiction. It follows that I agree with Mr. Morison that the
          answer to the question which I must answer does not lie in
          investigating the function discharged by the court but lies in E
          investigating the source of authority of the court. Whatever the
          function of a federal district court in a diversity case, the source of
          its authority is to be found in the sovereign power which established
          it. For those reasons I conclude that the exercise of jurisdiction by a
          federal district court over a person resident in the United States is,
          by the standards of English law, a legitimate and not an excessive p
          exercise of jurisdiction."
          Any attempt to weigh up the soundness of this or any other account
      of the rules governing the recognition of foreign judgments should, as it
      seems to us, begin with an exploration of the reasons why such
      judgments are recognised at all. Unfortunately, the cases give virtually
      no guidance on this essential question. Underlying it all must be some G
      notion of comity, but this cannot be comity on an individual nation-to-
      nation basis, for our courts have never thought it necessary to investigate
      what reciprocal rights of enforcement are conceded by the foreign
      country, or to limit their exercise of jurisdiction to that which they
      would recognise in others. The most one can say is that the duty of
      positive law first identified in Schibsby v. Westenholz, L.R. 6 Q.B. 155,
      must stem from an acknowledgement that the society of nations will
      work better if some foreign judgments are taken to create rights which
      supersede the underlying cause of action, and which may be directly
      enforced in countries where the defendant or his assets are to be found.

                                                                      APP.379
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 363553
                                                                           of 421 PageID 1
     1 Ch.                 Adams v. Cape Industries Pic. (C.A.)

 A   But this tells one nothing of practical value about how to identify the
     foreign judgments which have this effect.
         One possibility is to explain the principle in terms of allegiance. This
     idea, of which traces are found in the earliest cases, may have provided
     at least a moral underpinning for the concept that a foreigner who has
     chosen to establish himself within the territory of a sovereign owes to
     him, in exchange for an obligation to ensure the stranger's personal
 B   safety and well-being, a personal duty to pay the sovereign due respect,
     an obligation which involves an obligation to respect the sovereign's law
     as enforced by his courts. This concept may have served well enough in
     the case of an individual established in long-term residence, but the idea
     that the Dunlop Company, a foreign company of manufacturers, present
     in the United Kingdom for a few days only through having set up a stall
 Q   at an exhibition, thereby incurred a duty of fealty to the King-Emperor
     is surely fanciful.
          Nor in our judgment can this concept be made to seem more
     persuasive by re-writing it in modern terminology. A foreigner who is
     physically present in a country does thereby acquire rights and duties
     expressed in terms of the local law, although not necessarily the same as
     those which apply to the local citizens; but these are not rights and
 D   duties which in any sensible way can be described as arising reciprocally
     with the sovereign. The foreigner does not owe duties to the Queen, or
     to the United States of America. Rather, by making himself present he
     contracts-in to a network of obligations, created by the local law and by
     the local courts.
          This is not to say that sovereignty is immaterial to the present
 g   problem, in the sense that an identification of the source from which the
     local laws and the agencies which enforce them derive their powers must
     be part at least of the task of delineating the obligations, stemming from
     the judgments of those agencies, which a foreign court ought to regard
     as binding. Thus, we entirely accept the conclusion, flowing from the
     judge's premise, that if we had here been concerned with the enforcement
     of a judgment given by a state court in Texas, we should have been
 F   obliged to have regard to the territory of Texas alone, so that if the
     judgment now in suit had been given (say) by a Texas Supreme Court
     sitting in Austin, it would not (on the hypothesis of Cape and Capasco's
     presence in Illinois) have been enforceable. For neither the states
     outside Texas, nor the federal organs established by or on the authority
     of the constitution, played any part in giving the State of Texas the right
 Q    and power to establish its own courts of local jurisdiction. But the
     converse need not be true. Merely to identify X as the ultimate law
     giver and creator of the agencies through which those laws are enforced,
      and then move on to the proposition that a judgment given anywhere in
      the territory governed by X against someone present anywhere else in
      those territories should be enforced by foreign courts, seems a large
     step. Even today, Scotland and England are not the same jurisdictions,
 H    and if one looks to the past, it is hard indeed to acknowledge that in
      Imperial times, all persons present in one part of the Empire could
      properly be regarded as present everywhere . else in the Empire,
      notwithstanding the immense variety of laws, courts and constitutional
                                                                      APP.380
3:18-cv-00731-X
      554       Document 273-6 Filed 07/30/19                     Page 364 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)            [1990]

     systems which then prevailed, simply because as the ultimate source of         A
     power there was to be found a single sovereign.
         Another aspect of this idea is to be found in the functional test
     propounded by the judge. We take this to invoke an inquiry as to the
     task which the Tyler court was performing—a local or a national task.
     We would not dissent from this approach, but we would venture to ask
     whether the judge was not approaching it solely in terms of constitutional
     theory. Because Congress could have created a single "Federal Court"           °
     of which every court and every judge was a manifestation, it is assumed
     that this is what has really happened, notwithstanding the cessation of a
     state contribution in the sphere of substantive law and personal
     amenability to service. On the evidence, we cannot accept that this
     hypothesis is made out, any more than it is possible to say that the
     Queen in Parliament has chosen, whatever powers may exist in reserve,          Q
     actually to give England and Scotland a unified judicial system applying
     a unified law.
         It is convenient to mention at this stage three suggested anomalies,
     relied upon as pointing to one answer rather than another. The first is
     that the need for the Tyler court in this case to have recourse to the
     Texan long-arm statute in order to entertain the suit demonstrates that
     the overseas defendants were not within the "country." We do not think         D
     that this helps. The use of the long-arm statute shows no more than we
     already know, namely, that the direct personal jurisdiction of a district
     court is not for American purposes recognised as extending beyond the
     boundaries of the state within which that particular court happens to sit.
     The same can be said of another apparent anomaly on which stress was
     laid, namely that, if the plaintiffs' submissions are correct, a judgment      £
     which would be unenforceable in some other state such as Illinois might
     nevertheless be effective to give recourse against the defendants' assets
     in England. We do not regard this as a surprising result, or one which
     points to any particular solution of the present problem, for if (contrary
     to the defendants' contentions) the whole of the United States is to be
     regarded as the territory within which the district court had jurisdiction,
     the infraction of what must on this view be regarded as an internal            F
     procedural rule is not something of which the English court should take
     account.
         The third suggested anomaly is this. On the judge's own analysis, the
     jurisdiction of the Texas State Court, as recognised by the English court,
     would not extend beyond the Texan borders. Thus if the judge's view is
     right, the enforceability of the judgment in a case such as this would         Q
     depend upon whether the action was removed by the defendants into
     the district court: and this notwithstanding that the courts would sit in
     the same place and apply the same law. This is certainly a striking
     result, but it must we believe follow from any tenable view of the law.
     As we understand the arguments, Sir Godfray would have been disposed
     to accept that if there were a single federal court of unitary jurisdiction,
     applying a single law, a defendant could be present anywhere in the            "
     United States and still have the judgment enforceable against him: and
     we should ourselves be of this opinion. All this shows, however, is that
     a person may be present in two different "countries" at the same time.

                                                                      APP.381
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 365 555
                                                                             of 421 PageID 1
      1 Ch.                 Adams v. Cape Industries Pic. (C.A.)

 A    This is a good reason for discarding the word "country" as a useful test,
      and discarding with it the simple and attractive argument that the
      United States is a country, the Tyler court was a court of that country,
      the defendants were present in the United States, and hence they must
      necessarily have been within the jurisdiction of the country for the
      purpose of enforcement in England. Further than this, the argument
      does not run.
 B         If these ideas are rejected as inconclusive, where should we look for
      the test? To our minds, the only way to find an answer is to consider
      why a person who goes abroad thereby incurs a duty to abide in
      England by a foreign judgment. The only reason that we can see is that
      by going to a foreign place he invests himself by tacit consent with the
      rights and obligations stemming from the local laws as administered by
 Q    the local court: those laws including, of course, the local rules on the
      conflicts of laws.
           Thus far we have experienced no great difficulty. What has raised
      very real problems is to apply the principle just suggested to the facts of
      the present case. It may be helpful to summarise the way in which the
      respective arguments might run.
           For the defendants, one might begin with the example of a foreigner
 D    who has set himself up in Scotland. Such a person could properly be
      regarded as having done so, and having been allowed to do so, on terms
      that his rights and duties were to be governed by the laws of Scotland.
      But not by English law, or by decisions of the English courts, even
      though the latter might without procedural impropriety purport to
      exercise a jurisdiction over him. Equally, an Englishman who has gone
  c    to live in France and engaged in transactions there, might find himself
      sued on those transactions in Texas. Any resulting judgment would be
      unenforceable here, not because the Texas court had broken its own
       rules, or indeed had broken any rules of international comity, but simply
       because the Englishman had done nothing to bring himself into a
      relationship with the court in Texas and the law which it administered.
           Now if these examples are sound, they may be transformed into
  F    something nearer the present case. If the Englishman had established
       himself in Chicago, would he be treated as having put himself into a
       relationship with the State Court in Austin, Texas? Surely not, the
       defendants could argue. The fact that Chicago is in the United States
       does not make Texas any the less a foreign court for a resident in
       Illinois than if Chicago were in France; and the fact that the long arm of
  Q    the Texas court does not have to reach out to another continent should
       not make any difference. This would be so, the defendants could argue,
       even if the laws of Illinois and Texas were identical in the minutest
       respect; and on the evidence before us it seems that this is not so.
            Let us now make the one alteration necessary to bring the example
       home to the present case: namely by assuming the court in Texas to be
       a federal district court of the Tyler Division of the Eastern Division of
  "    the State of Texas. This is not a state court, but (so the defendants can
       argue) a local court in a real sense, administering local law. The juridical
       identity of the Tyler court might have been different if those invested
       with constitutional powers had chosen to exercise them differently, but
                                                                        APP.382
3:18-cv-00731-X
       556      Document 273-6 Filed 07/30/19                      Page 366 of 421 PageID 1
                            Adams v. Cape Industries Pic. (C.A.)            [1990]

      we must take the facts as they are. On these facts, the defendants can         A
      submit, there was no sufficient connection between the defendants,
      resident as for present purposes we assume they were in Chicago, and
      the federal court in Tyler, to justify the inference that by establishing
      their residence there they had consented to the administration of Texan
      laws as administered by the Tyler court.
          For the plaintiffs, two preliminary points may be made. In the first
      place, the decision to join Cape as defendant in the proceedings in the        °
      Tyler court, as contrasted with the institution of separate proceedings
      against Cape in a federal court in Illinois, was no doubt influenced by
      the wish to rely upon the arguments about submission and consent,
      based upon Cape's participation in the Tyler 1 proceedings (which
      arguments were rejected by Scott J. and not renewed in this court). But
      the joining of Cape in the proceedings in the Tyler court had, as we           Q
      understand it, no other element of forum shopping about it: no
      advantage was gained, or present to be gained, as to the substantive law
      which would be applicable in proceedings in the Tyler court as compared
      with that applicable in a federal court sitting in Illinois. The joining of
      Cape in the Tyler court proceedings was, in short, a normal and
      appropriate course of proceeding viewed solely from the point of view of
      United States law, whether federal or state law. If a default judgment         D
      obtained in such circumstances is not enforceable according to our law it
      is because the relevant rule of our law requires our courts thus to
      discriminate between a judgment given in default by a federal district
      court sitting in Illinois and a default judgment given by a federal district
      court sitting in Texas.
          Secondly, it is true that the definition of facts, which justified the     g
      taking by the Tyler court of in personam jurisdiction over any person or
      corporation throughout the United States, which is said to constitute
      legitimate jurisdiction for the purposes of our private international law,
      would also justify the taking of jurisdiction over any person or
      corporation outside the territories of the United States, which, as is
      common ground, would not be regarded as a legitimate jurisdiction for
      our private international law. Nevertheless, there seems no doubt that         F
      Congress has established a system of federal courts of which each one
      has jurisdiction, in the terms defined by the various long arm statutes of
      the forum states (where no specific federal statute provides otherwise) to
      exercise in personam jurisdiction over any person or corporation present
      in any state of the Union.
          More detailed arguments available in support of the plaintiffs'            Q
      proposition may be summarised.
          (i) The concept of "contracting in" by presence means that, in the
      unitary state, the foreign resident is put in the same position, whether
      the visitor be an individual or a corporation, as any other person or
      corporation within that state so far as concerns obligations enforceable
      by in personam judgments (i.e. not including matters dependent upon
      domicile as opposed to mere presence).                                         "
          (ii) Our law sets no standard with which the network of local law is
      required to comply other than that of natural justice and public policy.
      Within those limits, the foreign law, substantive and procedural, may be
                                                                      APP.383
3:18-cv-00731-X Document 273-6 Filed 07/30/19                     Page 367557
                                                                           of 421 PageID 1
     1 Ch.                 Adams v. Cape Industries Pic. (C.A.)

A    harsh, antiquated and unskilfully operated by the foreign court but the
     foreign resident must put up with the consequences.
          (iii) Our law, faced with a federal system of two networks of local
     laws as administered by two sets of local courts, should, if it is to be
     consistent, favour that court which will leave the resident visitor in
     Illinois subject to the two local networks, both state and federal, to the
     same extent as any other resident of Illinois so far as concerns the
 "   validity of judgments rendered in the courts of either system, unless
     there is some clear reason to do otherwise.
          (iv) The limitations of the federal judicial system as it has in fact
     been established, which cause the present system to fall short of a fully
     realised national judicial system, arise from the history and political
     principles which produced them. In other words, a national judicial
 Q   system has been devised and established in terms in accordance with the
     political and social views of the peoples of the states which form the
     Union. The checks and limitations are available for the protection and
     convenience of the foreign resident as much as for the resident citizen.
          (v) In particular, the decision that federal courts shall apply the law
     of the forum state does not necessarily alter the fact that the federal
     court, in so doing, is doing what it is commanded to do by federal law.
 D   Equally, the fact that choice of law rules are not the same in all of the
     states, does not necessarily alter the fact that the Supreme Court of
     Congress, as the effective authority under the Constitution, has directed
     or caused federal courts to continue to apply local choice of law rules as
     the law to be applied to cases in the national courts.
          (vi) Finally, if in personam jurisdiction is given by United States law
 g   to federal courts to be exercised, within the circumstances stated, over
     any person or corporation present within the territories of the United
     States, the effectiveness of that jurisdiction for the purposes of our
     private international law, is not necessarily reduced by the fact that the
     jurisdiction is expressed in terms of and limited to the long arm
     jurisdiction statutes of the forum state. There is no reason to regard the
     in personam jurisdiction of the federal court of any federal state as
 F    necessarily impaired, or as relegated to a local status within one state of
     the Union, because the federal authorities have seen fit so to express
      and limit that jurisdiction.
          We have set out the facts and arguments on the country issue at
      some considerable length, notwithstanding that our conclusion on the
     presence issue is sufficient to dispose of the appeal, because they serve
 Q    to illuminate a question of general importance which may well arise for
      decision in the future. In the event, as we have said, it is unnecessary to
      express a final decision on the country issue and in all the circumstances
     we think it better not to do so. All we should say is that we all incline to
      favour, albeit with varying degrees of doubt, the view that if the
      plaintiffs had not failed at the first hurdle, they would on the country
      issue have been entitled to succeed.
 H
                           IV The natural justice issue
        The assumptions upon which we consider this defence are that our
     decision on the presence issue is wrong and that the assumed presence
                                                                       APP.384
3:18-cv-00731-X
       558      Document 273-6 Filed 07/30/19                     Page 368 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)           [1990]
      of Cape/Capasco in Illinois at the commencement of the Tyler 2 A
      proceedings rendered them subject to the jurisdiction of the Tyler court
      in those proceedings for the purpose of our law of enforcement of
      foreign judgments.
          The conclusion of Scott J. on the issue of natural justice was
      expressed, ante, p. 500G-H:
           "There was, in short, in my opinion, no judicial assessment of g
           damages. In my judgment, the procedure adopted by Judge Steger
           offended against English principles of substantial justice. The
           defendants were entitled to a judicial assessment of their liability.
           They did not have one. The award of damages was arbitrary in
           amount, not based on evidence and not related to the individual
           entitlements of the plaintiffs. Many of the features of the procedure
           to which I have drawn attention might, taken simply, have been C
           insufficient to meet the yardstick of substantial injustice. Taken
           together, the criterion is, in my judgment, satisfied."
          The facts relevant to the defence of breach of natural justice were
      stated in detail by Scott J. and no issue of primary fact has been raised
      by either side. [Their Lordships referred to the material facts concerning
      the procedure which led to the default judgment of 12 September 1983, D
      substantially in the words of Scott J., and continued:]

      The law applied by Scott J.
         In the view of Scott J. the fundamental criterion for the success of a
      natural justice objection to the enforcement of a foreign judgment was
      to be found in the judgment of Lindley M.R. in Pemberton v. Hughes E
      [1899] 1 Ch. 781, 790, where he said:
          "If a judgment is pronounced by a foreign court over persons within
          its jurisdiction and in a matter with which it is competent to deal,
          English courts never investigate the propriety of the proceedings in
          the foreign court, unless they offend against English views of
          substantial justice. Where no substantial justice, according to English p
          notions, is offended, all that English courts look to is thefinalityof
          the judgment and the jurisdiction of the court, in this sense and to
          this extent—namely, its competence to entertain the sort of case
          which it did deal with, and its competence to require the defendant
          to appear before it. If the court had jurisdiction in this sense and to
          this extent, the courts of this country never inquire whether the
          jurisdiction has been properly or improperly exercised, provided G
          always that no substantial injustice, according to English notions,
          has been committed."
         Thus in the opinion of Scott J. if the natural justice objection were
      to succeed, the proceedings in the foreign court must "offend against
      English views of substantial justice:" ante, p. 497F-G. With reference to
      that broad criterion he considered the procedure which led to the
      default judgment of 12 September 1983. The route which led him to his
      conclusion on this issue was very briefly as follows: (i) Cape/Capasco
      were in default and had forfeited any entitlement to a hearing save on
                                                                     APP.385
3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 369 559
                                                                             of 421 PageID 1
      1 Ch.                  Adams v. Cape Industries Pic. (C.A.)
 A    the issue of damages. There was no injustice in that, (ii) Cape/Capasco
      were given sufficient notice of the application for the default judgment
      but the application for relief of which notice was given was for a judicial
      assessment of damages at a judicial hearing, (iii) The effect of the notice
      given to Cape/Capasco could not be divorced from the context of the
      Federal Rules for default judgments. Having regard to that context a
      defendant in default in an action for unliquidated damages in the Tyler
 B    court was entitled to expect that his liability to the plaintiff would be
      assessed by the judge in the light of evidence which the judge had
      considered and which, in the judge's opinion, justified the award which
      was made: ante, p. 500A-B.
           (iv) "The requirements of substantial justice in a particular case
           cannot . . . be divorced from the legitimate expectation of both the
 C         plaintiff and the defendant in the context of the procedural rules
           applicable to the case:" ante, p. 500B
          (v) Since there was no judicial assessment of the damages the
      proceedings offended our principles of substantial justice: ante, p. 500D.
          (vi) The fact that the default judgment might have been set aside on
      application to the judge, or an appeal, because of the breaches of local rules
      of procedure, did not as a matter of principle make the judgment enforceable
      notwithstanding the breach of natural justice: ante, p. 501c-E.


      Principles not in issue on this appeal: some general observations
 E        In the context of the natural justice issue certain principles are
      common ground and appear to us to be indisputable. The first is that,
      upon proof of private international law jurisdiction in the Tyler court,
      Cape/Capasco would have come under an obligation to obey that
      judgment unless they should be able to impeach it on the ground of
      fraud, or breach of natural justice, or breach of the requirements of
      public policy. For the proof of these grounds of defence, all are to be
  F   judged in the courts of this country according to the law in force in
      England and Wales and to the principles of that law. Further, whether
      any alleged breach of natural justice based on procedural irregularity is
      such as to render the foreign judgment unenforceable, the courts of this
      country must have regard to fundamental principles of justice and not to
      the letter of the rules which, either in our system, or in the relevant
 Q    foreign system, are designed to give effect to those principles.
          The basis of the obligation, which our law would enforce against
      Cape/Capasco upon proof of jurisdiction in the Tyler court, is that,
      because Cape/Capasco were present within the territorial jurisdiction of
      that court at the date of service of the proceedings, the command
      contained in the document or process served upon them is regarded by
      our law as validly and effectively made. It would regard Cape/Capasco
  "    as obliged to make such answer as they could put forward against the
      claims of the plaintiffs, and to make it in the Tyler court. If they chose
      not to make any answer, they would not be permitted to dispute in our
      courts the judgment of the Tyler court upon the merits. Subject to the

                                                                        APP.386
3:18-cv-00731-X
      560       Document 273-6 Filed 07/30/19                     Page 370 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)            [1990]

     defences of fraud, breach of natural justice, and public policy,               A
     Cape/Capasco would be liable upon the judgment.
         It is clear that a corporate defendant, and those called upon to
     advise it, may thus be placed in great difficulty by the working of our
     rules of private international law. The directors of a defendant
     corporation may reasonably believe, upon competent advice, that the
     corporation was not, at the date of service of the proceedings present
     within the jurisdiction of the foreign court. If they are right, they can      °
     safely ignore the proceedings so far as concerns the assets of the
     corporation within the jurisdiction of our courts. If they are wrong—and
     the judgments of Scott J. and of this court show that the question may
     be of considerable complexity—they may be sued in this country upon a
     judgment which cannot be questioned as to the merits and substance of
     the decision upon which the judgment is based. In particular, with             Q
     reference to the quantum of a judgment, whether for damages for tort
     or for breach of contract, the corporate defendant is placed in difficulty.
     Not infrequently plaintiffs, who are claiming damages, exaggerate their
     injuries and their losses. When the defendant does not appear, and no
     evidence is presented to answer the plaintiff's case, the court, which has
     the task of assessing damages, can normally do no more than consider
     the evidence put before it and base the assessment upon that evidence.         D
     In adversarial systems, the court cannot normally do more in investigation
     of the claims, or call for further evidence, and it is under no obligation
     to do so. In particular, according to our law, a defendant corporation
     which denies that it is subject to the jurisdiction of the foreign court,
     could not effectively continue to dispute that jurisdiction while taking
     part in the assessment of a damages claim because, if it did so take part,     g
     it would thereby normally submit to the jurisdiction of the foreign court
     and render itself liable to be sued in this country upon that judgment. In
     the result, if the corporation is to be able effectively to maintain its
     contention that it was not subject to the jurisdiction of the foreign court,
     it must leave the plaintiff there to present a wholly uncontested claim
     (as the defendants did in the present case). It will have no defence to an
     action upon the ensuing judgment, if it is held by the courts of this          F
     jurisdiction to have been in fact subject to the jurisdiction of the foreign
     court, unless it can rely upon fraud, breach of natural justice or public
     policy.
         The plaintiff, too, in such a case may face the risk of an unjust
     result. The defendant may have no answer on the merits to the plaintiff's
     claim, and the judgment as entered in default may be in amount wholly          Q
     in accordance with substantial justice. Yet if, through no personal fault
     of the plaintiff, the defendant can point to a sufficient breach of our
     principles of natural justice simply in the procedure by which the
     judgment was obtained, the plaintiff can recover nothing on the
     judgment. He may, if the procedure of the foreign court permits him to
     do so, start again at some point in the existing proceedings and continue
     in a way which avoids the procedural defect. If the wrong is actionable        "
     in this country, and the claim is not statute-barred here, he could sue
     here. What he cannot do is to enforce the foreign judgment here to the
     extent that it is unobjectionable and claim the assistance of our courts as

                                                                      APP.387
3:18-cv-00731-X Document 273-6 Filed 07/30/19                       Page 371 of
                                                                             561421 PageID 1
      1 Ch.                  Adams v. Cape Industries Pic. (C.A.)
  A   to the rest, unless, perhaps, some part of the judgment is clearly
      severable and unaffected by the defect in procedure. Thus, in these
      proceedings, upon the assumption that Cape/Capasco were present
      within the jurisdiction of the Tyler court, it would not be open to this
      court to enter judgment for the plaintiffs for damages to be assessed
      under the procedures of our court, although such an order would, if the
      plaintiffs cannot effectively start again in the Tyler court, get closer to
  B   substantial justice than dismissal of their claims. Nor was it suggested
      that this court could direct that judgment be entered for the plaintiffs on
      liability, with a direction that the plaintiffs be at liberty to apply to enter
      judgment for such amount as may hereafter be assessed by the Tyler
      court. These are partial or alternative remedies which could only be
      provided by the terms of a statute, presumably to be based upon a
  Q   treaty or convention. The position therefore is that, if through the
      adoption of the procedure by which Judge Steger directed judgment to
      be entered for these 206 plaintiffs, there occurred a denial of the.
      requirements of substantial justice, the plaintiffs would fail entirely
      although (as we assume for present purposes) Cape/Capasco were
      properly subject to the jurisdiction of the Tyler court. If, on the other
      hand, there was no such denial according to the established principles of
  D   our law, then Cape/Capasco (on the same assumption) would be held
      liable for the full amount of the judgment notwithstanding the forceful
      objections of Cape/Capasco to the manner in which the Tyler court left
      so much of the assessment of the plaintiffs' claims to counsel acting for
      those plaintiffs.

  g   The plaintiffs' submissions on natural justice
          Mr. Falconer's submissions for the plaintiffs may be summarised as
      follows.
          1. The natural justice defence has been limited by authority binding
      upon this court to lack of notice and denial of proper opportunity to be
      heard: see Jacobson v. Fraction (1928) 138 L.T. 386. The underlying
  p   basis or reason for this limitation is that our law requires only that the
      judgment debtor be afforded by the foreign court a fair trial or the
      opportunity for a fair trial if the defendant chooses to take it. If
      the defendant is shown to have been deprived irremediably of a fair trial
      then the judgment is unenforceable here.
          2. The defendant will be held to have been irremediably deprived of
      a fair trial by reason of defective procedure in two cases: (i) if the rules
  G   of procedure of the foreign court are themselves by our standards
      unfair, because, in that case, there can be no prospect of the foreign
      court correcting what has been done under its rules; and, (ii) if the rules
      of procedure of the foreign court are by our standards fair; and the
      defective procedure was caused by departure from those rules, but it is
      impossible or impracticable for the defect to have been corrected within
      the foreign system: e.g. because the defendant only learned of the
      judgment too late to advance an effective appeal or procedure for
      setting the judgment aside.
          3. If the procedural defect was reasonably capable of remedy within
      the procedure of the foreign court, whether by application to set aside
                                                                         APP.388
                                                                    Ch. 1990-24
3:18-cv-00731-X
      562       Document 273-6 Filed 07/30/19                     Page 372 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)           [1990]

     the judgment, or by appeal, the defendant is not released from the            A
     obligation to obey the judgment by reason of the procedural defect
     because, being subject to the jurisdiction of the foreign court, he may
     properly be required to have resort to the remedies provided by the
     foreign system.
          4. The basis and substance of those submissions for the plaintiffs
     were said to be in accordance with justice, with practicality and with the
     principles of our law in that (i) our law recognises that all courts make     **
     procedural mistakes: the fact that a mistake is made, for which the
     foreign court's procedure provides a remedy, should not release the
     defendant who chooses not to avail himself of the remedy; (ii)
     the argument is based upon the connection between the foreign court
     and the defendant created by the voluntary act of the defendant in being
     present within the foreign jurisdiction, or by submission thereto, etc.;      Q
     (iii) it is desirable that our courts should not be required to act as a
     court of error for the examination and assessment of procedural defects
     within the foreign system for which that system provides an effective
     remedy; (iv) the submissions provide a framework of reasonable certainty
     and clarity for the decision of pleas of breach of natural justice. By
     contrast, the "broad criterion" applied by the judge, is too wide and too
     uncertain a test.                                                             D
          5. The reliance placed by Scott J. on "legitimate expectation" was
     unjustified. There had been no actual expectation on the part of
     Cape/Capasco nor any reliance upon any expected form of procedure.
     Nothing to that effect had been pleaded or proved. This concept of
     legitimate expectation amounted, it was said, to no more than the
     assertion that a defendant is entitled to expect that, in the conduct of       g
     the proceedings in the foreign court, that court will correctly apply its
     own procedure and that, if it does not, a sufficient breach of natural
     justice is demonstrated. (We will refer to the submissions summarised in
     this paragraph as "the legitimate expectation point.")
          6. Upon the evidence and upon the findings of Scott J. the procedural
     rules applicable in the Tyler court were fair and just. The defendants
     could have applied to set aside the judgment on the grounds that the          F
     procedure for the assessment of damages was irregular under the
     relevant rules and such application would have been allowed if made in
     due time. Further, an appeal to the Circuit Court was open to
     Cape/Capasco. Since they took no step to correct the procedural defect,
     and the consequences of it, they cannot rely upon it as a defence in
     these proceedings.                                                            «-,

     The defendants' submissions on natural justice
        To these submissions Mr. Playford for Cape/Capasco replied by
     contending that Scott J. was right in his conclusion for the reasons which
     he gave. Further, if it should appear to this court that the defendants
     could not impeach the judgment on the ground of a procedural defect
     which was capable of remedy within the system of the federal courts,
     then it was said that the defendants did not know in time of the
     procedural defects and could not reasonably be required or expected to
     have sought such remedy there.
                                                                      APP.389
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 373 563
                                                                            of 421 PageID 1
      1 Ch.                 Adams v. Cape Industries Pic. (C.A.)

 A    The decision in Jacobson v. Frachon
          A number of decisions were cited to us in the context of the natural
      justice issue. However, the most important of them was Jacobson v.
      Frachon, 138 L.T. 386, because it was said on behalf of the plaintiffs to
      establish legal principles which are binding on this court and render the
      natural justice defence unsustainable on the present facts by limiting that
  g   defence to lack of notice and denial of proper opportunity to be heard.
      Furthermore, it was common ground that this is the only case in which
      the Court of Appeal has considered points relevant to the questions
      raised in this case under the heading of the natural justice issue.
          In Jacobson v. Frachon, this court applied rigorously the principle
      that our courts will not impeach the judgment of a foreign court having
      competent jurisdiction on its merits. However, the crucial passage in
  C   that case particularly relied upon by Mr. Falconer was a statement of
      Atkin L.J., who, after referring to the judgment of Lindley M.R. in
      Pemberton v. Hughes [1899] 1 Ch. 781, 790, said, at p. 392, that a
      judgment could be impeached "if the proceedings, the method by which
      the court comes to a final decision" are contrary to English views of
      substantial justice, and continued:
  D        "The Master of the Rolls seems to prefer, and I can quite
           understand the use of the expression, 'contrary to the principles of
           natural justice;' the principles it is not always easy to define or to
           invite everybody to agree about, whereas with our own principles of
           justice we are familiar. Those principles seem to me to involve this,
          first of all that the court being a court of competent jurisdiction, has
  g        given notice to the litigant that they are about to proceed to determine
           the rights between him and the other litigant; the other is that having
          given him that notice, it does afford him an oportunity of substantially
          presenting his case before the court. Both those considerations
           appear to be essential if they are to be in accordance with natural
           justice." (Emphasis added.)
  F       We have had the benefit of very careful and detailed analyses in
      argument of the judgments in Jacobson v. Frachon. We intend no
      disrespect to such arguments if we do not prolong an already very long
      judgment (in which we have already decided that the defendants succeed
      on the presence issue) by recapitulating these analyses. We will
      summarise our conclusions in relation to Jacobson v. Frachon, 138 L.T.
  Q   386, as follows.
          (1) Atkin L.J. in his judgment was not attempting to make an
      exclusive or comprehensive statement of the circumstances in which our
      courts will treat the procedure adopted by a foreign court in reaching its
      decision as offending against the principles of natural justice.
          (2) Lord Hanworth M.R. was clearly of the view, at p. 390, which
      we share, that the requirements of due notice and proper opportunity to
  "   be heard will, in the majority of cases which can be expected to arise,
      sufficiently comprise the concept of natural justice in a procedural
      context, but he prudently qualified his statement by saying that they
      "almost, if not entirely" comprise it.
                                                                      APP.390
3:18-cv-00731-X
       564      Document 273-6 Filed 07/30/19                     Page 374 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)           [1990]

          (3) We therefore reject the contention that the decision of this court A
      in Jacobson v. Frachon restricted the defence of breach of procedural
      natural justice to the requirements of due notice and opportunity to put
      a case. Scott J. was entitled, in our view, to direct himself by reference
      to the test stated by Lindley M.R. in Pemberton v. Hughes [1899] 1 Ch.
      781, 790, and to consider whether the procedural defect alleged by Cape
      was such as to constitute a breach of an English court's views of
      substantial justice. The point was not concluded against the defendants "
      merely because they had been given proper notice of the application for
      default judgment and would, if they had attended, have been allowed
      full opportunity to put their case.
          (4) However, this court in Jacobson v. Frachon, 138 L.T. 386, was
      not required to consider the relevance, if any, of any remedy which
      might have been available to Jacobson under the French legal system, Q
      whether by way of appeal or by application for the judgment to be set
      aside, if the hearing in the French court had itself constituted a breach
      of natural justice.

      "No judicial assessment of damages"
          The next question is whether, as Scott J. considered, the "method by D
      which the Tyler court came to its final decision," to use Atkin L.J.'s
      words, was contrary to our views of substantial justice on the grounds
      that there had been no judicial assessment of damages.
          We have found this to be a matter of difficulty. We have, although
      well aware of its limited nature, some general knowledge of the working
      of the system of civil justice in the federal courts of the United States; p
      and we are aware that it is a system which has been developed by
      judges of great distinction and learning, and subjected to continuous and
      searching examination and comment both by the legal profession and by
      academic lawyers of similar distinction and learning. Scott J. expressed
      his view that the system of civil justice evidenced by the, Federal Rules
      and explained by the witnesses was an unimpeachable system of justice
      within one of the great common law jurisdictions of the world and was F
      plainly in accordance with the requirements of natural justice. We make
      the same respectful acknowledgement. But, as Scott J. pointed out, the
      defendants made no criticism of that system of justice. Their complaint
      was that, at the invitation of the plaintiffs' counsel, Judge Steger did not
      proceed in accordance with it.
          We recognise, further, that the federal courts have been required to Q
      determine, and to develop methods for the effective control and
      management of, civil litigation in product liability cases in which large
      numbers of plaintiffs have made claims against numerous defendants
      arising out of similar classes of injury and having broadly similar
      consequences but with differing degrees of severity. We have had some
      experience in this country of such litigation but in smaller volume. Our
      own procedures have to an extent been modified to deal with the "
      preparation and settlement of such cases but we have not, to the same
      extent, developed the techniques of a class action or the role of the
      judge in procuring settlements. We are aware that our present system
                                                                     APP.391
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 375 565
                                                                            of 421 PageID 1
      1 Ch.                 Adams v. Cape Industries Pic. (C.A.)

  A   has been subjected to criticism in having failed, as it has been said, to
      respond sufficiently to the requirements of such litigation.
          The circumstances of 206 plaintiffs making claims based upon a
      common cause of injury were, as it seems to us, directly relevant to the
      method of decision adopted by Judge Steger without objection by the
      plaintiffs' counsel. The purpose was, as we infer, to avoid the private
      costs and public expenditure of court time which would have been
  °    necessary if there had been either individual judicial assessments or
      judicial assessment by reference to groups based upon evidence directed
      to the individual cases. The method was adopted for proper purposes.
      We accept, as submitted by Mr. Falconer, that Judge Steger had
      knowledge and experience of Mr. Bailey and the other counsel and that
      Judge Steger must have reposed trust in those counsel to act properly in
  Q   the matters left by the judge to them. Mr. Falconer submitted that there
      was nothing inherently objectionable, according to our standards of
      substantial justice, in a court leaving to the plaintiffs' lawyers the fixing
      of figures for individual plaintiffs after the court has indicated an average
      basis of award for all plaintiffs.
           In reply to that contention Mr. Playford pointed out that the
      indication by Judge Steger of an average basis of award for all plaintiffs
  D   was based on nothing in the way of evidence as to the fair sums due for
      compensation for any of them. It may be that an average figure for
      settlement of such claims was known by the judge to be $75,000 but that
      provided no basis for a holding that the condition of these 206 plaintiffs
      was such as to justify a total award of $15.45m. or any other total
      award. If the judge had had before him, and had considered, evidence,
  g   perhaps from one expert, to the effect that, by reference to the listed
      apparent injuries suffered by the plaintiffs, they properly belonged in
      certain categories of gravity of injury; and if he had, by reference
      thereto, estimated a figure for general damages for each category; and,
      then, by reference to the numbers of plaintiffs in each category calculated
      a total award which would be fair to the defendants, we could see no
      valid objection, which the defendants could have put forward, if the
  F   judge had then left it to plaintiffs' counsel to allocate precise sums
       within the total award to individual plaintiffs. But we agree with Mr.
       Playford's submission that that was not what happened. The defect in
       the procedure adopted was, as Scott J. found, that the total award was
       not in any real sense based upon an objective assessment by the judge
       upon evidence as to the condition of these plaintiffs.
  Q        It seems to us that, in truth, Judge Steger was applying to the
       process of assessment of damages in default, when only the plaintiffs
       were represented before him, the process and technique appropriate to a
       settlement negotiated between both the plaintiffs and defendants with
       the intervention of the judge. If we understand the position properly,
       the only basis upon which Judge Steger, as the judge responsible for
       assessment of the damages, could assert, without knowledge of the
  H
       evidence relating to the 206 plaintiffs, that $120,000 average, $24.72m.
       total, was too high a figure, and that $75,000 average, $15.45m. total,
       was a proper figure, was that, if the defendants had been present and
       taking part, they would in probability have refused to settle for $24.72m.,
                                                                        APP.392
3:18-cv-00731-X
      566       Document 273-6 Filed 07/30/19                    Page 376 of 421 PageID 1
                          Adams v. Cape Industries Pic. (C.A.)          [1990]

     so as to avoid the risk of having to pay more after individual assessment, A
     but would, in probability, have agreed to pay $15.45m. so as to avoid
     that risk. If that was the basis of his decision, there is nothing to show
     that he was in fact wrong upon the hypothesis upon which he acted and
     nothing to show that he was right; but, as Scott J. observed, ante,
     p. 56xxx, while damages calculated on an average per plaintiff basis may
     make very good sense for the purposes of a settlement, because
     defendants are not concerned with how the total will be divided up, a "
     judicial award so calculated is the antithesis of an award based upon the
     individual entitlements of the respective plaintiffs.
         Mr. Playford referred us to authority in order to demonstrate what
     he said should be regarded as the essential requirements of a court
     "acting judicially," and, in support of the proposition that it is part of
     the requirements of natural justice that the judgment of a foreign court, Q
     which is rendered for enforcement, be reached by that court "acting
     judicially." He referred in particular to Local Government Board v.
     Arlidge [1915] A.C. 120 and in particular to passages in the speech of
     Viscount Haldane L.C. at p. 132, of Lord Shaw of Dunfermline, at
     p. 138, of Lord Parmoor, at p. 142, and of Lord Moulton, at p. 150.
     That case was concerned with the validity of a closing order under
     section 17 of the Housing, Town Planning etc. Act 1909 and with the D
     procedure on appeal to the Local Government Board. An example of
     the statements relied upon is that of Lord Parmoor, at p. 142:
          "Whether the order of the Local Government Board is to be
          regarded as of an administrative or of a quasi-judicial character
          appears to me not to be of much importance, since, if the order is
          one which affects the rights and property of the respondent, the E
          respondent is entitled to have the matter determined in a judicial
          spirit, in accordance with the principles of substantial justice."
         In our view, no significant assistance is to be derived from this case,
     or other decisions upon the requirements of natural justice in
     administrative law cases, where the requirements of substantial fairness
     depend upon the subject matter and the context. It is sufficient, in our F
     view, to derive the requirements of natural justice for the purposes of
     enforcement of a foreign judgment and the special defence thereto of
     breach of natural justice from the principles stated in Pemberton v.
     Hughes [1899] 1 Ch. 781 and relied upon by Scott J., namely: did the
     proceedings in this foreign court offend against our views of substantial
     justice?                                                                    G
         The notion of substantial justice must be governed in a particular
     case by the nature of the proceedings under consideration. The purpose
     of an in personam monetary judgment is that the power of the state
     through the process of execution will take the defendant's assets in
     payment of the judgment. In cases of debt and in many cases of contract
     the amount due will have been fixed by the acts of the parties and in
     such cases a default judgment will not be defective for want of judicial H
     assessment. When the claim is for unliquidated damages for a tortious
     wrong, such as personal injury, both our system and the federal system
     of the United States require, if there is no agreement between the
                                                                     APP.393
3:18-cv-00731-X Document 273-6 Filed 07/30/19                               567421 PageID 1
                                                                   Page 377 of
      1 Ch.                 Adams v. Cape Industries Pic. (C.A.)

  A   parties, judicial asessment. That means that the extent of the defendant's
      obligation is to be assessed objectively by the independent judge upon
      proof by the plaintiff of the relevant facts. Our notions of substantial
      justice include, in our judgment, the requirement that in such a case the
      amount of compensation should not be fixed subjectively by or on behalf
      of the plaintiff.
          We do not find it necessary to decide whether, if the local rules
  "   provide for service by the plaintiff of notice of a specific sum claimed for
      damages, a default judgment may be entered for such a sum without
      proof of judicial assessment and without there being breach of any
      requirement of natural justice. Scott J. thought that there could be no
      objection to such procedure and we think that in most cases that would
      be right. The matter does not arise for decision in this case and we
  Q   express no concluded view. We would however not exclude the possibility
      of a defence being upheld if the facts justified the conclusion that,
      making due allowance for different levels of awards and of substantive
      law, the amount of the actual award was irrational.
          Mr. Falconer relied upon Scott J.'s finding that there would be no
      breach of natural justice in proceedings for a default judgment for
      unliquidated damages if judgment were entered for the specific sum
  D   claimed by the plaintiff. It was submitted that such a claim had in effect
      been made by the 205 plaintiffs in these proceedings because their
      pleading placed a limit upon the damages claimed in the sum of $100m.
      We see no force in that point. The maximum of $100m. would, as we
      understand it, prevent the court from entering judgment for any larger
      sum but there is nothing to show that the limit was intended to mean, or
  g   would be understood by any person familiar with procedure in the
      federal courts as meaning, that the $100m. represented a sum which the
      plaintiffs asserted to be the total of their estimated claims and for which
      the court would be empowered to give judgment without proof of the
      amount of injury and loss suffered.

      The "legitimate expectation" point
           At first sight there appeared to us to be some force in Mr. Falconer's
      criticism of the relevance of this concept in this case. It was accepted by
      Mr. Playford that reliance by the defendants had not been pleaded or
      proved with reference to any subjective expectation on their part that
      the assessment of damages on the application for the default judgment
      would proceed according to any particular method. We would also
  G   accept that the adoption of a particular method of assessment of
      damages by the foreign court, would not per se amount to an effective
      defence, as a breach of natural justice under our law, merely because it
      was shown that, by reference to the procedural rules of the foreign
      court, the defendant might (on an objective basis) reasonably have
      expected that a different method would be used. So to hold would be to
      introduce, under the concept of reasonable expectation, a rule that
      breach by the foreign court of its own rules of procedure renders the
      foreign judgment unenforceable as offending our concepts of substantial
      justice. It is clear law that mere procedural irregularity, on the part of
      the foreign court and according to its own rules, is not such a ground of
                                                                      APP.394
3:18-cv-00731-X
       568      Document 273-6 Filed 07/30/19                      Page 378 of 421 PageID 1
                            Adams v. Cape Industries Pic. (C.A.)            [1990]

      defence. Pemberton v. Hughes [1899] 1 Ch. 781 itself was an example of         A
      mere procedural irregularity.
          In our view, however, Scott J. did not so regard or use the point of
      reasonable expectation. He made reference to it in dealing with the
      question whether what had happened amounted to a breach of the
      requirements of substantial justice, and after reference to the fact that
      the rules of a court might, in his view, without offending those
      requirements, provide for the giving of notice of the plaintiffs' estimate     "
      of the recoverable damages and the entry of a default judgment for that
      amount in the absence of opposition on the part of the defendant. The
      question was to be decided, in the view of Scott J., by reference to the
      context in which the alleged procedural defect had occurred. He was, in
      our view, not in error in this regard. The fact was that the system of
      legal procedure in which Judge Steger had signed the default judgment          Q
      had not contained any provision for converting an unliquidated damages
      claim to a potentially fixed sum for the entry of a default judgment. His
      reference to the fact that the defendant in a default action was entitled
      to expect that his liability to the plaintiff would be assessed by the judge
      on the evidence was not a reference to actual expectation on the part of
      these defendants but to the requirements of natural justice against the
      background of a system which contains no such provision.                       D
          We therefore conclude that the defendants have demonstrated, as
      Scott J. held, that the method by which Judge Steger came to a decision
      as to the amount of the default judgment was by itself contrary to the
      requirements of substantial justice contained in our law. If that fact is
      regarded as a sufficient and conclusive description of the proceedings of
      the Tyler court then, according to the judgment of Atkin L.J. in               £
      Jacobson v. Fraction, 138 L.T. 386, 390, that finding would serve to
      invalidate the judgment. But, as noted above, the Court of Appeal in
      Jacobson v. Frachon was not required to consider whether, as Mr.
      Falconer submits, an opportunity to correct such a defect, provided by
      the foreign system of procedure, may either cause such a defect to cease
      to be in our law an effective breach of natural justice or, if there is any
      difference, cause the defendant to be unable to rely upon it for purposes      F
      of impeaching the judgment.

      Requirement of use of remedy in foreign court
          Mr. Playford submitted that proof of this defect in the proceedings of
      the Tyler court is a conclusive defence for the defendants, and he
      submitted that it is just that it should be so. It is not exorbitant, he said, G
      to require that a default judgment, designed and intended for enforcement
      in this country, should comply with so basic a principle as that the
      amount of a judgment for personal injuries be fixed in substance by the
      court upon the evidence and not in substance by the plaintiff. No
      authority establishes, he said, the requirement of use by a defendant of
      any local remedy.
          We accept that no authority binding this court has been cited to us
      establishing the proposition for which Mr. Falconer has contended. It is
      at least clear that our law does not oblige a defendant who can show
      that a foreign judgment has been obtained by fraud to have used any
                                                                      APP.395
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 379 569
                                                                            of 421 PageID 1
      1 Ch.                 Adams v. Cape Industries Pic. (C.A.)

 A    available remedy in the foreign court with reference to that fraud if he is
      successfully to impeach that judgment in our courts: see Abouloff v.
      Oppenheimer & Co. (1882) 10 Q.B.D. 295 and Jet Holdings Inc. v. Patel
      [1990] 1 Q.B. 335. The position may well be the same in cases where
      there has been a breach of natural justice of the two primary kinds
      considered by Atkin L.J. in Jacobson v. Frachon, 138 L.T. 386, 392,
      namely, absence of notice of the proceedings or failure to afford the
  "    defendant an opportunity of substantially presenting his case.
          In this judgment, however, we are dealing with a case where,
      although there was in our view a departure from the basic principles of
      natural justice in the assessment of the amount of a default judgment,
      nevertheless (a) the error which led to this departure was an honest
      error on the part of all concerned; (b) the defendants had proper notice
  Q   of the proceedings and could have presented their case on its merits if
      they had chosen to do so, but chose not to do so; (c) the procedural
      rules applicable in the Tyler court were themselves fair and just; (d) the
      defendants had the right to apply to set aside the judgment on the
      grounds that the procedure for the assessment of damages was irregular
      under the relevant rules and such application would presumably have
      been allowed if made in due time.
  D       Against this background, we are not persuaded that possession of
      and failure to exercise this right by the defendants can be disregarded as
      being wholly irrelevant in determining whether the proceedings in the
      Tyler court, which we think must be viewed as a whole, offend against
      English views of substantial justice, within the principles stated by
      Lindley M.R. in Pemberton v. Hughes [1899] 1 Ch. 781, 790, as the
  g   plaintiffs would submit.
          It is well established that a defendant, shown to have been subject to
      the jurisdiction of a foreign court, cannot seek to persuade our court to
      examine the correctness of the judgment whether on the facts, or as
      to the application by the foreign court of its own law or, when relevant,
      of the law of this country. A foreign judgment is not impeachable
      merely because it is "manifestly wrong:" Godard v. Gray, L.R. 6 Q.B.
  F   139; Castrique v. Imrie (1870) L.R. 4 H.L. 414 and Robinson v. Fenner
      [1913] 3 K.B. 835, 842. In any such case it could be said that there has
      been a breach of natural justice, but it is not a type of breach which our
      courts will consider relevant. In effect, their attitude is that the only way
      in which the defendant can seek to correct an error of substance made
      by the foreign court is by using such means for correction of error as
  Q    may be provided under the foreign system.
          This being the position where there has been an error of substance,
      it would, in our judgment, be anomalous if our courts were obliged
       wholly to disregard the existence of a perfectly good remedy under a
      foreign system of procedure in considering whether the defective
      operation of that procedure has led to a breach of natural justice. And,
      indeed, from some of the cases on procedural defects, support can be
  "    derived from the proposition that, at least with reference to defects
       known to the defendant before judgment, the defendant can be required
       to have made use of any remedy available in the foreign court: see, for
      example, Reynolds v. Fenton (1846) 16 L.J.C.P. 15 and Crawley v.
                                                                       APP.396
3:18-cv-00731-X
       570      Document 273-6 Filed 07/30/19                     Page 380 of 421 PageID 1
                           Adams v. Cape Industries Pic. (C.A.)           [1990]

      Isaacs (1867) 16 L.T. 529, see particularly at p. 531, where Bramwell B. A
      said (obiter):
           "If the proceedings be in accordance with the practice of the foreign
           court, but that practice is not in accordance with natural justice, this
           court will not allow itself to be concluded by them, but on the other
           hand, if the procedure be in accordance with natural justice, the
           foreign court itself will interfere to prevent the plaintiff taking g
           advantage of the judgment irregularly and improperly obtained."
          Mr. Falconer relied strongly not only on that passage but on dicta of
      Fry J. in Rousillon v. Rousillon, 14 Ch.D. 351, 370, and of Bray J. in
      Jeannot v. Fuerst (1909) 100 L.T. 816, 818.
          Since the ultimate question is whether there has been proof of
      substantial injustice caused by the proceedings, it would, in our opinion, C
      be unrealistic in fact and incorrect in principle to ignore entirely the
      possibility of the correction of error within the procedure of a foreign
      court which itself provides fair procedural rules and a fair opportunity
      for remedy. The court must, in our judgment, have regard to the
      availability of a remedy in deciding whether in the circumstances of any
      particular case substantial injustice has been proved. However, the
      relevance of the existence of the remedy and the weight to be attached
      to it must depend upon factors which include the nature of the
      procedural defect itself, the point in the proceedings at which it occurred
      and the knowledge and means of knowledge of the defendants of the
      defect and the reasonableness in the circumstances of requiring or
      expecting that they made use of the remedy in all the particular
      circumstances.                                                              E
          We return then to the circumstances of this case, of which the most
      relevant seem to us to be the following. First, the defendants who, for
      present purposes, we assume were subject to the jurisdiction of the
      Tyler court, were duly served with the proceedings; they chose to take
      no part in them; they were given notice of the application for the default
      judgment; they chose not to attend the hearing of that application; and
      they were thereafter served with the default judgment.                      F
          Secondly, on service of the judgment, the defendants knew the
      amount of the award to each plaintiff. It seems that they could have
      obtained access to the medical records as to each plaintiff referred to in
      the judgment, and advice as to the question whether, upon such
      material, the awards appeared excessive according to the law in the
      Tyler court.                                                                G
          Thirdly, by not attending the application for the default judgment,
      the defendants deprived themselves of information as to what occurred
      before the court. If they had attended before Judge Steger, the nature
      of the proceedings would have been largely apparent. The proceedings
      took place in public before the judge, and, at least so far as concerned
      the facts that there was no evidence received by the judge in court on
      the hearing and no arguments presented to the court, the defendants "
      would have discovered those facts.
          Fourthly, it would have been open to them to apply for the judgment
      to be set aside if they had formed an intention to contest the amount of
                                                                     APP.397
3:18-cv-00731-X
        1 Ch.
                Document 273-6 Filed 07/30/19
                     Adams v. Cape Industries Pic. (C.A.)
                                                                   Page 381 of571
                                                                               421 PageID 1
    A    the awards. It seems to us to be probable at least that, since the method
         of assessment adopted by Judge Steger was contrary to the Federal
         Rules, an application of this nature made promptly to the Tyler court
         would have succeeded.
             Fifthly, however, the defendants, when the judgment was served
         upon them, could not and did not know the method by which damages
         had been assessed from anything stated in the judgment. The recitals in
    °     the judgment were, as Scott J. held, false and misleading: there had
         been no hearing at which damages had been assessed. The facts as to
         what happened in the Tyler court became known to the defendants at
         latest when evidence was given in the proceedings before Scott J. There
         was, as we understand it, no evidence from the defendants directed to
         the question when they first had knowledge of the method adopted by
    Q    Judge Steger for assessing damages. There is, however, nothing to
         indicate that they were aware of the method adopted at any time before
         the date when, after claims were made on them in this country on the
         basis of the default judgment, the circumstances in which the judgment
         was made were investigated for the purposes of these proceedings.

    Y)   Conclusion on the natural justice issue
             Giving full force to all these facts, we find it impossible to say that,
         because the defendants did not apply to set the default judgment aside,
         they could not rely upon the substantial injustice in the proceedings
         constituted by the failure of the court to assess the damages judicially upon
         the evidence. They did not wish to dispute the amount of the damages
    P    award by presenting a case to the Tyler court. We cannot have regard, as
         an excuse available to them, to the reason why they chose not to appear,
         namely their unwillingness to submit to the jurisdiction of the Tyler court.
         However, it cannot, in our view, be required of them that they should
         have applied to the Tyler court to contest the amount of damages awarded
         when they were necessarily content to leave the amount of the damages to
         be assessed by the court. The only complaint which the defendants could
    F    thereafter make would be as to procedural irregularity. As to that, as we
         have stated, they had at the time of service of the judgment no knowledge.
         The defendants were not told before the application for the default
         judgment that plaintiffs' counsel intended to invite Judge Steger to accept
         the view of plaintiffs' counsel as to the total value of the claim, based upon
         an average of $120,000 per plaintiff, and that the plaintiffs would accept in
    Q    substitution for the assessment of the damages by the judge, such counter­
         proposal based upon an average sum per plaintiff as the judge might be
         minded to make, from his general knowledge of the proceedings and of the
         settlement in the Tyler 2 proceedings to that date and from his knowledge
         of national average settlement figures in asbestosis cases.
              The fact that information as to the procedural defect would probably
         have emerged if Cape had made an application to set the default judgment
    "     aside on other grounds, seems to us to be of no relevance. Cape are not to
         be treated as having information which they did not have because, if they
         had made an application which they had no reason to make, they could
         have obtained that information.

                                                                         APP.398
      572
3:18-cv-00731-X Document 273-6 Filed 07/30/19                      Page 382 of 421 PageID 1
                            Adams v. Cape Industries Pic. (C.A.)              (1990]

         A harsh but accurate summary of what happened is, in our judgment, A
     that those acting for the plaintiffs failed to give prior notice to the
     defendants of the unusual course which they intended to pursue; they
     chose not to try to prevent Judge Steger from adopting that method of
     assessment; and they drew up and served a form of judgment which did
     not reveal what had taken place. That was all done in good faith. There
     was no dishonest purpose. But the effect upon the defendants was, in our
     view, that they had at no material time knowledge of any basis for seeking °
     relief from the Tyler court in respect of the defect which Scott J. rightly
     held to have been demonstrated by them to have occurred in the
     proceedings in the Tyler court.
         The only basis for attributing to the defendants constructive knowledge
     of the defect, upon which they could reasonably be required to have used
     any available remedy in the Tyler court, would be that a defendant who Q
     has been given notice of the proceedings will be fixed with knowledge of
     everything which he would have learned if he had attended those
     proceedings. That, in our judgment, is not an acceptable basis for
     considering proof of procedural injustice. Plaintiffs can, we think fairly be
     left to avoid such procedural errors as will prevent enforcement of a
     judgment in this country.
          Accordingly, on the natural justice issue, although for somewhat D
     different reasons, we would uphold the decision of Scott J.
                                    V Conclusion
          In the result, while we have some doubts as to whether the judge
     reached the right conclusion on the country issue, we are satisfied that he
     reached the right conclusions on the presence issue and the natural justice       E
     issue. He was accordingly right, in our judgment, to dismiss the plaintiffs'
     claims and this appeal likewise must be dismissed.
          Finally, we acknowledge our debt to all counsel on both sides for the
     great assistance which they have given us in this interesting but exceptionally
     difficult case.
                                                    Appeal dismissed with costs.       ?
                                                    Leave to appeal refused.
        24 October 1989. The Appeal Committee of the House of Lords (Lord
     Keith of Kinkel, Lord Griffiths and Lord Ackner) dismissed a petition by
     the plaintiffs for leave to appeal.

        Solicitors: Nabarro Nathanson; Davies Arnold & Cooper.
                                                                         A. R.




                                                                        APP.399
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 383 of 421 PageID 18256




                   EXHIBIT H




                                                                       APP.400
                                                                                     45
3:18-cv-00731-X
       1 A.C.   Document      273-6
                  South Carolina         Filed 07/30/19
                                 Co. v. Assurantie N.V. (H.L.(E.)) Page 384
                                                                          A"?of 421 PageID 1
                                                                              Go,r

                                                                             of Chieveley
   A   elsewhere explained in detail, for reasons which it is unnecessary for me
       to repeat in the present case, why, on the basis of a line of established
       authority, I am at present inclined to the opinion that an injunction has
       generally been granted in such circumstances for the purpose of
       protecting the English jurisdiction, and why I doubt, with all respect,
       whether the speech of my noble and learned friend, Lord Scarman, in
       Castanho v. Brown & Root (U.K.) Ltd. [1981] A.C. 557, contains the
   B   last word on the subject. I refer, in this connection, to my judgment in
       Bank of Tokyo Ltd. v. Karoon (Note) [1987] A.C. 45.
           Even so, I can see no basis for the grant of an injunction in the
       present case. In particular, in agreement with my noble and learned
       friend Lord Brandon of Oakbrook, and respectfully differing from
       Hobhouse J. and the Court of Appeal, I do not consider that the grant
   Q   of the injunction can be justified as necessary to protect the English
       jurisdiction on the facts of the present case. In this, I find myself
       entirely in agreement with the reasons expressed in the speech of my
       noble and learned friend, Lord Brandon of Oakbrook. I therefore agree
       that the appeal should be allowed.
                                                    Appeal allowed with costs.
   D
           Solicitors: Clyde & Co.; Herbert Smith & Co.

                                                                        J. A. G.


   E




                                          NOTE
   F
                                     [COURT OF APPEAL]

                    BANK OF TOKYO LTD. v. KAROON AND ANOTHER
        1984 April 3, 4, 5;                              Ackner and Robert Goff L.JJ.
   c         May 24
       Injunction—Jurisdiction to grant—Foreign proceedings—Interpleader
           proceedings to determine ownership of money held by bank in
            England—Bank's subsidiary in New York providing information
           concerning claimant and his accounts—Claimant bringing pro­
           ceedings in New York against subsidiary—Whether bank entided
           to injunction to restrain proceedings in New York
   H
           APPEAL  from Bingham J.
           In 1983 Mr. Majid Karoon started proceedings in New York against the
        Bank of Tokyo Ltd., a Japanese bank carrying on business in London, and also
        against a wholly-owned subsidiary of that bank, the Bank of Tokyo Trust Co.

                                                                          APP.401
      46
3:18-cv-00731-X Document
                    Bank of273-6
                           Tokyo Ltd.Filed   07/30/19
                                      v. Karoon (C.A.)               Page 385[1987]
                                                                               of 421 PageID 1
      (B.T.T.C). The bank applied to the High Court in London for an order ^
      preventing Mr. Karoon from continuing that action. On 7 November 1983
      Bingham J. refused to order Mr. Karoon to discontinue his action against
      B.T.T.C. but did order that he be restrained from continuing against the bank.
          The bank appealed against that part of the order relating to B.T.T.C. The
      grounds of their appeal, contained in a notice dated 18 November 1983, were
      that (l)(i), in relation to Mr. Karoon's claim against B.T.T.C, the judge had
      failed to give sufficient consideration to the facts that (a) the New York action r>
      involved litigation of the matter already ordered to be determined in the trial of
      an interpleader issue brought by the bank in the High Court regarding the true
      ownership of the relevant moneys, (b) the continuation of the New York action
      against B.T.T.C. would mean that the bank, contrary to their position as
      interpleaders, would acquire an interest in the outcome of the interpleader issue
      ordered between Mr. Karoon and his Iranian company, Maritime Co. Ltd., (c)
      Mr. Karoon had made no complaint about the use or proposed use by the bank
      of the information contained in their affidavit dated 20 May 1980 at any time ^
      before the interpleader issue had, with his consent, been ordered, and (d) there
      was no apparent difference between the laws of New York and England relating
      to bank confidentiality; (ii) the judge failed to give sufficient weight to the
      difficulty, inconvenience, undesirability and inappropriateness of entrusting to a
      foreign court (with or without a jury) rather than to the English court the
      investigation and determination of, inter alia, (a) whether the order of Robert
      Goff J. dismissing Mr. Karoon's application made in the course of the D
      interpleader proceedings that no disclosure of the existence of certain sums of
      money be made, had been caused by the information set out in that affidavit
      and whether he would have reached a different conclusion if such evidence had
      not been submitted by the bank, (b) whether, if the interpleader summons had
      been struck out as regards the relevant sums of money, the bank would have
      refused payment and defended any claim brought against them by Mr. Karoon
      for such sums and, if so, what the consequences of such a course of action E
      would have been, (c) other incidental questions of the practice and procedure of
      the High Court; (iii) the judge should have held that Mr. Karoon's contention
      that the decision of Robert Goff J. was caused by the information in the
      affidavit of 20 May 1980 was arguable; (iv) the judge failed to give sufficient
      consideration or weight to the nature and amount of the damages which might
      be recoverable by Mr. Karoon if any cause of action against B.T.T.C. was
      established. (2) The judge should have held that the prosecution of the New p
      York action should be restrained in its entirety because (i) it involved relitigating
      matters already determined or in issue in the English proceedings, namely the
      propriety of the interpleader summons as regards the relevant moneys, and (ii)
      it represented a sanction on the use by the bank of admissible and pertinent
      evidence in the English proceedings. (3) The judge should have held that the
      injustice to the bank in being sued by Mr. Karoon through the medium of the
      bank's wholly-owned subsidiary and/or that it was unrealistic to distinguish ^
      between the bank and B.T.T.C in this regard.
           The facts are set out in the judgments of Ackner and Robert Goff L.JJ.

           The following cases are referred to in the judgments:

            Abidin Dover, The [1984] A.C. 398; [1984] 2 W.L.R. 196; [1984] 1 All E.R.
                470, H.L.(E.)                                                            H
            Armstrong v. Armstrong [1892] P. 98
            Atlantic Star, The [1974] A.C. 436; [1973] 2 W.L.R. 795; [1973] 2 All E.R.
                175, H.L.(E.)
            Bethell v. Peace (1971) 441 F. 2d 495


                                                                            APP.402
                                                                                   47
       1 A.C.                   Bank of Tokyo Ltd. v. Karoon
3:18-cv-00731-X Document 273-6 Filed 07/30/19 Page 386 of 421(C.A.)                      PageID 1
   A       Booth v. Leycester (1837) 1 Keen 579
           British Airways Board v. Laker Airways Ltd. [1984] Q.B. 142; [1983] 3
                W.L.R. 544; [1983] 3 All E.R. 375, C.A.
           Bushby v. Munday (1821) 5 Madd. 297
           Canon Iron Co. v. Maclaren (1855) 5 H.L.Cas. 416, H.L.(E.)
           Castanho v. Brown & Root (U.K.) Ltd. [1981] A.C. 557; [1980] 3 W.L.R.
                991; [1981] 1 All E.R. 143, H.L.(E.)
   R       Chapman v. Honig [1963] 2 Q.B. 502; [1963] 3 W.L.R. 19; [1963] 2 All
   D
                E.R. 513, C.A.
           Christian v. Christian (1897) 67 L.J.P. 18
           Cohen v. Rothfield [1919] 1 K.B. 410, C.A.
           Cole v. Cunningham (1890) 133 U.S. 107
           Distillers Co. (Biochemicals) Ltd. v. Thompson [1971] A.C. 458; [1971] 2
                W.L.R. 441; [1971] 1 All E.R. 694, P.C.
    _      Distin, In re (1871) 24 L.T. 197
   C
           Ellerman Lines Ltd. v. Read [1928] 2 K.B. 144, C.A.
           Enoch and Zaretzky Bock & Co.'s Arbitration, In re [1910] 1 K.B. 327,
                C.A.
           European Asian Bank A.G. v. Punjab & Sind Bank [1982] 2 Lloyd's Rep.
                356, C.A.
           Fallon v. Calvert [1960] 2 Q.B. 201; [1960] 2 W.L.R. 346; [1960] 1 All E.R.
                281, C.A.
   D       Graham v. Maxwell (1849) 1 Mac. & G. 71
           Gulf Oil Corporation v. Gilbert (1947) 330 U.S. 501
           Hyman v. Helm (1883) 24 Ch.D. 531, C.A.
           Laker Airways Ltd. v. Sabena, Belgian World Airlines (1984) 731 F. 2d 909
           Lett v. Lett [1906] 1 I.R. 618
           McHenry v. Lewis (1882) 22 Ch.D. 397, C.A.
           MacShannon v. Rockware Glass Ltd. [1978] A.C. 795; [1978] 2 W.L.R. 362;
   E            [1978] 1 All E.R. 625, H.L.(E.)
           Moore v. Moore (1896) 12 T.L.R. 221, C.A.
           North Carolina Estate Co. Ltd., In re (1889) 5 T.L.R. 328
           Peruvian Guano Co. v. Bockwoldt (1883) 23 Ch.D. 225, C.A.
           Piper Aircraft Co. v. Reyno (1981) 454 U.S. 235
           St. Pierre v. South American Stores (Gath & Chaves) Ltd. [1936] 1 K.B.
                382, C.A.
   p       Sim v. Robinow (1892) 19 R. 665
           Smith Kline & French Laboratories Ltd. v. Bloch [1983] 1 W.L.R. 730;
                [1983] 2 All E.R. 72, C.A.
           Society du Gaz de Paris v. Societe Anonyme de Navigation "Les Armateurs
                Frangais", 1926 S.C.(H.L.) 13, H.L.(Sc)
           Tournier v. National Provincial and Union Bank of England [1924] 1 K.B.
                461, C.A.
   r       Frapp v. Mackie [1979] 1 W.L.R. 377; [1979] 1 All E.R. 489, H.L.(Sc)
           Trendtex Trading Corporation v. Credit Suisse [1980] Q.B. 629; [1980] 3
                W.L.R. 367; [1980] 3 All E.R. 721, C.A.; [1982] A.C. 679; [1981] 3
                W.L.R. 766; [1981] 3 All E.R. 520, H.L.(E.)
           Tropaioforos, The (No. 2) [1962] 1 Lloyd's Rep. 410
             The following additional cases were cited in argument:
    H
             Cook v. Swinfen [1967] 1 W.L.R. 457; [1967] 1 All E.R. 299, C.A.
             Hadmor Productions Ltd. v. Hamilton [1983] 1 A.C. 191; [1982] 2 W.L.R.
                322; [1982] I.C.R. 114; [1982] 1 All E.R. 1042, H.L.(E.)


                                                                       APP.403
      48
3:18-cv-00731-X Document    273-6
                    Bank of Tokyo Ltd. Filed  07/30/19
                                       v. Karoon (C.A.)             Page 387[1987]
                                                                               of 421 PageID 1
           Metall und RohstoffA.G. v. AC LI Metals (London) Ltd. [1984] 1 Lloyd's       ^
               Rep. 598, C.A.
           Portarlington v. Soulby (1834) 3 My. & K. 104
           XA.G. v. A Bank [1983] 2 All E.R. 464; [1983] 2 Lloyd's Rep. 535

           Leonard Hoffmann Q.C. and D. T. Donaldson for the Bank.
           N. A. Strauss for Mr. Karoon.
                                                                                       B
                                                                   Cur. adv. vult.
           24 May 1984. The following judgments were read.

           ACKNER L.J. The respondent, Mr. Karoon, is neither a national of, nor
      resident in, this country. He is an Iranian citizen who left Iran at the time of the
      revolution in November 1979 and is now living in France. The Bank of Tokyo Q
      Trust Co. ("B.T.T.C") is a New York corporation which is a wholly owned
      subsidiary of the Bank of Tokyo Ltd. ("B.T."), the appellants, a Japanese bank
      carrying on business in London.
           On 7 November 1983 Bingham J. refused to grant an injunction restraining
      Mr. Karoon from taking any further steps in an action that he had begun in
      New York against B.T.T.C, or commencing or prosecuting any other proceedings
      relating to the same subject matter before any other court than the English High y-v
      Court. It is against this refusal that B.T. now appeals. He did however order
      that Mr. Karoon be restrained from continuing the proceedings against B.T.,
      who had been joined as co-defendants with B.T.T.C. Against this decision
      there is no cross-appeal.
           The circumstances out of which his claim in the New York action arose
      can be shortly stated. Although Mr. Karoon and his wife and children were
      able to leave Iran, the rest of Mr. Karoon's family and his wife's family are
      still in Iran and he has fears for their safety. From 1961 onwards he was the ^
      chief operating officer of an Iranian company called Maritime Co. Ltd.
      ("Maritime") in which he owned nearly all the shares. Maritime carried on a
      shipping business. For some years prior to his departure from Iran he
      maintained a personal bank account with B.T.T.C. He also maintained both
      a personal and a company account with B.T. Following his departure from
      Iran, Mr. Karoon transferred approximately $685,000 from his personal
      account with B.T.T.C. to his personal account with B.T. He also instructed F
      B.T. to transfer all money from the company account to his personal account.
           In February 1980 B.T. received a letter from Maritime in Iran to advise
      them that on 3 February 1980 Mr. Karoon had been sentenced in absentia to
      10 years' imprisonment and that his property and the company's had been
      taken over by the Government of Iran. B.T. was asked to transfer all
      balances to Iran. B.T. responded to the effect that all the company's accounts
      had been closed prior to their receipt of this letter, upon the instructions of G
      the accounts sole signatory (Mr. Karoon), and that under English law it
      would be a breach of confidence to make any disclosure regarding a
      customer's personal affairs without his prior authorisation. They also advised
      Mr. Karoon of their receipt of this letter and their response. He thereupon
      instructed them to transfer funds they were holding to an account which he
      maintained with another bank. B.T. was concerned with its position. If it did
      not carry out his instructions, it might be liable to him. On the other hand, if n
      it did carry out his instructions, it might be liable to those now in charge of
      Maritime. Accordingly, on 21 March 1980, B.T. issued an interpleader
      summons to determine whether the money which it held was payable to Mr.
      Karoon or to Maritime.


                                                                          APP.404
                                                                                    49
3:18-cv-00731-X
      1 A.C.    Document
                    Bank of 273-6
                            Tokyo Ltd. Filed  07/30/19
                                       v. Karoon (C.A.)              PageAckner
                                                                          388 L.J.
                                                                                of 421 PageID 1
 A       On 15 April 1980 Mr. Karoon issued a summons to strike out the interpleader
      proceedings under R.S.C., Ord. 18, r. 19. In his affidavit he swore, inter alia:
          "On 3 December 1979 I remitted U.S. $685,800 of my own money from my
          account at the bank's branch in New York to the bank . . . These moneys
          had not originated from the company."
          He explained how they were placed on deposit and that on 27 December
  B   1979 there was due to him U.S. $689,421-88. He contended that Maritime could
      have no arguable claim to these moneys, even if proceedings were appropriate
      in respect of the English funds. He also expressed concern that, if the Iran
      Government knew about the funds in London, his relations would be used as a
      lever to force him to remit the money to Iran.
          In reply to this affidavit, Mr. Saunders, an officer of B.T., swore another
      affidavit in which he said, in paragraphs 1 to 4 as follows:
  Q         " 1 . Inquiries have been made of the Bank of Tokyo Trust Co., New York
           in respect of a remittance in the sum of U.S. $685,800 credited to the first
           defendant's external savings account number 61817-3 on 5 December 1979
           in order to establish the source of the said money.
                 "2. I am informed and verily believe that the said sum was made up
           from two fixed deposits ((a) and (b) respectively) which were automatically
           renewable every three months and which had been pre-matured and credited
  n        to the first defendant's New York checking account (number 121-004-775)
           in order to cover the said payment. Fixed deposit (a) was valued at U.S.
           $183,797-83 and (b) at U.S. $497,803-98.
                 "3. Fixed deposit (a) was opened on 14 December 1978 with a transfer
           of U.S. $170,000 from a savings account maintained by the first defendant,
           which account was opened on 5 April 1976 with initial funds of U.S.
            $425,000 by means of a transfer from the first defendant's checking account
            number 121-004-775. I am informed that the sum of U.S. $511,000 had
  E         been credited to the said checking account on 30 December 1975 by order
            of Fairfield International Ltd. of 227 Park Avenue, New York. Prior to 14
            December 1978, the said savings account had been credited with U.S.
            $115,200, being the proceeds of a cheque drawn on Midland Marine Bank,
            New York by order of Mowbrays Tug and Barge Sales Corporation.
                 "4. Fixed deposit (b) was opened on 23 April 1979 with a transfer of
            U.S. $473,000 from the said savings account maintained by the first
  F         defendant. The account had been credited on 11 April with the proceeds of
            a cheque for U.S. $32,569-75 drawn on Wells Fargo Bank New York by
            order of Utah House Fire Insurance Co. and on 23 April with the proceeds
            of a cheque for U.S. $441,992-01 drawn on Chase Manhattan Bank by
            order of Adams and Porter Inc."
         The affidavit was never served on Maritime, who were at that time not party
  Q   to the proceedings to strike out. The application, which was heard by Robert
      Goff J. failed. A note of his judgment was before Bingham J., and the relevant
      part of the proceedings before him was quoted by the judge:
           "There were certain accounts in the name of Majid Karoon and certain
           accounts in the name of Maritime. Certain moneys were transferred from
           New York which Majid Karoon says are his. There has been an
           amalgamation of accounts carried out in accordance with instructions given
  H        on 24 December 1979 and 20 February 1980. . . . Finally I am asked to look
           at the evidence to find that a substantial part of the moneys must belong to
           Majid Karoon. I am invited to look at the letter and to find that it makes
           no claim on Majid Karoon's assets. The difficulty is that I am faced with
           one party's evidence. The bank is in the middle and can only act fairly,


                                                                            APP.405
       50
3:18-cv-00731-X
       Ackner L.J. Document
                       Bank of273-6
                               Tokyo Ltd.Filed  07/30/19
                                          v. Karoon (C.A.)              Page 389[1987]
                                                                                     of 421     PageID 1
            which it cannot do not knowing the full facts. It would be quite wrong for     ^
            me to pre-empt the situation on one party's evidence—especially having
            regard to the history which shows that Majid Karoon has not sought to
            keep his own and Maritime's moneys separate. No accurate assumptions on
            a split can be made.
                "It seems to me that the workers council letter is written in such English
            as the bank has reasonable grounds to assume that a claim may be pressed
            not only against Maritime's accounts but also against Majid Karoon's n
            accounts in so far as the money is in origin Maritime's money which he has
            transferred into his own account. He may have acted in breach of his
            obligations to the company. In my judgment there are reasonable grounds
            that the bank may be sued for not only Maritime's money but also that
            money held by Majid Karoon. The bank was fully entitled to interplead. I
            cannot accede to the application. To interplead was a natural reflex of the
            bank."
          On 4 March 1983 an interpleader issue was eventually ordered* The order
       was by consent, no attempt being made to limit the order to the English as
       opposed to the American moneys. It read as follows:
           "1. The plaintiffs [B.T.] be forthwith discharged from any liability to either
           of the defendants in respect of any moneys the subject matter of these
           proceedings and that no action be brought in respect thereof against the
           plaintiffs by either of the defendants, including an action by the first         D
           defendants acting in the name of the second defendants.
           "2. The plaintiffs do pay the moneys the subject matter of these proceedings
           after deduction of their usual banking charges into court as and when each
           of the current special deposits matures and that the moneys presently held
           on call be paid together with the first special deposit money on maturity
           thereof and that meanwhile the plaintiffs hold the said moneys to the
           direction of the court."                                                         E
           The complaint of the New York proceedings is based upon B.T.T.C.'s
       voluntary disclosure to B.T. of information relating to his account in New York.
       This disclosure is alleged to have been a breach of its contractual duty of
       confidence to Mr. Karoon, to have violated Mr. Karoon's "right of privacy",
       and made in conspiracy with B.T. to injure Mr. Karoon. A total of U.S.
       $4,000,000-00 damages is claimed, U.S. $1,000,000-00 as punitive damages for
       the breach of the "right of privacy" and the conspiracy, additional to the U.S. F
       $1,000,000-00 claimed for "special damage" for each of the three causes of
       action.
           Before Bingham J., Mr. Hoffmann submitted that the New York proceedings
       would cause injustice to his clients for a number of reasons, which the judge
       summarised under five headings. The first two can be taken together, it being
       submitted: whatever the prospects of success, the New York action is an attempt
       to penalise B.T. for availing itself of the interpleader procedure in England and G
       complying with the Rules of the Supreme Court. The New York action would
       involve relitigating a matter already litigated in England, i.e. whether an
       interpleader should have been ordered in respect of moneys remitted from the
       United States. As such, the action is vexatious and oppressive. It is in truth
       doubly vexatious and oppressive because it has no reasonable prospect of
       success, since Mr. Karoon will be quite unable to show that he has suffered any
       damage, because Robert Goff J. would have made the self same order if B.T. J J
       had not relied upon the information provided to it by B.T.T.C.
           Mr. Hoffmann's three further points submitted to the judge can be stated as
       one proposition, namely, that an English court is the forum conveniens because
       it can without difficulty resolve what duty of confidence, if any, was owed by the


                                                                            APP.406
                                                                                    51
3:18-cv-00731-X
      1 A.C.    Document
                    Bank of273-6
                            Tokyo Ltd.Filed   07/30/19
                                       v. Karoon (C.A.)               PageAckner
                                                                           390 ofL.J.421 PageID 1
  A    New York bank in these circumstances to its client Mr. Karoon. Tournier v.
       National Provincial and Union Bank of England [1924] 1 K.B. 461, is the source
       of the law in both jurisdictions. By contrast, a New York judge would be faced
       with difficult questions concerning the duty of an English litigant in an English
       interpleader. Moreover, if Mr. Karoon were able to establish that he would
       have succeeded in striking out the interpleader proceedings had not B.T.T.C.
       provided the information to B.T., he would still have to establish, in order to
  g    claim damages, that the money in London belonged to him and that issue has to
       be decided in London. Mr. Karoon, moreover, has no legitimate judicial
       advantages in proceeding in New York.
           Before Bingham J. no submission appears to have been made to the judge
       that a different approach might be justified to the New York action, according
       to whether one was considering the position of B.T.T.C. or the position of B.T.
       Neither party asked the judge to differentiate between B.T. and B.T.T.C. in
  Q    any order he made. However, in his judgment, viewing the two companies as
       two separate legal entities, Bingham J. concluded that they should be treated
       separately. In regard to the New York action, in so far as it related to B.T.T.C,
       he said:
           "It is an action brought in New York against a bank incorporated and
           carrying on business there. Mr. Karoon, an Iranian citizen resident in
           France, had an account with that bank. Although Mr. Karoon has advanced
  D        three causes of action against B.T.T.C. (breach of confidence, invasion of
           privacy and conspiracy) it seems plain that his central complaint against
           B.T.T.C. arises from its voluntary dislosure to B.T. of information relating
           to his account. Whether this disclosure involved a breach of contractual
           duty, or of Mr. Karoon's right to privacy, on the part of B.T.T.C. must be
           determined according to the law of New York. Whether B.T.T.C. was
           guilty of an actionable conspiracy may also fall to be decided under that
  E        law, although this cause of action appears to be something of a makeweight.
           The disclosure by B.T. to the English court forms no part of Mr. Karoon's
           cause of action against B.T.T.C. That disclosure does have a significant
           bearing on Mr. Karoon's ability to prove actual damage flowing from the
           disclosure, since he could show none if Robert Goff J. would have made
           the same order even without the information concerning Mr. Karoon's
           American transactions in Mr. Saunders' affidavit. To that extent the action
  F        does involve inquiry into what Robert Goff J. would have done on different
           evidence, an inquiry which would be best carried out by this court. It is,
           however, an inquiry which a New York court could doubtless undertake
           and resolve. Mr. Karoon may have a cause of action for invasion of privacy
           available to him in New York which is not available here. It would certainly
           appear that his chances of obtaining substantial damages on a punitive or
  r        exemplary basis are better there. His ability to sue in New York on a
           contingency fee basis may not be a juridical advantage (Smith Kline &
           French Laboratories Ltd. v. Bloch [1983] 1 W.L.R. 730, 747H) and is, in my
           view counterbalanced by B.T.T.C.'s inability to recover costs if successful,
           but is certainly not an argument against allowing the New York action to
           proceed against B.T.T.C. Overall, I do not regard an injunction as
           appropriate to restrain the action insofar as it lies against B.T.T.C. If the
  TT       action were to proceed, B.T.T.C. might, of course, win or lose; and if it
           lost the damages might be large, or nominal, or even non-existent. But all
           these seem to me to be matters best entertained and resolved in the New
           York court which would be applying its own law to events very largely
           occurring within its own jurisdiction."

                                                                            APP.407
       52
3:18-cv-00731-X
       Ackner L.J. Document
                       Bank of273-6
                               Tokyo Ltd.Filed  07/30/19
                                          v. Karoon (C.A.)            Page 391[1987]
                                                                               of 421 PageID 1
           In reaching his decision relative to B.T.T.C, Bingham J. was applying the         ^
       principles to which he made specific reference, as laid down or reflected in the
       decisions of The Atlantic Star [1974] A.C. 436, MacShannon v. Rockware Glass
       Ltd. [1978] A.C. 795, Castanho v. Brown & Root (U.K.) Ltd. [1981] A.C. 557
       and Trendtex Trading Corporation v. Credit Suisse [1980] Q.B. 629. These
       principles were not in dispute between the parties.
           He then turned to the New York action against B.T., commenting that the
       claim assumed a somewhat different aspect. He said:                                   R

            "The crux of Mr. Karoon's complaint against B.T. is that it acted unlawfully
            in seeking information from B.T.T.C. The allegation is made that B.T.
            gratuitously revealed this information, but Mr. Strauss accepted that the
            revelation was not gratuitous and acknowledged the difficulty of maintaining
            that B.T. had no interest in revealing that information. B.T. is also accused
            of conspiracy and inducement of breach of contract by B.T.T.C. but these
            complaints arise out of the same factual premise, namely, the request for        Q
            information made by B.T. to B.T.T.C. This was a request made by B.T. in
            the context of its role as a party seeking to interplead under R.S.C., Ord.
            17. In his original affidavit, Mr. Saunders had made no overt reference to
            these moneys transferred by B.T.T.C. to B.T. Mr. Karoon raised a clear
            issue concerning them in his affidavit of 25 April. B.T. had either to let the
            matter (and the moneys) go, with the risk that it might later be held
            accountable for the moneys, or make such inquiries as it could (or, if it had    ^
            already made inquiry, inform the court of the result).
                "Leaving entirely on one side the question whether, on information
            being requested, B.T.T.C. should, as a matter of New York law, have
            complied with the request, I think that two significant questions of English
            law arise in respect of B.T.'s conduct: whether it was reasonable and proper
            for B.T., in seeking to protect its own interests, to request information from
            B.T.T.C; and whether, in pursuance of its duty as a party applying to
            interplead it was proper for B.T. to seek to lay before the court all evidence   ^
            within its power relevant to the application. This is a lis between a bank
            carrying on business in London and a London customer of that bank arising
            out of English interpleader proceedings to which both were party. Moreover,
            it directly touches on a matter with which this court must be very closely
            concerned, the proper conduct of a party to English interpleader proceedings.
            I should not and do not form or express any opinion whether B.T.'s
            conduct was proper or improper. That is not an issue before me. I am,            F
            however, of the opinion that B.T. would be exposed to the risk of real
            injustice if the propriety of its conduct were to be judged in any court other
            than that in which the interpleader proceedings took place. It furthermore
            appears to me that England is in every way a more appropriate forum than
            New York for trial of the issues between Mr. Karoon and B.T. and that
            Mr. Karoon would lose no legitimate juridical or personal advantage by
            suing here. The New York forum would afford him no additional cause of           G
            action and the chance of an improved measure of damage would be
            problematical. These considerations are, however, in my judgment, of less
            weight in this than the usual case because the overriding consideration of
            what justice demands points strongly towards restraint of Mr. Karoon's
            action against B.T. in New York. If B.T. were the only New York
            defendant, I would, even bearing in mind the need for great caution in
            restraining prosecution of a foreign action, think it right to grant an          j{
            injunction."

         The difficulty which then faced Bingham J. was the combination in one set of
       New York proceedings of claims against B.T.T.C, which he was not willing to

                                                                             APP.408
                                                                                           53
3:18-cv-00731-X
       1 A.C.   Document
                     Bank of273-6
                             Tokyo Ltd.Filed  07/30/19
                                        v. Karoon (C.A.)                   Page Ackner
                                                                                392 of L.J.421 PageID 1
  A     restrain, and claims against B.T., which he was. He concluded that it would not
        be right to grant an excessive injunction, which would be the case if he
        restrained the prosecution of an action which he regarded as properly brought
        against B.T.T.C. in New York, nor would it be right to expose B.T. to an
        unacceptable risk of injustice. He therefore made no mandatory order that Mr.
        Karoon discontinue his New York proceedings, but he continued the negative
        injunction made ex parte on 13 September 1983, restraining Mr. Karoon from
   ■o   taking any further steps in the New York action so far as it related to B.T. Mr.
        Karoon thus remained free to prosecute the New York action against B.T.T.C.
        Mr. Strauss on behalf of Mr. Karoon is content with that position because B.T.
        is not a necessary party to the New York action. Mr. Karoon can obtain all the
        remedies to which he is entitled with the New York action limited to B.T.T.C.
            Before us Mr. Hoffmann has stressed the distinction between his two lines of
        argument, and reinforced the distinction by reference to the recent decision of
        the United States Court of Appeal for the District of Columbia Circuit, in Laker
   C
        Airways Ltd. v. Sabena, Belgian World Airlines (1984) 731 F. 2d 909. His first
        line of argument is that, as a matter of English public policy, the claims in New
        York should not be allowed to be brought at all. Citing the American Laker
        case:
            "Courts have a duty to protect their legitimately conferred jurisdiction to
            the extent necessary to provide full justice to litigants. . . . a court
  T\        may freely protect the integrity of its judgments by preventing their evasion
            through vexatious or oppressive relitigation" (per Judge Wilkey, at pp. 928-
            929),
        he maintained: (1) that there is "an overriding public policy" that a litigant
        should be able to take all proper steps to put relevant evidence before the court;
        (2) that it is in the public interest that there should be finality in litigation, and
        since Mr. Karoon had not objected to Mr. Saunders' affidavit being put before
   k    Robert Goff J., he should not now be allowed to bring an action for damages
        allegedly arising from the use of that affidavit.
            As regards the latter point, Mr. Hoffmann expressly accepted that any
        objection by Mr. Karoon would have been doomed to failure and in such
        circumstances it seems to me plain that Mr. Karoon cannot be blamed for
        having failed to take what is accepted would have been futile action.
            Thus, Mr. Hoffmann's first and main criticism of Bingham J.'s decision is
   F    that he treated the case as being an ordinary case of competition between two
        jurisdictions where the question was which was the most appropriate forum.
            It is however quite fundamental to Mr. Hoffmann's submission, (and he
        readily accepts this) that the public policy on which he relied requires the court
        to overlook the corporate distinctions in law between B.T. and B.T.T.C. While
        accepting that B.T. and B.T.T.C. are separate legal entities, Mr. Hoffmann
        contends that from a practical point of view it makes no difference whether
  G     B.T.T.C. was a branch of B.T. or a subsidiary. He argues that if one looks at
        the substance of the matter, B.T. are being sued in New York on account of the
        evidence which they gave in their own defence in proceedings brought against
        them by Mr. Karoon in London. The protection of B.T.'s own interests required
        the giving of this information and accordingly B.T., which must in practice be
        treated as having this information in their possession, was not in breach of its
        implied obligation of secrecy: see Tournier v. National Provincial and Union
  H     Bank of England [1924] 1 K.B. 461.
            The reality of the matter is that B.T.T.C. is not a branch of B.T. That is not
        the way in which B.T. has chosen to organise its business as a bank. Of course,
        B.T. is entitled to take all proper steps to obtain evidence to resist Mr. Karoon's
        application to strike out the interpleader summons, but the issue remains, were


                                                                                 APP.409
       54
3:18-cv-00731-X
      Ackner L.J. Document
                      Bank of273-6
                             Tokyo Ltd.Filed   07/30/19
                                        v. Karoon (C.A.)              Page 393[1987]
                                                                                of 421 PageID 1
      these steps proper ones? If, as Mr. Karoon maintains, B.T.T.C. owed him a            A
      duty of confidence and was therefore not entitled to communicate to another
      separate legal entity any information concerning his account with them without
      his approval, then B.T.T.C. was in breach of its duty and it would follow that
      B.T. induced a breach of contract. Mr. Hoffmann accepted that if B.T.T.C. was
      not a subsidiary of B.T. but was another bank, then Mr. Karoon would certainly
      have a cause of action, although he maintained his contention that his damages
      would be purely nominal.                  •                                          n
          I can see no valid basis, and certainly no authority was provided to us by Mr.
      Hoffmann, for the contention that we must ignore the separate legal existence of
      B.T.T.C. Once the corporate distinction in law between B.T. and B.T.T.C. has
      to be recognised, the foundation of Mr. Hoffmann's submission that there is an
      English rule of public policy which requires that this action should not be
      allowed to be brought disappears. There is an arguable case that B.T.T.C, a
      separate juridical entity, owing Mr. Karoon an obligation of secrecy, broke that
      obligation when, without his consent, they revealed to B.T. the material referred    ^
      to above concerning his account in New York.
          In his reply, Mr. Hoffmann formulated a further issue of public policy,
      namely, that damages cannot be recovered, other than nominal damages for
      breach of contract, as a result of there being introduced into litigation in
      England relevant and admissible evidence, even though such evidence has
      been improperly obtained. He submitted that as a matter of public policy it is
      so essential to the administration of justice that all relevant and admissible       D
      evidence is placed before the courts that, even though such evidence may
      have been provided in breach of a contract not to divulge such material and
      damage can be established to have resulted from this wrongful disclosure, the
      plaintiff's remedy is limited to nominal damages for breach of contract, and
      he has no remedy against the person who wrongfully induced the breach of
      contract.
          Mr. Hoffmann was at pains to make quite clear that he was not limiting this      E
      rule of public policy to the case of a plaintiff who had wrongfully concealed
      evidence or sought to mislead the court, and had ultimately failed in his claim
      because evidence improperly obtained had ultimately been put before the court.
      That would merely be an example of the well-established principle, ex turpi
      causa non oritur actio. Mr. Hoffmann was unable to produce any authority in
      support of the existence of this rule of public policy and it became apparent in
      the course of his submissions that it would not be difficult to imagine examples     p
      where such a rule would operate contrary to accepted notions of justice and
      fairness. Moreover, it is of the very essence of our adversarial system that the
      court decides the dispute on the material placed before the court, it being for
      the parties and not for the court to decide of what that material should consist.
      Hence the well-established principle that in civil litigation the judge is not
      entitled, without the consent of the parties, to call a witness, although he may
      have every reason to believe that such a witness might well enable him the           Q
      better to reach a just decision: see In re Enoch and Zaretzky Bock & Co.'s
      Arbitration [1910] 1 K.B. 327 and Fallon v. Calvert [1960] 2 Q.B. 201.
          I am therefore far from satisfied that such a wide principle of public policy
      exists. But, even were it to exist, it would not justify the striking out of the
      action. Ex hypothesi, the plaintiff would have a good cause of action for breach
      of contract, and the fact that his damages might well be nominal still entitles
      him to bring his action. He might well be content with a declaration which           u
      established that the defendant broke some important duty of secrecy and was
      therefore not to be trusted. Accordingly, this rule of English public policy, were
      it to exist, cannot support Mr. Hoffmann's contention that the action against
      B.T.T.C. should never have been brought and therefore that the proceedings


                                                                             APP.410
                                                                                      55
3:18-cv-00731-X
       1 A.C.   Document  273-6
                     Bank of         Filed
                             Tokyo Ltd.      07/30/19
                                        v. Karoon (C.A.)              Page 394
                                                                           AcknerofL.J.
                                                                                     421 PageID 1
   j±   should be stopped in limine. It would merely preclude the right to recover more
        than nominal damages.
            The action brought by Mr. Karoon against B.T.T.C. is in every sense an
        American action. The contract upon which the contractual claim is based was
        made in New York with a New York corporation. The proper law of that
        contract is American law and if according to American law a breach of that
        contract took place when B.T.T.C. divulged information to B.T., then the
   TD   breach of that contract took place in New York. So far as the tort of conspiracy
        is concerned, the alleged conspirator who is being sued is a New York
        corporation and for an alleged conspiracy that took place in New York, because
        it was there that both the agreement and the overt acts in pursuance of that
        conspiracy were made and carried out. It will be for American law to determine
        whether the tort of conspiracy was committed and for this decision the New
        York court is the natural forum: see Distillers Co. (Biochemicals) Ltd. v.
        Thompson [1971] A.C. 458. Further, the alleged invasion of privacy occurred in
   *-   New York. It is a cause of action as yet unknown to English law and will have
        to be determined in accordance with New York law. In the result New York law
        will be the proper law for the determination of whether or not there has been a
        breach of contract and whether or not B.T.T.C. has committed the two torts
        alleged. New York law will also be the lex fori. In such circumstances it seems
        to me to be irrelevant that in England, assuming Mr. Hoffmann's submission to
        be correct, Mr. Karoon would have recovered only nominal damages for breach
   D    of contract.
            As regards Mr. Hoffmann's second line of attack, he ultimately conceded
        that, if the corporate distinctions in law must not be overlooked and B.T.T.C.
        must be treated as a separate legal entity (as is indeed my view), then New
        York is the natural forum for the reasons to which I have recently referred. In
        such circumstances there is no need to consider the balance of legitimate
        juridical advantages. However, were we obliged to consider that matter, I do
   E    not think that Mr. Hoffmann would have seriously contended that the balance
        was other than in favour of the action remaining in New York. Mr. Karoon
        alleges on affidavit that as a result of B.T. successfully interpleading he has no
        funds to support his litigation. However, in America he can bring his claim
        because of the contingency fee system. The Smith Kline case [1983] 1 W.L.R.
        730 was a decision on its own very special facts, where the Court of Appeal was
        clearly of the view that the plaintiff, who had legal aid in England, was abusing
   p    the contingency fee system in order to bring proceedings in America against the
        American parent corporation, against which he had no real cause of action. His
        cause of action, if any, lay against the English subsidiary and his conduct in
        bringing the American proceedings was clearly vexatious. Thus, in that case it
        was not a legitimate juridical advantage. Moreover, were Mr. Karoon to bring
        proceedings in England, he would inevitably be met with a claim for security of
        costs, being resident out of the jurisdiction, and this he could not, or would
   Q    have great difficulty in meeting. He is of course faced with no such problems in
        the United States. It is common ground that under New York law he may well
        have a claim for exemplary damages. Although this is certainly not accepted by
        B.T., Mr. Karoon might, under New York law, be able to recover exemplary
        damages, even though he only obtained nominal damages for the alleged breach
        of contract and/or no actual damage for the torts of invasion of privacy or
        conpiracy.
   pj       In the end there is left only one unusual feature which will face the New
        York court. It will have to decide whether the provision by B.T.T.C. to B.T. of
        the information which B.T. subsequently put before the court in fact resulted in
        Mr. Karoon losing any real chance of either striking out the interpleader
        summons or obtaining summary relief under R.S.C., Ord. 17, r. 5—in short,


                                                                            APP.411
         56
e 3:18-cv-00731-X
        Ackner L.J. Document
                        Bank of 273-6
                                Tokyo Ltd.Filed  07/30/19
                                          v. Karoon (C.A.)             Page 395[1987]
                                                                                 of 421 PageID 1
        what probably would have happened in England if B.T.T.C. had not made the          /^
        information available to B.T. Although this is an unusual inquiry for a New
        York court to make, it will, if and when required, be provided with expert
        evidence as to English law and procedure and should ultimately have no
        difficulty in resolving this issue.
            I would accordingly dismiss this appeal.

             ROBERT GOFF L.J. The judge was faced with the following situation. The B
         Bank of Tokyo Ltd., the appellant before this court ("B.T."), had commenced
         interpleader proceedings in this country. It had done so because there were
         moneys credited to accounts at its London branch to which competing claims
         were being made—on the one hand by an Iranian company, Maritime Co. Ltd.
         ("Maritime"), through a workers' council in Iran which, following the revolution
         in that country, appeared to have gained control of Maritime; and, on the other
         hand, by an Iranian gentleman, Mr. Karoon, the respondent before this court, Q
         who formerly controlled Maritime but who has, since the revolution in Iran, left
         that country and taken up residence in France. The interpleader proceedings
         have been complicated by the fact that Mr. Karoon, fearing that disclosure to
         Maritime of the existence of certain of these moneys might have an adverse
         effect on his family in Iran, sought to persuade the English court that no such
         disclosure should be allowed. That attempt has in fact failed, because disclosure
         was necessary to enable the interpleader issue to be tried. However, one of the ^
         steps which Mr. Karoon at one time took was to ask the English court to strike
         out the interpleader proceedings under R.S.C., Ord. 18, r. 19, his submission
         being that certain moneys which had been transferred to B.T.'s London branch
         from Mr. Karoon's personal account with the Bank of Tokyo Trust Co., the
         New York subsidiary of B.T. ("B.T.T.C"), were his own and were moreover
         moneys to which Maritime could have no arguable claim, so that they should
         not be the subject of the interpleader proceedings.
             The commercial judge (who, it so happens, was myself) dismissed that ^
         application. A note of the judgment is before this court and shows that the basis
         of the decision was that the court considered that, having regard in particular to
         a letter emanating from the workers' council, B.T. had reasonable grounds for
         thinking that it might be sued by Maritime not only in respect of moneys of
         Maritime but also in repect of moneys of Mr. Karoon on the ground that they
         had emanated from Maritime, and that it would be wrong for the court to pre­
         empt the situation on the evidence of one party only. At all events, for the F
         purposes of his application to strike out, Mr. Karoon swore an affidavit
         concerning the moneys which had been transferred from B.T.T.C, stating that
         those moneys had not originated from Maritime. As a result, B.T. made
         inquiries of B.T.T.C. about those moneys. B.T.T.C. then supplied information
         about the moneys to B.T., some of which was embodied in an affidavit sworn by
         Mr. Saunders of B.T. for the purpose of laying the information before the
         commercial judge when he dealt with Mr. Karoon's application to strike out.        G
             Mr. Karoon has taken objection to his bankers in New York, B.T.T.C,
         supplying this information to B.T., and indeed he has objected to B.T. seeking
         to obtain the information from B.T.T.C. So, on 7 July 1983, he commenced
         proceedings in New York against both B.T. and B.T.T.C. In those proceedings
         he alleged (1) breach by B.T.T.C. of its contractual duty of confidence to him,
         in revealing the information to B.T.; (2) breach of contract by B.T. in obtaining
         the information; (3) violation by B.T.T.C. of Mr. Karoon's right of privacy; (4) J_J
         conspiracy by B.T. and B.T.T.C; and (5) that B.T. wrongfully induced B.T.T.C.
         to break its contract with Mr. Karoon.
             On its application before the judge, B.T. asked for an order directing Mr.
         Karoon to discontinue the action in New York against B.T. and B.T.T.C.


                                                                             APP.412
                                                                                         57
e 3:18-cv-00731-X
         1 A.C.   Document   273-6
                       Bank of         Filed
                               Tokyo Ltd.      07/30/19
                                          v. Karoon (C.A.)               Page  396
                                                                           Robert Goffof 421 PageID 1
                                                                                       L.J.
     A    and/or an injunction restraining Mr. Karoon from taking any further steps in the
          New York action or "commencing or pursuing any other proceedings relating to
          the same subject matter before any other court than this Honourable Court."
          The judge declined to make a mandatory order, but he maintained an injunction
          (which had earlier been granted ex parte) in terms expressly limited to the New
          York proceedings against B.T. The effect was that Mr. Karoon was free to
          prosecute his New York action against B.T.T.C. but not against B.T.
     r>       [His Lordship referred to the judgment of Bingham J. below, cited passages
          set out in the judgment of Ackner L.J., ante, pp. 49G—50c, 51c, D - H , 52B-G
          and continued:] B.T. has appealed to this court against the judge's decision, in
          so far as he failed to restrain Mr. Karoon from pursuing the New York action as
          against B.T.T.C. There is no cross-appeal by Mr. Karoon. This is for the simple
          practical reason that Mr. Karoon's New York action can continue just as well
          against B.T.T.C. alone. However, in so far as it may be necessary for the
          purposes of resisting B.T.'s appeal, Mr. Karoon has by his respondent's notice
     ^    taken the point that the judge was wrong to continue the injunction restraining
          Mr. Karoon from further prosecuting the New York action against B.T.
              Before the judge, Mr. Hoffmann for B.T. had argued that the New York
          proceedings would cause injustice to his clients for a number of reasons, viz:
          (1) the New York action was vexatious because (a) it was an attempt to penalise
          B.T. for availing itself of the interpleader proceedings in England, (b) it would
          involve re-litigating the question (already litigated here) whether an interpleader
     D    issue should have been ordered, and (c) it had no reasonable prospect of
          success; and (2) any action should be tried in England because (a) the
          interpleader proceedings were already here, (b) an English court could, without
          difficulty, resolve what duty of confidence is owed by a New York bank to its
          client, whereas a New York judge would be faced with difficult questions
          regarding English interpleader proceedings, (c) the question of ownership of the
          moneys had to be decided first anyway, and (d) the availability of a contingency
     E    fee to Mr. Karoon could not, on the authorities, be regarded as a juridical
          advantage to him. Before this court, however, Mr. Hoffmann's argument was
          somewhat different. The reason for the development of his argument was the
          intervening decision of the U.S. Court of Appeals in Laker Airways Ltd. v.
          Sabena, Belgian World Airlines (1984) 731 F. 2d 909 which was only decided on
          6 March 1984 and so was not available to Bingham J. in the present case. Mr.
          Hoffmann drew on the analysis of Judge Wilkey, who delivered the majority
     p    judgment in that case, and urged this court to do likewise in considering the
          problem in the present case. In order to place Mr. Hoffmann's submissions in
          their context, it will be necessary briefly to summarise the relevant principles
          stated by Judge Wilkey. This is no easy task. The judgment is substantial both
          in content and in length. I have studied it with interest and, indeed, respect.
               Laker Airways Ltd. v. Sabena, Belgian World Airlines is concerned with the
           unhappy clash of jurisdiction which has occurred between courts in this country
     Q     and courts in the United States, following upon the commencement by the
          liquidators of Laker of antitrust proceedings in the United States against a
           number of international airlines, alleging that their combined activities were the
          cause of Laker's downfall. Among the airlines so sued were two British airlines,
           British Airways and British Caledonian. Following the making of an order by
           the Secretary of State for Trade and Industry in this country (acting under
           powers conferred on him by Act of Parliament) which had the effect of
     TT    prohibiting the two British airlines from complying with "United States antitrust
           measures," the Court of Appeal in this country granted an injunction restraining
           Laker from taking any steps against British Airways and British Caledonian in
           the United States action: British Airways Board v. Laker Airways Ltd. [1984]
           Q.B. 142. Meanwhile, in the United States Laker obtained temporary restraining


                                                                                APP.413
       58
3:18-cv-00731-X
      Robert Goff L.J Document    273-6
                          Bank of Tokyo Ltd. Filed  07/30/19
                                             v. Karoon (C.A.)           Page 397[1987]
                                                                                   of 421 PageID 1
       orders from the District Court restraining other airlines from instituting in the A
       courts in this country similar proceedings for an injunction. Two of those
       airlines, KLM and Sabena, challenged the District Court's preliminary injunction
       on appeal to the Court of Appeals. The Court of Appeals, by a majority,
       declined to overturn the injunction so granted.
           In the course of his judgment Judge Wilkey analysed in depth the applicable
       principles of law. I am only concerned, for present purposes, with his
       consideration of the propriety of what he called "the antisuit injunction." I shall T>
       summarise the principles stated by him as briefly as I can, though I realise that
       so brief a summary cannot do justice to his reasoning.
           (1) He observed, 731 F. 2d 909, 926-927, that the sufficiency of jurisdictional
       contacts with both the United States and England resulted in concurrent
       jurisdiction to prescribe.
             "However, the fundamental corollary to concurrent jurisdiction must ordinarily
            be respected: parallel proceedings on the same in personam claim should Q
            ordinarily be allowed to proceed simultaneously, at least until a judgment is
            reached in one which can be pled as res judicata in the other . . . For this
            reason, injunctions restraining litigants from proceeding in courts of independent
            countries are rarely issued," though "A second reason cautioning against
            exercise of the power is avoiding the impedance of the foreign jurisdiction."
             (2) "There are no precise rules governing the appropriateness of antisuit
            injunctions. The equitable circumstances surrounding each request for an T-)
            injunction must be carefully examined to determine whether, in the light of
             the principles outlined above, the injunction is required to prevent an
            irreparable miscarriage of justice."
           However, (3) injunctions are most often necessary (a) to protect the
       jurisdiction of the enjoining court, or (b) to prevent the litigant's evasion of the
       important public policies of the forum.
           (4) With regard to (3)(a) above, viz. protection of the jurisdiction of E
       enjoining court, a distinction was drawn between cases where the enjoining
       court has proceeded to judgment on the merits, and cases where an injunction is
       requested to protect the court's jurisdiction before a judgment has been reached.
       In the former case there is little interference with the rule favouring parallel
       proceedings in matters subject to concurrent jurisdiction: so a court may protect
       the integrity of its judgments by preventing their evasion through vexatious or
       oppressive relitigation: see, e.g., Bethell v. Peace (1971) 441 F. 2d 495. In the F
       latter case the factors which might support the issue of an injunction do not
       usually outweigh the importance of permitting foreign concurrent actions; and
       the policies underlying the rule permitting parallel proceedings in concurrent in
       personam actions are more properly considered in a motion for dismissal for
       forum non conveniens. Even so, there must be circumstances in which an
       antisuit injunction is necessary to conserve the court's ability to reach a
       judgment, and the District Court's injunction was proper on that basis.              G
           (5) With regard to (3)(b) above, viz. preventing the litigant's evasion of the
       important public policies of the forum, an antisuit injunction will issue to
       preclude participation in the litigation only when the strongest equitable factors
       favour its use. Among the authorities cited by Judge Wilkey where such an
       injunction has issued was Cole v. Cunningham (1890) 133 U.S. 107, a case
       concerned with protecting the exercise of bankruptcy jurisdiction. Judge Wilkey
       further considered that the District Court's injunction properly prevented KLM J J
       and Sabena from attempting to escape the application of the United States
       antitrust laws to the conduct of business in the United States.
           Mr. Hoffmann urged us to adopt a similar approach in the present case to
       that adopted by Judge Wilkey in his analysis, and in particular to distinguish, on

                                                                              APP.414
                                                                                           59
3:18-cv-00731-X
       1 A.C.   Document  273-6
                     Bank of         Filed
                             Tokyo Ltd.      07/30/19
                                        v. Karoon (C.A.)                  Page 398
                                                                            Robert GoffofL.J.
                                                                                           421 PageID 1
   A    the basis of both English and United States authorities, the two groups of cases
        where injunctions may be granted, viz. to protect the jurisdiction of the court
        and to prevent the litigant's evasion of the important public policies of the
        forum. The present case before us fell, submitted Mr. Hoffmann, within these
        principles. He asked us to approach the case by considering first whether, if
        B.T. in London and B.T.T.C. in New York had been a single entity and all
        relevant events had happened in England, proceedings in this country similar to
   o    those commenced by Mr. Karoon in New York would have been struck out as
        an abuse of process. He submitted that they would, because such proceedings
        would have infringed both the public interest in making available all relevant
        evidence for the court and the public interest that there should be finality in
        litigation. That being so, he submitted that it made no difference that Mr.
        Karoon had commenced his proceedings not in this country but in New York,
        because the English court, in protecting the integrity of its own jurisdiction,
        should not allow a litigant, subject to its jurisdiction, to bring such an action in a
   ^    foreign jurisdiction. Furthermore, he submitted, having regard to the basis of
        the jurisdiction, the court should not be deflected from giving effect to its public
        policy by the fact that B.T. and B.T.T.C. are different legal entities; otherwise
        it would be sacrificing substance to form.
             As an alternative to this main line of argument, Mr. Hoffmann invoked the
        principles enunciated by the House of Lords in recent cases concerned with
        alternative forums, viz. MacShannon v. Rockware Glass Ltd. [1978] A.C. 795
   D    and Castanho v. Brown & Root (U.K.) Ltd. [1981] A.C. 557, and submitted
        that, on the "critical equation" referred to in those cases, the balance pointed
        towards requiring Mr. Karoon to litigate in England.
             In considering Mr. Hoffmann's submissions, I recognise that it is not merely
        legitimate but desirable that courts in this country should pay due regard to
        developments in sister common law jurisdictions, notably the United States; this
        is especially desirable when the court is concerned with principles of law
   E    affecting the relationship between our two jurisdictions and when we are
        presented with an analysis as profound as that of Judge Wilkey in Laker
        Airways Ltd. v. Sabena, Belgian World Airlines, 731 F. 2d 909. Even so, we
        have to proceed with due caution. Not only do we have to operate within the
        confines of the doctrine of precedent in this country, but we have to bear in
        mind that the development of the relevant principles of law in our two countries
        may not be identical. Frequently, however, under the influence of history and of
   p    practical pressures to which both jurisdictions are subject, it transpires that there
        have taken place in our two jurisdictions parallel developments which, though
        neither simultaneous nor identical, reveal a very similar trend.
             This is just what we find in the case of what American lawyers call "antisuit
        injunctions." At bottom, the fundamental principles appear to have developed
        along similar lines. Thus, the jurisdiction is very wide, being available for
        exercise whenever justice demands the grant of an injunction. Again, the
   Q    English court does not attempt to restrain the foreign court, but operates in
        personam, restraining a party from instituting or prosecuting the suit in the
        foreign jurisdiction; though an injunction will only be granted to restrain a
        person who is regarded as being properly amenable to the jurisdiction of the
        English courts. Furthermore, it has been repeatedly stated that the jurisdiction
        must be exercised with extreme caution, indeed sparingly: this is partly because
        concurrent proceedings in different jurisdictions are tolerated, but also because
   JJ   of a desire to avoid conflict with other jurisdictions. For it is accepted, as is
        indeed obvious, that courts of two different jurisdictions, one in this country and
        one in a foreign country, can have jurisdiction over the same dispute. It is not
        prima facie vexatious for the same plaintiff to commence two actions relating to
        the same subject matter, one in England and one abroad; but the court may be


                                                                                APP.415
       60
3:18-cv-00731-X
      Robert Goff L.J Document
                          Bank of 273-6
                                  Tokyo Ltd.Filed  07/30/19
                                            v. Karoon (C.A.)              Page 399[1987]of 421   PageID 1
       less ready to tolerate suits in two jurisdictions in the case of actions in rem than j±
       it is in the case of actions in personam. All these principles are well-established,
       and indeed non-controversial, and appear to be common to both the English
       and the United States jurisdictions.
            But the jurisdiction to grant such an injunction has only rarely been exercised
       in this country. The earliest cases in which the jurisdiction was established do
       not necessarily provide authoritative examples of its exercise today; indeed one
       of them (Bushby v. Munday (1821) 5 Madd. 297) was later to be described by R
       Lord Brougham as going to the "very verge of the law" (see Carron Iron Co. v.
       Maclaren (1855) 5 H.L.Cas. 416, 446). In the course of the 19th century, there
       developed a line of cases in which assets were being administered by the English
       court, and one interested person sought to gain an advantage over other
       interested persons by prosecuting proceedings in a foreign country where part of
       the assets were situated. In such cases, for example, where a person sought in
       this way to gain the benefit of foreign assets of an estate after a decree of
       administration (see, e.g., Graham v. Maxwell (1849) 1 Mac. & G. 71), or of a ^
       bankrupt after his petition in bankruptcty (see, e.g., In re Distin (1871) 24 L.T.
       157), or of a company after winding up proceedings had been commenced (see,
       e.g. In re North Carolina Estate Co. Ltd. (1889) 5 T.L.R. 328), such a person
       has been restrained by injunction from pursuing foreign proceedings, but only if
       he were a domiciled Englishman or otherwise amenable to the jurisdiction of the
       English court. In the later 19th century, however, following the decisions of the
       Court of Appeal in McHenry v. Lewis (1882) 22 Ch.D. 397 and Peruvian Guano D
       Co. v. Bockwoldt (1883) 23 Ch.D. 225, it became accepted that, at least in the
       case of actions in personam, concurrent proceedings by the same party in this
       country and abroad were not prima facie vexatious, and the proceedings abroad
       should not therefore be restrained. It was for the party seeking an injunction to
       prove that the proceedings abroad were vexatious; for that purpose, he had
       generally to show that the plaintiff in the foreign court could not obtain an
       advantage from the foreign procedure which he could not obtain in the English E
       court: see in particular Hyam v. Helm (1883) 24 Ch.D. 531, and Cohen v.
       Rothfield [1919] 1 K.B. 410. That criterion was very rarely fulfilled: for examples
       where it was fulfilled see Armstrong v. Armstrong [1892] P. 98, Moore v. Moore
       (1896) 12 T.L.R. 221 and Christian v. Christian (1897) 67 L.J.P. 18.
            Injunctions have however also been granted to restrain proceedings brought
       in breach of contract (see Lett v. Lett [1906] 1 I.R. 618 and The Tropaioforos
       (No. 2) [1962] 1 Lloyd's Rep. 410), and to restrain enforcement of a judgment p
       obtained fraudulently: see Ellerman Lines Ltd. v. Read [1928] 2 K.B. 144.
       Putting aside these latter cases, however, and without attempting to cut down
       the breadth of the jurisdiction, the golden thread running through the rare cases
       where an injunction has been granted appears to have been the protection of the
       jurisdiction; an injunction has been granted where it was considered necessary
       and proper for the protection of the exercise of the jurisdiction of the English
       court. This can be said not only of cases where assets were being administered Q
       by the English court but also of cases where proceedings abroad were restrained
       as vexatious, for a party who attempts to reap the benefit of proceeding
       vexatiously is interfering with the proper course of administration of justice
       here: for example, see Armstrong v. Armstrong [1892] P. 98, 101, per Jeune J.
       But there was this difference between these two groups of cases: that, whereas
       in the latter group the foreign proceedings were regarded as vexatious because
       the plaintiff could derive no advantage from them, in the former group he was u
       restrained precisely because he might gain an advantage from the foreign
       proceedings.
            Now at one time it was thought that the requirement that proceedings must
       be vexatious was applicable, not only to the exercise of the court's jurisdiction


                                                                             APP.416
                                                                                          61
3:18-cv-00731-X
      1 A.C.    Document
                    Bank of273-6
                            Tokyo Ltd.Filed   07/30/19
                                       v. Karoon (C.A.)                   Page
                                                                           Robert400
                                                                                  Goff of
                                                                                       L.J.421 PageID 1
  A    to restrain a party from instituting or prosecuting foreign proceedings, but also
       to the exercise of the court's jurisdiction to stay proceedings commenced in this
       country: see again McHenry v. Lewis, 22 Ch.D. 397 and Peruvian Guano Co. v.
       Bockwoldt, 23 Ch.D. 225. A stay would only be granted if the continuance of
       the action in this country would be oppressive or vexatious to the defendant or
       otherwise an abuse of the process of the court, and if a stay would not cause an
       injustice to the plaintiff: see St. Pierre v. South American Stores (Gath &
  B    Chaves) Ltd. [1936] 1 K.B. 382, per Greer L.J., at p. 392 and per Scott L.J., at
       p. 398. Again, these criteria were rarely fulfilled. However, in The Atlantic Star
       [1974] A.C. 436, the House of Lords recognised that this very rare restrictive
       criterion for staying proceedings in this country was too nationalistic: Lord Reid
       referred to it, at p. 453, as a "rather insular doctrine." In that case the court
       relaxed the criteria of "oppression" and "vexation." Four years later, in
       MacShannon v. Rockware Glass Ltd. [1978] A.C. 795, the House of Lords
       relaxed the criteria still further, abandoning altogether the criteria of "oppression"
  ^    and "vexation," and adopting a principle which is now accepted to be
       indistinguishable from the principle of forum non conveniens as accepted in
       Scottish law: see The Abidin Daver [1984] A.C. 398. A parallel development has
       taken place in the United States: see Gulf Oil Corporation v. Gilbert (1947) 330
       U.S. 501 and Piper Aircraft Co. v. Reyno (1981) 454 U.S. 235.
           On these authorities it may be observed that there are strong similarities in
       the way in which the law on this topic has developed in both countries.
  D    However, in 1981 there occurred a development in this country which has
       sharply differentiated the two jurisdictions. In Castanho v. Brown & Root
       (U.K.) Ltd. [1981] A.C. 557, Lord Scarman (who delivered a speech with which
       the remainder of the House of Lords agreed) treated the criteria applicable to
       the exercise of the court's discretion to impose a stay or grant an injunction as
       identical. He said, at p. 574: "It is unnecessary now to examine the earlier case
       law. The principle is the same whether the remedy sought is a stay of English
  E    proceedings or a restraint upon foreign proceedings." After referring to The
       Atlantic Star [1974] A.C. 436, he quoted a passage from Lord Diplock's speech
       in MacShannon's case [1978] A.C. 795, 812, as embodying his distillation of
       principle in the case of a stay, which reads:
            "In order to justify a stay two conditions must be satisfied, one positive and
            the other negative: (a) the defendant must satisfy the court that there is
            another forum to whose jurisdiction he is amenable in which justice can be
  F         done between the parties at substantially less inconvenience or expense, and
            (b) the stay must not deprive the plaintiff of a legitimate personal or
            juridical advantage which would be available to him if he invoked the
            jurisdiction of the English court."
          Lord Scarman then said, at p. 575:
            "Transposed into the context of the present case, this formulation means
  P         that to justify the grant of an injunction the defendants must show: (a) that
           the English court is a forum to whose jurisdiction they are amenable in
           which justice can be done at substantially less inconvenience and expense,
           and (b) the injunction must not deprive the plaintiff of a legitimate personal
           or juridical advantage which would be available to him if he invoked the
           American jurisdiction. The formula is not, however, to be construed as a
            statute. No time should be spent in speculating as to what is meant by
            'legitimate.' It, like the whole of the context, is but a guide to solving in the
  "■       particular circumstances of the case the 'critical equation' between advantage
           to the plaintiff and disadvantage to the defendants."
          Lord Scarman did not apparently consider it necessary to give reasons for his
       opinion that the principle is the same whether the remedy sought is a stay of


                                                                                 APP.417
        62
3:18-cv-00731-X
       Robert Goff L.J Document
                            Bank of273-6    Filed
                                    Tokyo Ltd.       07/30/19
                                               v. Karoon (C.A.)         Page 401[1987]
                                                                                 of 421 PageID 1
        English proceedings or a restraint upon foreign proceedings, and that it was ^
        therefore unnecessary, having regard to the decisions of the House of Lords in
        The Atlantic Star [1974] A.C. 436 and MacShannon's case [1978] A.C. 795, both
        of which related only to a stay of English proceedings, to examine earlier case
        law on restraint of foreign proceedings. As I have recorded, it is now recognised
        that the principle applicable in the case of a stay of foreign proceedings is
        indistinguishable from the Scottish principle of forum non conveniens. This
        Latin tag is, like many others, misleading: proceedings in the English forum are r»
        stayed not because England is an inconvenient forum, but because there is
        another clearly more appropriate forum abroad. The classic statement of
        principle is to be found in the judgment of Lord Kinnear in Sim v. Robinow
        (1892) 19 R. 665, 668, when, after stating that the court would not refuse to
        exercise its jurisdiction "upon the ground of a mere balance of convenience and
        inconvenience," he said that
             "the plea can never be sustained unless the court is satisfied that there is      Q
             some other tribunal, having competent jurisdiction, in which the case may
             be tried more suitably for the interests of all the parties and for the ends of
             justice."
        A similar principle was adopted by Lord Sumner in Sociiti du Gaz de Paris v.
        Sociiti Anonyme de Navigation "Les Armateurs Francais", 1926 S.C. (H.L.) 13,
        22, when he said that the object was to find "that forum which was the more j)
        suitable for the ends of justice."
            It follows that the policy underlying the principle of forum non conveniens is
        a policy of declining to exercise jurisdiction where there is another clearly more
        appropriate forum; though, if in such circumstances trial in England would offer
        the plaintiff a real advantage, a balance must be struck and the court must
        decide in its discretion whether justice requires a stay. This policy, avowedly less
        nationalistic than the old principle of vexation or oppression as applied in the £
        past in cases of stay of proceedings, is one which is given effect to, on an
        application by the defendant, by a court of the forum in which there have been
        commenced proceedings over which the court has jurisdiction. It is a self-
        denying ordinance. The principle (derived from the speeches of their Lordships
        in MacShannon's case [1978] A.C. 795) was so interpreted and applied in
        Trendtex Trading Corporation v. Credit Suisse [1980] Q.B. 629, with the approval
        of the House of Lords in that case, Lord Roskill [1982] A.C. 679, 705, p
        describing the judge's approach as "entirely correct in principle." Furthermore,
        the exercise of the judge's discretion, so approved, in that case involved the
        granting of a stay, although the plaintiff was thereby deprived of a most valuable
        juridical advantage in this country, viz. discovery of documents in accordance
        with English rules of procedure. It appears therefore that a juridical advantage
        of the plaintiff in this country will not necessarily be decisive. (That this is
        indeed so can be illustrated by the often-quoted example of a road accident Q
        involving two motorists in a foreign country, both being resident nationals of
        that country: one seizes the opportunity given by the casual presence of the
        other in this country to serve proceedings upon him here, with the aim of
        recovering the higher damages available in the English courts. The English court
        would surely order a stay of proceedings on the application of the defendant,
        though the plaintiffs whole purpose in proceeding here was to obtain the
        juridical advantage of higher damages.) The decision of the House of Lords in j ^
        the Trendtex case was followed by the Court of Appeal in European Asian Bank
        A.G. v. Punjab & Sind Bank [1982] 2 Lloyd's Rep. 356. The principles in these
        two cases, derived from all the speeches of the House of Lords in MacShannon's
        case [1978] A.C. 795 and approved by the House of Lords in the Trendtex case


                                                                               APP.418
                                                                                        63
3:18-cv-00731-X
      1 A.C.    Document
                    Bank of 273-6
                            Tokyo Ltd. Filed  07/30/19
                                       v. Karoon (C.A.)                  Page
                                                                          Robert 402  of 421 PageID 1
                                                                                 Goff L.J.
  A    [1982] A.C. 679, are, I understand, regularly followed in the Commercial Court,
       where cases of this kind tend to arise for decision.
           In Castanho v. Brown & Root (U.K.) Ltd. [1981] A.C. 557 Lord Scarman
       has taken the principle of forum non conveniens as developed in relation to a
       stay of English proceedings where it was expressly developed in order to adopt a
       less nationalistic approach, i.e. to render the English courts less tenacious of
       proceedings started within its jurisdiction, and has applied it inversely in cases of
  r>   restraint by the English courts of foreign proceedings. The effect would appear
       to be, not only that in cases of restraint of foreign proceedings the very
       restrictive principle of protection of the English jurisdiction has been abandoned,
       but also that the English court will now be more free to grant injunctions
       restraining foreign proceedings than it was in the past under the old case law.
       We should perhaps not be surprised to discover that the approach of Lord
       Scarman in Castanho is different from the approach of courts in the United
       States. There, as here, the grant of stay of proceedings depends upon the
  C    application of the principle of forum non conveniens: see, e.g., Piper Aircraft
       Co. v. Reyno, 454 U.S. 235. But the grant of an injunction restraining foreign
       proceedings depends upon the twin principles of protection of the jurisdiction of
       the court of the forum, and of preventing evasion of important public policies of
       the forum; and in each case the principles have been stated and applied in
       restrictive terms. So cases of stay of proceedings and of restraint of foreign
       proceedings are regarded as being founded upon different principles. Furthermore,
  D    as appears from Judge Wilkey's opinion in Laker Airways Ltd. v. Sabena,
       Belgian World Airlines, 731 F.2d 909, in the United States it is considered more
       appropriate, where there is a clash of jurisdiction, for a stay of proceedings to
       be considered by the court seised of the matter rather than for a court to
       establish its own forum as the more appropriate forum by granting an injunction
       restraining proceedings in a foreign court.
            Given the present divergence between the principles applicable in our two
  E    countries, it is, I fear, very difficult for this court to respond to Mr. Hoffmann's
       submission that we should proceed on the basis of Judge Wilkey's analysis in
       Laker Airways Ltd. v. Sabena, Belgian World Airlines. I can only console myself
       with the reflection that in any event Mr. Hoffmann's submission appears to me
       to involve an illegitimate extension, in at least two respects, of the principles as
       stated by Judge Wilkey, and indeed of the principle as developed in the long
       line of English cases before Castanho v. Brown & Root (U.K.) Ltd. [1981] A.C.
  F    557.
            I first address myself to the public interest that there should be finality in
       litigation. Such a public interest no doubt exists. Moreover, authorities can be
       found, both in this country and in the United States, in which courts have gone
       so far as to grant injunctions restraining persons properly amenable to their
       jurisdiction from relitigating abroad matters which have already been the subject
       of a judgment of the court of the forum. For an English example, see the old
  Q    case of Booth v. Leycester (1837) 1 Keen 579; and for an American example,
       see Bethell v. Peace, 441 F.2d 495. The Tropaioforos (No. 2) [1962] 1 Lloyd's
       Rep. 410 could perhaps also be treated as falling under this head, though it
       contained the exceptional feature that the litigant sought to be restrained had
       entered into an agreement with all underwriters to be bound by the outcome of
       the proceedings, thereby providing a contractual basis for the grant of the
       injunction. However, I do not regard the present case as falling under this head
  TT    of public policy. In the New York proceedings, Mr. Karoon is not, as I
       understand it, seeking to relitigate a matter which has been the subject of a
       judgment in this country. He is seeking rather to obtain redress from a bank in
       New York in respect of disclosure of confidential information by that bank in
       New York. I cannot see that the mere fact that Mr. Karoon had an opportunity,

                                                                                APP.419
        64
3:18-cv-00731-X
       Robert Goff L.J Document
                            Bank of273-6
                                    Tokyo Ltd.Filed  07/30/19
                                               v. Karoon (C.A.)       Page 403[1987]
                                                                               of 421 PageID 1
        which he did not take, to object to Mr. Saunders' affidavit being put in evidence    j±
        on the striking out application in London has any effect on the situation. The
        simple fact is that the cause of action alleged by Mr. Karoon against B.T.T.C.
        has not been the subject of a judgment in this country. I can therefore see no
        basis for the submission of Mr. Hoffmann.
            Mr. Hoffmann's second submission however raises more difficult problems.
        He asserted a public interest in making available all relevant evidence for the
        court. This public interest was, he submitted, exemplified by the rule that          R
        statements in affidavits are absolutely privileged in defamation proceedings (see
        Trapp v. Mackie [1979] 1 W.L.R. 377, 378-379, per Lord Diplock), and by the
        rule that victimisation of a witness on account of evidence he has given is a
        contempt of court: see Chapman v. Honig [1963] 2 Q.B. 502, 512, per Lord
        Denning M.R. His original submission before us was that, on this principle,
        B.T. could not be sued for adducing evidence in the interpleader summons.
        However, in the course of argument he recognised that the gravamen of his
        submission lay in a litigant seeking to recover damages in respect of the            ^
        disclosure of material evidence in proceedings, when the only damage suffered
        was (it was submitted) a failure to achieve a result which would have been
        achieved had the material evidence not been disclosed. As a matter of public
        policy such damages should not, submitted Mr. Hoffmann, be recoverable in
        law.
            Now this submission does indeed raise novel and difficult problems. It cannot
        be said to be entirely without substance, but it was not founded on any authority    D
        cited to us, either from this country or from the United States. Furthermore, if
        any such policy exists, as proposed by Mr. Hoffmann, it may be given effect to
        as part of the lex fori; and it does not necessarily follow that a court of this
        country would give effect to it by an injunction restraining proceedings in
        another jurisdiction. We have also always to bear in mind the restraint we must
        impose upon ourselves before taking any steps which might bear upon the
        exercise by the courts of another country of its own jurisdiction. However, in       E
        the present case, I must desist from exploring this interesting and novel
        proposition, because there is in my judgment a fatal obstacle to Mr. Hoffmann's
        argument. This is that the evidence in question was adduced in a court of this
        country not by B.T.T.C, but by B.T. The proceedings which Mr. Hoffmann is
        asking this court to restrain are proceedings by Mr. Karoon against B.T.T.C, in
        respect of their having divulged confidential information not to the English court
        but to B.T. I cannot for my part see that the public policy now asserted by Mr.      p
        Hoffmann should (assuming that it exists) provide any ground for restraining
        those proceedings. Mr. Hoffmann suggested beguilingly that it would be technical
        for us to distinguish between parent and subsidiary company in this context;
        economically, he said, they were one. But we are concerned not with economics             ""
        but with law. The distinction between the two is, in law, fundamental and
        cannot here be bridged. For this reason, I should in any event have dismissed
        this argument.                                                                       Q
            I turn then to consider Mr. Hoffmann's alternative submission which was
        founded upon Lord Scarman's speech in Castanho v. Brown & Root (U.K.) Ltd.
        [1981] A.C 557. This was to the effect that, applying the principles in
        MacShannon's case [1978] A.C. 795, the balance points towards requiring Mr.
        Karoon to litigate in England. He relied in this connection in particular upon
        the following factors: proceedings were already on foot in London between B.T.
        and Mr. Karoon; the issue whether Mr. Karoon was entitled to the moneys in           u
        question will in any event have to be decided in the interpleader issue in
        London; there is no dispute of fact over what happened in New York, and the
        principles of law on bankers' confidentiality in New York and London are
        substantially the same; the critical question whether the provision of information

                                                                            APP.420
                                                                                       65
3:18-cv-00731-X
       1 A.C.   Document
                    Bank of273-6
                            Tokyo Ltd.Filed  07/30/19
                                       v. Karoon (C.A.)                Page  404
                                                                         Robert Goff of
                                                                                      L.J.421 PageID 1
  ^     caused any loss to Mr. Karoon would be better decided here; and Mr. Karoon
        has no legitimate juridical advantage in New York.
            I have to confess that I find the consequences of this argument to be
        startling. There is no pending litigation in this country between Mr. Karoon and
        B.T.T.C; that of itself would render any order by the English court restraining
        the action in New York a remarkable restraint upon the prosecution of
        proceedings in that state. Even if England were to be regarded by the English
   T.   court as a clearly more appropriate forum, or the natural forum, for the trial of
        the action, I feel the gravest reservations about an English court granting an
        injunction restraining Mr. Karoon from proceeding in New York rather than
        allowing a court of that state, being the forum having jurisdiction where an
        action has already been commenced, making its own decision whether England
        is the more appropriate forum and whether it should in the circumstances grant
        a stay of proceedings. But in any event I am not prepared to hold that England
        is a clearly more appropriate forum for the trial of the action between Mr.
   ^    Karoon and B.T.T.C. The cause of action arose in New York. One of the
        parties is a New York corporation: the other is an Iranian citizen resident in
        France. The applicable law is the law of the State of New York; and, even if
        New York law on breach of confidence by a banker shares a common origin
        with our own law on the subject, I am not prepared to assume in the present
        case that they are identical, and in any event there are other legal issues in the
        case (for example, a claim to penal damages). Taking into account the factors
  D     relied upon by Mr. Hoffmann, I cannot see that* they displace the strong
        connection with the New York jurisdiction. That being so, on the principles
        expounded by the House of Lords in MacShannon's case [1978] A.C. 795, as
        interpreted with the approval of the House of Lords in the Trendtex case [1982]
        A.C. 679, there can be no basis, upon the inverse application of the principle of
        forum non conveniens, to grant an injunction restraining Mr. Karoon from
        continuing with his proceedings against B.T.T.C. in New York.
   E        For these reasons, I would dismiss the appeal.

                                            Appeal dismissed with costs.
                                            Leave to appeal refused.
                                            Injunctions to continue over hearing of
                                              petition for leave to appeal.
   r
           Solicitors: Herbert Smith & Co.; Baker & McKenzie.

                     [Reported by   MRS. HARRIET DUTTON,    Barrister-at-Law]



   G




  H



                                                                       1987 A.C—3
                                                                                APP.421
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19   Page 405 of 421 PageID 18278




                     EXHIBIT I




                                                                       APP.422
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19              Page 406 of 421 PageID 18279




     Neutral Citation Number: [2013] EWCA Civ 730

                                                                    Case No: A3/2012/1905
     IN THE COURT OF APPEAL (CIVIL DIVISION)
     ON APPEAL FROM THE QUEEN'S BENCH DIVISION, COMMERCIAL COURT
     The Hon. Mr Justice Teare
     [2012] EWHC 1887 (Comm)
                                                       Royal Courts of Justice
                                                  Strand, London, WC2A 2LL

                                                                         Date: 19/06/2013
                                            Before:

                                  LORD JUSTICE LLOYD
                                 LORD JUSTICE BEATSON
                                           and
                                  LORD JUSTICE RYDER
                                  ---------------------
                                         Between:

                      Antonio Gramsci Shipping Corporation and others        Appellant
                                          - and -
                                    Aivars Lembergs                         Respondent

                                  ---------------------
                          (Transcript of the Handed Down Judgment of
                                WordWave International Limited
                              A Merrill Communications Company
                              165 Fleet Street, London EC4A 2DY
                         Tel No: 020 7404 1400, Fax No: 020 7831 8838
                             Official Shorthand Writers to the Court)
                                  ---------------------

      Simon Rainey QC and Natalie Moore (instructed by Clyde & Co LLP) for the Appellant
     Anthony de Garr Robinson QC and Laurence Emmett (instructed by Pinsent Masons LLP)
                                    for the Respondent

                                   Hearing date: 10 June 2013
                                  ---------------------
                                Approved Judgment
                                        Judgment
                                 As Approved by the Court

                                        Crown copyright©




                                                                                    APP.423
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19                         Page 407 of 421 PageID 18280


     Lord Justice Beatson :



     1. Introduction:

     1.     This is an appeal by Antonio Gramsci Shipping Corporation and others (“Antonio
            Gramsci”) against the Order by Teare J on 24 July 2012 reflecting his judgment
            handed down on 12 July. The judge held that the courts of England and Wales do not
            have jurisdiction pursuant to Articles 23 and 24 of the Brussels Regulation1 over Mr
            Aivars Lembergs, a wealthy businessman domiciled in Latvia. This appeal is only
            concerned with Article 23.

     2.     Article 23 provides that where parties (one or more or whom is domiciled in an EU
            Member State) “have agreed that … the courts of a Member State are to have
            jurisdiction to settle any disputes which have arisen or which may arise in connection
            with a particular legal relationship, … those courts shall have jurisdiction”. Absent an
            agreement otherwise, such jurisdiction is to be exclusive.

     3.     As will be seen, in this appeal Antonio Gramsci relies, as it did below, on “piercing” a
            corporate veil. It does not, however, rely on the principal way jurisdiction pursuant to
            Article 23 was asserted against Mr Lembergs below. That was a direct contractual
            route. The appeal is concerned only with the circumstances in which a person who is
            not a party to a contract containing a jurisdiction clause can be regarded as having
            given his consent to the chosen jurisdiction. Antonio Gramsci’s case is that as a
            matter of EU law such a person will be so regarded where he is a controller of a
            corporate entity which is a party to the contract and he has arguably fraudulently
            caused that corporate entity to enter into the contract in order to defraud the other
            party to the contract who has brought a claim.

     2. The background:

     4.     The material parts of the factual and procedural background are stated in [2] – [10] of
            the judgment below, and can be summarised as follows. The substantive dispute
            concerns sixty-three charterparties of vessels owned by Antonio Gramsci to five
            offshore companies (“the Corporate Defendants”) on the SHELLTIME 4 Time
            Charterparty form which contained an exclusive jurisdiction clause in favour of the
            courts of England and Wales. Antonio Gramsci alleges that the charterparties were
            entered into as part of a fraudulent scheme to charter the vessels from it at less than
            the market rate, and to sub-charter them at the market rate, thereby depriving it of the
            difference between the market rate and the charter rates. It alleges that the profits so
            made by the Corporate Defendants were to be used to enable Mr Lembergs and others
            who are alleged to have at that time been in control of the Corporate Defendants
            (including a Mr Stepanovs) to purchase shares in Antonio Gramsci’s parent company,
            the Latvian Shipping Company (“LSC”).

     5.     Proceedings were initially brought only against the Corporate Defendants. Although
            an application for summary judgment against them was refused by Gross J ([2010]

     1
            Council Regulation (EC) No 44/2001, the Brussels Regulation on Jurisdiction and the Recognition and
            Enforcement of Judgments in Civil and Commercial Matters



                                                                                                         APP.424
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19                 Page 408 of 421 PageID 18281


           EWHC 1134 (Comm)), he permitted them to defend the claim only if they made a
           substantial payment into court. They did not do this, and in due course Antonio
           Gramsci obtained judgment against them in its claim for restitution of the profits
           unlawfully diverted from it. Antonio Gramsci has since sought to make Mr Lembergs
           and Mr Stepanovs liable for the diverted profits. The allegation is that they, along
           with others, established the Corporate Defendants and used them as a device for the
           purpose of diverting the profits, and that Antonio Gramsci is therefore entitled to
           pierce the corporate veil both in respect of the substantive claims and also to enforce
           the English jurisdiction clauses.

     6.    Proceedings against Mr Stepanovs were lodged in October 2010 and he challenged
           the jurisdiction of the English court. The question for decision for Burton J in that
           case was whether a party to a contract with a corporation, which is controlled by an
           individual who has used it as a device or façade to conceal wrongdoing, can proceed
           against the individual in contract, and can establish jurisdiction by virtue of a
           jurisdictional clause in the contract with the corporate entity. On 25 February 2011, in
           Antonio Gramsci Shipping Corporation v Stepanovs [2011] EWHC 333 (Comm)
           2011]; 1 Lloyd’s Rep 647 (“the Stepanovs case”) Burton J held there was a good
           arguable case that the corporate veil could be pierced or lifted to permit this and
           dismissed Mr Stepanovs’ challenge to jurisdiction.

     7.    Proceedings against Mr Lembergs commenced with an application for a worldwide
           freezing order which was granted on 13 April 2011, and which, in a decision given on
           4 August 2011, Cooke J refused to set aside. Shortly after that, on 24 August, Mr
           Lembergs issued his challenge to the jurisdiction of this court. At that time, the main
           way Antonio Gramsci put its case for jurisdiction based on Article 23 was the direct
           contractual route accepted by Burton J in Mr Stepanovs’ case.

     8.    The hearing before Teare J commenced on 16 November 2011. By then the hearing
           before Arnold J in VTB Capital plc v Nutritek International Corp. and others, had
           concluded. In that case after a jurisdictional challenge to its pleaded case in tort the
           claimant sought to amend to raise the direct contractual route to jurisdiction in the
           Stepanovs case. The defendant challenged that route too. The decision in VTB Capital
           ([2011] EWHC 3107 (Ch)) was handed down before the conclusion of the hearing in
           these proceedings. Arnold J disagreed with Burton J’s decision in the Stepanovs case
           and rejected the direct contractual route to jurisdiction. His decision and his view of
           Burton J’s decision was affirmed by this Court in its decision in the VTB Capital case
           on 20 June 2012: [2012] EWCA Civ 808. Teare J, who had deferred giving his
           decision, pending the outcome of that appeal, held that, in the light of it, he was bound
           to reject this argument.

     9.    As a result of permission being given by the Supreme Court for an appeal in the VTB
           Capital case on the direct contractual route to jurisdiction, permission to appeal that
           aspect of Teare J’s decision was given. This ground was properly abandoned by
           Antonio Gramsci when the Supreme Court affirmed the decision of this court in the
           VTB Capital case: [2013] UKSC 5. That it is untenable has, if anything, been
           underlined by the very recent decision of the Supreme Court, after the hearing in these
           proceedings, in Prest v Petrodel Resources Ltd and others [2013] UKSC 34, on which
           see [65] and [66] below. Permission to appeal against Teare J’s decision that Mr
           Lembergs had not submitted to the jurisdiction for the purposes of Article 24 of the
           Brussels Regulation was refused.



                                                                                              APP.425
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19                         Page 409 of 421 PageID 18282


     3. The question for decision:

     10.    The sole question for decision in this appeal now is what I, reflecting the substance of
            its characterisation in the submissions of Mr Rainey QC, on behalf of Antonio
            Gramsci, will describe as “the EU law point”. It is whether the controller of a
            corporate body who has used the corporate body as a device or façade to conceal
            wrongdoing by entering into a contract with another containing an English
            jurisdiction clause can be regarded as having consented to jurisdiction within Article
            23, although he is not a party to the contract with that other. In his judgment dated 24
            July 2012 Teare J held that unless the controller “himself” has expressed or indicated
            any willingness that claims brought against him by the other contracting party may be
            tried in this jurisdiction, the answer is “no”. I deal with Mr Rainey’s submissions as
            to why the judge fell into error at [20]-[31]. At this stage it suffices to say that he
            maintains that the judge gave insufficient weight to the European jurisprudence on
            this point, in particular an established use in the context of Article 23 of deemed
            consent in particular circumstances, and that he was unduly and wrongly influenced
            by English contract law analysis including the analysis of the Court of Appeal in the
            VTB Capital case.

     4. The judgment:

     11.    The judge dealt with the direct contractual route to jurisdiction, now blocked as a
            result of the Supreme Court’s decision in the VTB Capital case, under two headings;
            “the factual issue” between [11] and [48] , and “the legal issue” between [49] and
            [55]. I have stated that this is no longer a live issue in this appeal. But because of at
            least the significant factual overlap between it and the “EU law” Article 23 point, I
            will summarise the part of his judgment dealing with the first of the two headings
            before dealing with the “EU law” point.

     12.    Under the heading “the factual issue”, the judge dealt with whether there is a good
            arguable case that Mr Lembergs was a beneficial owner and controller of the
            Corporate Defendants which were, on Antonio Gramsci’s case, incorporated for the
            purposes of diverting profits from it. He stated (at [11]) that this was the factual case
            which Antonio Gramsci was required to establish in order to the lay the foundation for
            its argument the corporate veil may be pierced. At [34] he put the matter as follows:
                   “The factual issue is whether or not Mr Lembergs was a beneficial owner of
                   the Corporate Defendants with control over them who had brought about
                   their incorporation with a view to effecting the alleged fraudulent scheme.”

            That issue was, he stated, relevant both to the jurisdiction gateway, “Did Mr
            Lembergs agree to the English jurisdiction in the charterparties?”, and to whether he
            was liable in restitution in respect of the charterparties jointly and severally with the
            Corporate Defendants.

     13.    The evidence before the judge as to who owned the Corporate Defendants differed
            from that before Gross and Burton JJ. In particular (see judgment, [17]), there were
            two statements from Mr Lembergs, a decision of a Latvian criminal court recording
            testimony from other persons, and five additional pieces of documentary evidence.

     14.    In his judgment refusing summary judgment to which I have referred at [5], Gross J
            stated that the evidence adduced by Antonio Gramsci against the Corporate



                                                                                                  APP.426
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19                    Page 410 of 421 PageID 18283


           Defendants gave it the better of the arguments at that stage. The evidence relied upon
           by Antonio Gramsci in these proceedings was in essence that evidence, in particular
           that of a Mr Paderov, who stated that he set up the Corporate Defendants “for the
           purpose of carrying out the charters”, and a Mr Kveps, a lawyer who acts for other
           beneficial owners of the Corporate Defendants. There is, however, a sharp conflict
           between that evidence and the evidence adduced by and on behalf of Mr Lembergs in
           these proceedings: see the summary by the judge at [31].

     15.   The judge addressed the difficulty the court faces in a jurisdiction challenge where
           there is a conflict of evidence on the factual issues and, in particular, Waller LJ’s
           statement in Canada Trust v Stolzenberg (No. 2) [1998] 1 WLR 547 at 555. Waller LJ
           stated that the court considering jurisdiction must be concerned “not even to appear to
           express some concluded view on the merits” and that the “good arguable case” test in
           this context means that one side must have “a much better argument on the material
           available”. The judge also considered the view of Christopher Clarke J in Cherney v
           Deripaska [2008] EWHC 1530 (Comm) at [19] – [44] that the need, in what has
           become known as “the Canada Trust gloss”, to avoid expressing a concluded view as
           to the merits while applying the “good arguable case” test is met because the court, at
           the jurisdiction stage, is concerned with the arguments in favour of the respective
           parties rather than any determination on the balance of probabilities.

     16.   Teare J accepted that he was bound to apply the “Canada Trust gloss” but was not
           sure that concentrating on the arguments avoided the difficulty. He agreed with
           Hamblen J in Cecil v Bayat [2010] EWHC 641 (Comm) that difficulties remained and
           stated that the court was still at risk of appearing to conduct a trial prior to the trial
           itself. He also stated (at [42]) that where “the factual dispute is as stark as it is in this
           case it is difficult to say that the claimants have a much better argument on the
           material available”. Relying on the observations of Toulson J (as he then was) in
           Petroleum Investment Co Ltd v Cant-Pan Holdings [2002] 1 All ER (Comm) 124 at
           [38] and WPP Holdings (Italy) v Benatti [2007] 1 WLR 2316 at [44], he considered
           (see [45]) that in such a case it was preferable “to concentrate on whether factors exist
           which allow the court to take jurisdiction”.

     17.   Using the approach based on Toulson J’s observations, Teare J concluded (see [48])
           that Antonio Gramsci’s evidence had “sufficient strength”, assuming its submissions
           on the law were correct, “to allow the court to take jurisdiction”. This was
           “notwithstanding that, by reason of the conflict of evidence and the limitations
           imposed by the interlocutory process”, he was not able to conclude in advance of
           hearing oral evidence that Antonio Gramsci had “the better of the argument”.

     18.   This court’s decision in the VTB Capital case was handed down on 20 June 2012,
           some four months after the conclusion of the oral submissions in this case. After that,
           Antonio Gramsci’s representatives contacted the judge to identify an independent
           argument which, it maintained, had been pleaded and raised, which could allow it to
           succeed in invoking Article 23 even if its direct contractual route to jurisdiction based
           on the Stepanovs case was bound to fail as a result of the decision in the VTB Captal
           case. The judge stated (see [58]) that it appeared from three paragraphs of the two
           skeleton arguments before him that the point had been argued. Mr Emmett, on behalf
           of Mr Lembergs, accepted that the point, which I have characterised as “the EU law
           point” had been raised “albeit faintly”, and the judge dealt with it at [59] – [62].




                                                                                                 APP.427
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19                            Page 411 of 421 PageID 18284


     19.   The judge stated:
                  “59. As explained by Burton J. in the Stepanovs case at [2011] 1 Lloyd's
                  Rep. 647, paragraphs 31-63, the national law determines who is party to the
                  jurisdiction agreement whereas EU law determines whether there has been
                  sufficient "consensus" between the parties identified by the national law.
                  "Consensus" in article 23 requires a claimant to show that a defendant has
                  clearly and distinctly consented to the alleged jurisdiction agreement.

                  60. Burton J. does not appear to have alluded to the argument to which Mr.
                  Rainey has referred. But assuming that it is possible to demonstrate
                  consensus in the absence of a formal contract (as Mr. Thomas submitted
                  was indicated by Berghoefer GmbH v ASA SA [1985] ECR 2699 and Powell
                  Duffryn v Petereit [1992] ECR 1-1745 and as Adrian Briggs has argued in
                  Agreements on Jurisdiction and Choice of Law at paragraphs 7.36-38) such
                  consensus must be established on the facts. Adrian Briggs suggests that
                  there must be some "public willingness" to agree to the jurisdiction of the
                  court in question.

                  61. In circumstances where, on the evidence adduced by [Antonio
                  Gramsci], Mr. Lembergs has induced [Antonio Gramsci] to contract with
                  the Corporate Defendants on terms which included a jurisdiction clause in
                  favour of the English court but where there is no evidence that Mr.
                  Lembergs has himself expressed or indicated any willingness (public or
                  otherwise) that claims brought against him by [Antonio Gramsci] may be
                  tried in the English court, I do not consider that there is an arguable case that
                  Mr. Lembergs has indicated his willingness to be sued in the English court
                  so as to give rise to the sort of consensus required by article 23. Just as it is
                  not permissible to raise the corporate veil to reveal Mr. Lembergs as party to
                  the charterparties and to the jurisdiction clause within them so it is not
                  possible, in my judgment, to raise the corporate veil to reveal Mr. Lembergs
                  as a person expressing his willingness to submit to the jurisdiction of the
                  English court. It is, it seems to me, unrealistic (or, as the Court of Appeal
                  has more forcibly put it, "pure fiction") to say that Mr. Lembergs has
                  demonstrated a willingness to have claims against him brought in the
                  English court when he has, on [Antonio Gramsci’s] case, carefully avoided
                  doing that and has, at best, demonstrated only a willingness that claims
                  against the Corporate Defendants be brought in the English court.

                  62. I therefore hold that [Antonio Gramsci is] unable to establish jurisdiction
                  pursuant to Article 23 of the Brussels Regulation.”

     5. The submissions on behalf of Antonio Gramsci

     20.   Mr Rainey’s starting point was that, although the judge did not expressly record it as
           such, in the section of his judgment dealing with “the factual issue” he held that
           Antonio Gramsci had shown a good arguable case for “piercing” the corporate veil
           because there was a good arguable case that Mr Lembergs was a beneficial owner and
           controller of the Corporate Defendants which were incorporated for the purpose of
           diverting profits from it, he was one of the “masterminds behind the scheme to divert
           profits” from it, and he “approved the arrangements” for the scheme, including the
           conclusion of the charterparties. Mr Rainey submitted that these findings of fact were
           unaffected by the decision of the Supreme Court in the VTB Capital case, which was
           concerned with the position under the law of England and Wales and not EU law, and
           because the Supreme Court accepted that there are circumstances in which a court
           should pierce the corporate veil: see [2013] UKSC 5 at [118]-[130] per Lord
           Neuberger.



                                                                                                      APP.428
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19                  Page 412 of 421 PageID 18285


     21.   Mr Rainey was critical of the brevity of the judge’s treatment of the EU law point on
           Article 23 and submitted that the judge erred and did not correctly apply that law to
           his factual findings. He accepted that the explanation for the brevity may be the way
           the point had been dealt with before and at the hearing. It is clear that the bulk of the
           written submissions on Article 23 before the judge concerned the direct contractual
           route. I have referred (see [18] above) to the discussion some four months after the
           conclusion of the oral submissions in this case in the light of the decision of this court
           in the VTB Capital case. The question was whether Antonio Gramsci had contended
           that there was a different way Article 23 could apply if it was unable to say that Mr
           Lembergs was a party to the charterparties and the jurisdiction clauses. The need for
           that discussion suggests that what Mr Rainey described as Antonio Gramsci’s
           alternative case on Article 23 cannot have played any real part in the oral
           submissions.

     22.   The focus of Mr Rainey’s criticism was the judge’s statement that there must be
           “some public willingness” to agree to the jurisdiction of the court. He submitted this
           erred because it did not recognise that the jurisprudence of the ECJ (now the CJEU) is
           that “deemed consensus” may be sufficient for the purposes of Article 23 of the
           Brussels Regulation. In particular circumstances, such deemed consensus may suffice
           irrespective of whether the Defendant actually knew about the jurisdiction clause in
           question or intended to agree to it and although it is not possible to establish any
           actual consensus on the facts.

     23.   Mr Rainey relied in particular on the decision of the ECJ in Case C-214/89 Powell
           Duffryn Plc v Petereit [1992] ILPr 300 and on the decision of the Commercial Court
           in Standard Steamship Owners’ Protection and Indemnity Association (Bermuda) Ltd
           v GIE Vision Bale & ors [2004] EWHC 2919 (Comm). In his oral submissions Mr
           Rainey stated he was not relying on the principle of succession, in particular
           succession in the context of bills of lading and the line of cases starting with Case C-
           71/83 Tilly Russ v Haven & Vervoerbedrijf Nova NV [1985] QB 931.

     24.   In the Powell Duffryn case the ECJ accepted that a jurisdiction clause contained in a
           company’s articles of association was “an agreement conferring jurisdiction” within
           the meaning of the predecessor of Article 23 and that it bound the shareholders of the
           company even though there was nothing in writing which contained or evidenced the
           shareholders’ agreement to the clause and even where the shareholders had objected
           to the relevant changes to the articles.

     25.   In the Standard Steamship Owners’ case Cooke J, in the context of Article 23, held
           that in the context of P&I insurance the conclusion of the agreement on jurisdiction in
           correspondence by agents of the assured and agents for the club sufficed. He stated (at
           [41]) that the actual consensus between the two agents could not be doubted, and (at
           [52]) that none of the authorities discussed the position of agents in this context. He
           then stated (at [54]) that “if the agent has appropriate authority to bind the principal
           … the agent’s consensus is that of the principal and no further enquiry beyond the
           agent’s consensus is therefore required”.

     26.   The Standard Steamship Owners’ case concerned disclosed agents, but Mr Rainey
           submitted that the same approach would be applied by the CJEU or the English court
           if it had to consider whether an undisclosed principal had agreed to a jurisdiction
           agreement to which his agent had expressly consented, so that consent by the



                                                                                               APP.429
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19                 Page 413 of 421 PageID 18286


           undisclosed principal would be deemed or presumed. While recognising that the
           relationship in the present case between Mr Lembergs and the Corporate Defendants
           is not one of agency, Mr Rainey submitted that this case is analogous to the case of an
           undisclosed principal.

     27.   Mr Rainey buttressed his submissions by references to the purposes of the Brussels
           Regulation. He contended that the judge had erred in not giving sufficient weight to
           the purpose of securing legal certainty by enabling the parties reliably to foresee
           which court will have jurisdiction and minimising the possibility of concurrent
           proceedings in different jurisdictions: see Recitals (11) and (15) to the Regulation and
           the decision of the ECJ in Powell Duffryn v Petereit, in particular [13]-[14], [16]-[18]
           and [20] of the judgment.

     28.   He also relied on the need to have regard to the principle of good faith in this, a case
           of alleged fraud, which has been applied in the interpretation of Article 23. In Case C-
           221/84 Berghoefer GmbH & Co KG v ASA SA [1986] 1 CMLR 13, the court stated (at
           [15]) that if it is actually proved that jurisdiction was conferred by an oral agreement,
           and if the written confirmation of the oral agreement given by one of the parties was
           received by the other who raised no objection in reasonable time, it would be contrary
           to good faith for the party who had not objected to dispute the existence of a
           jurisdiction agreement.

     29.   As to the position of Community law about piercing the corporate veil, Mr Rainey
           relied on Case C-81/09 Idrima Tipou AE v Ipourgos Tipou kai Mason Mazikis
           Enimerosis [2011] 1 CMLR 42 as indicating (in the opinion of the Advocate General)
           that doing this is perfectly lawful although the Community legislature does not
           regulate this itself. He submitted that the need to deal with cases of fraud and
           improper use of corporate entities justified looking to what he described as the
           underlying reality and regarding both the corporate entity and the controller as being
           deemed as having consented to jurisdiction. This, he submitted was necessary so that
           fraudsters are not able “to shelter behind the corporate structure of companies which
           they have set up for the purpose of defrauding an innocent party with whom their
           puppet company contracts in order to avoid being sued in the courts of a Member
           State in which the puppet company has agreed to be sued”.

     30.   Mr Rainey criticised the judge for not referring to the European jurisprudence and for
           basing his reasoning “entirely upon a short passage” in Professor Briggs’ Agreements
           on Jurisdiction and Choice of Law” (2008) 7.37 which was in a section headed
           “Unilateral or bilateral agreement?”. That passage, he submitted, was dealing with a
           different point, and did not refer to the decision in Powell Duffryn v Petereit.
           Underlying Mr Rainey’s criticisms is an implicit suggestion that the judge did not
           fully take on board the extent to which this alternative submission was different from
           the submission that there was a direct contractual route to jurisdiction.

     31.   In summary, Mr Rainey submitted the judge did not appreciate that EU law has
           recognised deemed consent in a proper case even where there is no actual consent. He
           maintained that, before doing so, the court will have in mind the factual matters
           linking a party to the party to the contract which contains the jurisdiction clause. It
           will consider the true nature of the legal relationship in the eyes of EU law, and what
           the agreement is in the light of the way the third party has conducted himself. It will,




                                                                                              APP.430
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19                                 Page 414 of 421 PageID 18287


                he submitted, also take account of the principle of certainty and the need to avoid
                multiplicity of grounds of jurisdiction where there is a jurisdiction clause.

     32.        In the event that this court did not accept his submissions as to the proper
                interpretation of Article 23, Mr Rainey submitted that it make a reference to the CJEU
                for a preliminary ruling under Article 267 of the Treaty of the Functioning of the
                European Union (“the TFEU”). He submitted that the question should be:
                         “Where:

                            (i) a person A improperly sets up a company B as a vehicle of fraud and
                            causes it to enter into a contract with another party C to defraud C and to
                            conceal his participation from C; and

                            (ii) the contract which A procures contains a jurisdiction clause in
                            favour of the courts of a Member State to which A causes his creature
                            company B to consent, in circumstances where A knows or it is held that
                            he ought to know (a) that the use of the company is improper…2; (b) that
                            if the true facts are discovered the corporate veil may be pierced and he
                            may be liable to C in connection with or in respect of the transaction,

                            will A be deemed to have consented to the same jurisdiction as that to
                            which the company B consented ‘to settle any disputes which have arisen
                            or which may arise in connection with a particular legal relationship’
                            under Article 23 of Council Regulation (EC) 44/2001 on jurisdiction and
                            the recognition and enforcement of judgments in civil and commercial
                            matters?”

     33.        He gave three reasons for this submission. First, the meaning of Article 23 in the
                particular context of this case is not acte clair. Secondly, the application of Article 23
                to the case of an individual who controls a company and causes it to enter into a
                contract with a jurisdiction agreement in order to defraud the company’s contractual
                counterparty has not been considered by the CJEU. Thirdly, the question is an
                important one. It concerns whether the CJEU will allow fraudsters to shelter behind
                the corporate structure of companies which they have set up for the purpose of
                defrauding an innocent party with whom their puppet company contracts in order to
                avoid being sued in the courts of the Member State in which the puppet company has
                agreed to be sued.

     6. Discussion

     (i) The approach of an appellate court:

     34.        I start by reminding myself of the statements in the VTB Capital case about the
                approach of an appellate court to a question such as the one before this court: see
                [2013] UKSC 5 at [69], [96], [97] and [156] per Lord Mance, Lord Neuberger and
                Lord Wilson. If the judge has erred in law, or taken into account any irrelevant matter
                or failed to take into account a relevant matter which could influence the conclusion
                reached, the appeal will be allowed. But they emphasised that, although the question
                before the judge is not the exercise of a discretion, it is “an evaluative, or a balancing
                exercise”, “a classic interlocutory exercise with which an appellate court should be
                slow to interfere”.

     2
         The written submissions stated the circumstances to be “improper and fictive”.



                                                                                                          APP.431
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19                             Page 415 of 421 PageID 18288


     (ii) Article 23: Introduction

     35.    I turn to the Brussels Regulation. The general rule under the Regulation is that
            jurisdiction is generally to be based on the defendant’s domicile. The underlying
            principle is that it must always be so based, save in well defined situations in which
            the subject matter of the litigation or the autonomy of the parties requires a different
            linking fact: see Recital (11) to the Regulation. A further principle (see Recital (15))
            is that it is necessary to minimise the possibility of concurrent proceedings.

     36.    Article 23, which requires a consensus between the parties that a particular court is to
            have jurisdiction, like its predecessor Article 17 of the Brussels Convention, is based
            on the autonomy of the parties. Its material part provides:
                    “1. If the parties, one or more of whom is domiciled in a Member State,
                    have agreed that a court or the courts of a Member State are to have
                    jurisdiction to settle any disputes which have arisen or which may arise in
                    connection with a particular legal relationship, that court or those courts
                    shall have jurisdiction. Such jurisdiction shall be exclusive unless the parties
                    have agreed otherwise. Such an agreement conferring jurisdiction shall be
                    either:

                    (a) in writing or evidenced in writing; or

                    [(b) and (c) are omitted]”

     37.    The purpose of Article 23 is to ensure that the parties have actually consented to the
            choice of jurisdiction. The decisions of the ECJ (now the CJEU) make it clear that, to
            be effective for the purpose of Article 23, an agreement to confer jurisdiction must
            establish consensus between the parties “clearly and precisely”: Case C-24/76 Estasis
            Salotti v RÜWA Polstereimaschinen GmbH [1977] 1 CMLR 345 and case C-25/76
            Galleries Segoura SPRL v Rahim Bonakdarain [1976] ECR 1851.

     38.    There is, however, a measure of flexibility. Although (see Case C-313/85 Iveco Fiat
            SpA v Van Hool NV [1986] ECR 3337) the ECJ stated that “the purpose of the
            formality requirement [in Article 23] is to ensure that the consensus between the
            parties is in fact established”, an oral agreement conferring jurisdiction can suffice.
            This will be so where the oral agreement is later confirmed in writing by one party
            and the other party has raised no objection in sufficient time: Case C-221/84
            Berghoefer GmbH v ASA SA [1986] 1 CMLR 13. Briggs on Civil Jurisdiction and
            Judgment (5th ed 2009, ed Rees) 178 states that the formal requirements “are a means
            to an end, and are not an end in themselves”, and “the only question, sight of which
            must not be lost, is that the formal requirements are there to ensure that there was
            consensus. If the consensus can be clearly and precisely established by other means,
            they serve no additional function, and there is no further need to consider them”.

     39.    Secondly, written consensus may exist in the absence of a binding contract: see
            Fentiman, International Commercial Litigation (2010) at 2.40, giving a non-binding
            memorandum and an unsigned version of a contract which requires a signature as
            examples.

     40.    Despite this measured flexibility, the jurisprudence of the ECJ regards the departures
            from the general rule of domicile-based jurisdiction, including Article 23, as
            derogations. In that sense they are regarded as exceptions to the general rule, although



                                                                                                       APP.432
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19                  Page 416 of 421 PageID 18289


            to regard jurisdiction based on Article 23 as exceptional may (see Fentiman,
            International Commercial Litigation (2010) 2.42) risk placing an obstacle to giving
            effect to party autonomy.

     41.    There are also statements that departures from the general rule of domicile-based
            jurisdiction should be strictly construed (see Case C-24/76 Estasis Salotti v RÜWA
            [1977] 1 CMLR 345 at [7] and Bank of Tokyo-Mitsubishi v Baskan Gida Sanayi
            Pazarlama [2004] EWHC 945 (Ch) at [191] per Lawrence Collins J, as he then was)
            and interpreted in “keeping with the spirit of certainty”. This means they should be
            interpreted so as to ensure that they are only applicable in clear cases and without
            having to delve into the merits of the underlying dispute: see Case C-159/97
            Castelletti v Trumpy [1999] ILPr 492 at [48]-[49]. This last point has particular
            relevance when what is under consideration is an enquiry at the interlocutory stage in
            a case such as this one where there is a sharp conflict of evidence.

     (iii) Fact and law

     42.    With this background I turn to Mr Rainey’s submissions about the terms “agreed” and
            “agreement” in Article 23. Mr Rainey is clearly correct in emphasising that whether a
            person against whom jurisdiction is claimed by virtue of Article 23 has consented to
            jurisdiction is an autonomous question of EU law. That was indeed common ground.
            For examples of statements to this effect see Powell Duffryn v Petereit at [13] and
            [20] and Case C-543/10 Refcomp SpA v AXA Corporate Solutions Assurance SA
            [2013] ILPr 17 at [21] and [39]-[40]. The reason for this autonomous meaning is the
            need to avoid a multiplicity of grounds of jurisdiction for disputes arising out of the
            same factual relationship.

     43.    It is, however, also clear that the autonomous requirement raises a question of fact:
            see Case C-24/76 Estasis Salotti v RÜWA [1977] 1 CMLR 345 at [7] where it was
            noted that the court must examine “whether the clause conferring jurisdiction upon it
            was in fact the subject of a consensus between the parties …” (emphasis added). This
            was repeated in Case C-387/98 Coreck Maritime v Handelsveem [1999] ILPr 721 at
            [13] and [14], where the ECJ added that what is now Article 23 “is based on a
            recognition of the independent will of the parties to a contract in deciding which
            courts are to have jurisdiction …”.

     44.    I accept the submission in the skeleton argument of Messrs de Garr Robinson QC and
            Emmett on behalf of Mr Lembergs that the judge did not find as a matter of fact that
            the present case was an appropriate one for “piercing” the corporate veil. Mr Rainey’s
            submission (summarised at [20] above) that the judge did so find depends on a rigid
            separation of the parts of the judgment dealing with “the factual” and “the legal”
            issue. But, as Lloyd LJ observed during the course of the hearing, courts do not pierce
            a corporate veil at large and then look at the consequences. They consider whether, in
            the light of the purpose for which it is desired to pierce the veil, the facts of a case
            make it an appropriate one for doing so.

     45.    In this case, the factual issues concerned whether there was a good arguable case that
            Mr Lembergs was a beneficial owner and controller of the Corporate Defendants and
            whether they were incorporated for the purpose of diverting profits from Antonio
            Gramsci. But those questions of ownership and control and alleged fraud are different
            from the question whether the consequence of establishing them to the requisite



                                                                                              APP.433
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19                   Page 417 of 421 PageID 18290


            standard is that the corporate veil may be pierced. The latter question is a legal one
            and the answer to it is a finding of at least mixed law and fact, if not one of pure law.
            It was so treated by the judge. It is significant that the judge’s conclusion at [48]
            (which I have summarised at [17]) was a conclusion reached on the assumption
            (which he then rejected) that Antonio Gramsci’s argument on the law was correct.

     46.    The non-automatic nature of “piercing the veil” as a consequence of finding that an
            individual owns and controls the relevant company at the relevant time and has used it
            as a façade to conceal the true facts is seen from the statement in this court’s judgment
            in the VTB Capital case ([2012] EWCA Civ 808 at [92]) that, “in a case in which it is
            thought appropriate to pierce the veil, any order made in consequence of such a veil
            piercing is by way of the exercise by the court of a discretionary jurisdiction”.

     47.    Mr Rainey’s approach is, in my judgment, also contrary to the decision of the
            Supreme Court in the VTB Capital case. Lord Neuberger stated ([2013] UKSC 5 at
            [147]) that on the facts of the Stepanovs case, which for these purposes are identical to
            those of the present case, establishing the requisite facts was not itself “enough to
            justify piercing the corporate veil for the purpose of holding the individual liable for
            the transaction, action or receipt, especially where the action is entering into a
            contract”. It should be noted that the words “liable for the transaction … or receipt”
            indicate wider purposes than making the individual a party to the contract. He also
            stated (at [146]) that he was not attracted by the notion that the principle of “piercing
            the corporate veil” should be invoked simply to enable a claimant to justify
            proceedings being heard in this jurisdiction if they otherwise could not be.

     (iv) The relevance of the VTB Capital case

     48.    Although Mr Rainey relied on the decision of the Commercial Court in the Standard
            Steamship Owners’ case in support of his submissions, on EU law and Article 23, he
            submitted that the VTB Capital case was concerned only with the law of England and
            Wales. He argued that its approach to piercing the veil had no relevance when
            determining whether there was consensus for the purposes of Article 23. Strictly
            speaking this may be so. But the submission has an air of unreality about it. The VTB
            Capital case was a challenge to jurisdiction by Nutritek. It was in that context that the
            lawyers and judges in the case grappled with the question of whether it is possible to
            pierce the veil to establish that a person is the true party to a contract. Given that
            context, and Lord Wilson’s specific reference to Article 23 at [158], it is likely that
            the Supreme Court was alive to this aspect of the case.

     49.    There are two reasons the approach in the judgments in the VTB Capital case is very
            material to the question whether it is possible to show consensus by piercing the veil
            to establish that a party is to be taken to have agreed to jurisdiction for the purpose of
            Article 23 irrespective of whether that party is party to the contract containing the
            jurisdiction clause. First, for the reasons I give at [64], it appears that EU law may
            leave the regulation of when the veil can be pierced to national law.

     50.    Secondly, and irrespective of that, the present case is one in which it is said that the
            veil should be pierced to enable ascertainment of consensus. It is said that Mr
            Lembergs is to be “deemed” to have given consent or “may be regarded” as having
            given it for the purpose of EU law because of the piercing of the veil between him and
            the Corporate Defendants. It is this submission which makes it difficult to assert that



                                                                                               APP.434
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19                  Page 418 of 421 PageID 18291


            the VTB Capital case is not relevant for the purpose of considering consensus and
            agreement under Article 23. What Antonio Gramsci has sought to assert is that the
            same facts as have been held not to amount to constituting Mr Lembergs a party to the
            charterparties containing the jurisdiction clauses show that he is a party to an
            agreement containing the clauses or that there is consensus between him and Antonio
            Gramsci about the operation of the clauses.

     (v) The EU jurisprudence

     51.    I turn to the decisions of the ECJ and the CJEU. I do not consider that the cases relied
            on by Mr Rainey in fact support his case. He was correct not to rely on the Tilly Russ
            line of cases about succession in the context of bills of lading. The reasoning in those
            cases concerned the consent of the original parties to the bills of lading, not the
            consent of a subsequent and third-party holder of the bill of lading. The ECJ did not,
            moreover, rely on “deemed consent” by the third-party holder but (see [1985] QB 931
            at [27]) on the fact that the third-party succeeded to the rights and obligations of the
            shipper when he acquired the bill of lading. It contrasted the position that would have
            obtained had the third party holder not succeeded to the rights and obligations of the
            shipper. The ECJ stated that, in those circumstances, the court would have to ascertain
            “whether [the third party holder] accepted [the jurisdiction] clause having regard to
            the requirements” in what is now the first paragraph of Article 23. Save for the
            specific situation in which the holder in due course has succeeded to the shipper’s
            rights and obligations, the ECJ thus emphasised the need to establish actual consent.

     52.    Notwithstanding the subtlety of Mr Rainey’s submissions on Refcomp SpA v AXA
            Corporate Solutions Assurance SA [2013] ILPr 17, I do not consider that he is
            assisted by that case. He placed particular reliance on the statement of the CJEU at
            [29]-[30]. The CJEU stated that, while “in order for a third party to rely on the
            [jurisdiction] clause it is, in principle, necessary that the third party has given his
            consent to that effect”, “the conditions and the forms under which a third party to the
            contract may be regarded as having given his consent to a jurisdiction clause may
            vary in accordance with the nature of the initial contract” (emphasis added). He was,
            however, not able to identify a principle upon which the “nature” of the initial
            contract would justify a “deemed consent” as opposed to actual consent by the
            individual.

     53.    In the Refcomp case, the CJEU referred to the Powell Duffryn case and the Tilly Russ
            line of cases, but stated (see [32]) that jurisprudence could not be transposed to the
            relationship between a sub-buyer of goods purchased from an intermediate seller and
            the manufacturer of those goods. This was because (see [37]) the relationship of
            succession in string contracts for the sale of goods is not regarded as the transfer of a
            single contract or the transfer of all the rights and obligations for which it provides.
            Moreover, in some cases the different contracts in the string may not be on exactly the
            same terms. It has not been suggested that in the circumstances of the present case
            there has been a transfer of the charterparties or the transfer of all the rights and
            obligations under them.

     54.    That leaves the Powell Duffryn case (see [24] above) and the decision of the English
            Commercial Court in the Standard Steamship Owners’ case (see [25] and [26] above).
            I do not consider that either decision assists Antonio Gramsci’s case.




                                                                                               APP.435
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19                  Page 419 of 421 PageID 18292


     55.   Powell Duffryn was a case in which there was clearly a contract between the company
           and the shareholder. The question was not as to the existence of a contract or
           consensus between the claimant and the party against whom jurisdiction was claimed.
           There was a clear and distinct relationship between the parties in that the party
           resisting jurisdiction had bought shares in the company. The question was whether by
           buying the shares, that shareholder was “deemed” to have consented to the
           jurisdiction clause in the articles of association. The point was not whether there was
           consensus but the incorporation of the jurisdiction clause in what was undoubtedly a
           consensual relationship, a contract, between the parties. The statement at [19] of the
           judgment that “… by becoming and by remaining a shareholder of a company the
           member agrees to submit to all the provisions of the articles of association … even if
           he is not in agreement with some of those provisions …” is not an alternative to the
           requirement to establish agreement in fact, but a finding that the act of becoming and
           remaining a shareholder amounted to such agreement. The ECJ was working out what
           the parties actually intended in a common sense way. It regarded (see [16]) the
           articles of association as “a contract covering both the relations between the
           shareholders and also the relations between them and the company they set up”.

     56.   The only references to “deeming” in that case concern the requirement of writing in
           what is now Article 23. For the shareholder to be “deemed to be aware of the clause
           and to have given actual consent to the conferment of jurisdiction” the ECJ required
           (see [28] and [29]) that the company’s articles of association be lodged at a place
           which is accessible to the shareholders or kept in a public register. What the case
           shows is that, where there is clearly an agreement between a claimant and the party
           resisting jurisdiction, it suffices for there to be an agreement to terms containing a
           jurisdiction clause and it is not necessary for there to be an agreement specifically as
           to that jurisdiction clause: see also Polskie Ratownictwo Okretowe v Rallo Vito and
           C.Snc [2009] EWHC 2249 (Comm) at [37] per Hamblen J.

     57.   A situation similar to that of the shareholder in Powell Duffryn’s case concerns
           assignment. Assignment involves the transfer of the contractual rights to the assignee.
           By taking the assignment of a contract containing a jurisdiction clause, the assignee,
           like the shareholder, agrees to its terms including the jurisdiction clause. In Bank of
           Tokyo-Mitsubishi v Baskan Gida Sanayi Pazarlama [2004] EWHC 945 (Ch) at [191]
           Lawrence Collins J (as he then was) stated that “an assignee of a contract may be
           bound by a jurisdiction clause contained in it”, citing Case C-201/82 Gerling Konzern
           Speziale Kreditversicherung AG v Amministrazione del Tesoro dello Stato [1983]
           ECR 2503.

     58.   Standard Steamship Owners’ is also a case in which there was no need for “deemed
           consent”. Where a person provides an agent with actual or apparent authority to make
           agreements on its behalf, that person has agreed to what its agent agrees, within the
           scope of the authority, on its behalf. In that case the parties knew about the principals,
           but in principle the position would be the same in the case of an undisclosed principal.

     59.   As to the analogy which Mr Rainey sought to draw with cases relating to undisclosed
           principals and the facts of this case, I accept the written submission of Messrs de Garr
           Robinson QC and Emmett that this does not assist. First, a person can only be held to
           have contracted as an undisclosed principal where that person has actually authorised
           the agent to contract on its behalf, although such authorisation may be implied. There
           is thus consent of the same kind as existed in the Standard Steamship Owners’ case.



                                                                                               APP.436
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19                  Page 420 of 421 PageID 18293


            In these proceedings, Antonio Gramsci’s case is not that Mr Lembergs authorised the
            Corporate Defendants to contract on his behalf, but that he specifically sought to
            avoid this.

     60.    Secondly, in the VTB Capital case the Supreme Court rejected the undisclosed
            principal doctrine as a suitable analogy in the context of piercing the corporate veil:
            see [2013] UKSC 5 at [141] per Lord Neuberger. His Lordship stated that the rule
            “has long been regarded as an anomaly”. He approved the statement by the Court of
            Appeal in that case ([2012] EWCA Civ 808 at [89]) that it would be inappropriate to
            extend an anomaly save where it would be unjust and unprincipled not to do so. He
            also relied on the statement of Lord Hoffmann in OBG Ltd v Allen [2008] AC 1 at
            [103] and [106] that “an anomaly created by the judges to solve a particular problem”
            is “an insecure base” on which to justify an extension to a principle, especially when
            that principle can itself be said to be anomalous.

     61.    I can deal with the decision of the ECJ in the Berghoefer case (see the summary of Mr
            Rainey’s submission on this at [29] above) briefly. That was a case in which there was
            an oral agreement between the claimant and the party resisting jurisdiction. Here the
            question is whether there is an agreement between Antonio Gramsci and Mr
            Lembergs.

     62.    I return to the question whether there is an underlying principle as to when “deemed
            consent” will or may suffice and the reference in Refcomp SpA v AXA Corporate
            Solutions Assurance SA [2013] ILPr 17 to the nature of the contract as relevant to this.
            My consideration of the cases has identified only one principle deployed for doing so.
            That is where the situation is one in which there has been a transfer of the contract or
            of all the rights and obligations for which it provides. That is not the position here.

     (vi) The policy-based submission

     63.    It remains to deal with Mr Rainey’s policy-based submission (summarised at [29]
            above). This is that the court needs to prevent fraudsters sheltering behind the
            corporate structure of companies in circumstances such as the facts alleged in this
            case. There is undoubted force in this submission. In the context of forum conveniens
            such an approach is favoured by Briggs, [2012] LMCLQ 364, with whom Lord
            Clarke agreed in his dissenting judgment in the VTB Capital case: [2013] UKSC 5 at
            [221] – [222] and [234] – [235].

     64.    Mr Rainey’s case is that the court can and should pierce the corporate veil where there
            is a good arguable case that the defendant has set up the puppet company for the
            purpose of defrauding an innocent party with whom their puppet company contracts
            in order to avoid being sued in the courts of a Member State in which the puppet
            company has agreed to be sued. It was in this context that he relied on the Advocate-
            General’s opinion in Idrima Tipou AE v Ipourgos Tipou kai Mason Mazikis
            Enimerosis [2011] 1 CMLR 42. That case may show that piercing the corporate veil is
            lawful under EU law, but the passage in that case relied on (see [26] above) expressly
            states that the Community legislature does not regulate this itself. Accordingly, the
            question of when it is possible to do so is of necessity thrown back to national law.

     65.    The references in Lord Sumption’s judgment in Prest v Petrodel Resources Ltd and
            others [2013] UKSC 34 (at [27] and [34]) to “abuse of corporate legal personality” as



                                                                                              APP.437
Case 3:18-cv-00731-X Document 273-6 Filed 07/30/19                  Page 421 of 421 PageID 18294


            justifying piercing the corporate veil may appear to give some support to a policy-
            based approach. But it is clear from the decision of the Supreme Court that, in the
            present state of English law, the Court can only pierce the corporate veil when “a
            person is under an existing legal obligation or liability or subject to an existing legal
            restriction which he deliberately evades or whose enforcement he deliberately
            frustrates by interposing a company under his control”: see [35], [60] and [98]. Lord
            Mance and Lord Clarke (see [100] and [103]) did not want to foreclose further
            development of the law, and Lady Hale’s approach (at [91] – [92] appears to be to the
            same effect, but that is where English law stands at present. In the light of the
            decisions in VTB Capital and Prest v Petrodel, the submission that it is possible to
            pierce the corporate veil in in this case to deem Mr Lembergs to have consented to the
            jurisdiction clause is untenable.

     66.    As to further development of the law, doing so by classical common law techniques
            may not be easy. In Prest’s case Lord Sumption (at [28]) identified two underlying
            principles which he called “the concealment principle” and “the evasion principle”.
            But Lord Neuberger was of the view (at [75] that there is a “lack of any coherent
            principle in the application of the doctrine of “piercing the corporate veil”, and Lord
            Walker’s view (at [106]) was that it is not a doctrine in the sense of a coherent
            principle or rule of law but a label. Lady Hale (at [92]) was “not sure whether it is
            possible to classify all of the cases in which the courts have been or should be
            prepared to disregard the separate legal personality of a company neatly into cases of
            either concealment or evasion”. Absent a principle, further development of the law
            will be difficult for the courts because development of common law and equity is
            incremental and often by analogical reasoning. It was because the law governing
            undisclosed principals was regarded as unprincipled, that, in the VTB Capital case, it
            was not regarded as a suitable analogy: see [60] above. The position in this context
            appears similar to the former position in the area of law now recognised to be
            governed by the principle against unjust enrichment. So, in Orakpo v Manson
            Investments Ltd [1978] AC 95 at 104 Lord Diplock stated the circumstances in which
            a person who discharged the debts of another may recover the sums so paid defeated
            classification except as an “empirical remedy”. He stated that made “particularly
            perilous any attempt to rely on analogy to justify applying to one set of circumstances
            a remedy which has been held to be available in another and different circumstances”.

     (vii) Conclusion

     67.    Despite the clear, elegant and attractive way Mr Rainey made his submissions, I
            would dismiss this appeal and would not refer the question he formulated to the
            CJEU.

     Lord Justice Ryder:

     68.    I agree.

     Lord Justice Lloyd:

     69.    I also agree.




                                                                                               APP.438
